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                                  EXHIBIT B
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                                                                                                                                      Filed Pursuant to Rule 424(b)(1)
                                                                                                                                          Registration No. 333-234719
  PROSPECTUS

                                                     72,510,641 Class A Common Shares



                                                                              XP Inc.
                                                              (incorporated in the Cayman Islands)

         This is an initial public offering of the Class A common shares, US$0.00001 par value per share of XP Inc., or XP. XP is offering 42,553,192 of the Class A
  common shares to be sold in this offering. The selling shareholders identified in this prospectus are offering an additional 29,957,449 Class A common shares. We will
  not receive any proceeds from the sale of Class A common shares by the selling shareholders. Prior to this offering, there has been no public market for our Class A
  common shares. The initial public offering price per Class A common share is US$27.00. Our Class A common shares have been approved for listing on the Nasdaq
  Global Select Market, or Nasdaq, under the symbol “XP.”
         Following this offering, our existing shareholders, XP Controle Participações S.A., or XP Controle, ITB Holding Brasil Participações Ltda., or Itaú, General
  Atlantic (XP) Bermuda, L.P., or GA Bermuda, and DYNA III Fundo de Investimento em Participações Multiestratégia, or DYNA III, will beneficially own 86.9% of our
  outstanding share capital, assuming no exercise of the underwriters’ option to purchase additional shares referred to below. The shares held by DYNA III are Class A
  common shares. The shares held by XP Controle are Class B common shares and the shares held by Itaú and GA Bermuda are Class A and B common shares, such
  Class B common shares carry rights that are identical to the Class A common shares being sold in this offering, except that (1) holders of Class B common shares are
  entitled to 10 votes per share, whereas holders of our Class A common shares are entitled to one vote per share; (2) holders of Class B common shares have certain
  conversion rights; (3) holders of Class B common shares are entitled to preemptive rights in the event that there is an increase in our share capital and additional common
  shares are issued in order to maintain their proportional ownership and voting interest; and (4) Class B common shares shall not be listed on any stock exchange and will
  not be publicly traded. For further information, see “Description of Share Capital” and “Management—Shareholders’ Agreement.” As a result, XP Controle will control
  approximately 56.2% of the voting power of our outstanding share capital following this offering, assuming no exercise of the underwriters’ option to purchase additional
  shares.
         Entities advised by Durable Capital Partners LP, or Durable, have agreed to purchase 5,500,000 of our Class A common shares in this offering at the initial public
  offering price. The underwriters will receive the same discount on any of our Class A common shares purchased by such entities as they will from any other Class A
  common shares sold to the public in this offering.


         We are an “emerging growth company” under the U.S. federal securities laws as that term is used in the Jumpstart Our Business
  Startups Act of 2012 and will be subject to reduced public company reporting requirements. Investing in our Class A common shares involves
  risks. See “Risk Factors” beginning on page 23 of this prospectus.
                                                                                                    Per Class A common share                             Total
        Initial public offering price                                                               US$                 27.00                     US$1,957,787,307
        Underwriting discounts and commissions                                                      US$                  1.15                     US$ 83,205,961
        Proceeds, before expenses, to us(1)                                                         US$                 25.85                     US$1,100,106,396
        Proceeds, before expenses, to the selling shareholders(1)                                   US$                 25.85                     US$ 774,474,950

  (1)   See “Underwriting (Conflicts of Interest)” for a description of all compensation payable to the underwriters.
        The selling shareholders have granted the underwriters an option for a period of 30 days from the date of this prospectus to purchase up to 10,876,596 additional
  Class A common shares at the initial public offering price, less underwriting discounts and commissions.
          Neither the U.S. Securities and Exchange Commission nor any state securities commission has approved or disapproved of these securities or determined
  if this prospectus is truthful or complete. Any representation to the contrary is a criminal offense.
        The underwriters expect to deliver the Class A common shares against payment in New York, New York on or about December 13, 2019.


                                                                            Global Coordinators

  Goldman Sachs & Co. LLC                                           J.P. Morgan              Morgan Stanley                     XP Investments                   Itaú BBA
                                                                             Joint Bookrunners

  BofA Securities                                            Citigroup                           Credit Suisse                                 UBS Investment Bank

                                                             The date of this prospectus is December 10, 2019.



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        We and the selling shareholders have not authorized anyone to provide any information other than that contained in this prospectus or in any free
  writing prospectus prepared by or on behalf of us or to which we may have referred you. We and the selling shareholders take no responsibility for, and
  can provide no assurance as to the reliability of, any other information that others may give you. We, the selling shareholders and the underwriters have
  not authorized any other person to provide you with different or additional information. Neither we, the selling shareholders nor the underwriters are
  making an offer to sell the Class A common shares in any jurisdiction where the offer or sale is not permitted. This offering is being made in the United
  States and elsewhere solely on the basis of the information contained in this prospectus. You should assume that the information appearing in this
  prospectus is accurate only as of the date on the front cover of this prospectus, regardless of the time of delivery of this prospectus or any sale of the
  Class A common shares. Our business, financial condition, results of operations and prospects may have changed since the date on the front cover of this
  prospectus.

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         For investors outside the United States: Neither we, the selling shareholders, nor any of the underwriters have done anything that would permit
  this offering or possession or distribution of this prospectus in any jurisdiction, other than the United States, where action for that purpose is required.
  Persons outside the United States who come into possession of this prospectus must inform themselves about, and observe any restrictions relating to,
  the offering of our Class A common shares and the distribution of this prospectus outside the United States.

        We own or have rights to trademarks, service marks and trade names that we use in connection with the operation of our business, including our
  corporate name, logos and website names. Other trademarks, service marks and trade names appearing in this prospectus are the property of their
  respective owners. Solely for convenience, some of the trademarks, service marks and trade names referred to in this prospectus are listed without the ®
  and ™ symbols, but we will assert, to the fullest extent under applicable law, our rights to our trademarks, service marks and trade names.



        Unless otherwise indicated or the context otherwise requires, all references in this prospectus to “XP” or the “Company,” the “Issuer,” “we,”
  “our,” “ours,” “us” or similar terms refer to XP Inc., together with its subsidiaries, following the contribution of XP Brazil (as defined below) shares to
  us.

        All references to “XP Brazil” refer to XP Investimentos S.A., our Brazilian principal non-operating holding company whose consolidated
  financial statements are included elsewhere in this prospectus.

                                                                                ii




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                                                                 GLOSSARY OF TERMS

        The following is a glossary of certain industry and other defined terms used in this prospectus:
         “active clients” means the total number of retail clients served through our XP Investimentos, Rico, Clear, XP Investments and XP Private
  (Europe) brands, with an AUC above R$100.00 or that have transacted at least once in the last thirty days. For purposes of calculating this metric, if a
  client holds an account in more than one of the aforementioned entities, such client will be counted as one “active client” for each such account. For
  example, if a client holds an account in each of XP Investimentos and Rico, such client will count as two “active clients” for purposes of this metric.

       “ANBIMA” means the Brazilian Association of Financial and Capital Markets Entities (Associação Brasileira das Entidades dos Mercados
  Financeiro e de Capitais).

        “AUC” means the market value of all client assets invested through XP’s platform, including equities, fixed income securities, mutual funds
  (including those managed by XP Gestão de Recursos Ltda., XP Advisory Gestão Recursos Ltda. and XP Vista Asset Management Ltda., as well as by
  third-party asset managers), pension funds (including those from XP Vida e Previdência S.A., as well as by third-party insurance companies), exchange
  traded funds, COEs (Structured Notes), REITs, and uninvested cash balances (Floating Balances), among others.

        “AUM” is the market value of retail client assets invested in mutual and pension funds managed by XP Gestão de Recursos Ltda. and XP Vista
  Asset Management Ltda., as well as assets from high net worth retail clients allocated in managed portfolios and exclusive funds managed by XP
  Advisory Gestão Recursos Ltda.

        “Brazil” means the Federative Republic of Brazil.

        “Brazilian government” means the federal government of Brazil.

        “B3” means B3 S.A. – Brasil, Bolsa, Balcão, the São Paulo Stock Exchange.

        “CAC” means customer acquisition cost, which we calculate by dividing all the costs spent on acquiring more clients by the number of clients
  acquired in the period the money was spent.

        “CDI Rate” means the Brazilian interbank deposit (certificado de deposito interbancário) rate, which is an average of interbank overnight rates in
  Brazil.

        “Central Bank” means the Brazilian Central Bank (Banco Central do Brasil).

        “CMN” means the Brazilian National Monetary Council (Conselho Monetário Nacional).

        “COPOM” means the Brazilian Monetary Policy Committee (Comitê de Política Monetária do Banco Central).

        “CVM” means the Brazilian Securities Commission (Comissão de Valores Mobiliários).

        “IFAs” means Independent Financial Agents (Agente Autônomo de Investimento) subject to CVM Instruction No. 497.

        “Itaú Transaction” means the transaction with Itaú Unibanco S.A. which was consummated in August 2018 and pursuant to which Itaú Unibanco
  S.A. acquired 49.9% of the share capital of XP Brazil.

         “LTV” means the lifetime value of our retail clients, which is the present value of the projected gross margin that a marginal new client would
  generate over a certain period of time. We calculate LTV based on the following key assumptions: (1) 14.2% per annum as the discount rate; (2) a 10
  year fixed projection period; and (3) the average churn observed in the last 12 months’ monthly cohorts of clients.

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        “net new money” means, during a given period, the sum of (1) the total cash sent by clients to XP; (2) total assets transferred by clients from other
  platforms to XP, net of (3) cash withdrawals by clients from XP; and (4) assets transferred by clients from XP to other platforms.

        “real,” “reais” or “R$” means the Brazilian real, the official currency of Brazil.

        “SELIC rate” means the Brazilian base interest rate (Sistema Especial de Liquidação e Custódia).

       “Shareholders’ Agreement” means the shareholders’ agreement to be entered into among XP Controle, GA Bermuda, Itaú, Itaú Unibanco S.A.,
  XP Inc., XP Brazil and the companies that we control that are incorporated in Brazil.

        “share of wallet” means the AUC of a given client at XP, divided by the declared net worth of such client invested in financial products and
  services (shown as a percentage).

        “U.S. dollar,” “U.S. dollars” or “US$” means U.S. dollars, the official currency of the United States.

                                                                               iv




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                                                                         SUMMARY

          This summary highlights information contained elsewhere in this prospectus. This summary may not contain all the information that may be
    important to you, and we urge you to read this entire prospectus carefully, including the “Risk Factors,” “Business” and “Management’s
    Discussion and Analysis of Financial Condition and Results of Operations” sections and our consolidated financial statements and notes to those
    statements, included elsewhere in this prospectus, before deciding to invest in our Class A common shares.


    Our Mission
           Our mission is to transform the financial markets in Brazil to improve the lives of people in our country, which is the 6th largest economy in
    the world with over 200 million people and a Gross Domestic Product, or GDP, of nearly US$2 trillion. We believe the financial services industry
    in Brazil is generally inefficient, expensive by international standards and provides poor client experiences, because it is dominated by five
    traditional financial institutions with US$1.5 trillion in assets. We believe this concentration has enabled the incumbents to secure a large profit
    pool and restrict the market in Brazil by: (1) providing a more narrow selection of financial products than typically found in larger markets, such as
    the United States and Europe; (2) promoting inefficient financial products; (3) charging relatively high fees with low yields since the clients are
    captive and the products made available are often limited only to those created and controlled by each bank; and (4) providing poor customer
    service due to a low prioritization of the client experience, limited market competition, and a lack of alternative choices available to consumers. We
    are dedicated to disrupting this market and improving people’s lives by providing them with access to more financial products and services through
    multiple channels, at lower fees, with a strong emphasis on financial education and high-quality services delivered through a highly differentiated
    client-centric approach and innovative technology solutions.


    Introduction to XP
          XP is a leading, technology-driven financial services platform and a trusted provider of low-fee financial products and services in Brazil. We
    have developed a mission-driven culture and a revolutionary business model that we believe provide us with strong competitive advantages in our
    market. We use these to disintermediate the legacy models of traditional financial institutions by educating new classes of investors, democratizing
    access to a wider range of financial services, developing new financial products and technology applications to empower our clients, and providing
    what we believe is the highest-quality customer service and client experience in the industry in Brazil. We believe we have established ourselves as
    the leading alternative to the traditional banks, with a large and fast-growing ecosystem of retail investors, institutions, and corporate issuers, built
    over many years that accounted for 1.5 million active clients and R$125 billion in net in-flows of new money year-to-date as of September 2019,
    up 101% year-over-year and 148% year-over-year, respectively. We believe we are:
           •     #1 Ranked Financial Investment Brand in Brazil – with an NPS of 71 as of September 2019, the highest score in our market based
                 on company filings according to a third party analyst research report;
           •     #1 Independent Financial Investment Platform in Brazil – with 3% market share of the R$7.9 trillion market for total AUC as of
                 December 31, 2018, according to a report by Oliver Wyman commissioned by us;
           •     #1 Independent Digital Platform for Investors in Brazil – with three digital portals XP, Rico™ and Clear™ serving clients directly;
           •     #1 Independent Financial Investment Network in Brazil – with a range of proprietary XP Advisory Services and approximately 5,900
                 IFAs who on-board new clients onto the XP Platform;
           •     #1 Financial Media Portal in Latin America – with approximately 9 million monthly unique visitors to our Infomoney™ website as
                 of September 30, 2019. Approximately 77% of our website traffic in this period was originated organically by viewers without being
                 driven from a related site or advertisement according to third-party traffic data from Similarweb; and



                                                                                1




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           •    #1 Financial Services Event in Latin America – with over 30,000 attendees at our annual EXPERT conference held in July 2019,
                which we believe ranks as the largest investment services event in Latin America and one of the largest in the world based on an
                internal analysis of third party data.


    Our Founding & Evolution
           We were founded in 2001 as a small, independent financial advisor partnership dedicated to improving the lives of people in our country. In
    order to build our business from the ground up, while competing against the incumbent traditional banks, we dedicated ourselves to the search for
    new ways to compete and to leverage next-generation technologies that enable us to differentiate ourselves and provide the operating efficiencies to
    scale. Over the years, we have been able to consistently innovate, develop our technology solutions, and evolve our proprietary business model in
    several integrated phases that have complemented each other and compounded our capabilities. We believe this evolution has enabled us to instill
    trust in the XP brand and begin a revolution in the way financial services are sold in Brazil. These integrated evolutionary phases include
    (1) providing financial education and empowerment; (2) democratizing access to financial products and services; (3) scaling of our ecosystem of
    users, distribution and media content; (4) diversification and enhancement of our direct digital channels and brands; and (5) empowerment of the
    client journey.


    The Revolutionary XP Model
          Our revolutionary XP Model has been developed over the course of our evolution and enables us to go to market in a very different way from
    the legacy models of the large traditional financial institutions. We believe our model provides us with a unique value proposition for our clients
    and partners, and it has begun to change the way investment services are accessed and sold in Brazil. Our differentiated approach incorporates a
    unique combination of proprietary capabilities, services and technologies to deliver a highly customized and integrated client experience, with
    significant operating efficiency advantages that have enabled us to scale and grow profitably. The key components of our model include:
           •    A Mission-Driven Culture – our culture remains central to XP and we remain vigilant in preserving and nurturing it, so that it can
                continue to guide our firm by promoting (1) a strong collaborative environment within our company; (2) a clear focus on our mission
                to improve people’s lives by empowering them as investors; (3) a zero-fee pricing philosophy wherever possible; (4) a strong, long-
                term client-centric focus which we prioritize ahead of maximizing short-term gains; and (5) an energetic entrepreneurial spirit with a
                commitment to innovation and the continuous pursuit of improvement.
           •    A Self-Reinforcing Ecosystem – we have developed a valuable ecosystem of clients, distribution channels and media content that are
                a powerful lead-generation engine, continuously reinforce each other and help promote XP’s products and services as they grow.
                These include:
                  •   User Base of Clients – which includes our: (1) over 1.5 million retail clients who buy and sell the financial products on our
                      platform; and (2) over 400 institutional and corporate issuer clients (out of which over 200 are located in Brazil and over 200 are
                      located outside Brazil), such as fund managers, private banks, corporate treasuries and insurance companies, who provide
                      additional liquidity and unique financial products for our platform.
                  •   Omni-Channel Distribution Network – which enables us to reach clients and deliver our products and services through a range
                      of proprietary brands and channels, that includes: (1) XP Direct our fast-growing full-service offering for mass-affluent clients;
                      (2) Rico our online-only solution for self-directed investors; (3) Clear our digital portal and electronic trading platform for retail
                      active traders; and (4) our efficient distribution network of independent financial advisors.



                                                                               2




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                 •    Proprietary Media & Digital Content – which helps us democratize access to financial content in Brazil, empower Brazilians on
                      how to make investment decisions more independently, and attract, retain and monetize clients. This lead-generation ecosystem
                      of platforms includes: (1) Infomoney the largest investment portal in Latin America; (2) XP Educação™ a leading online
                      financial education portal in Brazil; (3) XP Research a digital platform with over 500,000 monthly unique visitors;
                      (4) EXPERT™ the largest investment event in Latin America; (5) our Digital Influencers program, with over 3 million followers
                      on social media; and (6) Leadr™ an investment-focused social media network with over 465,000 downloads and over 150,000
                      monthly active users.
          •     A Superior Product and Services Platform – we primarily provide our clients with two types of offerings, our financial advisory
                services and our open financial product platform. We have developed both of these solutions to provide our clients with significant
                differentiation and a superior value proposition versus the legacy offerings of the traditional banks. These include:
                 •    Suite of XP Advisory Services – which are comprised of several services, such as (1) XP Investimentos™ for our retail clients in
                      Brazil; (2) XP Private™ for our high-net-worth clients; (3) XP Investments® for our international clients; and (4) XP Issuer
                      Services, for our corporate and institutional clients.
                 •    Open Product Platform – which is our open product platform that provides our clients with the broadest access to over 600
                      investment products in the market without the protectionist barriers, conflicts and closed-loop restrictions of the traditional
                      banks. These include investment products from XP, our partners and our competitors, such as equity and fixed income securities,
                      mutual and hedge funds, structured products, life insurance, pension plans, real-estate investment funds (REITs) and others.
                 •    VIP Customer Service – which is our premier customer service program and support organization, designed to provide our
                      clients and partners with the highest quality client service.
          •     A Differentiated, Advanced Technology Platform – we have developed a powerful, integrated suite of proprietary technology
                assets, technology applications, and technology development resources that enable us to differentiate XP in the market, manage all of
                our solutions, conduct all of our activities and operate with low-cost advantages and efficiencies. These include:
                 •    XP Genius – which is our powerful, integrated, cloud-based technology platform built with a modular architecture that
                      efficiently leverages a range of micro-services to help (1) connect our various portals, systems, technologies and environments;
                      (2) power our solutions and applications across our organization; (3) manage our large, valuable and rapidly growing pools of
                      proprietary data; (4) conduct our big data analytics and artificial intelligence initiatives; (5) provide us with proprietary
                      information and market insights; and (6) extend our reach and capabilities into new areas.
                 •    XP Innovation Teams – which is a dedicated innovation development program, comprised of approximately 500 people, who
                      develop and support our solutions by using agile software development methods and leveraging the significant technology and
                      data assets in our company.
                 •    XP Technology Apps – which is an advanced suite of cloud-based and mobile technology applications, that complement our
                      advisory services and provide powerful functionality across the user journey, enabling our clients and partners to better manage
                      their various accounts, trading activities, and data queries.



                                                                            3




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    Our Operations
          We operate an asset-light, highly scalable business model that emphasizes operational efficiency and profitability. We leverage the XP Model
    to serve a diverse group of retail and institutional clients in local and international markets, with offices in Brazil, New York, Miami, London and
    Geneva. We generate our revenues primarily by (1) providing our existing clients with a growing range of financial products and services in which
    to invest their existing AUC already on our platform; (2) attracting additional money onto our platform from existing investors to grow our total
    AUC; and (3) attracting new clients and money inflows onto our platform across a variety of channels to increase our total AUC. We generate a
    significant amount of our revenues from existing clients and AUC, which is recurring and predictable in nature.

           Depending on the mix of products and services, we generate numerous forms of income from our AUC, including advisory fees,
    commissions, distribution fees from product manufacturers and asset management fees across various solution categories such as retail,
    institutional, issuer services, digital content and other. As a result of our business model and market position, we benefit from high visibility in
    most of our revenues and from a low correlation to macro-economic conditions. We have established a track record of delivering strong financial
    performance, even during difficult macroeconomic conditions in Brazil. For example, while Brazil GDP growth decelerated materially from 2014
    to 2018 in one of the worst recessions in Brazilian history, our total AUC grew at a CAGR of 92% during the same period.

         In 2018, we reported R$202 billion in AUC, R$3.2 billion in gross revenue, R$3.0 billion in net revenue, R$465.3 million in net income, and
    R$491 million in Adjusted Net Income, a year-over-year increase of 60%, 56%, 55%, 10% and 15%, respectively, versus 2017. In the nine months
    ended September 30, 2019, we reported R$350 billion in AUC, R$3.7 billion in gross revenue, R$3.4 billion in net revenue, R$699 million in net
    income and R$657 million in Adjusted Net Income, an increase of 93%, 64%, 66%, 99% and 75% year-over-year, respectively, versus the nine
    months ended September 30, 2018.


    Our Cohorts and Client Economics
          We believe that our strong value proposition and client-centric approach will continue to enhance our client loyalty and enable us to grow our
    share of wallet from our current customer base. As our clients add new money onto our platform and become more comfortable using our
    technologies and services, they may also purchase more products within their existing financial product categories or begin to explore new
    categories. For example, a customer with a portfolio of equity securities may purchase additional equities and equity products, such as futures, and
    also diversify into fixed income products.

           Given our increasing amount of AUC from existing clients, illustrated by our net inflow cohort analysis, and our increasing cross-sell of
    complementary and adjacent products and services, illustrated by the average number of products per customer cohort analysis, and the relatively
    high switching costs in the financial services market, we believe the LTV of our customers is increasing. Our business model also has relatively
    low customer acquisition costs, or CAC, per client, due to our primarily digital business model, our self-reinforcing ecosystem, and our highly
    efficient omni-channel distribution network. We believe our marginal CAC will continue to benefit from scale efficiencies.


    Our Market
          Brazil is a large and attractive market for financial services and financial technology solutions. The country has the 5th largest population and
    the 6th largest economy in the world with 209 million people and a GDP of US$1.9 trillion in 2018. Brazil GDP growth decelerated materially
    from 2014 to 2018 in one of the worst recessions in Brazilian history. During this period, we established a track record of delivering strong
    financial performance, even during difficult macroeconomic conditions, and grew our total AUC at a CAGR of 92%.



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    Brazil emerged from its recession in 2018 and is now expected to enter a more positive macroeconomic environment for the first time in several
    years, which we believe will create favorable tailwinds for our business.


       Key Market Challenges
          We believe the Brazil financial services industry faces several important market challenges that create market inefficiencies and opportunities
    for disruption, including: (1) a highly concentrated market that continues to be controlled by a small group of traditional financial institutions;
    (2) bureaucratic, asset-heavy infrastructures that encourage banks to focus more on managing the internal burdens of their operations, pushing their
    in-house products, and preserving the status quo; (3) a narrow selection of financial products which tend to drive high fees for the traditional banks,
    but severely limit choice for investors; (4) the promotion of inefficient financial products which provide a large number of the mass population of
    investors with very low returns and punitive redemption options, often at an attractive margin to the bank; (5) high-costs and spreads which we
    believe are too high, but unavoidable by many customers who lack choice of alternative services; (6) poor customer service; (7) underpenetrated
    debt capital and other financial markets for the issuance of fixed income products and corporate bonds, particularly when compared to larger
    markets such as the United States and Europe.


       Key Market Trends
           We believe our market will benefit from several trends that will help provide attractive tailwinds for disruption, including: (1) favorable and
    highly-aligned regulatory initiatives such as the Central Bank of Brazil’s various announced financial democratization and technological innovation
    promotion policies; (2) the increasing demand for financial education and information across a number of channels; (3) the increasing demand for
    more access to financial products as the Brazilian market expands to close the product selection gap with other large markets, such as the United
    States and Europe; (4) the increasing demand for technology to manage financial services similar to other trends in commerce; (5) the increasing
    demand for better UX experiences as customers engage in more digital channels and demand technology applications that provide intuitive,
    easy-to-use, yet powerful features, that can integrate and utilize all of their data, and empower them to do more across their client journeys, versus
    just siloed applications with one or two functions; (6) increasing number of independent financial advisors; and (7) the increasing demand for
    turn-key solutions and technology applications for IFAs to help them manage their operations more effectively.


       Addressable Market Opportunities
          We believe our XP Model will benefit from these key market trends and the favorable macroeconomic environment in Brazil, and has
    positioned us to continue to penetrate, grow and expand our large addressable market opportunity in Brazil, which is expected to reach nearly
    R$8.6 trillion in investment AUC and adjacent markets by the end of 2019, according to a report by Oliver Wyman. Given our leadership, scale,
    brand, and competitive advantages provided by our XP Model, we believe we will benefit from and continue to be a catalyst for:
           •     Continued Growth of the Investment AUC Addressable Market – According to a report by Oliver Wyman published in 2019, the
                 total addressable market of investment AUC in Brazil was R$7.9 trillion in 2018, up 105% since 2011.
           •     Continued Shift of AUC from Banks to Independent Investment Firms – According to the Oliver Wyman report, the market share
                 of investment AUC for independent investment firms will grow from 7% in 2018 to 25% in 2024.
           •     Shift from Fixed Income to More Effective Products – Within the growth of AUC, we believe there is a long-term mix shift trend
                 from lower yielding fixed income products to higher potential yielding products such as equities, managed funds, and structured
                 products, such as derivatives.



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           •     Continued Expansion of Our Addressable Market into New Areas – According to the Oliver Wyman report, the total addressable
                 revenue pool including adjacent markets that could be complementary to XP, such as insurance brokerage, credit and debit cards and
                 other loans currently is R$487 billion.


    Our Competitive Strengths
         Over the last 18 years, we have developed a differentiated set of capabilities and attributes in our business that we believe provide us with
    meaningful strategic advantages and have helped us to disintermediate the legacy models of traditional financial institutions. We believe these
    competitive strengths form the foundations of our business and drive value creation for our shareholders.


       Mission-Driven Culture
          Our culture remains central to XP and we believe it is the core strength of our company, enabling us to attract talent, unify our people,
    maintain the mindset to innovate and disrupt, guide our go-to-market-approach, develop powerful relationships with our clients and establish our
    identity in the marketplace. We remain vigilant in preserving and nurturing it, so that it can continue to guide our firm. We believe the key strengths
    of our culture are (1) a collaborative partnership model that fosters a collaborative environment within our company and an ownership mentality
    across our organization (2) our mission to empower which helps us maintain a clear and consistent message that our primary focus is to empower
    our clients and improve their lives; (3) a zero-fee pricing philosophy that seeks to eliminate expensive and unnecessary bank fees and reminds us to
    remain efficient; (4) a client-centric focus that prioritizes transparency, high-quality customer service and positive client experiences above short-
    term performance results; and (5) an entrepreneurial spirit that keeps us focused on the continuous pursuit of innovation across our firm to improve
    our operations and our client experiences.


       Revolutionary XP Model
          Our model incorporates a unique combination of proprietary capabilities, services and technologies to deliver a highly differentiated and
    integrated client experience that have enabled us to differentiate from our competitors. The XP Model has given us several strategic and operating
    advantages, including:
           •     First-Disruptor Leadership – Since our founding in 2001, XP has established itself as a trusted provider of low-cost brokerage,
                 investment advisory, and asset management services in Brazil, the largest independent investment platform and leading alternative to
                 the banks;
           •     Trusted Brand – We have built a valuable, trusted brand in Brazil and received an NPS of 71 in September 2019, which is the highest
                 score in the financial services industry;
           •     Highly Efficient Financial Model – We believe our technology driven business model provides us with significant scale and
                 operating efficiencies, including (1) large scale and recurring revenue; (2) attractive LTV / CAC; (3) asset-light, low cost structure;
                 and (4) strong free cash flow generation;
           •     Network Effects – As we grow our business, we believe our model demonstrates distinct self- reinforcing network effects that help
                 compound our growth.
           •     Powerful Combination of Attributes – The success of XP is due to the combination of capabilities, trusted brand, size and
                 scalability of the XP Model that have been developed and nurtured over time.


       Leadership and Structure
           •     Experienced Management Team with Strong Track Record of Success – Our management team is comprised of our founders, who
                 have help guide the success of XP over the last 18 years, and new partners who have joined the company along the way. This team has
                 an established track record of delivering strong financial performance, even during difficult macroeconomic conditions in Brazil.



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           •     Meritocratic Partnership Structure – We believe our partnership model is key to our long-term value creation. As of September 30,
                 2019, our partnership was made up of approximately 370 shareholders of XP Controle, which will continue to be our controlling
                 shareholder immediately after this offering, and who are directors, officers and employees of the Company and/or its subsidiaries.
                 Following completion of this offering, we expect to implement our new partnership model, pursuant to which existing or new partners
                 may be entitled to share based compensation based on individual performance. For further information, please see “Management—
                 Long-Term Incentive Plan.”


    Our Growth Strategies
           Despite our success to date, we believe our business is still in the early days of driving the disintermediation of traditional financial
    institutions in Brazil and offering better alternatives to their legacy models and practices. We believe there is a large addressable market
    opportunity remaining in our core business and significant market share to win from the traditional banks. We intend to leverage our competitive
    strengths and continue to enhance the strategic advantages we have created through the XP Model in order to continue to grow and expand our
    business. We intend to pursue these strategies organically and inorganically by:
           •     Penetrating Our Base – We will continue to seek a greater share of the total AUC and trading volumes from our clients and we will
                 seek to sell additional products and services to our clients. We believe that our strong value proposition and client-centric approach
                 will continue to enhance our client loyalty and enable us to grow our share of wallet from our current customer base.
           •     Expanding Our Ecosystem – We believe our self-reinforcing ecosystem provides a strong and highly differentiated advantage to XP,
                 enabling us to reach, engage and empower clients across numerous channels. We intend to expand our ecosystem by (1) continuing to
                 grow our base of active retail clients; (2) expanding our omni-channel distribution network by driving more users to our various online
                 portals and expanding our network of IFA partners; and (3) growing our proprietary digital content to continue to build familiarity and
                 trust with XP, educate Brazilians and make them more proficient in financial products and services, and convert students and
                 audiences into new or more empowered clients.
           •     Expanding Our Solutions – We believe there is a significant opportunity to leverage our trusted brand, high NPS scores, and strong
                 client-experience across the XP Model to offer our clients and partners additional financial services solutions with a similar value
                 proposition and disrupt the legacy models of traditional financial institutions in new areas. We intend to expand our solutions by:
                 (1) growing our XP Platform offering through the development of new investment products in-house or through partners; (2) growing
                 our XP Advisory services; (3) developing new investment solutions in new adjacent areas of the financial services industry;
                 (4) entering into new financial sectors such as insurance brokerage, debit/credit cards, digital banking and asset-backed lending; and
                 (5) entering into new geographies where we can leverage our expertise in financial education and financial empowerment to create
                 new classes of investors and disintermediate bank services in other highly concentrated markets.


    Our Corporate Structure
       Our Corporate Reorganization
          We are a Cayman Islands exempted company incorporated with limited liability on August 29, 2019 for purposes of effectuating our initial
    public offering. At the time of our incorporation, XP Controle, Itaú Unibanco S.A. (the predecessor-in-interest to ITB Holding Brasil Participações
    Ltda.), G.A. Brasil IV Fundo de Investimento em Participações (the predecessor-in-interest to GA Bermuda) and DYNA III held 2,036,988,542
    shares (prior to giving effect to the Share Split (as defined below)) of XP Investimentos S.A., or XP Brazil, which are all of the shares of XP Brazil,
    our Brazilian principal non-operating holding company whose consolidated financial statements are included elsewhere in this prospectus.



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          On November 29, 2019, XP Controle, Itaú, GA Bermuda and DYNA III contributed all of their shares in XP Brazil to us. In return for this
    contribution, we issued new Class B common shares to XP Controle, new Class A common shares and Class B common shares to Itaú, new
    Class A common shares and Class B common shares to GA Bermuda, and new Class A common shares to DYNA III in a one-to-one exchange for
    the shares of XP Brazil contributed to us, or the Share Contribution. In addition and following the Share Contribution, we implemented a
    four-to-one reverse share split (or consolidation), effective as of November 30, 2019, or the Share Split.

          After accounting for the new Class A common shares that will be issued and sold by us in this offering, we will have a total of 551,800,326
    common shares issued and outstanding immediately following this offering, 204,157,473 of these shares will be Class B common shares
    beneficially owned by XP Controle, Itaú and GA Bermuda, and 347,642,853 of these shares will be Class A common shares beneficially owned by
    Itaú, GA Bermuda, DYNA III and by investors purchasing in this offering. See “Principal and Selling Shareholders.”


    Our Corporate Structure
         Our group is currently composed of 26 entities, 16 of which are incorporated in Brazil and 10 of which are incorporated in other countries.
    Our material operating subsidiaries are:


       XP Investimentos Corretora de Câmbio, Títulos e Valores Mobiliários S.A., or XP CCTVM
           XP CCTVM is a Brazilian broker-dealer entity and the core entity of the group, with the highest concentration of the group’s employees. All
    retail clients of XP Investimentos (including XP Direct and through our IFA network), Clear and Rico brands onboard and access all the products
    in our investment platform through XP CCTVM. In addition, it provides brokerage and issuer services to institutional and corporate clients. XP
    CCTVM had assets of R$5,336 million (representing 44.3% of our combined assets) as of December 31, 2017 and R$14,050 million (representing
    73.5% of our combined assets) as of December 31, 2018. XP CCTVM recorded total revenue and income of R$1,380 million during 2017
    (representing 72.4% of our consolidated total revenue and income) and R$1,967 million during 2018 (representing 66.5% of our consolidated total
    revenue and income).


       XP Gestão de Recursos Ltda., or XP Gestão
          XP Gestão, founded in 2005, was the first asset management firm within the group. It manages mutual funds focused on stocks and macro
    strategies, which are distributed to our retail clients via XP CCTVM and to institutional clients. XP Gestão had assets of R$75 million (representing
    0.6% of our combined assets) as of December 31, 2017 and R$105 million (representing 0.5% of our combined assets) as of December 31, 2018.
    XP Gestão recorded total revenue and income of R$70 million during 2017 (representing 3.7% of our consolidated total revenue and income) and
    R$71 million during 2018 (representing 2.4% of our consolidated total revenue and income).


       XP Advisory Gestão de Recursos Ltda., or XP Advisory
          XP Advisory is a Brazilian asset management firm focused on single client mandates, including managing exclusive funds and managed
    portfolios for our high-net-worth retail clients via XP CCTVM and managing proprietary treasury funds that constitute part of our Adjusted Gross
    Financial Assets. XP Advisory had assets of R$8 million (representing 0.1% of our combined assets) as of December 31, 2017 and R$19 million
    (representing 0.1% of our combined assets) as of December 31, 2018. XP Advisory recorded total revenue and income of R$11 million during
    2017 (representing 0.6% of our consolidated total revenue and income) and R$21 million during 2018 (representing 0.7% of our consolidated total
    revenue and income).



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       XP Vista Asset Management Ltda., or XP Vista
           XP Vista, acquired in 2018, is a Brazilian asset management firm focused on managing passive mutual funds that track market indexes, and
    mutual and investment funds focused on fixed income, credit, real estate, infrastructure and other alternative strategies, which are distributed to our
    retail clients (via XP CCTVM) and institutional clients. XP Vista had assets of R$12 million (representing 0.1% of our combined assets) as of
    December 31, 2018. XP Vista recorded total revenue and income of R$20 million during 2018 (representing 0.7% of our consolidated total revenue
    and income).


       XP Corretora de Seguros Ltda., or XP Seguros
           XP Seguros, founded in 2008, is a Brazilian insurance broker focused on providing pension plans, both from our insurance company and
    from third-party insurance companies, and life insurance products from third-party insurance companies. XP Seguros provides such products to our
    retail clients through our platform. XP Seguros had assets of R$20 million (representing 0.2% of our combined assets) as of December 31, 2017
    and R$48 million (representing 0.2% of our combined assets) as of December 31, 2018. XP Seguros recorded total revenue and income of
    R$27 million during 2017 (representing 1.4% of our consolidated total revenue and income) and R$61 million during 2018 (representing 2.1% of
    our consolidated total revenue and income).


       XP Investments US, LLC, or XP Investments
         XP Investments, founded in 2010, is a broker-dealer registered with the SEC and FINRA, as well as an interdealer broker member with the
    NFA. With offices in New York and Miami, its key businesses include providing securities brokerage services for institutional and retail investors
    (most of which are Brazilian) and interdealer brokerage services for institutional traders. XP Investments had assets of R$152 million (representing
    1.3% of our combined assets) as of December 31, 2017 and R$253 million (representing 1.3% of our combined assets) as of December 31, 2018.
    XP Investments recorded total revenue and income of R$132 million during 2017 (representing 6.9% of our consolidated total revenue and income)
    and R$206 million during 2018 (representing 7.0% of our consolidated total revenue and income).


       XPE Infomoney Educação Assessoria Empresarial e Participações Ltda., or XP Educação
          XP Educação, founded in 2003, focuses on our digital content services, including developing and selling financial education courses and
    events online and in person to retail clients. XP Educação had assets of R$10 million (representing 0.1% of our combined assets) as of
    December 31, 2017 and R$40 million (representing 0.2% of our combined assets) as of December 31, 2018. XP Educação recorded total revenue
    and income of R$10 million during 2017 (representing 0.5% of our consolidated total revenue and income) and R$57 million during 2018
    (representing 1.9% of our consolidated total revenue and income).



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            The following chart shows our corporate structure, after giving effect to our corporate reorganization and this offering:




    (1)     Minority interest held by certain principal executives officers of the entity.
    (2)     Minority interest held by certain principal executives officers of Infostocks.
    (3)     Minority interest held by certain principal executives officers of XP.
    (4)     Minority interest held by XP Brazil.


    Summary of Risk Factors
           An investment in our Class A common shares is subject to a number of risks, including risks relating to our business and industry, risks
    relating to Brazil and risks relating to the offering and our Class A common shares. The following list summarizes some, but not all, of these risks.
    Please read the information in the section entitled “Risk Factors” for a more thorough description of these and other risks.


          Risks Relating to Our Business and Industry
              •    If we cannot make the necessary investments to keep pace with rapid developments and change in our industry, the use of our services
                   could decline, reducing our revenues.
              •    Substantial and increasingly intense competition within our industry may harm our business.
              •    Client attrition could cause our revenues to decline and the degradation of the quality of the products and services we offer, including
                   support services, could adversely impact our ability to attract and retain clients and partners.
              •    Our investment services to our retail clients subject us to additional risks.



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           •     We do not have long-term contractual arrangements with most of our institutional brokerage clients, and our trading volumes and
                 revenues could be reduced if these clients stop using our platform and solutions.
           •     We have identified material weaknesses in our internal control over financial reporting and, if we fail to remediate such deficiencies
                 (and any other ones) and to maintain effective internal controls over financial reporting, we may be unable to accurately report our
                 results of operations, meet our reporting obligations and/or prevent fraud.


       Risks Relating to Brazil
           •     The Brazilian federal government has exercised, and continues to exercise, significant influence over the Brazilian economy. This
                 involvement as well as Brazil’s political and economic conditions could harm us and the price of our Class A common shares.
           •     Economic uncertainty and political instability in Brazil may harm us and the price of our Class A common shares.
           •     Inflation and certain measures by the Brazilian government to curb inflation have historically harmed the Brazilian economy and
                 Brazilian capital markets, and high levels of inflation in the future would adversely affect our business and the price of our Class A
                 common shares.
           •     Exchange rate instability may have adverse effects on the Brazilian economy, us and the price of our Class A common shares.


       Risks Relating to the Offering and our Class A Common Shares
           •     There is no existing market for our common shares, and we do not know whether one will develop to provide you with adequate
                 liquidity. If the trading price of our Class A common shares fluctuates after this offering, you could lose a significant part of your
                 investment.
           •     XP Controle will own 65.75% of our outstanding Class B common shares, which will represent approximately 56.18% of the voting
                 power of our issued share capital following this offering, and will, subject to the provisions of the Shareholders’ Agreement, control
                 all matters requiring shareholder approval. This concentration of ownership and voting power limits your ability to influence corporate
                 matters.
           •     Our dual class capital structure means our shares will not be included in certain indices. We cannot predict the impact this may have
                 on the trading price of our Class A common shares.
           •     We are a Cayman Islands exempted company with limited liability. The rights of our shareholders, including with respect to fiduciary
                 duties and corporate opportunities, may be different from the rights of shareholders governed by the laws of U.S. jurisdictions.


    Corporate Information
          Our principal executive offices are located at Av. Chedid Jafet, 75, Torre Sul, 30th floor, Vila Olímpia – São Paulo, Brazil 04551-065. Our
    telephone number at this address is +55 (11) 3075-0429.

          Investors should contact us for any inquiries through the address and telephone number of our principal executive office. Our principal
    website is www.xpinc.com. The information contained in, or accessible through, our website is not incorporated into this prospectus or the
    registration statement of which it forms a part.



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    Implications of Being an Emerging Growth Company
          As a company with less than US$1.07 billion in revenue during the last fiscal year of XP Brazil, we qualify as an “emerging growth
    company” as defined in the Jumpstart our Business Startups Act of 2012, or the JOBS Act. An emerging growth company may take advantage of
    specified reduced reporting and other burdens that are otherwise applicable generally to public companies. These provisions include:
           •    a requirement to have only two years of audited financial statements and only two years of related Management’s Discussion and
                Analysis of Financial Condition and Results of Operations disclosure;
           •    an exemption from the auditor attestation requirements of Section 404 of the Sarbanes-Oxley Act of 2002, as amended, or the
                Sarbanes-Oxley Act, in the assessment of our internal control over financial reporting;
           •    reduced disclosure about our executive compensation arrangements in our periodic reports, proxy statements and registration
                statements; and
           •    exemptions from the requirements of holding non-binding advisory votes on executive compensation and golden parachute
                arrangements.

          We may take advantage of these provisions for up to five years or such earlier time that we are no longer an emerging growth company. We
    would cease to be an emerging growth company if we have more than US$1.07 billion in annual revenue, have more than US$700 million in
    market value of our Class A common shares held by non-affiliates or issue more than US$1.0 billion of non-convertible debt over a three-year
    period. We may choose to take advantage of some but not all of these reduced burdens. We have not taken advantage of any of these reduced
    reporting burdens in this prospectus, although we may choose to do so in future filings and if we do, the information that we provide shareholders
    may be different than you might get from other public companies in which you hold equity.

          In addition, under the JOBS Act, emerging growth companies can delay adopting new or revised accounting standards until such time as
    those standards apply to private companies. Given that we currently report and expect to continue to report under IFRS as issued by the IASB, we
    will not be able to avail ourselves of this extended transition period and, as a result, we will adopt new or revised accounting standards on the
    relevant dates on which adoption of such standards is required by the IASB.



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                                                                      THE OFFERING

          This summary highlights information presented in greater detail elsewhere in this prospectus. This summary is not complete and does not
    contain all the information you should consider before investing in our Class A common shares. You should carefully read this entire prospectus
    before investing in our Class A common shares including “Risk Factors” and our consolidated financial statements.

    Issuer                                                  XP Inc.

    Selling shareholders                                    XP Controle, GA Bermuda and DYNA III.

    Class A common shares offered by us                     42,553,192 Class A common shares.

    Class A common shares offered by the selling            29,957,449 Class A common shares (or 40,834,045 Class A common shares if the
     shareholders                                           underwriters exercise in full their option to purchase additional shares).

    Offering price                                          US$27.00 per Class A common share.

    Proposed purchase by new investor                       Entities advised by Durable have agreed to purchase 5,500,000 of our Class A common
                                                            shares in this offering at the initial public offering price. The underwriters will receive the
                                                            same discount on any of our Class A common shares purchased by such entities as they
                                                            will from any other Class A common shares sold to the public in this offering.

    Voting rights                                           The Class A common shares will be entitled to one vote per share, whereas the Class B
                                                            common shares (which are not being sold in this offering) will be entitled to 10 votes per
                                                            share, respectively.


    If, at any time, the total number of votes of the issued and outstanding Class B common shares represents less than 10% of the voting share rights
    of the Company, the Class B common shares then in issue shall automatically and immediately be converted into Class A common shares and no
    Class B common shares shall be issued by the Company thereafter.


                                                            In addition, each Class B common share will convert automatically into one Class A
                                                            common share upon any transfer, except for certain transfers as described under
                                                            “Management—Shareholders’ Agreement—Conversion of Shares” and “Description of
                                                            Share Capital—Conversion Rights.”

                                                            Holders of Class A common shares and Class B common shares will vote together as a
                                                            single class on all matters unless otherwise required by law and subject to certain
                                                            exceptions set forth in our amended and restated memorandum and articles of association
                                                            dated November 30, 2019, or the Articles of Association, as described under “Description
                                                            of Share Capital—Voting Rights.”



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                                                          Upon consummation of this offering, assuming no exercise of the underwriters’ option to
                                                          purchase additional shares, (1) holders of Class A common shares will hold approximately
                                                          14.6% of the combined voting power of our outstanding common shares and approximately
                                                          63.0% of our total equity ownership and (2) holders of Class B common shares will hold
                                                          approximately 85.4% of the combined voting power of our outstanding common shares and
                                                          approximately 37.0% of our total equity ownership.

                                                          If the underwriters exercise their option to purchase additional shares in full, (1) holders of
                                                          Class A common shares will hold approximately 15.2% of the combined voting power of
                                                          our outstanding common shares and approximately 64.2% of our total equity ownership
                                                          and (2) holders of Class B common shares will hold approximately 84.8% of the combined
                                                          voting power of our outstanding common shares and approximately 35.8% of our total
                                                          equity ownership.

                                                          The rights of the holders of Class A common shares and Class B common shares are
                                                          identical, except that (1) holders of Class B common shares are entitled to 10 votes per
                                                          share, whereas holders of our Class A common shares are entitled to one vote per share;
                                                          (2) holders of Class B common shares have certain conversion rights; and (3) holders of
                                                          Class B common shares are entitled to preemptive rights in the event that there is an
                                                          increase in our share capital and additional common shares are issued in order to maintain
                                                          their proportional ownership and voting interest. Moreover, the Class B common shares
                                                          shall not be listed on any stock exchange and will not be publicly traded. See “Description
                                                          of Share Capital” for a description of the material terms of our common shares, and the
                                                          differences between our Class A common shares and Class B common shares, and
                                                          “Management—Shareholders’ Agreement” for a description of the material terms of our
                                                          Shareholders’ Agreement which also impacts our Class A common shares and Class B
                                                          common shares.

    Option to purchase additional Class A common shares The selling shareholders have granted the underwriters the right to purchase up to an
                                                        additional 10,876,596 Class A common shares within 30 days of the date of this
                                                        prospectus, at the public offering price, less underwriting discounts and commissions, on
                                                        the same terms as set forth in this prospectus. We will not receive any proceeds from the
                                                        sale of Class A common shares by the selling shareholders.

    Listing                                               Our Class A common shares have been approved for listing on the Nasdaq Global Select
                                                          Market, under the symbol “XP.”

    Use of proceeds                                       We estimate that the net proceeds to us from this offering will be approximately
                                                          US$1,090.5 million, after deducting the estimated underwriting discounts and commissions
                                                          and estimated offering expenses payable by us. We intend to use the net proceeds from this



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                                                       offering to (1) meet our anticipated increased working capital requirements resulting from
                                                       the expected growth in our business; (2) accelerate customer acquisition through increased
                                                       investments in marketing and advertising; (3) invest in personnel that complement our
                                                       existing business units; (4) invest in new financial services verticals that we plan to enter or
                                                       have recently entered into, such as digital banking, payments and insurance; (5) fund
                                                       potential future acquisition opportunities; and (6) fund other general corporate purposes.
                                                       See “Use of Proceeds.”

                                                       We will not receive any proceeds from the sale of Class A common shares by the selling
                                                       shareholders.

    Share capital before and after offering            As of the date of this prospectus, our authorized share capital is US$35,000, consisting of
                                                       3,500,000,000 shares of par value US$0.00001 each, after giving effect to the Share Split
                                                       and the Share Contribution. Of those authorized shares, (1) 2,000,000,000 are designated as
                                                       Class A common shares; (2) 1,000,000,000 are designated as Class B common shares; and
                                                       (3) 500,000,000 are as yet undesignated and may be issued as common shares or shares
                                                       with preferred rights.

                                                       Immediately after this offering, we will have 347,642,853 Class A common shares and
                                                       204,157,473 Class B common shares outstanding, assuming no exercise of the
                                                       underwriters’ option to purchase additional shares.

    Dividend policy                                    We have not adopted a dividend policy with respect to future distributions of dividends.
                                                       The amount of any distributions will depend on many factors, such as our results of
                                                       operations, financial condition, cash requirements, prospects and other factors deemed
                                                       relevant by our board of directors and controlling shareholders. We may not pay any cash
                                                       dividends in the foreseeable future. See “Dividends and Dividend Policy” and “Description
                                                       of Share Capital—Dividends and Capitalization of Profits.”

    Lock-up agreements                                 We have agreed with the underwriters, subject to certain exceptions, not to offer, sell, or
                                                       dispose of any shares of our share capital or securities convertible into or exchangeable or
                                                       exercisable for any shares of our share capital during the 180-day period following the date
                                                       of this prospectus. Members of our board of directors and our executive officers, all of our
                                                       existing shareholders, and entities advised by Durable have agreed to substantially similar
                                                       lock-up provisions, subject to certain exceptions. See “Underwriting (Conflicts of
                                                       Interest).”

    Conflicts of Interest                              Our affiliate, XP Investments, is one of the underwriters of this offering. Since we own
                                                       more than 10% of the common equity of XP Investments, a “conflict of interest” exists for
                                                       XP Investments within the meaning of FINRA Rule 5121(f)(5)(B). Also, XP Investments



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                                                       will have a conflict of interest as defined in Rule 5121(f)(5)(C)(ii) due to the receipt of
                                                       more than 5% of the net offering proceeds by its affiliates. In addition, since one of our
                                                       significant shareholders owns more than 10% of our common equity and more than 10% of
                                                       the common equity of Itau BBA USA Securities, Inc., one of the underwriters of this
                                                       offering, a “conflict of interest” exists for Itau BBA USA Securities, Inc. within the
                                                       meaning of FINRA Rule 5121(f)(5)(B). Also, Itau BBA USA Securities, Inc. will have a
                                                       conflict of interest as defined in Rule 5121(f)(5)(C)(ii) due to the receipt of more than 5%
                                                       of the net offering proceeds by affiliates of Itau BBA USA Securities, Inc. Therefore, this
                                                       offering will be conducted in compliance with the applicable requirements of FINRA Rule
                                                       5121. Pursuant to that rule, the appointment of a “qualified independent underwriter” is not
                                                       required in connection with this offering as the underwriters primarily responsible for
                                                       managing the public offering do not have a conflict of interest, are not affiliates of any
                                                       underwriter that has a conflict of interest and meet the requirements of paragraph (f)(12)(E)
                                                       of FINRA Rule 5121. Any underwriter with a conflict of interest under Rule 5121 will not
                                                       confirm initial sales to any discretionary accounts over which it has authority without the
                                                       prior specific written approval of the customer.

    Risk factors                                       See “Risk Factors” and the other information included in this prospectus for a discussion of
                                                       factors you should consider before deciding to invest in our Class A common shares.

    Cayman Islands exempted company with limited       We are a Cayman Islands exempted company with limited liability. The rights of
     liability                                         shareholders and the responsibilities of members of our board of directors may be different
                                                       from the rights of shareholders and responsibilities of directors in companies governed by
                                                       the laws of U.S. jurisdictions. In particular, as a matter of Cayman Islands law, directors of
                                                       a Cayman Islands company owe fiduciary duties to the company and separately a duty of
                                                       care, diligence and skill to the company. Under Cayman Islands law, directors and officers
                                                       owe the following fiduciary duties: (1) duty to act in good faith in what the director or
                                                       officer believes to be in the best interests of the company as a whole; (2) duty to exercise
                                                       powers for the purposes for which those powers were conferred and not for a collateral
                                                       purpose; (3) directors should not improperly fetter the exercise of future discretion;
                                                       (4) duty to exercise powers fairly as between different sections of shareholders; (5) duty to
                                                       exercise independent judgment; and (6) duty not to put themselves in a position in which
                                                       there is a conflict between their duty to the company and their personal interests. Our
                                                       Articles of Association have varied this last obligation by providing that a director must
                                                       disclose the nature and extent of his or her interest in any contract or arrangement, and
                                                       following such disclosure and subject to any separate requirement under applicable law or
                                                       the listing rules of the Nasdaq and unless disqualified by the chairman of the relevant
                                                       meeting, such director may vote in respect of



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                                                             any transaction or arrangement in which he or she is interested and may be counted in the
                                                             quorum at the meeting, provided that such disclosure does not modify the duty of interested
                                                             directors to act bona fide in the best interests of the Company. In comparison, under the
                                                             Delaware General Corporation Law, a director of a Delaware corporation owes fiduciary
                                                             duties to the corporation and its stockholders comprised of the duty of care and the duty of
                                                             loyalty. Such duties prohibit self-dealing by a director and mandate that the best interest of
                                                             the corporation and its shareholders take precedence over any interest possessed by a
                                                             director, officer or controlling shareholder and not shared by the shareholders generally.
                                                             See “Description of Share Capital—Principal Differences between Cayman Islands and
                                                             U.S. Corporate Law.”

           Unless we specifically state otherwise, all information in this prospectus, except for our historical financial statements included elsewhere in
    this prospectus, reflects the completion of the Share Split following the Share Contribution prior to the consummation of this offering.

          Unless otherwise indicated, all information contained in this prospectus:
           •     assumes the implementation of the Share Split, applied retroactively to all of the figures herein setting forth the number of our
                 common shares and per common share data; and
           •     assumes no exercise of the option granted to the underwriters to purchase up to additional 10,876,596 Class A common shares in
                 connection with this offering.

          The number of Class A common shares and Class B common shares to be outstanding after this offering is based on 509,247,134 common
    shares outstanding as of September 30, 2019 (after giving effect to the Share Contribution and the Share Split) and excludes 27,590,016 Class A
    common shares that may be issued following this offering under our Long-Term Incentive Plan. See “Management—Long-Term Incentive Plan.”

          When the selling shareholders consummate sales of Class B common shares in this offering, the Class B common shares sold will,
    immediately prior to such sale, automatically convert into Class A common shares on a share-for-share basis. As a result, purchasers of our
    common shares in this offering will only receive Class A common shares, and only Class A common shares are being offered by this prospectus.
    Class B common shares that are not sold by the selling shareholders will remain Class B common shares unless otherwise converted into Class A
    common shares. See “Description of Share Capital.”



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                                                      SUMMARY FINANCIAL INFORMATION

         The following tables set forth, for the periods and as of the dates indicated, our summary financial and operating data. This information
    should be read in conjunction with “Presentation of Financial and Other Information,” “Management’s Discussion and Analysis of Financial
    Condition and Results of Operations” and our consolidated financial statements, including the notes thereto, included elsewhere in this prospectus.

          The summary interim statements of financial position as of September 30, 2019 and the interim statements of income for the nine months
    ended September 30, 2019 and 2018 of XP Brazil have been derived from the unaudited interim condensed consolidated financial statements of XP
    Brazil included elsewhere in this prospectus, prepared in accordance with International Financial Reporting Standard IAS No. 34 “Interim
    Financial Reporting”, or IAS 34. The summary statements of financial position as of December 31, 2018 and 2017 and the statements of income
    for the years ended December 31, 2018, 2017 and 2016 have been derived from the audited consolidated financial statements of XP Brazil included
    elsewhere in this prospectus, prepared in accordance with IFRS, as issued by the IASB. The results of operations for the nine months ended
    September 30, 2019 are not necessarily indicative of the results of operations that may be expected for the entire year ending December 31, 2019.
    The financial information for the years ended 2018 and 2016 have been restated from the Company’s initial Form F-1 dated September 13, 2019
    and should be read in conjunction with our annual consolidated financial statements, included elsewhere else in this prospectus. Share and per share
    data in the table below has been retroactively adjusted to give effect to the Share Split.


    Income Statement Data

                                                                                 For the Nine Months Ended                       For the Year Ended
                                                                                        September 30,                               December 31,
                                                                                2019        2019        2018          2018         2018        2017    2016
                                                                              (US$)(1)            (R$)              (US$)(1)                   (R$)
                                                                                                    (in millions, except earnings per share)
    Gross revenue and income(2)                                                   887       3,695       2,259           772      3,216        2,065     1,347
    Sales tax(3)                                                                  (62)       (259)       (186)          (62)      (258)        (158)      (95)
    Total revenue and income                                                      825       3,437       2,073           711      2,958        1,907     1,252
    Operating costs and expenses
    Operating costs                                                              (269)     (1,119)       (632)         (226)       (941)       (580)     (376)
    Selling expenses                                                              (20)        (82)        (64)          (23)        (96)        (33)      (24)
    Administrative expenses                                                      (311)     (1,294)       (828)         (283)     (1,177)       (650)     (471)
    Other operating expenses, net                                                  28         118         (19)           (8)        (31)         (8)       (6)
    Interest expense on debt                                                      (15)        (63)        (60)          (17)        (72)        (61)      —
    Income before income tax                                                      239         997         470           154         641         576       374
    Income tax expense                                                            (71)       (298)       (118)          (42)       (175)       (152)     (130)
    Net income for the period / year                                              168         699         352           112         465         424       244
    Net income attributable to:
    Owners of the Parent company                                                  166        692         350           111         461         414        189
    Non-controlling interest                                                        2          7           2             1           4          10         55
    Basic and Diluted earnings per common and preferred shares – R$(4)         0.0816     0.3397      0.1796       0.05617      0.2339      0.2134     0.1360
    Pro forma Basic and Diluted earnings per common and preferred shares
       (after giving effect to the Share Split) – R$(5)                        0.3263     1.3588      0.7184        0.2247      0.9356      0.8536     0.5440



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    (1)   For convenience purposes only, amounts in reais for the nine months ended September 30, 2019 and for the year ended December 31, 2018
          have been translated to U.S. dollars using an exchange rate of R$4.1638 to US$1.00, the commercial purchase rate for U.S. dollars as of
          September 30, 2019 as reported by the Central Bank. These translations should not be considered representations that any such amounts have
          been, could have been or could be converted at that or any other exchange rate. See “Exchange Rates” for further information about recent
          fluctuations in exchange rates.
    (2)   The sum of (i) Revenues from services rendered; and (ii) Income from financial instruments, in each case gross of taxes and contributions on
          revenue.
    (3)   The sum of (i) Sales taxes and contributions on revenue; and (ii) Taxes and contributions on financial income.
    (4)   Restated for 2018 and 2016 as set forth in note 3(xx) of our annual consolidated financial statements included elsewhere in this prospectus.
    (5)   The pro forma basic and diluted earnings per share are presented using our historical earnings per share recast using the number of common
          and preferred shares in issue immediately prior to completion of this offering, after giving effect to the Share Split.


    Balance Sheet Data

                                                                                                    As of September 30,              As of December 31,
                                                                                                     2019        2019          2018         2018        2017
                                                                                                   (US$)(1)      (R$)        (US$)(1)            (R$)
                                                                                                                          (in millions)
    Assets
    Cash                                                                                                17          70           16           68        153
    Securities purchased under agreements to resell                                                  3,231      13,453        1,578        6,571        935
    Securities trading and intermediation                                                              194         807          216          898        672
    Other securities and derivative financial instruments(2)                                         5,547      23,095        2,122        8,834      4,339
    Property and equipment                                                                              29         120           24           99         47
    Intangible assets                                                                                  125         521          121          505        483
    Other assets(3)                                                                                    262       1,090          180          749        507
    Total assets                                                                                     9,404      39,156        4,257       17,724      7,136
    Liabilities
    Securities sold under repurchase agreements                                                      4,712      19,618        1,595        6,641        514
    Securities trading and intermediation                                                            1,730       7,202        1,274        5,307      3,111
    Securities loaned and derivative financial instruments(4)                                        1,361       5,667          541        2,251      1,037
    Borrowings, lease liabilities, and debentures(5)                                                   356       1,482          210          876        867
    Private pension liabilities                                                                        413       1,722            4           16        —
    Other liabilities(6)                                                                               164         684          130          542        456
    Total liabilities                                                                                8,736      36,374        3,754       15,633      5,984
    Total equity                                                                                       668       2,782          502        2,092      1,152
    Total liabilities and equity                                                                     9,404      39,156        4,257       17,724      7,136

    (1)   For convenience purposes only, amounts in reais for the nine months ended September 30, 2019 for the year ended December 31, 2018 have
          been translated to U.S. dollars using an exchange rate of R$4.1638 to US$1.00, the commercial purchase rate for U.S. dollars as of
          September 30, 2019 as reported by the Central Bank. These translations should not be considered representations that any such amounts have
          been, could have been or could be converted at that or any other exchange rate. See “Exchange Rates” for further information about recent
          fluctuations in exchange rates.



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    (2)     The sum of (i) Fair value through profit or loss – Securities; (ii) Fair value through profit or loss – Derivative financial instruments; (iii) Fair
            value through other comprehensive income – Securities; and (iv) Evaluated at amortized cost – Securities.
    (3)     The sum of (i) Evaluated at amortized cost – Accounts receivable; (ii) Evaluated at amortized cost – Other financial assets; (iii) Other assets;
            and (iv) Deferred tax expenses.
    (4)     The sum of (i) Securities loaned; and (ii) Derivative financial instruments.
    (5)     The sum of (i) Borrowings; (ii) Lease liabilities; and (iii) Debentures.
    (6)     The sum of (i) Accounts payable; (ii) Other financial liabilities; (iii) Social and statutory obligations; (iv) Taxes and social security
            obligations; (v) Provisions and contingent liabilities; (vi) Other liabilities; and (vii) Deferred tax liabilities.


    Non-GAAP Financial Measures
          This prospectus presents our Floating Balance, Adjusted Gross Financial Assets, Adjusted EBITDA and Adjusted Net Income and their
    respective reconciliations for the convenience of investors, which are non-GAAP financial measures. A non-GAAP financial measure is generally
    defined as a numerical measure of historical or future financial performance, financial position, or cash flow that purports to measure financial
    performance but excludes or includes amounts that would not be so adjusted in the most comparable GAAP measure. For further information on
    why our management chooses to use these non-GAAP financial measures, and on the limits of using these non-GAAP financial measures, please
    see “Presentation of Financial and Other Information—Special Note Regarding Non-GAAP Financial Measures.”


          Floating Balance

                                                                                              For the Nine Months Ended                   For the Year Ended
                                                                                                     September 30,                          December 31,
                                                                                              (US$)(1)             (R$)           (US$)(1)              (R$)
                                                                                                                          (in millions)
                                                                                                2019             2019               2018          2018       2017
    (+) Securities trading and intermediation (Liabilities)                                       1,730            7,202          1,274        5,307        3,111
    (-) Securities trading and intermediation (Assets)                                             (194)            (807)          (216)        (898)        (672)
    Floating Balance                                                                              1,536            6,395          1,059        4,408        2,439

    (1)     For convenience purposes only, amounts in reais for the nine months ended September 30, 2019 and for the year ended December 31, 2018
            have been translated to U.S. dollars using an exchange rate of R$4.1638 to US$1.00, the commercial purchase rate for U.S. dollars as of
            September 30, 2019 as reported by the Central Bank. These translations should not be considered representations that any such amounts have
            been, could have been or could be converted at that or any other exchange rate. See “Exchange Rates” for further information about recent
            fluctuations in exchange rates.



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          Adjusted Gross Financial Assets

                                                                                           For the Nine Months Ended                 For the Year Ended
                                                                                                  September 30,                        December 31,
                                                                                           (US$)(1)           (R$)           (US$)(1)              (R$)
                                                                                                                       (in millions)
                                                                                             2019            2019               2018        2018        2017
    Cash and Financial Assets
    (+) Cash                                                                                     17               70             16           68           153
    (+) Securities – Fair value through profit or loss                                        3,880           16,158          1,511        6,291         3,780
    (+) Securities – Fair value through other comprehensive income                              188              782            167          696           —
    (+) Securities – Evaluated at amortized cost                                                133              556             37          155           —
    (+) Derivative financial instruments (Assets)                                             1,345            5,599            406        1,692           559
    (+) Securities purchased under agreements to resell                                       3,231           13,453          1,578        6,571           935
    Financial Liabilities
    (-) Securities loaned                                                                        (86)           (360)          (303)       (1,260)         (713)
    (-) Derivative financial instruments (Liabilities)                                        (1,275)         (5,307)          (238)         (991)         (324)
    (-) Securities sold under repurchase agreements                                           (4,712)        (19,618)        (1,595)       (6,641)         (514)
    (-) Private pension liabilities(2)                                                          (413)         (1,722)            (4)          (16)          —
    Subtotal                                                                                   2,308           9,612          1,577         6,565         3,876
    (-) Floating Balance                                                                      (1,536)         (6,395)        (1,059)       (4,408)       (2,439)
    Adjusted Gross Financial Assets                                                              772           3,216            518         2,157         1,438

    (1)     For convenience purposes only, amounts in reais for the nine months ended September 30, 2019 and for the year ended December 31, 2018
            have been translated to U.S. dollars using an exchange rate of R$4.1638 to US$1.00, the commercial purchase rate for U.S. dollars as of
            September 30, 2019 as reported by the Central Bank. These translations should not be considered representations that any such amounts have
            been, could have been or could be converted at that or any other exchange rate. See “Exchange Rates” for further information about recent
            fluctuations in exchange rates.
    (2)     Relates to balances of retail clients invested in pension funds through XP VP. Those balances are identified in the financial statements as
            “Securities—Fair value through profit or loss,” with a corresponding balance in “Private Pension Liabilities.”


          Adjusted EBITDA

                                                                                              For the Nine Months                  For the Year Ended
                                                                                              Ended September 30,                     December 31,
                                                                                               2019         2019           2018        2018       2017     2016
                                                                                             (US$)(1)       (R$)        (US$)(1)                 (R$)
                                                                                                                        (in millions)
    Net Income                                                                                   168          699           112         465      424       244
    (+) Income Tax                                                                                71          298            42         175      152       130
    (+) Depreciation and Amortization                                                             15           62            13          53       27        23
    (+) Interest Expense on Debt                                                                  15           63            17          72       61       —
    (-) Interest Revenue on Adjusted Gross Financial Assets(2)                                   (26)        (107)          (25)       (104)     (99)      (71)
    Adjusted EBITDA                                                                              244        1,015           159         662      565       326

    (1)     For convenience purposes only, amounts in reais for the nine months ended September 30, 2019 and for the year ended December 31, 2018
            have been translated to U.S. dollars using an exchange rate of R$4.1638 to



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            US$1.00, the commercial purchase rate for U.S. dollars as of September 30, 2019 as reported by the Central Bank. These translations should
            not be considered representations that any such amounts have been, could have been or could be converted at that or any other exchange rate.
            See “Exchange Rates” for further information about recent fluctuations in exchange rates.
    (2)     Calculated as the average interest rate over the period (the CDI rate), multiplied by the average Adjusted Gross Financial Assets. The
            historical annual CDI rates are set forth in the table in “Management’s Discussion and Analysis of Financial Condition and Results of
            Operations—Significant Factors Affecting our Results of Operations—Brazilian Macroeconomic Environment.” However, the calculation of
            this adjustment is performed on a daily basis.


          Adjusted Net Income

                                                                                                       For the Nine Months            For the Year Ended
                                                                                                       Ended September 30,               December 31,
                                                                                                       2019     2019    2018    2018      2018   2017    2016
                                                                                                     (US$)(1)       (R$)            (US$)(1)         (R$)
                                                                                                                           (in millions)
    Net Income                                                                                          168     699     352      112     465     424     244
    (+) Itaú Transaction and deal related expenses(2)                                                   —       —        36        9      39       6     —
    (-) One-time tax claim recognition (2010-2017)(3)                                                   (17)    (71)    —        —       —       —       —
    (-/+) Taxes                                                                                           7      28     (12)      (3)    (13)     (2)    —
    Adjusted Net Income                                                                                 158     657     376      118     491     428     244

    (1)     For convenience purposes only, amounts in reais for the nine months ended September 30, 2019 and for the year ended December 31, 2018
            have been translated to U.S. dollars using an exchange rate of R$4.1638 to US$1.00, the commercial purchase rate for U.S. dollars as of
            September 30, 2019 as reported by the Central Bank. These translations should not be considered representations that any such amounts have
            been, could have been or could be converted at that or any other exchange rate. See “Exchange Rates” for further information about recent
            fluctuations in exchange rates.
    (2)     Expenses of R$6 million in 2017 related to the potential IPO process that was discontinued after the Itaú Transaction, including legal,
            auditing, advisory and travel, among others. In 2018, expenses of R$39 million related to the payment of fees and expenses in respect of the
            closing of the Itaú Transaction.
    (3)     Income of R$71 million in the nine months ended September 30, 2019 related to the recognition of PIS/COFINS credits, following the final
            and non-appealable decision in connection with a claim to which XP CCTVM was the plaintiff.



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                                                                        RISK FACTORS

        An investment in our Class A common shares involves a high degree of risk. In addition to the other information in this prospectus, you should
  carefully consider the following risk factors in evaluating us and our business before purchasing our Class A common shares. In particular, you should
  consider the risks related to an investment in companies operating in Brazil and Latin America generally, for which we have included information in
  these risk factors to the extent that information is publicly available. In general, investing in the securities of issuers whose operations are located in
  emerging market countries such as Brazil, involves a higher degree of risk than investing in the securities of issuers whose operations are located in the
  United States or other more developed countries. If any of the risks discussed in this prospectus actually occur, alone or together with additional risks
  and uncertainties not currently known to us, or that we currently deem immaterial, our business, financial condition, results of operations and prospects
  may be materially adversely affected. If this were to occur, the value of our Class A common shares may decline and you may lose all or part of your
  investment. When determining whether to invest, you should also refer to the other information contained in this prospectus, including our financial
  statements, unaudited interim condensed consolidated financial statements and the related notes thereto. You should also carefully review the cautionary
  statements referred to under “Cautionary Statement Regarding Forward-Looking Statements.” Our actual results could differ materially and adversely
  from those anticipated in this prospectus.


  Certain Risks Relating to Our Business and Industry
     If we cannot make the necessary investments to keep pace with rapid developments and change in our industry, the use of our services could
     decline, reducing our revenues.
        The financial services market in which we compete is subject to rapid and significant changes. This market is characterized by rapid technological
  change, new product and service introductions, evolving industry standards, changing client needs and the entrance of nontraditional competitors. In
  order to remain competitive and maintain and enhance customer experience and the quality of our services, we must continuously invest in projects to
  develop new products and features. These projects carry risks, such as cost overruns, delays in delivery, performance problems and lack of client
  adoption. There can be no assurance that we will have the funds available to maintain the levels of investment required to support our projects, and any
  delay in the delivery of new services or the failure to differentiate our services or to accurately predict and address market demand could render our
  services less desirable, or even obsolete, to our clients.

         In addition, the services we deliver are designed to process highly complex transactions and provide reports and other information concerning
  those transactions, all at high volumes and processing speeds. Any failure to deliver an effective and secure service, or any performance issue that arises
  with a new service could result in significant processing or reporting errors or other losses. As a result of these factors, our development efforts could
  result in increased costs and/or we could also experience a loss in business that could reduce our earnings or could cause a loss of revenue if promised
  new services are not timely delivered to our clients or do not perform as anticipated. We also rely in part, and may in the future rely in part, on third
  parties, for the development of, and access to, new technologies. Our future success will depend in part on our ability to develop or adapt to
  technological changes and evolving industry standards. We cannot predict the effects of technological changes on our business. If we are unable to
  develop, adapt to or access technological changes or evolving industry standards on a timely and cost-effective basis, our business, financial condition
  and results of operations could be materially adversely affected.

        Furthermore, our competitors may have the ability to devote more financial and operational resources than we can to the development of new
  technologies and services that provide improved functionality and features to their existing service offerings. If successful, their development efforts
  could render our services less desirable to clients, resulting in the loss of clients or a reduction in the fees we could generate from our service offerings.

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     Substantial and increasingly intense competition within our industry may harm our business.
         The financial services market is highly competitive. Our growth will depend on a combination of the continued growth of financial services and
  our ability to increase our market share. Our primary competitors include traditional financial services providers such as affiliates of financial
  institutions and well-established financial services companies in Brazil. We also face competition from non-traditional financial services providers that
  have significant financial resources and develop different kinds of services.

         Many of our competitors have substantially greater financial, technological, operational and marketing resources than we do. Accordingly, these
  competitors may be able to offer more attractive fees to our current and prospective clients, especially our competitors that are affiliated with financial
  institutions. If competition causes us to reduce the fees we charge for our services, we will need to aggressively control our costs in order to maintain
  our profit margins and our revenues may be adversely affected. Moreover, we may not be successful in reducing or controlling costs and our margins
  may be adversely affected. In particular, we may need to reduce the fees we charge in order to maintain market share, as clients may demand more
  customized and favorable pricing from us. In addition, we may incur increased costs from incentive payments made to IFAs in order to gain or maintain
  market share. We may also decide to terminate client relationships which may no longer be profitable to us due to such pricing pressure. Competition
  could also result in a loss of existing clients, and greater difficulty in attracting new clients. One or more of these factors could have a material adverse
  effect on our business, financial condition and results of operations. For further information regarding our competition, see “Business—Competition.”


     Client attrition could cause our revenues to decline and the degradation of the quality of the products and services we offer, including support
     services, could adversely impact our ability to attract and retain clients and partners.
         We experience client attrition resulting from several factors, including, among others, client business closures, transfers of accounts to our
  competitors and lack of client satisfaction with our platform and overall user experience, including the reliability, performance, functionality and quality
  of our products and services and our high level of client support. We cannot predict the level of attrition in the future and our revenues could decline as a
  result of higher than expected attrition, which could have a material adverse effect on our business, financial condition and results of operations. In
  addition, our growth to date has been partially driven by the growth of our clients’ businesses. Should the rate of growth of our clients’ business slow or
  decline, this could have an adverse effect on our results of operations. Furthermore, should we not be successful in selling additional solutions to our
  active client base, we may fail to achieve our desired rate of growth.

         Moreover, our clients expect a consistent level of quality on our platform and in the provision of our products and services. The support services
  that we provide are also a key element of the value proposition to our clients. If the reliability, performance or functionality of our products and services
  is compromised or the quality of those products or services is otherwise degraded, or if we fail to continue to provide a high level of support, we could
  lose existing clients and find it harder to attract new clients and partners. If we are unable to scale our support functions to address the growth of our
  client and partner network, the quality of our support may decrease, which could adversely affect our ability to attract and retain clients and partners.


     Our investment services to our retail clients subject us to additional risks.
        We provide investment services to our retail clients, including through IFAs. The risks associated with these investment services include those
  arising from possible conflicts of interest, unsuitable investment recommendations, inadequate due diligence on the issuer or the provider of the security,
  inadequate disclosure and fraud. Realization of these risks could lead to liabilities for client losses, regulatory fines, civil penalties and harm to our
  reputation and business.

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     We do not have long-term contractual arrangements with most of our institutional brokerage clients, and our trading volumes and revenues
     could be reduced if these clients stop using our platform and solutions.
        Our business largely depends on certain of our institutional brokerage clients using our solutions and trading on our platforms. A limited number
  of such clients can account for a significant portion of our trading volumes, which in turn, results in a significant portion of our transaction fees. Most of
  our institutional brokerage clients do not have long-term contractual arrangements with us and utilize our platform and solutions on a
  transaction-by-transaction basis and may choose not to use our platform at any time. These institutional brokerage clients buy and sell a variety of
  products within various asset classes using traditional methods, including by telephone, e-mail and instant messaging, and through other trading
  platforms. Any significant loss of these institutional brokerage clients or a significant reduction in their use of our platform and solutions could have a
  substantial negative impact on our trading volumes and revenues, and materially adversely affect our business, financial condition and results of
  operations.


     Our institutional brokerage business depends on our key dealer clients providing us with liquidity and supporting our marketplaces by
     transacting with our other institutional and wholesale clients.
        Our institutional brokerage business relies on its key dealer clients to provide liquidity on our trading platforms by posting prices on our platform
  and responding to client inquiries and this business has historically earned a substantial portion of its revenues from such dealer clients. Market
  knowledge and feedback from these dealer clients have been important factors in the development of many of our offerings and solutions. In addition,
  these dealer clients also provide us with data via feeds and through the transactions they execute on our trading platforms, which is an important input
  for our market data offerings.

        Our dealer clients also buy and sell through traditional methods, including by telephone, e-mail and instant messaging, and through other trading
  platforms. Some of our dealer clients have developed electronic trading networks that compete with us or have announced their intention to explore the
  development of such electronic trading networks, and many of our dealer clients are involved in other ventures, including other trading platforms or
  other distribution channels, whether as trading participants and/or as investors. In particular, some of our dealer clients or their affiliates, as is typical for
  a large number of major banks, have their own single bank or other competing trading platform and frequently invest in such businesses and may
  acquire ownership interests in similar businesses, and such businesses may also compete with us. These competing trading platforms may offer some
  features that we do not currently offer or that we are unable to offer, including customized features or functions and solutions that are fully integrated
  with some of their other offerings. Accordingly, there can be no assurance that such dealer clients’ primary commitments will not be to one of our
  competitors or that they will not continue to rely on their own trading platforms or traditional methods instead of using our trading platforms.

         Although we have established and maintain significant long-term relationships with our key dealer clients, we cannot assure you that all of these
  relationships will continue or will not diminish. Any reduction in the use of our trading platforms by our key dealer clients for any reason, and any
  associated decrease in the pool of capital and liquidity accessible across our marketplaces, could reduce the volume of trading on our platform, which
  could, in turn, reduce the use of our platform by their counterparty clients. In addition, any decrease in the number of dealer clients competing for trades
  on our trading platforms, could cause our dealer clients to forego the use of our platform and instead use platforms that provide access to more
  competitive trading environments and prices. The occurrence of any of the foregoing may have a material adverse effect on our business, financial
  condition and results of operations.


     A significant part of our business depends on the B3
        The B3 is the only public stock exchange in Brazil and a significant volume of our trading activities is conducted through the B3, for which we
  pay the B3 clearing, custody and other financial services fees. We cannot assure you that the B3 will not impose restrictions on trading, request
  additional guarantees or margin requirements, increase existing fees or introduce new fees, among other measures. The occurrence of any of the
  foregoing may have a material adverse effect on our business, financial condition and results of operations.

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     XP CCTVM depends in part on the performance of its IFAs. If XP CCTVM is unable to hire, retain and qualify such IFAs, our business may be
     harmed.
        XP CCTVM, one of our principal operating subsidiaries and securities broker, has a broad network of IFAs, and our business depends in part on
  such IFAs. Pursuant to CVM Instruction No. 497, IFAs may carry out the following activities on behalf of a broker dealer: (1) prospecting and acquiring
  customers; (2) receiving and registering orders and transmitting such orders to the appropriate trading or registration systems; and (3) providing
  information on the products offered and the services provided by XP CCTVM. XP CCTVM’s reliance on IFAs creates numerous risks.

        As of September 30, 2019, XP CCTVM had approximately 5,900 individual IFAs organized into approximately 620 IFA entities, which were
  responsible for serving approximately 29% of XP CCTVM’s active clients. In addition, XP CCTVM’s 20 largest IFA entities comprised 1,358
  individual IFAs and were responsible for serving approximately 9.5% of XP CCTVM’s active clients.

         Pursuant to Article 15 of CVM Instruction No. 497, XP CCTVM is liable for the acts of its IFAs. As a result, XP CCTVM may be subject to
  claims, lawsuits, arbitration proceedings, government investigations and other legal and regulatory proceedings seeking to hold XP CCTVM liable for
  the actions of IFAs. We cannot give any assurances as to the outcome of any such claims, lawsuits, arbitration proceedings, government investigations or
  other legal or regulatory proceedings. Any claims against XP CCTVM, whether with or without merit, could be time-consuming, result in costly
  litigation, be harmful to its reputation and to “XP” brand, require significant management attention and divert significant resources, and the resolution of
  one or more such proceedings may result in substantial damages, settlement costs, sanctions, consent decrees, injunctions, fines and penalties that could
  adversely affect XP CCTVM’s business, financial condition and results of operations. In addition, no assurances can be given that these IFAs’ interests
  will continue to be aligned with the interests of XP CCTVM, that there will be no commercial disagreements between the IFAs and XP CCTVM, that
  such IFAs will not compete with XP CCTVM or that they will not engage in improper conduct (i.e. churning) in their role as IFAs. In Brazil, there is
  increased competition between financial institutions seeking to attract IFAs to increase their client base, assets under custody and business possibilities.
  No assurances can be given that XP CCTVM will be able to remain an attractive player to such IFAs or to retain such agents in its business platform.
  Furthermore, many clients have their commercial relationship directly with the IFA of their choice and trust and not with the employees of XP CCTVM.
  Accordingly, the loss of IFAs may result in loss of clients and assets under custody, which would affect XP CCTVM’s business.

        Furthermore, the independent contractor status of the IFAs may be challenged in the courts of Brazil. For example, XP CCTVM has in the past
  been involved in, and successfully challenged, a number of legal proceedings claiming that IFAs should be treated as its employees rather than as
  independent contractors, and there can be no assurance that we will be successful in challenging any future claims. Changes to foreign, federal, state,
  and local laws governing the definition or classification of independent contractors, or judicial decisions regarding independent contractor classification,
  could require classification of IFAs as employees. If, as a result of legislation or judicial decisions, XP CCTVM is required to classify IFAs as
  employees, XP CCTVM would incur significant additional expenses for compensating IFAs, potentially retroactively to the past five years and
  including expenses associated with the application of wage and hour laws (including minimum wage, overtime, meal and rest period requirements),
  vacation, 13th monthly salary, FGTS, severance, employee benefits, social security contributions, taxes, and penalties (including collective moral
  damages).

        Moreover, on July 1, 2019, the CVM issued Public Hearing Release SDM No. 03/19 (Edital de Audiência Pública SDM nº 03/19), or SDM 3/19,
  which aims to initiate discussions with financial market entities and IFAs in connection with potential amendments to CVM Instruction No. 497. Such
  amendments could include terminating the exclusivity provision set forth in CVM Instruction No. 497, among others. Although we cannot predict the
  impact of such potential amendments, they could result in increased competition for clients and qualified IFAs and reduced oversight of IFAs, and allow
  IFAs to work with other platforms or competitors, which may adversely affect us.

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     Poor investment performance could lead to a loss of assets under management and a decline in revenues.
         Distributing investment fund quotas managed by third parties or by our asset managers represents a relevant part of our business, which income is
  a percentage of the management and/or performance fee related to such funds. Moreover, a portion of our consolidated income is derived from
  management and performance fees collected by our three principal asset managers, XP Gestão, XP Advisory and XP Vista. Poor investment
  performance by the investment funds managed by third parties or by our asset managers could hinder our growth and reduce our revenues because
  (1) existing clients might withdraw funds in favor of better performing products, which would result in lower investment advisory and other fees; (2) our
  ability to attract capital from existing and new clients might diminish; and (3) the negative investment performance will directly reduce our managed
  assets and revenues base, which may have a material adverse effect on our business, financial condition, results of operations and the price of our
  Class A common shares.


     Unauthorized disclosure, destruction or modification of data, through cybersecurity breaches, computer viruses or otherwise or disruption of our
     services could expose us to liability, protracted and costly litigation and damage our reputation.
         Our business involves the collection, storage, processing and transmission of customers’ personal data, including names, addresses, identification
  numbers, bank account numbers and trading and investment portfolios data. An increasing number of organizations, including large clients and
  businesses, other large technology companies, financial institutions and government institutions, have disclosed breaches of their information
  technology systems, some of which have involved sophisticated and highly targeted attacks, including on portions of their websites, networks or
  infrastructure, or those of third parties who provide services to them. We could also be subject to breaches of security by hackers. Threats may derive
  from human error, fraud or malice on the part of employees, third-party service providers or IFAs, or may result from accidental technological failure.
  Concerns about security are increased when we transmit information. Electronic transmissions can be subject to attack, interception or loss. Also,
  computer viruses and malware can be distributed and spread rapidly over the internet and could infiltrate our systems or those of our associated
  participants, which can impact the confidentiality, integrity and availability of information, and the integrity and availability of our products, services
  and systems, among other effects. Denial of service or other attacks could be launched against us for a variety of purposes, including interfering with our
  services or creating a diversion for other malicious activities. These types of actions and attacks could disrupt our delivery of products and services or
  make them unavailable, which could damage our reputation, force us to incur significant expenses in remediating the resulting impacts, expose us to
  uninsured liability, subject us to lawsuits, fines or sanctions, distract our management or increase our costs of doing business.

         In 2013 and 2014, XP CCTVM suffered security breaches, through which an individual improperly accessed a small portion of our customer
  records and obtained certain non-material customer registration information, such as name, address and email, and subsequently publicly disclosed such
  information in January 2017. The security breaches were identified and immediately remedied, did not result in the imposition of penalties or fines from
  the relevant regulatory authorities, and did not materially impact us. We assisted all affected customers and mitigated their damages.

        In the scope of our activities, we share information with third parties, including thousands of IFAs, commercial partners, third-party service
  providers and other agents, who collect, process, store and transmit sensitive data, and we may be held responsible for any failure or cybersecurity
  breaches attributed to these third parties insofar as they relate to the information we share with them. The loss, destruction or unauthorized modification
  of data by us or such third parties or through systems we provide could result in significant fines, sanctions and proceedings or actions against us by
  governmental bodies or third parties, which could have a material adverse effect on our business, financial condition and results of operations. Any such
  proceeding or action, and any related indemnification obligation, could damage our reputation, force us to incur significant expenses in defense of these
  proceedings, distract our management, increase our costs of doing business or result in the imposition of financial liability.

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        Our encryption of data and other protective measures may not prevent unauthorized access or use of sensitive data. A breach of our system or that
  of one of our associated participants may subject us to material losses or liability, including fines. A misuse of such data or a cybersecurity breach could
  harm our reputation and deter clients from using our products and services, thus reducing our revenues. In addition, any such misuse or breach could
  cause us to incur costs to correct the breaches or failures, expose us to uninsured liability, increase our risk of regulatory scrutiny, subject us to lawsuits,
  and result in the imposition of material penalties and fines under state and federal laws or regulations.

         We cannot assure you that there are written agreements in place with every third-party or that such written agreements will prevent the
  unauthorized use, modification, destruction or disclosure of data or enable us to obtain reimbursement from such third-parties in the event we should
  suffer incidents resulting in unauthorized use, modification, destruction or disclosure of data. Any unauthorized use, modification, destruction or
  disclosure of data could result in protracted and costly litigation, which could have a material adverse effect on our business, financial condition and
  results of operations.

        Cybersecurity incidents are increasing in frequency and evolving in nature and include, but are not limited to, installation of malicious software,
  unauthorized access to data and other electronic security breaches that could lead to disruptions in systems, unauthorized release of confidential or
  otherwise protected information and the corruption of data. Given the unpredictability of the timing, nature and scope of information technology
  disruptions, there can be no assurance that the procedures and controls we employ will be sufficient to prevent security breaches from occurring and we
  could be subject to manipulation or improper use of our systems and networks or financial losses from remedial actions, any of which could have a
  material adverse effect on our business, financial condition and results of operations.

         Once Law No. 13,709/2018 (Lei Geral de Proteção de Dados, or the LGPD) comes into force in August 2020, cybersecurity incidents and data
  breach or leakage events may subject us to the following penalties: (1) warnings, with the imposition of a deadline for the adoption of corrective
  measures; (2) a one-time fine of up to 2% of gross sales of the company or a group of companies or a maximum amount of R$50,000,000 per violation;
  (3) a daily fine, up to a maximum amount of R$50,000,000 per violation; (4) public disclosure of the violation; (5) the restriction of access to the
  personal data to which the violation relates, until corrective measures are implemented; and (6) deletion of the personal data to which the violation
  relates.


     Our business depends on well-regarded and widely known brands, including “XP Investimentos,” “Clear,” “Rico,” “XP Asset Management,”
     “Infomoney,” “XP Educação,” “XP Seguros” and “XP Investments,” and any failure to maintain, protect, and enhance our brands, including
     through effective marketing and communications strategies, would harm our business.
         We have developed well-regarded and widely known brands, including “XP Investimentos,” “Clear,” “Rico,” “XP Asset Management,”
  “Infomoney,” “XP Educação,” “XP Seguros” and “XP Investments,” that have contributed significantly to the success of our business. Maintaining,
  protecting, and enhancing our brands are critical to expanding our client base, and other third-party partners, as well as increasing engagement with our
  products and services. This will depend largely on our ability to remain widely known, maintain trust, be a technology leader, and continue to provide
  high-quality and secure products and services. Any negative publicity about our industry or our company, the quality, reliability and performance of our
  products and services, our risk management processes, changes to our products and services, our ability to effectively manage and resolve client
  complaints, our privacy and security practices, litigation, regulatory activity, and the experience of clients with our products or services, could adversely
  affect our reputation and the confidence in and use of our products and services. Harm to our brands can arise from many sources, including failure by
  us or our partners to satisfy expectations of service and quality, inadequate protection of personal information, compliance failures and claims, litigation
  and other claims, third-party trademark infringement claims, administrative proceedings at the applicable national trademark offices, employee
  misconduct, and misconduct by our associated participants, partners, service providers, or other counterparties. If we do not successfully maintain well-
  regarded and widely known brands, our business could be materially and adversely affected.

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         We have been from time to time in the past, and may in the future be, the target of incomplete, inaccurate, and misleading or false statements
  about our company, our business, and our products and services that could damage our brands and materially deter people from adopting our services.
  For example, over the past several years, certain persons or entities have fraudulently used the “XP” brand and/or presented themselves as part of or
  affiliated with the “XP” brand as IFAs carrying out activities on our behalf. Negative publicity about our company or our management, including about
  our product quality, reliability and performance, changes to our products and services, privacy and security practices, litigation, regulatory enforcement,
  and other actions, as well as the actions of our clients and other users of our services, even if inaccurate, could cause a loss of confidence in us. Our
  ability to respond to negative statements about us may be limited by legal prohibitions on permissible public communications by us during our initial
  public offering process or during future periods.

        In addition, we believe that promoting our brands in a cost-effective manner is critical to achieving widespread acceptance of our products and
  services and to expand our base of clients. Our brand promotion activities may not generate customer awareness or increase revenue, and even if they
  do, any increase in revenue may not offset the expenses we incur in building our brands. If we fail to successfully promote and maintain our brands or if
  we incur excessive expenses in this effort, our business could be materially and adversely affected.

         The introduction and promotion of new services, as well as the promotion of existing services, may be partly dependent on our visibility on third-
  party advertising platforms, such as Google, Facebook or Instagram. Changes in the way these platforms operate or changes in their advertising prices or
  other terms could make the maintenance and promotion of our products and services and our brands more expensive or more difficult. If we are unable
  to market and promote our brands on third-party platforms effectively, our ability to acquire new clients would be materially harmed.


     An increase in volume on our systems or other errors or events could cause them to malfunction.
         Most of our trade orders to buy or sell securities or invest in the broad range of asset classes we offer are received and processed electronically.
  This method of trading is heavily dependent on the integrity of the electronic systems supporting it. While we have never experienced a significant
  failure of our trading systems, heavy stress placed on our systems during peak trading times could cause our systems to operate at unacceptably low
  speeds or fail altogether. Any significant degradation or failure of our systems or the systems of third parties involved in the trading process (e.g., online
  and Internet service providers, the systems of the B3, record keeping and data processing functions performed by third parties, and third-party software),
  even for a short time, could cause customers to suffer delays in trading. In addition, systems errors, including as a result of human error, could occur.
  These delays or errors could cause substantial losses for customers and could subject us to claims from these customers for losses or other regulatory
  penalties or other sanctions. There can be no assurance that our network structure will operate appropriately in the event of a subsystem, component or
  software failure or error. Furthermore, we cannot assure you that we will be able to prevent an extended systems failure in the event of a power or
  telecommunications failure, an earthquake, terrorist attack, epidemic, fire or any act of God. Any systems failure that causes interruptions in our
  operations could have a material adverse effect on our business, financial condition and results of operations.


     We rely on a number of external service providers for certain key market information and data, technology, processing and supporting functions.
         We rely on a number of external service providers for certain key market information and data, technology, processing and supporting functions,
  such as Microsoft, SAP and Oracle, among others. These include trading platform, portfolio management and asset allocation services, account opening
  and management systems, communication systems, registration systems, data control systems, information security systems, anti-fraud systems, trading
  surveillance systems, exchanges, clearinghouses and others which are of critical importance for us in order to provide our services to our clients in a
  satisfactory manner. These service providers may face technical, operational and security risks of their own, including risks similar to those that we face
  as described

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  herein. Any significant failures by them, including improper use or disclosure of our confidential customer, employee or company information, could
  interrupt our business, cause us to incur losses and harm our reputation. Particularly, we have contracted with Bloomberg, Reuters and certain other
  institutions to allow our clients to access real-time market information data, which are essential for our clients to make their investment decisions and
  take certain actions (such as making trades). Any failure of such information providers to update or deliver the data in a timely manner as provided in
  the agreements could lead to potential losses of our clients, which may in turn affect our business operations and reputation and may cause us to incur
  losses.

        We cannot assure you that the external service providers will be able to continue to provide these services to meet our current needs in an efficient
  and cost-effective manner, or that they will be able to adequately expand their services to meet our needs in the future. Some external service providers
  may have assets and infrastructure that are important to the services they provide us that are located in or outside Brazil, and their ability to provide
  these services is subject to risks from unfavorable political, economic, legal or other developments, such as social or political instability, changes in
  governmental policies or changes in the applicable laws and regulations of the jurisdictions in which their assets and operations are located.

        An interruption in or the cessation of service by any external service provider as a result of system failures, capacity constraints, financial
  constraints or problems, unanticipated trading market closures or for any other reason and our inability to make alternative arrangements in a smooth
  and timely manner, if at all, could have a material adverse effect on our business, financial condition and results of operations.

        Further, disputes might arise in relation to the agreements that we enter into with our service providers or the performance of the service providers
  thereunder. To the extent that any service provider disagrees with us on the quality of the products or services, terms and conditions of the payment or
  other provisions of such agreements, we may face claims, disputes, litigations or other proceedings initiated by such service provider against us. We may
  incur substantial expenses and require significant attention of management in defending against these claims, regardless of their merit. We could also
  face damages to our reputation as a result of such claims, and our business, financial condition, results of operations and prospects could be materially
  and adversely affected.


     We may not be able to ensure the accuracy of the third-party product information on our platform, and we have limited control over the
     performance of third-party financial products we offer.
         We offer certain third-party financial products. The acceptance and popularity of our platform is partially premised on the reliability and
  performance of the relevant underlying products and information on our platform. We rely on the relevant third-party providers of the relevant products
  for the authenticity of their underlying products and the comprehensiveness, accuracy and timeliness of the related financial information. While the
  products and information from these third-party providers have been generally reliable, there can be no assurance that the reliability can be maintained
  in the future. If these third-party providers or their agents provide inauthentic financial products or incomplete, misleading, inaccurate or fraudulent
  information, we may lose the trust of existing and prospective investors. In addition, if our investors purchase the underlying products that they discover
  on our platform and they suffer losses, they may blame us and attempt to hold us responsible for their losses, even though we have made risk disclosures
  before they invest. Our reputation could be harmed and we could experience reduced user traffic to our platform, which would adversely affect our
  business and financial performance.

         Furthermore, as investors access the underlying products through our platform, they may have the impression that we are at least partially
  responsible for the quality and performance of these products. Although we have established standards to screen product providers before distributing
  their products on our platform, we have limited control over the performance of the third-party financial products we offer. In the event that an investor
  is dissatisfied with underlying products or the services of a products provider, we do not have any means to directly make improvements in response to
  user complaints. If investors become dissatisfied with the

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  underlying products available on our platform, our business, reputation, financial performance and prospects could be adversely affected.


     We rely upon our systems and upon third-party data center service providers to host certain aspects of our platform and content, and any systems
     failure due to factors beyond our control or any disruption to, or interference with, our use of third-party data center services, could interrupt our
     service, increase our costs and impair our ability to deliver our platform, resulting in customer dissatisfaction, damaging our reputation and
     harming our business.
        We utilize data center hosting facilities from third-party service providers to make certain content available on our platform. Our primary data
  centers are located in the cities of Barueri and Santana do Parnaíba, in the State of São Paulo, Brazil (which are located approximately 5 miles apart).
  Our operations depend, in part, on our providers’ ability to protect their facilities against damage or interruption from natural disasters, power or
  telecommunications failures, criminal acts and similar events. The occurrence of spikes in user volume, traffic, natural disasters, acts of terrorism,
  vandalism or sabotage, or a decision to close a facility without adequate notice, or other unanticipated problems at our providers’ facilities could result
  in lengthy interruptions in the availability of our platform, which would adversely affect our business.

        In addition, we depend on the efficient and uninterrupted operation of numerous systems, including our computer systems, software, data centers
  and telecommunications networks, as well as the systems of third parties. Our systems and operations or those of our third-party providers, could be
  exposed to damage or interruption from, among other things, fire, natural disaster, power loss, telecommunications failure, unauthorized entry and
  computer viruses. We do not maintain insurance policies specifically for property and business interruptions. Defects in our systems or those of third
  parties, errors or delays in the processing of transactions, telecommunications failures or other difficulties could result in:
         •     loss of revenues;
         •     loss of clients;
         •     loss of client data;
         •     loss of licenses or authorizations with the CVM, the Central Bank, the Superintendency of Private Insurance (Superintendência de Seguros
               Privados), or SUSEP, and/or any other applicable authority;
         •     loss of our membership to the B3 and/or loss of access to the trading facilities of the B3;
         •     fines imposed by applicable regulatory authorities and other issues relating to non-compliance with applicable financial services or data
               protection requirements;
         •     a failure to receive, or loss of, Central Bank authorizations to operate as a financial services provider in Brazil;
         •     fines or other penalties imposed by the Central Bank, as well as other measures taken by the Central Bank, including intervention,
               temporary special management systems, the imposition of insolvency proceedings, and/or the out-of-court liquidation of XP CCTVM and
               any of our subsidiaries to whom licenses may be granted in the future;
         •     harm to our business or reputation resulting from negative publicity;
         •     exposure to fraud losses or other liabilities;
         •     additional operating and development costs; and/or
         •     diversion of technical and other resources.


     We are subject to risks in using prime brokers and custodians.
        Our asset management division and its managed funds depend on the services of prime brokers, administrators and custodians to settle and report
  securities transactions. In the event of the insolvency of a prime

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  broker, administrator or custodian, our funds might not be able to recover equivalent assets in whole or in part, as they will rank among the prime
  broker’s, the administrator’s and the custodian’s unsecured creditors in relation to assets that the prime broker, administrator or custodian borrows, lends
  or otherwise uses. In addition, cash held by our funds with the prime broker, administrator or custodian will not be segregated from the prime broker’s,
  administrator’s or custodian’s own cash, and the funds will therefore rank as unsecured creditors in relation thereto.


     If we lose key personnel, our business, financial condition and results of operations may be adversely affected.
        We are dependent upon the ability and experience of a number of key personnel, including Guilherme Benchimol, one of our founders and our
  chief executive officer, as well as a high-profile public figure and the face of the XP brand, and other members of senior management, who have
  substantial experience with our operations, the financial services industry and the markets in which we offer our products and services. Many of our key
  personnel have worked for us for a significant amount of time or were recruited by us specifically due to their industry experience. It is possible that the
  loss of the services of one or a combination of our senior executives or key managers, including our chief executive officer, could have a material
  adverse effect on our business, financial condition and results of operations.


     The ability to attract, recruit, develop and retain qualified employees and continue to strengthen our existing infrastructure and systems is critical
     to our success and growth. If we are not able to do so, our business and prospects may be materially and adversely affected.
         Our business functions at the intersection of rapidly changing technological, social, economic and regulatory developments that require a wide-
  ranging set of expertise and intellectual capital. In order for us to successfully compete and grow, we must attract, recruit, develop and retain the
  necessary personnel who can provide the needed expertise across the entire spectrum of our intellectual capital needs. While we have a number of our
  key personnel who have substantial experience with our operations, we must also develop our personnel to provide succession plans capable of
  maintaining continuity in the midst of the inevitable unpredictability of human capital. However, the market for qualified personnel is competitive, and
  we may not succeed in recruiting additional personnel or may fail to effectively replace current personnel who depart with qualified or effective
  successors. We must continue to hire additional personnel to execute our strategic plans. Our effort to retain and develop personnel may also result in
  significant additional expenses, which could adversely affect our profitability. We cannot assure you that our qualified employees will continue to be
  employed by us or that we will be able to attract and retain qualified personnel in the future. Failure to retain or attract key personnel could have a
  material adverse effect on our business, financial condition and results of operations.

         In addition, in order to manage our growth effectively, we must continue to strengthen our existing infrastructure, develop and improve our
  internal controls, create and improve our reporting systems, and timely address issues as they arise. These efforts may require substantial financial
  expenditures, commitments of resources, developments of our processes, and other investments and innovations. Furthermore, we encourage employees
  to quickly develop and launch new features for our products and services. As we grow, we may not be able to execute as quickly as smaller, more
  efficient organizations. If we do not successfully manage our growth, our business will suffer.


     We are subject to various risks associated with the securities industry, any of which could have a materially adverse effect on our business, cash
     flows and results of operations.
        We are subject to uncertainties that are common across the securities industry. These uncertainties include:
         •     the volatility of domestic and international financial, bond and stock markets, and the markets for funds and other asset classes;

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         •     extensive governmental regulation;
         •     litigation;
         •     intense competition;
         •     poor performance of investment products that our advisors recommend or sell or that are otherwise sold or distributed on our platform;
         •     substantial fluctuations in the volume and price level of securities; and
         •     dependence on the solvency of various third parties.

         As a result, our revenues and earnings may vary significantly from quarter to quarter and from year to year. In addition, lower price levels of
  securities may result in reduced volumes of securities, options and futures transactions, with a consequent reduction in our commission revenues. In
  periods of low retail and institutional brokerage volume and reduced investment banking activity, profitability is impaired because certain expenses
  remain relatively fixed. Sudden sharp declines in market values of securities and the failure of issuers and counterparties to perform their obligations can
  result in illiquid markets which, in turn, may result in our having difficulty selling securities. In the event of a market downturn, our business could be
  adversely affected in many ways, potentially for a prolonged period of time. Our revenues are likely to decline in such circumstances and, if we are
  unable to reduce expenses at the same pace, our profit margins would erode, which could have a material adverse effect on our business, financial
  condition and results of operations.


     We derive a significant portion of our revenues from one of our operating subsidiaries
        A significant portion of our revenues is derived from one of our principal operating subsidiaries, XP CCTVM. For the years ended December 31,
  2018, 2017 and 2016, the net revenue of XP CCTVM represented approximately 70% of our total consolidated net revenue for such periods. We expect
  that we will continue to depend on XP CCTVM for a significant portion of our revenues for the foreseeable future, and any decrease in the revenue of
  XP CCTVM or any other event significantly affecting XP CCTVM may have a material adverse effect on our financial condition and results of
  operations.


     Our holding company structure makes us dependent on the operations of our subsidiaries.
         We are a Cayman Islands exempted company with limited liability. As a holding company, our corporate purpose is to invest, as a partner or
  shareholder, in other companies, consortia or joint ventures in Brazil, where most of our operations are located, and outside Brazil. Accordingly, our
  material assets are our direct and indirect equity interests in our subsidiaries, and we are therefore dependent upon the results of operations and, in turn,
  the payments, dividends and distributions from our subsidiaries for funds to pay our holding company’s operating and other expenses and to pay future
  cash dividends or distributions, if any, to holders of our Class A common shares, and we may have tax costs in connection with any dividend or
  distribution. In addition, the payments, dividends and distributions from our subsidiaries to us for funds to pay future cash dividends or distributions, if
  any, to holders of our Class A common shares, could be restricted under financing arrangements that we or our subsidiaries may enter into in the future
  and we and such subsidiaries may be required to obtain the approval of lenders to make such payments to us in the event they are in default of their
  repayment obligations. Furthermore, we may be adversely affected if the Brazilian government imposes legal restrictions on dividend distributions by
  our Brazilian subsidiaries and exchange rate fluctuation will affect the U.S. dollar value of any distributions our subsidiaries make with respect to our
  equity interests in those subsidiaries. See “—Risks Relating to Brazil—Exchange rate instability may have adverse effects on the Brazilian economy, us
  and the price of our Class A common shares,” “Economic uncertainty and political instability in Brazil may harm us and the price of our Class A
  common shares” and “Dividends and Dividend Policy.”

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     We are exposed to fluctuations in foreign currency exchange rates and enter into derivatives transactions to manage our exposure to exchange
     rate risk.
         We hold certain funds in non-Brazilian real currencies, and will continue to do so in the future, including a portion of the proceeds from this
  offering, and our offshore operating subsidiaries generate revenue in non-Brazilian real currencies. Accordingly, our financial results are affected by the
  translation of these non-real currencies into reais. In addition, to the extent that we need to convert future financing proceeds into Brazilian reais for our
  operations, any appreciation of the Brazilian real against the relevant foreign currencies would materially reduce the Brazilian real amounts we would
  receive from the conversion, and any depreciation of the Brazilian real against the relevant foreign currencies could increase the amounts in Brazilian
  reais that we are require to convert into the relevant foreign currencies in order to service such relevant foreign currency financings. No assurance can
  be given that fluctuations in foreign exchange rates will not have a significant impact on our business, financial condition, results of operations and
  prospects. We may also have foreign exchange risk on any of our other assets and liabilities denominated in currencies, or with pricing linked to
  currencies, other than our functional currency, including certain contract assets. Fluctuations in the Brazilian real versus any of these foreign currencies
  may have a material adverse effect on our financial position and results of operations.

        In addition, we enter into derivatives transactions to manage our exposure to exchange rate risk. Such derivatives transactions are designed to
  protect us against increases or decreases in exchange rates, but not both. If we have entered into derivatives transactions to protect against, for example,
  decreases in the value of the real and the real instead increases in value, we may incur financial losses. Such losses could materially and adversely affect
  us.


     XP CCTVM is subject to liquidity risks.
        XP CCTVM is subject to liquidity risks. Liquidity is the ability to meet current and future cash flow needs on a timely basis at a reasonable cost.
  XP CCTVM requires sufficient liquidity to meet customer and clearinghouse deposit maturities/withdrawals, payments on debt obligations as they
  become due and other cash commitments under both normal operating conditions and other unpredictable circumstances causing industry or general
  financial market stress. XP CCTVM’s access to funding sources in amounts adequate to finance its activities on terms that are acceptable to it could be
  impaired by factors that affect it specifically or the financial services industry or economy generally. To the extent XP CCTVM is unable to maintain
  adequate levels of liquidity, it may not be able to meet its payment obligations, which may have a material adverse effect on our business, financial
  condition and results of operations.

        In addition, XP CCTVM invests funds held in customer accounts in fixed income financial instruments and securities that meet certain liquidity
  conditions. To the extent customers withdraw a substantial amount of their funds held in such customer accounts for other uses, XP CCTVM might
  experience liquidity constraints, requiring it to rapidly sell financial assets at a discounted price, and may be unable to obtain funding and default on its
  payment obligations to market counterparties and other customers, which may cause XP CCTVM to incur losses, and consequently harm our image and
  reputation and have a material adverse effect on our business, financial condition and results of operations.


     We have identified material weaknesses in our internal control over financial reporting and, if we fail to remediate such deficiencies (and any
     other ones) and to maintain effective internal controls over financial reporting, we may be unable to accurately report our results of operations,
     meet our reporting obligations and/or prevent fraud.
        Prior to this offering, we were a private company with limited accounting personnel and other resources to address our internal control over
  financial reporting and procedures. Our management has not completed an assessment of the effectiveness of our internal control over financial
  reporting and our independent registered

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  public accounting firm has not conducted an audit of our internal control over financial reporting. In connection with the audit of our consolidated
  financial statements for the year ended December 31, 2018, we identified a number of material weaknesses in our internal control over financial
  reporting as of December 31, 2018. A material weakness is a deficiency, or combination of control deficiencies, in internal control over financial
  reporting, such that there is a reasonable possibility that a material misstatement of the annual or interim consolidated financial statements will not be
  prevented or detected on a timely basis.

       The material weaknesses identified relate to our insufficient accounting resources and processes necessary to comply with the reporting and
  compliance requirements of IFRS and the U.S. Securities and Exchange Commission, or the SEC. Specifically:
         •     we identified material weaknesses related to (1) managing access to our systems, data and end-user computing (EUC) controls, and (2)
               computer operations controls, which were not designed or operating effectively;
         •     we identified material weaknesses related to the recognition and measurement of revenues, which could result in a material misstatement
               of our revenues if not timely identified by us; and
         •     we identified control deficiencies related to controls around the financial reporting closing process, including the calculation of EPS, the
               identification and disclosure of related party transactions, and the procedures existent to maintain formal accounting policies, processes
               and controls to analyze, account for and disclose complex transactions; such deficiencies, when considered in the aggregate, would be
               considered a material weakness.

        These material weaknesses did not result in a misstatement to our consolidated financial statements.

        We have adopted a remediation plan with respect to the material weaknesses identified above which include hiring several experienced personnel
  in our financial reporting organization and implementation of new processes and procedures, improving our internal controls to provide additional levels
  of review, implementation of new software solutions, training for staff and enhanced documentation.

        In connection with the preparation of our unaudited interim condensed consolidated financial statements for the nine months ended September 30,
  2019, we did not identify any additional material weaknesses in our internal control over financial reporting.

        After this offering, we will be subject to the Sarbanes-Oxley Act, which requires, among other things, that we establish and maintain effective
  internal controls over financial reporting and disclosure controls and procedures. Under the current rules of the SEC we will be required to perform
  system and process evaluation and testing of our internal controls over financial reporting to allow management to assess the effectiveness of our
  internal controls. Our testing may reveal deficiencies in our internal controls that are deemed to be material weaknesses or significant deficiencies and
  render our internal controls over financial reporting ineffective. We expect to incur additional accounting and auditing expenses and to spend significant
  management time in complying with these requirements. If we are not able to comply with these requirements in a timely manner, or if we or our
  management identifies material weaknesses or significant deficiencies in our internal controls over financial reporting that are deemed to be material
  weaknesses, the market price of our Class A common shares may decline and we may be subject to investigations or sanctions by the SEC, the Financial
  Industry Regulatory Authority, Inc., or FINRA, or other regulatory authorities.

        In addition, these new obligations will also require substantial attention from our senior management and could divert their attention away from
  the day-to-day management of our business. These cost increases and the diversion of management’s attention could materially and adversely affect our
  business, financial condition and operation results.

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     Requirements associated with being a public company in the United States will require significant company resources and management attention.
         After the completion of this offering, we will become subject to certain reporting requirements of the Securities Exchange Act of 1934, or the
  Exchange Act, and the other rules and regulations of the SEC and Nasdaq. We will also be subject to various other regulatory requirements, including
  the Sarbanes-Oxley Act. We expect these rules and regulations to increase our legal, accounting and financial compliance costs and to make some
  activities more time-consuming and costly. For example, we expect these rules and regulations to make it more difficult and more expensive for us to
  obtain director and officer liability insurance, and we may be required to accept reduced policy limits and coverage or incur substantial costs to maintain
  the same or similar coverage. New rules and regulations relating to information disclosure, financial reporting and controls and corporate governance,
  which could be adopted by the SEC, Nasdaq or other regulatory bodies or exchange entities from time to time, could result in a significant increase in
  legal, accounting and other compliance costs and make certain corporate activities more time-consuming and costly, which could materially affect our
  business, financial condition and results of operations. These rules and regulations may also make it more difficult for us to attract and retain qualified
  persons to serve on our board of directors or as executive officers.

        These new obligations will also require substantial attention from our senior management and could divert their attention away from the
  day-to-day management of our business. Given that most of the individuals who now constitute our management team have limited experience
  managing a publicly traded company and complying with the increasingly complex laws pertaining to public companies, initially, these new obligations
  could demand even greater attention. These cost increases and the diversion of management’s attention could materially and adversely affect our
  business, financial condition and results of operations.


     Our business is subject to complex and evolving regulations and oversight related to our provision of financial products and services and to costs
     and risks associated with other increased or changing laws and regulations affecting our business, including developments in data protection and
     privacy laws, which could harm our business, financial condition and results of operations.
       As a financial services institution in Brazil, our business is subject to Brazilian laws and regulations relating to financial services in Brazil,
  comprising Federal Law No. 4,595/64, Federal Law No. 6,385/76 and related rules and regulations issued by the Central Bank, the CVM, the B3 and
  ANBIMA, among others. In addition, our insurance business is subject to various laws and regulations in Brazil, such as Federal Law No. 4,595/64,
  Decree Law No. 73/66 and certain other rules and regulations issued by the National Private Insurance Council (Conselho Nacional de Seguros
  Privados), or CNSP, and SUSEP, among others.

        The laws, rules, and regulations that govern our business include or may in the future include those relating to banking, deposit-taking, cross-
  border and domestic money transmission, foreign exchange, payments services (such as payment processing and settlement services), consumer
  financial protection, tax, anti-money laundering and terrorist financing and escheatment (rules relating to unclaimed property). These laws, rules, and
  regulations are enforced by multiple authorities and governing bodies in Brazil, including the Central Bank and the CMN. In addition, as our business
  continues to develop and expand, we may become subject to additional rules and regulations, which may limit or change how we conduct our business.

        We are subject to anti-money laundering and terrorist financing laws and regulations in multiple jurisdictions that prohibit, among other things,
  involvement in transferring the proceeds of criminal or terrorist activities. We could be subject to liability and forced to change our business practices if
  we were found to be subject to, or in violation of, any laws or regulations impacting our ability to maintain a bank account in the countries where we
  operate, including the United States, or if existing or new legislation or regulations applicable to banks in the countries where we maintain a bank
  account, including the United States, were to result in banks in those countries being unwilling or unable to establish and maintain bank accounts for us.

        If any person in the Cayman Islands knows or suspects or has reasonable grounds for knowing or suspecting that another person is engaged in
  criminal conduct or money laundering or is involved with terrorism or terrorist

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  financing and property and the information for that knowledge or suspicion came to their attention in the course of business in the regulated sector, or
  other trade, profession, business or employment, the person will be required to report such knowledge or suspicion to (i) the Financial Reporting
  Authority (“FRA”) of the Cayman Islands, pursuant to the Proceeds of Crime Law (2019 Revision) of the Cayman Islands if the disclosure relates to
  criminal conduct or money laundering, or (ii) a police officer of the rank of constable or higher, or the FRA, pursuant to the Terrorism Law (2018
  Revision) of the Cayman Islands, if the disclosure relates to involvement with terrorism or terrorist financing and property. Such a report shall not be
  treated as a breach of confidence or of any restriction upon the disclosure of information imposed by any enactment or otherwise.

         Certain of our subsidiaries are subject to regulation in the United States, such as our subsidiary, XP Investments US, LLC, which is registered with
  the SEC and FINRA as a broker-dealer and XP Advisory US, Inc., which is registered with the SEC as an investment advisor. We do not believe that we
  or any of our subsidiaries engage in any financial services activities in the United States that would require a license from any U.S. federal or state
  banking authorities or other financial regulators, except those licenses and registrations that have already been obtained. If we are found to have engaged
  in a banking or other financial services business in the United States without an appropriate registration or license, we could be subject to liability, or
  forced to cease doing such business, change our business practices, or to obtain the appropriate license or registration. If we or any of our subsidiaries
  obtain additional licenses or registrations in the United States, we could be subject to compliance with additional applicable laws and regulations,
  including anti-money laundering and terrorist financing laws and regulations, which could adversely affect our business, financial condition, or results
  of operations.

         Although we have a compliance program focused on applicable laws, rules, and regulations (which currently is principally focused on Brazilian
  law) and are continually investing in this program, we may nonetheless be subject to fines or other penalties in one or more jurisdictions levied by
  federal, state or local regulators, as well as those levied by foreign regulators. In addition to fines, penalties for failing to comply with applicable rules
  and regulations could include significant criminal and civil lawsuits, forfeiture of significant assets, or other enforcement actions, including loss of
  required licenses or approvals in a given jurisdiction. We could also be required to make changes to our business practices or compliance programs as a
  result of regulatory scrutiny. In addition, any perceived or actual failure to comply with applicable laws, rules, and regulations could have a significant
  impact on our reputation as a trusted brand and could cause us to lose existing clients, prevent us from obtaining new clients, require us to expend
  significant funds to remedy problems caused by breaches and to avert further breaches, and expose us to legal risk and potential liability, and we could
  be (1) required to pay substantial fines and disgorgement of our profits; (2) required to change our business practices; or (3) subjected to insolvency
  proceedings such as an intervention by the Central Bank, as well as the out-of-court liquidation of XP CCTVM, and any of our subsidiaries to whom
  authorizations may be granted in the future. Any disciplinary or punitive action by our regulators or failure to obtain required operating authorizations
  could seriously harm our business and results of operations.

         In addition, the Brazilian regulatory and legal environment exposes us to other compliance and litigation risks that could materially affect our
  results of operations. These laws and regulations may change, sometimes significantly, as a result of political, economic or social events. Some of the
  federal, state or local laws and regulations in Brazil that affect us include: those relating to consumer products, product liability or consumer protection;
  those relating to the manner in which we advertise, market or sell products; labor and employment laws, including wage and hour laws; tax laws or
  interpretations thereof; bank secrecy laws, data protection and privacy laws and regulations; and securities and exchange laws and regulations. For
  instance, data protection and privacy laws are developing to take into account the changes in cultural and consumer attitudes towards the protection of
  personal data (including as a result of the LGPD). There can be no guarantee that we will have sufficient financial and personnel resources to comply
  with any new regulations or successfully compete in the context of a changing regulatory environment.

       The laws regulating privacy rights and data protection have considerably evolved over recent years, providing for more restrictive provisions on
  the means through which processing of personal data by

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  organizations is regulated. As of August 2018, when the LGPD was enacted, practices involving the processing of personal data were ruled by certain
  sectorial laws, such as the Consumer Defense Code (Law No. 8,078/1990) and the Brazilian Civil Rights Framework for the Internet (Law No. 12,965).

         On August 14, 2018, the President of Brazil approved the LGPD, a comprehensive personal data protection law establishing general principles
  and obligations that apply across multiple economic sectors and contractual relationships. The LGPD establishes detailed rules for the collection, use,
  processing and storage of personal data and will affect all economic sectors, including the relationship between customers and suppliers of goods and
  services, employees and employers and other relationships in which personal data is collected, whether in a digital or physical environment. The
  obligations established by LGPD will become effective starting in August 2020 (24 months from the date of its publication in August 2018), by which
  date all legal entities will be required to adapt their data processing activities to these new rules. Once LGPD becomes effective, the penalties and fines
  for violations include: (1) warnings, with the imposition of a deadline for the adoption of corrective measures; (2) a one-time fine of up to 2% of gross
  sales of the company or a group of companies or a maximum amount of R$50,000,000 per violation; (3) a daily fine, up to a maximum amount
  of R$50,000,000 per violation; (4) public disclosure of the violation; (5) the restriction of access to the personal data to which the violation relates, until
  corrective measures are implemented; and (6) deletion of the personal data to which the violation relates. Any additional privacy laws or regulations
  enacted or approved in Brazil or in other jurisdictions in which we operate could seriously harm our business, financial condition or results of
  operations.


     We are subject to regulatory activity and antitrust litigation under competition laws.
         We are subject to scrutiny from governmental agencies under competition laws in countries in which we operate. Some jurisdictions also provide
  private rights of action for competitors or consumers to assert claims of anticompetitive conduct. Other companies or governmental agencies may allege
  that our actions violate antitrust or competition laws, or otherwise constitute unfair competition. Contractual agreements with clients or companies, as
  well as our unilateral business practices, could give rise to regulatory action or antitrust investigations or litigation. Some regulators may perceive our
  business to have such significant market power that otherwise uncontroversial business practices could be deemed anticompetitive. Any such claims and
  investigations, even if they are unfounded, may be expensive to defend, involve negative publicity and substantial diversion of management time and
  effort, and could result in significant judgments against us.

       In order to obtain antitrust regulatory approvals from Brazil’s Administrative Council for Economic Defense (Conselho Administrativo de Defesa
  Econômica, or CADE), and the Central Bank for the Itaú Transaction, we entered into agreements with CADE and the Central Bank pursuant to which
  we agreed to certain restrictions on our ability to acquire interests in financial investment platforms.

        Pursuant to our agreement with CADE, we agreed, among other measures, to: (1) adopt equal treatment practices in our relationships with
  suppliers of financial products; (2) refrain from entering into exclusive relationships with financial advisors (except as permitted by applicable
  regulations); (3) facilitate transferability of clients’ financial products to competing platforms; and (4) maintain a “no fee” policy for specific types of
  financial products. A breach by us of any of the aforementioned measures could result in financial penalties, antitrust investigations and the revision of
  the agreement with CADE.

         Pursuant to our agreement with the Central Bank, we agreed, among other measures, to: (1) refrain from acquiring any interest in financial
  investment platforms; (2) prohibit Itaú Unibanco S.A. from exercising any influence over our business and operational decisions and strategies; and
  (3) refrain from selling any interest in our capital stock to any Itaú Unibanco S.A. group company. A breach by us of any of the aforementioned
  measures could result in financial penalties.


     We are subject to anti-corruption, anti-bribery, anti-money laundering and sanctions laws and regulations.
        We operate in jurisdictions that have a high risk of corruption and we are subject to anti-corruption, anti-bribery anti-money laundering and
  sanctions laws and regulations, including the Brazilian Federal Law

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  No. 12,846/2013, or the Clean Company Act, the United States Foreign Corrupt Practices Act of 1977, as amended, or the FCPA, and the Bribery Act
  2010 of the United Kingdom, or the Bribery Act. Each of the Clean Company Act, the FCPA and the Bribery Act impose liability against companies
  who engage in bribery of government officials, either directly or through intermediaries. We have a compliance program that is designed to manage the
  risks of doing business in light of these new and existing legal and regulatory requirements. Violations of the anti-corruption, anti-bribery, anti-money
  laundering and sanctions laws and regulations could result in criminal liability, administrative and civil lawsuits, significant fines and penalties,
  forfeiture of significant assets, as well as reputational harm.

         Regulators may increase enforcement of these obligations, which may require us to adjust our compliance and anti-money laundering programs,
  including the procedures we use to verify the identity of our clients and to monitor our transactions and transactions made through our platform.
  Regulators regularly reexamine the transaction volume thresholds at which we must obtain and keep applicable records, verify identities of customers,
  and report any change in such thresholds to the applicable regulatory authorities, which could result in increased costs in order to comply with these
  legal and regulatory requirements. Costs associated with fines or enforcement actions, changes in compliance requirements, or limitations on our ability
  to grow could harm our business, and any new requirements or changes to existing requirements could impose significant costs, result in delays to
  planned product improvements, make it more difficult for new customers to join our network and reduce the attractiveness of our products and services.


     Changes in tax laws, tax incentives, benefits or differing interpretations of tax laws may adversely affect our results of operations.
         Changes in tax laws, regulations, related interpretations and tax accounting standards in Brazil, the United States, the United Kingdom, or
  Switzerland (countries where we operate), or the Cayman Islands may result in a higher tax rate on our earnings, which may significantly reduce our
  profits and cash flows from operations. For example, in January 2019, the corporate income tax, or IRPJ, aggregate rate applicable to XP CCTVM was
  reduced from 45% to 40% on net profits. However, as of the date of this prospectus, government discussions to increase this tax rate back to 45% are
  ongoing. In addition, our financial condition and results of operations may decline if certain tax incentives are not retained or renewed. For example,
  Brazilian Law No. 11,196 currently grants tax benefits to companies that invest in research and development, provided that some requirements are met,
  which significantly reduces our annual corporate income tax expense. If the taxes applicable to our business increase or any tax benefits are revoked and
  we cannot alter our cost structure to pass our tax increases on to clients, our financial condition, results of operations and cash flows could be adversely
  affected. Our activities are also subject to a Municipal Tax on Services (Imposto Sobre Serviços), or ISS. Any increases in ISS rates could also harm our
  profitability.

        Furthermore, Brazilian governmental authorities at the federal, state and local levels are considering changes in tax laws in order to cover
  budgetary shortfalls resulting from the recent economic downturn in Brazil. If these proposals are enacted they may harm our profitability by increasing
  our tax liabilities, increasing our tax compliance costs, or otherwise affecting our financial condition, results of operations and cash flows. Tax rules in
  Brazil, particularly at the local level, can change without notice. We may not always be aware of all such changes that affect our business and we may
  therefore fail to pay the applicable taxes or otherwise comply with tax regulations, which may result in additional tax assessments and penalties for our
  company.

        At the municipal level, the Brazilian government enacted Supplementary Law No. 157/16, which imposed changes regarding the ISS collection
  applied to the rendering of part of our services. These changes created new obligations, as ISS will now be due in the municipality in which the acquirer
  of our services is located rather than in the municipality in which the service provider’s facilities are located. This obligation took force in January 2018,
  but has been delayed by Direct Unconstitutionality Action No. 5835, or ADI, filed by taxpayers. The ADI challenges the constitutionality of
  Supplementary Law No. 157/16 before the Supreme Court, arguing that the new legislation would adversely affect companies’ activities due to the
  increase of costs and bureaucracy related

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  to the ISS payment to several municipalities and the compliance with tax reporting obligations connected therewith. As a result, the Supreme Court
  granted an injunction to suspend the enforcement of Supplementary Law No. 157/16. As of the date of this prospectus, a final decision on this matter is
  currently pending.

        Moreover, we are subject to tax laws and regulations that may be interpreted differently by tax authorities and us. The application of indirect taxes,
  such as sales and use tax, value-added tax, or VAT, provincial taxes, goods and services tax, business tax and gross receipt tax, to businesses such as ours
  is complex and continues to evolve. We are required to use significant judgment in order to evaluate applicable tax obligations. In many cases, the
  ultimate tax determination is uncertain because it is not clear how existing statutes apply to our business. One or more states or municipalities, the
  federal government or other countries may seek to challenge the taxation or procedures applied to our transactions, which could impose the charge of
  taxes or additional reporting, record-keeping or indirect tax collection obligations on businesses like ours. New taxes could also require us to incur
  substantial costs to capture data and collect and remit taxes. If such obligations were imposed, the additional costs associated with tax collection,
  remittance and audit requirements could have a material adverse effect on our business and financial results.


     The costs and effects of pending and future litigation, investigations or similar matters, or adverse facts and developments related thereto, could
     materially affect our business, financial position and results of operations.
         We are, and may be in the future, party to legal, arbitration and administrative investigations, inspections and proceedings arising in the ordinary
  course of our business or from extraordinary corporate, tax or regulatory events, involving our clients, suppliers, customers, as well as competition,
  government agencies, tax and environmental authorities, particularly with respect to civil, tax and labor claims. Indemnity rights that we seek to
  negotiate in certain transactions may not cover all claims that may be asserted against us, and any claims asserted against us, regardless of merit or
  eventual outcome, may harm our reputation. Furthermore, there is no guarantee that we will be successful in defending ourselves in pending or future
  litigation or similar matters under various laws. Should the ultimate judgments or settlements in any pending or future litigation or investigation
  significantly exceed any amounts we are able to recover under any indemnity arrangements, such judgments or settlements could have a material
  adverse effect on our business, financial condition and results of operations and the price of our Class A common shares. Further, even if we adequately
  address issues raised by an inspection conducted by an agency or successfully defend our case in an administrative proceeding or court action, we may
  have to set aside significant financial and management resources to settle issues raised by such proceedings or to those lawsuits or claims, which could
  adversely affect our business. See “Business—Legal Proceedings.”


     We may not be able to successfully manage our intellectual property and may be subject to infringement claims.
         We rely on a combination of contractual rights, trademarks and trade secrets to establish and protect our proprietary technology. Third parties may
  challenge, invalidate, circumvent, infringe or misappropriate our intellectual property, including at the administrative or judicial level, or such
  intellectual property may not be sufficient to permit us to take advantage of current market trends or otherwise to provide competitive advantages, which
  could result in costly redesign efforts, the discontinuance of certain service offerings or other competitive harm. Others, including our competitors, may
  independently develop similar technology, duplicate our services or design around our intellectual property, and in such cases, we could not assert our
  intellectual property rights against such parties. Further, our contractual arrangements may not effectively prevent disclosure of our confidential
  information or provide an adequate remedy in the event of unauthorized disclosure of our confidential information. We may have to litigate to enforce or
  determine the scope and enforceability of our intellectual property rights, trade secrets and know-how, which is expensive, could cause a diversion of
  resources and may not prove successful. Also, because of the rapid pace of technological change in our industry, aspects of our business and our services
  rely on technologies developed or licensed by third parties, and we may not be able to obtain or continue to obtain licenses and technologies from these
  third parties on reasonable terms or at all.

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  The loss of intellectual property protection, the inability to obtain third-party intellectual property or delay or refusal by relevant regulatory authorities to
  approve pending intellectual property registration applications could harm our business and ability to compete. With respect to trademarks, loss of rights
  may result from term expirations, owner abandonment and forfeiture or cancellation proceedings before the Brazilian Patent and Trademark Office
  (Instituto Nacional da Propriedade Industrial, or the INPI). In addition, if we lose rights over registered trademarks, we would not be entitled to use
  such trademarks on an exclusive basis and, therefore, third parties would be able to use similar or identical trademarks to identify their products or
  services, which could adversely affect our business.

         We may also be subject to costly litigation in the event our services and technology infringe upon or otherwise violate a third party’s proprietary
  rights. Third parties may have, or may eventually be issued, patents that could be infringed by our services or technology. Any of these third parties
  could make a claim of infringement against us with respect to our services or technology, and we have been subject to such claims in the past. We may
  also be subject to claims by third parties for breach of copyright, trademark, license usage or other intellectual property rights. Any claim from third
  parties may result in a limitation on our ability to use the intellectual property subject to these claims or could prevent us from registering our brands as
  trademarks. Additionally, in recent years, individuals and groups have been purchasing intellectual property assets for the sole purpose of making claims
  of infringement and attempting to extract settlements from companies like ours. Even if we believe that intellectual property related claims are without
  merit, defending against such claims is time-consuming and expensive and could result in the diversion of the time and attention of our management and
  employees. Claims of intellectual property infringement also might require us to redesign affected services, enter into costly settlement or license
  agreements, pay costly damage awards, change our brands, or face a temporary or permanent injunction prohibiting us from marketing or selling certain
  services or using certain brands. Even if we have an agreement for indemnification against such costs, the party providing such indemnification may be
  unwilling or unable to comply with its indemnification obligations. If we cannot or do not license the infringed technology on reasonable terms or
  substitute similar technology from another source, our revenues and earnings could be adversely impacted.


     Our use of open source software could negatively affect our ability to sell our solutions and subject us to possible litigation.
         Our solutions incorporate and are dependent to some extent on the use and development of open source software and we intend to continue our
  use and development of open source software in the future. Such open source software is generally licensed by its authors or other third parties under
  open source licenses and is typically freely accessible, usable and modifiable. Pursuant to such open source licenses, we may be subject to certain
  conditions, including requirements that we offer our proprietary software that incorporates the open source software for no cost, that we make available
  source code for modifications or derivative works we create based upon, incorporating or using the open source software and that we license such
  modifications or derivative works under the terms of the particular open source license. If an author or other third party that uses or distributes such open
  source software were to allege that we had not complied with the conditions of one or more of these licenses, we could be required to incur significant
  legal expenses defending against such allegations and could be subject to significant damages, enjoined from the use or sale of our solutions that
  contained or are dependent upon the open source software and required to comply with the foregoing conditions, which could disrupt the distribution
  and sale of some of our products and services. Litigation could be costly for us to defend, have a negative effect on our financial condition and results of
  operations or require us to devote additional research and development resources to change our platform. The terms of many open source licenses to
  which we are subject have not been interpreted by courts. As there is little or no legal precedent governing the interpretation of many of the terms of
  certain of these licenses, the potential impact of these terms on our business is uncertain and may result in unanticipated obligations regarding our
  solutions and technologies.

        Any requirement to disclose our proprietary source code, termination of open source license rights or payments of damages for breach of contract
  could be harmful to our business, financial condition or results of

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  operations, and could make it easier for our competitors develop products and services that are similar to or better than ours.

        In addition to risks related to license requirements, use of open source software can lead to greater risks than use of third-party commercial
  software, as open source licensors generally do not provide warranties, controls on the origin or development of the software, or remedies against the
  licensors. Many of the risks associated with usage of open source software cannot be eliminated and could adversely affect our business.

        Although we believe that we have complied with our obligations under the various applicable licenses for open source software, it is possible that
  we may not be aware of all instances where open source software has been incorporated into our proprietary software or used in connection with our
  solutions or our corresponding obligations under open source licenses. We do not have open source software usage policies or monitoring procedures in
  place. We rely on multiple software programmers to design our proprietary software and we cannot be certain that our programmers have not
  incorporated open source software into our proprietary software that we intend to maintain as confidential or that they will not do so in the future. To the
  extent that we are required to disclose the source code of certain of our proprietary software developments to third-parties, including our competitors, in
  order to comply with applicable open source license terms, such disclosure could harm our intellectual property position, competitive advantage,
  financial condition and results of operations. In addition, to the extent that we have failed to comply with our obligations under particular licenses for
  open source software, we may lose the right to continue to use and exploit such open source software in connection with our operations and solutions,
  which could disrupt and adversely affect our business.


     We may face challenges in expanding into new geographic regions outside of Brazil.
        We may face challenges in connection with our expansion through XP Investments and certain of our other subsidiaries into new geographic
  regions outside of Brazil, and we will face challenges associated with entering markets in which we have limited or no experience and in which we may
  not be well-known. Offering our services in new geographic regions requires substantial expenditures and takes considerable time, and we may not
  recover our investments in new markets in a timely manner or at all. For example, we may be unable to attract a sufficient number of clients, fail to
  anticipate competitive conditions or fail to adapt and tailor our services to different markets. In addition, the ongoing economic uncertainty and political
  instability in the countries in which we operate may adversely affect us.

        The development of our products and services globally exposes us to risks relating to staffing and managing cross-border operations; increased
  costs and difficulty protecting intellectual property and sensitive data; tariffs and other trade barriers; differing and potentially adverse tax consequences;
  increased and conflicting regulatory compliance requirements, including with respect to privacy and security; lack of acceptance of our products and
  services; challenges caused by distance, language, and cultural differences; exchange rate risk; and political instability. Accordingly, our efforts to
  develop and expand the geographic footprint of our operations may not be successful, which could limit our ability to grow our business.


     Any acquisitions, partnerships or joint ventures that we make or enter into could disrupt our business and harm our financial condition.
        Acquisitions, partnerships and joint ventures are part of our growth strategy. From time to time, we pursue strategic acquisitions, such as our
  recent acquisitions of Clear Corretora de Títulos e Valores Mobiliários S.A., or Clear, in 2015, Rico Corretora de Títulos e Valores Mobiliários S.A., or
  Rico, in 2017, and XP Vista in 2018. We evaluate, and expect in the future to evaluate, potential strategic acquisitions of, and partnerships or joint
  ventures with, complementary businesses, services or technologies. We may not be successful in identifying acquisition, partnership and joint venture
  targets. In addition, we may not be able to successfully finance or integrate any businesses, services or technologies that we acquire or with which we
  form a partnership or joint venture, and we may lose clients as a result of any acquisition, partnership or joint venture. In addition, we may

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  be unable to realize the expected benefits, synergies or developments that we may initially anticipate. Furthermore, the integration of any acquisition,
  partnership or joint venture may divert management’s time and resources from our core business and disrupt our operations.

        Certain acquisitions, partnerships and joint ventures we make may prevent us from competing for certain clients or in certain lines of business and
  may lead to a loss of clients. For example, in order to obtain antitrust regulatory approvals from CADE and the Central Bank in connection with the Itaú
  Transaction, we entered into agreements with CADE and the Central Bank pursuant to which we agreed to certain restrictions on our ability to acquire
  interests in financial investment platforms.

        In addition, we may spend time and money on projects that do not increase our revenue or profitability. To the extent we finance any acquisition or
  investment in cash, it would reduce our cash reserves, and to the extent the purchase price is paid with our common shares, it could be dilutive to our
  shareholders. To the extent we finance any acquisition or investment with the proceeds from the incurrence of debt, this would increase our level of
  indebtedness and could negatively affect our liquidity, credit rating and restrict our operations. Our competitors may be willing to pay more than us for
  acquisitions or investments, which may cause us to lose certain opportunities that we would otherwise desire to complete. Moreover, we may face
  contingent liabilities in connection with our acquisitions and joint ventures, including, among others, (1) judicial and/or administrative proceeding or
  contingencies relating to the company, asset or business acquired, including civil, regulatory, tax, labor, social security, environmental and intellectual
  property proceedings or contingencies; and (2) financial, reputational and technical issues, including with respect to accounting practices, financial
  statement disclosures and internal controls, as well as other regulatory or compliance matters, all of which we may not have identified as part of our due
  diligence process and that may not be sufficiently indemnifiable under the relevant acquisition or joint venture agreement. We cannot assure you that
  any acquisition, partnership, investment or joint venture we make will not have a material adverse effect on our business, financial condition and results
  of operations.


     Our insurance policies may not be sufficient to cover all claims.
         Our insurance policies may not adequately cover all risks to which we are exposed. A significant claim not covered by our insurance, in full or in
  part, may result in significant expenditures by us. Moreover, we may not be able to maintain insurance policies in the future at reasonable costs or on
  acceptable terms, which may adversely affect our business and the trading price of our Class A common shares.


     Our risk management policies and procedures may not be fully effective in mitigating our risk exposure in all market environments or against all
     types of risks, which could expose us to losses and liability and otherwise harm our business.
         We operate in a dynamic industry, and we have experienced significant change in recent years, including undertaking certain acquisitions and
  preparing for and conducting this offering, and the emergence of new risks within the industries in which we operate or may operate in the future.
  Accordingly, our risk management policies and procedures may not be fully effective in identifying, monitoring and managing our risks. Some of our
  risk evaluation methods depend upon information provided by others and public information regarding markets, clients or other matters that are
  otherwise inaccessible by us. In some cases, however, that information may not be accurate, complete or up-to-date. If our policies and procedures are
  not fully effective or we are not always successful in capturing all risks to which we are or may be exposed, we may suffer harm to our reputation or be
  subject to litigation or regulatory actions that could have a material adverse effect on our business, financial condition and results of operations.

         We offer financial services and other products and services to a large number of clients, and we are responsible for vetting and monitoring these
  clients and determining whether the transactions we process for them are legitimate. When our products and services are used in connection with
  illegitimate transactions, and we settle those funds to clients and are unable to recover them, we suffer losses and liability. These types of

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  illegitimate, as well as unlawful, transactions can also expose us to governmental and regulatory sanctions, including outside of Brazil (for example,
  U.S. anti-money laundering and economic sanctions violations). Our risk management policies, procedures, techniques, and processes may not be
  sufficient to identify all of the risks to which we are exposed, to enable us to mitigate the risks we have identified, or to identify additional risks to which
  we may become subject in the future. Furthermore, if our risk management policies and processes contain errors or are otherwise ineffective, we may
  suffer large financial losses, we may be subject to civil and criminal liability, and our business may be materially and adversely affected.


     Holding large and concentrated positions may expose us to losses.
        Concentration of risk may reduce revenues or result in losses in our institutional and retail investment business, our market-making activities and
  our underwriting businesses in the event of unfavorable market conditions, failed executions or settlements with respect to transactions that we
  underwrite, or in instances in which market conditions are more favorable to our competitors. We commit substantial amounts of capital to these
  businesses, which often results in our taking large positions in the securities of a particular issuer or issuers in a particular industry, country or region,
  and any losses in these large positions may have a material adverse effect on our financial condition and results of operations.


     We may not be able to secure financing on favorable terms, or at all, to meet our future capital needs.
         We have funded our operations since inception in part through equity financings, bank credit facilities and other financing arrangements. In the
  future, we may require additional capital to respond to business opportunities, refinancing needs, challenges, acquisitions, or unforeseen circumstances
  and may decide to engage in equity or debt financings or enter into credit facilities for other reasons, and we may not be able to secure any such
  additional debt or equity financing or refinancing on favorable terms, in a timely manner, or at all. Any debt financing obtained by us in the future could
  also include restrictive covenants relating to our capital-raising activities and other financial and operational matters, which may make it more difficult
  for us to obtain additional capital and to pursue business opportunities, including potential acquisitions. Our credit facilities contain restrictive
  covenants, including customary limitations on the incurrence of certain indebtedness and liens. Our ability to comply with these covenants may be
  affected by events beyond our control, and breaches of these covenants could result in a default under our credit facilities and any future financing
  agreements into which we may enter. If not waived, defaults could cause our outstanding indebtedness under our credit facilities and any future
  financing agreements that we may enter into under these terms to become immediately due and payable. If we are unable to obtain adequate financing or
  financing on terms satisfactory to us when we require it, our ability to continue to grow or support our business and to respond to business challenges
  could be significantly limited. See “Management’s Discussion and Analysis of Financial Condition and Results of Operations—Liquidity and Capital
  Resources—Indebtedness.”


     Some of our clients reach us on digital media platforms, leading to our difficulties in maintaining all the communication records.
        Under the relevant laws and regulations of Brazil (including CVM Rule No. 505), we are generally required to keep the records of our
  communications with customers concerning our services for at least a period of 5 years, including from IFAs. To ensure all of our users and customers
  are best served, we occasionally provide customer service on popular digital media platforms in a similar way as other market participants in both our
  industry and other various industries. However, we cannot solve all the difficulties arising therefrom because the digital media platforms usually do not
  have functions that telephone or email operation systems use for the long-term storage of communication records, which, such difficulties, if questioned
  by the CVM, could have a material adverse effect on our business, financial condition and results of operations.

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     If we are not able to respond to changes in user preferences for our financial products and services and provide a satisfactory user experience on
     our platform, or our existing and new products and services do not maintain or achieve sufficient market acceptance, we will not be able to
     maintain and expand our user base and increase user activities, and our financial results and competitive position will be harmed.
         We believe that our user base is the cornerstone of our business. Our ability to maintain and expand our user base depends on a number of factors,
  including our ability to offer suitable financial products and services for our users, and our ability to provide relevant and timely products and services to
  meet changing user needs at a reasonable cost. If we are unable to respond to changes in user preference and deliver satisfactory and distinguishable user
  experience at a reasonable cost, our users may switch to competing platforms or, in relevant cases, obtain the relevant products and services directly
  from their providers. As a result, user access to and user activity on our platform will decline, our products and services will be less attractive to our
  users, and our business, financial performance and prospects will be materially and adversely affected.

        We have devoted significant resources to, and will continue to emphasize, upgrading and marketing our existing financial products and services
  and enhancing their market awareness. We also incur expenses and expend resources upfront to develop, acquire and market new financial products and
  services that incorporate additional features, improve functionality or otherwise make our products more desirable to clients. New financial products and
  services must achieve high levels of market acceptance in order for us to recoup our investment in developing, acquiring and bringing them to market.

        Our existing and new financial products and services could fail to attain sufficient market acceptance for many reasons, including:
         •     investors are not willing to deploy their funds in a timely or efficient manner;
         •     we may fail to predict market demand accurately and provide products and services that meet this demand in a timely fashion;
         •     users may not like, find useful or agree with, any changes;
         •     there may be defects, errors or failures on our platform;
         •     there may be negative publicity about our financial products and services or our platform’s performance or effectiveness;
         •     if new financial products and services or changes to our platform do not comply with Brazilian laws, regulations or rules applicable to us;
               and
         •     there may be competing products and services introduced or anticipated to be introduced by our competitors.

        If our existing and new financial products and services do not achieve adequate acceptance in the market, our competitive position, financial
  condition and results of operations could be adversely affected.


     Our balance sheet includes significant amounts of intangible assets. The impairment of a significant portion of these assets would negatively
     affect our business, financial condition and results of operations.
         As of September 30, 2019, our balance sheet includes intangible assets that amount to R$521 million. These assets consist primarily of identified
  intangible assets associated with our acquisitions. We also expect to engage in additional acquisitions, which may result in our recognition of additional
  intangible assets. Under current accounting standards, we are required to amortize certain intangible assets over the useful life of the asset, while certain
  other intangible assets are not amortized. On at least an annual basis, we assess whether there have been impairments in the carrying value of certain
  intangible assets. If the carrying value of the asset is determined to be impaired, then it is written down to fair value by a charge to operating earnings.
  An impairment of a significant portion of intangible assets could have a material adverse effect on our business, financial condition and results of
  operations.

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  Certain Risks Relating to Brazil
     The Brazilian federal government has exercised, and continues to exercise, significant influence over the Brazilian economy. This involvement as
     well as Brazil’s political and economic conditions could harm us and the price of our Class A common shares.
        The Brazilian federal government frequently exercises significant influence over the Brazilian economy and occasionally makes significant
  changes in policy and regulations. The Brazilian government’s actions to control inflation and other policies and regulations have often involved, among
  other measures, increases or decreases in interest rates, changes in fiscal policies, wage and price controls, foreign exchange rate controls, blocking
  access to bank accounts, currency devaluations, capital controls and import and export restrictions. We have no control over and cannot predict what
  measures or policies the Brazilian government may take in the future. We and the market price of our Class A common shares may be harmed by
  changes in Brazilian government policies, as well as general economic factors, including, without limitation:
         •     growth or downturn of the Brazilian economy;
         •     interest rates and monetary policies;
         •     exchange rates and currency fluctuations;
         •     inflation;
         •     liquidity of the domestic capital and lending markets;
         •     import and export controls;
         •     exchange controls and restrictions on remittances abroad and payments of dividends;
         •     modifications to laws and regulations according to political, social and economic interests;
         •     fiscal policy, monetary policy and changes in tax laws;
         •     economic, political and social instability, including general strikes and mass demonstrations;
         •     labor and social security regulations;
         •     energy and water shortages and rationing;
         •     commodity prices; and
         •     other political, diplomatic, social and economic developments in or affecting Brazil.

         Uncertainty over whether the Brazilian federal government will implement reforms or changes in policy or regulation affecting these or other
  factors in the future may affect economic performance and contribute to economic uncertainty in Brazil, which may have an adverse effect on our
  activities and consequently our results of operations, and may also adversely affect the trading price of our Class A common shares. Recent economic
  and political instability has led to a negative perception of the Brazilian economy and higher volatility in the Brazilian securities markets, which also
  may adversely affect us and our Class A common shares. See “—Economic uncertainty and political instability in Brazil may harm us and the price of
  our Class A common shares” and “Management’s Discussion and Analysis of Financial Condition and Results of Operations—Brazilian
  Macroeconomic Environment.”


     Economic uncertainty and political instability in Brazil may harm us and the price of our Class A common shares.
        Brazil’s political environment has historically influenced, and continues to influence, the performance of the country’s economy. Political crises
  have affected and continue to affect the confidence of investors and the general public, which have historically resulted in economic deceleration and
  heightened volatility in the securities offered by companies with significant operations in Brazil.

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         The recent economic instability in Brazil has contributed to a decline in market confidence in the Brazilian economy as well as to a deteriorating
  political environment. In addition, various ongoing investigations into allegations of money laundering and corruption being conducted by the Office of
  the Brazilian Federal Prosecutor, including the largest such investigation, known as “Operação Lava Jato,” have negatively impacted the Brazilian
  economy and political environment. The potential outcome of these investigations is uncertain, but they have already had an adverse impact on the
  image and reputation of the implicated companies, and on the general market perception of the Brazilian economy. We cannot predict whether the
  ongoing investigations will result in further political and economic instability, or if new allegations against government officials and/or executives of
  private companies will arise in the future.

        A failure by the Brazilian government to implement necessary reforms may result in diminished confidence in the Brazilian government’s
  budgetary condition and fiscal stance, which could result in downgrades of Brazil’s sovereign foreign credit rating by credit rating agencies, negatively
  impact Brazil’s economy, lead to further depreciation of the real and an increase in inflation and interest rates, adversely affecting our business, financial
  condition and results of operations.

        Any of the above factors may create additional political uncertainty, which could harm the Brazilian economy and, consequently, our business,
  and could adversely affect our financial condition, results of operations and the price of our Class A common shares.


     Inflation and certain measures by the Brazilian government to curb inflation have historically harmed the Brazilian economy and Brazilian
     capital markets, and high levels of inflation in the future would harm our business and the price of our Class A common shares.
        In the past, Brazil has experienced extremely high rates of inflation. Inflation and some of the measures taken by the Brazilian government in an
  attempt to curb inflation have had significant negative effects on the Brazilian economy generally. Inflation, policies adopted to curb inflationary
  pressures and uncertainties regarding possible future governmental intervention have contributed to economic uncertainty and heightened volatility in
  the Brazilian capital markets.

         According to the National Consumer Price Index (Índice Nacional de Preços ao Consumidor Amplo, or IPCA), which is published by the
  Brazilian Institute for Geography and Statistics (Instituto Brasileiro de Geografia e Estatística, or IBGE), Brazilian inflation rates were 3.7%, 2.9% and
  6.3% as of December 31, 2018, 2017 and 2016, respectively. Brazil may experience high levels of inflation in the future and inflationary pressures may
  lead to the Brazilian government intervening in the economy and introducing policies that could harm our business and the trading price of our Class A
  common shares. In the past, the Brazilian government’s interventions included the maintenance of a restrictive monetary policy with high interest rates
  that restricted credit availability and reduced economic growth, causing volatility in interest rates. For example, the official interest rate in Brazil
  decreased from 14.25% as of December 31, 2015 to 6.50% as of December 31, 2018, as established by the COPOM. On February 7, 2018, the COPOM
  reduced the SELIC rate to 6.75% and further reduced the SELIC rate to 6.50% on March 21, 2018. The COPOM reconfirmed the SELIC rate of 6.50%
  on May 16, 2018 and subsequently on June 20, 2018. As of December 31, 2018, the SELIC rate was 6.50%. The COPOM reconfirmed the SELIC rate
  of 6.50% on February 6, 2019, but reduced the SELIC rate to 6.00% on August 1, 2019 and further reduced the rate to 5.00% on October 30, 2019.
  Conversely, more lenient government and Central Bank policies and interest rate decreases have triggered and may continue to trigger increases in
  inflation, and, consequently, growth volatility and the need for sudden and significant interest rate increases, which could negatively affect us and
  increase our indebtedness.


     Exchange rate instability may have adverse effects on the Brazilian economy, us and the price of our Class A common shares.
        The Brazilian currency has been historically volatile and has been devalued frequently over the past three decades. Throughout this period, the
  Brazilian government has implemented various economic plans and used

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  various exchange rate policies, including sudden devaluations, periodic mini-devaluations (during which the frequency of adjustments has ranged from
  daily to monthly), exchange controls, dual exchange rate markets and a floating exchange rate system. Although long-term depreciation of the real is
  generally linked to the rate of inflation in Brazil, depreciation of the real occurring over shorter periods of time has resulted in significant variations in
  the exchange rate between the real, the U.S. dollar and other currencies. The real depreciated against the U.S. dollar by 32.0% at year-end 2015 as
  compared to year-end 2014, and by 11.8% at year-end 2014 as compared to year-end 2013. The real/U.S. dollar exchange rate reported by the Central
  Bank was R$3.9048 per U.S. dollar on December 31, 2015 and R$3.2591 per U.S. dollar on December 31, 2016, which reflected a 16.5% appreciation
  in the real against the U.S. dollar during 2016. The real/U.S. dollar exchange rate reported by the Central Bank was R$3.308 per U.S. dollar on
  December 31, 2017, which reflected a 1.5% depreciation in the real against the U.S. dollar during 2017. The real/U.S. dollar exchange rate reported by
  the Central Bank was R$3.8742 per US$1.00 on December 31, 2018, which reflected a 17.1% depreciation in the real against the U.S. dollar during
  2018. As of September 30, 2019, the exchange rate for the purchase of U.S. dollars as reported by the Central Bank was R$4.1638 per US$1.00, which
  reflected a 7.5% depreciation in the real against the U.S. dollar during the first nine months of 2019. As of December 9, 2019, the exchange rate for the
  purchase of U.S. dollars as reported by the Central Bank was R$4.1497 per US$1.00.

        A devaluation of the real relative to the U.S. dollar could create inflationary pressures in Brazil and cause the Brazilian government to, among
  other measures, increase interest rates. Any depreciation of the real may generally restrict access to the international capital markets. It would also
  reduce the U.S. dollar value of our results of operations. Restrictive macroeconomic policies could reduce the stability of the Brazilian economy and
  harm our results of operations and profitability. In addition, domestic and international reactions to restrictive economic policies could have a negative
  impact on the Brazilian economy. These policies and any reactions to them may harm us by curtailing access to foreign financial markets and prompting
  further government intervention. A devaluation of the real relative to the U.S. dollar may also, as in the context of the current economic slowdown,
  decrease consumer spending, increase deflationary pressures and reduce economic growth.

        On the other hand, an appreciation of the real relative to the U.S. dollar and other foreign currencies may deteriorate the Brazilian foreign
  exchange current accounts. We and certain of our suppliers purchase services from countries outside Brazil, and thus changes in the value of the U.S.
  dollar compared to other currencies may affect the costs of services that we purchase. Depending on the circumstances, either devaluation or
  appreciation of the real relative to the U.S. dollar and other foreign currencies could restrict the growth of the Brazilian economy, as well as our
  business, results of operations and profitability.


     Infrastructure and workforce deficiency in Brazil may impact economic growth and have a material adverse effect on us.
         Our performance depends on the overall health and growth of the Brazilian economy. Brazilian GDP growth has fluctuated over the past few
  years, with growth of 3.0% in 2013 but decreasing to 0.5% in 2014, a contraction of 3.5% in 2015, a contraction of 3.3% in 2016, a growth of 1.1% in
  2017 and a growth of 1.1% in 2018. Growth is limited by inadequate infrastructure, including potential energy shortages and deficient transportation,
  logistics and telecommunication sectors, general strikes, the lack of a qualified labor force, and the lack of private and public investments in these areas,
  which limit productivity and efficiency. Any of these factors could lead to labor market volatility and generally impact income, purchasing power and
  consumption levels, which could limit growth and ultimately have a material adverse effect on us.


     Developments and the perceptions of risks in other countries, including other emerging markets, the United States and Europe, may harm the
     Brazilian economy and the price of our Class A common shares.
        The market for securities offered by companies with significant operations in Brazil is influenced by economic and market conditions in Brazil
  and, to varying degrees, market conditions in other Latin American and emerging markets, as well as the United States, Europe and other countries. To
  the extent the conditions of

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  the global markets or economy deteriorate, the business of companies with significant operations in Brazil may be harmed. The weakness in the global
  economy has been marked by, among other adverse factors, lower levels of consumer and corporate confidence, decreased business investment and
  consumer spending, increased unemployment, reduced income and asset values in many areas, reduction of China’s growth rate, currency volatility and
  limited availability of credit and access to capital. Developments or economic conditions in other emerging market countries have at times significantly
  affected the availability of credit to companies with significant operations in Brazil and resulted in considerable outflows of funds from Brazil,
  decreasing the amount of foreign investments in Brazil.

         Crises and political instability in other emerging market countries, the United States, Europe or other countries, including increased international
  trade tensions and protectionist policies, could decrease investor demand for securities offered by companies with significant operations in Brazil, such
  as our Class A common shares. In June 2016, the United Kingdom held a referendum in which the majority voted for the United Kingdom to leave the
  European Union (so-called “Brexit”). The announcement of Brexit caused significant volatility in global stock markets and currency exchange rate
  fluctuations. The ongoing process of negotiations between the U.K. and the European Union will determine the future terms of the U.K.’s relationship
  with the European Union, including access to European Union markets, either during a transitional period or more permanently. We have no control over
  and cannot predict the effect of Brexit nor over whether and to which effect any other member state will decide to exit the European Union in the future.
  These developments, as well as potential crises and other forms of political instability or any other as of yet unforeseen development, may harm our
  business and the price of our Class A common shares.


     Any further downgrading of Brazil’s credit rating could reduce the trading price of our Class A common shares.
        We and the trading price of our Class A common shares may be harmed by investors’ perceptions of risks related to Brazil’s sovereign debt credit
  rating. Rating agencies regularly evaluate Brazil and its sovereign credit ratings, which are based on a number of factors including macroeconomic
  trends, fiscal and budgetary conditions, indebtedness metrics and the perspective of changes in any of these factors.

      The rating agencies began to review Brazil’s sovereign credit ratings in September 2015. Subsequently, the three major rating agencies
  downgraded Brazil’s investment-grade status:
         •     In 2015, Standard & Poor’s initially downgraded Brazil’s credit rating from BBB-negative to BB-positive and subsequently downgraded it
               again from BB-positive to BB, maintaining its negative outlook, citing a worse credit situation since the first downgrade. On January 11,
               2018, Standard & Poor’s further downgraded Brazil’s credit rating from BB to BB-negative.
         •     In December 2015, Moody’s placed Brazil’s Baa3’s foreign currency credit ratings under review for downgrade and subsequently
               downgraded them to below investment grade, at Ba2 with a negative outlook, citing the prospect of a further deterioration in Brazil’s debt
               indicators, taking into account the low growth environment and the challenging political scenario.
         •     Fitch downgraded Brazil’s sovereign foreign credit rating to BB-positive with a negative outlook, citing the rapid expansion of the
               country’s budget deficit and the worse-than-expected recession. In February 2018, Fitch downgraded Brazil’s sovereign credit rating again
               to BB-negative, citing, among other reasons, fiscal deficits, the increasing burden of public debt and an inability to implement reforms that
               would structurally improve Brazil’s public finances.

        Brazil’s sovereign credit rating is currently rated below investment grade by the three main credit rating agencies. Consequently the prices of
  securities offered by companies with significant operations in Brazil have been negatively affected. A prolongation or worsening of the current Brazilian
  recession and continued political uncertainty, among other factors, could lead to further ratings downgrades. Any further downgrade of Brazil’s
  sovereign foreign credit ratings could heighten investors’ perception of risk and, as a result, cause the trading price of our Class A common shares to
  decline.

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  Certain Risks Relating to Our Class A Common Shares and the Offering
     There is no existing market for our common shares, and we do not know whether one will develop to provide you with adequate liquidity. If the
     trading price of our Class A common shares fluctuates after this offering, you could lose a significant part of your investment.
         Prior to this offering, there has not been a public market for our Class A common shares. If an active trading market does not develop, you may
  have difficulty selling any of our Class A common shares that you buy. We cannot predict the extent to which investor interest in our company will lead
  to the development of an active trading market on the Nasdaq, or otherwise or how liquid that market might become. The initial public offering price for
  the Class A common shares will be determined by negotiations between us, the selling shareholders and the underwriters and may not be indicative of
  prices that will prevail in the open market following this offering. Consequently, you may not be able to sell our Class A common shares at prices equal
  to or greater than the price paid by you in this offering. In addition to the risks described above, the market price of our Class A common shares may be
  influenced by many factors, some of which are beyond our control, including:
         •      announcements by us or our competitors of significant contracts or acquisitions;
         •      technological innovations by us or competitors;
         •      the failure of financial analysts to cover our Class A common shares after this offering or changes in financial estimates by analysts;
         •      actual or anticipated variations in our results of operations;
         •      changes in financial estimates by financial analysts, or any failure by us to meet or exceed any of these estimates, or changes in the
                recommendations of any financial analysts that elect to follow our Class A common shares or the shares of our competitors;
         •      announcements by us or our competitors of significant contracts or acquisitions;
         •      future sales of our shares; and
         •      investor perceptions of us and the industries in which we operate.

        In addition, the stock market in general has experienced substantial price and volume fluctuations that have often been unrelated or
  disproportionate to the operating performance of particular companies affected. These broad market and industry factors may materially harm the
  market price of our Class A common shares, regardless of our operating performance. In the past, following periods of volatility in the market price of
  certain companies’ securities, securities class action litigation has been instituted against these companies. This litigation, if instituted against us, could
  adversely affect our financial condition or results of operations. If a market does not develop or is not maintained, the liquidity and price of our Class A
  common shares could be seriously harmed.


     XP Controle will own 65.75% of our outstanding Class B common shares, which will represent approximately 56.18% of the voting power of our
     issued share capital following this offering, and will, subject to the provisions of the Shareholders’ Agreement, control all matters requiring
     shareholder approval. This concentration of ownership and voting power limits your ability to influence corporate matters.
         Immediately following this offering, XP Controle will control our company and will not hold any of our Class A common shares, but will
  beneficially own 24.32% of our issued share capital (or 23.14% if the underwriters’ option to purchase additional Class A common shares is exercised in
  full) through its beneficial ownership of 65.75% of our outstanding Class B common shares, respectively, and consequently, 56.18% of the combined
  voting power of our issued share capital (or 54.79% if the underwriters’ option to purchase additional Class A common shares is exercised in full). Our
  Class B common shares are entitled to 10 votes per share and our Class A common shares, which are the common shares we are offering in this offering,
  are entitled to one vote per share. Our Class B common shares are convertible into an equivalent number of Class A common

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  shares. As a result, XP Controle will, subject to the provisions of the Shareholders’ Agreement, control the outcome of all decisions at our shareholders’
  meetings, and will be able to elect a majority of the members of our board of directors. They will also be able to direct our actions in areas such as
  business strategy, financing, distributions, acquisitions and dispositions of assets or businesses. For example, XP Controle may cause us to make
  acquisitions that increase the amount of our indebtedness or outstanding Class A common shares, sell revenue-generating assets or inhibit change of
  control transactions that may benefit other shareholders. The decisions of XP Controle on these matters may be contrary to your expectations or
  preferences, and they may take actions that could be contrary to your interests. They will, subject to the provisions of the Shareholders’ Agreement, be
  able to prevent any other shareholders, including you, from blocking these actions. For further information regarding shareholdings in our company, see
  “Principal and Selling Shareholders.” In addition, for so long as they beneficially own more than two-thirds of our issued share capital, XP Controle will
  also have the ability to unilaterally amend XP’s Articles of Association, which may be amended only by special resolution of shareholders (requiring a
  two-thirds majority vote of those shareholders attending and voting at a quorate meeting).

        So long as XP Controle beneficially owns a sufficient number of Class B common shares, even if it beneficially owns significantly less than 50%
  of our outstanding share capital, it will be able to effectively control our decisions.


     We have granted the holders of our Class B common shares preemptive rights to acquire shares that we may sell in the future, which may impair
     our ability to raise funds.
        Under our Articles of Association and the Shareholders’ Agreement, the holders of our Class B common shares, XP Controle, Itaú and GA
  Bermuda, are entitled to preemptive rights to purchase additional common shares in the event that there is an increase in our share capital and additional
  common shares are issued, upon the same economic terms and at the same price, in order to maintain their proportional ownership interests, which will
  be approximately 24.3%, 46.1% and 14.3% of our outstanding shares, respectively, immediately after this offering. The exercise by holders of our
  Class B common shares of their preemptive rights may impair our ability to raise funds, or adversely affect the terms on which we are able to raise
  funds, as we may not be able to offer to new investors the quantity of our shares that they may desire to purchase. For more information, see
  “Description of Share Capital—Preemptive or Similar Rights.”


     Class A common shares eligible for future sale may cause the market price of our Class A common shares to drop significantly.
         The market price of our Class A common shares may decline as a result of sales of a large number of our Class A common shares in the market
  after this offering or the perception that these sales may occur. These sales, or the possibility that these sales may occur, also might make it more
  difficult for us to sell equity securities in the future at a time and at a price that we deem appropriate.

         Following the completion of this offering, we will have outstanding 347,642,853 Class A common shares and 204,157,473 Class B common
  shares (or 354,181,346 Class A common shares and 197,618,980 Class B common shares, if the underwriters exercise in full their option to purchase
  additional shares). Subject to the lock-up agreements described below, the Class A common shares sold in this offering will be freely tradable without
  restriction or further registration under the Securities Act by persons other than our affiliates within the meaning of Rule 144 of the Securities Act.

         Our shareholders or entities controlled by them or their permitted transferees will, subject to the lock-up agreements described below, be able to
  sell their Class A common shares in the public market from time to time without registering them, subject to certain limitations on the timing, amount
  and method of those sales imposed by regulations promulgated by the SEC. If any of our shareholders, the affiliated entities controlled by them or their
  respective permitted transferees were to sell a large number of their Class A common shares, the market price of our Class A common shares may
  decline significantly. In addition, the perception in the public markets that sales by them might occur may also cause the trading price of our Class A
  common shares to decline.

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         We have agreed with the underwriters, subject to certain exceptions, not to offer, sell or dispose of any shares in our share capital or securities
  convertible into or exchangeable or exercisable for any shares in our share capital during the 180-day period following the date of this prospectus. Our
  directors, executive officers and all of our existing shareholders have agreed to substantially similar lock-up provisions. However, Goldman Sachs & Co.
  LLC, J.P. Morgan Securities LLC and Morgan Stanley & Co. LLC, or the Lead Global Coordinators, may, in their sole discretion and without notice,
  release all or any portion of the shares from the restrictions in any of the lock-up agreements described above. In addition, these lock-up agreements are
  subject to certain exceptions, including the right for our company to issue new shares if we carry out an acquisition or enter into a merger, joint venture
  or strategic participation.

         Sales of a substantial number of our Class A common shares upon expiration of the lock-up agreements, the perception that such sales may occur,
  or early release of these lock-up periods, could cause our market price to fall or make it more difficult for you to sell your Class A common shares at a
  time and price that you deem appropriate.


     Our Articles of Association contain, and the Shareholders’ Agreement will contain, anti-takeover provisions that may discourage a third-party
     from acquiring us and adversely affect the rights of holders of our Class A common shares.
         Our Articles of Association contain, and the Shareholders’ Agreement will contain, certain provisions that could limit the ability of others to
  acquire our control, including a provision that grants authority to our board of directors to establish and issue from time to time one or more series of
  preferred shares and to determine, with respect to any series of preferred shares, the terms and rights of that series. These provisions could have the
  effect of depriving our shareholders of the opportunity to sell their shares at a premium over the prevailing market price by discouraging third parties
  from seeking to obtain our control in a tender offer or similar transactions.


     If securities or industry analysts do not publish research, or publish inaccurate or unfavorable research, about our business, the price of our
     Class A common shares and our trading volume could decline.
        The trading market for our Class A common shares will depend in part on the research and reports that securities or industry analysts publish
  about us or our business. Securities and industry analysts do not currently, and may never, publish research on our company. If no or too few securities
  or industry analysts commence coverage of our company, the trading price for our Class A common shares would likely be negatively affected. In the
  event securities or industry analysts initiate coverage, if one or more of the analysts who cover us downgrade our Class A common shares or publish
  inaccurate or unfavorable research about our business, the price of our Class A common shares would likely decline. If one or more of these analysts
  cease coverage of our company or fail to publish reports on us regularly, demand for our Class A common shares could decrease, which might cause the
  price of our Class A common shares and trading volume to decline.


     We may not pay any cash dividends in the foreseeable future.
        The declaration, payment and amount of any future dividends will be made at the discretion of our board of directors and will depend upon,
  among other things, the results of operations, cash flows and financial condition, operating and capital requirements, and other factors as our board of
  directors considers relevant. In addition, our holding company structure makes us dependent on the operations of our subsidiaries. See “—Certain Risks
  Relating to Our Business and Industry—Our holding company structure makes us dependent on the operations of our subsidiaries.” There is no
  assurance that future dividends will be paid, and if dividends are paid, there is no assurance with respect to the amount of any such dividend. See
  “Dividends and Dividend Policy” and “Description of Share Capital—Dividends and Capitalization of Profits.”

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     Our dual class capital structure means our shares will not be included in certain indices. We cannot predict the impact this may have on the
     trading price of our Class A common shares.
        In 2017, FTSE Russell, S&P Dow Jones and MSCI announced changes to their eligibility criteria for inclusion of shares of public companies on
  certain indices to exclude companies with multiple classes of shares of common stock from being added to such indices. FTSE Russell announced plans
  to require new constituents of its indices to have at least five percent of their voting rights in the hands of public stockholders, whereas S&P Dow Jones
  announced that companies with multiple share classes, such as ours, will not be eligible for inclusion in the S&P 500, S&P MidCap 400 and S&P
  SmallCap 600, which together make up the S&P Composite 1500. MSCI also opened public consultations on their treatment of no-vote and multi-class
  structures and temporarily barred new multi-class listings from its ACWI Investable Market Index and U.S. Investable Market 2500 Index; however, in
  October 2018, MSCI announced its decision to include equity securities “with unequal voting structures” in its indices and to launch a new index that
  specifically includes voting rights in its eligibility criteria. We cannot assure you that other stock indices will not take a similar approach to FTSE
  Russell, S&P Dow Jones and MSCI in the future. Under the announced policies, our dual class capital structure would make us ineligible for inclusion
  in any of these indices and, as a result, mutual funds, exchange-traded funds and other investment vehicles that attempt to passively track these indices
  will not invest in our stock. It continues to be somewhat unclear what effect, if any, these policies will have on the valuations of publicly traded
  companies excluded from the indices, but in certain situations they may depress these valuations compared to those of other similar companies that are
  included. Exclusion from indices could make our Class A common shares less attractive to investors and, as a result, the market price of our Class A
  common shares could be adversely affected.


     The dual class structure of our common stock has the effect of concentrating voting control with XP Controle, our controlling shareholder; this
     will limit or preclude your ability to influence corporate matters.
         Each Class A common share, which are the shares being sold in this offering, will entitle its holder to one vote per share and each Class B
  common share will entitle its holder to ten votes per share, so long as the total number of votes of the issued and outstanding Class B common shares
  represents at least 10% of the voting share rights of the Company. The beneficial owners of our Class B common shares currently consist of XP
  Controle, Itaú and GA Bermuda, with XP Controle holding 65.75% of the Class B common shares immediately after the completion of the offering. Due
  to the ten-to-one voting ratio between our Class B and Class A common shares, our controlling shareholder, XP Controle, will continue to control a
  majority of the combined voting power of our common shares and therefore be able to, subject to the provisions of the Shareholders’ Agreement, control
  all matters submitted to our shareholders so long as the total number of the issued and outstanding Class B common shares is at least 10% of the voting
  share rights of the Company.

         In addition, our Articles of Association provide that at any time when there are Class A common shares in issue, additional Class B common
  shares may only be issued pursuant to (1) a share split, subdivision of shares or similar transaction or where a dividend or other distribution is paid by
  the issue of shares or rights to acquire shares or following capitalization of profits; (2) a merger, consolidation, or other business combination involving
  the issuance of Class B common shares as full or partial consideration; or (3) an issuance of Class A common shares, whereby holders of the Class B
  common shares are entitled to purchase a number of Class B common shares that would allow them to maintain their proportional ownership and voting
  interests in XP (following an offer by us to each holder of Class B common shares to issue to such holder, upon the same economic terms and at the
  same price, such number of Class B common shares as would ensure such holder may maintain a proportional ownership and voting interest in XP
  pursuant to our Articles of Association).

        In light of the above provisions relating to the issuance of additional Class B common shares, as well as the ten-to-one voting ratio of our Class B
  common shares and Class A common shares, holders of our Class B common shares will in many situations continue to maintain control of all matters
  requiring shareholder approval. This concentrated control will limit or preclude your ability to influence corporate matters for the

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  foreseeable future. For a description of our dual class structure, see “Description of Share Capital—Voting Rights.”


     We are a Cayman Islands exempted company with limited liability. The rights of our shareholders, including with respect to fiduciary duties and
     corporate opportunities, may be different from the rights of shareholders governed by the laws of U.S. jurisdictions.
         We are a Cayman Islands exempted company with limited liability. Our corporate affairs are governed by our Articles of Association and by the
  laws of the Cayman Islands. The rights of shareholders and the responsibilities of members of our board of directors may be different from the rights of
  shareholders and responsibilities of directors in companies governed by the laws of U.S. jurisdictions. In particular, as a matter of Cayman Islands law,
  directors of a Cayman Islands company owe fiduciary duties to the company and separately a duty of care, diligence and skill to the company. Under
  Cayman Islands law, directors and officers owe the following fiduciary duties: (1) duty to act in good faith in what the director or officer believes to be
  in the best interests of the company as a whole; (2) duty to exercise powers for the purposes for which those powers were conferred and not for a
  collateral purpose; (3) directors should not properly fetter the exercise of future discretion; (4) duty to exercise powers fairly as between different
  sections of shareholders; (5) duty to exercise independent judgment; and (6) duty not to put themselves in a position in which there is a conflict between
  their duty to the company and their personal interests. Our Articles of Association have varied this last obligation by providing that a director must
  disclose the nature and extent of his or her interest in any contract or arrangement, and following such disclosure and subject to any separate
  requirement under applicable law or the listing rules of the Nasdaq, and unless disqualified by the chairman of the relevant meeting, such director may
  vote in respect of any transaction or arrangement in which he or she is interested and may be counted in the quorum at the meeting. Conversely, under
  Delaware corporate law, a director has a fiduciary duty to the corporation and its stockholders (made up of two components) and the director’s duties
  prohibits self-dealing by a director and mandates that the best interest of the corporation and its shareholders take precedence over any interest possessed
  by a director, officer or controlling shareholder and not shared by the shareholders generally. See “Description of Share Capital—Principal Differences
  between Cayman Islands and U.S. Corporate Law.”


     New investors in our Class A common shares will experience immediate and substantial book value dilution after this offering.
         The initial public offering price of our Class A common shares will be substantially higher than the pro forma net tangible book value per share of
  the outstanding Class A common shares immediately after this offering. Based on an initial public offering price of $27.00 per share and our net tangible
  book value as of September 30, 2019, if you purchase our common shares in this offering you will pay more for your shares than the amounts paid by
  our existing shareholders for their shares and you will suffer immediate dilution of approximately $24.04 per share in pro forma net tangible book value,
  after giving effect to the Share Split. As a result of this dilution, investors purchasing shares in this offering may receive significantly less than the full
  purchase price that they paid for the shares purchased in this offering in the event of a liquidation. See “Dilution.”


     We may need to raise additional capital in the future by issuing securities or may enter into corporate transactions with an effect similar to a
     merger, which may dilute your interest in our share capital and affect the trading price of our Class A common shares.
         We may need to raise additional funds to grow our business and implement our growth strategy through public or private issuances of common
  shares or securities convertible into, or exchangeable for, our common shares, which may dilute your interest in our share capital or result in a decrease
  in the market price of our common shares. In addition, we may also enter into mergers or other similar transactions in the future, which may dilute your
  interest in our share capital or result in a decrease in the market price of our Class A common shares. Any fundraising through the issuance of shares or
  securities convertible into or exchangeable for shares,

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  or the participation in corporate transactions with an effect similar to a merger, may dilute your interest in our capital stock or result in a decrease in the
  market price of our Class A common shares.


     We have broad discretion in the use of the net proceeds from this offering and may not use them effectively.
         Our management will have broad discretion in the application of the net proceeds from this offering and could spend the proceeds in ways that do
  not improve our results of operations or enhance the value of our Class A common shares. The failure by our management to apply these funds
  effectively could result in financial losses that could have a material adverse effect on our business, financial condition and results of operations.
  Pending their use, we may invest the net proceeds from this offering in a manner that does not produce income or that loses value. See “Use of
  Proceeds.”


     Participation in this offering by entities advised by Durable Capital Partners LP will reduce the public float for our shares.
       Entities advised by Durable have agreed to purchase 5,500,000 of our Class A common shares in this offering at the initial public offering price.
  Such purchase will reduce the available public float for our shares if such entities hold these shares long term.


     As a foreign private issuer and an “emerging growth company” (as defined in the JOBS Act), we will have different disclosure and other
     requirements than U.S. domestic registrants and non-emerging growth companies.
         As a foreign private issuer and emerging growth company, we will be subject to different disclosure and other requirements than domestic U.S.
  registrants and non-emerging growth companies. For example, as a foreign private issuer, in the United States, we are not subject to the same disclosure
  requirements as a domestic U.S. registrant under the Exchange Act, including the requirements to prepare and issue quarterly reports on Form 10-Q or to
  file current reports on Form 8-K upon the occurrence of specified significant events, the proxy rules applicable to domestic U.S. registrants under
  Section 14 of the Exchange Act or the insider reporting and short-swing profit rules applicable to domestic U.S. registrants under Section 16 of the
  Exchange Act. In addition, we intend to rely on exemptions from certain U.S. rules which will permit us to follow Cayman Islands legal requirements
  rather than certain of the requirements that are applicable to U.S. domestic registrants.

         We will follow Cayman Islands laws and regulations that are applicable to Cayman Islands companies. However, Cayman Islands laws and
  regulations applicable to Cayman Islands companies do not contain any provisions comparable to the U.S. proxy rules, the U.S. rules relating to the
  filing of reports on Form 10-Q or 8-K or the U.S. rules relating to liability for insiders who profit from trades made in a short period of time, as referred
  to above.

        Furthermore, foreign private issuers are required to file their annual report on Form 20-F within 120 days after the end of each fiscal year, while
  U.S. domestic issuers that are accelerated filers are required to file their annual report on Form 10-K within 75 days after the end of each fiscal year.
  Foreign private issuers are also exempt from Regulation Fair Disclosure, aimed at preventing issuers from making selective disclosures of material
  information, although we will be subject to Cayman Islands laws and regulations having, in some respects, a similar effect as Regulation Fair
  Disclosure. As a result of the above, even though we are required to file reports on Form 6-K disclosing the limited information which we have made or
  are required to make public pursuant to Cayman Islands law, or are required to distribute to shareholders generally, and that is material to us, you may
  not receive information of the same type or amount that is required to be disclosed to shareholders of a U.S. company.

        The JOBS Act contains provisions that, among other things, relax certain reporting requirements for emerging growth companies. Under this act,
  as an emerging growth company, we will not be subject to the same

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  disclosure and financial reporting requirements as non-emerging growth companies. For example, as an emerging growth company we are permitted to,
  and intend to take advantage of certain exemptions from various reporting requirements that are applicable to other public companies that are not
  emerging growth companies. Also, we will not have to comply with future audit rules promulgated by the U.S. Public Company Accounting Oversight
  Board, or PCAOB, (unless the SEC determines otherwise) and our auditors will not need to attest to our internal controls under Section 404(b) of the
  Sarbanes-Oxley Act. We may follow these reporting exemptions until we are no longer an emerging growth company. As a result, our shareholders may
  not have access to certain information that they deem important. We will remain an emerging growth company until the earlier of (1) the last day of the
  fiscal year (a) following the fifth anniversary of the completion of this offering, (b) in which we have total annual revenues of at least US$1.07 billion,
  or (c) in which we are deemed to be a large accelerated filer, which means the market value of our Class A common shares that is held by non-affiliates
  exceeds US$700.0 million as of the prior June 30th, and (2) the date on which we have issued more than US$1.0 billion in non-convertible debt during
  the prior three-year period. Accordingly, the information about us available to you will not be the same as, and may be more limited than, the
  information available to shareholders of a non-emerging growth company. We could be an “emerging growth company” for up to five years, although
  circumstances could cause us to lose that status earlier, including if the market value of our Class A common shares held by non-affiliates exceeds
  $700 million as of any June 30 (the end of our second fiscal quarter) before that time, in which case we would no longer be an “emerging growth
  company” as of the following December 31 (our fiscal year end). We cannot predict if investors will find our Class A common shares less attractive
  because we may rely on these exemptions. If some investors find our Class A common shares less attractive as a result, there may be a less active
  trading market for our Class A common shares and the price of our Class A common shares may be more volatile.


     Upon the listing of our common shares on the Nasdaq, we will be a “controlled company” within the meaning of the rules of the Nasdaq
     corporate governance rules and, as a result, will qualify for, and intend to rely on, exemptions from certain corporate governance requirements.
     You will not have the same protections afforded to shareholders of companies that are subject to such requirements.
         Immediately after the completion of this offering, XP Controle will beneficially own 65.75% of our Class B common shares, representing 56.18%
  of the voting power of our outstanding share capital (or 54.79% if the underwriters exercise their option to purchase additional Class A common shares
  in full). As a result, we will be a “controlled company” within the meaning of the corporate governance standards of the Nasdaq corporate governance
  rules. Under these rules, a company of which more than 50% of the voting power in the election of directors is held by an individual, group or another
  company is a “controlled company” and may elect not to comply with certain corporate governance requirements. For example, controlled companies,
  within one year of the date of the listing of their common shares:
         •     are not required to have a board that is composed of a majority of “independent directors,” as defined under the rules of such exchange;
         •     are not required to have a compensation committee that is composed entirely of independent directors; and
         •     are not required to have a nominating and corporate governance committee that is composed entirely of independent directors.

         Following this offering, we intend to utilize these exemptions. As a result, we do not expect a majority of the directors on our board will be
  independent upon the closing of this offering. In addition, we do not expect that any of the committees of the board will consist entirely of independent
  directors upon the closing of this offering. Accordingly, you will not have the same protections afforded to shareholders of companies that are subject to
  all of the corporate governance requirements of the Nasdaq.

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     As a foreign private issuer, we are permitted to, and we will, rely on exemptions from certain Nasdaq corporate governance standards applicable
     to U.S. issuers, including the requirement that a majority of an issuer’s directors consist of independent directors. This may afford less protection
     to holders of our Class A common shares.
         Section 5605 of the Nasdaq equity rules requires listed companies to have, among other things, a majority of their board members be independent,
  and to have independent director oversight of executive compensation, nomination of directors and corporate governance matters. As a foreign private
  issuer, however, we are permitted to, and we will, follow home country practice in lieu of the above requirements. See “Description of Share Capital—
  Principal Differences between Cayman Islands and U.S. Corporate Law.”


     We may lose our foreign private issuer status which would then require us to comply with the Exchange Act’s domestic reporting regime and
     cause us to incur significant legal, accounting and other expenses.
        In order to maintain our current status as a foreign private issuer, either (a) more than 50% of our Class A common shares must be either directly
  or indirectly owned of record by non-residents of the United States or (b)(i) a majority of our executive officers or directors may not be U.S. citizens or
  residents; (2) more than 50% of our assets cannot be located in the United States; and (3) our business must be administered principally outside the
  United States. If we lose this status, we would be required to comply with the Exchange Act reporting and other requirements applicable to U.S.
  domestic issuers, which are more detailed and extensive than the requirements for foreign private issuers. We may also be required to make changes in
  our corporate governance practices in accordance with various SEC and Nasdaq rules. The regulatory and compliance costs to us under U.S. securities
  laws if we are required to comply with the reporting requirements applicable to a U.S. domestic issuer may be significantly higher than the costs we will
  incur as a foreign private issuer.


     Our shareholders may face difficulties in protecting their interests because we are a Cayman Islands exempted company.
         Our corporate affairs are governed by our Articles of Association, by the Companies Law (as amended) of the Cayman Islands, or the Companies
  Law, and the common law of the Cayman Islands. The rights of shareholders to take action against our directors, actions by minority shareholders and
  the fiduciary responsibilities of our directors to us under Cayman Islands law are to a large extent governed by the common law of the Cayman Islands.
  The common law of the Cayman Islands is derived in part from comparatively limited judicial precedent in the Cayman Islands as well as that from
  English common law, which has persuasive, but not binding, authority on a court in the Cayman Islands. The rights of our shareholders and the fiduciary
  responsibilities of our directors under Cayman Islands law are not as clearly established as they would be under statutes or judicial precedent in some
  jurisdictions in the United States. In particular, the Cayman Islands has a less exhaustive body of securities laws than the United States. In addition,
  some U.S. states, such as Delaware, have more fulsome and judicially interpreted bodies of corporate law than the Cayman Islands.

         While Cayman Islands law allows a dissenting shareholder to express the shareholder’s view that a court sanctioned reorganization of a Cayman
  Islands company would not provide fair value for the shareholder’s shares, Cayman Islands statutory law does not specifically provide for shareholder
  appraisal rights in connection with a court sanctioned reorganization (by way of a scheme of arrangement). This may make it more difficult for you to
  assess the value of any consideration you may receive in a merger or consolidation (by way of a scheme of arrangement) or to require that the acquirer
  gives you additional consideration if you believe the consideration offered is insufficient. However, Cayman Islands statutory law provides a mechanism
  for a dissenting shareholder in a merger or consolidation to apply to the Grand Court of the Cayman Islands for a determination of the fair value of the
  dissenter’s shares if it is not possible for the company and the dissenter to agree on a fair price within the time limits prescribed.

        Shareholders of Cayman Islands exempted companies (such as us) have no general rights under Cayman Islands law to inspect corporate records
  and accounts or to obtain copies of lists of shareholders. Our directors

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  have discretion under our Articles of Association to determine whether or not, and under what conditions, our corporate records may be inspected by our
  shareholders, but are not obliged to make them available to our shareholders. This may make it more difficult for you to obtain information needed to
  establish any facts necessary for a shareholder motion or to solicit proxies from other shareholders in connection with a proxy contest.

        Subject to limited exceptions, under Cayman Islands’ law, a minority shareholder may not bring a derivative action against the board of directors.
  Class actions are not recognized in the Cayman Islands, but groups of shareholders with identical interests may bring representative proceedings, which
  are similar.


     United States civil liabilities and certain judgments obtained against us by our shareholders may not be enforceable.
        We are a Cayman Islands exempted company and substantially all of our assets are located outside of the United States. In addition, the majority
  of our directors and officers are nationals and residents of countries other than the United States. A substantial portion of the assets of these persons is
  located outside of the United States. As a result, it may be difficult to effect service of process within the United States upon these persons. It may also
  be difficult to enforce in U.S. courts judgments obtained in U.S. courts based on the civil liability provisions of the U.S. federal securities laws against
  us and our officers and directors who are not resident in the United States and the substantial majority of whose assets are located outside of the United
  States.

         Further, it is unclear if original actions predicated on civil liabilities based solely upon U.S. federal securities laws are enforceable in courts
  outside the United States, including in the Cayman Islands and Brazil. Courts of the Cayman Islands may not, in an original action in the Cayman
  Islands, recognize or enforce judgments of U.S. courts predicated upon the civil liability provisions of the securities laws of the United States or any
  state of the United States on the grounds that such provisions are penal in nature. Although there is no statutory enforcement in the Cayman Islands of
  judgments obtained in the United States, courts of the Cayman Islands will recognize and enforce a foreign judgment of a court of competent
  jurisdiction if such judgment is final, for a liquidated sum, provided it is not in respect of taxes or a fine or penalty, is not inconsistent with a Cayman
  Islands’ judgment in respect of the same matters, and was not obtained in a manner which is contrary to the public policy of the Cayman Islands. In
  addition, a Cayman Islands court may stay proceedings if concurrent proceedings are being brought elsewhere.


     Judgments of Brazilian courts to enforce our obligations with respect to our Class A common shares may be payable only in reais.
        Most of our assets are located in Brazil. If proceedings are brought in the courts of Brazil seeking to enforce our obligations in respect of our
  Class A common shares, we may not be required to discharge our obligations in a currency other than the real. Under Brazilian exchange control laws,
  an obligation in Brazil to pay amounts denominated in a currency other than the real may only be satisfied in Brazilian currency at the exchange rate,
  typically as determined by the Central Bank, in effect on the date the judgment is obtained, and such amounts are then typically adjusted to reflect
  exchange rate variations and monetary restatements through the effective payment date. The then-prevailing exchange rate may not afford non-Brazilian
  investors with full compensation for any claim arising out of or related to our obligations under the Class A common shares.


     Our Class A common shares may not be a suitable investment for all investors, as investment in our Class A common shares presents risks and
     the possibility of financial losses.
         The investment in our Class A common shares is subject to risks. Investors who wish to invest in our Class A common shares are thus subject to
  asset losses, including loss of the entire value of their investment, as well as other risks, including those related to our Class A common shares, us, the
  sector in which we operate, our shareholders and the general macroeconomic environment in Brazil, among other risks.

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        Each potential investor in our Class A common shares must therefore determine the suitability of that investment in light of its own circumstances.
  In particular, each potential investor should:
         •     have sufficient knowledge and experience to make a meaningful evaluation of our Class A common shares, the merits and risks of
               investing in our Class A common shares and the information contained in this prospectus;
         •     have access to, and knowledge of, appropriate analytical tools to evaluate, in the context of its particular financial situation, an investment
               in our Class A common shares and the impact our Class A common shares will have on its overall investment portfolio;
         •     have sufficient financial resources and liquidity to bear all of the risks of an investment in our Class A common shares;
         •     understand thoroughly the terms of our Class A common shares and be familiar with the behavior of any relevant indices and financial
               markets; and
         •     be able to evaluate (either alone or with the help of a financial adviser) possible scenarios for economic, interest rate and other factors that
               may affect its investment and its ability to bear the applicable risks.


     There can be no assurance that we will not be a passive foreign investment company for any taxable year, which could subject United States
     investors in our Class A common shares to significant adverse U.S. federal income tax consequences.
        Under the Internal Revenue Code of 1986, as amended, or the Code, we will be a passive foreign investment company, or PFIC, for any taxable
  year in which, after the application of certain look-through rules with respect to subsidiaries, either (1) 75% or more of our gross income consists of
  “passive income;” or (2) 50% or more of the average quarterly value of our assets consists of assets that produce, or are held for the production of,
  “passive income.” Passive income generally includes dividends, interest, certain non-active rents and royalties, and capital gains. Based on our current
  operations, income, assets and certain estimates and projections, including as to the relative values of our assets, including goodwill, which is based on
  the expected price of our Class A common shares, we do not expect to be a PFIC for our 2019 taxable year. However, there can be no assurance that the
  Internal Revenue Service, or the IRS, will agree with our conclusion. In addition, whether we will be a PFIC in 2019 or any future year is uncertain
  because, among other things, (1) we will hold a substantial amount of cash following this offering, which is categorized as a passive asset; and (2) our
  PFIC status for any taxable year will depend on the composition of our income and assets and the value of our assets from time to time (which may be
  determined, in part, by reference to the market price of our Class A common shares, which could be volatile). Accordingly, there can be no assurance
  that we will not be a PFIC for any taxable year.

         If we are a PFIC for any taxable year during which a U.S. investor holds Class A common shares, we generally would continue to be treated as a
  PFIC with respect to that U.S. investor for all succeeding years during which the U.S. investor holds Class A common shares, even if we ceased to meet
  the threshold requirements for PFIC status. Such a U.S. investor may be subject to adverse U.S. federal income tax consequences, including (1) the
  treatment of all or a portion of any gain on disposition as ordinary income; (2) the application of a deferred interest charge on such gain and the receipt
  of certain dividends; and (3) compliance with certain reporting requirements. A “mark-to-market” election may be available that will alter the
  consequences of PFIC status if our Class A common shares are regularly traded on a qualified exchange. For further discussion, see “Taxation—U.S.
  Federal Income Tax Considerations.”

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                                            PRESENTATION OF FINANCIAL AND OTHER INFORMATION

         All references to “U.S. dollars,” “dollars” or “$” are to the U.S. dollar. All references to “real,” “reais,” “Brazilian real,” “Brazilian reais,” or “R$”
  are to the Brazilian real, the official currency of Brazil. All references to “IFRS” are to International Financial Reporting Standards, as issued by the
  International Accounting Standards Board, or the IASB.


  Financial Statements
         XP, the company whose Class A common shares are being offered in this prospectus, was incorporated on August 29, 2019, as a Cayman Islands
  exempted company with limited liability duly registered with the Cayman Islands Registrar of Companies. Until the contribution of XP Brazil shares to
  it prior to the consummation of this offering, XP will not have commenced operations and will have only nominal assets and liabilities and no material
  contingent liabilities or commitments.

        We maintain our books and records in Brazilian reais, the presentation currency for our financial statements and also the functional currency of
  our operations in Brazil. Our unaudited interim condensed consolidated financial statements were prepared in accordance with IAS 34 and our annual
  consolidated financial statements were prepared in accordance with IFRS, as issued by the IASB. Unless otherwise noted, XP Brazil’s financial
  information presented herein as of September 30, 2019 and for the nine months ended September 30, 2019 and 2018 and as of December 31, 2018 and
  2017 and for the years ended December 31, 2018, 2017 and 2016 is stated in Brazilian reais, its reporting currency. The consolidated financial
  information of XP Brazil contained in this prospectus is derived from XP Brazil’s unaudited interim condensed consolidated financial statements as of
  September 30, 2019 and for the nine months ended September 30, 2019 and 2018 and XP Brazil’s audited consolidated financial statements as of
  December 31, 2018 and 2017 and for the years ended December 31, 2018, 2017 and 2016, together with the notes thereto. All references herein to “our
  financial statements,” “our audited consolidated financial information,” “our audited consolidated financial statements” and “our unaudited interim
  condensed consolidated financial statements,” are to XP Brazil’s consolidated financial statements included elsewhere in this prospectus.

       This financial information should be read in conjunction with “Management’s Discussion and Analysis of Financial Condition and Results of
  Operations” and our consolidated financial statements, including the notes thereto, included elsewhere in this prospectus.

        Following this offering, XP will begin reporting consolidated financial information to shareholders, and XP Brazil will not present consolidated
  financial statements. We also maintain our books and records in Brazilian reais and our consolidated financial statements will be prepared in accordance
  with IFRS, as issued by the IASB.

        XP Brazil and our fiscal year ends on December 31. References in this prospectus to a fiscal year, such as “fiscal year 2018,” relate to our fiscal
  year ended on December 31 of that calendar year.

        Our historical financial statements included elsewhere in this prospectus do not reflect the Share Split to be conducted following the Share
  Contribution and prior to the consummation of this offering.


  Corporate Events
     Our Incorporation
         We are a Cayman Islands exempted company incorporated with limited liability on August 29, 2019 for purposes of effectuating our initial public
  offering. At the time of our incorporation, XP Controle, Itaú, GA Bermuda and DYNA III held 2,036,988,542 shares (prior to giving effect to the Share
  Split) of XP Brazil, which are all of the shares of XP Brazil, our Brazilian principal non-operating holding company whose consolidated financial
  statements are included elsewhere in this prospectus.


     Itaú Transaction and 2022 Acquisition
        In connection with the Itaú Transaction entered into on May 11, 2017, Itaú Unibanco shall purchase in 2022, subject to certain conditions
  precedent (including regulatory approval from the Central Bank), the equivalent of

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  12.5% of XP’s total outstanding capital stock (pre-public offering), which stock is currently held by XP Controle, GA Bermuda and DYNA III, for a
  certain and adjusted price previously agreed in the relevant share purchase agreement relating to the Itaú Transaction.


    Our Corporate Reorganization
         On November 29, 2019, XP Controle, Itaú, GA Bermuda and DYNA III contributed all of their shares in XP Brazil to us. In return for this
  contribution, we issued new Class B common shares to XP Controle, new Class A common shares and Class B common shares to Itaú, new Class A
  common shares and Class B common shares to GA Bermuda and new Class A common shares to DYNA III in a one-to-one exchange for the shares of
  XP Brazil contributed to us. In addition and following the Share Contribution, we implemented a four-to-one reverse share split (or consolidation),
  effective as of November 30, 2019, which we refer to herein as the Share Split.

       After accounting for the new Class A common shares that will be issued and sold by us in this offering, we will have a total of 551,800,326
  common shares issued and outstanding immediately following this offering, 204,157,473 of these shares will be Class B common shares beneficially
  owned by XP Controle, GA Bermuda and Itaú and 347,642,853 of these shares will be Class A common shares beneficially owned by Itaú, GA
  Bermuda and DYNA III and by investors purchasing in this offering. See “Principal and Selling Shareholders.”

       The following chart shows our corporate structure, before giving effect to our corporate reorganization and this offering:




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        The following chart shows our corporate structure, after giving effect to our corporate reorganization but before this offering:




  Please read the information in the section entitled “Business—Our Corporate Structure” for a more thorough description of the operations of our
  material operating subsidiaries.


     Financial Information in U.S. Dollars
        Solely for the convenience of the reader, we have translated some of the real amounts included in this prospectus from Reais into U.S. dollars.
  You should not construe these translations as representations by us that the amounts actually represent these U.S. dollar amounts or could be converted
  into U.S. dollars at the rates indicated. Unless otherwise indicated, we have translated real amounts into U.S. dollars using a rate of R$4.1638 to
  US$1.00, the commercial purchase rate for U.S. dollars at September 30, 2019 as reported by the Central Bank. See “Exchange Rates” for more detailed
  information regarding translation of reais into U.S. dollars and for historical exchange rates for the Brazilian real.


  Special Note Regarding Non-GAAP Financial Measures
       This prospectus presents our Floating Balance, Adjusted Gross Financial Assets, Adjusted EBITDA and Adjusted Net Income information for the
  convenience of the investors.

        We present Floating Balance because we believe this measure helps to understand the effect on our balance sheet from uninvested cash balances
  from retail clients’ investment accounts at XP companies. We calculate Floating Balance as the sum of securities trading and intermediation (liabilities),
  minus securities trading and intermediation (assets). It is a metric that our management tracks internally and that investors and analysts typically want to
  calculate. Unlike the portions of Retail AUC invested by clients in equities, fixed income, mutual funds and almost all our other asset classes, Floating
  Balance is accounted for on our balance sheet, resulting in a net increase in our liabilities, and is a source of funds that we allocate to securities and
  financial instruments, which generates interest revenues for us. Given the size of our current AUC and the pace of our growths, Floating Balance,
  despite being historically only in the range of 1% to 2% of total AUC, is material and therefore helps explain the variation of the assets and liabilities in
  our balance sheet.

         We present Adjusted Gross Financial Assets because we believe this metric captures the liquidity that is in fact available to us, net of the portion
  of liquidity that is related to our Floating Balance (and therefore

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  attributable to clients). We calculate Adjusted Gross Financial Assets as the sum of (1) Cash and Financial Assets (comprised of Cash plus Securities –
  Fair value through profit or loss, plus Securities – Fair value through other comprehensive income, plus Securities – Evaluated at amortized cost, plus
  Derivative financial instruments, plus Securities purchased under agreements to resell), less (2) Financial Liabilities (comprised of the sum of Securities
  loaned, Derivative financial instruments, Securities sold under repurchase agreements and Private pension liabilities), and (3) less Floating Balance. It is
  a measure that we track internally on a daily basis, and it more intuitively reflects the effect of the operational profits we generate and the variations
  between working capital assets and liabilities (cash flows from operating activities), investments in fixed and intangible assets (cash flows from
  investing activities) and inflows and outflows related to equity and debt securities in our capital structure (cash flows from financing activities). Our
  management treats all securities and financial instrument assets, net of financial instrument liabilities, as balances that compose our total liquidity, with
  sub line items (such as, for example, “securities at fair value through profit and loss” and “securities at fair value through other comprehensive income”)
  expected to fluctuate substantially from quarter to quarter as our treasury manages and allocates our total liquidity to the most suitable financial
  instruments.

         We present Adjusted EBITDA because we believe this measure can provide useful information to investors and analysts regarding the operational
  results of the business, EBITDA being a fairly common metric that market participants are familiar with, in particular when understanding and
  analyzing service companies. Despite having two subsidiaries that are financial institutions in Brazil, we believe our business is primarily an asset light
  services and fees business. Accordingly, we track internally Adjusted EBITDA as a measure of profits before the impact of income taxes, net of
  non-cash charges of depreciation and amortization, and before the impact of our capital structure (which comprises interest expenses from debt and
  interest revenues from cash and liquidity available), since we believe the latter is ultimately a corporate finance choice of the equity holders and
  unrelated to the capacity of the business to generate operational results. We calculate Adjusted EBITDA as net income, plus income tax, plus
  depreciation and amortization, plus interest expense on debt, minus interest revenue on Adjusted Gross Financial Assets.

         We present Adjusted Net Income because we believe this measure can provide useful information to investors and analysts regarding the net
  results of the business, excluding one-time revenues or expenses related to transactions or events that are not reflective of our core operating
  performance. We calculate Adjusted Net Income as net income, plus Itaú Transaction and deal related expenses, minus one-time tax claim recognition
  (2010-2017) plus/minus taxes.

         The non-GAAP financial measures described in this prospectus are not a substitute for the IFRS measures of earnings. Additionally, our
  calculation of Adjusted EBITDA and Adjusted Net Income may be different from the calculation used by other companies, including our competitors in
  the financial services industry, and therefore, our measures may not be comparable to those of other companies. Adjusted EBITDA does not reflect
  historical cash expenditures or future requirements for capital expenditures or contractual commitments.


  Market Share and Other Information
        This prospectus contains data related to economic conditions in the market in which we operate. The information contained in this prospectus
  concerning economic conditions is based on publicly available information from third-party sources that we believe to be reasonable. Market data and
  certain industry forecast data used in this prospectus were obtained from internal reports and studies, where appropriate, as well as estimates, market
  research, publicly available information (including information available from the United States Securities and Exchange Commission website) and
  industry publications. We obtained the information included in this prospectus relating to the industry in which we operate, as well as the estimates
  concerning market shares, through internal research, a report dated September 2019 by management consulting company Oliver Wyman commissioned
  by us, public information and publications on the industry prepared by official public sources, such as the Brazilian Central Bank, the Brazilian Institute
  of Geography and Statistics (Instituto Brasileiro de Geografia e Estatística), or the IBGE, the Institute of Applied Economic Research (Instituto de

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  Pesquisa Econômica Aplicada), or the IPEA, as well as private sources, such as B3, ANBIMA, Nielsen, consulting and research companies in the
  Brazilian financial services industry, the Brazilian Economic Institute of Fundação Getulio Vargas (Instituto Brasileiro de Economia da Fundação
  Getulio Vargas), or FGV/IBRE, among others.

        Industry publications generally state that the information they include has been obtained from sources believed to be reliable, but that the accuracy
  and completeness of such information is not guaranteed. Although we have no reason to believe any of this information or these reports are inaccurate in
  any material respect and believe and act as if they are reliable, neither we, the selling shareholders, the underwriters, nor their respective agents have
  independently verified it. Governmental publications and other market sources, including those referred to above, generally state that their information
  was obtained from recognized and reliable sources, but the accuracy and completeness of that information is not guaranteed. In addition, the data that we
  compile internally and our estimates have not been verified by an independent source. Except as disclosed in this prospectus, none of the publications,
  reports or other published industry sources referred to in this prospectus were commissioned by us or prepared at our request. Except as disclosed in this
  prospectus, we have not sought or obtained the consent of any of these sources to include such market data in this prospectus.


  Calculation of Net Promoter Score
        Net Promoter Score, or NPS, is a widely known survey methodology that measures the willingness of customers to recommend a company’s
  products and services. It is used to gauge customers’ overall satisfaction with a company’s products and services and their loyalty to the brand, and it is
  typically based on customer surveys. NPS measures satisfaction using a scale of zero to 10 based on a customer’s response to the following question:
  “How likely is it that you would recommend XP to a friend or colleague?” Responses of nine or ten are considered “Promoters.” Responses of seven or
  eight are considered neutral. Responses of six or less are considered “Detractors.” The NPS, a percentage expressed as a numerical value, is calculated
  by subtracting the percentage of respondents who are Detractors from the percentage who are Promoters and dividing that number by the total number
  of respondents, which means that the higher the number, the higher the measure of customer satisfaction. The NPS calculation gives no weight to
  customers who decline to answer the survey question. The NPS calculation as of a given date reflects the average of the answers in the previous 6
  months, e.g. the NPS as of December 2018 reflects the average of answers from July 2018 to December 2018. Our NPS score as calculated by us as of
  December 2017, December 2018 and September 2019 was 58, 64 and 71, respectively.


  Rounding
        We have made rounding adjustments to some of the figures included in this prospectus. Accordingly, numerical figures shown as totals in some
  tables may not be an arithmetic aggregation of the figures that preceded them.

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                                CAUTIONARY STATEMENT REGARDING FORWARD-LOOKING STATEMENTS

        This prospectus contains statements that constitute forward-looking statements. Many of the forward-looking statements contained in this
  prospectus can be identified by the use of forward-looking words such as “anticipate,” “believe,” “could,” “expect,” “should,” “plan,” “intend,”
  “estimate” and “potential,” among others.

         Forward-looking statements appear in a number of places in this prospectus and include, but are not limited to, statements regarding our intent,
  belief or current expectations. Forward-looking statements are based on our management’s beliefs and assumptions and on information currently
  available to our management. Such statements are subject to risks and uncertainties, and actual results may differ materially from those expressed or
  implied in the forward-looking statements due to of various factors, including, but not limited to, those identified under the section entitled “Risk
  Factors” in this prospectus. These risks and uncertainties include factors relating to:
         •     general economic, financial, political, demographic and business conditions in Brazil, as well as any other countries we may serve in the
               future and their impact on our business;
         •     fluctuations in interest, inflation and exchange rates in Brazil and any other countries we may serve in the future;
         •     competition in the financial services industry;
         •     our ability to implement our business strategy;
         •     our ability to adapt to the rapid pace of technological changes in the financial services industry;
         •     the reliability, performance, functionality and quality of our products and services and the investment performance of investment funds
               managed by third parties or by our asset managers;
         •     the availability of government authorizations on terms and conditions and within periods acceptable to us;
         •     our ability to continue attracting and retaining new appropriately-skilled employees;
         •     our capitalization and level of indebtedness;
         •     the interests of our controlling shareholders;
         •     changes in government regulations applicable to the financial services industry in Brazil and elsewhere;
         •     our ability to compete and conduct our business in the future;
         •     the success of operating initiatives, including advertising and promotional efforts and new product, service and concept development by us
               and our competitors;
         •     changes in consumer demands regarding financial products, customer experience related to investments and technological advances, and
               our ability to innovate to respond to such changes;
         •     changes in labor, distribution and other operating costs;
         •     our compliance with, and changes to, government laws, regulations and tax matters that currently apply to us;
         •     other factors that may affect our financial condition, liquidity and results of operations; and
         •     other risk factors discussed under “Risk Factors.”

        Forward-looking statements speak only as of the date they are made, and we do not undertake any obligation to update them in light of new
  information or future developments or to release publicly any revisions to these statements in order to reflect later events or circumstances or to reflect
  the occurrence of unanticipated events.

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                                                                   USE OF PROCEEDS

       We estimate that the net proceeds from our issuance and sale of 42,553,192 shares of our Class A common shares in this offering will be
  approximately US$1,090.5 million, after deducting the estimated underwriting discounts and commissions and estimated offering expenses payable by
  us.

        We expect to use the net proceeds from this offering as follows:
         •     to meet our anticipated increased working capital requirements resulting from the expected growth in our business;
         •     to accelerate customer acquisition through increased investments in marketing and advertising;
         •     to invest in personnel that complement our existing business units;
         •     to invest in new financial services verticals that we plan to enter or have recently entered into, such as digital banking, payments and
               insurance;
         •     to fund potential future acquisition opportunities; and
         •     to fund other general corporate purposes.

        We do not have any current plans, arrangements or understandings to make any acquisitions. We will have broad discretion in allocating the net
  proceeds from this offering. Although we currently anticipate that we will use the net proceeds from this offering as described above, there may be
  circumstances where a reallocation of funds is necessary. The amounts and timing of our actual expenditures will depend upon numerous factors,
  including the factors described under “Risk Factors” in this prospectus. Accordingly, our management will have flexibility in applying the net proceeds
  from this offering. An investor will not have the opportunity to evaluate the economic, financial or other information on which we base our decisions on
  how to use the proceeds.

        Pending our use of the net proceeds from this offering, we intend to invest the net proceeds in a variety of capital preservation investments,
  including short-term, investment-grade, interest-bearing instruments and U.S. government securities. No assurance can be given that we will invest the
  net proceeds from this offering in a manner that produces income or that does not result in a loss in value.

        We will not receive any proceeds from the sale of shares by the selling shareholders.

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                                                         DIVIDENDS AND DIVIDEND POLICY

        We have not adopted a dividend policy with respect to future distributions of dividends. The amount of any distributions will depend on many
  factors such as our results of operations, financial condition, cash requirements, prospects and other factors deemed relevant by our board of directors
  and, where applicable, our shareholders. For further information on dividends, see “Description of Share Capital—Dividends and Capitalization of
  Profits.”

        On October 16, 2019, XP Brazil declared and paid dividends totaling R$60 million. On November 1, 2019, XP Brazil declared dividends totaling
  R$440 million, which will be paid by the end of 2019. For further information, see note 2 to our unaudited interim condensed consolidated financial
  statements included elsewhere in this prospectus.

         In 2018, 2017 and 2016, XP Brazil paid dividends totaling R$325 million, R$190 million and R$174 million, respectively. For further information
  regarding dividend payments by XP Brazil since January 1, 2016, see note 23(c) to our audited consolidated financial statements included elsewhere in
  this prospectus.


  Certain Cayman Islands Legal Requirements Related to Dividends
        Under the Companies Law and our Articles of Association, a Cayman Islands company may pay a dividend out of either its profit or share
  premium account, but a dividend may not be paid if this would result in the company being unable to pay its debts as they fall due in the ordinary course
  of business. According to our Articles of Association, dividends can be declared and paid out of funds lawfully available to us, which include the share
  premium account. Dividends, if any, would be paid in proportion to the number of common shares a shareholder holds. For further information, see
  “Taxation—Cayman Islands Tax Considerations.”

        Additionally, please refer to “Risk Factors—Certain Risks Relating to Our Business and Industry—Our holding company structure makes us
  dependent on the operations of our subsidiaries.” Our ability to pay dividends is directly related to positive and distributable net results from our
  subsidiaries. We depend on dividend distributions by our subsidiaries, and we may be adversely affected if the performance of our subsidiaries is not
  positive. If, for any legal reasons due to new laws or bilateral agreements between countries, they are unable to pay dividends to Cayman Islands
  companies, or if a Cayman Islands company becomes incapable of receiving them, we may not be able to make any dividend payments in the future.

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                                                                     CAPITALIZATION

         The table below sets forth our total capitalization (defined as long-term debt and total equity) as of September 30, 2019 (in each case, after giving
  effect to the Share Split), as follows:
         •     historical financial information of XP Brazil, on an actual basis;
         •     XP (after giving effect to the Share Contribution), as adjusted to give effect to the R$500 million in dividends payable by XP Brazil, of
               which R$60 million was declared and paid on October 16, 2019, and R$440 million was declared on November 1, 2019 and will be paid
               by the end of 2019;
         •     XP, as further adjusted to give effect to the items listed in (2) and to the issuance and sale by XP of the Class A common shares in this
               offering, and the receipt of approximately US$1,090.5 million (R$4,540.7 million) in estimated net proceeds, considering an offering price
               of US$27.00 (R$112.42) per Class A common share after deduction of the estimated underwriting discounts and commissions and
               estimated offering expenses payable by us in connection with this offering, and the use of proceeds therefrom.

        Investors should read this table in conjunction with our consolidated financial statements and the related notes included elsewhere in this
  prospectus, with the sections of this prospectus entitled “Selected Financial Information,” with “Management’s Discussion and Analysis of Financial
  Condition and Results of Operations” and with other financial information contained in this prospectus.

                                                                                                                As of September 30, 2019
                                                                                                               XP (after giving effect to the
                                                                                                                Share Contribution), as            XP, as further
                                                                                                                     adjusted for the               adjusted for
                                                                                         XP Brazil, actual         declared dividends               this offering
                                                                                        (US$)(1)      (R$)      (US$)(1)             (R$)       (US$)(1)        (R$)
                                                                                                                       (in millions)
  Long-term debt, excluding current portion(2)                                              227        943               227            943         227         943
  Total equity                                                                              668      2,782               548          2,282       1,639       6,823
  Total capitalization(3)                                                                   895      3,725               775          3,225       1,866       7,766

  (1)   For convenience purposes only, amounts in reais as of September 30, 2019 have been translated to U.S. dollars at the exchange rate of R$4.1638
        to US$1.00. These translations should not be considered representations that any such amounts have been, could have been or could be converted
        at that or any other exchange rate. See “Exchange Rates” and “Presentation of Financial and Other Information” for further information about
        recent fluctuations in exchange rates.
  (2)   Consists of borrowings, lease liabilities and debentures.
  (3)   Total capitalization consists of long-term debt (excluding current portion) plus total equity.

        Other than as set forth above, there have been no material changes to our capitalization since September 30, 2019.

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                                                                          DILUTION

         Immediately prior to this initial public offering and after the Share Split and the Share Contribution, XP Controle, Itaú, GA Bermuda and DYNA
  III will hold all of our issued and outstanding shares, and we will hold all of the issued and outstanding shares in XP Brazil.

        We have presented the dilution calculation below on the basis of XP Brazil’s net tangible book value as of September 30, 2019 because (1) until
  the contribution of XP Brazil shares to it, XP will not have commenced operations and will have only nominal assets and liabilities and no material
  contingent liabilities or commitments; and (2) the number of common shares of XP in issuance prior to this offering was the same as the number of
  shares of XP Brazil in issuance as of September 30, 2019, after giving effect to the Share Split.

         As of September 30, 2019, XP Brazil had a net tangible book value of R$2,261 million (US$543.0 million), corresponding to a net tangible book
  value of R$4.44 per share (US$1.07 per share), after giving effect to the Share Split. Net tangible book value per share represents the amount of our total
  assets less our total liabilities, excluding goodwill and other intangible assets, divided by 509,247,134, the total number of XP Brazil shares outstanding
  as of September 30, 2019, after giving effect to the Share Split.

         After giving effect to the Share Split and the sale of the Class A common shares offered by us in this offering, and considering an offering price of
  US$27.00 per Class A common share after deducting the estimated underwriting discounts and commissions and estimated offering expenses payable by
  us, our net tangible book value estimated as of September 30, 2019 would have been approximately US$1,634 million, representing US$2.96 per share.
  This represents an immediate increase in net tangible book value of US$1.89 per share to existing shareholders and an immediate dilution in net tangible
  book value of US$24.04 per share to new investors purchasing Class A common shares in this offering. Dilution for this purpose represents the
  difference between the price per Class A common shares paid by these purchasers and net tangible book value per Class A common share immediately
  after the completion of this offering.

        If you invest in our Class A common shares, your interest will be diluted to the extent of the difference between the initial public offering price per
  Class A common share (when converted into reais) and the pro forma net tangible book value per Class A common share after accounting for the
  issuance and sale of new common shares in this offering.

         Because the Class A common shares and Class B common shares of XP have the same dividend and other rights, except for voting and preemptive
  rights, we have counted the Class A common shares and Class B common shares equally for purposes of the dilution calculations below.

        The following table illustrates this dilution to new investors purchasing Class A common shares in this offering.

  Net tangible book value per share as of September 30, 2019 (after giving effect to the Share Split)                                            US$ 1.07
  Increase in net tangible book value per share attributable to new investors                                                                    US$ 1.89
  Pro forma net tangible book value per share immediately after this offering (after giving effect to the Share Split)                           US$ 2.96
  Dilution per Class A common share to new investors                                                                                             US$24.04
  Percentage of dilution in net tangible book value per Class A common share for new investors                                                      89.04%

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        The following table sets forth, on a pro forma basis, as of September 30, 2019, the number of common shares purchased from us, the total
  consideration paid, or to be paid, and the average price per share paid, or to be paid, by the existing shareholders and by the new investors, at an initial
  public offering price of $27.00 per share, after deducting estimated underwriting discounts and commissions and offering expenses payable by us.

                                                                                                                                                        Average
                                                                                      Shares Purchased                  Total Consideration              Price
                                                                                     Number         Percent            Amount             Percent      Per Share
  Existing shareholders                                                           509,247,134           92%        $ 543,013,593             33%       $ 1.07
  New investors                                                                    42,553,192            8%        $1,090,506,396            67%       $ 25.63
       Total                                                                      551,800,326          100%        $1,633,519,990           100%       $ 2.96

        The foregoing tables assume no exercise of the underwriters’ option to purchase additional shares.

         Sales by the selling shareholders in this offering will cause the number of shares held by existing shareholders to be reduced to 479,289,685
  shares, or 86.86% of the total number of shares outstanding after this offering, and will increase the number of shares held by new investors to
  72,510,641 shares, or 13.14% of the total number of shares outstanding after this offering, excluding any shares purchased by any existing holders in
  this offering.

        To the extent that we grant options in the future and those options are exercised or other issuances of common shares are made, there will be
  further dilution to new investors. See “Management—Long-Term Incentive Plan.”

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                                                                    EXCHANGE RATES

         The Brazilian foreign exchange system allows the purchase and sale of foreign currency and the international transfer of reais by any person or
  legal entity, regardless of the amount, subject to certain regulatory procedures.

         The real depreciated against the U.S. dollar from mid-2011 to early 2016. In particular, during 2015, due to the poor economic conditions in
  Brazil, including as a result of political instability, the real depreciated at a rate that was much higher than in previous years. Overall in 2015, the real
  depreciated 47.0%, reaching R$3.9048 per US$1.00 on December 31, 2015. In 2016, the real fluctuated significantly, primarily as a result of Brazil’s
  political instability, appreciating 16.5% to R$3.2585 per US$1.00 on December 31, 2016. In 2017, the real depreciated 1.5% against the U.S. dollar,
  ending the year at an exchange rate of R$3.3074 per US$1.00. In 2018, the real depreciated 17.1% against the U.S. dollar, ending the year at an
  exchange rate of R$3.8742 per US$1.00 mainly due to the result of lower interest rates in Brazil as well as uncertainty regarding the results of the
  Brazilian presidential elections, which were held in October 2018. The real/U.S. dollar exchange rate reported by the Central Bank was R$4.1638 per
  US$1.00 on September 30, 2019, which reflected a 7.5% depreciation in the real against the U.S. dollar during the first nine months of 2019. There can
  be no assurance that the real will not depreciate or appreciate further against the U.S. dollar. The Central Bank has previously intervened in the foreign
  exchange market to attempt to control instability in foreign exchange rates. We cannot predict whether the Central Bank or the Brazilian government
  will continue to allow the real to float freely or will intervene in the exchange rate market by re-implementing a currency band system or otherwise. The
  real may depreciate or appreciate substantially against the U.S. dollar in the future. Furthermore, Brazilian law provides that, whenever there is a serious
  imbalance in Brazil’s balance of payments or there are serious reasons to foresee a serious imbalance, temporary restrictions may be imposed on
  remittances of foreign capital abroad. We cannot assure you that the Brazilian government will not place restrictions on remittances of foreign capital
  abroad in the future.

         The following table sets forth, for the periods indicated, the high, low, average and period-end exchange rates for the purchase of U.S. dollars
  expressed in Brazilian reais per U.S. dollar. The average rate is calculated by using the average of reported exchange rates by the Central Bank on each
  business day during a monthly period and on the last day of each month during an annual period, as applicable. As of December 6, 2019, the exchange
  rate for the purchase of U.S. dollars as reported by the Central Bank was R$4.1497 per US$1.00.

        Year                                                                                       Period-end      Average(1)      Low(2)       High(3)
        2014                                                                                          2.6556         2.3541        2.1968       2.7397
        2015                                                                                          3.9042         3.3381        2.5748       4.1942
        2016                                                                                          3.2585         3.4827        3.1187       4.1552
        2017                                                                                          3.3074         3.1919        3.0504       3.3756
        2018                                                                                          3.8742         3.6552        3.1380       4.1873

  Source: Central Bank.
  (1) Represents the average of the exchange rates on the closing of each business day during the year.
  (2) Represents the minimum of the exchange rates on the closing of each business day during the year.
  (3) Represents the maximum of the exchange rates on the closing of each business day during the year.

        Month                                                                                      Period-end      Average(1)      Low(2)       High(3)
        May 2019                                                                                      3.9401         4.0009        3.9338       4.1050
        June 2019                                                                                     3.8316         3.8582        3.8228       3.8997
        July 2019                                                                                     3.7643         3.7787        3.7394       3.8558
        August 2019                                                                                   4.1379         4.0194        3.8290       4.1674
        September 2019                                                                                4.1638         4.1209        4.0488       4.1821
        October 2019                                                                                  4.0035         4.0864        3.9786       4.1734
        November 2019                                                                                 4.2234         4.1547        3.9780       4.2596
        December 2019 (through December 9, 2019)                                                      4.1497         4.1930        4.1497       4.2255

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  Source: Central Bank.
  (1) Represents the average of the exchange rates on the closing of each business day during the month.
  (2) Represents the minimum of the exchange rates on the closing of each business day during the month.
  (3) Represents the maximum of the exchange rates on the closing of each business day during the month.

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                                                               MARKET INFORMATION

        Prior to this offering, there has been no public market for our Class A common shares. We cannot assure that an active trading market will develop
  for our Class A common shares, or that our Class A common shares will trade in the public market subsequent to this offering at or above the initial
  public offering price.

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                                                       SELECTED FINANCIAL INFORMATION

        The following tables set forth, for the periods and as of the dates indicated, our summary financial and operating data. This information should be
  read in conjunction with “Presentation of Financial and Other Information,” “Management’s Discussion and Analysis of Financial Condition and
  Results of Operations” and our consolidated financial statements, including the notes thereto, included elsewhere in this prospectus.

        The summary interim statements of financial position as of September 30, 2019 and the interim statements of income for the nine months ended
  September 30, 2019 and 2018 of XP Brazil have been derived from the unaudited interim condensed consolidated financial statements of XP Brazil
  included elsewhere in this prospectus, prepared in accordance with IAS 34. The summary statements of financial position as of December 31, 2018 and
  2017 and the statements of income for the years ended December 31, 2018, 2017 and 2016 have been derived from the audited consolidated financial
  statements of XP Brazil included elsewhere in this prospectus, prepared in accordance with IFRS, as issued by the IASB. The financial information for
  the years ended 2018 and 2016 have been restated from the Company’s initial Form F-1 dated September 13, 2019 and should be read in conjunction
  with annual and consolidated financial statements, included elsewhere else in this prospectus. The results of operations for the nine months ended
  September 30, 2019 are not necessarily indicative of the results of operations that may be expected for the entire year ending December 31, 2019. Share
  and per share data in the table below has been retroactively adjusted to give effect to the Share Split.


  Income Statement Data

                                                                                     For the Nine Months Ended                        For the Year Ended
                                                                                            September 30,                               December 31,
                                                                                    2019        2019        2018          2018         2018         2017    2016
                                                                                  (US$)(1)            (R$)              (US$)(1)                    (R$)
                                                                                                        (in millions, except earnings per share)
  Gross revenue and income(2)                                                         887       3,695       2,259           772       3,216        2,065     1,347
  Sales tax(3)                                                                        (62)       (259)       (186)          (62)       (258)        (158)      (95)
  Total revenue and income                                                            825       3,437       2,073           711       2,958        1,907     1,252
  Operating costs and expenses
  Operating costs                                                                    (269)     (1,119)       (632)         (226)       (941)        (580)     (376)
  Selling expenses                                                                    (20)        (82)        (64)          (23)        (96)         (33)      (24)
  Administrative expenses                                                            (311)     (1,294)       (828)         (283)     (1,177)        (650)     (471)
  Other operating expenses, net                                                        28         118         (19)           (8)        (31)          (8)       (6)
  Interest expense on debt                                                            (15)        (63)        (60)          (17)        (72)         (61)      —
  Income before income tax                                                            239         997         470           154         641          576       374
  Income tax expense                                                                  (71)       (298)       (118)          (42)       (175)        (152)     (130)
  Net income for the period / year                                                    168         699         352           112         465          424       244
  Net income attributable to:
  Owners of the Parent company                                                       166         692          350          111          461         414        189
  Non-controlling interest                                                             2           7            2            1            4          10         55
  Basic and Diluted earnings per common and preferred shares – R$(4)              0.0816      0.3397       0.1796      0.05617       0.2339      0.2134     0.1360
  Pro forma Basic and Diluted earnings per common and preferred shares
     (after giving effect to the Share Split) – R$(5)                             0.3263      1.3588       0.7184        0.2247      0.9356      0.8536     0.5440

  (1)   For convenience purposes only, amounts in reais for the nine months ended September 30, 2019 and for the year ended December 31, 2018 have
        been translated to U.S. dollars using an exchange rate of R$4.1638 to US$1.00, the commercial purchase rate for U.S. dollars as of September 30,
        2019 as reported by the Central

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        Bank. These translations should not be considered representations that any such amounts have been, could have been or could be converted at that
        or any other exchange rate. See “Exchange Rates” for further information about recent fluctuations in exchange rates.
  (2)   The sum of (i) Revenues from services rendered; and (ii) Income from financial instruments, in each case gross of taxes and contributions on
        revenue.
  (3)   The sum of (i) Sales taxes and contributions on revenue; and (ii) Taxes and contributions on financial income.
  (4)   Restated for 2018 and 2016 as set forth in note 3(xx) of our annual consolidated financial statements included elsewhere in this prospectus.
  (5)   The pro forma basic and diluted earnings per share are presented using our historical earnings per share recast using the number of common and
        preferred shares in issue immediately prior to completion of this offering, after giving effect to the Share Split.


  Balance Sheet Data

                                                                                                    For the Nine Months
                                                                                                    Ended September 30,               As of December 31,
                                                                                                     2019         2019          2018         2018        2017
                                                                                                   (US$)(1)       (R$)        (US$)(1)            (R$)
                                                                                                                          (in millions)
  Cash                                                                                                  17           70           16           68         153
  Financial assets                                                                                   9,038       37,632        3,983       16,583       6,104
  Fair value through profit or loss                                                                  5,225       21,757        1,917        7,983       4,339
  Securities                                                                                         3,880       16,158        1,511        6,291       3,780
  Derivative financial instruments                                                                   1,345        5,599          406        1,692         559
  Fair value through other comprehensive income                                                        188          782          167          696         —
  Securities                                                                                           188          782          167          696         —
  Evaluated at amortized cost                                                                        3,625       15,093        1,898        7,904       1,764
  Securities                                                                                           133          556           37          155          —
  Securities purchased under agreements to resell                                                    3,231       13,453        1,578        6,571         935
  Securities trading and intermediation                                                                194          807          216          898         672
  Accounts receivable                                                                                   61          253           53          219         130
  Other financial assets                                                                                 6           25           15           60          28
  Other assets                                                                                         152          631           76          317         123
  Recoverable taxes                                                                                     64          267           44          183          42
  Prepaid expenses                                                                                      23           97           23           97          65
  Right-of-use assets                                                                                   53          221          —            —           —
  Other                                                                                                 11           46            9           37          15
  Deferred tax assets                                                                                   43          181           37          152         226
  Property and equipment                                                                                29          120           24           99          47
  Intangible assets                                                                                    125          521          121          505         483
  Total assets                                                                                       9,404       39,156        4,257       17,724       7,136

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                                                                                                     For the Nine Months
                                                                                                     Ended September 30,               As of December 31,
                                                                                                      2019         2019          2018         2018        2017
                                                                                                    (US$)(1)       (R$)        (US$)(1)            (R$)
                                                                                                                           (in millions)
  Financial liabilities                                                                               8,209       34,181        3,654       15,216       5,606
  Fair value through profit or loss                                                                   1,361        5,667          541        2,251       1,037
  Securities loaned                                                                                      86          360          303        1,260         713
  Derivative financial instruments                                                                    1,275        5,307          238          991         324
  Evaluated at amortized cost                                                                         6,848       28,514        3,114       12,965       4,569
  Securities sold under repurchase agreements                                                         4,712       19,618        1,595        6,641         514
  Securities trading and intermediation                                                               1,730        7,202        1,274        5,307       3,111
  Borrowings and lease liabilities                                                                      155          646          113          470         867
  Debentures                                                                                            201          836           98          407         —
  Accounts payables                                                                                      50          206           32          135          72
  Other financial liabilities                                                                             1            6            2            7           5
  Other liabilities                                                                                     520        2,166           97          404         372
  Social and statutory obligations                                                                       66          276           60          252         295
  Taxes and social security obligations                                                                  35          145           25          103          61
  Private pension liabilities                                                                           413        1,722            4           16         —
  Provisions and contingent liabilities                                                                   4           16            4           17          12
  Other liabilities                                                                                       2            9            4           16           4
  Deferred tax liabilities                                                                                7           27            3           12           7
  Total liabilities                                                                                   8,736       36,374        3,754       15,633       5,984
  Equity attributable to owners of the Parent company                                                   667        2,778          501        2,085       1,144
  Share capital                                                                                         223          928          223          928         255
  Capital reserves                                                                                      129          536          129          536         535
  Revenue reserves                                                                                       99          412           99          412         150
  Carrying value adjustments                                                                             51          211           50          209         203
  Retained Earnings                                                                                     166          692          —            —           —
  Non-controlling interest                                                                                1            4            2            7           8
  Total equity                                                                                          668        2,782          502        2,092       1,152
  Total liabilities and equity                                                                        9,404       39,156        4,257       17,724       7,136

  (1)   For convenience purposes only, amounts in reais for the nine months ended September 30, 2019 and for the year ended December 31, 2018 have
        been translated to U.S. dollars using an exchange rate of R$4.1638 to US$1.00, the commercial purchase rate for U.S. dollars as of September 30,
        2019 as reported by the Central Bank. These translations should not be considered representations that any such amounts have been, could have
        been or could be converted at that or any other exchange rate. See “Exchange Rates” for further information about recent fluctuations in exchange
        rates.

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              MANAGEMENT’S DISCUSSION AND ANALYSIS OF FINANCIAL CONDITION AND RESULTS OF OPERATIONS

        The following discussion of our financial condition and results of operations should be read in conjunction with our unaudited interim condensed
  consolidated financial statements as of September 30, 2019 and for the nine months ended September 30, 2019 and 2018, and our audited consolidated
  financial statements as of December 31, 2018 and 2017 and for the years ended December 31, 2018, 2017 and 2016 and the notes thereto, included
  elsewhere in this prospectus, as well as the information presented under “Presentation of Financial and Other Information,” “Summary Financial
  Information” and “Selected Financial Information.”

         The following discussion contains forward-looking statements that involve risks and uncertainties. Our actual results and the timing of events may
  differ materially from those expressed or implied in such forward-looking statements as a result of various factors, including those set forth in
  “Cautionary Statement Regarding Forward-Looking Statements” and “Risk Factors.”


  Overview
         XP is a leading, technology-driven financial services platform and a trusted provider of low-fee financial products and services in Brazil. We have
  developed a mission-driven culture and a revolutionary business model that we believe provide us with strong competitive advantages in our market. We
  use these to disintermediate the legacy models of traditional financial institutions by educating new classes of investors, democratizing access to a wider
  range of financial services, developing new financial products and technology applications to empower our clients, and providing what we believe is the
  highest-quality customer service experience in the industry in Brazil. We believe we have established ourselves as the leading alternative to the
  traditional banks, with a large ecosystem of retail investors, institutions, and corporate issuers in local and international markets, with offices in Brazil,
  New York, Miami, London and Geneva.

         Our revolutionary XP Model has been developed over the course of our evolution and enables us to go to market in a very different way from the
  legacy models of the large traditional financial institutions. We believe our model provides us with a unique value proposition for our clients and
  partners and has enabled us to instill trust in the XP brand and begin to change the way investment services are sold in Brazil. This proprietary approach
  incorporates a unique combination of capabilities, services and technologies to deliver a highly differentiated and integrated client experience, with
  significant operating efficiency advantages that have enabled us to scale and grow profitably.

         Our technology-driven business model is asset-light and highly scalable. This enables us to generate scale efficiencies from increases in total
  AUC. We conduct most of our business online and through mobile applications and emphasize operational efficiency and profitability throughout our
  operations. These operating efficiencies enable us to generate strong cash flow in various market conditions, allowing us to continue investing in the
  growth of our business. Our business requires minimal capital expenditures to facilitate growth, with expenditures amounting to 4.6% of net revenues
  for the year ended December 31, 2018 and to 2.4% of net revenues for the nine months ended September 30, 2019.

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        Key Business Metrics
         The following table sets forth our key business metrics as of and for the periods indicated. These supplemental business metrics are presented to
  assist investors to better understand our business and how it operates.

                                                                                   As of and for the Nine Months               As of and for the Year
                                                                                       Ended September 30,                     Ended December 31,
                                                                                    2019                   2018         2018           2017             2016
  Client Activity Metrics (unaudited)
  Retail – AUC (in R$ billions)                                                         350                  181         202             126              65
  Retail – active clients (in thousands)                                              1,536                  763         892             539             339
  Retail – gross total revenues (in R$ millions)                                      2,516                1,686       2,351           1,485             934
  Institutional – gross total revenues (in R$ millions)                                 497                  341         484             345             261
  Issuer Services – gross total revenues (in R$ millions)                               286                  104         178             106              55
  Digital Content – gross total revenues (in R$ millions)                                83                   32          54              29              18
  Other – gross total revenues (in R$ millions)                                         315                   97         150              99              79
  Company Financial Metrics
  Gross revenue and income (in R$ millions)                                           3,695                2,259       3,216           2,065            1,347
  Total revenue and income (in R$ millions)                                           3,437                2,073       2,958           1,907            1,252
  Gross Margin (%)(1)                                                                  67.4%                69.5%       68.2%           69.6%            70.0%
  Adjusted EBITDA (in R$ millions)(2)                                                 1,015                  491         662             565              326
  Adjusted Net Income (in R$ millions)(2)                                               657                  376         491             428              244
  Adjusted Net Margin (%)(3)                                                           19.1%                18.1%       16.6%           22.4%            19.5%

  (1)     Calculated as total revenue and income less operating costs, divided by total revenue and income.
  (2)     For a reconciliation of our Adjusted EBITDA and Adjusted Net Income, see “Summary Financial Information—Non-GAAP Financial Measures.”
  (3)     Calculated as Adjusted Net Income divided by total revenue and income.

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        The following table sets forth additional business metrics as of and for the periods indicated, related to Retail AUM. These supplemental business
  metrics are presented to assist investors to better understand our business and how it operates.

                                                                                             As of and for the                    As of and for the
                                                                                            Nine Months Ended                       Year Ended
                                                                                              September 30,                        December 31,
                                                                                           2019             2018         2018            2017         2016
  Retail – AUM (in R$ billions)                                                             36.7           23.1          25.7            14.4          5.6
      Mutual and Hedge Funds                                                                20.3           13.2          14.8             7.7          3.7
            Hedge Funds (Fundo de Investimento Multimercado)                                 9.8            6.9           7.8             4.4          1.9
            Equity Funds (Fundo de Investimento em Ações)                                    2.5            1.8           2.1             1.1          0.5
            Fixed Income Funds (Fundo de Investimento Renda Fixa)                            7.9            4.5           4.9             2.1          1.3
            Other Funds                                                                      0.1            0.0           0.0             —            —
      Exclusive Funds                                                                        7.4            4.9           5.5             3.5          0.8
      Pension Funds                                                                          3.9            1.4           1.4             1.0          —
      Investment Clubs                                                                       1.0            0.5           0.6             0.4          0.3
      Managed Portfolios                                                                     4.1            3.1           3.3             1.8          0.7
      Total Retail – AUM as a % of Retail AUC (%)                                           10.5%          12.7%         12.7%           11.4%         8.6%

  Retail – AUM Weighted Average Management Fee (% p.a.)                                       0.9%          1.0%         0.9%           1.0%          1.1%
      Mutual and Hedge Funds                                                                  1.1%          1.3%         1.3%           1.4%          1.3%
            Hedge Funds (Fundo de Investimento Multimercado)                                  1.4%          1.6%         1.6%           1.6%          1.7%
            Equity Funds (Fundo de Investimento em Ações)                                     2.0%          2.1%         2.1%           2.2%          2.2%
            Fixed Income Funds (Fundo de Investimento Renda Fixa)                             0.5%          0.5%         0.5%           0.5%          0.5%
            Other Funds                                                                       0.8%          0.8%         0.8%           n.a.          n.a.
      Exclusive funds                                                                         0.3%          0.3%         0.3%           0.3%          0.4%
      Pension Funds                                                                           1.1%          1.2%         1.2%           1.1%          n.a.
      Investment Clubs                                                                        1.1%          1.0%         1.0%           1.0%          0.9%
      Managed Portfolios                                                                      0.5%          0.5%         0.5%           0.6%          0.6%

  Total management fees, gross of taxes (in R$ millions)(1)                                   592            353           528            222          96
      From funds and portfolios managed by our asset managers                                 303            205           302            138          69
          % of total management fees                                                           51%            58%           57%            62%         72%
      From third party funds (distribution fees)                                              288            147           226             84          26
          % of total management fees                                                           49%            42%           43%            38%         28%

  (1)   Consist of (i) fixed and performance-based management fees from mutual funds managed by our asset managers and sold to our retail clients;
        (ii) fees from distributions (rebates from fixed and performance-based management fees) of funds managed by third-party asset managers to our
        retail clients; and (iii) fixed management fees from XP Advisory managed portfolios and exclusive funds for high net worth retail clients.


        Retail – Assets Under Custody (“AUC”)
        Retail AUC is the market value of all retail client assets invested through XP’s platform, including equities, fixed income securities, mutual funds
  (including those managed by XP Gestão, XP Advisory and XP Vista, as well as by third-party asset managers), pension funds (including those from XP
  VP, as well as by third-party

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  insurance companies), exchanged traded funds, COEs (Structured Notes), REITs (real estate investment funds), uninvested cash balances (Floating
  Balances), among others. We consider AUC to be indicative of our appeal in the marketplace. AUC varies from period to period based on (1) the
  amount of cash and assets transferred into, and out of, XP’s platform by clients and (2) fluctuation of market prices of securities and net asset values of
  mutual and pension funds.


        Retail – Assets Under Management (“AUM”)
          Retail AUM is a component of Retail AUC, and represents the market value of (i) retail client assets invested in mutual, hedge and pension funds
  managed by XP Gestão or XP Vista, (ii) high net worth retail clients allocated in managed portfolios and exclusive funds managed by XP Advisory, and
  (iii) investment clubs. AUM varies from period to period based on (1) the amount of cash and assets transferred into, and out of, these assets; and (2)
  fluctuation of net asset values of funds and market prices of securities within portfolios.


        Retail – Active Clients
        Active clients are the number of total clients served through XP, Rico, Clear, XP Investments and Sartus/XP Private (Europe) brands, with an
  AUC above R$100.00 or that have transacted at least once in the last thirty days. The majority of clients are individuals, but we also include in retail,
  small and medium-sized enterprise clients and corporate clients that have investment accounts with us.


        Retail – Gross Total Revenues
         Retail gross total revenues include all types of revenue and income streams directly related to retail clients, including, but not limited to,
  (1) management and performance fees from funds managed by our asset managers, and rebates from management and performance fees from mutual
  funds managed by third-party asset managers, that are distributed to our retail clients; (2) rebates from management fees from pension funds issued by
  third-party insurance companies or XP VP that are distributed to our retail clients; (3) management fees from exclusive funds of high net worth retail
  clients; (4) brokerage commissions earned on trading of stock, futures and derivatives listed on the B3 (although we charge zero commissions on self-
  directed trading of equities on Clear and of futures on the three brands); (5) securities placement fees earned on COE sales to retail clients; (6) the
  distribution fee component from securities placement fees earned on the sale of fixed income and equity securities to retail clients; (7) net income from
  corporate, bank and government fixed income securities sold to retail clients; and (8) net income earned on Floating Balances, which allocate to
  overnight and other highly liquid investments. A portion of our management fees are calculated based on the performance of the mutual funds we
  manage or distribute.


        Institutional – Gross Total Revenues
         Institutional gross total revenues include all types of revenue and income streams directly related to Institutional clients – asset managers, pension
  fund managers, bank treasuries and private client desks, single and multi-family offices, corporate client treasuries, municipal and state pension fund
  managers, insurance companies, among others. These clients, across all regions such as Asia, Europe, the United States, and Latin America (principally
  Brazil), are served through our onshore and offshore trading desks and dedicated support teams in São Paulo, New York and London, both via electronic
  trading and voice platforms, and access a wide range of products and services, including products such as equities (cash, derivatives, stocks lending and
  index), fixed income government and corporate bonds, FX (spot, NDF, futures, derivatives), rates (futures, swap and derivatives), commodities, XP
  Gestão and XP Vista mutual funds, among others. Therefore, we include in this line (1) brokerage commissions on trades by Institutional clients; (2) the
  distribution fee component out of securities placement fees earned on the sale of fixed income and equity securities to Institutional clients;
  (3) management fees from funds managed by our asset managers and XP Vista and sold to Institutional clients; and (4) net income from corporate, bank
  and government fixed income securities sold to Institutional clients, among others. A portion of our management fees are calculated based on the
  performance of the mutual funds we manage or distribute.

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        Issuer Services – Gross Total Revenues
        Issuer Services gross total revenues primarily include capital markets security placement fees earned from corporate clients that hire XP for
  structuring, underwriting or placement of debt (such as Debentures, Infrastructure Bonds, CRIs, CRAs, FIDCs, LFs) or equity securities (IPOs,
  follow-ons, block trades and tender offers), the majority of which are sold to our retail clients given the breadth and reach of out platform. In addition,
  we also provide complimentary Issuer Services such as M&A advisory and structured finance operations.


        Digital Content – Gross Total Revenues
        Digital Content gross total revenues primarily include revenues from (1) selling XP Educação educational courses and content to retail clients and
  to non-client individuals, and (2) selling branded content articles, direct media advertisements on websites or mobile sites, Infomoney TV insertions, and
  other advertising and digital content fees generated by Infomoney.


        Other – Gross Total Revenues
         We include in Other gross revenues and income not allocated to Retail, Institutional, Issuer Services and Digital Content solution categories, such
  as principal trading operations, which consists of investing our own net cash balances, which we refer to as our Adjusted Gross Financial Assets, in low
  risk securities, arbitrage transactions and other investments with limited exposure to market risk.


     Review of Results for the Nine Months Ended September 30, 2019
         •     Retail – Our number of active clients increased by approximately 101% from 763 thousand as of September 30, 2018 to 1,536 thousand as
               of September 30, 2019, primarily through the growth of our XP Direct, Rico and Clear channels. Driven by the combined net inflow
               growth from both new and existing clients, our AUC increased by 93% from R$181 billion as of September 30, 2018 to R$350 billion as
               of September 30, 2019. Our AUC from third party funds increased by 94%, from R$49.5 billion (27.4% of our Retail AUC) as of
               September 30, 2018 to R$96.0 billion as of September 30, 2019 (27.4% of our Retail AUC), driven by the increase in the number of funds
               offered in the platform and net inflows towards this asset class. Our AUM increased by 59%, from R$23.1 billion (12.7% of our Retail
               AUC) as of September 30, 2018 to R$36.7 billion as of September 30, 2019 (10.5% of our Retail AUC), driven by the expansion of the
               funds’ asset class in the platform and the good overall performance of XP Gestão, XP Vista and XP Advisory funds within their specific
               fund categories, and their increasing acknowledgement by the market and our client base. Retail Gross Total Revenues increased by 49%
               from R$1,686 million for the nine months ended September 30, 2018 to R$2,516 million for the nine months ended September 30, 2019,
               driven by the increase in AUC and by a slight decrease in retail revenues divided by average retail AUC, or Revenue Yield, from 1.5% per
               annum for the nine months ended September 30, 2018 to 1.2% per annum for the nine months ended September 30, 2019. The decrease in
               Revenue Yield was mainly due to changes in the revenue mix per asset class, as we have experienced (1) modest revenue from COE;
               (2) average revenue growth from equities and futures; and (3) robust growth in equities custody without a corresponding growth in equity
               brokerage commissions, that slightly diluted the revenue yield from this asset class. The weighted average management fee of our AUM
               decreased from 1.0% as of September 30, 2018 to 0.9% as of September 30, 2019, driven mainly by (1) the change in mix, given (i) below
               average growth of 43% in hedge funds and 41% in equity mutual funds, which are classes with higher fees (1.4% and 2.0%, respectively)
               than average (0.9%), and (ii) above average growth of 77% in fixed income mutual funds, which is a class with lower fees (0.5%) than
               average (0.9%); and (2) decreases in the average fee in hedge funds, from 1.6% to 1.4%. The weighted average management fee of the
               third-party funds that we distribute through our platform (of which we typically

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              receive a portion as distribution fees) was 1.2% as of September 30, 2018 and remained stable at 1.2% as of September 30, 2019 with
              offsetting effects coming from (1) an increase in the average management fees in equity funds from 1.8% to 1.9%, and from (2) a change
              in mix, with equity funds and pension funds growing faster than fixed income funds and hedge funds.
        •     Institutional – gross revenues totaled R$497 million for the nine months ended September 30, 2019, a 45% increase from R$341 million
              for the nine months ended September 30, 2018. This increase was primarily attributable to (1) the increase in trading volume of our
              Brazilian trading desks, mainly due to the improvement in the macroeconomic environment in Brazil, including a significant increase in
              the average daily traded volume in equities on the B3; (2) increase in securities placements, including IPOs in equity markets and the
              private placement of bonds; (3) the decrease in interest rates, which benefited our trading desks that trade in futures; (4) the expansion of
              our recently established offshore trading desks, which has benefited from an increasing number of local asset management firms executing
              trades offshore and vice-versa; and (5) the appreciation of the U.S. dollar against the real, impacting positively the translation of revenues
              recognized in U.S. dollars.
        •     Issuer Services – gross revenues totaled R$286 million for the nine months ended September 30, 2019, a 176% increase from
              R$104 million for the nine months ended September 30, 2018. This increase was primarily attributable to the increase in mandates where
              we acted as placement agents or underwriters for third-party transactions in the domestic and international capital markets, from 65
              transactions for the nine months ended September 30, 2018 to 119 transactions for the nine months ended September 30, 2019.
        •     Digital Content – gross revenues totaled R$83 million, a 158% increase from R$32 million for the nine months ended September 30, 2018.
              This increase was primarily attributable to the increase in the sales of our online educational products through our XP Educação portal, not
              only in the individual courses category but also in the adult enrichment category, with the launch of three new flagship courses.
        •     As a result, our total revenue and income increased 66% from R$2,073 million for the nine months ended September 30, 2018 to
              R$3,437 million for the nine months ended September 30, 2019. Gross margin contracted slightly from 69% to 67%, due to differences in
              revenue mix (with asset classes with higher commission payouts growing faster) and to increases in costs related to incentives paid to our
              IFA network to accelerate expansion. The nine months ended September 30, 2019 were also marked by an increase in investments in our
              brand and client acquisition, in technology solutions and infrastructure and in expanding our employee base. As a result, selling expenses
              increased 27% to R$82 million for the nine months ended September 30, 2019 and administrative expenses increased 56% to
              R$1,295 million for the same period. As expenses grew less than total revenue and income, a part of the impact in the gross margin
              compression was compensated, resulting in a 99% net income growth, from R$352 million for the nine months ended September 30, 2018
              to R$699 million for the nine months ended September 30, 2019, and a net margin expansion from 17% to 20%, respectively.


    Review of 2018 Results
        •     Retail – Our number of active clients increased by approximately 66% from 539 thousand as of December 31, 2017 to 892 thousand as of
              December 31, 2018, primarily through the growth of our XP Direct, Rico and Clear channels. Driven by the combined net inflow growth
              from both new and existing clients, our AUC increased by 60% from R$126 billion as of December 31, 2017 to R$202 billion as of
              December 31, 2018. Our AUC from third party funds increased by 107%, from R$27.9 billion (22.1% of our Retail AUC) as of
              December 31, 2017 to R$57.7 billion as of December 31, 2018 (28.6% of our Retail AUC), driven by the increase in the number of funds
              offered in the platform and net inflows towards this asset class. Our AUM increased by 78%, from R$14.4 billion as of December 31, 2017
              (11.4% of our Retail AUC) to R$25.7 billion as of December 31, 2018 (12.7% of our Retail AUC), driven by the expansion of the funds’
              asset class in the platform and the good overall performance of XP Gestão, XP Vista and XP Advisory funds within their

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              specific fund categories. Retail Gross Total Revenues increased by 58% from R$1,485 million in 2017 to R$2,351 million in 2018, driven
              by the increase in AUC and by a slight decrease in retail revenues divided by average retail AUC, or Revenue Yield, from 1.5% per annum
              in 2017 to 1.4% per annum in 2018. The decrease in Revenue Yield was mainly due to changes in the revenue mix per asset class, as we
              have experienced (1) robust revenue growth from mutual funds; (2) average revenue growth from equities, futures and COE; (3) modest
              revenue growth from floating revenues which were impacted by interest rate decreases; and (4) flat revenues from fixed income securities
              year-over-year. Certain asset classes have lower Revenue Yield than other asset classes, such as mutual funds. For example, if mutual
              funds grow more than other assets classes, our total Revenue Yield decreases, and if mutual funds grow less than other asset classes, our
              total Revenue Yield increases. The weighted average management fee of our AUM decreased from 1.0% as of December 31, 2017 to 0.9%
              as of December 31, 2018, driven mainly by a mix more concentrated in fixed income funds, that grew 135% in the period and increased
              from 15% to 19% of Retail AUM, and have lower than average fees at 0.5% per annum. The weighted average management fee of the
              third-party funds that we distribute through our platform (of which we typically receive a portion as distribution fees) was 1.2% as of
              December 31, 2017 and remained stable at 1.2% as of December 31, 2018, with offsetting effects coming from (1) an increase in the
              average management fees in hedge funds from 1.5% to 1.6%, and from (2) a change in mix, with pension, fixed income and equity funds
              growing faster than hedge funds.
        •     Institutional – gross revenues totaled R$484 million in 2018, a 40% increase from R$345 million in 2017. This increase was primarily
              attributable to (1) the increase in trading volume of our Brazilian trading desks, mainly due to the positive market reaction to the outcome
              of the 2018 presidential elections; (2) market share gains as result of continuous improvement of value added complementary services such
              as political, equity and macroeconomic sell-side research and corporate access; and (3) the expansion of our recently established offshore
              trading desks.
        •     Issuer Services – gross revenues totaled R$178 million in 2018, a 68% increase from R$106 million in 2017. This increase was primarily
              attributable to the increase in mandates where we acted as placement agents or underwriters for third-party transactions in the domestic and
              international capital markets, from 76 transactions in 2017 to 94 transactions in 2018.
        •     Digital Content – gross revenues totaled R$54 million, an 86% increase from R$29 million in 2017. This increase was primarily
              attributable to the increase in the sales of our online educational products through our XP Educação portal.
        •     As a result, our total revenue and income increased 55% from R$1,907 million in 2017 to R$2,958 million in 2018. Gross margin
              contracted slightly from 70% to 68%, due to differences in revenue mix (with asset classes with higher commission payouts growing
              faster) and to increases in costs related to incentives paid to our IFA network to accelerate expansion. 2018 was also marked by a
              disproportional increase in investments in our brand and client acquisition, in technology solutions and infrastructure and in expanding our
              employee base and office spaces. As a result, selling expenses grew 192% to R$96 million in 2018 and administrative expenses grew 81%
              to R$1,177 million in 2018, offsetting the majority of the positive impact from the 55% growth in revenues and resulting in a 10% net
              income growth, from R$424 million in 2017 to R$465 million in 2018 and a net margin contraction from 22.2% in 2017 to 15.7% in 2018.
              We expect to recover part of this margin contraction in the short term as part of the investments made return through new products, new
              services and improved technology platforms that lead to greater efficiency and scalability, higher operational leverage and lower operating
              costs.

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    Review of 2017 Results
        •     Retail – Our number of active clients increased by approximately 59% from 339 thousand as of December 31, 2016 to 539 thousand as of
              December 31, 2017, primarily through the growth of our XP Direct, Rico and Clear channels. Driven by the combined effect of the net
              inflow from both new and existing clients, our AUC increased by 93% from R$65 billion in 2016 to R$126 billion in 2017. Our AUC from
              third party funds increased by 256%, from R$7.8 billion (12.0% of our Retail AUC) as of December 31, 2016 to R$27.9 billion as of
              December, 2017 (22.1% of our Retail AUC), driven by the increase in the number of funds offered in the platform and net inflows towards
              this asset class. Our AUM increased by 156%, from R$5.6 billion as of December 31, 2016 (8.6% of our Retail AUC) to R$14.4 billion as
              of December 31, 2017 (11.4% of our Retail AUC), driven by the expansion of the funds’ asset class in the platform, the good overall
              performance of XP Gestão, XP Vista and XP Advisory funds within their specific fund categories and the strong growth in flagship funds
              launched more recently, such as XP Crédito Estruturado FIC FIM. Retail Gross Total Revenues increased by 60% from R$934 million in
              2016 to R$1,494 million in 2017, driven by the increase in AUC and by a decrease in Revenue Yield, from 2.0% per annum in 2016 to
              1.5% per annum in 2017. The decrease in Revenue Yield was mainly due to the decrease in average interest rates (which decreased from
              14.1% to 10.1% and impacted the yield of our floating revenues and, to a smaller extent, the yield of our fixed income revenues) and to
              changes in the revenue mix per asset class, due to (1) robust revenue growth from mutual funds and COE; (2) average revenue growth
              from equities, futures, and floating revenues; and (3) modest revenue growth from fixed income securities year-over-year. The weighted
              average management fee of our AUM decreased from 1.1% as of December 31, 2016 to 1.0% as of December 31, 2017, driven mainly by
              exclusive funds, which saw a decrease in its average fees from 0.4% to 0.3% per annum, in addition to having grown 316% in the period,
              increasing from 15% to 24% of Retail AUM, and therefore tilting the AUM mix towards a class with lower than average fees, bringing the
              weighted average fee down. The weighted average management fee of the third-party funds that we distribute through our platform (of
              which we typically receive a portion as distribution fees) increased from 1.0% as of December 31, 2016 to 1.2% as of December 31, 2017,
              driven mostly by (1) an increase in the average management fee in pension funds from 1.3% to 1.5%, and (2) a change in mix towards
              classes with higher than average management fees, with hedge funds (average fee at 1.5%) growing faster than fixed income funds
              (average fee at 0.5%).
        •     Institutional – gross revenues totaled R$345 million in 2017, a 32% increase from R$261 million in 2016. This increase was primarily
              attributable to (1) increase in market share on several institutional trading desks; and (2) an overall increase on trading volume in B3,
              primarily due to the commencement of the reform agenda driven by former President Michel Temer in late 2016 and early 2017.
        •     Issuer Services – gross revenues totaled R$106 million in 2017, a 92% increase from R$55 million in 2017. This increase was primarily
              attributable to the increase in number of mandates where we acted as placement agents or underwriters for third-party transactions in the
              domestic and international capital markets, from 30 transactions in 2016 to 76 transactions in 2017.
        •     Digital Content – gross revenues totaled R$29 million, a 65% increase from R$18 million in 2016. This increase was primarily attributable
              to the increase in the sales of our online educational products through our XP Educação portal as well as content and media revenues from
              our Infomoney portal.
        •     As a result, our total revenue and income increased 52% from R$1,252 million in 2017 to R$1,907 million in 2017. Gross margin
              experienced a slight contraction from 70% to 69%, due to differences in revenue mix (with asset classes with higher commission payouts
              growing faster) and increased growth incentives to IFAs. 2017 was also marked by operating leverage gains on selling expenses and
              administrative expenses and an increase in investments in technology infrastructure and development. As a result, selling expenses
              increased 34% to R$33 million in 2017 and administrative expenses increased 38% to R$580 million in 2017, thus leveraging the positive
              impact from the 52% growth in revenues and resulting in a 74% net income growth, from R$244 million in 2016 to R$424 million in 2017
              and a net margin expansion from 19.5% in 2016 to 22.2% in 2017.

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     Our Cohorts and Client Economics
         We believe that our strong value proposition and client-centric approach will continue to enhance our client loyalty and enable us to grow our
  share of wallet from our current customer base. We believe a simple cohort data analysis demonstrates this trend in our business and the significant
  opportunity in the future. For example, we measured the net new money invested with us over time across four cohorts, which were defined as new
  clients that became active on our platform in January 2016, January 2017, January 2018 and January 2019. We then eliminated the appreciation in the
  value of the invested assets so that we could calculate the accumulated net inflow of new money by each cohort.

         We found that each cohort progressively began with a larger initial investment of AUC as our company was growing, our ecosystem was
  expanding, and our brand was getting stronger. For example, our January 2019 cohort began with an initial investment that was nearly 7x the size of our
  January 2016 cohort. However, more importantly, we found that each cohort demonstrated significant growth in their total AUC invested with XP over
  time, after adjusting out the net appreciation of assets in each cohort. This demonstrates that after making their initial investments, each cohort of clients
  was content enough with their XP client experience that they chose to continue adding new money into their XP accounts. We believe this illustrates our
  significant opportunity to continue to penetrate our existing customer base and win a greater share of wallet. For example, as shown in the following
  chart:




         •     January 2016 Cohort – This cohort began with an initial AUC investment of R$511 million and, after adjusting out the net appreciation of
               assets, the net balance of invested AUC increased 44% after 6 months, 76% after 12 months, 97% after 18 months, 109% after 24 months,
               and 109% after 30 months;
         •     January 2017 Cohort – This cohort began with an initial AUC investment of R$1,678 million, up 228% over the January 2016 cohort.
               After adjusting out the net appreciation of assets, the net balance of invested AUC in this cohort increased 51% after 6 months, 78% after
               12 months, and 101% after 18 months, 112% after 24 months, and 128% after 30 months;
         •     January 2018 Cohort – This cohort began with an initial AUC investment of R$2,135 million, up 27% over the January 2017 cohort.
               After adjusting out the net appreciation of assets, the net balance of invested AUC in this cohort increased 57% after 6 months, 75% after
               12 months, and 92% after 18 months; and

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         •     January 2019 Cohort – This cohort began with an initial AUC investment of R$3,514 million, up 65% over the January 2018 cohort.
               After adjusting out the net appreciation of assets, the net balance of invested AUC in this cohort increased 57% after 6 months.

        As our clients add new money onto our platform and become more comfortable using our technologies and services, they may also purchase more
  products within their existing financial product categories or begin to explore new categories. For example, a customer with a portfolio of equity
  securities may purchase additional equities and equity products, such as futures, and also diversify into fixed income products.

        We believe a simple cohort data analysis demonstrates this trend in our business and the significant opportunity in the future. For example, we
  measured the average number of product categories per client invested with us (with declared net worth above R$50k) over time across four cohorts,
  which were defined as new clients that became active on our platform in January 2016, January 2017, January 2018 and January 2019. Product
  categories include equities and futures, fixed income securities, pension funds, XP Asset Management funds, third party mutual funds, structured notes
  and REITs, and the clients with a declared net worth above R$50k represent over 80% of our total AUC in the abovementioned periods.

         We found that each cohort progressively began with a higher number of investment product categories as new products and services were added to
  the platform. For example, our January 2019 cohort began with an average number of product categories that was over 10% higher than our January
  2016 cohort. Furthermore, more importantly, we found that each cohort demonstrated significant growth in the average number of product categories
  invested with XP over time. This demonstrates that after making their initial investments, each cohort of clients was content enough with their XP client
  experience that they chose to continue investing in new product categories. We believe this illustrates our significant opportunity to continue to penetrate
  our existing customer base with an increasing cross-sell of complementary and adjacent products and services. For example, as shown in the following
  chart:


                                                  Average Number of Product Categories per Client (#)




         •     January 2016 Cohort – This cohort began with an initial 1.7 average number of product categories invested. This number increased 34%
               after 6 months, 38% after 12 months, 48% after 18 months, 53% after 24 months, 61% after 30 months, and 65% after 36 months;

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         •     January 2017 Cohort – This cohort began with an initial 1.8 average number of product categories invested. This number increased 30%
               after 6 months, 40% after 12 months, 49% after 18 months, 51% after 24 months, and 55% after 30 months;
         •     January 2018 Cohort – This cohort began with an initial 1.9 average number of product categories invested. This number increased 31%
               after 6 months, 38% after 12 months and 44% after 18 months; and
         •     January 2019 Cohort – This cohort began with an initial 1.9 average number of product categories invested. This number increased 32%
               after 6 months.

         Given our increasing amount of AUC from existing clients, illustrated by our net inflow cohort analysis, and our increasing cross-sell of
  complementary and adjacent products and services, illustrated by the average number of products per customer cohort analysis, and the relatively high
  switching costs in the financial services market, we believe the LTV of our customers is increasing. Our business model also has relatively low customer
  acquisition costs, or CAC, per client, due to our primarily digital business model, our self-reinforcing ecosystem, and our highly efficient omni-channel
  distribution network. We believe our marginal CAC will continue to benefit from scale efficiencies.


  Significant Factors Affecting Our Results of Operations
        We believe that our results of operations and financial performance are driven by the following factors:


     Growth of our Retail AUC
         We generate a significant portion of our revenues from fees derived from our balance of Retail AUC, including advisory fees, commissions,
  distribution fees from product manufacturers and asset management fees across various solution categories. This income is primarily driven by:
         •     Current Balance of Retail AUC from Existing Clients – We provide our existing clients with a large range of financial products and
               services in which to invest their existing AUC already on our platform. Depending on the mix of products and services that our clients
               choose, we generate numerous forms of income from our current balance of AUC. As our clients choose to diversify their portfolios and
               shift their investments from one product to another, we can generate new income from our current balance of AUC.
         •     New AUC from Existing Clients – As our clients enjoy the XP client experience, many choose to add more money into their accounts. They
               may use these additional funds to acquire (1) a greater amount of their existing products and services or (2) diversify their portfolios by
               purchasing additional products and services in new categories. For example, a customer with a portfolio of equity securities may purchase
               additional equity products and diversify into fixed income products. As our clients add more money to their accounts, we generate
               additional income from the new balance of AUC introduced onto our platform.
         •     New AUC from New Clients – As our omni-channel distribution and brands continue to grow, we attract and on-board new clients onto our
               platform who fund their accounts with new money. We generate additional income from the new balance of AUC introduced by these new
               clients.

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         Given the size and economies of scale of our platform and the recurring nature of our revenues due to our business model, we generate a
  significant amount of our revenues from our current balance of AUC and new AUC from existing clients, as shown in the following chart.


                                                % of Retail Revenue From New Clients vs Existing Clients




       The breakdown set forth in the chart above considers only the portion of retail revenues that we track on a client level that represents: (1) for 2016,
  73% of total retail revenues; (2) for 2017, 78% of total retail revenues; (3) for 2018, 82% of total retail revenues; (4) for the nine months ended
  September 30, 2019, 86% of total retail revenues.


     Adoption of our Retail Financial Products and Services
        We grow our Retail AUC, in part, by providing an open platform that has a large and expanding base of retail financial products and services for
  our existing active clients to choose from. As our clients choose to diversify their portfolios and shift their investments from one product to another, we
  generate new income from their purchase of additional products and services. We drive the adoption of our retail financial products and services by:
         •     Cross-Sale of Our Products and Services – Our existing clients represent a sizable opportunity to cross-sell products and services with
               relatively low incremental marketing and advertising expenses for us. We believe the breadth of our offerings represents an opportunity to
               further increase engagement with our existing clients. To the extent that we are able to cross-sell these products and services and develop
               and introduce new products and services to our existing clients and attract new clients, we expect our revenues and financial income to
               continue to grow and our margins to increase.
         •     Development of New Products and Services – We strive to stay on the cutting edge of the financial technology solutions industry by
               developing and launching new products and services and intend to continue to invest in product development to build new products and
               services and to bring them to market. This allows us to continue to meet the needs of our clients, as these needs grow and change over
               time. We develop our products and services from: (1) our internal new product structuring initiatives; (2) our internal development of new
               services; (3) third-party vendors who provide complementary financial products and services that we do not provide ourselves; and
               (4) third-party vendors who provide competitive financial products and services that are similar to those that we offer or are in similar
               categories.

        We plan to continue to invest in product development in order to maintain and increase the attractiveness of our products and services. We also
  plan to continue integrating value-added services, including the expansion of our asset management and wealth management services to improve the
  popularity of our platform, enhance customer stickiness and increase revenue streams. While we expect our total expenses to increase in the short

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  term as we plan for growth, we expect our expenses to decline as a percentage of our total revenue and income over the medium term as these
  investments benefit our business and our business grows. In addition, in implementing new solutions, we expect to incur initial operational investments
  in periods prior to the realization of any future revenues associated with this upfront investment. With the deployment of new and better technologies,
  management processes and training, we expect the productivity of our solutions to improve over time.


     Growth of our Active Retail Clients
         We grow our Retail AUC, in part, by increasing the number of active clients who invest on our platform. We attract new active clients through our
  digital content initiatives, our direct online portals, such as XP Direct, Rico and Clear, and our IFA network.

        The number of these clients depends on several factors, including but not limited to: (1) our brand awareness and reputation; (2) the usability and
  popularity of our platform; (3) the user experience across the client’s journey in our ecosystem and on our platform; (4) our offerings, including access
  to our broad range of existing products and services and potential new solutions that add value to our clients; (5) the level of customer service and
  support; and (6) our ability to continue to adapt and innovate.

         Our ability to increase our Retail AUC from new clients who invest with us is an important lever of revenue growth, though it is decreasing in
  contribution due to the size and economies of scale of our platform and the recurring nature of our revenues due to our business model. New active
  clients accounted for 14% of our retail total gross revenues the nine months ended September 30, 2019, compared to 18% in 2018, 22% in 2017 and
  27% in 2016.


     Growth of our Commercial and Digital Content Services
        We also generate a smaller portion of our revenues from our Issuer, Institutional and Digital Content services, which are complementary to our
  platform and enhance the value and liquidity (through the volume of unlisted securities traded through our platform in the secondary market) of our
  ecosystem. These include:
         •     Issuer and Institutional Services – We provide a range of financial services to over 400 commercial clients, such as institutions and
               corporate issuers, that generate several revenue streams, including advisory, structuring and distribution fees from issuers and commissions
               and asset management fees from institutions. These revenues are based on the volume of investment and capital markets activity accessed
               through or transacted on our platform. We have developed tailored solutions for commercial customers and intend to (1) expand our
               service offerings to them; (2) foster long-term partnerships with them; and (3) increase the proportion of revenues generated from them.
         •     Digital Content Services – We provide a range of digital content services to our ecosystem designed to promote financial awareness,
               increase the frequency of use of our products and services by our existing customers, and attract new customers. We generate income from
               our online financial education courses made available by our XP Educação service and from advertising fees generated by our Infomoney
               financial news portal.

        As we increase our offerings of these products and services, we expect to attract more clients and in turn generate more revenues. We expect our
  operating cost and expenses to continue to increase as we provide more innovative and effective commercial and digital content products and services.


     Management and Improvement of Our Technology Platform
        Our technology platform is critical for us to offer high quality products and services as well as to retain and attract users and customers. We must
  continue to expand our platform capabilities for our users and customers

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  and enhance our clients’ experience by improving existing, and developing, new and innovative, features and services. We intend to continue
  strengthening the innovation, security, efficiency and effectiveness of our services, including our user-friendly interfaces, comprehensive functionalities
  and customer service capabilities. With the continuous improvement of our technology infrastructure and compliance capabilities, we are able to serve
  more clients. Our ability to serve more clients, depends on, among other things, our ability to support all aspects of customer verification, record keeping
  and compliance functions using our technology and human resources.

        In addition, our technology infrastructure and compliance capabilities also enable us to facilitate secure, fast and cost-efficient financial
  transactions on our platform. We must continue to upgrade our technology infrastructure and to strengthen our compliance system to keep pace with the
  growth of our business. In addition, we experience cyber-threats and attempted security breaches. If these were successful, these cyber security incidents
  could impact revenue and operating income and increase costs. We therefore continue to make investments, which may result in increased costs, to
  strengthen our cybersecurity measures.


     Implementation of Our Marketing Strategy
        Our marketing strategy is designed to grow our business and platforms by reinforcing brand recognition and confidence associated with the XP
  brand and our related brands. We will continue to build and maintain brand recognition and awareness, while generating demand for our products and
  services through a variety of marketing campaigns, including advertising through traditional media, such as television, magazines and newspapers,
  online advertising and advertising through digital media, such as social media accounts, social media influencers, online videos and sponsored blogs.
  Marketing initiatives that specifically aim to attract new customers currently focus on introducing them to our financial services and products through
  our platform, enhancing our brand awareness by connecting them to our history, and creating awareness of the poor services and low returns of the
  products offered by traditional banks.

        We believe that introducing our financial services and products to potential customers is the most efficient and cost-effective strategy to sustain
  our growth, creating a “network effect” where existing customers recruit new customers for us through word-of-mouth recommendations. Given the
  nature of our revenue streams, our investments in marketing and advertising campaigns do not realize returns in the same period in which they are made
  but over subsequent periods, which could adversely affect our short-term results.


     Our Ability to Compete Effectively
         We and our competitors compete to attract new customers and increase volume of AUC, attract IFAs, increase returns on customer investments,
  offer a broad range of products and services at competitive prices, win mandates on capital markets transactions, and introduce innovations in online
  digital solutions and financial services. Our ability to compete is influenced by key factors such as (1) the performance of our products and their asset
  classes; (2) our ability to improve our platform and launch new products and services; (3) the liquidity we provide on transactions; (4) the transaction
  costs we incur in providing our solutions; (5) the efficiency in the execution of transactions on our platform and through our issuer services business;
  (6) our ability to hire and retain talent and IFAs; and (7) our ability to maintain the security of our platform and solutions. See “Business—Competition”
  for more detail on our competitors.


     Brazilian Macroeconomic Environment
        Our business is impacted by overall market activity and, in particular, trading volumes and market flows and volatility.

       While our business is impacted by the overall activity of the market and market volatility, this impact is partially mitigated by the fact that
  customers do not typically withdraw the funds they invest with us, and instead

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  allocate them to different products we offer depending on market and macroeconomic conditions. For example, during periods of high market volatility
  or high interest rates, our clients tend to allocate their funds in low risk, fixed income instruments, and during periods of low market volatility or low
  interest rates, they tend to allocate their funds to higher risk, high yield instruments such as equities. In addition, we are actively engaged in the further
  digitalization of our financial services and products, which will help further mitigate this impact as we believe secular growth trends can offset market
  volatility risk.

         The vast majority of our operations are located in Brazil. As a result, our revenues and profitability are subject to political and economic
  developments and the effect that these factors have on the availability of credit, disposable income, employment rates and GDP growth in Brazil. Our
  results of operations are affected by levels of interest rates, the expansion or retraction of the capital markets, trading volumes and market inflows in
  Brazil, each of which impacts the number and overall volume of capital markets transactions and available overall liquidity. For more information, see
  “Risk Factors—Risks Relating to Brazil—Economic uncertainty and political instability in Brazil may harm us and the price of our Class A common
  shares.”

        Brazil is the largest economy in Latin America, as measured by GDP. The following table shows data for real GDP, inflation and interest rates in
  Brazil and the U.S. dollar/real exchange rate at the dates and for the periods indicated.

                                                                                               For the Nine Months Ended                   For the Year Ended
                                                                                                      September 30,                           December 31,
                                                                                                 2019               2018            2018          2017        2016
                                                                                                           (in percentages, except as otherwise indicated)
  Real growth (contraction) in gross domestic product                                                 n.a.             1.1          1.1           1.1          (3.3)
  Inflation (IGP-M)(1)                                                                                4.1              8.3          7.5          (0.5)          7.2
  Inflation (IPCA)(2)                                                                                 2.5              3.3          3.7           2.9           6.3
  Long-term interest rates – TJLP (average)(3)                                                        6.6              6.8          6.7           7.1           7.5
  CDI interest rate (average)(4)                                                                      4.6              4.8          6.5          10.1          14.1
  Period-end exchange rate – R$ per US$1.00                                                       4.1638           4.0033       3.8742        3.3074        3.2585
  Average exchange rate – R$ per US$1.00(5)                                                       3.8881           3.6049       3.6552        3.1919        3.4827
  Appreciation (depreciation) of the real vs. US$ in the period(6)                                   (7.5)           (21.0)       (17.1)         (1.5)         16.5
  Unemployment rate(7)                                                                               11.8             11.9         12.3          12.8          11.3

  Sources: FGV, IBGE, IPEA, Central Bank and Bloomberg.
  (1)   Inflation (IGP-M) is the general market price index measured by the FGV.
  (2)   Inflation (IPCA) is a broad consumer price index measured by the IBGE.
  (3)   TJLP is the Brazilian long-term interest rate (average of monthly rates for the period).
  (4)   The CDI (certificado de depósito interbancário) interest rate is an average of interbank overnight rates in Brazil (daily average for the period).
  (5)   Average of the purchase exchange rate of each business day of the period.
  (6)   Comparing the US$ closing purchase exchange rate as reported by the Central Bank at the end of the period’s last day with the day immediately
        prior to the first day of the period discussed.
  (7)   Average unemployment rate for year as measured by the IBGE.

        Inflation has a direct effect on our contracts with certain suppliers, such as telecommunications operators, whose costs are indexed to the IPCA,
  and data processors, whose labor costs are adjusted according to inflation. While inflation may cause our suppliers to increase their prices, we are
  generally able to offset this effect as higher inflation typically results in higher interest rates, increasing our spreads on certain transactions.

        Our financial performance is also tied to fluctuations in interest rates, such as the CDI rate, because such fluctuations affect the value of the net
  interest margins we earn on financial investments we allocate customer funds to on an overnight basis, compounding our AUC base as well as the
  potential mix of products clients are willing to invest in.

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     Acquisitions and New Lines of Business
        Spiti
        On September 2, 2019, we incorporated Spiti Análise Ltda. (formerly known as Lirios Participações Ltda.), our Brazilian subsidiary, to act as a
  provider of independent research reports to retail clients.


        Banco XP
         On October 11, 2019, the Central Bank authorized Banco XP to operate as a multi-purpose bank, with both commercial and investment banking
  activities, as well as to carry out transactions in the foreign exchange markets. On that same date, the share capital of Banco XP was increased from
  R$10 million to R$100 million.


        XP Vida e Previdência
        On December 11, 2017, we incorporated XP Controle 5 Participações S.A., a life insurance and private pension plans provider in Brazil. On
  September 5, 2018, the SUSEP granted XP Controle 5 Participações S.A. the Portaria No. 7200 authorization to operate as an insurance company in
  Brazil, and XP Controle 5 Participações S.A. changed its legal name to XP Vida e Previdência S.A.. In an effort to support our expansion strategy, XP
  VP increased its capital to R$17.5 million on September 24, 2018 and to R$22.5 million on July 24, 2019.

        Following a transition period during which XP VP tested and integrated its systems and processes, XP VP began its operations in April 2019.


        Rico
         On August 10, 2017, following the approval of the Central Bank, we completed the acquisition of Rico Corretora de Títulos e Valores
  Mobiliários S.A., or Rico, for an aggregate purchase price of approximately R$405 million. At the time of the acquisition, Rico had approximately
  R$10.9 billion in assets under custody and approximately 129,000 clients. The Rico acquisition was in line with our growth strategy to accelerate the
  expansion of our retail customer base and the further positioning of our complementary brands, namely XP Investimentos, Clear and Rico, and was a
  key driver of the expansion of our business. On October 4, 2018, following the approval of the Central Bank, the entity Rico merged into XP CCTVM,
  but it remains as a brand. For further information on the marketing and positioning of our brands, see “Business.”


        2016 Corporate Reorganization
        During 2016, XP Brazil, through a series of transactions with G.A. Brasil IV Fundo de Investimento em Participações (the predecessor-in-interest
  to GA Bermuda), conducted a corporate reorganization with the objective of simplifying the organization of the group and eliminating non-controlling
  interests. For further information, see note 5(iii) to our audited consolidated financial statements included elsewhere in this prospectus.


  Seasonality
         We have experienced in the past, and expect to continue to experience, seasonal fluctuations in our revenues. Historically, our revenues have been
  strongest during the second and the last quarter of each year as a result of performance fees of mutual funds from both our own asset management
  business as well as third-party funds distributed through our platform. Adverse events that occur during those periods could have a disproportionate
  effect on our results of operations for the entire fiscal year. In addition, we are also impacted by the number of business days in each quarter, which
  affects our trading and brokerage businesses. As a result of quarterly fluctuations caused by these and other factors, comparisons of our results of
  operations across different fiscal quarters may not be accurate indicators of our future performance.

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  Description of Principal Line Items
     Total revenue and income
        Our total revenue and income consist of (1) net revenue from services rendered (2) net income from financial instruments.

        Net revenue from services rendered. This is our main source of revenue, deriving mostly from services rendered and fees charged at daily
  transactions from customers and consisting of:
         •     Brokerage commissions, which consist of (1) commissions earned on trading of stock, futures and derivatives listed on the B3 by our retail
               clients; (2) commissions earned on trading of stock, futures and derivatives listed on the B3 by our institutional clients; (3) commissions
               earned on intermediation of non-deliverable-forward and other over-the-counter contracts; and (4) commissions earned on trading of US
               equities, futures and derivatives by our international institutional clients.
         •     Securities placements, which consist of (1) fees earned on COE sales to retail clients (we structure the COE based on perception of demand
               and attractiveness of a specific exposure under current and prospective macroeconomic scenarios, and a partner bank issues the COE); (2)
               structuring fees related to issuer services where we are hired by corporate clients placing fixed income, equity or exchange traded fund
               securities in the capital markets; (3) distribution fees on the sale of such securities to our retail and/or institutional clients; and (4) recurring
               fees we charge third-party financial institutions that regularly offer CDs or other bank fixed income securities to our retail clients.
         •     Management fees, which consist of (1) fixed and performance-based management fees from funds managed by our asset managers and
               sold to our clients; (2) fees from distributions (rebates from fixed and performance-based management fees) of mutual and hedge funds
               managed by third-party asset managers to our clients; and (3) fixed management fees from XP Advisory managed portfolios and exclusive
               funds for high net worth retail clients. Fixed management fees are charged on a monthly basis and performance-based management fees for
               the majority of our funds are charged in June and December of each year.
         •     Insurance brokerage fees, which consist of (1) fees from distributions (rebates from fixed and performance-based management fees) of
               pension funds managed by third-party asset managers sold to our retail clients; and (2) rebates on Whole Life insurance products issued by
               third-party insurance companies, sold to our retail clients.
         •     Educational services fees, which consist of fees we charge in connection with the financial education and investment related courses
               produced by XP Educação and sold to our retail clients and to non-clients, as part of our digital content offerings.
         •     Other services, which consist of several small revenue streams, including (1) fees charged to retail clients with negative cash balances
               (typically as a result of margin calls related to equities and derivatives trading); (2) advertising and other digital content fees generated by
               Infomoney; (3) issuer services advisory fees from M&A and other financial advisory mandates; and (4) commissions on short selling
               equity trades by our retail clients.
         •     Deduction from sales taxes and contributions on revenues, including taxes on services (ISS) and contributions on revenues (Social
               Integration Program – PIS, and Social Security Program – COFINS).


        Net income from financial instruments.
         A portion of our total revenue and income we generate from our investment distribution platform to retail clients and our institutional brokerage
  business lines are accounted for not as net revenue from services rendered but as net income from financial instruments, including through (1) the
  difference between purchases and sales earned on sales of corporate, bank and government fixed income securities to our retail clients and institutional

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  clients (some of which we purchase from the issuer and resell to the client instantaneously, and some of which we hold over short periods to leverage
  flow and add liquidity to the market); (2) sales of structured notes and more complex derivative instruments to our retail clients (in which we are the
  counterparty of the listed derivative that the client is buying to build the structured note, and we then hedge consolidated exposures in the market); and
  (3) interest earned on uninvested cash balances of our retail clients which we allocate to overnight and other highly liquid investments. In addition, a
  small portion of this revenue line (less than approximately 5% for the fiscal year ended December 31, 2018) is linked to our principal trading operations,
  which in general consist of investing our own net cash balances in conservative securities and arbitrage and other investments with little to no direct
  exposure. Income from financial instruments is deducted by taxes and contributions on financial income.


     Operating costs and expenses
         Operating costs. Operating costs primarily consist of (1) commission costs paid to IFAs based on the revenues they generate from the retail clients
  that they serve and additional incentives to accelerate business expansion; (2) clearing house, custody and other financial services fees paid, primarily to
  the B3; (3) operating losses related to our activities in the ordinary course of our business; and (4) provisions for bad debts.

        Selling expenses. Selling expenses consist of advertising and publicity/marketing expenses, primarily in connection with our initiatives to promote
  our brands to retail clients.

         Administrative expenses. Administrative expenses primarily consist of personnel related expenses, including fixed and variable compensation,
  benefits and social and payroll taxes. Administrative expenses also consist of expenses related to (1) data processing services; (2) technical services;
  (3) third-party services; (4) office rent; (5) depreciation and amortization; (6) communications; (7) travel; (8) legal and judicial; and (9) miscellaneous
  taxes.

        Other operating expenses, net. Other operating expenses, net primarily consist of (1) incentives earned from B3 transactions as a result of
  marketing campaigns to increase our number of retail clients and AUC of certain asset classes; (2) recovery of charges and expenses; (3) reversal of
  operating provisions, and other income lines, net of expenses; (4) legal proceedings; (5) write-offs and losses on disposition of assets; (6) fines and
  penalties; and (7) other expenses.

        Interest expenses. Interest expenses arising from the loans and debentures that we have borrowed and issued.


     Income before income tax
        Income before income tax consists of our net revenue and income minus our operating costs, selling and administrative expenses, other net other
  operating expenses and interest expenses.


     Income tax expense
         Our subsidiaries are subject to different income tax regimes and statutory rates: (1) XP CCTVM and XP Seguradora are taxed at a 40% income
  tax rate; (2) XP Gestão, XP Finanças and holding entities are taxed at a 34% income tax rate; (3) XP Vista, Infomoney, XP Educação and other
  operating entities are taxed at a 10.9% tax rate on revenues (34% rate on a presumed net margin of 32%); and (4) XP Investments, XP Investments UK
  LLP, XP Private Europe are taxed at US, UK, and Switzerland tax rates, respectively. Accordingly, the effective tax rate of our consolidated operations
  fluctuates over time according to the portion of our total net income that was generated in each of these entities. For 2018, 2017 and 2016 our effective
  tax rate was 27.4%, 26.4% and 34.8% respectively, and for the nine months ended September 30, 2019 and September 30, 2018, the effective tax rate
  was 29.9% and 25.2%.

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     Net income for the year
        Net income for the year consists of our income before income tax minus our income taxes and social security obligations.


  Results of Operations
     Nine Months Ended September 30, 2019, Compared to the Nine Months Ended September 30, 2018
        The following table sets forth our income statement data for the nine months ended September 30, 2019 and 2018:

                                                                                                                For the Nine Months Ended September 30,
                                                                                                            2019                2018               Variation (%)
                                                                                                                   (R$ millions, except for percentages)
  Income Statement Data
  Net revenue from services rendered                                                                         2,341              1,452                         61
  Net income from financial instruments at amortized cost and at fair value through other
     comprehensive income                                                                                      204                 98                       109
  Net income from financial instruments at fair value through profit or loss                                   891                524                        70
  Total revenue and income                                                                                   3,437              2,073                        66
  Operating costs and expenses
  Operating costs                                                                                           (1,119)               (632)                      77
  Selling expenses                                                                                             (82)                (64)                      27
  Administrative expenses                                                                                   (1,294)               (828)                      56
  Other operating expenses, net                                                                                118                 (19)                    (721)
  Interest expense on debt                                                                                     (63)                (60)                       5
  Income before income tax                                                                                     997                 470                      112
  Income tax expense                                                                                          (298)               (118)                     152
  Net income for the period                                                                                    699                 352                       99


     Total revenue and income
       Total revenue and income for the nine months ended September 30, 2019 was R$3,437 million, an increase of R$1,364 million, or 66%, from
  R$2,073 million for the nine months ended September 30, 2018. Net revenues from services rendered represented R$889 million of the increase in total
  revenue and income, driven by:
         •     a R$311 million increase in brokerage commissions, as a result of the increase in the number of active retail clients (which grew 101%
               period over period) and the growth in gross total revenues from institutional trading during the period, driven by (1) the increase in trading
               volume of our Brazilian trading desks, mainly due to the improvement in the macroeconomic environment in Brazil, including a significant
               increase in the average daily traded volume in B3 in equities; and (2) the decrease in the interest rates, which benefited volumes in our
               trading desks related to futures trading;
         •     a R$239 million increase in management fees, as a result of the robust growth both in (i) management fees from our funds and managed
               portfolios, which grew 48% from R$205 million to R$303 million driven mostly by a 59% increase in Retail AUM, partially offset by a
               decrease in the average management fee on that Retail AUM from 1.0% to 0.9%, and in (ii) fees from distributions (rebates from
               management fees) of funds managed by third-party asset managers, which grew 96% from R$147 million to R$288 million driven mostly
               by a 94% increase in the Retail AUC allocated in those funds. As a result, management fees attributable to funds managed by third parties
               (fees from distributions) increased from 42% of total management fees for the nine months ended September 30, 2018 to 49%

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               for the nine months ended September 30, 2019, while management fees attributable to funds and portfolios managed by our asset
               managers decreased from 58% to 51% during the same period. For the nine months ended September 30, 2019, 19% of management fees
               were performance-based and 81% were non-performance-based (i.e., fixed annual fees);
         •     a R$232 million increase in revenue from securities placements, primarily attributable to the increase in mandates where we acted as
               placement agents or underwriters for third-party transactions in the domestic and international capital markets, from 65 transactions for the
               nine months ended September 30, 2018 to 119 transactions for the nine months ended September 30, 2019. The increase in revenue from
               Issuer Services was partially offset by a decrease in revenues from COEs during the period;
         •     a R$51 million increase in revenue from the sale of our online educational products through our XP Educação portal, not only in the
               individual courses category but also in the adult enrichment category, with the launch of three new flagship courses;
         •     a R$32 million increase in insurance brokerage fees, driven by higher sale of pension funds to retail clients and the overall expansion of
               retail AUC by 93% over the period;
         •     a R$104 million increase in other services, including R$33 million increase in financial advisory fees from Issuer Services mandates, a
               R$17 million increase in penalties collected from retail clients, a R$9 million increase in revenues from Expert events, and a R$31 million
               increase in other ancillary revenues related to the increase in trading operations, such as securities lending, third party trading platform fees
               and client’s margin coverage fees; and
         •     net of a R$74 million increase in taxes and contributions on services.

        Net income from financial instruments represented R$466 million of the increase in total revenue and income, driven by the growth in our retail
  investment distribution platform (whose retail clients grew 101% and retail AUC grew 93% period over period) in our institutional businesses and the
  increase in our Adjusted Gross Financial Assets balances.


     Operating costs and expenses
        Operating costs. Operating costs for the nine months ended September 30, 2019 were R$1,119 million, an increase of R$487 million, or 77%,
  from R$632 million for the nine months ended September 30, 2018. This increase was primarily attributable to a R$388 million increase in commission
  costs payable to our IFAs. In addition, clearinghouse fees increased by R$64 million, third parties’ services by R$22 million, operating losses and
  provisions by R$8 million and other costs by R$4 million. As a percentage of total revenue and income, our operating costs increased to 33% for the
  nine months ended September 30, 2019 from 30% for the nine months ended September 30, 2018.

        Selling expenses. Selling expenses for the nine months ended September 30, 2019 were R$82 million, an increase of R$18 million, or 27%, from
  R$64 million for the nine months ended September 30, 2018, due to increases in advertising and publicity expenses in connection with our traditional,
  online and social media advertising initiatives, in line with our marketing strategy to increase brand awareness, attract new customers and increase our
  market share.

       Administrative expenses. Administrative expenses for the nine months ended September 30, 2019 were R$1,294 million, an increase of
  R$466 million, or 56%, from R$828 million for the nine months ended September 30, 2018. This increase was primarily attributable to:
         •     a R$361 million, or 72%, increase in personnel expenses related to an increase in total employee headcount from 1,490 employees as of
               September 30, 2018 to 2,091 employees as of September 30, 2019, reflecting the fast growth of the company, the expansion of recently
               launched business lines and especially the accelerated expansion of our technology team;

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         •     a R$63 million, or 130%, increase in third parties’ services, mainly due to technology solutions related to online and social media;
         •     a R$22 million, or 58% increase, in depreciation of property and equipment and right-of-use assets as a result of our adoption of IFRS 16;
               and
         •     a R$37 million, or 42%, increase in data processing expenses, mainly related to consultancy services in connection with the operation and
               maintenance of our platform’s software.

         Other operating expenses, net. Other operating expenses, net for the nine months ended September 30, 2019 amounted to an income of
  R$118 million, an increase of R$138 million from the R$19 million expenses for the nine months ended September 30, 2018, mainly due to (1) a
  R$70 million income related to recognition of PIS/COFINS credits after the final and non-appealable decision in connection with a claim to which XP
  CCTVM was the plaintiff; and (2) a R$42 million income related to incentives earned from B3 linked to our number of retail clients and AUC of certain
  asset classes.


     Income before income taxes
       As a result of the foregoing, income before income taxes for the nine months ended September 30, 2019 were R$997 million, an increase of
  R$527 million, or 112%, from R$470 million for the nine months ended September 30, 2018.


     Income tax expense
        Income tax expense for the nine months ended September 30, 2019 was R$298 million, an increase of R$180 million, or 152%, from
  R$118 million for the nine months ended September 30, 2018. This increase was primarily attributable to an increase in taxable income during the year
  and an increase in our effective tax rate to 29.9% for the nine months ended September 30, 2019 from 25.2% for the nine months ended September 30,
  2018.


     Net income for the period
       As a result of the foregoing, net income for the nine months ended September 30, 2019 was R$699 million, an increase of R$347 million, or 99%,
  from R$352 million for the nine months ended September 30, 2018.

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    Year Ended December 31, 2018, Compared to the Year Ended December 31, 2017
       The following table sets forth our income statement data for 2018 and 2017:

                                                                                                                      For the Year Ended December 31,
                                                                                                                 2018              2017            Variation (%)
                                                                                                                     (R$ millions, except for percentages)
  Income Statement Data
  Net revenue from services rendered                                                                             2,054             1,284                     60
  Net income from financial instruments at amortized cost and at fair value through other comprehensive
     income                                                                                                        114                79                     44
  Net income from financial instruments at fair value through profit or loss and foreign exchange                  790               544                     45
  Total revenue and income                                                                                       2,958             1,907                     55
  Operating costs and expenses
  Operating costs                                                                                                 (941)             (580)                   62
  Selling expenses                                                                                                 (96)              (33)                  192
  Administrative expenses                                                                                       (1,177)             (650)                   81
  Other operating expenses, net                                                                                    (31)               (8)                  306
  Interest expense on debt                                                                                         (72)              (61)                   18
  Income before income tax                                                                                         641               576                    11
  Income tax expense                                                                                              (175)             (152)                   15
  Net income for the year                                                                                          465               424                    10


    Total revenue and income
        Total revenue and income in 2018 was R$2,958 million, an increase of R$1,052 million, or 55%, from R$1,907 million in 2017. Net revenues
  from services rendered represented R$770 million of the increase in total revenue and income, driven by:
         •     a R$306 million increase in management fees, as a result of the robust growth both in (i) management fees from our funds and managed
               portfolios, which grew 120% from R$138 million to R$302 million driven mostly by a 78% increase in Retail AUM and a 495% increase
               in performance-based management fees, partially offset by a decrease in the average management fee on that Retail AUM from 1.1% to
               1.0%, and in (ii) fees from distributions (rebates from management fees) of funds managed by third-party asset managers, which grew
               167% from R$84 million to R$226 million driven mostly by a 107% increase in the Retail AUC allocated in those funds. As a result,
               management fees attributable to funds managed by third parties (fees from distributions) increased from 38% of total management fees for
               the year ended December 31, 2017 to 43% for the year ended December 31, 2018, while management fees attributable to funds and
               portfolios managed by our asset managers decreased from 62% to 57% during the same period. For the year ended in December 31, 2018,
               24% of management fees were performance-based and 76% were non-performance-based (i.e., fixed annual fees);
         •     a R$231 million increase in revenue from securities placements, as a result of the increase in mandates in our issuer services (which
               increased from 76 to 94 transactions from 2017 to 2018) and the increase in retail COE revenues, also driven by the expansion of our total
               retail AUC, which grew 60% year over year;
         •     a R$221 million increase in brokerage commissions, as a result of the increase in the number of active retail clients (which grew 66% year
               over year) and the growth in gross total revenues from institutional trading during the period, driven by (1) more trading volume in our
               Brazilian trading desks due to

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                higher market volumes and market share gains; and (2) the expansion of our recently established offshore trading desks;
         •     a R$28 million increase in insurance brokerage fees, driven by higher sale of pension funds to retail clients and the overall expansion of
               retail AUC by 60% year over year;
         •     a R$ 24 million increase in educational services, due to higher sales of XP Educação investment courses;
         •     a R$49 million increase in other services, including a R$12 million increase in fines collected from retail clients, a R$10 million increase
               in financial advisory fees from Issuer Services mandates and a R$9 million increase in revenues from Expert events; and
         •     net of a R$88 million increase in taxes and contributions on services.

        Net income from financial instruments represented R$282 million of the increase in total revenue and income, driven by the growth in our retail
  investment distribution platform (whose retail clients grew 66% year over year and retail AUC grew 60% year over year) in our institutional businesses
  and the increase in our Adjusted Gross Financial Assets balances.


     Operating costs and expenses
        Operating costs. Operating costs in 2018 were R$941 million, an increase of R$361 million, or 62%, from R$580 million in 2017. This increase
  was primarily attributable to a R$295 million increase in commission costs payable to our IFAs. In addition, clearinghouse fees increased by
  R$19 million, third parties’ services by R$24 million, brokerage transfers by R$7 million, operating losses and provisions by R$3 million and other
  costs by R$14 million. As a percentage of total revenue and income, our operating costs increased to 31.8% in 2018 from 30.4% in 2017.

         Selling expenses. Selling expenses in 2018 were R$96 million, an increase of R$63 million, or 192%, from R$33 million in 2017 due to the
  significant increase in advertising and publicity expenses in connection with our traditional, online and social media advertising initiatives, in line with
  our marketing strategy to increase brand awareness, attract new customers and increase our market share.

        Administrative expenses. Administrative expenses in 2018 were R$1,177 million, an increase of R$527 million, or 81%, from R$650 million in
  2017. This increase was primarily attributable to:
         •     a R$283 million, or 66%, increase in personnel expenses related to an increase in total employee headcount, mainly in our technology
               teams, from 975 employees as of December 31, 2017 to 1,593 employees as of December 31, 2018;
         •     a R$59 million, or 82%, increase in data processing expenses, mainly related to consultancy services in connection with the operation and
               maintenance of our platform’s software;
         •     a R$49 million, or 183%, increase in technical services expenses, mainly related to consultancy, legal and financial advisory services in
               connection with the Itaú Transaction;
         •     a R$25 million, or 93%, increase in depreciation and amortization expenses, mainly related to (1) the relocation of our principal executive
               offices to our current address in the city of São Paulo in 2018; and (2) accelerated depreciation expenses in connection with the planned
               discontinuation of the lease arrangements relating to our previous executive principal offices; and
         •     a R$25 million, or 154%, increase in rent expenses, mainly related to expenses in connection with the relocation of our principal executive
               offices to our current address in the city of São Paulo in 2018.

         Other operating expenses, net. Other operating expenses, net in 2018 were R$31 million, an increase of R$24 million from 2017, mainly due to
  (1) a R$5 million charitable donation to the Children’s Institute (IC), an

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  non-governmental organization that manages an XP-backed project to support a group of low income elementary school children in underdeveloped
  cities in Brazil; and (2) a R$8 million write-off relating to internally developed software that was discontinued.

        Interest expense on debt. Interest expenses in 2018 were R$72 million, an increase of R$11 million from 2017. This was a result of an increase in
  the average outstanding balance in loans and debentures during the period, due to (1) the R$325.4 million loan agreement entered into with the
  International Finance Corporation (IFC) on March 28, 2018; (2) the prepayment in full of the US$189.9 million loan with Itaú Unibanco – Nassau
  Branch (equivalent to approximately R$600 million) on August 31, 2018; and (3) the issuance of R$400 million in first series of non-convertible
  debentures in September 2018.


     Income before income taxes
       As a result of the foregoing, income before income taxes for 2018 were R$641 million, an increase of R$65 million, or 11.3%, from
  R$576 million in 2017.


     Income tax expense
         Income tax expense for 2018 was R$175 million, an increase of R$23 million, or 15.4%, from R$152 million in 2017. This increase was primarily
  attributable to an increase in taxable income during the year and an increase in our effective tax rate to 27.4% in 2018 from 26.4% for 2017.


     Net income for the year
        As a result of the foregoing, net income for 2018 was R$465 million, an increase of R$42 million, or 9.9%, from R$424 million in 2017.


     Year Ended December 31, 2017 Compared to the Year Ended December 31, 2016
        The following table sets forth our income statement data for 2017 and 2016:

                                                                                                                      For the Year Ended December 31,
                                                                                                                 2017              2016            Variation (%)
                                                                                                                     (R$ millions, except for percentages)
  Income Statement Data
  Net revenue from services rendered                                                                              1,284              690                     86
  Net income from financial instruments at amortized cost and at fair value through other comprehensive
     income                                                                                                          79               43                     83
  Net income from financial instruments at fair value through profit or loss and foreign exchange                   544              519                      5
  Total revenue and income                                                                                        1,907            1,252                     52
  Operating costs and expenses
  Operating costs                                                                                                  (580)            (376)                   54
  Selling expenses                                                                                                  (33)             (24)                   34
  Administrative expenses                                                                                          (650)            (471)                   38
  Other operating expenses, net                                                                                      (8)              (6)                   25
  Interest expense on debt                                                                                          (61)              —                   n.m.
  Income before income tax                                                                                          576              374                    54
  Income tax expense                                                                                               (152)            (130)                   17
  Net income for the year                                                                                           424              244                    74

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     Total revenue and income
        Total revenue and income in 2017 was R$1,907 million, an increase of R$655 million, or 52%, from R$1,252 million in 2016.

        Net revenues from services rendered represented R$594 million of the increase in total revenue and income, driven by:
         •     a R$278 million, or 226% increase, in revenues from securities placements, driven by COEs sales to retail clients that grew by more than
               10 times year-over-year, as this was a new asset class introduced in early 2016, and an increase in Issuer Services mandates where we acted
               as placement agents or underwriters for debt securities;
         •     a R$211 million or 49% increase in brokerage commissions as a result of the increase in the number of active retail clients, which grew
               59% year over year, and the growth in institutional trading activity, due to (1) increase in market share on several institutional trading
               desks; and (2) an overall increase on trading volume in B3, primarily due to the commencement of the reform agenda driven by former
               President Michel Temer in late 2016 and early 2017;
         •     a R$126 million or 132% increase in management fees, as a result of the robust growth both in (i) management fees from our funds and
               managed portfolios, which grew 99% from R$69 million to R$138 million driven mostly by a 156% increase in Retail AUM, partially
               offset by a decrease in the average management fee on that Retail AUM from 1.2% to 1.1%, and in (ii) fees from distributions (rebates
               from management fees) of funds managed by third-party asset managers, which grew 219% from R$26 million to R$84 million driven
               mostly by a 256% increase in the Retail AUC allocated in those funds. As a result, management fees attributable to funds managed by third
               parties (fees from distributions) increased from 28% of total management fees for the year ended December 31, 2016 to 38% for the year
               ended December 31, 2017, while management fees attributable to funds and portfolios managed by our asset managers decreased from
               72% to 62% during the same period. For the year ended in December 31, 2017, 15% of management fees were performance-based and
               85% were non-performance-based (i.e., fixed annual fees);
         •     a R$11 million increase in insurance brokerage fees driven by higher sale of pension funds to retail clients and the overall expansion of
               retail AUC by 93% year over year;
         •     a R$8 million increase in educational services, due to higher sales of XP Educação investment courses;
         •     a R$23 million increase in other services, including a R$7 million increase in stock lending commissions from retail clients and a
               R$4 million increase in revenues from Expert events; and
         •     net of a R$65 million increase in taxes and contributions on services.

       Net revenues from services rendered represented R$32 million of the increase in total revenue and income, driven by the increase in Floating
  Balances related to the overall expansion of the Retail active clients (grew 59% year over year) and AUC (grew 93% year over year) in the period.


     Operating costs and expenses
         Operating costs. Operating costs in 2017 were R$580 million, an increase of R$204 million, or 54%, from R$376 million in 2016. This increase
  was primarily attributable to a R$153 million, or 51%, increase in commission costs payable to our IFAs and a R$42 million increase in clearing house
  fees, both a direct result of the increase in AUC, active clients and revenues. In addition, third parties’ services increased by R$20 million, brokerage
  transfers and operating losses and provisions decreased by R$3 million each, and other costs decreased by R$5 million. As a percentage of total revenue
  and income, our operating costs remained relatively flat at 30.4% in 2017 compared to 30.0% in 2016.

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         Selling expenses. Selling expenses in 2017 were R$33 million, an increase of R$8 million, or 34%, from R$24 million in 2016 due to an increase
  in advertising and publicity expenses in connection with our traditional, online and social media advertising initiatives, in line with our marketing
  strategy to increase brand awareness, attract new customers and increase our market share.

        Administrative expenses. Administrative expenses in 2017 were R$650 million, an increase of R$179 million, or 38%, from R$471 million in
  2016. This increase was primarily attributable to:
           •     a R$104 million, or 32%, increase in personnel expenses related to an expansion in total employee headcount from 742 employees in 2016
                 to 975 employees in 2017;
           •     a R$24 million, or 49%, increase in data processing expenses, mainly related to consultancy services to deploy new cybersecurity solutions
                 (Tempest) and continued investments in CRM platforms that we use internally (Salesforce);
           •     a R$14 million, or 188%, increase in other tax expenses, due to an increase in IOF (financial transaction) taxes related to capital increases
                 in our offshore subsidiaries during 2017 and other miscellaneous tax expenses; and
           •     a R$11 million, or 65%, increase in technical services expenses, mainly related to consultancy, legal and financial advisory services in
                 connection with the Itaú Transaction.

          Other operating expenses, net. Other operating expenses, net in 2017 were R$8 million, an decrease of R$2 million, or 25%, from R$6 million in
  2016.

        Interest expense on debt. Interest expenses in 2017 were R$61 million, compared to zero in 2016, due to three loans that we entered into: (1) the
  R$100 million JPM Loan in January 2017 to finance the first installment of the Rico acquisition; (2) the R$126 million Itaú Loan in April 2017 to
  finance the second installment of the Rico acquisition; and (3) the US$189.9 million loan with Itaú Unibanco – Nassau (equivalent to R$600 million),
  each as further described below.


     Income before income taxes
        Income before income taxes for 2017 were R$576 million, an increase of R$202 million, or 54%, from R$374 million in 2016, resulting from the
  previous impacts.


     Income tax expense
         Income tax expense for 2017 was R$152 million, an increase of R$22 million, or 17%, from R$130 million in 2016. This increase was primarily
  attributable to an increase in taxable income during the year and a decrease in our effective tax rate to 26.4% in 2017 from 34.8% for 2017, resulting
  from the change in mix of income coming from subsidiaries at different statutory tax rates.


     Net income for the year
          As a result of the foregoing, net income for 2017 was R$424 million, an increase of R$180 million, or 74%, from R$244 million for 2016.

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  Quarterly Financial Data (Unaudited) and Other Information
        The following tables set forth certain of our financial and other information for the periods indicated:

                                                                                                  For the Three Months Ended
                                                        March 31,     June 30,         September 30,      December 31,        March 31,        June 30,    September 30,
                                                         2018           2018               2018               2018               2019            2019          2019
                                                                                       (Unaudited) (R$ millions, unless otherwise indicated)
  Gross revenue and income(1)                                630          862                   768                 957           1,006         1,236             1,453
  Sales tax(2)                                               (59)         (64)                  (63)                (72)            (72)          (89)              (97)
  Total revenue and income                                   571          797                   705                 885             934         1,147             1,356
  Operating costs and expenses
  Operating costs                                           (190)        (211)                 (231)               (309)           (308)         (366)             (445)
  Selling expenses                                            (9)         (20)                  (35)                (32)            (24)          (27)              (31)
  Administrative expenses                                   (218)        (276)                 (333)               (349)           (368)         (445)             (481)
  Other operating expenses, net                               66          (67)                  (18)                (12)             85            26                 7
  Interest expense on debt                                   (44)         (26)                   10                 (13)            (15)          (23)              (24)
  Income before income tax                                   175          196                     99                171             303           312               382
  Income tax expense                                         (39)         (58)                   (21)               (57)            (93)          (84)             (121)
  Net income                                                 136          138                     78                113             210           228               261
  Retail – AUC (in R$ billions)                              144          158                   181                 202             232           274               350
  Retail – active clients (in thousands)                     592          664                   763                 892           1,126         1,304             1,536

  (1)   The sum of (i) Revenues from services rendered; and (ii) Income from financial instruments, in each case gross of taxes and contributions on
        revenue.
  (2)   The sum of (i) Sales taxes and contributions on revenue; and (ii) Taxes and contributions on financial income.


  Liquidity and Capital Resources
        As of September 30, 2019, we had R$846 million in cash and cash equivalents. We believe that our current available cash and cash equivalents
  and the cash flows from our operating activities will be sufficient to meet our working capital requirements and capital expenditures in the ordinary
  course of business for the next 12 months.

        The following table shows the generation and use of cash for the periods indicated:

                                                                                                                  For the Nine Months            For the Year Ended
                                                                                                                  Ended September 30,               December 31,
                                                                                                                   2019         2018         2018       2017      2016
                                                                                                                                      (R$ millions)
  Cash Flow Data
  Income before income tax                                                                                            997           470         641        576      374
  Adjustments to reconcile income before income tax                                                                   139           250         127         84       32
  Income tax paid                                                                                                    (355)         (162)       (202)      (219)     (68)
  Contingencies paid                                                                                                   (1)           (1)         (4)        (7)      (2)
  Interest paid                                                                                                       (16)          (45)        (54)       —        —
  Changes in working capital assets and liabilities                                                                    94           (84)         (4)       (44)      20
  Adjusted net cash flow (used in) from operating activities                                                          858           428         504        389      356
  Net cash flow (used in) from securities, repos, derivatives                                                        (840)         (344)       (960)      (127)    (351)
  Net cash flows from operating activities                                                                             18            84        (457)       262        5
  Net cash flows from investing activities                                                                            (84)         (113)       (147)      (456)     (32)
  Net cash flows from financing activities                                                                            289          (172)        380        585       82

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         Our cash and cash equivalents include cash on hand, interbank certificate deposits with banks and other highly liquid securities purchased under
  agreements to resell with original maturities of three months or less, which have an immaterial risk of change in value. For more information, see note 6
  to our audited consolidated financial statements and note 3 to the unaudited interim condensed consolidated financial statements included elsewhere in
  this prospectus.


        Net cash flow (used in) from operating activities
         Our net cash flows from operating activities (i) increased from R$5 million net cash flow from operating activities in 2016 to R$262 million net
  cash flow from operating activities in 2017, (ii) decreased to R$457 million net cash flow used in operating activities in 2018 when compared to 2017,
  and (iii) decreased from R$84 million net cash flow from operating activities for the nine months ended September 30, 2018 to R$18 million for the nine
  months ended September 30, 2019. Our net cash flows from operating activities are significantly affected by (1) the balance of securities and derivatives
  that we hold in the ordinary course of our business as a Retail investment distribution platform and as an Institutional broker dealer (in particular with
  respect to the sale of fixed income securities and structured notes); and (2) and our strategy to allocate excess cash and cash equivalents from treasury
  funds, from Floating Balances and from private pension balances to securities and other financial assets. These balances may fluctuate substantially
  from quarter to quarter and were the key drivers to the net cash flow from operating activities figures, since (1) securities and derivatives (assets, net of
  liabilities) balances increased from R$1,505 million in 2016 to R$3,302 million in 2017, to R$6,583 million in 2018, and increased from
  R$4,581 million for the nine months ended September 30, 2018 to R$17,428 million for the nine months ended September 30, 2019; (2) securities
  purchased pursuant to resale agreements decreased from R$1,197 million in 2016 to R$935 million in 2017, increased to R$6,571 million in 2018, and
  increased from R$7,172 million for the nine months ended September 30, 2018 to R$13,453 million for the nine months ended September 30, 2019; (3)
  securities sold pursuant to repurchase agreements decreased from R$772 million in 2016 to R$514 million in 2017, and increased to R$6,641 million in
  2018, and increased from R$6,467 million for the nine months ended September 30, 2018 to R$19,618 million for the nine months ended September 30,
  2019; (4) Securities trading and intermediation liabilities (net of assets; i.e. Floating Balances) increased from R$1,079 million in 2016 to
  R$2,439 million in 2017, to R$4,408 million in 2018, and increased from R$3,837 million for the nine months ended September 30, 2018 to
  R$6,395 million for the nine months ended September 30, 2019; and (5) private pension liabilities increased from zero in 2016 and 2017 to
  R$16 million in 2018, and increased from zero for the nine months ended September 30, 2018 to R$1,722 million for the nine months ended
  September 30, 2019.

         If the variation from those lines were to be excluded from the analysis, similar to what the Adjusted Gross Financial Assets metric captures (which
  in management’s view is a more useful metric to track the intrinsic cash flow generation of the business), adjusted net cash flow from operating
  activities would have increased from R$356 million in 2016 to R$389 million in 2017, increased to R$504 million in 2018 and increased from
  R$428 million for the nine months ended September 30, 2018 to R$858 million for the nine months ended September 30, 2019, reflecting the
  continuous increase in operational results and a low consumption of cash in working capital assets and liabilities.


        Net cash used in investing activities
        Our net cash used in investing activities increased from R$32 million in 2016 to R$456 million in 2017 and decreased to R$147 million in 2018,
  and decreased from R$113 million for the nine months ended September 30, 2018 to R$84 million for the nine months ended September 30, 2019,
  primarily due to (1) the acquisition of Rico for an aggregate purchase price of approximately R$405 million in 2017; (2) the investment in fixed assets,
  which increased from R$19 million in 2016 to R$30 million in 2017, to R$83 million in 2018, and decreased from R$56 million for the nine months
  ended September 30, 2018 to R$44 million for the nine months ended September 30, 2019, mainly related to the relocation of our principal executive
  offices to our current address in the city of São Paulo in 2018; and (3) the investment in intangible assets, mostly IT infrastructure and software,

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  which increased from R$12 million in 2016 to R$21 million in 2017, to R$54 million in 2018, and decreased from R$46 million for the nine months
  ended September 30, 2018 to R$44 million for the nine months ended September 30, 2019.


        Net cash flows from financing activities
         Our net cash flows from financing activities increased from R$82 million in 2016 to R$585 million in 2017, decreased to R$380 million in 2018
  and increased from R$172 million net cash flows used in financing activities for the nine months ended September 30, 2018 to R$289 million net cash
  flows from financing activities for the nine months ended September 30, 2019, primarily due to (1) cash dividend payments to the controlling
  shareholders of XP Brazil, which increased from R$174 million in 2016 to R$190 million in 2017, to R$325 million in 2018 and decreased from
  R$325 million for the nine months ended September 30, 2018 to zero for the nine months ended September 30, 2019; (2) the borrowing of a
  R$600 million equivalent loan from Itaú Nassau in May 2017 which was prepaid in full in August 2018; (3) the capital increases of R$220 million in
  2016 related to an investment by G.A. Brasil IV Fundo de Investimento em Participações (the predecessor-in-interest to GA Bermuda) and
  R$673 million in August 2018 related to the closing of the Itaú Transaction; (4) the borrowing of the R$325 million loan from IFC in March 2018; and
  (5) the issuance of our first and second series of non-convertible debentures, R$400 million of which were issued in September 2018 and R$400 million
  of which were issued in May 2019.


     Indebtedness
       As of September 30, 2019, we had R$399 million in outstanding loans, R$247 million in lease liabilities and R$836 million in outstanding
  debentures. The following is a description of our material indebtedness as of the date of this prospectus:


        Borrowings
       On January 19, 2017, XP CCTVM entered into a loan agreement with Banco J.P. Morgan S.A., or the JPM Loan, in the amount of R$100 million,
  which was borrowed in order to finance the first installment of the Rico acquisition. The loan accrued interest at a rate per annum equal to 111.0% of the
  CDI rate and was repayable in seven quarterly installments. The loan matured and was fully repaid on July 8, 2019.

       On April 5, 2017, XP CCTVM entered into a loan agreement with Itaú Unibanco S.A., or the Itaú Loan, in the amount of R$126 million, which
  was borrowed in order to finance the second installment of the Rico acquisition. The loan accrues interest at a rate per annum equal to 113.0% of the
  CDI rate, is repayable in 36 monthly installments and matures on March 8, 2021. The loan is secured by a pledge (alienação fiduciária) over a certain
  number of XP CCTVM shares.

        On May 10, 2017, XP Brazil entered into a loan agreement with Itaú Unibanco – Nassau Branch in the amount of US$189.9 million, which was
  borrowed for general corporate purposes. The loan accrued interest at a rate per annum equal to LIBOR + 3.454% (hedged to the CDI rate + 2.25%) and
  was scheduled to mature on May 11, 2022. Following the Itaú Transaction in August 2018, the loan was prepaid in full on August 31, 2018 pursuant to a
  mandatory prepayment provision triggered in the event that Itaú Unibanco (or any of its affiliates) became a shareholder of XP Brazil.

        On March 28, 2018, XP Brazil entered into a loan agreement with the International Finance Corporation (IFC), or the IFC Loan, in the amount of
  R$325.4 million, which was borrowed to finance the expansion of operations and increase the number of clients and IFAs. The loan accrues interest at a
  rate per annum equal to the CDI rate + 0.74% and matures on April 15, 2023. The principal amount is due on the maturity date and interest is payable
  semi-annually on April 15 and October 15 of each year.

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        Debentures
         On September 28, 2018, XP Brazil issued its first series of non-convertible debentures in the aggregate principal amount of R$400 million, with a
  unit value at issuance of R$1,000 over the nominal amount. The principal amount of, and accrued interest on, the debentures is payable in a single
  installment on the maturity date of September 28, 2020. The debentures accrue interest at 108.0% of the CDI rate.

        On May 15, 2019, XP Brazil issued its second series of non-convertible debentures in the aggregate amount of R$400 million, with a unit value at
  issuance of R$1,000 over the nominal amount. The principal amount of the debentures is payable in two installments on May 15, 2021 and on May 15,
  2022 (the maturity date). The debentures, as amended on May 23, 2019 following the completion of the bookbuilding process, accrue interest at
  107.25% of the CDI rate, payable semi-annually on May 15 and November 15 in each year.

        Certain of our loans and debentures are subject to certain restrictive covenants and require that the borrower entity (as indicated below) meet
  certain financial ratios, which are as follows:


        Itaú Loan
         •     a XP CCTVM net debt to EBITDA ratio equal to or less than 1:1. Net debt is calculated as the sum of total debt less cash and cash
               equivalents and encumbered financial investments. EBITDA is calculated as income before income tax and social contribution,
               depreciation and amortization, financial income, non-operating income, equity income and minority interests; and
         •     a XP CCTVM net debt to financial expenses ratio equal to or less than 2:1. Net debt is calculated as total debt less cash and cash
               equivalents and encumbered financial investments. Financial expenses are calculated as the sum of interest on financial debts, loans,
               securities, negative goodwill on assignment of credit rights, structuring costs of banking or capital markets, monetary and exchange
               variations liabilities, and hedge/derivative expenses, excluding interest on equity.


        IFC Loan
         •     a XP Brazil risk weighted capital adequacy ratio of not less than (i) 18% until December 31, 2019, (ii) 16% until March 31, 2020, (iii) 14%
               until June 30, 2020, and (iv) 12% thereafter, which is calculated as total capital divided by risk weighted assets;
         •     a XP Brazil equity to assets ratio of not less than 5%, which is calculated as total shareholder’s equity divided by total assets;
         •     a XP Brazil economic group exposure ratio not to exceed 25%, which is calculated as the exposure of the borrower to any person or
               economic group, excluding assets held on behalf of clients booked in the line of third parties settlements, divided by total capital;
         •     a XP Brazil open credit exposures ratio not to exceed 25%, which is calculated as problem exposures less total provisions divided by total
               capital. Problem exposures is calculated as the sum of (1) exposures where any portion of such exposures are, on a non-accrual basis 90
               days or more in arrears, or for which there is otherwise doubt that payments will be made in full; (2) exposures where any portion of such
               exposures has been a restructured troubled loan within the past consecutive 12 months; (3) assets received in lieu of payment (including,
               but not limited to, real estate and equity shares); and (4) claims on other persons that are unreconciled, unsettled or otherwise unresolved
               for 90 days or longer;
         •     a XP Brazil short term liquidity ratio of not less than 1.05:1, which is calculated as liquid assets divided by short-term liabilities. Liquid
               assets is calculated as the sum of cash on hand, call deposits with banks and financial institutions, marketable securities with a triple A
               rating, government bonds, treasury bills and other assets that can be sold or withdrawn, on demand, or within 30 days, excluding assets
               held on

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               behalf of clients booked in the line of third parties settlements. Short-term liabilities are calculated as callable liabilities and liabilities
               maturing within 30 days, excluding assets held on behalf of clients booked in the line of third parties settlements; and
         •     compliance with material requirements from SUSEP imposed on XP VP, including minimum capital requirements, as well as with material
               requirements from the Central Bank, imposed on Banco XP, including capital adequacy ratios, economic group exposure, liquidity
               coverage ratio, and any other requirements from time to time imposed by any authority.


        Debentures
         •     an XP Brazil regulatory capital ratio 1% or more above the minimum regulatory capital requirement as established by the Central Bank
               from time to time; and
         •     a XP Brazil pre-tax income to financial expenses ratio greater or equal to 2:1.

        As of September 30, 2019, we were in compliance with the covenants in our loan agreements and debentures. For further information on our
  indebtedness, see notes 16 and 17 to our audited consolidated financial statements and notes 9 and 10 to the unaudited interim condensed consolidated
  financial statements included elsewhere in this prospectus.


  Capital Expenditures
        In the nine months ended September 30, 2019 and the years ended December 31, 2018, 2017 and 2016, we made capital expenditures of
  R$84 million, R$137 million, R$51 million and R$32 million, respectively. Total capital expenditures as a percentage of total net revenue and income
  were 2.4% in the nine months ended September 30, 2019, 4.6% in 2018, 2.7% in 2017 and 2.5% in 2016. These capital expenditures mainly include
  expenditures related to the upgrade and development of our IT systems, software and infrastructure, and the expansion of our office spaces due to
  accelerated growth in employee headcount and the launch of new operations such as our institutional broker dealer in UK.

        We expect to increase our capital expenditures to support the growth in our business and operations. We expect to meet our capital expenditure
  needs for the foreseeable future from our operating cash flow, our existing cash and cash equivalents, and with the net proceeds of this offering. Our
  future capital requirements will depend on several factors, including our growth rate, the expansion of our research and development efforts, employee
  headcount, marketing and sales activities, the introduction of new features to our existing products and the continued market acceptance of our products.

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  Tabular Disclosure of Contractual Obligations
        The following is a summary of our contractual obligations as of September 30, 2019 and as of December 31, 2018:

                                                                                                 Payments Due By Period as of September 30, 2019
                                                                                                                                                   More than
                                                                                   Total       Less than 1 year      1-3 years        3-5 years     5 years
                                                                                                                  (R$ millions)
  Borrowings                                                                         399                   66              48             285           —
  Debentures                                                                         836                  436             400             —             —
  Operating and capital (finance) lease obligations                                  247                   37              54              56           100
  Total                                                                            1,482                  539             502             341           100

                                                                                                 Payments Due By Period as of December 31, 2018
                                                                                                                                                   More than
                                                                                   Total       Less than 1 year      1-3 years        3-5 years     5 years
                                                                                                                  (R$ millions)
  Borrowings                                                                         470                  114              25             330           —
  Debentures                                                                         407                  —               407             —             —
  Operating and capital (finance) lease obligations                                  209                   33              81              41           55
  Total                                                                            1,085                  147             512             371           55


  Off-Balance Sheet Arrangements
        Other than as set forth above, we did not have any off-balance sheet arrangements as of September 30, 2019 and as of December 31, 2018.


  Critical Accounting Estimates and Judgments
        Our consolidated financial statements are prepared in conformity with IFRS. In preparing our consolidated financial statements, we make
  assumptions, judgments and estimates that can have a significant impact on amounts reported in our consolidated financial statements. We base our
  assumptions, judgments and estimates on historical experience and various other factors that we believe to be reasonable under the circumstances.
  Actual results could differ materially from these estimates under different assumptions or conditions. We regularly reevaluate our assumptions,
  judgments and estimates. Our significant accounting policies are described in note 4 to our consolidated financial statements and note 2 to the unaudited
  interim condensed consolidated financial statements included elsewhere in this prospectus. We believe that the following critical accounting policies are
  more affected by the significant judgments and estimates used in the preparation of our consolidated financial statements.


     Estimation fair value of certain financial assets
         The fair value of financial instruments that are not traded in an active market is determined using valuation techniques. We use our judgment to
  select a variety of methods and make assumptions that are mainly based on market conditions existing at the end of each reporting period.


     Impairment of financial assets
        The loss allowances for financial assets are based on assumptions about risk of default and expected loss rates. We use our judgment in making
  these assumptions and selecting the inputs to the impairment calculation, based on our past history and existing market conditions, as well as forward-
  looking estimates at the end of each reporting period.

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     Recognition of deferred tax asset for carried-forward tax losses
         Deferred tax assets are recognized for all unused tax losses to the extent that sufficient taxable profit will likely be available to allow the use of
  such losses. Significant judgment from management is required to determine the amount of deferred tax assets that can be recognized, based on the
  likely timing and level of future taxable profits, together with future tax planning strategies. We have concluded that the deferred assets will be
  recoverable using the estimated future taxable income based on the approved business plans and budgets for the subsidiaries where a deferred tax asset
  has been recognized. The losses can be carried forward indefinitely and have no expiry date.


     Impairment of non-financial assets, including goodwill
        We assess, at each reporting date, whether there is an indication that an asset may be impaired. Intangible assets with indefinite useful lives and
  goodwill are tested for impairment annually at the level of the CGU, as appropriate, and when circumstances indicate that the carrying value may be
  impaired.

         Impairment exists when the carrying value of an asset or cash generating unit exceeds its recoverable amount, which is the higher of its fair value
  less costs to sell and its value in use. Technological obsolescence, suspension of certain services and other changes in circumstances that demonstrate the
  need for recording a possible impairment are also regarded in estimates.


  Recent Accounting Pronouncements
        For information about recent accounting pronouncements that will apply to us in the near future, see note 3 to our audited consolidated financial
  statements and note 2 to the unaudited interim condensed consolidated financial statements included elsewhere in this prospectus.


     New standards, interpretations and amendments adopted in 2018
        IFRS 9 – Financial Instruments
        IFRS 9 replaced IAS 39 “Financial Instruments: Recognition and Measurement” for annual periods beginning on or after January 1, 2018,
  bringing together all three aspects of the accounting for financial instruments: classification and measurement; impairment; and hedge accounting.

        With the exception of hedge accounting, which we applied prospectively, we have applied IFRS 9 retrospectively, with the initial application date
  of January 1, 2018 and adjusting the comparative information for the period beginning January 1, 2017.

         The main changes we identified due to the adoption of IFRS 9 are related to the classification, measurement and impairment of financial assets.
  Although the transition had material impacts on our processes and activities, including reclassifications between categories of financial instruments and
  additional disclosure aspects, the initial adoption of IFRS 9 did not have material effects related to the measurement of financial assets and liabilities and
  derivative financial instruments which could impact the opening balances at transition date, and therefore, there were no adjustments resulting from
  initial adoption, except for the changes in the classification as presented in note 3 of our audited consolidated financial statements included elsewhere in
  this prospectus.


        IFRS 15 – Revenue from Contracts with Customers
        IFRS 15 supersedes IAS 11 Construction Contracts, IAS 18 Revenue and related Interpretations and it applies, with limited exceptions, to all
  revenue arising from contracts with its customers. IFRS 15 establishes a five-step model to account for revenue arising from contracts with customers
  and requires that revenue be recognized at an amount that reflects the consideration to which an entity expects to be entitled in exchange for transferring
  goods or services to a customer.

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         IFRS 15 requires entities to exercise judgement, taking into consideration all of the relevant facts and circumstances when applying each step of
  the model to contracts with their customers. The standard also specifies the accounting for the incremental costs of obtaining a contract and the costs
  directly related to fulfilling a contract. In addition, the standard requires extensive disclosures.

        We adopted IFRS 15 using the full retrospective method of adoption. There is no complexity that would impact the implementation of IFRS 15.
  The process of contract identification, performance obligations, pricing, allocation and the recognition of revenue when performance obligation is
  performed remains substantially unchanged and there was no impact on our consolidated financial statements, except for the required additional
  disclosures.


     New standards, interpretations and amendments adopted in 2019
        IFRS 16 – Lease Operations
        IFRS 16 was issued in January 2016 and supersedes IAS 17 – Leases, IFRIC 4 – Determining whether an Arrangement contains a Lease, SIC-15 –
  Operating Leases-Incentives and SIC-27 – Evaluating the Substance of Transactions Involving the Legal Form of a Lease. IFRS 16 establishes the
  principles for the recognition, measurement, presentation and disclosure of leases and requires lessees to account for all leases under a single model in
  the balance sheet, similar to the recognition of finance leases under IAS 17.

        We have adopted IFRS 16 from January 1, 2019 using the modified retrospective method of adoption, under which the standard is applied
  retrospectively with the cumulative effect of initially applying the standard recognized at the date of initial application and not restated comparatives for
  the 2018 reporting period. The reclassifications and the adjustments arising from the new leasing rules are therefore recognized in the opening balance
  sheet on January 1, 2019.

        We recognized lease liabilities in relation to leases which had previously been classified as ‘operating leases’ under the principles of IAS 17.
  These liabilities were measured at the present value of the remaining lease payments, discounted using the lessee’s incremental borrowing rate as of
  January 1, 2019.

        The associated right-of-use assets related to property and equipment leases above were measured at the amount equal to the lease liability,
  adjusted by the amount of any prepaid or accrued lease payments relating to that lease recognized in the balance sheet as of December 31, 2018.

       As of January 1, 2019, we had lease liabilities recognized of R$148.5 million, less accrued lease payments as of December 31, 2018 of
  R$14.6 million, which amounts to total right-of-use assets of R$133.9 million as of January 1, 2019, represented by (i) properties in an amount of
  R$123.3 million and (ii) equipment in an amount of R$10.6 million.

         As a result of initial adoption, there is no impact to retained earnings in equity on January 1, 2019. Right-of-use assets are presented in a separate
  line item in the balance sheet under “Other assets” group, while the lease liabilities are presented within borrowings in the line item “Borrowings and
  lease liabilities” in the balance sheet.


        IFRIC 23 – Uncertainty over income tax treatments
        The interpretation addresses the accounting for income taxes when tax treatments involve uncertainty that affects the application of IAS 12 –
  Income Taxes. It does not apply to taxes or levies outside the scope of IAS 12, nor does it specifically include requirements relating to interest and
  penalties associated with uncertain tax treatments. The interpretation specifically addresses the following: (1) whether an entity considers uncertain tax
  treatments separately; (2) the assumptions an entity makes about the examination of tax treatments by taxation authorities; (3) how an entity determines
  taxable profit (tax loss), tax bases, unused tax losses, unused tax credits and tax rates; and (4) how an entity considers changes in facts and
  circumstances.

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       An entity has to determine whether to consider each uncertain tax treatment separately or together with one or more other uncertain tax treatments.
  The approach that better predicts the resolution of the uncertainty should be followed. We applied the interpretation and it did not have significant
  impact on the unaudited interim condensed consolidated financial statements.


  JOBS Act
        We are an emerging growth company under the JOBS Act. The JOBS Act provides that an emerging growth company can delay adopting new or
  revised accounting standards until such time as those standards apply to private companies. We have irrevocably elected not to avail ourselves of this
  exemption and, therefore, we will be subject to the same new or revised accounting standards as other public companies that are not emerging growth
  companies.

         Subject to certain conditions set forth in the JOBS Act, if, as an “emerging growth company”, we choose to rely on such exemptions we may not
  be required to, among other things; (1) provide an auditor’s attestation report on our system of internal controls over financial reporting pursuant to
  Section 404; (2) provide all of the compensation disclosure that may be required of non-emerging growth public companies under the Dodd-Frank Wall
  Street Reform and Consumer Protection Act; (3) comply with any requirement that may be adopted by the PCAOB regarding mandatory audit firm
  rotation or a supplement to the auditor’s report providing additional information about the audit and the financial statements (auditor discussion and
  analysis); and (4) disclose certain executive compensation related items such as the correlation between executive compensation and performance and
  comparisons of the CEO’s compensation to median employee compensation. These exemptions will apply for a period of five years following the
  completion of our initial public offering or until we are no longer an “emerging growth company,” whichever is earlier.


  Quantitative and Qualitative Disclosure About Market Risk
        We are exposed to market risks in the ordinary course of our business, including the effects of interest rate changes and foreign currency
  fluctuations. Information relating to quantitative and qualitative disclosures about these market risks is described below and in note 32 to our audited
  consolidated financial statements included elsewhere in this prospectus.

        We conducted a sensitivity analysis for market risks we considered relevant as of September 30, 2019 and December 31, 2018 and 2017. For this
  analysis, we adopted the following three scenarios:
         •     Scenario I, which contemplates an increase in fixed interest rate yields, exchange coupon rates and inflation of 1 basis point, and an
               increase in the prices of shares and currencies of 1 percentage point.
         •     Scenario II, which contemplates 25% increases and decreases in fixed interest rate yields, exchange coupon rates and inflation, assuming
               the largest possible losses per scenario.
         •     Scenario III, which contemplates 50% increases and decreases in pre-fixed interest rate yields, exchange coupon rates, inflation and
               interest rates, assuming the largest possible losses per scenario.

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       The below table sets forth the impact of each scenario on each market risk. It does not account for the risk protocols of our risk and treasury areas,
  which trigger risk mitigation measures as soon as losses are detected, minimizing the risk of significant losses:

                                                                                                                                   As of September 30, 2019
  Trading portfolio                                               Exposures                                                                Scenarios
  Risk factors                                               Risk of variation in:                                       I                    II              III
                                                                                                                                         (R$ millions)
  Pre-fixed                     Pre-fixed interest rate in Reais                                                             (1)              (131)             (234)
  Exchange coupons              Foreign currencies coupon rate                                                                0                  0                 1
  Foreign currencies            Exchange rates                                                                               (1)               (17)              (25)
  Price indexes                 Inflation coupon rates                                                                        0                  8                15
  Shares                        Shares prices                                                                                 0                 40                52
                                                                                                                             (1)              (100)             (191)

                                                                                                                               As of December 31, 2018
  Trading portfolio                                              Exposures                                                             Scenarios
  Risk factors                                              Risk of variation in:                                    I                    II                  III
                                                                                                                                     (R$ millions)
  Pre-fixed                      Pre-fixed interest rate in Reais                                                        (1)                  (11)                  (22)
  Exchange coupons               Foreign currencies coupon rate                                                           0                    (6)                  (12)
  Foreign currencies             Exchange rates                                                                           0                    (1)                   (5)
  Price indexes                  Inflation coupon rates                                                                   0                    (1)                   (2)
  Shares                         Shares prices                                                                            1                    (7)                    5
                                                                                                                          0                   (26)                  (36)

                                                                                                                               As of December 31, 2017
  Trading portfolio                                             Exposures                                                              Scenarios
  Risk factors                                             Risk of variation in:                                 I                       II                   III
                                                                                                                                     (R$ millions)
  Pre-fixed                       Pre-fixed interest rate in Reais                                                       0                    (1)                    (1)
  Exchange coupons                Foreign currencies coupon rate                                                         0                     0                     (1)
  Foreign currencies              Exchange rates                                                                         0                     3                      2
  Price indexes                   Inflation coupon rates                                                                 0                     0                      0
  Shares                          Shares prices                                                                          0                    11                    (14)
                                                                                                                         0                    13                    (14)


     Currency Risk
         We are subject to foreign currency risk as we hold interests in XP Holding International LLC, one of our international financial holding companies
  in the United States, XP Advisors Inc., our finance services consulting company in the United States, and XP Holding UK Ltd, one of our international
  financial holding companies in the United Kingdom, whose equity as of December 31, 2018 totaled US$38 million (US$30 million as of December 31,
  2017), US$0.3 million (US$0.1 million as of December 31, 2017) and GBP 4 million (GBP 335 million as of December 31, 2017) respectively.

        The foreign currency exposure risk of XP Holding International and XP Advisors Inc. is hedged with the objective of minimizing the volatility of
  our functional currency (the real) against the U.S. dollar arising from foreign investments offshore. The foreign currency exposure risk of XP Holding
  UK Ltd has not been hedged.

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        On December 31, 2017, we had indebtedness denominated in U.S. dollars, which was settled in the amount of R$778 million on August 31, 2018.
  As of September 30, 2019, we had no indebtedness denominated in U.S. dollars.


     Interest Rate Risk
         Interest rate risk arises from the possibility that we incur in gains or losses arising from fluctuations in interest rates on our financial assets and
  liabilities. The following are the risk rates that we are exposed to: (1) SELIC rate; (2) IGP-M, the Brazilian general market price index (Índice Geral de
  Preços do Mercado); (3) IPCA, the Brazilian national consumer price index (Índice Nacional de Preços ao Consumidor Amplo); (4) PRE, the Brazilian
  required reference equity index (Patrimônio de Referência Exigido); (5) TJLP, the Brazilian long-term interest rate (Taxa de Juros de Longo Prazo); and
  (6) foreign exchange coupon.

         We have floating interest rate indebtedness, so we are exposed to interest rate risk as a result of changes in the level of interest rates, and any
  increase in interest rates could negatively affect our results of operations and would increase the costs associated with financing our operations. As of
  September 30, 2019 and as of December 31, 2018, substantially all of our total indebtedness consisted of floating rate debt and was principally indexed
  to the CDI. Furthermore, our exposure to interest rate risk also applies to our cash and cash equivalents deposited in interest-bearing accounts which are
  indexed to the CDI, which can affect our results of operations and cash flows.


     Price Risk
        Price risk is the risk arising from price changes in investment fund portfolios and shares listed on the stock exchange held in our portfolio, which
  may affect profit or loss. Price risk is mitigated by our management through the diversification of our portfolio and/or through the use of derivatives
  contracts, such as options or futures. We believe we adopt conservative price risk limits in our risk budget.


     Liquidity Risk
        Liquidity risk relates to maintaining sufficient cash and securities through an adequate amount of committed credit facilities to meet obligations
  when due and to close out market positions. We have a liquidity risk management policy, which aims to ensure a minimum level of liquidity considered
  adequate by our management. This policy establishes actions to be taken in the event of liquidity contingencies, which are designed to reframe cash
  within required minimum liquidity limits. Our risk department is responsible for the structure and management of risks, and is under the supervision of
  the board of directors, for the avoidance of any conflicts of interest with departments requiring liquidity.

        Liquidity risk control is based on forecasts of cash and assets with credit risk. The cash forecast relies on the free funds deposited by customers,
  while fund allocations can be classified according to their settlement or zero settlement periods. The stressed scenario models for delays in private credit
  assets and the extent to which possible stress would affect our liquidity conditions.


     Credit Risk
        Credit risk is the risk of suffering financial losses related to non-compliance by any of our clients and market counterparties with financial
  obligations, agreement devaluations as a result of the deterioration in the risk rating of borrowers, reduced gains or remuneration, and concessions
  granted in the renegotiation of financial arrangements and recovery costs, among others.

        Credit risk includes, among other risks: (1) non-compliance by counterparties with obligations related to the settlement of transactions in financial
  assets, including derivative financial instruments; (2) losses related to

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  non-compliance with financial obligations by borrowers located abroad, as a result of the actions taken by the government of the country in which they
  reside; (3) cash disbursements to honor warranties, co-obligations, credit commitments or other transactions of a similar nature; and (4) losses associated
  with non-compliance by intermediaries or borrower with financial obligations pursuant to financing agreements.

         Our risk department is responsible for managing credit risk, ensuring compliance with our credit risk policy and established operating limits. Our
  credit policy is based on our internal scenario, including portfolio composition by security, issuer, rating, economic activity and duration of the portfolio,
  and on the external economic scenario, including interest rates and inflation, among others. The credit analysis department is also actively involved in
  this process and is responsible for assessing the credit risk of issues and issuers with which we maintain or intend to maintain credit relations, or intend
  to recommend credit risk positions to customers. It also recommends limiting the credit risk positions of customers.

        We use the National Scale Notes from the International Emission Risk Agencies to subdivide portfolios into High, Medium and Low Risk, based
  on an internal rating scale. Management undertakes credit quality analysis of assets that are not past due or reduced to recoverable value. As of
  September 30, 2019, December 31, 2018 and 2017, such assets were substantially represented by securities purchased under agreements to resell, the
  counterparties of which were Brazilian banks with low credit risk, securities issued by the Brazilian government, and derivative financial instruments
  transactions, which are mostly traded on the B3 and which are therefore guaranteed by it.


     Market Risk
         Market risk is the risk that the fair value or future cash flows of a financial instrument will fluctuate because of changes in market prices. Market
  risk comprises three main types of risk: foreign exchange variation, interest rates and share prices. The aim of market risk management is to control
  exposure to market risks, within acceptable parameters, while optimizing returns. Market risk management for operations is carried out through policies,
  control procedures and prior identification of risks in new products and activities, with the purpose to maintain market risk exposure at levels considered
  acceptable by us and to meet the business strategy and limits defined by the risk committee of XP Brazil.

         The main tool used to measure and control our exposure risk to the market, mainly in relation to the trading assets portfolio, is the Maps Luna
  program, which calculates the capital allocation based on the exposure risk factors in the regulations issued by the Central Bank for financial
  institutions, which we apply to verify the risk exposure of our assets. In order to comply with the provisions of the Central Bank, our financial
  institutions monitor our exposure and calculate it on a daily basis, in accordance with CMN Resolution No. 4,557, and submit it daily to the Central
  Bank. With the formalized rules, the risk department of XP Brazil has the objective of controlling, monitoring and ensuring compliance with the
  pre-established limits, and may decline, in whole or in part, to receive and/or execute the requested transactions, upon immediate communication to
  customers, in addition to intervening in cases of non-compliance and reporting all unusual events to the committee.

        In addition to aforementioned controls, we adopt guidelines to control the risk of the assets that mark treasury operations so that the portfolios of
  the participating companies are composed of assets that have low volatility and, consequently, less exposure to risk. In the event of non-compliance with
  the operational limits, the treasury manager can take the necessary measures to remedy this as quickly as possible.


     Operating Risk
        Operating risk is the risk of direct or indirect losses resulting from a variety of internal factors associated with our processes, personnel,
  technology and infrastructure, and with external factors, except for credit, market and liquidity risks, such as those deriving from legal and regulatory
  requirements and from generally accepted standards of business behavior. Operating risks arise from all of our operations. Our objective is to manage

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  operating risk to avoid financial losses and damage to our reputation, and also to seek cost efficiency, avoiding control procedures that restrict initiatives
  and creativity.

        The main responsibility for development and implementation of controls to deal with operating risks is attributed to key management within each
  business unit, and is supported by the development of our general standards for management of operating risks in the following areas: (1) requirements
  of segregation of functions, including independent authorization for transactions; (2) requirements of reconciliation and monitoring of transactions;
  (3) compliance with legal and regulatory requirements; (4) documentation of controls and procedures; (5) requirements of periodic assessment of the
  operating risks faced and the adequacy of the controls and procedures for dealing with the identified risks; (6) development of contingency plans;
  (7) professional training and development; and (8) ethical and business standards.

        Our financial institutions, in compliance with the provisions of CMN Resolution No. 4,557, have a process that encompasses institutional policies,
  procedures, systems and contingency plans and business continuity for the occurrence of external events, in addition to formalizing the single structure
  required by the Central Bank.

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                                                              REGULATORY OVERVIEW

        We are subject to government authorizations in the jurisdictions in which we operate and conduct our activities.


     Our Regulatory Position
       Two of our subsidiaries, XP CCTVM and Banco XP S.A., or Banco XP, perform activities that are subject to regulation in Brazil by the Central
  Bank. As required by the applicable Brazilian regulation, both must possess authorizations from the Central Bank in order to operate, as follows:
         •     XP CCTVM is authorized by the Central Bank to (1) be constituted and operate as a securities broker; (2) carry out operations in the
               foreign exchange market; and (3) receive direct or indirect foreign investments of up to 100% of its capital stock.
         •     Banco XP is authorized by the Central Bank to operate as a multi-purpose bank. On October 10, 2019, the board of officers of the Central
               Bank granted Banco XP’s authorization to operate as a multi-purpose bank, with both commercial and investment bank activities, as well
               as to carry out transactions in the foreign exchange market. The authorization was published in the National Official Gazette (Diário
               Oficial da União) on October 11, 2019. On November 13, 2019, the Central Bank authorized direct or indirect foreign investments in
               Banco XP of up to 100% of its capital stock.

      Four of our subsidiaries, XP CCTVM, XP Gestão, XP Advisory and XP Vista, perform activities that are subject to regulation in Brazil by the
  CVM. As required by the applicable Brazilian regulation, they are authorized to operate by the CVM, as follows:
         •     XP CCTVM is authorized to provide securities portfolio management services and securities custody services; and
         •     each of XP Gestão, XP Advisory and XP Vista is authorized to provide securities portfolio management services.

        Two of our subsidiaries, XP Investments and XP Advisory US, Inc., or XP Advisory US, perform activities that require registration with and
  regulation by appropriate regulatory authorities in the United States, as follows:
         •     XP Investments is (1) registered as a securities broker-dealer with the SEC and in twenty-six U.S. states and territories; (2) registered with
               the U.S. Commodity Futures Trading Commission, or the CFTC, as an introducing broker; and (3) a member of the Financial Industry
               Regulatory Authority, or FINRA, and the National Futures Association, or the NFA, self-regulatory organizations overseen by the SEC and
               the CFTC, respectively; and
         •     XP Advisory US became registered as an investment adviser with the SEC on January 30, 2019. XP Advisory US was previously
               registered as an investment adviser in the state of Florida.

        One of our subsidiaries, Sartus Capital Ltd., or Sartus UK, performs advisory services as an appointed representative acting as an agent for New
  Europe Advisers Ltd., or NEA, which is duly authorized and regulated by the Financial Conduct Authority, or the FCA, subject to the terms and
  conditions set forth in the Appointed Representative Agreement signed on April 28, 2016. On June 28, 2019, we sent a notice of termination of the
  Appointed Representative Agreement to New Europe Advisers Ltd., became effective on September 30, 2019, in order to concentrate our efforts in the
  private and wealth management business in Switzerland through our Swiss subsidiary, XP Private (Europe) SA.

        XP Private (Europe) SA performs activities under the supervision of the Association Romande des Intermédiaires Financiers, or the ARIF, a self-
  regulatory organization (SRO), which is overseen by the Swiss Financial Market Supervisory Authority (FINMA). As required by the applicable
  regulation, in order to provide securities portfolio management services XP Private (Europe) SA became a member of ARIF on September 5, 2016.

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        One of our subsidiaries, XP Investments UK LLP, performs activities that are subject to regulation by the Financial Conduct Authority. As
  required by the applicable regulation, it is authorized and regulated by the FCA and has sufficient permissions to carry out its business, including
  operating as an Organised Trading Facility (OTF).

        Two of our subsidiaries, XP Corretora de Seguros Ltda., or XP CS, and XP VP, perform activities that are subject to regulation by SUSEP. As
  required by the applicable regulation, both have applied for authorizations to operate from SUSEP, which current status is as follows:
         •     XP CS, our insurance broker dealer, is authorized to operate as an insurance brokerage; and
         •     XP VP, our insurance company, is authorized to operate life insurance and private pension plans.


  Regulatory Environment in Brazil
        Our main subsidiaries in Brazil are subject to extensive regulation, such as those applicable to banks (in the case of Banco XP), securities and
  foreign exchange brokers (in the case of XP CCTVM, securities portfolio managers (in the case of XP Gestão, XP Advisory and XP Vista), insurance
  companies and insurance brokers (in the case of XP VP and XP CS, respectively).

        We offer various financial and capital markets services; in particular, we conduct activities related to banking, underwriting, brokerage services,
  portfolio management and insurance.


     Legislation Applicable to Financial Institutions and Portfolio Managers in Brazil
       The current Brazilian banking and financial institutional system was established by Law No. 4,595 of December 31, 1964, as amended, or the
  Banking Law.

         The Banking Law laid out the structure of the national financial system, which is made up of the CMN, the Central Bank of Brazil, Banco do
  Brasil S.A., the National Bank for Economic and Social Development – BNDES, or the BNDES, and other public or private financial institutions. While
  the following entities do not fall under the purview of the Banking Law, they play key roles in the financial system: the CVM, SUSEP, the National
  Superintendency of Pension Plans (Superintendência Nacional de Previdência Complementar), or PREVIC; the CNSP, and the National Council for
  Pension Plans (Conselho Nacional de Previdência Complementar), or CNPC.

        Law No. 4,728 of July 14, 1965, as amended, or Law No. 4,728/65, regulates Brazilian capital markets through setting standards and various other
  mechanisms. Further, pursuant to Law No. 6,385 of December 7, 1976, as amended, or Law No. 6,385/76, the distribution and issuance of securities in
  the market, trading of securities and settlement and/or clearance of securities transactions all require prior authorization by the CVM. The banking and
  capital markets regulatory framework in Brazil is further supplemented by the regulation issued by CMN, CVM and the Central Bank, and self-
  regulation policies, such as those issued by various associations, over-the-counter organized markets and securities exchanges, that govern their
  members and participants, (for example, B3, the Brazilian Association of Financial and Capital Markets Entities, or ANBIMA and the Brazilian
  Association of Investment Analysts, or APIMEC. The incorporation and operation of financial institutions in Brazil depend on prior authorization from
  the Central Bank (and a decree from the Brazilian Executive Branch when the capital stock of such institutions is held by foreign investors – Decree
  10,029, of September 26, 2019, authorized the Central Bank to approve foreign investments in financial institutions, but such decree has yet to be
  regulated by the CMN and the Central Bank), and are also subject to oversight from the CVM when they participate in the Brazilian capital markets
  (such as XP CCTVM).

       Financial institutions in Brazil can operate under various forms – such as commercial banks, investment banks, credit, financing and investment
  companies, cooperative banks, leasing companies, securities brokerage

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  companies, securities distributor companies, real estate credit companies, mortgage companies, among others – all of which are regulated by different
  rules issued by the CMN, the Central Bank, and, if such financial institutions participate in capital markets activities, the CVM. In addition, like
  financial institutions, stock exchanges are also subject to CMN, the Central Bank, and the CVM approval and regulation as well in accordance with Law
  No. 4,728/65.

         Pursuant to Banking Law, CMN Resolution No. 4,122 of August 2, 2012, as amended, or CMN Resolution No. 4,122, and CMN Resolution
  No. 1,655 of October 26, 1989, financial institutions must seek approval from the Central Bank, and, in certain cases, the CVM when appointing
  managers (including directors, officers and members of certain statutory boards, such as fiscal councils). According to Law No. 4,728/65, for securities
  brokerage firms (such as XP CCTVM), managers are subject to further restrictions and are prohibited from working for or fulfilling any administrative,
  advisory, tax or decision-making positions at entities listed on the Brazilian stock exchange. In addition, managers of XP CCTVM are prohibited from
  filling managerial functions in other brokerage firms authorized to carry out foreign exchange transactions pursuant to CMN Resolution No. 1,770, of
  November 28, 1990.

         According to CMN Resolution No. 2,723 of May 31, 2000, with the exception of (1) equity interests typically held in proprietary investment
  portfolios by investment banks, development banks, development agencies (agências de fomento) and multiservice banks (bancos múltiplos); and
  (2) temporary equity interests not categorized as permanent assets (ativos permanentes) by the financial institution, financial institutions must receive
  prior authorization from the Central Bank to hold capital interest of other companies. In order to receive authorization, the financial institutions’
  activities must justify the need to hold capital interest for other companies; however, should the financial institutions participate in underwriting
  activities falling under certain exceptions established by the CMN, they will not need to provide justification.

       In addition, as a principle, according to the Banking Law, Brazilian financial institutions are banned from granting loans or cash advances to their
  managers (officers, directors, and members of advisory boards, as well as their relatives). Certain exceptions to such restrictions are set forth in CMN
  Resolution No. 4,693 of October 29, 2018.

        Furthermore, XP CCTVM and XP VP are required to maintain certain levels of regulatory capital, as determined by the Central Bank and SUSEP,
  respectively. For further information, see note 33(i) to our audited consolidated financial statements and note 23 to our unaudited interim condensed
  consolidated financial statements included elsewhere in this prospectus.


     Securities Brokerage Firms
         Securities trading in stock exchange markets shall be carried out exclusively by securities brokerage firms (such as XP CCTVM) and certain other
  authorized institutions. Brokerage firms are part of the national financial system and are subject to regulation by and the oversight of the CMN, the
  Central Bank and the CVM. Securities brokerage firms must be authorized by the Central Bank to trade on the stock exchange market. Among other
  roles, securities brokerage firms and certain other authorized institutions can act as underwriters in the public offering of financial instruments and may
  participate in the foreign exchange trades in any foreign exchange market, subject to certain limitations, as set forth in Central Bank regulations.

        Brokerage firms are regulated by CMN Resolution No. 1,655 of October 26, 1989, as amended, or CMN Resolution No. 1,655, which allows
  brokerage firms to participate, among others, in the following activities: (1) trading in stock exchanges; (2) underwriting; (3) intermediating public
  offerings; (4) managing investment portfolios; and (5) intermediating foreign currency trades. In addition to CMN Resolution No. 1,655, brokerage
  firms are subject to regulations from the CVM.

         Under the rules set forth by the Central Bank, brokerage firms (such as XP CCTVM) cannot execute transactions that may result in loans,
  facilities or cash advances to their clients, including through synthetic

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  transactions (such as assignment of rights), with the exception of margin transactions and other limited transactions.

       Moreover, brokerage firms can neither charge commissions in connection with trades during primary distribution, nor purchase real property,
  except for their own use or as payment under “bad debts” (in which case, the asset must be sold within a year).


     Third-Party Funds Management
       XP Gestão, XP Advisory, and XP Vista are asset managers licensed to operate by, and subject to the rules and oversight of, the CVM, pursuant to
  Law No. 6,385/76 and CVM Instruction No. 558 of March 26, 2015, as amended, or CVM Instruction No. 558.

       CVM Instruction No. 558 defines asset/portfolio management activities as professional activities directly or indirectly related to the operation,
  maintenance and management of securities portfolios, including the investment of funds in the securities market on behalf of clients.

         CVM Instruction No. 558 provides for two categories of asset managers: (1) trustee administrator and/or (2) portfolio manager, XP Gestão, XP
  Advisory and XP Vista, are registered as portfolio managers. To be authorized by the CVM to engage in such activity, legal entities that operate as asset
  managers must (1) have a registered office in Brazil; (2) have securities portfolio management as a corporate purpose and be duly incorporated and
  registered with the National Register of Legal Entities – CNPJ; (3) have one or more officers duly certified as asset managers as approved by CVM to
  take on liability for securities portfolio management, pursuant to CVM Instruction No. 558; (4) appoint a compliance officer and a risk management
  officer; (5) be controlled by reputable shareholders (direct and indirect), who have not been convicted of certain crimes detailed in article 3, VI of CVM
  Instruction No. 558; (5) who is not unable or suspended from occupying a position in financial institution or other entities authorized to operate by the
  CVM, the Central Bank, SUSEP or PREVIC, and have not been banned from asset management activities by judicial or administrative decisions; (6) put
  in place and maintain personnel and IT resources appropriate for the size and types of investment portfolio it manages; and (7) execute and provide the
  applicable forms to the CVM so as to prove its capacity to carry out such activities, pursuant to CVM Instruction No. 558. Under CVM Instruction
  No. 558, asset management must, among other requirements, conduct their activities in good faith, with transparency, diligence and loyalty with respect
  to their clients and perform their duties with the aim of achieving their investment objectives. This same regulation requires asset managers to maintain a
  website, with extensive current information, including, but not limited to (1) an updated annual filing form (formulário de referência); (2) a code of
  ethics; (3) rules, procedures and a description of internal controls in order to comply with CVM Instruction No. 558; (4) a risk management policy; (5) a
  policy of purchase and sale of securities by managers, employees and the company; (6) a pricing manual for assets from the securities portfolios
  managed by such asset manager, even if the manual has been developed by a third party; and (7) a policy of apportionment and division of orders among
  the securities portfolios.

         Moreover, under CVM Instruction No. 558, asset management firms are forbidden from (1) making public assurances of profitability levels based
  on the historical performance of portfolio and market indexes; (2) modifying the basic features of the services they provide without following the prior
  appropriate procedures under the asset management agreement and regulations; (3) making promises as to future results of the portfolio; (4) contracting
  or granting loans on behalf of their clients, subject to certain exceptions set out in regulation; (5) providing a surety, corporate guarantee, acceptance or
  becoming a joint obligor in any other form, with respect to the managed assets; (6) neglecting, under any circumstances, the rights and intentions of the
  client; (7) trading the securities from the portfolios they manage with the purpose of obtaining brokerage revenues or rebates for themselves or third
  parties; or (8) subject to certain exceptions set out in the regulation, acting as a counterparty, directly or indirectly, to clients.

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     IFAs
         The activity of IFAs (agentes autônomos de investimentos) is regulated by CVM Instruction No. 497 of June 3, 2011, as amended, or CVM
  Instruction No. 497, and Comment Letter No. 4/2018-CVM/SMI. Pursuant to such rules, IFAs are individuals, acting as agents and representatives for
  an institution integrating securities distribution systems, registered with the CVM to conduct client development and attraction, to receive and register
  orders and transmit such orders to the appropriate trading or registration systems and to provide information on the products offered and on the services
  provided by the institution that hired them. Although they are individuals, CVM Instruction No. 497 allows IFAs to carry out their activities through an
  unlimited liability partnership (sociedades simples) or sole proprietorship (firma individual), incorporated for this specific purpose, which must also be
  registered with the CVM. The IFAs must be engaged by an institution integrating the securities distribution system.

        In carrying out its services, the IFA must act with integrity, good faith and professional ethics, applying the care and diligence expected from a
  professional in its position, with respect to clients and its employer.

        As set forth in CVM Instruction No. 497, IFAs (or the legal entities incorporated by them) are prohibited from certain activities, including, but not
  limited to:
         •     receiving from or giving to clients or on behalf of clients, for any reason, and as remuneration for the rendering of any services, money,
               bonds or securities or other assets; acting as an attorney-in-fact or representative of clients before institutions that are part of the securities
               distribution system, for any purpose; and
         •     contracting with clients or performing, even if free of charge, services related to securities portfolio management, consultancy or analysis
               of securities.

        In addition, the following provisions of CVM Instruction No. 497 are noteworthy:
         •     IFAs must work exclusively for one principal and may only act for one intermediary, with the exception of the distribution of quotas of
               investment funds by IFAs;
         •     agents shall be transparent with their clients regarding details of their employer and its contractual relationship with the investor;
         •     IFA acting through a legal entity (pessoa jurídica) may not accept partners that are not accredited as IFAs; and
         •     agents must not delegate to third parties, in whole or in part, obligations under their contract with their employer.

       The brokerage firms are responsible for verifying their respective IFAs and for overseeing their activities and compliance with the applicable law.
  They may even be held responsible for malpractice or misconduct by such agents acting in their capacities as such.

         On July 1, 2019, the CVM issued Public Hearing Release SDM No. 03/19, or Release SDM 3/19, which may result in significant changes in CVM
  Instruction No. 497, such as: (1) providing authorization for IFAs incorporated as corporations, limited liability partnerships and/or other partnerships;
  (2) abolishing or creating exceptions to the exclusivity rule that IFAs are subject to; and (3) amending transparency rules in connection with the
  activities of IFAs, in particular the disclosure of compensation received by IFAs (which is currently not required to be disclosed to investors). According
  to Release SDM 3/19, suggestions from the general public were to be provided by August 30, 2019. We cannot predict what actual changes may arise
  from such process. Please see “Risk Factors—Certain Risks Relating to Our Business and Industry—XP CCTVM depends in part on the performance of
  its IFAs. If XP CCTVM is unable to hire, retain and qualify such IFAs, our business may be harmed.”

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     Multi-purpose Banks
        According to CMN Resolution No. 2,099 of August 17, 1994, Brazilian multi-purpose banks (such as Banco XP) are subject to extensive and
  continuous regulatory scrutiny by Brazilian authorities. Multi-purpose banks conduct at least two types of banking activities, provided that at least one
  of such activities falls into either the category of commercial or investment banking. Banking regulation is enforced by the relevant government entities
  and regulators with the goal of controlling credit availability and reducing or increasing consumption.

        Certain controls are temporary in nature and may vary from time to time in accordance with the relevant government’s or regulator’s credit
  policies, including:
         •     minimum capital requirements;
         •     compulsory reserve requirements;
         •     lending limits and other credit restrictions; and
         •     accounting and statistical requirements.

        The following rules are applicable to multi-purpose banks, such as Banco XP:
         •     they shall ensure the adequacy of products and services for customers’ needs, interests and objectives, as well as the integrity, reliability,
               security and confidentiality of transactions, services and products;
         •     they may not own real estate other than the property they occupy, unless they take possession of real estate in satisfaction of a debt or when
               expressly authorized by the Central Bank, subject to certain CMN rules. Moreover, the total amount of fixed assets must be limited to
               50.0% of the institution’s regulatory working capital;
         •     they shall comply with the principles of selectivity, guarantee, liquidity and risk diversification;
         •     financial institutions are prohibited from granting loans or advances without an appropriate agreement formalizing such debt;
         •     financial institutions may not grant loans to, or guarantee the transactions of, their affiliates, except in certain limited circumstances (see
               “—Transactions with Affiliates” below);
         •     the registered capital and total net assets of financial institutions must be compatible with the rules governing share capital and minimum
               capitalization enforced by the Central Bank for each type of financial institution; and
         •     financial institutions shall maintain internal policy and procedures governing their relationships with clients and users of their products and
               services.

        In recent years, CMN has issued rules with the intention of modernizing financial services and retail banking. On September 26, 2019, CMN
  issued Resolution 4,753, which, effective as of January 1, 2020, replaces and consolidates a series of sparse CMN Resolutions dealing with the opening
  of bank accounts, which were issued over the years due to changes made to enable the creation of new products and services for specific public/clients,
  such as the rules applicable to “simplified accounts”, governed by Resolution No. 3,211, of June 30, 2004, and the CMN Resolution 4,480 of April 25,
  2016, as amended, which regulated the opening and closing of bank deposit accounts by Brazilian residents through the exclusive use of electronic
  means and set forth terms and conditions applicable thereto. In addition, pursuant to CMN Resolution 4,479 of April 25, 2016, CMN created exemptions
  to requirements applicable to physical bank branches for bank accounts opened through electronic means. CMN Resolution 4,753 amended and
  consolidated many of these disparate rules enacted over the years, effective as of January 1, 2020.

       Aiming to enable the use of more modern and efficient technology for the purpose of attracting new customers through electronic service
  channels, a process known as digital onboarding, CMN Resolution

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  No. 4,753 removed from the regulatory framework several existing restrictions arising from the adoption of procedures relating to physical handling of
  documents, such as the requirement that the identification and location details of the client should be physically checked, as contained in Article 32 of
  Resolution No. 2,025, of 1993. The Central Bank acknowledged that there currently are more efficient and secure ways of verifying data by electronic
  means, which reduces administrative costs.

         The integration of modern technology such as Application Programming Interfaces, or APIs, big data and blockchain/DLT, has incentivized the
  CMN and the Central Bank to develop new rules in connection with Agenda BC+. The regulatory framework tends to evolve accordingly. With this aim
  in mind, regulatory authorities are striving to create technological solutions that would plug the gaps from traditional inefficiencies in the banking
  system. The regulators have expressed significant interest in the benefits and efficiencies that such technology may bring to the banking industry and to
  its financial inclusion strategies.

         According to CMN Resolution No. 4,658 of April 26, 2018, as amended by CMN Resolution No. 4,752, of September 26, 2019, financial
  institutions and other institutions authorized to operate by the Central Bank must implement cybersecurity policies in order to ensure the integrity of
  their data systems. Under the Resolution, which regulates cybersecurity policies and the requirements for contracting data processing, storage and cloud
  computing services, covered institutions are required to appoint an officer who will be responsible for implementing and overseeing cybersecurity
  policy, and to adopt procedures and controls to prevent and respond to cybersecurity incidents.

        The Cybersecurity Regulation also requires relevant institutions to provide an annual report to the Central Bank disclosing any cybersecurity
  incidents, as well as remediation efforts. In addition, communication to the Central Bank is required should any third-party service providers be hired for
  data processing, storage and cloud computing services. When services are rendered abroad, there are additional requirements for contracting, including
  the existence of a cooperation agreement between the Central Bank and the supervisory authority of the foreign country, or, absent such cooperation
  agreement, such contracting is subject to the prior approval of the Central Bank.

       This year, the Ministry of Economy, the Central Bank, the CVM and SUSEP publicly announced their intention to implement a regulatory
  sandbox model in Brazil. The implementation of such a regulatory regime is expected to promote the development of more inclusive and higher quality
  products and services and to foster constant innovation in the financial, security and capital markets.


     Main Regulatory Entities
        National Financial System
        The main regulatory authorities in the Brazilian financial system are the CMN, the Central Bank and the CVM. In addition, most Brazilian
  investment banks, brokerage firms, securities distributers and asset managers are associated with and subject to the self-regulatory rules issued by
  ANBIMA.

        In addition, trading segments managed by B3 are self-regulated and supervised by BSM – Supervisão de Mercados, or BSM, a non-profit
  organization that forms part of the B3 group.

        We present below a summary of the main duties and powers of each regulatory agent, ANBIMA and BSM.


        CMN
        CMN is the main monetary and financial policy authority in Brazil, responsible for creating financial, credit, budgetary and monetary rules.

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         According to Banking Law, the CMN’s main responsibilities are to oversee the regular organization, operation and inspection of entities that are
  subject to the Banking Law, as well as the enforcement of applicable penalties. In addition, Law No. 4,728/65 delegates to the CMN the power to set
  general rules for underwriting activities for resale, distribution or intermediation in the placement of securities, including rules governing the minimum
  regulatory capital of the companies that contemplate the underwriting for resale and distribution of instruments in the market and conditions for
  registration of the companies or individual firms which contemplate intermediation activities in the distribution of instruments in the market. The CMN
  has the power to regulate credit transactions involving Brazilian financial institutions and Brazilian currency, supervise the foreign exchange and gold
  reserves of Brazil, establish saving and investment policies in Brazil and regulate the Brazilian capital markets. The CMN also oversees the activities of
  the Central Bank, the CVM and SUSEP. Other CMN responsibilities include:
         •     coordinating monetary, credit, budget and public debt policies;
         •     establishing policies on foreign exchange and interest rates;
         •     seeking to ensure liquidity and solvency of financial institutions;
         •     overseeing activities related to the stock exchange markets;
         •     regulating the structure and operation of financial institutions;
         •     granting authority to the Central Bank to issue currency and establish reserve requirement levels; and
         •     establishing general guidelines for the banking and financial markets.


        The Central Bank
        The activities of financial institutions are subject to limitations and restrictions. The Central Bank is responsible for (1) implementing those CMN
  policies that are related to monetary, credit and foreign exchange control matters; (2) regulating Brazilian financial institutions in the public and private
  sectors; and (3) monitoring and regulating foreign investments in Brazil. The President of the Central Bank is appointed by the President of Brazil
  (subject to ratification by the Senate) for an indefinite term.

         Banking Law delegated to the Central Bank the responsibility of permanently overseeing companies that directly or indirectly interfere in the
  financial and capital markets, controlling such companies’ operations in the foreign exchange market through operational proceedings and various
  modalities, and supervising the relative stability of foreign exchange rates and balance of payments. In addition, Law No. 4,728/65 states that the CMN
  and the Central Bank shall exercise their duties related to the financial and capital markets with the purpose of, among other things, facilitating the
  public’s access to information related to bonds or securities traded in the market and on the companies that issue them, protecting investors against
  illegal or fraudulent issuances of bonds or securities, preventing fraud and manipulation modalities intended to create artificial conditions of the demand,
  supply or pricing of bonds or securities distributed in the markets and ensuring the observance of equitable commercial practices by all of those
  professionals who participate in the intermediation of the distribution or trading of bonds or securities. The Central Bank has authority over brokerage
  firms, financial institutions, companies or individual firms performing underwriting for resale and distribution of bonds or securities, and maintains a
  record on, and inspects the transactions of, companies or individual firms that carry out intermediation activities in the distribution of bonds or
  securities, or which conduct, for any purposes, the prospecting of popular savings in the capital market.

        Other important responsibilities of the Central Bank are as follows:
         •     controlling and approving the organization, operation, transfer of control and corporate reorganization of financial institutions and other
               institutions authorized to operate by the Central Bank;
         •     managing the daily flow of foreign capital and derivatives;

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         •     establishing administrative rules and regulation for the registration of foreign investments;
         •     monitoring remittances of foreign currency;
         •     controlling the repatriation of funds (in case of a serious deficit in Brazil’s payment balance, the Central Bank may limit remittances of
               profits and prohibit remittances of capital for a limited period);
         •     receiving compulsory collections and voluntary deposits in cash from financial institutions;
         •     executing rediscount transactions and granting loans to banking financial institutions and other institutions authorized to operate by the
               Central Bank;
         •     intervening in the financial institutions or placing them under special administrative regimes, and determining their compulsory
               liquidation; and
         •     acting as depositary of the gold and foreign currency.


        CVM
        The CVM is a federal authority responsible for implementing the CMN’s policies related to the Brazilian capital market and for regulating,
  developing, controlling and inspecting the securities market.

        The main responsibilities of the CVM are the following:
         •     regulating the Brazilian capital markets, in accordance with Brazilian corporation law and securities law;
         •     setting rules governing the operation of the securities market;
         •     defining the types of financial institutions that may carry out activities in the securities market, as well as the kinds of transactions that they
               may perform and services that they may provide in such market;
         •     controlling and supervising the Brazilian securities market through, among others:
       (1)     the approval, suspension and de-listing of publicly held companies;
       (2)     the authorization of brokerage firms to operate in the securities market and public offering of securities;
       (3)     the supervision of the activities of publicly held companies, stock exchange markets, commodities and future markets, financial investment
               funds and variable income funds;
       (4)     the requirement of full disclosure of relevant events that affect the market, as well as the publication of annual and quarterly reports by
               publicly held companies;
       (5)     the imposition of penalties; and
         •     permanently supervising the activities and services of the securities market, as well as the dissemination of information related to the
               market and the amounts traded therein, to market participants.

        The CVM has jurisdiction to regulate and supervise financial investment funds and derivatives markets, a role previously fulfilled by the Central
  Bank. Pursuant to Law No. 10,198 of February 14, 2001, as amended, and Law No. 10,303 of October 31, 2001, the regulation and supervision of both
  financial mutual funds and variable income funds and of transactions involving derivatives were transferred to the CVM. In compliance with the
  Brazilian legislation, the CVM is managed by a President and four officers, all of whom are appointed by the President of the Republic (and approved
  by the Senate). The persons appointed to the CVM shall have strong reputations and be recognized as experts in the capital markets sector. CVM
  officers are appointed for a single term of office of five years, and one-fifth of the members shall be renewed on an annual basis.

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        All decisions issued by the CVM and by the Central Bank in administrative proceedings on the topics of the national financial system and the
  foreign exchange market are subject to appeal before the Appeals Council of the National Financial System, which is composed of members appointed
  by public authorities and members of the private sector.

        The CVM is also responsible for determining and regulating the performance of IFAs. Due to the relevance of the IFAs and our subsidiaries, we
  highlight below the relevant regulatory frameworks such entities are subject to.


     Pension and Insurance
        SUSEP and CNSP
      In Brazil, the regulation of insurance, co-insurance, retrocession, capitalization, supplementary pension schemes and brokerage is carried out by
  CNSP and SUSEP.

        SUSEP is an independent agency in charge of implementing and conducting the policies established by CNSP and the supervision of the
  insurance, co-insurance, retrocession, capitalization, supplementary pension schemes and brokerage. SUSEP neither regulates nor supervises (1) the
  supplementary pension entities that are regulated by the SPC; and (2) the operators of private healthcare assistance plans, which are regulated by ANS.
  With the enactment of Supplementary Law No. 126 on January 15, 2007, the CNSP and SUSEP are also responsible for the regulation of the Brazilian
  reinsurance market.

       CNSP is made up of one representative of each one of the following bodies: Ministry of Social Security, the Central Bank, Ministry of Economy,
  Ministry of Justice, the CVM and the superintendent of SUSEP – Private Insurance Authority.

         The supplementary insurance and pension sectors in Brazil are subject to overlapping regulations. Decree-Law No. 73 of November 21, 1966, as
  amended, sought to centralize the legislation and inspection activities in the sector by creating the National Private Insurance System – SNSP, composed
  of (1) CNSP; (2) SUSEP; (3) insurance companies duly authorized to operate in the private insurance market; (4) the reinsurance companies; and
  (5) duly qualified and/or registered insurance brokers. CNSP is linked to the Ministry of Economy and its main roles include: establishing the guidelines
  and rules for the private insurance policy in Brazil; regulating the incorporation, organization, operations, and inspection of insurers, reinsurers,
  supplementary open pension funds, and capitalization companies, as well as establishing capital thresholds for such entities; establishing the general
  characteristics of insurance and reinsurance contracts; establishing general guidelines for insurance, reinsurance, supplementary open pension funds, and
  capitalization operations; establishing general accounting and statistical rules, as well as legal, technical, and investment limits for the operations of
  insurers, reinsurers, supplementary open pension funds, and capitalization companies; and regulating insurance and reinsurance broker activities and
  profession.

         SUSEP’s main roles include: processing application requests of incorporation, organization, operations, and inspecting insurers, reinsurers,
  supplementary open pension funds, and capitalization companies; issuing instructions and circular letters in connection with the regulation of insurance,
  reinsurance, supplementary open pension funds, and capitalization operations, in accordance with CNSP guidelines; setting forth the conditions of
  insurance plans to be used by the insurer market; approving limits for the operations of supervised companies; authorizing the use and release of assets
  and amounts given in guaranty for technical provisions and discretionary capital; inspecting and implementing the general accounting and statistical
  rules set forth by CNSP; inspecting the operations of supervised companies; and conducting the liquidation of supervised companies.

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     Self-Regulatory Entities
        ANBIMA
        ANBIMA is a private self-regulatory association of investment banks, asset managers, securities brokers and investment advisers, which, among
  other responsibilities, establishes rules as well as codes of best practices for the Brazilian capital market, including punitive measures in case of
  noncompliance with its rules.


        BSM
        BSM supervises these markets and monitors operations, orders and trades executed in trading environments, supervises market participants and, if
  necessary, imposes penalties against those who infringe regulations.

        Working in close collaboration with CVM and the Central Bank, BSM acts to ensure that institutions and their professionals comply with market
  regulations, by:
         •      conducting market surveillance – BSM monitors all orders and trades in B3’s markets in order to identify signs of irregularities;
         •      auditing – BSM audits all B3 participants to ensure their compliance with the regulations and to identify possible violations of market
                rules;
         •      imposing punitive processes and other enforcement actions – when violations of regulations occur, BSM adopts guidance, persuasion or
                disciplinary measures such as letters of recommendation, letters of censure or administrative sanctioning proceedings, in accordance with
                the severity of the violation that has been identified; in addition, BSM can, in connection with administrative sanctioning proceedings,
                apply penalties to or enter into Terms of Commitment (termo de compromisso) with the accused;
         •      providing compensation for loss – BSM analyzes and adjudicates complaints presented to the Investor Compensation Mechanism (MRP),
                which awards damages of up to R$120,000 to investors harmed by a B3 participant’s inappropriate activity; and
         •      facilitating market development – BSM develops education initiatives, rule enhancements and institutional relationships with market
                participants, regulatory bodies and international organizations.


  Other Rules
     Adequacy of Capital and Limits of Exposure and Other Solvency Rules
         The financial institutions are subject to an extensive set of rules issued by the CMN and the Central Bank related to capital amounts, exposure
  limits and other solvency rules that follow principles recommended by the Basel Committee, especially in view of the systemic risks associated with the
  relationship and activity of the financial institutions. As such, the CMN and the Central Bank sought to guarantee the solvency of the financial system
  and mitigate systemic risks.

        With this aim, CMN Resolution No. 2,099 of August 17, 1994, as amended, or CMN Resolution No. 2,099, established minimum capital and net
  equity requirements for various types of financial institutions. For example, the CMN set a minimum capital amount and net equity amount of
  R$1.5 million for brokerage firms providing firm guarantee of underwriting of securities, in the manner operated by XP CCTVM, and R$17.5 million
  for multi-purpose banks, such as Bank XP after all due approvals from the Central Bank.

       In accordance with the Basel Committee principles, other relevant rules for financial institutions are CMN Resolution Nos. 4,192 and 4,193,
  which set out the methodology for calculating the reference capital and the ascertainment of the minimum requirements for the reference capital, the
  main capital and additional capital. Said resolutions are complemented by various Central Bank circulars and circular letters, among which is Central
  Bank Circular No. 3,644 of March 4, 2013.

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         CMN Resolution No. 4,557 of February 23, 2017, or CMN Resolution No. 4,557, unifies and expands Brazilian regulation on risk and capital
  management for Brazilian financial institutions and other institutions authorized to operate by the Central Bank. The rule is also an effort to incorporate
  recommendations from the Basel Committee on Banking Supervision into Brazilian regulation. The rule states that risk management must be conducted
  through an unified effort by the relevant entity (i.e., not only must risks be analyzed on an individual basis, but financial institutions and other
  institutions authorized to operate by the Central Bank must also control and mitigate adverse effects caused by the interaction of different risks). It also
  strengthens the rules and requirements related to risk management governance and expanded on the competence requirements and duties of the risk
  management officer.

        The rule sets out different structures for risk and capital management, which are applicable for different risk profiles set out in the applicable
  regulation. Consequently, less sophisticated financial institution can have a simpler risk management structure, while institutions with more complexity
  must follow stricter protocols.

        Insurance companies are also subject to an extensive set of laws and regulations governing solvency, notably CNSP Resolution No. 321/2015 and
  Circular SUSEP No. 517/2015, which outline minimum regulatory capital parameters, prudential accounting adjustments, limitations on collateral assets
  supporting insurance reserves (ativos garantidores) and other related rules.

         An insurance company’s minimum regulatory capital may vary from time to time in light of periodic risk-based calculations required by such
  regulations. Factors such as the risk profile of the insurance portfolio, credit risk of clients, general market-related risks and other indicators may result
  in the increase or decrease of regulatory capital over time, with corresponding effects of requiring additional capital or releasing capital, as the case may
  be. Insurance companies have limited control over the variation of such factors, and therefore may be required from time to time to make capital
  contributions exceeding their projections.

        The aforementioned rules also contemplate the creation of various levels of internal and external controls overseeing solvency, such as auditing by
  independent actuaries, establishing internal audit committees for companies exceeding certain financial thresholds, limiting acceptable assets for
  purposes of covering insurance reserves, requiring monthly reporting to the insurance regulator, among other requirements.


     Internal Compliance Procedures
        All financial institutions shall maintain internal guidelines and procedures to control their financial, operational and managerial information
  systems and shall comply with all the applicable legislation. CMN Resolution No. 4,595 of August 28, 2017, states that Brazilian financial institutions
  and other institutions authorized to operate by the Central Bank shall implement and maintain a compliance policy compatible with the nature, size,
  complexity, structure, risk profile and business model of the institution.

        According to CMN Resolution No. 2,554 of September 24, 1998, the executive officers of the financial institution are responsible for
  implementing an efficient structure of internal control, by defining responsibilities and control procedures and establishing corresponding objectives and
  procedures throughout all levels of the institution. The executive officers are also responsible for verifying compliance with all internal procedures. The
  internal audit department of a financial institution reports directly to the executive officers or directors of the institution, as applicable.


     Laws on Insolvency of Financial Institutions in Brazil
        Financial institutions are subject to the procedures set out by Law No. 6,024 of March 13, 1974, as amended, or Law No. 6,024/74, and
  Decree-Law No. 2,321 enacted on February 25, 1987, as amended, which set out the provisions applicable to intervention, temporary administration or
  extrajudicial liquidation by the Central Bank, as well as to bankruptcy proceedings.

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        Temporary Administration
         As per the Decree-Law No. 2,321, the Central Bank may assume the temporary administration of a Brazilian financial institution in certain
  situations, determining the temporary special administration regime.

         The Central Bank is the authority empowered to determine this sort of regime, which shall take place (1) in case the financial institution
  (i) performs recurring practices against the economic and financial policies provided in federal law; (ii) faces a shortage of assets; (iii) fails to comply
  with the compulsory banking reserve rules; (iv) has a reckless or fraudulent management, or (2) in case of the existence of any of the reasons for an
  intervention by the Central Bank, as provided for in Law No. 6,024/74.

        The administration of the financial institution subject to this temporary administration will be carried out by a directive board named by the
  Central Bank, with ordinary management powers. The financial institution administrators and members of the board of auditors have their mandates
  immediately terminated. The directive board is expected to issue one or more reports to the Central Bank based on which the regulatory authority shall
  decide on the actions to be taken in relation to the financial institution.

         The temporary administration regime ceases (1) if the Federal Government takes control over the financial institution; (2) in case the financial
  institutions go through a corporate restructuring, merger, spin-off, amalgamation or transfer of its controlling interest; (3) in case of normalization of the
  situation of the finance institution, at Central Bank’s discretion; or (4) with the Central Bank decision for its extrajudicial liquidation.


        Intervention and Extrajudicial Liquidation
        Intervention and extrajudicial liquidation occur when a financial institution is in a precarious financial condition or upon the occurrence of
  triggering events that may impact its creditors’ situation. Such measures are imposed by the Central Bank in order to avoid the entity’s bankruptcy.


        Intervention
         Law No. 6,024/74 granted the Central Bank the power to appoint a liquidator to intervene in the transactions or liquidate any financial institution
  other than public financial institutions controlled by the Federal Government. The intervention may be ordered at Central Bank’s discretion, if the
  following is verified:
         •      due to mismanagement, the financial institution has suffered losses exposing creditors to risk;
         •      the financial institution has consistently violated Brazilian banking laws or regulation; or
         •      such intervention constitutes a viable alternative to the liquidation of the financial institution.

         Effective the date on which it is ordered, the intervention will automatically trigger the following: (1) suspension of the enforceability of payable
  obligations; (2) suspension of the maturity of previously contracted and imminently due obligations; and (3) the freezing of deposits already existing on
  the date of its determination. The intervention shall cease (1) if the interested parties, presenting the necessary guarantees, at the Central Bank’s
  discretion, undertake to continue the company’s economic activities; (2) at the Central Bank’s discretion, the entity’s situation has been normalized; or
  (3) if extrajudicial liquidation or bankruptcy of the entity is ordered.

        The intervention may also be ordered upon request of the management of the financial institution. Any intervention period may not exceed six
  months, and may be extended once, by up to six additional months, by the Central Bank. The intervention procedure shall terminate if the Central Bank
  determines that the factors that motivated the intervention have been eliminated or upon the presentation of adequate guarantees by interested parties.
  On the other hand, the Central Bank may order the extrajudicial liquidation of the institution or authorize the intervener to request the bankruptcy
  thereof. According to Law No. 6,024/74, the intervention may be

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  converted in a bankruptcy proceeding, currently governed by Law No. 11,101 of February 9, 2005 (which is the Law governing the Bankruptcy and
  Receivership of Companies, referred hereinafter as the LFRJE), if, among others, the assets of the institution under intervention are not enough to cover
  at least 50% of the amount of its outstanding unsecured credit.


        Extrajudicial Liquidation
        In accordance with Law No. 6,024/74, extrajudicial liquidation is an administrative procedure ordered by the Central Bank (not applicable to the
  financial institutions controlled by the Federal Government) being enforced by a liquidator appointed by the Central Bank.

        This measure aims to terminate the activities of a troubled financial institution, removing it from the Brazilian national financial system,
  liquidating its assets and paying its liabilities, as in an extrajudicially decreed bankruptcy.

        The Central Bank will order the extrajudicial liquidation of the financial institution if:
         •      the economic or financial situation of the institution is at risk, particularly when the institution fails to comply with its obligations in a
                timely manner, or upon occurrence of an event that indicates a state of insolvency according to LFRJE’s rules;
         •      management seriously violates the banking laws, rules or regulation;
         •      the institution suffers a loss that subjects its unprivileged and unsecured creditors to severe risk; or
         •      upon revocation of the authorization to operate, the institution fails to initiate, within 90 days, its ordinary liquidation, or, if initiated, the
                Central Bank verifies that the pace of the liquidation may harm the institution’s creditor.

        Extrajudicial liquidation may also be ordered upon the request of a financial institution’s management, if its bylaws entitle it to do so or upon
  request by the intervener, with an indication of the causes of the request.

        The decree of extrajudicial liquidation shall trigger the following: (1) suspend the actions or foreclose on rights and interests relating to the
  collection of the entity being liquidated, so that no other actions or executions may be brought during the liquidation; (2) accelerate the obligations of
  the entity being liquidated; (3) stall the statute of limitations with respect to the obligations assumed by the institution; (4) trigger the penal clauses
  provided in unilateral agreements that became due by virtue of the extrajudicial liquidation; (5) ratably deduct interest, against the estate, until the date
  when the debts are paid in full; and (6) preclude claims for monetary correction of any passive currencies or pecuniary penalties for infringement of
  criminal or administrative laws.

        Extrajudicial liquidation procedures may be terminated (a) if the financial institution is declared bankrupt or (b) by decision of the Central Bank
  upon the following events: (1) full payment of the unsecured creditors; (2) change of corporate purpose of the institution to an economic activity that is
  not part of the CMN; (3) transfer of the controlling interest of the financial institution; (4) conversion into ordinary liquidation; (5) exhaustion of the
  assets owned by the financial institution upon its full realization and distribution of the proceeds among the creditors, even if full payment of the credits
  did not occur; or (6) acknowledgement by the Central Bank that the remaining assets are illiquid or of difficult disposal.


        Repayment of Creditors in an Extrajudicial Liquidation or Bankruptcy
         In November 1995, the CMN created the Credits Guarantee Fund, or the FGC, according to CMN Resolution No. 2,197, of August 31, 1995, most
  recently amended and superseded by CMN Resolution No. 4,222, of May 23, 2013, in order to guarantee the payment of funds deposited with financial
  institutions in the event of intervention, extrajudicial liquidation, bankruptcy or other states of insolvency. The FGC is mainly funded by mandatory
  contributions from all Brazilian financial institutions that work with customer deposits.

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         The FGC is a deposit insurance system that guarantees, pursuant to CMN Resolution No. 4,688 of September 25, 2018, as amended, a maximum
  amount of R$250,000 of deposit and certain credit instruments held by a customer against a financial institution (or against member financial institutions
  of the same financial group) and a maximum amount of R$1.0 million per creditor against the set of all consolidated financial institutions every four
  years. The liability of the participating institutions is limited to the amount of their contributions to the FGC, with the exception that in limited
  circumstances if FGC payments are insufficient to cover insured losses, the participating institutions may be asked for extraordinary contributions and
  advances. The payment of unsecured credit and customer deposits not payable under the FGC is subject to the prior payment of all secured credits and
  other credits to which specific laws may grant special privileges.

      In addition, Law No. 9,069 was enacted in 1995, sets forth that compulsory deposits maintained by financial institutions with the Central Bank are
  immune to actions by a bank’s general creditors for the repayment of debts.


     Transactions with Affiliates
         The Banking Law (paragraph 4, article 34), as amended by Law No. 13,506 of November 13, 2017, or Law No. 13,506, prohibits financial
  institutions from conducting credit transactions with related parties, except in certain specific circumstances as provided below. Pursuant to CMN
  Resolution No. 4,693 of October 29, 2018, the following persons are considered related parties of a financial institution for the purpose of such
  restriction:
        (a)    its controlling shareholders (individuals or legal entities), pursuant to Article 116 of Law No. 6,404/76;
        (b)    its officers and members of statutory or contractual bodies;
        (c)    spouses, partners and blood relatives up to the second degree of individuals specified in items (a) and (b);
        (d)    its individual shareholders with stakes equal to or greater than 15% in its capital, or Qualified Equity Interest; and
        (e)    its legal entities:
               i.     with Qualified Equity Interest in the financial institutions’ capital stock;
               ii.    in which capital, directly or indirectly, the financial institution holds Qualified Equity Interest;
               iii.   in which the financial institution holds effective operational control or relevance in the deliberations, regardless of the equity interest
                      held; and
               iv.    with a common officer or board member in relation to the financial institution.

         The following credit transactions with related parties are exempt from the prohibition referred to above: (1) transactions carried out under market-
  compatible conditions, without additional benefits or privileges when compared to transactions granted to other clients of the same profile of the
  respective institutions; (2) transactions with companies controlled by the Federal Government, in the case of federal public financial institutions;
  (3) credit transactions whose counterparty is a financial institution that is part of the same prudential conglomerate, provided that they contain a
  contractual subordination clause, subject to the provisions of item V of art. 10 of the Banking Law, in the case of banking financial institutions;
  (4) interbank deposits; (5) obligations assumed between related parties as a result of liability imposed on clearinghouse participants or providers of
  clearing and settlement services authorized by the Central Bank or by the CVM; and (6) other cases authorized by CMN Resolution No. 4,693.

        According to CMN Resolution No. 4,693, as of April 1, 2019, all financial institutions must adopt internal policies regulating transactions with
  related parties.

         Brazilian Law No. 7,492 enacted on June 16, 1986, which regulates crimes against the Brazilian financial system, criminalized the extension of
  credit by a financial institution to certain related parties mentioned in the

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  Banking Law, which are any of its controlling individuals or entities, directors or officers, members of statutory or contractual bodies and certain of their
  family individual members or legal entities with a qualified interest in the financial institution, as well as any legal entity with qualified interest in the
  financial institution or in which the financial institution has a qualified interest, either direct or indirect, under common effective control or with
  common officers or directors.


     Punitive Sanctions
        Legal violations under Brazilian banking and/or securities laws may lead to administrative, civil and criminal liability. Offenders may be
  prosecuted under all three legal theories separately, before different courts and regulatory authorities, and face different sanctions with respect to the
  same legal offense.

        Law No. 13,506, Central Bank Circular No. 3,857 of November 14, 2017, and CVM Instruction No. 607 of June 18, 2019, regulate administrative
  sanctioning proceedings as well as the various penalties, consent orders, injunctive measures, fines and administrative settlements imposed by the
  Central Bank and the CVM.

        Law No. 13,506 is noteworthy, as it:
        (1)     sets fines imposed by the Central Bank of up to R$2 billion or 0.5% of the entity’s revenue, arising from services and financial products
                provided in the year prior to the violation;
        (2)     limits fines imposed by the CVM to the greater of the following amounts: R$50 million, twice the value of the irregular transaction, three
                times the amount of the economic gain improperly obtained or loss improperly avoided, or twice the damage caused by the irregular
                conduct. Repeat offenders may be subject to treble the amounts above;
        (3)     provides for the suspension, disqualification and prohibition from engaging in certain activities or transactions in the banking or securities
                market for a period of up to twenty years;
        (4)     temporarily bans offending individuals from serving in any managerial capacity for financial institutions;
        (5)     imposes coercive or precautionary fines of up to R$100,000 per day, subject to a maximum period of 30 days in punitive fines;
        (6)     defines the scope of the Central Bank’s regulatory authority;
        (7)     prohibits the offending institutions themselves from participating in the markets;
        (8)     provides for a penalty of “public admonition” in place of “warning”, imposed by the Central Bank;
        (9)     empowers the Central Bank to enter into cease-and-desist commitments;
        (10)    empowers the Central Bank and the CVM to enter into administrative agreements;
        (11)    provides the CVM with the authority to ban the accused from contracting with official Brazilian financial institutions and participating in
                public bidding processes for a period of up to five years; and
        (12)    redefines related party transactions.

        Penalties may be aggregated, and are calculated based on the following factors:
        (1)     gains obtained or attempted to be gained by the offender;
        (2)     economic capability to comply;
        (3)     severity of the offense;
        (4)     actual losses;

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        (5)     any recurrence of the offense; and
        (6)     the offender’s cooperativeness with the investigation.

       Law No. 7,492 provides a legal framework to hold controlling shareholders, officers and managers of a financial institution criminally liable. The
  regime under Law No. 7,492 also covers interventionists, liquidators and real estate managers, in the context of interventions, extrajudicial liquidation or
  bankruptcy, respectively. Those found criminally liable under Law No. 7,492 will be subject to detention and/or pecuniary fines.

        Law No. 6,385 also imposes imprisonment and/or fines for banking or securities infractions. For example, those liable for market manipulation
  and insider trading are subject to sentences of up to eight and five years, respectively, plus fines of up to three times the illicit benefit gained.


     Regulation Against Money Laundering and Bank Secrecy in Brazil
         Law No. 9,613 of March 3, 1998, as amended by Law No. 12,683 of July 9, 2012 and Law No. 13,506 of November 13, 2017, or the Anti-Money
  Laundering Law, plays a major regulatory role in the oversight of banking and financial and insurance activities in Brazil. The Anti-Money Laundering
  Law sets forth the rules and the penalties to be imposed upon persons engaging in activities that constitute “laundering” or the concealing of property,
  rights and assets. Such regulation further prohibits individuals from using the financial system for the aforementioned illicit acts.

        Pursuant to the Anti-Money Laundering Law, banks (such as Banco XP), securities brokers (such as XP CCTVM), securities distributors, asset
  managers (such as XP Gestão, XP Advisory and XP Vista), leasing companies, credit card companies, insurance companies and insurance brokers (such
  as XP VP and XP CS, respectively), among others, must: (1) identify and maintain up-to-date records of their clients, for a period of at least five years;
  (2) keep up-to-date records of all transactions, for a period of at least five years, in Brazilian and foreign currencies, involving securities, bonds, credit,
  financial instruments, metals or any asset that if converted into cash exceed the amount set forth by the competent authorities, and which shall be in
  accordance with the instruction issued by these authorities; (3) keep up-to-date records of all transactions, for a period of at least five years, in Brazilian
  and foreign currency, involving securities, bonds, credit, instruments, metals, or any asset that if converted into cash exceed the applicable minimum
  amount set forth by the relevant authorities, such transactions must be in accordance with guidance on amount, timing and counterparties from the
  relevant authorities; (4) adopt AML internal control policies and procedures that are compatible with the size of the company; (5) register and maintain
  up-to-date records with the appropriate regulatory agency (i.e., COAF, CVM and/or SUSEP); (6) comply with COAF’s requests and obligations; (7) pay
  special attention to any transaction that, in light of the provisions set forth by competent authorities, may indicate the existence of a money laundering
  crime; (8) report all transactions referred to in items ii, iii and vii to COAF within twenty-four hours, while abstaining from notifying their customers of
  such report; and (9) confirm to the applicable regulatory agency (i.e., COAF, CVM and/or SUSEP) that no offending transactions have occurred.

         In accordance with Circular Letter No. 3,461 enacted by the Central Bank on July 24, 2009, as amended, or Central Bank Circular Letter
  No. 3,461, financial institutions are required to (1) maintain updated client registration data (including declarations regarding the purposes and nature of
  the transactions and verification of the of clients’ statuses as politically prominent persons); (2) adopt preventative internal policies and procedures;
  (3) record transactions involving amounts in national or foreign currencies, securities, metals or any other assets that may be converted to cash,
  including specific records for the issuance or reloading of amounts in the form of prepaid cards; (4) maintain records of all financial services provided
  and all financial transactions carried out with clients or on their behalf as well as consolidated information that allows for verification of the flow of
  funds, the economic activity and financial capacity of the client, the origin of funds and end beneficiaries of the transactions; (5) maintain records of
  transactions carried out by individuals or legal entities that involve the same groups of companies, in an amount greater than R$10,000.00 over the
  course of a calendar month or transactions

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  that reveal patterns of activity that indicate a scheme to prevent identification; (6) review transactions or proposals that may indicate criminal activities;
  (7) maintain records of all transfers of funds related to (i) deposits, electronic transfers, checks, among others, and (ii) issuance of checks, payment
  orders, among others, in amounts greater than R$1,000.00; (8) maintain records of issuances or loading of credit cards that allow the identification of
  transactions in amounts greater than R$100,000.00 or which reveal patterns of activity that indicate a scheme to prevent identification; (9) maintain
  records of transaction activities in amounts greater than R$100,000.00 in cash or which reveal patterns of activity that indicate a scheme to prevent
  identification; and (10) notify the relevant authority of any transaction that may be deemed suspicious by the financial institution.

        SUSEP Circular No. 445/2012 imposes similar internal controls and monitoring requirements upon insurance and capitalization companies,
  complementary pension companies, (entidades abertas de previdência complementar), cooperative companies (sociedades cooperativas), including
  those authorized to provide reinsurance services, in particular, (1) the monitoring of transactions involving politically prominent persons, terrorism and
  money laundering; (2) the prevention, monitoring and detection of suspicious transactions; (3) the registration of transactions with clients and
  beneficiaries, third parties and related parties; and (4) the validation of compliance mechanisms by internal auditing. Companies subject to this
  regulation are also required to appoint one of their Officers as head of compliance and register such individual in accordance with the Anti-Money
  Laundering Law and SUSEP Circular No. 445/2012.

         Along the same lines, CVM Instruction No. 301 of April 16, 1999, as amended, or CVM Instruction No. 301, establishes, among other
  obligations, that persons who engage in, on a permanent or occasional basis, as a main or ancillary activity, cumulatively or not, the custody, issuance,
  distribution, settlement, trade, intermediation, consultancy or management of bonds or securities, and independent audit within the scope of the stock
  exchange market must adopt rules, procedures and internal controls in accordance with previously and expressly established procedures to confirm the
  registration information of its clients, keep such information updated and monitor the transactions carried out thereby, so as to prevent the use of the
  account by third parties and identify the end beneficiaries of the transactions, such entities shall also identify and closely monitor the business relations
  maintained with politically exposed person. Under CVM Instruction No. 301, the following should be monitored: (1) transactions in amounts
  incompatible with the transacting parties’ professional occupation, income, and/or equity/financial position; (2) repeated transactions between the same
  parties, through which one or all of the parties involved has registered consistent gains or losses; (3) transactions indicating a material discrepancy
  between the volume and/or frequency of the business of the parties involved; (4) transactions that may involve identity deception of the parties involved
  and/or their beneficiaries; (5) transactions that may indicate insubordinate acts committed by agents against their principals; (6) transactions reflecting a
  sudden and objectively unjustified change in the operations of the persons involved; (7) transactions carried out with the purpose of generating loss or
  gain for which there is no objective economic basis; (8) transactions with the participation of individuals residing, or entities organized, in countries that
  either do not follow or insufficiently follow the recommendations from the Financial Action Group against Money Laundering and Terrorism Financing
  – GAFI; (9) transactions settled in cash, if and where permitted; (10) private transfers, without apparent reason, of funds and securities; (11) transactions
  reflecting a complexity and risk profile incompatible with the technical qualification of the client or its agent; (12) deposits or transfers made by third
  parties in order to settle client transactions or in order to provide collateral in transactions in future settlement markets; (13) payments made to third
  parties, in any form, by means of settlement of transactions or redemption of amounts deposited as collateral, registered in the client’s name;
  (14) situations in which it is not possible to maintain current their client registration information; (15) situations and transactions in which it is not
  possible to identify the end beneficiary; (16) situations in which it is not possible to conduct the aforementioned diligence process; (17) transactions with
  individuals considered to be Politically Exposed Persons; (18) the business relationship maintained with Politically Exposed Persons, non-resident
  investors (especially when incorporated as trusts) and private banking; (19) the proposals of new relationships and operations with Politically Exposed
  Persons, including those from countries with which Brazil has a large volume of financial and commercial transactions, common borders or ethnic,
  linguistic or political proximity; (20) clients that have

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  become, since the beginning of the relationship with the institution or have already initially been considered to be Politically Exposed Persons, and
  apply the treatment of items (18) and(19) above; and (21) the origin of the resources involved in the transactions of clients and beneficiaries identified as
  Politically Exposed Persons.

         On March 3, 1998, the Federal Government created the Council of Control of Financial Activities, or the COAF, within the scope of the Ministry
  of Finance. COAF’s purpose is to verify, examine, identify and apply administrative penalties to any suspicious or unlawful activities related to money
  laundering in Brazil, without prejudice to the jurisdiction of other bodies and entities. COAF’s full commission is composed of a president appointed by
  the President of the Republic, by means of the appointment of the Ministry of Finance and by a representative of each one of the following bodies and
  entities: (1) the Central Bank; (2) the CVM; (3) the Ministry of Foreign Relations; (4) SUSEP; (5) the Federal Revenue Office; (6) the Federal Police
  Department; (7) the Brazilian Intelligence Agency; (8) the Comptroller General; and (9) the National Treasury Attorney-General’s Office. The term of
  office for each member is three years, with the option of reelection.

        The financial institutions shall inform COAF (without informing its client) of certain transactions that present the characteristics established in the
  Central Bank Circular Letter No. 3,461, CVM Instruction No. 301 and Circular SUSEP No. 445/2012.

        The same obligation is imposed upon asset managers (such as XP Gestão, XP Advisory and XP Vista), and insurance companies and insurance
  brokers (such as XP CS and XP VP).


     Bank Secrecy
         Brazilian financial institutions, by virtue of Supplementary Law No. 105 of January 10, 2001, are also subject to strict secrecy rules on
  transactions, and are required to preserve the confidential nature of its assets and liabilities transactions and of the services provided to their clients. The
  only circumstances under which the information regarding clients, services or transactions of the financial institutions may be disclosed to third parties
  are as follows: (1) disclosure of confidential information with the express consent of the interested parties; (2) exchange of information between
  financial institutions for data registration purposes, including through risk assessment centers, subject to the rules issued by the CMN and the Central
  Bank; (3) the supply, to credit protection entities, of information included in the register of issuers of rubber checks and debtors, subject to the rules
  issued by the CMN and the Central Bank; (4) disclosure of the occurrence or suspicion of unlawful criminal or administrative acts, among others;
  (5) reporting of information addressed by article 11, paragraph 2, of Law No. 9,311, of October 24, 1996; (6) reporting of information in accordance
  with the conditions foreseen in articles 2, 3, 4, 5, 6, 7 and 9 of Supplementary Law No. 105 of January 10, 2001; and (7) reporting of financial and
  payment data related to credit operations and completed or ongoing payment obligations from individuals or legal entities to database administrators for
  the purpose of credit history formation.


     Politically Exposed Persons
         Pursuant to Central Bank Circular Letter No. 3,461, SUSEP Circular No. 445/2012 and CVM Instruction No. 301, those financial institutions and
  other institutions authorized to operate by the Central Bank, SUSEP and CVM are required to obtain sufficient information from their clients to identify
  any Politically Exposed Persons from their client base and monitor their transactions accordingly.

         Central Bank Circular Letter No. 3,461, SUSEP Circular No. 445/2012 and CVM Instruction No. 301 define Politically Exposed Persons as any
  government agent, who in the last five years, have held or is holding, in Brazil or in foreign territories relevant government positions, jobs or public
  office, as well as their representatives, family members and other closely related persons.

        Central Bank Circular Letter No. 3,461, SUSEP Circular No. 445/2012 and CVM Instruction No. 301 establish that the internal procedures
  developed and implemented by the financial institutions subject to such regulation must be structured to enable the identification of Politically Exposed
  Persons and the origin of the funds for such clients’ transactions.

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     Internal Auditors
         On June 29, 2017, the CMN issued Resolution No. 4,588 establishing the rules governing internal audits at financial institutions and others
  authorized to operate by the Central Bank. Pursuant to the resolution, financial institutions and others authorized to operate by the Central Bank must
  implement and maintain internal audit functions compatible with the nature, size, complexity, structure, risk profile and business model of the respective
  institution. Such activity must be the responsibility of a discrete unit in the institution or institutions that are part of its financial conglomerate, directly
  subordinated to the board of directors or by an independent auditor provided that such independent auditor is not in charge of the institution’s financial
  statements or any other activity that may create a conflict of interest.


     Independent Auditors in Brazil
         Pursuant to CMN Resolution No. 3,198 of May 27, 2004 as amended, or CMN Resolution No. 3,198, all financial institutions must be audited by
  independent auditors. The financial institutions may only hire independent auditors registered with the CVM and certified as experts in banking analysis
  by the Central Bank. After such auditors have issued opinions auditing the financial statement of a certain financial institution for up to five consecutive
  fiscal years, the Auditor’s team including managers, supervisors or any members with managerial positions, must be replaced.

       Similarly, pursuant to CVM Instruction No. 308 of May 14, 1999, if the audited company has a permanent audit committee, the term limit of five
  consecutive years provided above may be increased to ten years.

        The independent auditors and the audit committee, if applicable, must notify the Central Bank, within three business days, of the existence or
  evidence of error or fraud, such as:
         •      lack of compliance with rules and regulations, which could affect the business of the audited entity;
         •      fraud of any amount conducted by the management of the institution;
         •      relevant fraud conducted by employees of the institution or of third parties; and
         •      relevant errors in the accounting records of the audited entity.


     Audit Committee
        CMN Resolution No. 3,198 requires financial institutions and other institutions authorized by the Central Bank to operate in Brazil, as well as for
  clearinghouses and clearance and custody service providers that (1) present reference equity equal to, or greater than, R$1 billion; (2) manage third-
  party funds in amounts equal to, or greater than, R$1 billion; or (3) have deposits and funds under management in a total amount equal to, or greater
  than, R$5 billion, to maintain an audit committee (comitê de auditoria).

       The Brazilian legislation, in certain circumstances, allows the creation of a single audit committee for the operating companies (as XP CCTVM
  and Banco XP S.A.) of an economic group.


  Ombudsman
         Pursuant to CMN Resolution No. 4,433 of July 23, 2015, financial institutions (such as XP CCTVM and Banco XP) and other entities authorized
  to operate by the Central Bank are required to create an Ombudsman to establish an independent communication channel between the institutions and
  their clients, while observing strict compliance with consumer protection legislation and seeking improvement and enhancement of products, consumer
  services and other services. The Ombudsman shall be the responsibility of an appointed officer (who can also be the ombudsman himself, however, such
  person shall not be in charge of any other activity in the financial institution) and shall be compatible with the activities of the institution, as well as the
  complexity of its operations. Those institutions that are part of a financial conglomerate shall be authorized to implement a single Ombudsman to assist
  the entire conglomerate.

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         The following are the ombudsman department’s responsibilities: (1) receiving, recording, instructing, analyzing and providing formal and
  adequate attention to claims from clients and users of products and services of financial institutions; (2) providing clarification regarding the status of a
  claim and information as to when a response is expected to be given; (3) sending a final answer by the date on which a response is required; (4) keeping
  the board of directors or, if one does not exist, the financial institution’s board of executive officers, informed of the problems and shortcomings detected
  in the performance of its duties and the results of the actions taken by the financial institution’s officers to resolve them; and (5) preparing and sending
  to the internal audit department, to the audit committee (if one exists), and to the board of directors (or if one does not exist, to the board of executive
  officers of the financial institution), at the end of each fiscal semester, a quantitative and qualitative report on the ombudsman department’s activities and
  its performance.

        The financial institutions must report and keep up-to-date information on the officer in charge of the Ombudsman. Such officer shall prepare a
  semiannual report (on June 30 and December 31 of each year) and whenever a material event is determined, in accordance with the Central Bank’s
  instructions. In addition, Brazilian law allows for the creation of a single ombudsman department structure for a group of related companies, such that a
  single ombudsman department can be responsible for all financial institutions that are part of the same group. Any financial institution carrying out
  leasing transactions, however, shall create its own segregated ombudsman structure.

      Insurance companies (such as XP VP) are likewise required by local insurance regulations (CNSP Resolution No. 279/2013) to have an
  Ombudsman with a substantially similar purpose and responsibilities as those described above.


  Whistleblowing/Hotline
        Pursuant to CMN Resolution No. 4,567 of April 27, 2017, financial institutions (such as XP CCTVM and Banco XP) are required to have a
  whistleblower hotline (canal de denúncias), through which their employees, clients, contractors and/or suppliers may anonymously report situations
  involving potential illicit activities of any nature related to the financial institution. Accordingly, financial institutions are required to appoint a
  responsible department for forwarding all reported events to the appropriate departments for further handling. This department is also required to
  prepare reports semi-annually detailing, at minimum, the following information relating to each reported event: (1) number of reported events and their
  nature; (2) the relevant departments that handled them; and (3) the average timeframe and relevant measures adopted to solve them. Such reports must
  be (1) approved by the board of directors of the financial institution or, absent the board of directors, by its officers; and (2) made available to the
  Central Bank for at least 5 years.


     Foreign Investment in National Financial Institutions
        In accordance with Article 192 of the Constitution, Article 52, II, of the Brazilian Transitory Constitutional Rulings enacted in 1988, or ADCT,
  and Article 1, second paragraph, of Circular No. 3,317 of the Central Bank, dated as March 29, 2006, foreign investors (regardless of being an
  individual or entity and irrespective of their nationality) are prevented from controlling, acquiring or increasing equity interest held in a Brazilian
  financial institution, directly or indirectly, unless there is a bilateral international treaty or such foreign acquisition or increase is in the interest of the
  Brazilian government. Until September 26, 2019, the interest of the Brazilian government for such foreign acquisition of voting or non voting equity
  interest in financial institutions was determined by specific Presidential Decree and in accordance with Article 5 of Circular No. 3,317. On
  September 26, 2019, the Brazilian President enacted Decree No. 10,029, transferring to the Central Bank the authority to approve foreign investments in
  Brazilian financial institutions, eliminating the necessity of specific presidential decree on a case-by-case basis. Decree 10,029 is yet to be regulated by
  the CMN and the Central Bank, after which, pursuant to paragraph 1, article 1, thereof, the acquisition of voting or non-voting equity interest in a
  Brazilian financial institution by foreign investors, held directly or indirectly, will depend only on the Central Bank’s prior approval. On November 13,
  2019, the Central Bank authorized direct or indirect foreign investments in XP CCTVM and Banco XP of up to 100% of their respective capital stock.

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        Furthermore, a Presidential Decree of December 9, 1996, declared that it is in the interest of the Brazilian government to allow foreign investors to
  acquire non-voting shares issued by Brazilian financial institutions that are traded on a stock exchange. Such Decree is generally applicable to all
  Brazilian financial institutions.


     Corporate Interest Held by Financial Institutions in Nonfinancial Companies
         Pursuant to CMN Resolution No. 2,723 of May 31, 2000, as amended, or CMN Resolution No. 2,723, financial institutions may only directly or
  indirectly hold equity in legal entities (incorporated locally or abroad) that supplement or subsidize the financial institutions’ activities, provided they
  obtain prior authorization from the Central Bank and that the invested entity does not hold, directly or indirectly, equity of the referred financial
  institution. However, this requirement for authorization does not apply to (1) equity interests typically held in the investment portfolios of investment
  banks, development banks, development agencies (agências de fomento) and multiservice banks with investment or development portfolios; and
  (2) temporary equity interests not registered as permanent assets of the financial institution.


     Regulation of Branches and Subsidiaries
         As provided by CMN Resolution No. 2,723, the Central Bank requires authorization for operations of foreign branches or subsidiaries of Brazilian
  financial institutions, including compliance with the following rules: (1) the institution must have been in operation for at least six years; (2) the
  institution must be in compliance with operational limits currently in force; (3) the institution’s paid-up capital and net worth must meet the minimum
  requirements established in Exhibit II to CMN Resolution No. 2,099 plus an amount corresponding to 300.0% of the minimum paid-up capital and net
  worth required by Central Bank regulation for the installation of commercial banks; and (4) the Brazilian financial institution must present the Central
  Bank with a study on the economic and financial viability of the subsidiary, branch or investment.

         In addition, the Central Bank will only grant such authorization if it has access to information, data and documents relating to the operations and
  accounting records of such subsidiary financial institutions abroad. In addition, the failure by a Brazilian bank to comply with the requirements of CMN
  Resolution No. 2,723 would cause the deduction of a designated percentage of the assets of such branch or subsidiary from the net worth of such bank
  for the purpose of calculating such bank’s compliance with the capital adequacy requirements of the Central Bank, on top of the other penalties imposed
  pursuant to the applicable regulation, including the cancellation of the Central Bank’s authorization.

        CMN Resolution No. 4,122 sets forth the Central Bank requirements and procedures for approving the establishment, authorization to operate,
  cancellation of authorization, changes of control and corporate reorganizations of Brazilian financial institutions. Such resolution further requires the
  Central Bank’s approval for the election and confirmation of directors, executive officers and members of the audit committee as set forth in the
  company’s bylaws.

         In addition, under the terms of CMN Resolution No. 2,723, the Central Bank’s prior authorization is also required: (1) in order to allocate new
  funds to branches or subsidiaries abroad; (2) for capital increases, directly or indirectly, of subsidiaries abroad; (3) in order to increase equity interests,
  directly or indirectly, in subsidiaries abroad; and/or (4) in order to merge with or spin-off from, directly or indirectly, subsidiaries abroad. These
  requirements are only applicable if such subsidiary is a financial institution or similar entity.


     Legislation Applicable to Insurance Brokerage Firms in Brazil
        XP VP, is a Brazil-based insurance company formed in 2018 and licensed by SUSEP to operate in the life and private pension lines, focusing
  primarily on the distribution of its products to individuals through XP’s proprietary digital platform. As a local insurer, XP Seguros is subject to the
  insurance laws and regulation generally applicable to life and private pension carriers in Brazil.

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        XP CS is an insurance brokerage company focused on life and pension insurance brokerage, duly licensed by SUSEP to operate in the insurance
  market as per SUSEP Circular Letter No. 510 of January 22, 2015, and registered with SUSEP under No. 10,0628468. Therefore, it is subject to the
  applicable legislation and regulation applicable to insurance brokers.

         Insurance companies such as XP Seguros and XP VP are required to be duly licensed by SUSEP in order to operate in any given insurance field
  and are subject to the local legal and regulatory framework governing their operations, governance, solvency, products, accounting, actuarial standards
  and other technical aspects of their business. By engaging in the insurance business, XP Seguros is subject to a number of regulatory risks, such as
  (a) changes in solvency and minimum capital regulation, which could result in the need for increased capital to cover new solvency requirements and/or
  in the divestment of certain classes of assets; (b) changes in product regulation, which could materially alter the way in which the company’s products
  are created, sold or operated in general; (c) intervention and/or liquidation proceedings by SUSEP in the event of solvency-sensitive scenarios, which
  could lead to material deviations or interruptions to the company’s ordinary course of business and/or regulatory sanctions upon the company and its
  management; and (d) incurrence of fines and other penalties (such as temporary suspension of activities or license cancellation) imposed by SUSEP for
  perceived breaches of applicable regulation, among others.

         Insurance brokerage firms such as XP CS must obtain SUSEP registration and authorization for their operations, pursuant to the rules in force and
  in accordance with Law No. 4,594 of December 29, 1964, as amended, or Law No. 4,594/64 and Decree-Law No. 73/66. The insurance broker, whether
  an individual or legal entity, is the intermediary legally authorized to solicit and promote insurance contracts accepted by the current legislation, between
  the insurance companies and individuals or public or private legal entities. Only duly qualified insurance brokers pursuant to Law No. 4,594/64 that
  have signed the insurance proposal shall be paid the brokerage fees related to each insurance modality, based on the respective tariffs, including in case
  of adjustment to the issued premium.

         It is not mandatory that an insurance brokerage company sells its insurance through intermediation. Such companies may seek clients directly.
  However, when a direct sale of insurance occurs, a fee must be paid to FUNENSEG. The Brazilian legislation does not establish a minimum brokerage
  fee in such cases.

        Under the applicable regulation, insurance brokerage companies, such as XP CS, are obligated to prove technical certification of all their
  employees and workers who directly participate in the regulation and settlement of insurance claims, customer service, and direct sales of insurance,
  capitalization and open supplementary pension products. Such certification shall be provided by an institution of recognized technical capacity, duly
  accredited by SUSEP.

        Insured persons and insurance firms can pursue civil action against insurance brokers for losses incurred as a result of intentional malfeasance or
  negligence caused by brokerage activity. In case of non-compliance with the regulatory rules, in addition to the legal sanctions, insurance brokers and
  managers are subject to fines, temporary suspension from the exercise of the profession or registration cancellation.


  Regulation Applicable to the Controlled Companies Outside Brazil
     XP Investments – United States of America
         XP Investments, whose marketing name is XP Investments, is registered as a securities broker-dealer with the SEC and in twenty-six U.S. states
  and territories, and is a member of FINRA, a self-regulatory organization, or SRO, subject to SEC oversight. Consequently, XP Investments and its
  personnel are subject to extensive requirements under the Exchange Act, state securities laws and SEC and FINRA rules, including requirements
  relating to, among other things, sales and trading practices, recordkeeping, anti-money laundering, financial and other reporting, supervision, misuse of
  material non-public information and the conduct and qualifications of certain personnel. SEC-registered broker-dealers are also subject to capital
  requirements, which mandate that they maintain minimum levels of capital (“net capital”) and effectively require that a significant portion of a

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  broker-dealer’s assets be kept in relatively liquid form. SEC and FINRA rules also require notification when a broker-dealer’s net capital falls below
  certain predefined criteria, limit the ratio of subordinated debt to equity in a broker-dealer’s regulatory capital composition and constrain the ability of a
  broker-dealer to expand its business or distribute capital under certain circumstances.

         XP Investments is also registered with the CFTC as an introducing broker and is a member of the NFA, an SRO that regulates certain CFTC-
  registrants. CFTC-registered introducing brokers are subject to expansive requirements under the Commodity Exchange Act and CFTC and NFA rules,
  including requirements relating to, among other things, sales practices, regulatory capital, anti-money laundering, financial reporting, supervision and
  recordkeeping.

        The violation of laws, rules or regulation that govern the activities of an SEC-registered broker-dealer or CFTC-registered introducing broker
  could result in administrative or court proceedings, censures, fines, penalties, disgorgement, suspension or expulsion from a certain jurisdiction, SRO or
  market, the revocation or limitation of licenses, the issuance of cease-and-desist orders or injunctions or the suspension or disqualification of the entity
  and/or its officers, employees or other associated persons.


     XP Private – Switzerland
        XP Private (Europe) S.A., or XP Private Geneva is an independent asset management firm duly authorized to conduct its activities in Switzerland,
  pursuant to the rules issued by the Swiss Financial Market Supervisory Authority, or FINMA, and to the applicable legislation.

        The authorization of XP Private Geneva does not contemplate professional management of investment funds portfolio in Switzerland.

         FINMA is the independent regulator of financial markets in Switzerland with the aim of protecting creditors, investors and insured persons. Its
  supervises banks, insurance companies, stock exchanges, investment funds, their managers and administrators. FINMA also regulates insurance
  distributors and intermediaries.

        XP Private Geneva is a member of the ARIF, a nonprofit self-regulatory entity recognized by FINMA. Its objective is to assist in the prevention
  and combat of money laundering, inform its members and require them to comply with the Federal Money Laundering Law and Terrorism Financing
  Act of October 10, 1997.


     XP Investments UK LLP and Sartus UK – United Kingdom
       XP Investments UK LLP is a brokerage firm headquartered at New Penderel House 4th Floor 283-288 High Holborn London WC1V 7HP, United
  Kingdom, authorized by the FCA on April 10, 2017.

        Sartus UK is an appointed representative of NEA acting as an agent of NEA, which is duly authorized and regulated by the FCA .

        As an appointed representative, Sartus UK is not directly authorized by the FCA to provide regulated products and services in the United
  Kingdom. However, it is permitted to carry out certain regulated activities as an appointed representative of NEA. NEA is responsible for ensuring that
  such regulated activities are carried out in accordance with the relevant regulatory requirements. Consequently, Sartus UK is required to operate its
  business in accordance with the regulatory requirements applicable to NEA.

         The permissions detailed above do not cover the discretionary management of portfolios of individuals and legal entities or the investment fund
  (also known as collective investments schemes) portfolios in the United Kingdom and the European Union.

        On June 28, 2019, we sent a notice of termination of the Appointed Representative Agreement to NEA, which became effective on September 30,
  2019, in order to concentrate our efforts in the private and wealth management business in Switzerland through XP Private (Europe) SA.

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                                                             A LETTER FROM THE FOUNDER

         I started XP in 2001 at the age of 24. At the time, all I had was a lot of courage and a strong drive to win, with no financial support and very little
  cash. In fact, I had just been laid off and I only had the U.S.$2,500 from my final paycheck. I rented a tiny 270 square-foot room and bought some used
  computers from a cybercafé going out of business. I confess, my main goal at first was not to get laid off again, it really felt like an adventure.

        Since then, XP has been growing and generating profits every year, we had no choice.

        I started to learn how to dream big by fighting for survival, literally struggling to convince our first employee to become my partner instead of
  being hired, because we had no cash. The challenge was not trivial: in the first months everything was blurred and the challenges kept getting bigger and
  bigger.

       However, I always believed that if we did the right thing for the clients, putting their goals first, they would respect and appreciate us over time.
  Things would work out.

       Putting the clients’ goals first was not the usual approach in Brazil. The investment market has always been concentrated in a few large banks
  which, in my view, are not focused on the clients. As a result, Brazilians typically invest inefficiently, which limit their ability to build wealth and
  improve their quality of life.

        The vision to disrupt the highly concentrated banking system and transform the Brazilian financial market to improve people’s lives is what has
  driven us for the past 18 years. We deeply believe in this mission.

        If I had to choose two things that enabled us to get where we are, I would say our culture and meritocratic partnership model.

        Competing with the large Brazilian banks is not easy. To face the challenge, we need partners who share our vision and our commitment to the
  mission. They must buy into our culture, be aligned with the company for the long run and be willing to go the extra mile to reach our daring goals.

        Over the past 18 years, I’ve shared my dream with people that I believe to be better than me, and my dream rapidly became our dream. We work
  together in a very effective and harmonious way as a team focused on our mission and on achieving our ambitious goals.

        My partners and I do not have, and will not have, other businesses in our lives. We are fully aligned with, and committed to, the company’s long-
  term success. It is our life’s mission. We love what we do, and will keep working hard to do more and find ways to do it better every day.

        Ten years ago, we welcomed our first investment from a private equity fund. Having institutional investors has made us a better and stronger firm,
  helping us upgrade systems, controls and governance.

        Today, we are ready to go public.

        We are confident that connecting with some of the world’s largest and smartest investors is the best way for us to take the next growth steps and
  capture the vast opportunities ahead.

        Over the last two decades, we have sought to transform the Brazilian financial markets to improve the lives of millions of people. We decided to
  pursue an initial public offering in the United States to attract the most significant global investors, particularly those focused on technology and global
  financial markets, to accelerate our growth and the transformation of the Brazilian financial markets.

        We selected Nasdaq as our listing venue because it is recognized for bringing together the world’s leading technology companies. An initial public
  offering in the United States allows us to adopt a super voting structure,

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  which is essential for our partnership to keep control of XP, ensuring our continued independence as a public company and aligning our interests with
  XP’s millions of current and future customers. A U.S. listing requires us to comply with higher governance standards and provides our investors and
  clients with greater transparency of our business. By accessing new markets and strengthening our capital structure, we continue to strengthen our core
  mission: to democratize millions of Brazilians’ access to the best financial products and services, always guided by full transparency and focus on our
  customers’ needs.

        I want to emphasize to all potential investors that the key metric that guides us for the long run is the quality of our services and commitment to
  our customers. This is the only way we will achieve our audacious goals and become the largest and greatest investment and financial services company
  in Brazil.

       We are fully aware of our responsibility to generate financial results for our shareholders, and we see this as a natural consequence of our core
  purpose: “customer enchantment.”

       We are very proud of this new phase that we are entering, and remain motivated by the commitment to overcome obstacles and make the
  impossible possible.

        Finally, I would like to share our values. These are not just statements written on the walls of our offices. They are our DNA, the core beliefs
  inside each person at XP, and we live by them every day.
        1.     Dream Big: We want people who make impossible missions possible and are motivated by confronting challenges, always doing the right
               thing and playing by the rules.
        2.     Open Minded: We embrace all new ideas and projects, being agile to adjust course or even stopping them if they are not working. We are
               humble in our relationships with all stakeholders, there is no absolute truth. In our view, this is a strength that enables us to better
               understand and explore many variables and make better decisions.
        3.     Entrepreneurial Spirit: People don’t just work at XP, they help us take our company to the next level and are invited to join our
               partnership if they thrive. This sense of ownership is what drives everyone to engage in our lifetime project and understand all the
               responsibilities of being a partner.

        We know where we came from. Like all entrepreneurs who started from scratch, we are proud of how far we have travelled, and we are very
  excited on how much lies ahead.

        I am 100% confident that our journey is just beginning.

        Thank you for considering joining us as an investor.

        Guilherme Benchimol

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                                                                          BUSINESS

  Our Mission
         Our mission is to transform the financial markets in Brazil to improve the lives of people in our country, which is the 6th largest economy in the
  world with over 200 million people and a GDP of nearly US$2 trillion. We believe the financial services industry in Brazil is generally inefficient,
  expensive by international standards and provides poor client experiences, because it is dominated by five traditional financial institutions with US$1.5
  trillion in assets that account for approximately 93% of retail assets under custody, or AUC, according to a report by Oliver Wyman published in 2019,
  and 80% of all consumer loans and 79% of all deposits, according to the Central Bank of Brazil.

         We believe this concentration has enabled the incumbents to secure a large profit pool and restrict the market in Brazil by: (1) providing a more
  narrow selection of financial products than typically found in larger markets, such as the United States and Europe; (2) promoting inefficient financial
  products, such as savings accounts called Poupança, which provide investors with very low returns, at times below the inflation rate, and come with
  highly restrictive and punitive redemption options; (3) charging relatively high fees with low yields since the clients are captive and the products made
  available are often limited only to those created and controlled by each bank; and (4) providing poor customer service due to a low prioritization of the
  client experience, limited market competition, and a lack of alternative choices available to consumers.

         We are dedicated to disrupting this market and improving people’s lives by providing them with access to more financial products and services
  through multiple channels, at lower fees, with a strong emphasis on financial education and high-quality services delivered through a highly
  differentiated client-centric approach and innovative technology solutions


  Introduction to XP
         XP is a leading, technology-driven financial services platform and a trusted provider of low-fee financial products and services in Brazil. We have
  developed a mission-driven culture and a revolutionary business model that we believe provide us with strong competitive advantages in our market. We
  use these to disintermediate the legacy models of traditional financial institutions by educating new classes of investors, democratizing access to a wider
  range of financial services, developing new financial products and technology applications to empower our clients, and providing what we believe is the
  highest-quality customer service and client experience in the industry in Brazil. We believe we have established ourselves as the leading alternative to
  the traditional banks, with a large and fast-growing ecosystem of retail investors, institutions, and corporate issuers, built over many years that accounted
  for 1.5 million active clients and R$125 billion in net in-flows of new money year-to-date as of September 2019, up 101% year-over-year and 148%
  year-over-year, respectively. Based on data from sources indicated below, we believe we are:
         •      #1 Ranked Financial Investment Brand in Brazil – with an NPS of 71 as of September 2019, the highest score in our market based on
                company filings according to a third party analyst research report;
         •      #1 Independent Financial Investment Platform in Brazil – with 3% market share of the R$7.9 trillion market for total AUC as of
                December 31, 2018, according to a report by Oliver Wyman commissioned by us;
         •      #1 Independent Digital Platform for Investors in Brazil – with three digital portals XP, Rico and Clear serving clients directly. XP has the
                largest number of followers on Instagram (over 750,000 as of the date of this prospectus) among investment firms in Brazil, and our three
                brands combined accounted for 54% of Google searches for investment keywords and 43% of responses to “the first brand in investments”
                according to Google Analytics and a consumer survey, respectively, as of September 2019;
         •      #1 Independent Financial Investment Network in Brazil – with a range of proprietary XP Advisory Services and approximately 5,900
                IFAs who on-board new clients onto the XP Platform;

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         •     #1 Financial Media Portal in Latin America – with approximately 9 million monthly unique visitors to our Infomoney website as of
               September 30, 2019. Approximately 77% of our website traffic in this period was originated organically by viewers without being driven
               from a related site or advertisement according to third-party traffic data from Similarweb; and
         •     #1 Financial Services Event in Latin America – with over 30,000 attendees at our annual EXPERT conference held in July 2019, which
               we believe ranks as the largest investment services event in Latin America and one of the largest in the world based on an internal analysis
               of third party data.


  Our Founding & Evolution
         We were founded in 2001 as a small, independent financial advisor partnership dedicated to improving the lives of people in our country. In order
  to build our business from the ground up, while competing against the traditional banks, we dedicated ourselves to the search for new ways to compete
  and to leverage next-generation technologies that enable us to differentiate ourselves and provide the operating efficiencies to scale. Over the years, we
  have been able to consistently innovate, develop our technology solutions, and evolve our proprietary business model in several integrated phases that
  have complemented each other and compounded our capabilities. We believe this evolution has enabled us to instill trust in the XP brand and begin a
  revolution in the way financial services are sold in Brazil. These integrated evolutionary phases include:
        (1)    Providing Financial Education and Empowerment – We began our evolution by providing financial education courses to empower new
               classes of first-time and early-stage investors teaching them how to invest and how to access new types of financial products and services
               that they may not have had access to before through traditional financial institutions. These educational courses began to build trust in XP
               and became an effective client acquisition model by converting students into empowered clients.
        (2)    Democratizing Access to Financial Products and Services – We developed an open product platform which provided our clients with a
               much wider selection of financial products than the traditional banks provide to their customers. This platform included a more diverse
               selection of financial investment products, such as equity and fixed income securities, mutual and hedge funds, structured products, life
               insurance and pension plans, and real estate trusts, and a wider choice of issuers that include XP, our product partners and our competitors.
               The breadth of our open platform was a significant market innovation, that enhanced our brand further, and provided clients with new
               opportunities for risk-taking and investment returns. We believe it remains substantially differentiated when compared to the relatively
               closed platforms of the traditional banks.
        (3)    Scaling of Our Ecosystem of Users, Distribution & Media Content – We expanded our ecosystem of users, distribution channels, and
               proprietary digital content and marketing. As our retail customer base and AUC volumes grew, we attracted new issuers of financial
               products, corporate clients and institutional traders into our fast-growing ecosystem of clients. We complemented our distribution by
               scaling our network of IFAs located across Brazil who solicit new customers, provide them access to our wide selection of financial
               products and technology applications, and help us onboard them as XP clients. These IFAs are our strategic business partners who share
               our entrepreneurial spirit and mission to democratize financial services in Brazil and benefit from the competitive advantages provided by
               our platform and technology. To support this expansion while continuously building trusted relationships in the market, we expanded our
               proprietary marketing initiatives and digital media content. We continued to build our educational course offerings, created what we
               believe is the largest investment conference in the world, developed the largest financial information online portal in Latin America, and
               developed a range of social media and digital influencer programs to promote our services and brand.
        (4)    Diversification and Enhancement of Our Direct Digital Channels and Brands – We expanded our distribution significantly by
               leveraging our growing ecosystem to (1) grow and enhance XP Direct, our

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                 primary digital portal for investors, and (2) develop new digital channels, such as Rico, our digital portal brand for self-directed investors,
                 and Clear, our digital portal and online trading platform brand for retail active traders. We also enhanced these direct portals further by
                 leveraging our technology platform, fast-growing data lake, and artificial intelligence capabilities to provide more sophisticated
                 functionality and offer more advanced data analytics tools through more intuitive and convenient user interfaces, or UX.
          (5)    Empowerment of the Client Journey – We leveraged the significant technology DNA in our company, comprising our innovation and
                 development teams and agile software development methods to develop a suite of new products, services and technology applications that
                 engage and serve our clients across their financial journeys. We launched an advanced suite of cloud-based and mobile technology
                 applications, with sleek advanced UX and easy user experience, that complement our advisory services and provide powerful functionality
                 across the user journey, enabling our clients and partners to better manage their various accounts, trading activities, analytics, and data
                 queries. We have also begun to expand our solutions into adjacent and complementary financial services that our clients use. For example
                 (1) we began to provide our ecosystem with pension insurance in March 2019, and by September 2019 we had already captured
                 approximately 7% market share of the new money inflows for this service in Brazil in that period; and (2) we received our bank license for
                 Banco XP from the Central Bank of Brazil on October 11, 2019, which enables us to offer a range of complementary digital banking
                 products and services to our clients, including asset-back margin finance.

          The following graphic illustrates how we have successfully scaled across channels and grown our client base as we evolved our business over
  time.




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  The Revolutionary XP Model
        Our revolutionary XP Model has been developed over the course of our evolution and enables us to go to market in a very different way from the
  legacy models of the large traditional financial institutions. We believe our model provides us with a unique value proposition for our clients and
  partners, and it has begun to change the way investment services are accessed and sold in Brazil. Our differentiated approach incorporates a unique
  combination of proprietary capabilities, services and technologies to deliver a highly customized and integrated client experience, with significant
  operating efficiency advantages that have enabled us to scale and grow profitably. As illustrated in the following graphic, the key components of our
  model include: (1) a mission driven culture; (2) a self-reinforcing ecosystem; (3) a superior products and services platform; and (4) differentiated,
  advanced technology platform.




         •     A Mission-Driven Culture – our culture remains central to XP and we remain vigilant in preserving and nurturing it, so that it can
               continue to guide our firm by promoting (1) a strong collaborative environment within our company; (2) a clear focus on our mission to
               improve people’s lives by empowering them as investors; (3) a zero-fee pricing philosophy wherever possible; (4) a strong, long-term
               client-centric focus which we prioritize ahead of maximizing short-term gains; and (5) an energetic entrepreneurial spirit with a
               commitment to innovation and the continuous pursuit of improvement.
         •     A Self-Reinforcing Ecosystem – we have developed a valuable ecosystem of clients, distribution channels and media content that are a
               powerful lead-generation engine, continuously reinforce each other and help promote XP’s products and services as they grow. These
               include:
                •     User Base of Clients – which includes our: (1) over 1.5 million retail clients who buy and sell the financial products on our platform,
                      benefitting from our ecosystem because they can access a much broader portfolio of financial products, from hundreds of different
                      providers, and get help

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                      finding the product that is right for them, all in a user-friendly way, with exceptionally low fees; and (2) over 400 institutional and
                      corporate issuer clients (out of which over 200 are located in Brazil and over 200 are located outside Brazil), such as fund managers,
                      private banks, corporate treasuries and insurance companies, who provide additional liquidity and unique financial products for our
                      platform. These issuers benefit from our ecosystem because they are provided with dedicated strategic advisory services that enable
                      them to access a much broader pool of capital, from our retail investors, at an overall lower cost.
               •      Omni-Channel Distribution Network – which enables us to reach clients and deliver our products and services through a range of
                      proprietary brands and channels, that includes: (1) XP Direct our fast-growing full-service offering for mass-affluent clients; (2) Rico
                      our online-only solution for self-directed investors; and (3) Clear our digital portal and electronic trading platform for retail active
                      traders. We also reach clients through our proprietary, and efficient distribution network of approximately 5,900 IFA partners, who
                      are located in approximately 620 offices in 132 cities across Brazil, which collectively represent 86% of Brazilian GDP. Together,
                      they form the largest independent financial advisor network in the country. Our IFA partners benefit from our suite of financial
                      products, education tools, and the IFA-specific applications that we developed to help them build and grow their businesses, and we
                      benefit from their abilities to reach and cultivate new clients.
               •      Proprietary Media & Digital Content – which helps us democratize access to financial content in Brazil, empower Brazilians on
                      how to make investment decisions more independently, and attract, retain and monetize clients. This lead-generation ecosystem of
                      platforms includes: (1) Infomoney the largest investment portal in Latin America with approximately 9 million monthly unique
                      visitors as of September 30, 2019; (2) XP Educação a leading online financial education portal in Brazil; (3) XP Research digital
                      platform with over 500,000 monthly unique visitors; (4) EXPERT the largest investment event in Latin America with approximately
                      30,000 attendees in 2019; (5) our Digital Influencers program, with over 3 million followers on social media; and (6) Leadr an
                      investment-focused social media network with over 465,000 downloads and over 150,000 monthly active users. We believe this
                      content is highly differentiated in Brazil, is a powerful driver of growth, and provides us with low CAC.
        •     A Superior Product and Services Platform – we primarily provide our clients with two types of offerings, our financial advisory services
              and our open financial product platform. We have developed both of these solutions to provide our clients with significant differentiation
              and a superior value proposition versus the legacy offerings of the traditional banks. These include:
               •      Suite of XP Advisory Services – which are comprised of several services, such as (1) XP Investimentos for our retail clients in
                      Brazil; (2) XP Private for our high-net-worth clients; (3) XP Investments for our international clients; and (4) XP Issuer Services, for
                      our corporate and institutional clients.
               •      Open Product Platform – which is our open product platform that provides our clients with the broadest access to over 600
                      investment products in the market without the protectionist barriers, conflicts and closed-loop restrictions of the traditional banks.
                      These include investment products from XP, our partners and our competitors, such as equity and fixed income securities, mutual
                      and hedge funds, structured products, life insurance, pension plans, real-estate investment funds (REITs) and others.
               •      VIP Customer Service – which is our premier customer service program and support organization, designed to provide our clients
                      and partners with the highest quality client service. We train our customer service personnel to (1) understand the daily activities and
                      processes across the client journey in order to help resolve customer issues more effectively; (2) prioritize positive client experiences
                      and long-term relationships above short-term performance results; and (3) leverage and promote our advanced technologies to serve
                      our clients more efficiently.

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         •     A Differentiated, Advanced Technology Platform – we have developed a powerful, integrated suite of proprietary technology assets,
               technology applications, and technology development resources that enable us to differentiate XP in the market, manage all of our
               solutions, conduct all of our activities and operate with low-cost advantages and efficiencies. These include:
                 •    XP Genius – which is our powerful, integrated, cloud-based technology platform built with a modular architecture that efficiently
                      leverages a range of micro-services to help (1) connect our various portals, systems, technologies and environments; (2) power our
                      solutions and applications across our organization; (3) manage our large, valuable and rapidly growing pools of proprietary data;
                      (4) conduct our big data analytics and artificial intelligence initiatives; (5) provide us with proprietary information and market
                      insights; and (6) extend our reach and capabilities into new areas.
                 •    XP Innovation Teams – which is a dedicated innovation development program, comprised of approximately 500 people, who
                      develop and support our solutions by using agile software development methods and leveraging the significant technology and data
                      assets in our company. These include 8 XP Tribes, comprised of 2-3 managers each, that help guide and support our development
                      priorities across numerous projects, and 50 XP Squads, comprised of an autonomous integrated team of 8-10 developers and
                      business experts, that collaborate to create new technologies and solutions or improve our current offerings.
                 •    XP Technology Apps – which is an advanced suite of cloud-based and mobile technology applications, that complement our
                      advisory services and provide powerful functionality across the user journey, enabling our clients and partners to better manage their
                      various accounts, trading activities, and data queries. Our apps are integrated with our powerful data bases and analytics tools and
                      are designed to be powerful, yet simple, attractive, and easy to use, with sleek user interfaces, or UX, that are comparable to some of
                      the top consumer technology products in the world.


  Our Operations
        We operate an asset-light, highly scalable business model that emphasizes operational efficiency and profitability. We leverage the XP Model to
  serve a diverse group of retail and institutional clients in local and international markets, with offices in Brazil, New York, Miami, London and Geneva.
  We currently serve over 1.5 million active retail clients who have an investment account with us. Approximately 30% of our clients are served by one of
  our IFA partners and approximately 70% of our clients are self-served, primarily utilizing an account through one of our websites, or have an investment
  adviser through XP Direct. As of September 30, 2019, our average AUC per client account was approximately R$230,000.

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         We generate our revenues primarily by (1) providing our existing clients with a growing range of financial products and services in which to
  invest their existing AUC already on our platform; (2) attracting additional money onto our platform from existing investors to grow our total AUC; and
  (3) attracting new clients and money inflows onto our platform across a variety of channels to increase our total AUC. As shown in the following chart,
  we generate a significant amount of our revenues from existing clients and AUC, which is recurring and predictable in nature.


                                               % of Retail Revenue From New Clients vs Existing Clients




         Depending on the mix of products and services, we generate numerous forms of income from our AUC, including advisory fees, commissions,
  distribution fees from product manufacturers and asset management fees across various solution categories such as retail, institutional, issuer services,
  digital content and other. As a result of our business model and market position, we benefit from high visibility in most of our revenues and from a low
  correlation to macro-economic conditions. We have established a track record of delivering strong financial performance, even during difficult
  macroeconomic conditions in Brazil. For example, while Brazil GDP growth decelerated materially from 2014 to 2018 in one of the worst recessions in
  Brazilian history, our total AUC grew at a CAGR of 92% during the same period.

        Our technology-driven business model is asset-light and highly scalable. This enables us to generate scale efficiencies from increases in total
  AUC. We conduct the majority of our business online and through mobile applications and emphasize operational efficiency and profitability throughout
  our operations. These operating efficiencies enable us to generate strong cash flow in various market conditions, allowing us to continue investing in the
  growth of our business. Our business requires minimal capital expenditures to facilitate organic growth, with expenditures amounting to 4.6% of net
  revenues for the year ended December 31, 2018 and to 2.4% of net revenues for the nine months ended September 30, 2019. Additionally, our strong
  balance sheet serves as a substantial competitive advantage relative to other independent financial services providers in Brazil, enabling us to
  underwrite, develop and distribute new financial products and services, and capture inorganic opportunities, such as our acquisitions of Infomoney in
  2011 and Rico in 2018.

       In 2018, we reported R$202 billion in AUC, R$3.2 billion in gross revenue, R$3.0 billion in net revenue, R$465.3 million in net income, and
  R$491 million in Adjusted Net Income, a year-over-year increase of 60%, 56%, 55%, 10% and 15%, respectively, versus 2017. In the nine months
  ended September 30, 2019, we reported R$350 billion in AUC, R$3.7 billion in gross revenue, R$3.4 billion in net revenue, R$699 million in net
  income and R$657 million in Adjusted Net Income, an increase of 93%, 64%, 66%, 99% and 75% year-over-year, respectively, versus the nine months
  ended September 30, 2018.

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  Our Corporate Structure
        Our group is currently composed of 26 entities, 16 of which are incorporated in Brazil and 10 of which are incorporated in other countries. Our
  material operating subsidiaries are:


     XP Investimentos Corretora de Câmbio, Títulos e Valores Mobiliários S.A., or XP CCTVM
         XP CCTVM is a Brazilian broker-dealer entity and the core entity of the group, with the highest concentration of the group’s employees. All retail
  clients of XP Investimentos (including XP Direct and through our IFA network), Clear and Rico brands onboard and access all the products in our
  investment platform through XP CCTVM. In addition, it provides brokerage and issuer services to institutional and corporate clients. XP CCTVM had
  assets of R$5,336 million (representing 44.3% of our combined assets) as of December 31, 2017 and R$14,050 million (representing 73.5% of our
  combined assets) as of December 31, 2018. XP CCTVM recorded total revenue and income of R$1,380 million during 2017 (representing 72.4% of our
  consolidated total revenue and income) and R$1,967 million during 2018 (representing 66.5% of our consolidated total revenue and income).


     XP Gestão de Recursos Ltda., or XP Gestão
         XP Gestão, founded in 2005, was the first asset management firm within the group. It manages mutual funds focused on stocks and macro
  strategies, which are distributed to our retail clients via XP CCTVM and to institutional clients. XP Gestão had assets of R$75 million (representing
  0.6% of our combined assets) as of December 31, 2017 and R$105 million (representing 0.5% of our combined assets) as of December 31, 2018. XP
  Gestão recorded total revenue and income of R$70 million during 2017 (representing 3.7% of our consolidated total revenue and income) and
  R$71 million during 2018 (representing 2.4% of our consolidated total revenue and income).


     XP Advisory Gestão de Recursos Ltda., or XP Advisory
        XP Advisory is a Brazilian asset management firm focused on single client mandates, including managing exclusive funds and managed portfolios
  for our high-net-worth retail clients via XP CCTVM and managing proprietary treasury funds that constitute part of our Adjusted Gross Financial
  Assets. XP Advisory had assets of R$8 million (representing 0.1% of our combined assets) as of December 31, 2017 and R$19 million (representing
  0.1% of our combined assets) as of December 31, 2018. XP Advisory recorded total revenue and income of R$11 million during 2017 (representing
  0.6% of our consolidated total revenue and income) and R$21 million during 2018 (representing 0.7% of our consolidated total revenue and income).


     XP Vista Asset Management Ltda., or XP Vista
         XP Vista, acquired in 2018, is a Brazilian asset management firm focused on managing passive mutual funds that track market indexes, and
  mutual and investment funds focused on fixed income, credit, real estate, infrastructure and other alternative strategies, which are distributed to our
  retail clients (via XP CCTVM) and institutional clients. XP Vista had assets of R$12 million (representing 0.1% of our combined assets) as of
  December 31, 2018. XP Vista recorded total revenue and income of R$20 million during 2018 (representing 0.7% of our consolidated total revenue and
  income).


     XP Corretora de Seguros Ltda., or XP Seguros
         XP Seguros, founded in 2008, is a Brazilian insurance broker focused on providing pension plans, both from our insurance company and from
  third-party insurance companies, and life insurance products from third-party insurance companies. XP Seguros provides such products to our retail
  clients through our platform. XP Seguros had assets of R$20 million (representing 0.2% of our combined assets) as of December 31, 2017 and

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  R$48 million (representing 0.2% of our combined assets) as of December 31, 2018. XP Seguros recorded total revenue and income of R$27 million
  during 2017 (representing 1.4% of our consolidated total revenue and income) and R$61 million during 2018 (representing 2.1% of our consolidated
  total revenue and income).


     XP Investments US, LLC, or XP Investments
        XP Investments, founded in 2010, is a broker-dealer registered with the SEC and FINRA, as well as an interdealer broker member with the NFA.
  With offices in New York and Miami, its key businesses include providing securities brokerage services for institutional and retail investors (most of
  which are Brazilian) and interdealer brokerage services for institutional traders. XP Investments had assets of R$152 million (representing 1.3% of our
  combined assets) as of December 31, 2017 and R$253 million (representing 1.3% of our combined assets) as of December 31, 2018. XP Investments
  recorded total revenue and income of R$132 million during 2017 (representing 6.9% of our consolidated total revenue and income) and R$206 million
  during 2018 (representing 7.0% of our consolidated total revenue and income).


     XPE Infomoney Educação Assessoria Empresarial e Participações Ltda., or XP Educação
         XP Educação, founded in 2003, focuses on our digital content services, including developing and selling financial education courses and events
  online and in person to retail clients. XP Educação had assets of R$10 million (representing 0.1% of our combined assets) as of December 31, 2017 and
  R$40 million (representing 0.2% of our combined assets) as of December 31, 2018. XP Educação recorded total revenue and income of R$10 million
  during 2017 (representing 0.5% of our consolidated total revenue and income) and R$57 million during 2018 (representing 1.9% of our consolidated
  total revenue and income).


  Our Cohorts and Client Economics
         We believe that our strong value proposition and client-centric approach will continue to enhance our client loyalty and enable us to grow our
  share of wallet from our current customer base. We believe a simple cohort data analysis demonstrates this trend in our business and our significant
  opportunity in the future. For example, we measured the net new money invested with us over time across four cohorts, which were defined as new
  clients that became active on our platform in January 2016, January 2017, January 2018 and January 2019. We then eliminated the appreciation in the
  value of the invested assets so that we could calculate the accumulated net inflow of new money by each cohort.

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         We found that each cohort progressively began with a larger initial investment of AUC as our company was growing, our ecosystem was
  expanding, and our brand was getting stronger. For example, our January 2019 cohort began with an initial investment that was nearly 7x the size of our
  January 2016 cohort. However, more importantly, we found that each cohort demonstrated significant growth in their total AUC invested with XP over
  time, after adjusting out the net appreciation of assets in each cohort. This demonstrates that after making their initial investments, each cohort of clients
  was content enough with their XP client experience that they chose to continue adding new money into their XP accounts. We believe this illustrates our
  significant opportunity to continue to penetrate our existing customer base and win a greater share of wallet. For example, as shown in the following
  chart:




         •     January 2016 Cohort – This cohort began with an initial AUC investment of R$511 million and, after adjusting out the net appreciation of
               assets, the net balance of invested AUC increased 44% after 6 months, 76% after 12 months, 97% after 18 months, 109% after 24 months,
               and 109% after 30 months;
         •     January 2017 Cohort – This cohort began with an initial AUC investment of R$1,678 million, up 228% over the January 2016 cohort.
               After adjusting out the net appreciation of assets, the net balance of invested AUC in this cohort increased 51% after 6 months, 78% after
               12 months, and 101% after 18 months, 112% after 24 months, and 128% after 30 months;
         •     January 2018 Cohort – This cohort began with an initial AUC investment of R$2,135 million, up 27% over the January 2017 cohort.
               After adjusting out the net appreciation of assets, the net balance of invested AUC in this cohort increased 57% after 6 months, 75% after
               12 months, and 92% after 18 months; and
         •     January 2019 Cohort – This cohort began with an initial AUC investment of R$3,514 million, up 65% over the January 2018 cohort.
               After adjusting out the net appreciation of assets, the net balance of invested AUC in this cohort increased 57% after 6 months.

        As our clients add new money onto our platform and become more comfortable using our technologies and services, they may also purchase more
  products within their existing financial product categories or begin to explore new categories. For example, a customer with a portfolio of equity
  securities may purchase additional equities and equity products, such as futures, and also diversify into fixed income products.

       We believe a simple cohort data analysis demonstrates this trend in our business and the significant opportunity in the future. For example, we
  measured the average number of product categories per client invested

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  with us (with declared net worth above R$50k) over time across four cohorts, which were defined as new clients that became active on our platform in
  January 2016, January 2017, January 2018 and January 2019. Product categories include equities and futures, fixed income securities, pension funds, XP
  Asset Management funds, third party mutual funds, structured notes and REITs, and the clients with a declared net worth above R$50k represent over
  80% of our total AUC in the abovementioned periods.

         We found that each cohort progressively began with a higher number of investment product categories as new products and service were added to
  the platform. For example, our January 2019 cohort began with an average number of product categories that was over 10% higher than our January
  2016 cohort. However, more importantly, we found that each cohort demonstrated significant growth in the average number of product categories
  invested with XP over time. This demonstrates that after making their initial investments, each cohort of clients was content enough with their XP client
  experience that they chose to continue investing in new product categories. We believe this illustrates our significant opportunity to continue to penetrate
  our existing customer base with an increasing cross-sell of complementary and adjacent products and services. For example, as shown in the following
  chart:


                                                  Average Number of Product Categories per Client (#)




         •     January 2016 Cohort – This cohort began with an initial 1.7 average number of product categories invested. This number increased 34%
               after 6 months, 38% after 12 months, 48% after 18 months, 53% after 24 months, and 61% after 30 months, and 65% after 36 months;
         •     January 2017 Cohort – This cohort began with an initial 1.8 average number of product categories invested. This number increased 30%
               after 6 months, 40% after 12 months, 49% after 18 months, 51% after 24 months, and 55% after 30 months;
         •     January 2018 Cohort – This cohort began with an initial 1.9 average number of product categories invested. This number increased 31%
               after 6 months, 38% after 12 months, 44% after 18 months; and
         •     January 2019 Cohort – This cohort began with an initial 1.9 average number of product categories invested. This number increased 32%
               after 6 months.

       Given our increasing amount of AUC from existing clients, illustrated by our net inflow cohort analysis, and our increasing cross-sell of
  complementary and adjacent products and services, illustrated by the average number

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  of products per customer cohort analysis, and the relatively high switching costs in the financial services market, we believe the LTV of our customers is
  increasing. Our business model also has relatively low customer acquisition costs, or CAC, per client, due to our primarily digital business model, our
  self-reinforcing ecosystem, and our highly efficient omni-channel distribution network. We believe our marginal CAC will continue to benefit from
  scale efficiencies.


  Our Market
         Brazil is a large and attractive market for financial services and financial technology solutions. The country has the 5th largest population and the
  6th largest economy in the world with 209 million people and a GDP of US$1.9 trillion in 2018. As shown in the graph below, Brazil GDP growth
  decelerated materially from 2014 to 2018 in one of the worst recessions in Brazilian history. During this period, we established a track record of
  delivering strong financial performance, even during difficult macroeconomic conditions, and grew our total AUC at a CAGR of 92%. Brazil emerged
  from its recession in 2018 and is now expected to enter a more positive macroeconomic environment for the first time in several years, which we believe
  will create favorable tailwinds for our business.




     Key Market Challenges
        We believe the Brazil financial services industry faces several important market challenges that create market inefficiencies and opportunities for
  disruption, including:
         •     Highly Concentrated Market – In Brazil, the financial services market continues to be controlled by a few traditional financial institutions.
               According to a report by Oliver Wyman published in 2019, five banks, Itaú Unibanco, Bradesco, Banco do Brasil, Caixa Economica
               Federal and Santander, collectively accounted for 93% of the R$8.6 trillion in investment AUC. According to the latest information from
               the Brazilian Central Bank, these same five banks collectively accounted for: (1) 80% of the R$2.6 trillion in all deposits; (2) 99% of the
               R$599 billion in mortgages; (3) 79% of the R$231 billion in credit card outstanding balances; (4) 93% of the R$810 billion in open
               Pension Funds; (5) 61% of the R$4.7 trillion in institutional asset management funds; (6) 84% of the R$1.8 trillion in personal loans; and
               (7) 78% of the R$1.5 trillion in corporate credit balances. We believe this concentration has created material market inefficiencies which
               provide significant opportunities for disruption, disintermediation, and new business models.
         •     Bureaucratic, Asset-Heavy Infrastructures – The legacy models of the traditional banks are based on asset-heavy infrastructures such as
               large networks of physical bank branches, large bureaucratic

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               organizations with hundreds of thousands of personnel and processes, and older, segregated technology platforms. We believe these
               cumbersome infrastructures encourage the traditional banks to focus more on (1) managing the internal burdens of their operations;
               (2) pushing their in-house products over alternatives from third-party providers; and (3) preserving the status quo.
        •     Narrow Selection of Financial Products – The concentration of traditional financial institutions in Brazil provide their customers with
              more limited access to financial products than typically found in larger and more developed markets, such as the United States and Europe.
              These banks have closed-loop product platforms which significantly restricts the selection of investment products made available to their
              customers typically to those that were created in-house by each bank or have significant embedded costs to drive promotion. We believe
              these practices tend to drive high fees and/or low cost of funding for the traditional banks, but severely limit choice for investors.
        •     Promotion of Inefficient Financial Products – In Brazil the traditional banks continue to promote inefficient financial products, such as
              self-issued time deposits, or CDBs, and savings accounts called Poupança, which provide a large number of the mass population of
              investors with very low returns and punitive redemption options, often at an attractive margin to the bank. Poupança or other cash
              accounts account for 20% of all investment assets in Brazil, according to Oliver Wyman, despite paying relatively low interest rates, often
              lower than the base Selic interest rate in Brazil, and occasionally even lower than the inflation rate, as shown in the graph below. We
              believe the continued promotion of these products is not in the best interests of investors, but they continue to generate high fees for the
              traditional banks.




                                                                                                                 Source: Séries temporais - Banco Central do Brasil


        •     High-Costs and Spreads – We believe overall fees and spreads for financial products in Brazil are too high and are driven by (1) the closed
              platforms of the incumbent banks who often limit their customer’s selection of financial products to those created and controlled by each
              bank; (2) the promotion of inefficient financial products that pay very low yields, such as Poupança; and (3) the high, asset-heavy
              infrastructure costs of the incumbent banks.
        •     Poor Customer Service – We believe the incumbent banks and other service providers generally provide poor customer service in Brazil
              based on market surveys, given the lack of market competition and alternative choices available to their clients. We believe these factors
              drive the prioritization of near-term results over long-term client relationships and discourage the banks from (1) focusing on their client’s
              day-to-day needs; (2) serving the entire customer experience; and (3) looking for new ways to add value.

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        •     Underpenetrated Debt Capital and Other Financial Markets – We believe the debt capital markets in Brazil are significantly
              underpenetrated for the issuance of fixed income products and corporate bonds, particularly when compared to larger markets such as the
              United States and Europe. The incumbent banks control the majority of the debt market and typically steers clients to bank issued term
              loans or limited fixed income products that are sold to their asset management businesses, which we believe limits the amount of available
              credit in the market and fosters an environment for higher costs due to limited competition. Similarly, other lending products, commonly
              found in larger markets, such as home equity loans, are very limited in Brazil.


    Key Market Trends
        •     Favorable and Highly-Aligned Regulatory Initiatives – The Central Bank of Brazil, or BCB, is actively promoting what it calls financial
              democratization policies that seek to provide easier access to financial markets, long-term low interest rates and better financial services.
              We believe these regulatory initiatives provide a favorable regulatory environment that are closely aligned and complement our mission to
              improve people’s lives by transforming the financial markets in Brazil. The Central Bank, has implemented an active regulatory agenda,
              called BC# which is focused on addressing structural issues of the National Financial System by fostering technological innovation. The
              Central Bank has defined four dimensions for its agenda, including:
               •      Inclusion – which it defines as “to ensure non-discriminatory access to the market for all those wishing to participate: small and large
                      businesses entrepreneurs, investors and borrowers, both domestic and foreign clients.” Initiatives in this dimension involve
                      (1) fostering the expansion of credit cooperatives; (2) simplifying and modernizing foreign exchange and international trade
                      regulation (convertibility of the real); (3) local capital market development; and (4) enlarging access to microcredit;
               •      Competitiveness – which it defines as “to promote adequate pricing through fostering competitive access to financial markets.”
                      Initiatives in this dimension involve (1) innovation and preparing the financial system for a technological and inclusive future (e.g.
                      instant payments, open banking, and cyber risk management); (2) improving the management of international reserves; and
                      (3) increasing market efficiency (e.g. market infrastructure and reserve requirements).
               •      Transparency – which it defines as “to improve the market and the BCB information availability and quality, and strengthen the
                      transparency of information regarding financial markets – such as financial services and credit earmarking rules.” Initiatives in this
                      dimension involve (1) improving conditions for rural and mortgage loans; (2) strengthening BCB’s relationship with Congress and
                      foreign investors; and (3) Enhancing transparency and communication of BCB’s actions, including monetary policy decisions.
               •      Education – which it defines as “to promote the citizens’ financial awareness – and, ultimately, their participation in the financial
                      markets – as well as to strengthen the habit of saving.” Initiatives in this dimension involve providing scalable financial education
                      solutions to school students, indebted individuals and low-income citizens.
        •     Increasing Demand for Financial Education & Information – As interest rates and yields on traditional savings product have decreased, we
              believe there are a growing number of people interested in learning (1) the basics of financial freedom and empowerment; (2) how to
              access the financial markets more effectively; and (3) more sophisticated financial management strategies. We have seen the number of
              financial education students increase significantly in the market and believe the demand for financial media content has grown materially
              in the last few years across a number of channels.
        •     Increasing Demand for Financial Products – As more customers claim their financial freedom from the traditional banks, and yields on
              other bank products remain stagnant, we believe the market will see a steady increase in the demand for more types of financial products
              and more choices of issuers across

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               different asset classes and risk appetites. We believe there will also continue to be an increasing interest from institutions and corporates
               for more product issuing opportunities and product structuring services. We believe this is a long-term trend as the Brazilian market
               expands to close the product selection gap with other large markets, such as the United States and Europe.
         •     Increasing Demand for Technology to Manage Financial Services – Similar to other trends in commerce, customers in Brazil are
               increasingly looking to conduct their financial journeys through digital channels, via online portals, cloud-based platforms and mobile
               technology applications, instead of in bank branches. In addition, as customers engagement increases, they are also demanding access to
               more sophisticated analytical tools and technology applications, such as comparison engines, risk management tools, and electronic trading
               platforms, through digital channels that can enable these features at low costs and high efficiency.
         •     Increasing Demand for Better UX Experiences – As customers engage in more digital channels, they are increasingly demanding sleeker,
               more powerful and more convenient user interfaces, or UX, similar to the consumer technology products and software applications that
               they interact with in other areas of their daily lives. We believe these digital customers will increasingly demand technology applications
               that provide intuitive, easy-to-use, yet powerful features, that can integrate and utilize all of their data, and empower them to do more
               across their client journeys, versus just siloed applications with one or two functions.
         •     Increasing Number of Independent Financial Advisors – the career market for registered IFAs is growing rapidly in Brazil as the traditional
               banks continue to close branches and reduce costs from their large legacy operations. Many top financial services professionals who
               previously worked in these banks are looking to become IFAs. The total number of IFAs in Brazil has grown from over 5,000 in 2015 to
               over 9,000 by 2019 according to a report by Oliver Wyman published in 2019.
         •     Increasing Demand for Turn-Key Solutions and Applications for IFAs – Many of these IFAs are looking for new platforms, that provide the
               product suites, business management tools and technology applications that they can use to start their businesses, attract new customers
               and manage their operations more effectively.
         •     Disintermediation of Investments, Credit and Market Equitization – Greater access to information and technology are making Brazilians
               increasingly aware and inclined to look for alternatives outside the traditional retail banks for investment products and services. Brazil is in
               the early stages of this process, with 93% of all retail AUC still inside the five incumbent banks according to a report by Oliver Wyman.
               Large corporates in Brazil have also been diversifying their funding sources away from Brazil’s largest banks, as the three Government-
               owned banks, Banco do Brasil, Caixa and BNDES, have reduced their corporate loan portfolios by R$372 billion in aggregate from
               December 2014 to June 2019, while Itaú Unibanco, Bradesco and Santander Brasil have kept their respective corporate loan books
               relatively unchanged during this same period. In addition, equities as an asset class is still incredibly underpenetrated among retail
               investors, with only 1% of Brazilians having an active brokerage account.


    Addressable Market Opportunities
         We believe our XP Model will benefit from these key market trends and the favorable macroeconomic environment in Brazil, and has positioned
  us to continue to penetrate, grow and expand our large addressable market opportunity in Brazil, which is expected to reach nearly R$8.6 trillion in
  investment AUC and adjacent markets by the end of 2019, according to a report by Oliver Wyman. Given our leadership, scale, brand, and competitive
  advantages provided by our XP Model, we believe we will benefit from and continue to be a catalyst for:
         •     Continued Growth of the Investment AUC Addressable Market – According to a report by Oliver Wyman published in 2019, the total
               addressable market of investment AUC in Brazil was R$7.9 trillion

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               in 2018, up 105% since 2011, representing a CAGR of 11% that is roughly expected to continue at least up to 2024, as shown in the
               following graph.


                                                                        Evolution Of Investment Assets
                                                                            R$ Tn, Nominal Values




        •     Continued Shift of AUC from Banks to Independent Investment Firms – According to the Oliver Wyman report, banks in Brazil currently
              control approximately 93% of retail investment AUC and independent investment firms control approximately 7%, of which we believe
              XP accounts for the significant majority. Oliver Wyman estimates that the market share of investment AUC for independent investment
              firms will grow from 7% in 2018 to 25% in 2024. We believe this is a long-term trend that is still in the early stages. A similar shift away
              from banks has been observed in other markets across the globe, including the United States, where independent investment firms
              controlled 87% of mutual funds distributions in 2017, also according to Oliver Wyman, as shown in the following graphs.

                                                              Evolution Of Investment Assets Market Share




               1.   For banks, it includes both retail and private banking branches as well as online banking; it excludes networks of IFA belonging to the groups. Considers mutual funds
                    assets distribution.
               Source: ANBIMA, Valor, Infomoney survey May/2017, Financial Times, Platforum. Oliver Wyman analysis

        •     Shift from Fixed Income to More Effective Products – Within the growth of AUC, we believe there is a long-term mix shift trend from
              lower yielding fixed income products to higher potential yielding products such as equities, managed funds, and structured products, such
              as derivatives. The share of

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                fixed income as a percentage of total investment AUC dropped from 22% in 2016 to 19% in 2018 as shown in the following graph. These
                products have higher margins for investment platforms, positively affecting our profitability. In addition, these products tend to require
                more sophisticated advisory services given their inherently higher risk and complexity, which benefits firms, such as XP, that offer
                valuable financial planning and investment advisory services with a superior customer experience.

                                                     Evolution Of Investment Assets By Product Type
                                                                  R$ Tn, Nominal Values




         •     Continued Expansion of Our Addressable Market into New Areas – We have made significant progress in disrupting the investment
               services of traditional banks, which can be among the hardest to penetrate, due to the difficulty in gaining customer trust, and have one of
               the highest switching costs in the financial services industry, due to the expense and tax impact of moving accounts. According to a report
               by Oliver Wyman published in 2019, we believe the total addressable revenue pool including adjacent markets that could be
               complementary to XP, such as insurance brokerage, credit and debit cards and other loans currently is R$487 billion, as shown in the
               following graphic.


                                                        Estimated Market Size (Revenues; FY 2018)
                                                                  R$ Bn, Nominal Values




  Note: Insurance Brokerage are the commissions paid by insurance companies to the brokers distributing their products; Debit/Credit Cards include
  (1) MDR fees; (2) net interest income after provisions for rotativo, installments and overdraft; (3) annual fees on cards; (4) discounting of receivables;
  and (5) POS rental/sales; Other Loans include net interest income after provision for payroll, auto and personal loans plus mortgages (non-earmarked)
  and corporate loans.

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  Our Competitive Strengths
       Over the last 18 years, we have developed a differentiated set of capabilities and attributes in our business that we believe provide us with
  meaningful strategic advantages and have helped us to disintermediate the legacy models of traditional financial institutions. We believe these
  competitive strengths form the foundations of our business and drive value creation for our shareholders.


     Mission-Driven Culture
        Our culture remains central to XP and we believe it is the core strength of our company, enabling us to attract talent, unify our people, maintain
  the mindset to innovate and disrupt, guide our go-to-market-approach, develop powerful relationships with our clients and establish our identity in the
  marketplace. We remain vigilant in preserving and nurturing it, so that it can continue to guide our firm. We believe the key strengths of our culture are:
         •     A Collaborative Partnership Model – that fosters a collaborative environment within our company and an ownership mentality across our
               organization, which have enabled employees at all levels to remain focused and well aligned despite our rapid growth and expansion;
         •     Our Mission to Empower – which helps us maintain a clear and consistent message internally to our employees and partners and externally
               to the market, that our primary focus is to empower our clients and improve their lives by providing them with better access to investment
               opportunities;
         •     A Zero-Fee Pricing Philosophy – that seeks to eliminate expensive and unnecessary bank fees and charges, such as custodial, account
               maintenance and transfer services fees, which provides us with comparative marketing advantage and constantly reminds us to remain
               efficient;
         •     A Client-Centric Focus – that prioritizes transparency in our services, high-quality customer service and positive client experiences above
               short-term performance results, which helps us build a loyal customer base and long-term relationships that can be seen in our client
               cohorts and retention data; and
         •     An Entrepreneurial Spirit – that keeps us focused on the continuous pursuit of innovation across our firm to improve our operations and
               our client experiences. This fosters an energetic, meritocratic environment that attracts the most innovative financial and technological
               talent in the country to work or partner with us, which has helped us remain creative and avoid complacency.


     Revolutionary XP Model
        Our model incorporates a unique combination of proprietary capabilities, services and technologies to deliver a highly differentiated and
  integrated client experience, that have enabled us to differentiate from our competitors. In addition, the XP Model has given several strategic and
  operating advantages, including:
         •     First-Disruptor Leadership – Since our founding in 2001, XP has established itself as a trusted provider of low-cost brokerage, investment
               advisory, and asset management services in Brazil, the largest independent investment platform and leading alternative to the banks;
         •     Trusted Brand – We have built a valuable, trusted brand in Brazil and received an NPS of 71 in September 2019, which is the highest score
               in the financial services industry;
         •     Highly Efficient Financial Model – We believe our technology driven business model provides us with significant scale and operating
               efficiencies, including:
                 •    Large Scale and Recurring Revenue – We have significant scale with R$350 billion in AUC and R$4.7 billion in last twelve-month
                      gross revenue as of September 30, 2019. Our business also has a significant component of highly recurring revenue. We believe
                      these help provide our business with a level of predictability and defensibility;
                 •    Attractive LTV / CAC – Our business has an attractive client LTV due to our wallet share gains, revenue yield and low churn, driven
                      by strong client relationships, our focus on the client experience, our increasing suite of solutions, and the structural high switching
                      costs inherent in

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                      investment services. Our model also has relatively low acquisition costs per client due to our efficient marketing driven by our
                      primarily digital business model, our self-reinforcing ecosystem, and our omni-channel distribution network. As of July 2019, the
                      LTV / CAC ratio for our XP branded solutions was approximately 13x;
                 •    Asset-Light, Low Cost Structure – Our technology-driven business model is asset-light and highly scalable. We conduct the majority
                      of our business online and through mobile applications and emphasize operational efficiency and profitability throughout our
                      operations. The asset-light nature of our business model requires minimal capital expenditures to facilitate growth, with expenditures
                      amounting to 4.6% of net revenues for the year ended December 31, 2018 and to 2.4% of net revenues for the nine months ended
                      September 30, 2019;
                 •    Strong Free Cash Flow Generation – Our business model operating efficiencies enables us to generate strong cash flow in various
                      market conditions, and enables us to continue investing in the growth of our existing business;
         •      Network Effects – As we grow our business, we believe our model demonstrates distinct self- reinforcing network effects that help
                compound our growth; and
         •      Powerful Combination of Attributes – The success of XP is due to the combination of capabilities, trusted brand, size and scalability of the
                XP Model that have been developed and nurtured over time.


     Leadership and Structure
         •      Experienced Management Team with Strong Track Record of Success – Our management team is comprised of our founders, who have
                help guide the success of XP over the last 18 years, and new partners who have joined the company along the way from a variety of
                successful backgrounds in the financial services, technology and consumer services industries. This team has an established track record of
                delivering strong financial performance, even during difficult macroeconomic conditions in Brazil. For example, while Brazil GDP growth
                decelerated materially from 2014 to 2018 in one of the worst recessions in Brazilian history, our total AUC grew at a CAGR of 92%.
         •      Meritocratic Partnership Structure – We believe our partnership model is key to our long-term value creation. As of September 30, 2019,
                our partnership was made up of approximately 370 shareholders of XP Controle, which will continue to be our controlling shareholder
                immediately after this offering, and who are directors, officers and employees of the Company and/or its subsidiaries. Following
                completion of this offering, we expect to implement our new partnership model, pursuant to which existing or new partners may be entitled
                to share based compensation based on individual performance. For further information, please see “Management – Long-Term Incentive
                Plan.”


  Our Growth Strategies
        Despite our success to date, we believe our business is still in the early days of driving the disintermediation of traditional financial institutions in
  Brazil and offering better alternatives to their legacy models and practices. We believe there is a large addressable market opportunity remaining in our
  core business and significant market share to win from the incumbent banks that still control over 93% of the retail investment AUC in Brazil. We
  intend to leverage our competitive strengths and continue to enhance the strategic advantages we have created through the XP Model in order to
  continue to grow and expand our business. We intend to pursue these strategies organically, through our in-house initiatives and development
  capabilities provided by of XP Innovation Squads, and inorganically, by selectively making acquisitions of strategic assets such our acquisitions of Rico
  and Infomoney. Most importantly, we intend to remain focused on our core mission of improving people’s lives by empowering them to become
  investors and entrepreneurs, and we will nurture our mission-driven culture so that it can continue to guide our firm. Based on these principles, we plan
  to continue growth our firm by:
         •      Penetrating Our Base – We will continue to seek a greater share of the total AUC and trading volumes from our clients, who often keep
                assets in different accounts and may use the services of several firms,

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               and we will seek to sell additional products and services to our clients. We believe that our strong value proposition and client-centric
               approach will continue to enhance our client loyalty and enable us to grow our share of wallet from our current customer base.
        •     Expanding Our Ecosystem – We believe the self-reinforcing ecosystem provides a strong and highly differentiated advantage to XP,
              enabling us to reach, engage and empower clients across numerous channels. We intend to expand our ecosystem by:
                •     Growing our Client Base – We will continue to grow our base of active retail clients, which reached 1.5 million as of September 30,
                      2019, up 101% year-over-year, as well as our base of institutional trading partners and corporate issuers who provide additional
                      liquidly and products to our platform;
                •     Expanding Our Omni-Channel Distribution Network – We intend to drive more users to our various online portals and expand our
                      network of approximately 5,900 IFA partners, which we believe provide a competitive advantage in promoting the XP brand and
                      signing new clients. We intend to grow these channels by (1) Cross-promoting our brands through our proprietary media; (2) helping
                      our existing IFA partners succeed and expand their businesses; (3) promoting the entrepreneurial opportunities of IFA careers in
                      Brazil; and (4) signing new IFA relationships onto the XP platform. We believe that these channels will also continue to grow as
                      (1) the investment market in Brazil continues to democratize and open up to new investors; and (2) traditional financial institutions
                      continue to close branches, continue to cut costs, and their employees look for new career opportunities; and
                •     Growing our Proprietary Digital Content – We believe this proprietary content (1) helps build familiarity and trust with XP;
                      (2) helps educate Brazilians and makes them more proficient in financial products and services; and (3) helps convert students and
                      audiences into new or more empowered clients or business partners. We will also continue to expand the reach, audience base and
                      student base of our portals to attract, engage and empower prospective clients. We believe there is a significant opportunity to create
                      and penetrate new media channels to cultivate existing relationships and attract new clients and partners. For example, we developed
                      and launched our social media network, Leadr in 2019 and we already reached over 465,000 downloads and over 150,000 monthly
                      active users.
        •     Expanding Our Solutions – We believe there is a significant opportunity to leverage our trusted brand, high NPS scores, and strong client-
              experience across the XP Model to (1) offer our clients and partners additional financial services solutions with a similar value proposition;
              and (2) disrupt the legacy models of traditional financial institutions in new areas. We could expand our solutions organically by leveraging
              the powerful development resources of our XP Innovation Squads, or we could selectively pursue investments and acquisitions that meet
              our criteria. We intend to expand our solutions by:
                •     Growing Our XP Platform Offering – While we believe our open product platform is key competitive advantage versus the limited,
                      closed-loop platforms of the traditional financial institutions, we believe there is a significant opportunity to continue to build on this
                      strength and provide our clients with greater selection and investment opportunities by (1) developing new investment products; and
                      (2) incorporating new investment products from our partners and competitors;
                •     Growing Our XP Advisory Services – Similar to our product platform, we will look for opportunities to expand our suite of advisory
                      services. For example, we launched XP Investments and opened offices in New York, Miami, London and Geneva, to provide new
                      services for Brazilian clients looking to invest outside of Brazil and international investors looking to invest in Brazil;
                •     Developing New Investment Solutions – We have begun to leverage our capabilities to develop solutions in new adjacent areas of the
                      financial services industry. For example, we developed a

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                      proprietary Pension Insurance solution that was complementary to some of our wealth management services and entered in March
                      2019 the R$1.8 trillion pension insurance market, which has been growing since 2011 at a rate of 15% per annum according to
                      Oliver Wyman. By September 2019, we captured 7% of the net inflows in the pension insurance market, and reached approximately
                      R$2 billion in AUC and over 6,000 active clients. We have also created a proprietary debt capital markets, or DCM, function to help
                      foster the development of the fixed income markets in Brazil, which relative underdeveloped given the traditional bank control of
                      credit in the marketplace. Our DCM function has already help numerous new issuers of fixed income securities access new pools of
                      capital, and we believe represents the largest independent DCM business in Brazil. We believe there may be other similar
                      opportunities for us to pursue in the future;
                 •    Entering into New Financial Sectors – We believe there may incremental opportunities to disintermediate the legacy models of
                      traditional financial institutions in other financial sectors beyond investments, which may require new licenses and platforms, but
                      tend to be easier to penetrate and have much lower switching costs versus the investment services industry. For example, some new
                      sector opportunities could include (1) insurance brokerage; (2) debit/credit cards; and (3) other loans. According to a report by
                      Oliver Wyman, we believe the total addressable revenue pool including these adjacent markets that could be complementary to XP is
                      R$487 billion. In September 2019, we received our Digital Bank license from the Central Bank of Brazil, enabling us to provide a
                      broader suite of financial services; and
                 •    Entering into New Geographies – We remain focused primarily on penetrating the large financial services market opportunity in
                      Brazil. However, we have selectively opened a few small offices in the United States, the United Kingdom and Switzerland, to
                      provide our Brazilian clients with access to international financial markets, and provide international clients with investment
                      opportunities in Brazil. As new opportunities develop, we could selectively expand into new markets, where we can leverage our
                      expertise in financial education and financial empowerment to create new classes of investors and disintermediate bank services in
                      other highly concentrated markets.


  Our Products and Services
         We sell a wide range of products and services in various combinations to our clients that we believe are unmatched in their breadth and
  functionality in Brazil. We have developed these solutions to provide our clients with significant differentiation and a superior value proposition versus
  the legacy offerings of traditional banks,. These include: our (1) XP Educação; (2) XP Advisory Services; and (3) our Open Product Platform.


     XP Educação Products
        XP Educação is the largest financial education service in Brazil, providing seminars, classes and learning tools to help teach individuals a range of
  topics, from the basics of investing to more sophisticated techniques and advanced investment strategies. We sell these courses to help educate investors
  in Brazil, which we believe is an effective way to build familiarity and trust with XP and an efficient way to help convert students into new or more
  empowered buyers of financial products and services. As of September 2019, we offered over 140 educational programs and 3 online MBA certification
  courses and had served over 50,000 students.

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     XP Advisory Services
        Our XP Advisory Services leverage our in-house experts to advise our clients on a range of investment activities and our proprietary capabilities,
  expertise and systems to execute transactions on their behalf. For example, these services include:

  Name                               Type                                                      Description                                                Users
  XP Investimentos            Domestic             Advisory services in Brazil to our mass-affluent clients and selected institutional clients       Mass-
                              Financial                                                                                                              Affluent
                              Services

  XP Private                  Domestic and         A unique and personalized wealth management experience for high-net-worth clients,                High Net
                              International        which combines the robustness of a large global institution with the flexibility of a family      Worth
                              Financial            office. XP Private provides a specialized manager with tailored solutions for each client
                              Services             and wealth planning development of on and offshore structures designed to protect,
                                                   preserve and grow a clients’ net worth.

  XP Investments              International        Access to international markets for our high-net worth customers and institutional clients,       Mass-
                              Financial            and access to the Brazilian market to foreign institutional investors. XP Investments is a        Affluent
                              Services             FINRA registered firm with offices in New York and Miami, and an FCA registered firm,             High Net
                                                   with offices in London and Geneva                                                                 Worth

  XP Issuer Services          Product              Product structuring and capital markets services for our corporate clients and issuers of         Issuers
                              Structuring and      fixed income products                                                                             Corporate
                              Issuing


     Open Product Platform
        We offer our client and partners the XP Platform, which is an open product platform that provides our clients with the broadest access to
  investment products in the market, ranging from our own XP-branded products to those of our partners and our competitors. We believe the open nature
  of our product platform is highly differentiated in the market and a key driver of the early success of XP. Traditional financial institutions in Brazil tend
  to favor a closed-loop model which significantly restricts the selection of investment products made available to their customers to those that were
  created in-house or have significant embedded costs to drive promotion. For example, these products include:

  Name                        Type                                                     Description                                                  Clients
  Brokerage             Investment          Over 300 equity securities and futures, such as:                                               •     Retail
  Securities            Products             •   Equities, iShares (ETFs) and Brazilian Depository Receipts (BDRs);                        •     Institutions
                                             •   Dollar, Ibovespa and rate futures; and
                                             •   Commodities, such as feeder cattle, coffee, soy; corn, ethanol, oil and gold.
  Fixed Income          Investment          Over 50 fixed income securities, including:                                                    •     Retail
  Securities            Products             •   Bank Issuances: LCI, LCA, CDB, LF, LC;                                                    •     Institutions
                                             •   Private Credit: Debentures, CRI, CRA, FIDC; and
                                             •   Government Securities.

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  Name                       Type                                                   Description                                               Clients

  Mutual and            Investment        •   Over 15 XP Asset Management Funds                                                        •   Retail
  Hedge Funds           Products          •   Over 400 third-party funds curated by XP from over 120 asset managers; and               •   Institutions
                                          •   Over 20 international funds.
  Structured            Investment      Derivatives and synthetic instruments including:                                               •   Retail
  Products              Products          •   Derivatives – Structures set up with options, using the margin as security. Can be       •   Institutions
                                              done with Index, Dollar, Shares, Interest, feeder cattle and corn commodities; and
                                          •   COE (Structured Operations Certificate) – Instruments combining fixed and variable
                                              income elements, with returns linked to assets indices such as exchange, inflation,
                                              shares and international assets. These products appear as one single (synthetic) asset
                                              for the client, facilitating monitoring of performance and single taxation, and can
                                              have lower costs compared with investing in assets/derivatives separately.
  Pension Plans and Investment          XP branded solutions and distribution of over 58 funds from 37 leading independent             •   Retail
  Life Insurance    Products            insurers and asset managers, including:
                                          •   Pension and social security funds; and
                                          •   Life and travel insurance products of the main independent providers, with similar
                                              characteristics to those offered in more developed markets.
  Wealth                Investment      A suite of asset organization, succession planning and other services.                         •   Retail
  Management            Products
  Services
  Other Investment      Investment        •   Real Estate funds of corporate assets logistics, retail and receivables; and             •   Retail
  Products              Products          •   Equity and debt capital markets solutions.                                               •   Institutions


  Our Marketing, Sales & Distribution
         We market our brands and value-proposition through our proprietary media and we sell our products and services through our omni-channel
  distribution network and online portals, which are part of our self-reinforcing ecosystem that continuously promotes XP’s products and services. We
  believe the primarily digital, technology-enabled nature of our media and our distribution is a significant differentiator for our business and a key
  competitive advantage.


     Proprietary Media & Digital Content
        Our media and digital content is an ecosystem of portals and initiatives that aim to democratize access to financial content in Brazil. It is
  composed of six key initiatives: InfoMoney, XP Educação, XP Research, EXPERT, XP Influencers and Leadr. As we empower Brazilians on how to
  make investment decisions more independently, we help attract, retain and monetize our clients. We attract clients by providing multiple, ongoing touch
  points, which we believe help build brand awareness, trust and a greater familiarity and comfort level with investing. These initiatives provide us with a
  strong organic flow of prospective clients and a highly efficient source of customer acquisition. With millions of users navigating through our platforms
  monthly, we leverage big data analytical tools and artificial intelligence technology to help create an increasingly personalized

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  experience that helps retain clients. Our content also helps our clients navigate and evolve through their journey as investors, which we believe helps
  them optimize their asset allocations over time.
         •     Infomoney – acquired in 2011, Infomoney is the largest investment-related website in Latin America and the 11 th largest on a global scale,
               with approximately 9 million monthly unique visitors as of September 30, 2019, and appearing as a top 10 result in Google searches for an
               average of approximately 45,000 keywords, during the first nine months of 2019.




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        •     XP Educação – a key part of our mission since our founding, XP Education is a leading financial education portal in Brazil, with over
              50,000 students. XP Educação provides seminars, classes and learning tools to help investors, entrepreneurs and executives to evolve
              through their respective journeys and according to their specific needs.




        •     XP Research – our proprietary investment research group has over 25 specialists serving retail clients in Portuguese and institutional
              clients in English. This group produces a wide range of content, which includes insights into fixed income, equities, funds, REITs, asset
              allocation, economics, and politics,

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               among others. Our digital research retail platform is free and has over 500,000 unique monthly visitors that come to our website, which
               utilizes a robust SEO strategy to attract new viewers.
        •     EXPERT – our annual conference for clients, IFAs, and partners has become the largest investment event in Latin America. In 2019, we
              had approximately 30,000 attendees, over 180 sponsors, over 140 journalists in attendance, and over 940 news articles written about our
              event. EXPERT includes a roster of world-renowned speakers, including former U.S. President Bill Clinton in 2018 and former Federal
              Reserve Chairman Ben Bernanke and Olympic medalist Michael Phelps in 2019.




        •     Digital Influencers – a proprietary program that promotes celebrity investment experts online and also includes content from senior XP
              executives who discuss our mission and culture. Our influencers have over 3 million followers on Instagram, LinkedIn, YouTube and
              Twitter. We also have over 2 million additional follower profiles in our database from other sources. For example, our stock trading
              podcast, Stock Pickers, is among the largest podcasts in Brazil. We believe this proprietary network of influencers help listeners become
              more knowledgeable and comfortable with investments, creates greater brand awareness for our solutions, and enhances our connectivity
              with prospective clients and existing customers.

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         •     Leadr – our free investment-focused social media network, available as an Android or IOS app, with over 465,000 downloads and over
               150,000 monthly active users that communicate, research, socialize ideas and trade directly from their accounts. Leadr was designed to
               help foster the growth of the Brazilian investment market by gathering content and users related to the financial market. It creates a social
               environment where people can create their profiles, follow other people, create posts, interact with one another, share news, investment
               ideas, questions and use the $money tag to share stocks, commodities, indices and cryptocurrencies they are talking about with their live
               quotes. Our XP Research content is linked to the Leadr portal and brings additional organic flow to our network.




    Omni-Channel Distribution Network
        We onboard and serve our clients though our omni-channel distribution network, which enables us to deliver our products and services through a
  range of proprietary channels designed to provide different levels of service and functionality. These include:
         •     XP Direct – our full-service website for the mass-affluent clients, which provides access to all of our products and more sophisticated
               functionality.




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        •     Rico – our online-only solution for self-directed investors, which provides powerful, yet convenient and easy-to-use investment services,
              decision-making tools and custom-designed educational software applications. These are delivered through a simple, attractive and
              intuitive online portal that is supported by a dedicated marketing and digital media program.




        •     Clear – A part of XP since 2014, Clear was first to offer zero brokerage fees in Brazil. Clear’s goal is to provide its clients, both
              professional and novice investors, with the best investment experience at a low cost. One of Clear’s main highlights is an intuitive and
              simple Home Broker application that allows the user to invest in various asset classes in the equities and futures market such as options,
              stocks, ETFs and futures contracts, among others. Clear is a 100% digital service, with innovative collateral management tools and
              proprietary front ends designed for retail active traders, and is integrated with the best trading platforms available in the market.




        •     IFA Network – our proprietary distribution network of approximately 5,900 IFA partners, who solicit new clients and help us onboard
              them as XP clients. These IFAs are located in approximately 620 offices in 132 cities across the country and form the largest independent
              financial advisor network in Brazil, which is a competitive advantage for XP. We believe our IFA partners choose to work with XP

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               for a number of reasons including, (1) our deep understanding and appreciation of the IFA business model and our promotion of IFA
               careers given our origins as an IFA; (2) our dedicated suite of technology tools designed to help IFAs manage their businesses more
               effectively; (3) our trusted brand and reach across Brazil; and (4) our proprietary market information which can help IFAs reach and sell
               their services to customers more effectively. We ask our IFA partners to evaluate us on a monthly basis, and recorded an average score of
               8.8 out of 10 for the six months ended September 30, 2019.


  Our Technology
         Our technology is a significant competitive advantage for XP. We have developed a powerful, integrated suite of data-driven technology systems,
  applications, and development resources that enable us to differentiate XP in the market, manage all of our solutions, conduct all of our activities and
  operate with low-cost advantages and efficiencies. We are leveraging the significant technology DNA in our company, our innovation and development
  teams, and agile software development methods to develop a suite of new products, services and technology applications that engage and serve our
  clients across their financial journeys.


     XP Genius Platform
         Our core technology is XP Genius, which is an integrated, cloud-based technology platform with a modular architecture that is highly scalable and
  secure, with 99.5% uptime, and hosted in two fully redundant hot site data centers that operate with real time data synchronization. XP Genius enables
  us to:
         •     connect our various systems, micro-services, technologies and environments, enabling us to expand our capabilities modularly, while
               maintaining an efficient architecture and software code base;
         •     power our solutions and applications across our organization with integrated data harmonized code;
         •     manage our large, valuable and rapidly growing central database of proprietary data with the ability to access information in our data lake
               in real time;
         •     conduct our big data analytics and artificial intelligence initiatives, such as our online customer behavior monitoring and our machine
               learning techniques to identify deviations in customer information; and
         •     provide us with proprietary information and market insights from across our integrated ecosystem.

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     XP Innovation Development Teams
        We have also built a dedicated innovation development program, called XP Innovation, which is comprised of approximately 500 people, up from
  approximately 350 people in December 2018, approximately 150 people in December 2017, and approximately 100 people in December 2016. These
  dedicated technology resources develop and support our solutions by using agile software development methods and leveraging our significant
  technology and data assets. These include 8 XP Tribes, comprised of 2-3 managers each, that help guide and support our development priorities across
  numerous projects, and 50 XP Squads, comprised of autonomous integrated teams of 8-10 people, including a product owner and business expert, a UX
  specialist, a technology leader and several developers, that collaborate to create new technologies and solutions or improve our current offerings. These
  teams operate like 50 different start-up companies inside XP with a focus on the total customer experience, conducting client interviews, prototyping,
  behavior analysis and user tests. One of the most visible external example of our technology capabilities is the suite of technology applications that we
  provide to our clients and partners.




     XP Technology Apps
         We complement and enrich our XP Advisory services and XP Platform of products by developing and offering a differentiated suite of proprietary
  XP Apps, including cloud-based and mobile technology applications and tools, that are designed to be powerful, yet simple, attractive, and easy to use,
  with sleek user interfaces, or UX, that are comparable to the look and convenience of some of the top consumer technology products in the world. We
  combine some of the powerful technical capabilities of XP Genius, with the large amount of proprietary data that flows through our systems, and the
  agile software development methods of our technology innovation XP Tribes and XP Squads to generate functionality and market insights that are value-
  added for our clients. As a result, XP Apps enable users to incorporate a range of activities across their customer experience journeys, such as managing
  their accounts, executing trades, performing custom analytics, and creating custom reports.

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     Bull
        Bull is our free, cloud-based trading platform designed for retail and institutional traders, that includes powerful data visualization, custom
  simulations, analytics, and advance graphics tools that can be used from any internet connected device, such as desktop, tablet, mobile phone, and smart
  watch. The user can analyze the main flows of the market, time and schedule trades, and conduct various forms of charting and volume and pricing
  analysis. In addition, the user has access to several trading tools such as Chart Trading and DOM, that can be used to run various market and
  performance simulations and execute trading quickly and efficiently.




     Rede
        Rede is an IFA management solution application developed for a desktop environment, that was designed to help an IFA run its business. It
  provides a comprehensive suite of CRM, account management and investing tools that enable IFAs to: (1) access their customer’s information;
  (2) manage their customer relationships; (3) monitor their clients’ financial activity; (4) develop the best investment strategies for their clients based on
  key performance metrics; and (5) communicate with clients across a range of platforms.




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     HUB
        HUB is an IFA management solution application, similar to Rede, but designed to help an IFA run its business on-the-go through a mobile
  application. HUB also provides a comprehensive suite of tools for IFAs that enable them to: (1) access client information in real time; (2) manage their
  CRM application and organize their schedules and meetings on the go; (3) monitor client activity, net funding and upcoming maturities; (4) quickly
  define and chart investment strategies remotely; and (5) communicate with clients across a range of platforms and third party applications.




     WebCambio
         WebCambio a customized digital wire transfer application that provides our clients with foreign exchange and remittance services. This platform
  integrates with the best automation services in the market, offers (1) online FX quotes and closing prices; (2) convenient transaction controls;
  (3) transparent transaction and tax calculations; (4) fast currency settlement; (5) simplified contract signing; and (6) integration with XP account equity
  guarantees and other benefits.




     XP Mobile
       XP Mobile is a suite of mobile apps for various XP websites, including XP Investimentos, Clear, Rico and XP Educação available in the Apple
  AppStore and GooglePlay store. XP Investimentos and Rico apps had an average rating of 4.6 as of the date of this prospectus.

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  Our Support Functions
        In order to provide, fulfill and support our products, services and platforms, we have built a robust yet efficient operations organization that
  leverages our technology to onboard our clients, provide high-quality customer support, and conduct our fraud prevention and risk management. These
  support functions include:


     Our Customer Onboarding
         Our client onboarding process is primarily a digital experience and highly efficient. Prospective clients must register on a web based platform and
  enter their basic identification information, such as a name, date of birth, and government ID number, as well as their residential address and financial
  data, such as monthly income and total assets. This process is highly efficient and compliant with Brazilian banking regulation and international anti-
  money laundering and know-your-customer best practices. All information registered by our prospective clients is verified and validated through third-
  party data services that integrate automatically with our systems through our API applications. On average, this validation procedure takes less than 10
  minutes to be completed and for prospective clients to be informed whether their application was successful or not. Today, we believe 80% to 85% of
  prospective clients are automatically approved and have their accounts opened through this process.

         Once a client account is opened, the client is able to login to the platform and respond to the suitability questionnaire. Based on their answers,
  clients will be informed about their investment profile classification and the products suitable to their profiles. Once the suitability process is completed,
  clients are able to browse the website, get information of all types of investments available, transfer money to their XP accounts and proceed with
  investments.


     Our Customer Support
         Our customer support organization serves our clients across multiple brands and channels providing support online or by phone through our
  efficient automated technology tools, client relationship personnel and help desk personnel. Our customer support organization professionals are highly
  trained and have the appropriate market certifications to interact with clients about our financial products and services. Our customer support personnel
  are also encouraged to continue to enhance their training and raise their qualification levels through in-house courses and additional financial
  certifications.

         For customers of our XP-branded services, such as those that reach us through XP Direct or our IFA network, we provide dedicated support
  depending on the customer profile. For example, depending on the client profile, our first level of support may be a dedicated advisor, who maintains a
  close relationship with the client, understands their needs and offers solutions to any questions they have or issues they want to resolve. Our second level
  of support may be our centralized help desk personnel that are available to answer any operational and technical questions about a client’s account via
  telephone, chat and email. For customers of our Rico and Clear branded online services, our first level of support may be our automated technology
  tools, such as our self-help tools and chatbots. Our second level of support may be our specialized help desk personnel, who can be reached online,
  through email and dedicated communication tools, such as online chats and a dedicated WhatsApp application, as well as via telephone.

         We closely measure our clients’ satisfaction and overall happiness with our services, across all of our brands, through quality indicators and
  surveys such as NPS and CSAT. These metrics are directly linked with our internal customer support personnel evaluation and compensation, which we
  believe reinforces our team alignment and commitment to proving high-quality customer service. We are also highly focused on delivering a highly
  positive overall client experience and are continuously investing in this area. We have a specific team of professionals that are dedicated to coordinating
  client experience improvement projects across each point of

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  customer contact throughout our company. For example, this team has implemented various programs designed to reinforce our customer centricity
  mindset, such as:
         •      XP Tour – a guided tour that any client or prospect can attend to visit our main offices. During the tour, people can interact with our
                professionals, learn more about XP’s history and participate in pilot testing for new products and technology applications;
         •      Fale com Guilherme, or Talk to Guilherme – an open channel where anyone can send a suggestion, complaint or request directly to
                Guilherme Benchimol, our CEO; and
         •      Nossa! – a proprietary Wow! program, where any employee can suggest, design and create a unique experience for any client.


     Our Fraud Prevention and Risk Management
        Our fraud prevention and risk management operations are primarily managed by three different groups that are staffed with more than 70
  employees dedicated to auditing and mitigating our company risk exposure. This team is comprised of highly qualified personnel that come from a
  variety of backgrounds in other areas, such as telecommunications, credit card issuing, merchant acquiring, banking and the stock market. They are
  completely independent from our business functions and report directly to our Chief Risk Officer. These groups include:
         •      Corporate Risk – This group is focused on identifying, classifying and mitigating operational, reputational, environmental and strategic
                risks, including any potential internal fraud.
         •      Financial Risk – This group is focused on monitoring our financial positions and managing our exposure to liquidity risk, market risk, and
                credit risk; and
         •      Fraud Prevention – This group is comprised of fraud experts, data scientist, database administrators, investigators, and regulator staff, who
                focus on managing our antifraud strategy and ensuring the legitimacy of client transactions. Their work entails (1) detecting and preventing
                potential external fraud with different models of client authentication, such as user logins; (2) managing our transaction verification
                services; (3) monitoring financial advisors activities; (4) employee and partner fingerprinting; (5) managing our data tokenization and
                token management technology; and (6) managing our biometric facial recognition technology, among others.


  Competition
        The Brazilian financial services industry is highly competitive and fast-changing. The markets for our solutions continue to evolve and are
  competitive in the asset classes, products and geographies in which we operate. We face competition to acquire customers from a variety of traditional
  and non-traditional financial institutions. Our primary competitors include traditional financial institutions, including Itaú Unibanco, Bradesco, Caixa,
  Banco do Brasil and Santander. Our other competitors include other financial services companies, such as Guide, Modal, Genial, Easyinvest, Nova
  Futura, Inter DTVM and BTG Digital. We also compete with a range of other providers in some specific categories, such as asset management firms,
  insurance companies, investment banking firms, institutional brokerage firms, private banking and wealth management firm and digital banks.

        The most significant competitive factors in this business line are price, as well as the quality, reliability, security and ease of our platform and
  solutions. We believe that our comprehensive products and services and geographic reach increasingly differentiate us from other market participants.

        For information on risks relating to increased competition in our industry, see “Risk Factors—Risks Relating to Our Business and Industry—If we
  cannot make the necessary investments to keep pace with rapid developments and change in our industry, the use of our services could decline, reducing
  our revenues.” and “Risk Factors—Risks Relating to Our Business and Industry—Substantial and increasingly intense competition within our industry
  may harm our business.”

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  Legal Proceedings
        From time to time, we are involved in disputes that arise in the ordinary course of our business. Any claims against us, whether meritorious or not,
  can be time consuming, result in costly litigation, require significant management time and result in the diversion of significant operational resources.

         We are subject to a number of judicial and administrative proceedings in the Brazilian court systems, including civil, labor and tax law and social
  security claims and other proceedings, which we believe are common and incidental to business operations in Brazil in general. We recognize provisions
  for legal proceedings in our financial statements, in accordance with accounting rules, when we are advised by independent outside counsel that (1) it is
  probable that an outflow of resources will be required to settle the obligation; and (2) a reliable estimate can be made of the amount of the obligation.
  The assessment of the likelihood of loss includes analysis by outside counsel of available evidence, the hierarchy of laws, available case law, recent
  court rulings and their relevance in the legal system. Our provisions for probable losses arising from these matters are estimated and periodically
  adjusted by management. In making these adjustments our management relies on the opinions of our external legal advisors.

         As of September 30, 2019, we have provisions recorded in our unaudited interim condensed consolidated financial statements in connection with
  legal proceedings for which we believe a loss is probable in accordance with accounting rules, in an aggregate amount of R$16 million and have made
  judicial deposits in an aggregate amount of R$15 million. However, legal proceedings are inherently unpredictable and subject to significant
  uncertainties. If one or more cases were to result in a judgment against us in any reporting period for amounts that exceeded our management’s
  expectations, the impact on our results of operations or financial condition for that reporting period could be material. See “Risk Factors—Risks
  Relating to Our Business and Industry—The costs and effects of pending and future litigation, investigations or similar matters, or adverse facts and
  developments related thereto, could materially affect our business, financial position and results of operations.”

        For further information, see note 25 to our audited consolidated financial statements and note 15 to the unaudited interim condensed consolidated
  financial statements included elsewhere in this prospectus.


     Civil Matters
        The civil claims to which we are a party generally relate to consumer claims, including those related to (1) financial losses in the stock market;
  (2) portfolio management; and (3) alleged losses as a result of the liquidation of customer assets/portfolios resulting in a negative balance. We believe
  these proceedings are unlikely to have a material adverse impact, individually, or in the aggregate, on our results of operations or financial condition.

        As of September 30, 2019, we were party to 20 judicial proceedings of a civil nature for which we recorded a provision of R$3 million. We were
  also party to 178 judicial proceedings of a civil nature totaling R$69 million, where the likelihood of loss has been assessed by our management as
  possible based on the opinion of our external legal advisors and for which we have not recorded a provision.


     Labor Matters
         The labor claims to which we are a party are typically filed by former employees or third parties employees seeking our joint and/or subsidiary
  liability for the acts of our suppliers and service providers, and generally relate to (1) whether there is a direct employer/employee relationship between
  us and our IFAs and whether we should be liable accordingly; and (3) severance payments. We believe these proceedings are unlikely to have a material
  adverse impact, individually or in the aggregate, on our results of operations or financial condition.

       As of September 30, 2019, we were party to 8 labor-related judicial and administrative proceedings for which we recorded a provision of
  R$3 million. We were also party to 11 labor lawsuits totaling approximately

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  R$5 million, where the likelihood of loss has been assessed by our management as possible based on the opinion of our external legal advisors and for
  which we have not recorded a provision.


     Tax and Social Security Matters
        As of September 30, 2019, we were party to one administrative tax and social security proceeding for which we recorded a provision of
  R$10 million. The proceeding relates to the application of social contribution taxes (PIS and COFINS) on the calculation of revenue, and challenges the
  exclusion of these taxes when calculating revenue. As of September 30, 2019, we had made judicial deposits in an aggregate amount of R$9 million in
  connection with this proceeding. As of the date of this prospectus, this proceeding was pending the expert technical report following the decision of the
  second instance court to grant the right to provide evidence and send the proceeding back to the lower court.

         We are party to a tax and social security proceeding totaling R$17 million, where the likelihood of loss has been assessed by our management as
  possible based on the opinion of our external legal advisors and for which we have not recorded a provision. This proceeding alleges that we are in
  violation of Brazilian Law No. 10,101/2000 relating to a requirement to make social security contributions in connection with employee profit sharing
  payments. As of the date of this prospectus, the proceeding is pending the filing of voluntary appeal by XP CCTVM.

        We believe these proceedings are unlikely to have a material adverse impact, individually or in the aggregate, on our results of operations or
  financial condition.


  Intellectual Property
         We rely on a combination of trademark, domain names and trade secret laws, as well as employee and third-party non-disclosure, confidentiality
  and other types of contractual arrangements to establish, maintain and enforce our intellectual property rights, including with respect to our proprietary
  rights related to our products and services. In addition, we license technology from third parties.

        As of September 30, 2019, we did not own any Brazil-issued patents or copyrights. We own a number of trademarks including XP, XP
  Investimentos, XP Private, RICO, CLEAR, INFOMONEY, and TECFINANCE, and other valuable trademarks and designs covering various brands,
  products, programs and services, including EXPERT, LEADR, EXPLICA ANA, and PRIMO RICO. We also own a number of domain names registered
  in Brazil, including “xp.com.br,” “leadr.com.br,” “rico.com.br,” “clear.com.br” and “infomoney.com.br”, and abroad such as “xpi.us.”

        As of the date of this prospectus, our application to register the trademark “XP Inc.” in the United States is pending approval by the relevant
  authority.


  Properties
        Our corporate headquarters are located in Rio de Janeiro, and our principal executive offices, which include the majority of our product
  development, sales, marketing, and business operations, are located in São Paulo. Our principal executive offices consist of approximately 169,950
  square feet of space under a lease that expires in December 2027. We also have offices in several other locations, including offshore in the United States
  of America, the United Kingdom and Switzerland, and believe our facilities are sufficient for our current needs.

        As of September 30, 2019, we had a services agreement with a data center service provider for the provision of data services to us from its data
  centers in the cities of Barueri and Santana do Parnaíba, in the State of São Paulo, Brazil (which are located approximately 5 miles apart). We believe
  that our facilities are suitable and adequate for our business as presently conducted, however, we periodically review our facility requirements and may
  acquire new space to meet the needs of our business or consolidate and dispose of facilities that are no longer required.

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  Employees
       As of September 30, 2019 and as of December 31, 2018, 2017 and 2016, we had 2,091, 1,593, 975 and 742 employees, respectively. As of
  September 30, 2019, all of our employees were based in our offices in São Paulo, in Rio de Janeiro, New York City, Miami, London and Geneva.

        The table below breaks down our full-time personnel by function as of September 30, 2019:

                                                                                                                  Number of        % of
                    Function                                                                                      Employees        Total
                    Management                                                                                          104           5
                    Technology                                                                                          517          25
                    Sales and Marketing                                                                                  94           4
                    Customer Support                                                                                    463          22
                    General and Administrative                                                                          913          44
                    Total                                                                                             2,091         100

         Our employees in Brazil are affiliated with the unions of independent sales agents and of consulting, information, research and accounting firms
  for the geographic area in which they render services. We believe we
  have a constructive relationship with these unions, as we have never experienced strikes, work stoppages or disputes leading to any form of downtime.

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                                                                     MANAGEMENT

      We are managed by our board of directors and by our senior management, pursuant to our Articles of Association and the Cayman Islands
  Companies Law (as amended).


  Board of Directors
        As of the date of this prospectus, our board of directors is composed of thirteen members. Each director is appointed for a two-year term, unless
  they resign or their office is vacated earlier, provided, however, that such term shall be extended beyond two years in the event that no successor has
  been appointed (in which case such term shall be extended to the date on which such successor has been appointed). Directors appointed by the board of
  directors hold office until the next annual general meeting. Our directors do not have a retirement age requirement under our Articles of Association.

         The following table presents the names of the current members of our board of directors.

  Name                                                                                  Age                               Position
  Guilherme Dias Fernandes Benchimol                                                     43                             Chairman
  Bernardo Amaral Botelho                                                                43                             Director
  Carlos Alberto Ferreira Filho                                                          39                             Director
  Gabriel Klas da Rocha Leal                                                             38                             Director
  Bruno Constantino Alexandre dos Santos                                                 44                             Director
  Fabrício Cunha de Almeida                                                              37                             Director
  Guilherme Sant’Anna Monteiro da Silva                                                  36                             Director
  Julio Capua Ramos da Silva                                                             41                             Director
  Martin Emiliano Escobari Lifchitz                                                      47                             Director
  Geraldo José Carbone                                                                   63                             Director
  Francisco Eduardo de Almeida Pinto                                                     60                             Director
  Maria Helena dos Santos Fernandes de Santana                                           60                             Director
  Geraldo Travaglia Filho                                                                68                             Director

        The following is a brief summary of the business experience of our directors. Unless otherwise indicated, the current business addresses for our
  directors is Av. Chedid Jafet, 75, Torre Sul, 30th floor, Vila Olímpia – São Paulo, Brazil 04551-065.

        Guilherme Dias Fernandes Benchimol is the Chairman of our board of directors, a position he has held since August 2019. Mr. Benchimol has
  over 20 years’ experience in the financial services market. He founded the XP group in 2001 and has been its chief executive officer since 2001.
  Currently, Mr. Benchimol also serves on the boards of XP Brazil as the Chairman since 2018. Mr. Benchimol holds a bachelor’s degree in business
  economics from Universidade Federal do Rio de Janeiro.

       Bernardo Amaral Botelho is a member of our board of directors, a position he has held since November 2019. Mr. Amaral has been with the XP
  group since 2007 and has been a board member of XP Brazil since 2018. He is also an executive officer of XP CCTVM, XP Gestão, XP Vista, XP
  Advisory, XP VP, Tecfinance, XP Educação and Leadr. Prior to joining us, he was a lawyer of Costa Advogados Associados from 2001 to 2007.
  Mr. Amaral holds a bachelor’s degree in law from Pontifícia Universidade Católica do Rio de Janeiro and an LLM in Business Law from IBMEC
  Group.

        Carlos Alberto Ferreira Filho is a member of our board of directors, a position he has held since November 2019. Mr. Ferreira has been with the
  XP group since 2008 and has been an executive officer of XP CCTVM since 2019. Prior to joining us, he worked at Credit Suisse Hedging Griffo from
  2005 to 2008. Mr. Ferreira holds a bachelor’s degree in business economics from Mackenzie in São Paulo.

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        Gabriel Klas da Rocha Leal is a member of our board of directors, a position he has held since November 2019. Mr. Leal has been with the XP
  group since 2006, has been a board member of XP Brazil since 2018, and has been an executive officer of XP CCTVM since 2019. Prior to joining us,
  he worked at SC Johnson from 2002 to 2006. Mr. Leal holds a bachelor’s degree in chemical engineering from Pontifícia Universidade Católica do Rio
  de Janeiro and an MBA from IBMEC Group.

        Bruno Constantino Alexandre dos Santos is a member of our board of directors, a position he has held since November 2019 and our Chief
  Financial Officer, a position he has held since November 2019. Mr. Constantino has over 20 years’ experience in the financial markets. He joined XP
  CCTVM in 2012 and has been its chief financial officer since 2019. Prior to joining us, he was CIO of Graphus Capital from 2010 to 2012 and a partner
  at BTG Pactual from 2000 to 2010. He also served as a member of the board of directors of CEMIG from 2002 to 2004, Light from 2006 to 2009, and
  Valid from 2010 to 2019. Mr. Constantino was awarded a Chartered Financial Analyst (CFA) charter in 2009. Mr. Constantino holds a bachelor’s degree
  in mechanical engineering from Pontifícia Universidade Católica do Rio de Janeiro and an MBA from IBMEC Group.

        Fabrício Cunha de Almeida is a member of our board of directors, a position he has held since November 2019 and our General Counsel, a
  position he has held since November 2019. Mr. Almeida has been the general counsel of the XP group since 2013. Prior to joining us, he was a lawyer at
  Barbosa, Müssnich & Aragão from 2005 to 2011. Mr. Almeida holds a bachelor’s degree in law from Universidade Cândido Mendes in Rio de Janeiro
  and holds a postgraduate degree in corporate law and capital markets from FGV.

         Guilherme Sant’Anna Monteiro da Silva is a member of our board of directors, a position he has held since November 2019. Mr. Monteiro da
  Silva joined XP CCTVM in 2018 as its chief human resources officer. Prior to joining us, he worked at Falconi Consulting from 2005 to 2018.
  Mr. Monteiro da Silva holds a bachelor’s degree in business administration from Universidade Federal de Viçosa and an MBA in corporate finance from
  Universidade de São Paulo.

         Julio Capua Ramos da Silva is a member of our board of directors and a member of our audit committee, a position he has held since November
  2019. Mr. Capua has been a board member of XP Brazil since 2018. Mr. Capua was part of the XP Group for 15 years. He joined the XP Group in 2004
  to build the first asset management initiatives of XP. He also worked on the trading desk of the former independent investment agency of the Group. In
  2007, Mr. Capua became responsible for the financial and legal affairs of the XP Group, including the accounting, tax, financial planning, budgeting,
  efficiency indicators and compliance and legal departments. He was the chief financial officer of XP CCTVM until April 2019. In addition, Mr. Capua
  was an officer of several companies within the XP Group until the end of 2018, including XP Gestão, XP Advisory and XP Educação. Mr. Capua is
  dedicated to new business initiatives, such as Victori Capital LLC, Rally dos Sertoes and Cellar Wines. He is also a member of the consulting committee
  of Starboard Restructuring Partners Consultoria em Negócios Ltda, and a member of NYCA Partners, a venture capital firm. Before joining the XP
  Group, Mr. Capua worked at SC Johnson Wax from 1998 until 2004. Mr. Capua holds a bachelor’s degree in production engineering and an MBA from
  Pontifícia Universidade Católica do Rio de Janeiro.

        Martin Emiliano Escobari Lifchitz is a member of our board of directors, a position he has held since November 2019. He has been with General
  Atlantic since 2012, and is a member of its Management Committee, is the Chair of its Investment Committee, and is the head of its Latin America
  business. Mr. Escobari serves on the board of directors of XP Brazil, Empreendimentos Pague Menos SA, Laboratorios Sanfer, S.A.P.I. de C.V., Grupo
  Axo, S.A.P.I. de C.V., and has previously served on the boards of Ourofino Saude Animal Participações S.A., Sura Asset Management, Smiles S.A.,
  Aceco TI Participações S.A., Grupo Linx and Decolar.com, Inc. Mr. Escobari co-founded submarino.com and was its chief financial officer from 1999
  to 2007. He was an associate at the Boston Consulting Group (New York) from 1994 to 1996, an investment officer at the private equity firm GP
  Investimentos from 1998 to 1999, and a managing director at Advent International from 2007 to 2011. Mr. Escobari holds a bachelor’s degree in
  economics from Harvard College (Harvard University) and an MBA (George F. Baker Scholar) from Harvard Business School. He serves on the board
  of Primeira Chance, a

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  scholarship program for gifted children in Brazil and is active with Endeavor Brazil, where he mentors young entrepreneurs. Mr. Escobari is also a
  member of the Brazil office of Harvard’s Rockefeller Center for Latin American Studies and a board member of the Lincoln Center for the Performing
  Arts.

        Geraldo José Carbone is a member of our board of directors, a position he has held since November 2019. He is currently a member of the
  compensation committee of Itaú Unibanco Holding S.A. Mr. Carbone is a corporate governance consultant for Aché Laboratórios Farmacêuticos and
  currently serves on the board of directors of Aché Laboratórios Farmacêuticos and Copersucar S.A. Mr. Carbone was president of BankBoston in Brazil
  from 1997 to 2006 and an executive vice president at Itaú Unibanco S.A. from 2008 to 2011. He was also a director at Federação Brasileira de Bancos
  (Febraban) from 2001 to 2006 and president of ABBI—Associação Brasileira de Bancos Internacionais from 2000 to 2004. Mr. Carbone is also actively
  involved in cultural initiatives, and is an executive director of MASP—Museu de Arte de São Paulo, and the chairman of MAM—Museum of Modern
  Art, among others. Mr. Carbone holds a bachelor’s degree in economics from the University of São Paulo.

         Francisco Eduardo de Almeida Pinto is a member of our board of directors, a position he has held since November 2019. Mr. Almeida Pinto
  served as a member of the board of directors of Unibanco—União de Bancos Brasileiros S.A. from 2007 to 2008 and Itaú Unibanco Holding S.A. from
  2008 to 2012. He joined Banco da Bahia Investimentos S.A. (currently Banco BBM S.A.) in 1984, and was its Chief Treasurer from 1989 to 1990, its
  Chief Financial Officer from 1991 to 1993 and its Chief Executive Officer from 1994 to 1995. He was Deputy Governor of Monetary Policy for the
  Brazilian Central Bank from September 1993 to February 1994. Mr. Almeida Pinto led the formation of Unibanco Asset Management S.A. in 1995. He
  also founded Radix Gestão de Recursos Financeiros Ltda. in 1996 and was its Managing Partner from 1996 to 1998. Mr. Almeida Pinto was the Chief
  Executive Officer of BBA Capital DTVM S.A. and its successor BBA Icatu Investimentos DTVM S.A. from 1998 to 2002, an Executive Officer at
  Brasil Warrant Administração de Bens e Empresas S.A. from 2007 to 2011 and the Chief Investment Officer at BW Gestão de Investimentos Ltda. from
  2008 to 2011. He was Managing Partner, Chief Executive Officer and Chief Investment Officer of Tese Gestão de Investimentos Ltda. from 2012 to
  2016, and Managing Partner of Tese Consultoria Financeira Ltda. in 2017. Mr. Almeida Pinto holds a bachelor’s degree in economics from Pontifícia
  Universidade Católica do Rio de Janeiro (PUC-Rio).

        Maria Helena dos Santos Fernandes de Santana is a member of our board of directors and a member of our audit committee, positions she has held
  since November 2019. Mrs. Santana has been an independent member of the audit committee of XP Brazil since 2018. She has been a non-executive
  director of Bolsas y Mercados Españoles (BME) the Spanish exchange, OTC and market infrastructures operator, since 2016. Mrs. Santana has been an
  independent member of the audit committee of Itaú Unibanco Holding S.A. since June 2014 and a non-executive director and the chairman of the
  Nomination, Compensation and Governance Committee of Oi S.A since 2018. She has also been a member of the council of the IFRS Foundation since
  January 2014, a member of the governance and nomination committee of the International Integrated Reporting Council (IIRC) since 2016, and a
  member of the Latin-American Roundtable on Corporate Governance (OECD) since 2000. She is also a member of the Câmara Consultiva de Mercado
  de Governança de Estatais of B3 (the State-Owned Companies Corporate Governance Advisory Committee), and a member of the Câmara Consultiva
  de Emissores e Estruturadores of B3 (the Issuers and Underwriters Advisory Committee). Mrs. Santana was a non-executive director and chairman of
  the corporate governance committee of Companhia Brasileira de Distribuição S.A. from 2013 to 2017, a non-executive director and chairman of the
  audit committee of Totvs S.A. from 2013 to 2017, and a non-executive director of CPFL Energia S.A. from 2013 to 2015. She was chairman of the
  executive committee of Organização Internacional das Comissões de Valores (IOSCO) from 2011 to 2012, a director at the CVM from July 2006 to July
  2007, president of the CVM from July 2007 to July 2012, and the CVM representative on the Financial Stability Board (FSB) from 2009 to 2012. Mrs.
  Santana was also vice chairman at the Instituto Brasileiro de Governança Corporativa (IBGC) from 2004 to 2006, and a member of its board of directors
  from 2001 to 2006. She worked at BM&F Bovespa S.A. (now B3) from 1994 to 2006, where she was responsible for the implementation of the Novo
  Mercado and corporate governance listing tiers of the stock

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  exchange and where she was head of Listings and Issuer Relations from 2000 to 2006. Mrs. Santana holds a bachelor’s degree in economics from the
  University of São Paulo.

        Geraldo Travaglia Filho is a member of our board of directors and a member of our audit committee, positions he has held since November 2019.
  Mr. Filho was a member of the audit committee of Itaú Unibanco Holding S.A. until April 2018 and was its president from June 2014 to April 2017. He
  was the secretary of the board of directors of Itaú Unibanco Holding S.A. from December 2010 to July 2012. Mr. Filho was an executive director at Itaú
  Unibanco S.A. from November 2008 to April 2009, an executive director at Banco Itaú BBA S.A. from November 2008 to January 2010, and an
  executive finance director at Redecard S.A. from May 2009 to April 2010. He was at Unibanco—União de Bancos Brasileiros S.A. from 1990 to 2009,
  where he was director of planning, accounting and controls from 1990 to 1994, executive director from 1996 to 2004, and vice president from
  September 2004 to April 2009. Mr. Filho holds a bachelor’s degree in business administration from the University of São Paulo, with a specialization in
  bank management from the Wharton School at the University of Pennsylvania (1992).


  Executive Officers
       Our executive officers are responsible for the management and representation of our company. We have a strong centralized management team led
  by Guilherme Benchimol, our CEO, with broad experience in the financial services industry.

        The following table lists our current executive officers:

                             Name                                   Age                                        Position
  Guilherme Dias Fernandes Benchimol                                43                                Chief Executive Officer
  Bruno Constantino Alexandre dos Santos                            44                                Chief Financial Officer
  Fabrício Cunha de Almeida                                         37                                   General Counsel

       Unless otherwise indicated, the current business addresses for our executive officers is Av. Chedid Jafet, 75, Torre Sul, 30th floor, Vila Olímpia –
  São Paulo, Brazil 04551-065.


  Foreign Private Issuer Status
        Nasdaq listing rules include certain accommodations in the corporate governance requirements that allow foreign private issuers, such as us, to
  follow “home country” corporate governance practices in lieu of the otherwise applicable corporate governance standards of Nasdaq. The application of
  such exceptions requires that we disclose each Nasdaq corporate governance standard that we do not follow and describe the Cayman Islands corporate
  governance practices we do follow in lieu of the relevant Nasdaq corporate governance standard. We currently follow Cayman Islands corporate
  governance practices in lieu of the corporate governance requirements of Nasdaq in respect of the following:
         •     the majority independent director requirement under Section 5605(b)(1) of Nasdaq listing rules;
         •     the requirement under Section 5605(c)(2)(A) of Nasdaq listing notes that the audit committee must be comprised of at least three members;
         •     the requirement under Section 5605(d) of Nasdaq listing rules that a compensation committee comprised solely of independent directors
               governed by a compensation committee charter oversee executive compensation;
         •     the requirement under Section 5605(e) of Nasdaq listing rules that director nominees be selected or recommended for selection by either a
               majority of the independent directors or a nominations committee comprised solely of independent directors;

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         •     the requirement under Section 5635(d) of Nasdaq listing rules that a listed issuer obtain stockholder approval prior to issuing or selling
               securities (or securities convertible into or exercisable for common stock) that equal 20% or more of the issuer’s outstanding common
               stock or voting power prior to such issuance or sale; and
         •     the requirement under Section 5605(b)(2) of Nasdaq listing rules that the independent directors have regularly scheduled meetings with
               only the independent directors present.

        Cayman Islands law does not impose a requirement that the board consist of a majority of independent directors or that such independent directors
  meet regularly without other members present. Nor does Cayman Islands law impose specific requirements on the establishment of a compensation
  committee or nominating committee or nominating process.


  Controlled Company Exception
         Immediately after the completion of this offering, XP Controle will beneficially own 65.75% of our Class B common shares, representing 56.18%
  of the voting power of our outstanding share capital (or 54.79% if the underwriters exercise their option to purchase additional Class A common shares
  in full). As a result, we will be a “controlled company” within the meaning of the corporate governance standards of the Nasdaq corporate governance
  rules. Under these rules, a company of which more than 50% of the voting power in the election of directors is held by an individual, group or another
  company is a “controlled company” and may elect not to comply with certain corporate governance requirements.

         As a “controlled company,” we may elect not to comply with certain corporate governance standards, including the requirements (1) that a
  majority of our board of directors consist of independent directors; (2) that our board of directors have a compensation committee that is comprised
  entirely of independent directors with a written charter addressing the committee’s purpose and responsibilities; and (3) that our board of directors have
  a nominating and corporate governance committee that is comprised entirely of independent directors with a written charter addressing the committee’s
  purpose and responsibilities. For so long as we qualify as a controlled company, we may take advantage of these exemptions. Accordingly, you will not
  have the same protections afforded to shareholders of companies that are subject to all of these corporate governance requirements. In the event that we
  cease to be a “controlled company” and our common shares continue to be listed on the Nasdaq, we will be required to comply with the corporate
  governance standards within the applicable transition periods.


  Committees
     Audit Committee
        The audit committee, which is expected to consist of Julio Capua Ramos da Silva, Maria Helena dos Santos Fernandes de Santana and Geraldo
  Travaglia Filho, will assist our board of directors in overseeing our accounting and financial reporting processes and the audits of our financial
  statements. In addition, the audit committee will be directly responsible for the appointment, compensation, retention and oversight of the work of our
  independent registered public accounting firm. Maria Helena dos Santos Fernandes de Santana will serve as Chairperson of the committee. The audit
  committee will consist exclusively of members of our board of directors who are financially literate, and Julio Capua Ramos da Silva is considered an
  “audit committee financial expert” as defined by the SEC. Our board of directors has determined that Julio Capua Ramos da Silva, Maria Helena dos
  Santos Fernandes de Santana and Geraldo Travaglia Filho satisfy the “independence” requirements set forth in Rule 10A-3 under the Exchange Act.

        The audit committee will be governed by a charter that complies with Nasdaq rules. Upon the completion of this offering, the audit committee will
  be responsible for, among other things:
         •     the appointment, compensation, retention and oversight of any auditor or accounting firm engaged for the purpose of preparing or issuing
               an audit report or performing other audit, review or attest services;

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         •     pre-approving the audit services and non-audit services to be provided by our independent auditor before the auditor is engaged to render
               such services;
         •     reviewing and discussing with the independent auditor its responsibilities under generally accepted auditing standards, the planned scope
               and timing of the independent auditor’s annual audit plan(s) and significant findings from the audit;
         •     obtaining and reviewing a report from the independent auditor describing all relationships between the independent auditor and the
               Company consistent with the applicable PCAOB requirements regarding the independent auditor’s communications with the audit
               committee concerning independence;
         •     confirming and evaluating the rotation of the audit partners on the audit engagement team as required by law;
         •     reviewing with management, in separate meetings whenever the Audit Committee deems appropriate, any analyses or other written
               communications prepared by the Management and/or the independent auditor setting forth significant financial reporting issues and
               judgments made in connection with the preparation of the financial statements, including analyses of the effects of alternative IFRS
               methods on the financial statements; and other critical accounting policies and practices of the Company;
         •     reviewing, in conjunction with the Chief Executive Officer and Chief Financial Officer of the Company, the Company’s disclosure controls
               and procedures and internal control over financial reporting;
         •     establishing procedures for the receipt, retention and treatment of complaints received by the Company regarding accounting, internal
               accounting controls or auditing matters, and the confidential, anonymous submission by employees of the Company of concerns regarding
               questionable accounting or auditing matters; and
         •     approving or ratifying any related person transaction (as defined in our related person transaction policy) in accordance with our related
               person transaction policy.

        The audit committee will meet as often as it determines is appropriate to carry out its responsibilities, but in any event will meet at least four times
  per year.


     Compensation Committee
         Our compensation committee, which consists of Guilherme Dias Fernandes Benchimol, Bruno Constantino Alexandre dos Santos, Guilherme
  Sant’Anna Monteiro da Silva, Francisco Eduardo de Almeida Pinto and Martin Emiliano Escobari Lifchitz, assists the board of directors in reviewing
  and approving the compensation structure, including all forms of compensation, relating to our directors and executive officers. The committee reviews
  the total compensation package for our executive officers and directors and recommends to the board of directors for determination the compensation of
  each of our directors and executive officers, and will periodically review and approve any long-term incentive compensation or equity plans, programs
  or similar arrangements, annual bonuses, and employee pension and benefits plans. As permitted by the listing requirements of Nasdaq, we have opted
  out of Nasdaq Listing Rule 5605(d) which requires that a compensation committee consist entirely of independent directors.


  Code of Ethics
        We have adopted a code of ethics applicable to the board of directors and all employees, which covers a broad range of matters including the
  handling of conflicts of interest, compliance issues and other corporate policies such as insider trading and equal opportunity and non-discrimination
  standards. Since its effective date in 2014, we have not waived compliance with the code of ethics. We amended the code of ethics in 2017 and 2019,
  and amended the code of ethics again in connection with our initial public offering.

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  Compensation of Directors and Officers
        Under Cayman Islands law, we are not required to disclose compensation paid to our senior management on an individual basis and we have not
  otherwise publicly disclosed this information elsewhere.

         For the nine months ended September 30, 2019 and for the years ended December 31, 2018, 2017 and 2016, the aggregate compensation expense
  for the members of the board of directors and our executive officers for services in all capacities was R$24 million, R$34 million, R$21 million and
  R$28 million, respectively, which includes both benefits paid in kind and compensation. See note 24(a) to our audited consolidated financial statements
  included elsewhere in this prospectus.


  Employment Agreements
       None of our executive officers have entered into employment agreements with the Company. None of our directors have entered into service
  agreements with the Company.


  Long-Term Incentive Plan
          In connection with and on or before the completion of this offering, we intend to establish a new equity incentive plan, or the LTIP, for the purpose
  of advancing the interests of our shareholders by enhancing our ability to motivate and reward eligible service providers to perform at the highest level.
  The LTIP will govern the issuances of equity incentive awards with respect to our Class A common shares from and after the completion of this offering.
  It is intended that the maximum number of Class A common shares initially available for issuance pursuant to equity incentive awards granted under the
  LTIP will not exceed 5% of our common shares outstanding at any given time. Our board of directors may adjust the number of Class A common shares
  available for issuance under the LTIP from time to time in its discretion.

        Equity incentive awards may be granted to our employees, non-employee directors, officers, consultants or other individual service providers, as
  well as holders of equity compensation awards granted by a company that may be acquired by us in the future. Awards under the LTIP may be granted in
  the form of stock options, stock appreciation rights, restricted stock, restricted stock units, or the RSUs, performance awards or other stock-based
  awards. Stock options and stock appreciation rights will have an exercise price determined by the administrator but that is no less than the fair market
  value of the underlying Class A common shares on the date of grant.

         The vesting conditions for grants under the LTIP will be determined by the administrator and, in the case of restricted stock and RSUs, will be set
  forth in the applicable award documentation. For stock options, the administrator will determine the exercise price of the option, the term of the option
  and the time or times at which the option may be exercised. Performance awards will be subject to performance conditions as specified by the
  administrator and will be settled in cash, Class A common shares, other awards, other property, net settlement or any combination thereof, as determined
  by the administrator in its discretion, following the end of the relevant performance period.

       The LTIP will be administered by a compensation committee appointed by our board of directors consisting of not less than three members, which
  may consist of directors and/or officers or other management members of our company. For more information see “—Committees—Compensation
  Committee.”


  Directors’ and Officers’ Insurance
       Prior to the consummation of this offering, we intend to contract civil liability insurance coverage for acts carried out by our directors and
  executive officers in the course of their duties.


  Share Ownership
        The shares and any outstanding beneficially owned by our directors and officers and/or entities affiliated with these individuals are disclosed in
  the section entitled “Principal and Selling Shareholders.”

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  Shareholders’ Agreement
         Prior to the completion of the offering, XP Controle, Itaú and GA Bermuda will enter into a Shareholders’ Agreement, or the Shareholders’
  Agreement, with Itaú Unibanco S.A., XP Inc., XP Brazil and the companies that we control that are incorporated in Brazil, or the Controlled
  Companies. The Shareholders’ Agreement will be governed by and construed in accordance with Brazilian law and any disputes settled by arbitration in
  São Paulo, Brazil. Any shares that are owned by XP Controle, Itaú or GA Bermuda, including any shares that may be issued in the future to XP
  Controle, Itaú or GA Bermuda or acquired by them, will be subject to the terms and conditions of the Shareholders’ Agreement. Below is a summary of
  the principal terms and conditions of the Shareholders’ Agreement.


  Restrictions on Transfers of Shares
         The Shareholders’ Agreement provides that, subject to certain permitted transfers, transfers of shares owned by XP Controle, Itaú and GA
  Bermuda are subject to (1) lock-up arrangements as described below; (2) restrictions on transfers pursuant to private sales as described below;
  (3) restrictions on transfers of Class B common shares as described below; (4) restrictions on transfers of Class A common shares as described below;
  (5) the lock-up agreements entered into with the underwriters in connection with this offering; (6) rights of first refusal and tag-along rights as described
  below; (7) applicable securities law restrictions; and (8) the terms and conditions of the Registration Rights Agreement (as defined below), as
  applicable.


        Lock-Up Arrangements
        The Shareholders’ Agreement provides that GA Bermuda and XP Controle cannot transfer their shares related to the Itaú Transaction until a
  certain date in 2022, which date shall be determined pursuant to the share purchase agreement related to the Itaú Transaction. This lock-up applies to
  63,609,561 common shares owned by GA Bermuda and XP Controle (subject to adjustment to reflect any consolidation and/or subdivision, among
  others). In addition, XP Controle cannot, prior to August 9, 2026, enter into a transaction that would trigger a change of control and/or that would result
  in XP Controle holding less than 50% plus one vote in our voting share capital. This lock-up provision applicable to XP Controle will automatically
  terminate in the event and at the time a law is enacted prior to August 9, 2026 that prohibits or prevents Itaú from acquiring control of XP Inc.

        The shares owned by Itaú are not subject to lock-up restrictions pursuant to the Shareholders’ Agreement. However, Itaú can only sell Class B
  common shares if (a) it complies with the provisions of “—Transfer of Class B Common Shares” below, or (b) it converts, in one or more transactions,
  such Class B common shares into Class A common shares (as described under “—Conversion of Shares” below) and sells such Class A common shares
  in an SEC-registered offering.


        Private Sales
        The Shareholders’ Agreement provides that a private sale of shares owned by any of the shareholders party to the Shareholders’ Agreement shall
  only be permitted if:
         •     the acquirer is a financial institution, private equity group, financial conglomerate, institutional investor or sovereign fund, which: (1) is
               reputable and financially sound; and (2) has a significant probability of obtaining all the regulatory approvals necessary for the acquisition
               of the shares and consummation of the remainder of the Itaú Transaction pursuant to which Itaú may acquire additional shares from
               GA Bermuda and XP Controle, or a Certified Buyer; and
         •     the Certified Buyer adheres to the Shareholders’ Agreement; and
         •     the shareholder selling such shares in the private sale transfers 100% of its shares (except that XP Controle is permitted to transfer less than
               100% of its shares pursuant to a transaction that triggers a

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               change of control as permitted under “—Transfer of Class B Common Shares” below and except as otherwise permitted under “—
               Transfers of Shares by XP Controle and GA Bermuda” and “—Liquidity Alternative” below).

        The right of first refusal and tag-along rights discussed below shall apply to such private transfers.


        Transfer of Class B Common Shares
      The Shareholders’ Agreement provides that, in addition to the restrictions described under “—Private Sales” above, any transfer of Class B
  common shares shall only be permitted through a private sale and:
         •     in relation to a transfer by Itaú, if such transfer represents 100% of the shares owned by Itaú at the time of such sale; or
         •     in relation to a transfer by XP Controle and subject to the lock-up arrangements as described above, if such transfer triggers a change of
               control. A transfer of control is subject to the Brazilian Central Bank’s discretionary approval.


        Transfers of Shares by XP Controle and GA Bermuda
        The Shareholders’ Agreement provides that (1) XP Controle can transfer, in one or more transactions, up to 100% of its Class B common shares
  (which shall be converted into Class A common shares prior to such transfer) in excess of the number of shares held by XP Controle that are subject to
  the lock-up arrangements described above; and (2) GA Bermuda can transfer, in one or more transactions, up to 100% of its Class B common shares
  (which shall be converted into Class A common shares prior to such transfer) and/or Class A common shares in excess of the number of shares held by
  GA Bermuda that are subject to the lock-up arrangements described above, in each case to any person that:
         •     is not (1) a financial institution controlled by Brazilian persons; or (2) a financial institution that operates in Brazil as a retail bank; and/or
         •     does not have a direct or indirect stake in excess of 30% in the corporate capital of the persons referred to in the first bullet above,
        or an Authorized Investor.

        A sale of Class A common shares that is effected pursuant to these provisions may be made on a private placement basis or may be made in an
  SEC-registered offering. Prior to the completion of this offering, we intend to enter into a Registration Rights Agreement (as defined below) to grant
  XP Controle, Itaú and GA Bermuda certain rights to register the sale of Class A common shares. Purchasers of Class A common shares pursuant to these
  provisions are not required to adhere to the Shareholders’ Agreement.

        The right of first refusal and tag-along rights discussed below shall not apply to such transfers.


        Liquidity Alternative
         To the extent any of the regulatory approvals required for the consummation of the remainder of the Itaú Transaction are denied or not obtained
  within 18 months as of the date they have been requested, whichever occurs first, the lock-up arrangements related to the Itaú Transaction applicable to
  XP Controle and GA Bermuda shall terminate and XP Controle, Itaú and GA Bermuda shall have the right to: (1) request a follow-on offering subject to
  the terms and conditions of the Registration Rights Agreement (as defined below), in which case the other shareholders and the Company shall use their
  reasonable commercial efforts to carry out and cause to be carried out all acts that are necessary to approve and, subject to favorable market conditions,
  file the registration

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  statement for a public offering of Class A common shares, and pursuant to which the right of first refusal and tag-along rights discussed below shall not
  apply; or (2) initiate a structured private sale process of up to 100% of its shares, to one or more Certified Buyers, or a Private Transfer, which shall be
  subject to the right of first refusal and tag-along rights. If a Private Transfer results in the transfer of all the shares held by XP Controle or Itaú or GA
  Bermuda, the respective Certified Buyer(s) shall succeed the respective shareholder and become a party to the Shareholders’ Agreement.


  Conversion of Shares
         The Shareholders’ Agreement provides that Class B common shares will be convertible into Class A common shares at a ratio of one-to-one in the
  following circumstances: (1) at the sole discretion of XP Controle, Itaú or GA Bermuda with respect to their own Class B common shares, provided that
  any such conversion does not result in a change of control during the relevant lock-up period described above; (2) prior to any intended transfer of
  Class B common shares through a private sale (other than to an affiliate of the relevant shareholder), except for: (a) a transfer of shares representing
  100% of the shares owned by Itaú at the time of such sale; or (b) a transfer by XP Controle that results in the transfer of control of the Company
  following the lock-up period applicable to XP Controle described above; (3) prior to any intended transfer of Class B common shares pursuant to an
  SEC-registered offering; (4) in respect of GA Bermuda, except for a transfer of its Class B common shares related to the consummation of the remainder
  of the Itaú Transaction, if required by XP Controle, at any time, in case of any transfer of shares by XP Controle that would result in XP Controle
  holding an interest representing less than 50% plus one of the Company’s voting rights following the transaction (provided that any such conversion is
  limited to the conversion of such number of Class B common shares as would enable XP Controle to hold an interest of at least 50% plus one of the
  Company’s voting rights); and/or (5) if, at any time, the total number of the issued and outstanding Class B common shares represents less than 10% of
  the aggregate voting power of the common shares of the Company, then the Class B common shares then in issue shall automatically and immediately
  be converted into Class A common shares and no Class B common shares shall be issued by the Company thereafter.


  Preemptive Rights
         The Shareholders’ Agreement provides that, except for: (i) the issuance of Class A common shares in connection with this offering; and (ii) as
  otherwise provided for in the Company’s Articles of Association, in the event of an increase in the share capital of the Company, XP Controle, Itaú and
  GA Bermuda will have preemptive rights and will be entitled to subscribe to new Class A common shares and Class B common shares, as applicable, in
  proportion to their respective interests in the total and voting share capital of the Company at the time of such capital increase. If the Company proposes
  to issue Class A common shares for cash in the context of a public offering in the stock exchange without the corresponding preemptive rights described
  above, the Company shall notify each holder of Class B common shares, who will have 30 calendar days to inform the Company whether or not it
  agrees with the proposed issuance. In the event holders of at least two-thirds of Class B common shares agree that a proposed issuance of Class A
  common shares shall be made without preemptive rights applying to such issuance, the Company will be entitled to carry on a public offering in the
  stock exchange without the preemptive rights described above applying to such issuance. A holder of Class B common shares will be deemed to have
  agreed to the proposed issuance (and will be deemed to have waived its preemptive rights with respect to such proposed issuance) to the extent it does
  not notify the Company to the contrary within 30 calendar days of the Company notifying such holder of Class B common shares of the proposed
  issuance. In the context of a public offering of Class A common shares, if any of XP Controle, Itaú or GA Bermuda subscribes for any number of Class
  A common shares being issued in such offering, the remaining shareholders named above shall have the right to subscribe to at least a number of Class
  A common shares as would guarantee that their dilution in the Company is not greater than such other shareholders’ dilution by reason of such offering.


  Right of First Refusal and Tag Along Rights
        The Shareholders’ Agreement provides that, if XP Controle, Itaú and/or GA Bermuda intend to privately sell their shares to a Certified Buyer,
  they must, subject to certain exceptions, first offer those shares to the other

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  shareholders party to the Shareholders’ Agreement, who shall have the right of first refusal. To the extent such shareholders do not exercise their right of
  first refusal, they will have tag along rights that require XP Controle, Itaú and/or GA Bermuda, as applicable, to include all the shares held by them in
  the offered shares to be sold to the Certified Buyer, at the same price per share and under the same terms and conditions.


  Veto Rights
        The Shareholders’ Agreement provides that Itaú will have veto rights over the following actions:
        (a)     any distribution of dividends in an amount that exceeds 50% of the Company’s net profits for the year, after legally required adjustments;
        (b)     changes to the accounting policies and practices of the Company and/or its Controlled Companies;
        (c)     changes in the external independent auditors;
        (d)     the unjustified dismissal of the CEO or the CFO of the Company or XP Brazil;
        (e)     the unjustified dismissal of the internal auditor;
        (f)     approval of the global annual remuneration of the CEO and CFO of the Company or XP Brazil;
        (g)     the creation, modification and/or termination of the Company’s and/or XP Brazil’s stock option policy or any kind of long term incentive
                plan granted to executives of the Company;
        (h)     changes to the Company’s Articles of Association that have an adverse effect on the rights granted to Itaú pursuant to the Shareholders’
                Agreement, including the creation of new classes of shares;
        (i)     changes in the number of members and/or powers granted to the board of directors, except if such change is required to assure that XP
                Controle shall elect the majority of the members of the board of directors;
        (j)     the redemption of the Company’s and/or the Controlled Companies’ shares that results in a capital return to the shareholders of the
                Company and/or of its Controlled Companies, subject to certain exceptions;
        (k)     subject to certain thresholds, entering into an association agreement with other companies, mergers, spin-offs, incorporations, acquisitions,
                partnerships, profit-sharing agreements, or the sale of assets;
        (l)     the transfer and/or issuance to any persons other than the Company of any shares or other convertible securities of XP Brazil by the
                Company;
        (m)     entering into any material agreement in which exclusivity is granted or any agreement creating non-compete obligations;
        (n)     transactions involving any government body and/or any related parties to the Company or to GA Bermuda, subject to certain exceptions;
        (o)     changes in the business of the Company and/or of its Controlled Companies, subject to certain exceptions;
        (p)     brand sales or modifications;
        (q)     annual investments (CAPEX) not provided for in the annual budget subject to certain thresholds;
        (r)     entering into certain commercial agreements, subject to certain thresholds and exceptions;
        (s)     non-ordinary course granting or borrowing of loans and guarantees subject to certain thresholds;
        (t)     granting of guarantees that benefit third parties subject to certain thresholds;
        (u)     sale of treasury shares; and

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       (v)    dissolution or liquidation, judicial reorganization or bankruptcy and out-of-court reorganization plan approvals.

       The Shareholders’ Agreement further provides that:
        •     any and all proposals involving any type of transaction described in item (k) above shall be discussed by the Company’s board of directors,
              and if the members of the board of directors nominated by Itaú veto such transaction, the relevant members shall present a written and
              reasonable justification in connection with such veto (provided that the interest of Itaú in the same business or in the acquisition of the
              same asset, for example, shall not be considered a reasonable justification) and Itaú shall not be permitted to negotiate or conclude such
              transaction for a period of twenty four (24) months;
        •     Itaú’s veto rights provided in items (d), (f), (m) and (r) above shall only be exercisable as from August 9, 2033;
        •     Itaú shall lose the veto rights provided for (1) in items (d), (f), (m), and (r), automatically and regardless of any amendment to the
              Shareholders’ Agreement, if Itaú holds less than 1,016,457,282 shares on a pre-split basis (254,114,321 shares after giving effect to the
              Share Split) adjusted to exclusively reflect any consolidation and/or subdivision of the relevant shares of the Company and/or similar
              transaction; and (2) in relation to the remaining items above, automatically and regardless of any amendment to the Shareholders’
              Agreement, if Itaú holds less than 24.95% of the Company’s total share capital; and
        •     the veto rights provided for in items (d) and (f) are for the sole and exclusive benefit of Itaú (intuitu personae) and shall not benefit any
              Certified Buyer that acquires Itaú’s shares.

       The Shareholders’ Agreement provides that GA Bermuda will have veto rights over the following actions:
       (a)    subject to certain thresholds, entering into joint ventures with other companies, mergers, spin-offs, incorporations, acquisitions,
              partnerships, profit-sharing agreements, or the sale of assets;
       (b)    annual investments (CAPEX) not provided for in the annual budget subject to certain thresholds;
       (c)    any corporate restructuring involving the Company or the Controlled Companies that adversely impacts the value of GA Bermuda’s
              interest in the Company;
       (d)    non-ordinary course granting or borrowing of loans and granting of guarantees subject to certain thresholds;
       (e)    any distribution of dividends in an amount that exceeds 50% of the Company’s net profits for the year, after legally required adjustments;
       (f)    subject to certain thresholds, increase of the share capital of the Company or its Controlled Companies through the issuance of new shares;
       (g)    subject to certain exceptions, related party transactions involving, on the one hand, the Company or its Controlled Companies and, on the
              other, (1) XP Controle, or any other companies directly or indirectly controlled by XP Controle, its respective direct or indirect controlling
              shareholders, or their spouses and 1st and 2nd degree relatives; (2) any managers of the Company or of its Controlled Companies or their
              spouses and 1st and 2nd degree relatives; (3) and/or any direct or indirect Controlled Company of the Company;
       (h)    changes to the Company’s or the Controlled Companies’ by-laws that have a material adverse effect on the rights granted to GA Bermuda
              pursuant to the Shareholders’ Agreement;
       (i)    the redemption of the Company’s and/or the Controlled Companies’ shares that results in a capital return to the shareholders of the
              Company and/or of its Controlled Companies, subject to certain exceptions;

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        (j)    the sale, lease, rent, abandonment or other disposition by the Company and/or its Controlled Companies of a client portfolio and
               technology platform that has a material adverse effect on the activities of the Company and/or on the activities of its Controlled
               Companies; and
        (k)    the sale, assignment, transfer or license of any intellectual property rights held by the Company’s Controlled Companies, which has a
               material adverse effect on the activities of the Company and/or on the activities of its Controlled Companies.

        The Shareholders’ Agreement further provides that:
         •     GA Bermuda shall only be allowed to exercise the vetoes provided for in items (a) and (b) above until the complete implementation of the
               second acquisition, as provided for in the stock purchase agreement dated May 11, 2017 among XP Controle, GA Bermuda and Itaú;
         •     GA Bermuda shall lose the veto rights provided in the items above automatically and regardless of any amendment to the Shareholders’
               Agreement, if GA Bermuda holds less than 176,382,406 shares on a pre-split basis (44,095,602 shares after giving affect to the Share Split)
               in the Company, adjusted solely to reflect any consolidation and/or subdivision of the relevant shares of the Company and/or similar
               transaction; and
         •     except for the veto rights provided for in items (a), (d) and (f) above, which are granted for the sole and exclusive benefit of GA Bermuda
               (intuitu personae), the veto rights shall, as provided for in the Shareholders’ Agreement, be mutatis mutandis applicable to the Authorized
               Investors that acquire shares from GA Bermuda and/or to Certified Buyers who acquire such shares, provided that none of the respective
               shares acquired are subsequently transferred by them.


  Composition of Board of Directors
         Subject to certain limitations, the Shareholders’ Agreement provides that (1) XP Controle shall be entitled to nominate and replace seven directors
  and their respective alternates as long as XP Controle holds more than 50% of the Company’s voting rights; (2) Itaú shall be entitled to nominate and
  replace two directors and their respective alternates if the voting capital of the Company held by Itaú falls below: (i) 15%, Itaú shall be entitled to
  nominate only one director, (ii) 5%, Itaú shall no longer be entitled to nominate any director. (3) GA Bermuda shall be entitled to nominate and replace
  one director and its respective alternate if the voting capital of the Company held by GA Bermuda falls below 5%, GA Bermuda shall no longer be
  entitled to nominate any director; and (4) the board of directors will have three independent directors who will also be members of the Company’s audit
  committee. In the event XP Controle holds less than 50% of the Company’s voting rights, Itaú and XP Controle shall be able to exercise their respective
  voting rights in order to nominate as many directors as possible, according to their respective proportion of voting interest.


  Composition of Audit Committee
         The Shareholders’ Agreement provides that, subject to compliance with applicable law and Nasdaq rules, for as long as Itaú holds 1,016,457,282
  shares on a pre-split basis (254,114,321 shares after giving effect to the Share Split), adjusted to exclusively reflect any consolidation and/or subdivision
  of the relevant shares of the Company and/or similar transaction, it will have the right to appoint two members of the audit committee, including its
  chairman, and for as long as it holds at least 24.95% of the Company’s total share capital, it will have the right to appoint one member of the audit
  committee. The Shareholders’ Agreement further provides that XP Controle will have the right to appoint one member of the audit committee, and GA
  Bermuda will have the right to appoint one observer, who may participate in audit committee meetings without voting rights.


  Non-Compete
        The Shareholders’ Agreement provides that GA Bermuda and its respective affiliates will not, for as long as GA Bermuda is a direct or indirect
  shareholder of the Company and for a term of two years counted from the

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  date on which it ceases to be a direct or indirect shareholder of the Company, engage in the following activities in Brazil: (1) exchange and securities
  brokerage activities; (2) securities distribution activities; or (3) client financial resources management activities.

         The Shareholders’ Agreement also provides that XP Controle, its respective affiliates and certain of its employees will not, for as long as XP
  Controle is a direct or indirect shareholder of the Company and for a term of five years counted from the date on which it ceases to be a direct or indirect
  shareholder of the Company, engage in the following activities in Brazil: (1) insurance, exchange and securities brokerage activities; (2) securities
  distribution activities; (3) commercial and investment banking activities; or (4) client funds management activities.


  Non-Solicitation
        The Shareholders’ Agreement provides that GA Bermuda, Itaú, XP Controle and each of XP Controle’s controlling shareholders, as well as their
  respective affiliates, undertake not to hire, persuade or entice away any key employees for leaving their job or position or terminating their relationship
  with XP Controle, the Company, XP Brazil and/or its Controlled Companies, as follows:
          •     with respect to Itaú, XP Controle and each of XP Controle’s controlling shareholders, for a period of five years counted from the date on
                which they, respectively, cease to be a direct or indirect shareholder of the Company, XP Brazil and/or of its Controlled Companies; and
          •     with respect to GA Bermuda, for a period of two years counted from the date on which it ceases to be a direct or indirect shareholder of the
                Company and/or of its Controlled Companies.

        Itaú’s non-solicitation obligation ceases to apply to it and its affiliates (1) after the period of one year counted from the date on which the
  employment relationship between the key employee and XP Controle, the Company, XP Brazil and/or its Controlled Companies ended; or (2) as from
  the date Itaú acquires control of the Company, if applicable.


  Term
         The Shareholders’ Agreement shall be valid and enforceable for a time period of 30 years.

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                                                    PRINCIPAL AND SELLING SHAREHOLDERS

         The following table and accompanying footnotes present information relating to the beneficial ownership of our Class A common shares and
  Class B common shares (1) immediately prior to the completion of this offering (after giving effect to the Share Split and the Share Contribution);
  (2) following the sale of Class A common shares in this offering, assuming no exercise of the underwriters’ option to purchase additional common
  shares; and (3) following the sale of Class A common shares in this offering, assuming the underwriters’ option to purchase additional common shares is
  exercised in full, by:
         •     each person, or group of affiliated persons, known by us to own beneficially 5% or more of our outstanding shares;
         •     each of our executive officers and directors that will be in place as of the consummation of this offering, individually;
         •     all executive officers and directors as a group; and
         •     the selling shareholders, which consists of the entities shown as having shares listed in the column “Shares to be Sold in Offering.”

         The number of common shares beneficially owned by each entity, person, executive officer or director is determined in accordance with the rules
  of the SEC, and the information is not necessarily indicative of beneficial ownership for any other purpose. Under such rules, beneficial ownership
  includes any shares over which the individual has sole or shared voting power or investment power as well as any shares that the individual has the right
  to acquire within 60 days through the exercise of any option, warrant or other right. Except as otherwise indicated, and subject to applicable community
  property laws, the persons named in the table have sole voting and investment power with respect to all common shares held by that person.

        The percentages of beneficial ownership in the table below are calculated on the basis of the following numbers of shares outstanding:
         •     immediately prior to the completion of this offering: 285,940,724 Class A common shares and 223,306,410 Class B common shares;
         •     following the sale of Class A common shares in this offering, assuming no exercise of the underwriters’ option to purchase additional
               common shares (which Class B common shares sold in this offering by the selling shareholders would convert from Class B common
               shares into Class A common shares upon such sale): 347,642,853 Class A common shares and 204,157,473 Class B common shares; and
         •     following the sale of Class A common shares in this offering, assuming exercise in full of the underwriters’ option to purchase additional
               Class A common shares (which Class B common shares sold in this offering by the selling shareholders would convert from Class B
               common shares into Class A common shares upon such sale): 354,181,346 Class A common shares and 197,618,980 Class B common
               shares.

        At the closing of this offering, all of the Class B common shares to be sold by the selling shareholders will be converted from Class B common
  shares into Class A common shares. The table below does not reflect any purchases of our Class A common shares in this offering from our existing
  shareholders.

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       Unless otherwise indicated below, the address for each beneficial owner is c/o XP Inc., Av. Chedid Jafet, 75, Torre Sul, 30th floor, Vila Olímpia –
  São Paulo, Brazil 04551-065.

                                                                                                                                                                    % of Total     Additional                                                         % of Total
                                                                                                                                                                      Voting        Common                   Shares Beneficially Owned                  Voting
                                                                                                                            Shares Beneficially Owned                 Power       Shares To Be                After Offering With Full                  Power
                                                                                                                             After Offering Without                   After          Sold In                                                            After
                                                Shares Beneficially Owned            % of Total                             Exercise of Underwriters’                Offering     Offering With              Exercise of Underwriters’                 Offering
                                                    Prior to Offering                  Voting         Shares                         Option                          Without      Full Exercise                       Option                          With Full
                                                                                       Power           to be                                                        Exercise of         of                                                            Exercise of
                                          Class A                    Class B           Before        Sold in           Class A                   Class B           Underwriters   Underwriters’        Class A                     Class B           Underwriters
  Shareholders                         Shares         %           Shares       %     Offering(1)     Offering      Shares         %           Shares       %        Option(1)        Option         Shares         %           Shares        %        Option(1)
  5% Shareholders
  XP Controle Participações S.A.
    (2)                                    —    —     153,373,734 68.68%                 60.89% 19,148,937               —        —        134,224,797 65.75%            56.18%     6,538,493            —         —        127,686,304 64.61%             54.79%
  ITB Holding Brasil
    Participações Ltda(3)          198,215,329 69.32% 55,898,991 25.03%                  30.06%            —     198,215,329 57.02%         55,898,991 27.38%            31.69%            —      198,215,329 55.96%         55,898,991 28.29%             32.49%
  General Atlantic (XP) Bermuda,
    L.P.(4)                         74,157,518 25.93% 14,033,685 6.28%                     8.52%    9,361,703     64,795,815 18.64%         14,033,685     6.87%          8.59%     3,759,689      61,036,126 17.23%         14,033,685      7.10%          8.64%
  DYNA III Fundo de
    Investimento em
    Participações
    Multiestratégia(5)              13,567,877 4.74%          —     —                      0.54%    1,446,809     12,121,068     3.49%              —      —              0.51%       578,414      11,542,654     3.26%              —       —              0.50%
  Executive Officers and
    Directors
  Guilherme Dias Fernandes
    Benchimol(6)                           —    —             —     —                       —              —             —        —                 —      —               —               —             —         —                 —       —               —
  Gabriel Klas da Rocha Leal(6)            —    —             —     —                       —              —             —        —                 —      —               —               —             —         —                 —       —               —
  Carlos Alberto Ferreira Filho(6)         —    —             —     —                       —              —             —        —                 —      —               —               —             —         —                 —       —               —
  Bernardo Amaral Botelho(6)               —    —             —     —                       —              —             —        —                 —      —               —               —             —         —                 —       —               —
  Bruno Constantino Alexandre
    dos Santos(6)                          —    —             —     —                       —              —             —        —                 —      —               —               —             —         —                 —       —               —
  Fabricio Cunha da Almeida(6)             —    —             —     —                       —              —             —        —                 —      —               —               —             —         —                 —       —               —
  Guilherme Sant’Anna Monteiro
    da Silva(6)                            —    —             —     —                       —              —             —        —                 —      —               —               —             —         —                 —       —               —
  Julio Capua Ramos da Silva(6)            —    —             —     —                       —              —             —        —                 —      —               —               —             —         —                 —       —               —
  Martin Emiliano Escobrari
    Lifchitz(7)                            —    —             —     —                       —              —             —        —                 —      —               —               —             —         —                 —       —               —
  Geraldo José Carbone                     —    —             —     —                       —              —             —        —                 —      —               —               —             —         —                 —       —               —
  Francisco Eduardo de Almeida
    Pinto                                  —    —             —     —                       —              —             —        —                 —      —               —               —             —         —                 —       —               —
  Maria Helena dos Santos
    Fernandes de Santana                   —    —             —     —                       —              —             —        —                 —      —               —               —             —         —                 —       —               —
  Geraldo Travaglia Filho                  —    —             —     —                       —              —             —        —                 —      —               —               —             —         —                 —       —               —
  All directors and executive
    officers as a group (13
    persons)                               —    —             —     —                       —              —             —        —                 —      —               —               —             —         —                 —       —               —

  (1)    Percentage of total voting power represents voting power with respect to all of our Class A common shares and Class B common shares, as a single class. Holders of our Class B common shares are entitled to 10 votes per share, whereas holders of
         our Class A common shares are entitled to one vote per share. For more information about the voting rights of our Class A common shares and Class B common shares, see “Description of Share Capital.”
  (2)    Includes Class B common shares owned by XP Controle Participações S.A. (“XP Controle”), with its registered address of Av. Afrânio de Melo Franco, 290, Room 708, Leblon, 22430-060 – Rio de Janeiro, Brazil. Guilherme Dias Fernandes
         Benchimol, Bernardo Amaral Botelho, Carlos Alberto Ferreira Filho, Gabriel Klas da Rocha Leal, Fabrĺcio Cunha de Almeida, Bruno Constantino Alexandre dos Santos and Guilherme Sant’Anna Monteiro da Silva are controlling shareholders of
         XP Controle (the “XP Controle Controlling Shareholders”) in accordance with XP Controle’s shareholders agreement. The XP Controle Controlling Shareholders have beneficial ownership of the Class B common shares held of record by XP
         Controle. Each of the XP Controle Controlling Shareholders disclaims ownership of the Class B common shares except to the extent he has a pecuniary interest therein.
  (3)    Includes Class A common shares and Class B common shares owned by ITB Holding Brasil Participações Ltda., with its principal business address at Praça Alfredo Egydio de Souza Aranha, No. 100, Torre Conceição, 7th floor, Parque Jabaquara,
         04344-902, São Paulo, Brazil. Itaú Unibanco Holding S.A. directly or indirectly, through its wholly-owned subsidiary, Itaú Unibanco S.A., holds all of the membership interests of ITB Holding Brasil Participações Ltda. Itaú Unibanco Holding
         S.A. is controlled by IUPAR – Itaú Unibanco Participações S.A., a holding company organized under the laws of Brazil (“IUPAR”). IUPAR is jointly controlled by (i) Itaúsa – Investimentos Itaú S.A. (“Itaúsa”), a holding company organized under
         the laws of Brazil, and (ii) Companhia E. Johnston de Participações (“E. Johnston” and, together with IUPAR and Itaúsa, the “Controlling Shareholders”), a holding company organized under the laws of Brazil. Each of the Controlling
         Shareholders is in the business of investing in securities. The information included herein is based on a Schedule 13D/A filed by Itaú Unibanco Holding S.A. and ITB Holding Brasil Participações Ltda. on March 4, 2019, with respect to Itaú
         CorpBanca.
  (4)    Includes Class A common shares and Class B common shares owned by General Atlantic (XP) Bermuda, L.P. (“GA XP”), with its registered address of Clarendon House, 2 Church Street, Hamilton HM 11, Bermuda. The GA Funds (as hereinafter
         defined) and the Sponsor Coinvestment Funds (as hereinafter defined) share beneficial ownership of the Class A common shares and the Class B common shares held of record by GA XP. The “GA Funds” are General Atlantic Partners 92A, L.P.,
         General Atlantic Partners 92B, L.P., General Atlantic Partners 92C, L.P., General Atlantic Partners 92D, L.P., General Atlantic Partners 92E, L.P., General Atlantic Partners 92F, L.P., General Atlantic Partners 92G, L.P., General Atlantic Partners
         92H, L.P., General Atlantic Partners 92I, L.P. and General Atlantic Partners 92J, L.P. Each of the GA Funds is the sole member of a limited liability company, and each such limited liability company is a limited partner of GA XP. Such limited
         liability companies are General Atlantic XP A, LLC, General Atlantic XP B, LLC, General Atlantic XP C, LLC, General Atlantic XP D, LLC, General Atlantic XP E, LLC, General Atlantic XP F, LLC, General Atlantic XP G, LLC, General
         Atlantic XP H, LLC, General Atlantic XP I, LLC and General Atlantic XP J, LLC. The “Sponsor Coinvestment Funds” are GAP Coinvestments III, LLC, GAP Coinvestments IV, LLC, GAP Coinvestments V, LLC, GAP Coinvestments CDA, L.P.
         and GAPCO GmbH & Co. KG (“GAPCO KG”). The Sponsor Coinvestment Funds are members of GA Latin America Coinvestments, LLC, which is also a limited partner of GA XP. The general partner of GA XP is GAP (Bermuda) Limited. The
         general partner of the GA Funds is General Atlantic GenPar, L.P. (“GenPar”). The general partner of GenPar is General Atlantic LLC (“GA LLC”). GA LLC is the managing member of GAPCO III, GAPCO IV and GAPCO V and the general
         partner of GAPCO CDA. The general partner of GAPCO KG is GAPCO Management GmbH (“GAPCO GmbH”). There are six members of the management committee of GA LLC (the “GA Management Committee”) as of the date hereof. The
         members of the GA Management Committee are also the directors and the members of the management committee of GAP (Bermuda) Limited. Martin Escobari is a member of the GA Management Committee. GA XP, GA LLC, GenPar, GAP
         (Bermuda) Limited, the GA Funds and the Sponsor Coinvestment Funds are a “group” within the meaning of Rule 13d-5 of the Securities Exchange Act of 1934, as amended. Each of the members of the GA Management Committee disclaims
         ownership of the Class A common shares and the Class B common shares except to the extent he has a pecuniary interest therein.
  (5)    Dynamo VC Administradora de Recursos Ltda. (“Dynamo”), as investment manager of Dyna III Fundo de Investimento em Participações Multiestratégia (“DYNA”), each with its registered address at Av. Ataulfo de Paiva, No. 1235, 6th floor,
         Leblon, Rio de Janeiro, Brazil, has discretionary authority to vote and dispose of the shares on behalf of DYNA and may be deemed to be the controlling entity of these shares. The investment managers of Dynamo may also be deemed to have
         investment discretion and voting power over the shares held by DYNA.


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  (6)   While these executive officers and directors do not own common shares in XP Inc. directly, they own equity interests in XP Controle Participações S.A. These executive officers and directors disclaim beneficial ownership of the shares held by XP
        Controle Participações S.A. except to the extent, if any, of their respective pecuniary interest therein.
  (7)   Mr. Escobari, a member of our board of directors, is a managing director of GA LLC. Mr. Escobari disclaims beneficial ownership of the shares held by GA XP except to the extent, if any, of his pecuniary interest therein.


        The holders of our Class A common shares and Class B common shares have identical rights, except that (1) holders of Class B common shares
  are entitled to 10 votes per share, whereas holders of our Class A common shares are entitled to one vote per share; (2) holders of Class B common
  shares have certain conversion rights; and (3) holders of Class B common shares are entitled to preemptive rights in the event that there is an increase in
  our share capital or additional common shares are issued in order to maintain their proportional ownership and voting interest. For more information see
  “Description of Share Capital.”

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                                                            RELATED PARTY TRANSACTIONS

        The agreements described in this section, or forms of such agreements as they will be in effect at the time of this offering, are filed as exhibits to
  the registration statement of which this prospectus forms a part, and the following descriptions are qualified by reference thereto.


  Loan Arrangements with Itaú Unibanco
        On April 5, 2017, XP CCTVM entered into a loan agreement with Itaú Unibanco S.A. in the amount of R$126 million, which was borrowed in
  order to finance the second installment of the Rico acquisition. The loan accrues interest at a rate per annum equal to 113.0% of the CDI rate, is
  repayable in 36 monthly installments and matures on March 8, 2021. The loan is secured by a pledge (alienação fiduciária) over a certain number of XP
  CCTVM shares. As of September 30, 2019, there was R$63 million outstanding under this loan. For further information, see note 9 to the unaudited
  interim condensed consolidated financial statements included elsewhere in this prospectus.

         On May 10, 2017, XP Brazil entered into a loan agreement with Itaú Unibanco – Nassau Branch in the amount of US$189.9 million. The loan
  accrued interest at a rate per annum equal to LIBOR + 3.454% (hedged to the CDI rate + 2.25%) and was scheduled to mature on May 11, 2022.
  Following the Itaú Transaction in August 2018, the loan was prepaid in full on August 31, 2018 pursuant to a mandatory prepayment provision triggered
  in the event that Itaú Unibanco (or any of its affiliates) became a shareholder of XP Brazil.


  Securities and Repurchase Agreement Transactions with Itaú Unibanco
        We enter into bank deposit certificates (CDBs) and repurchase agreements with Itaú Unibanco in the ordinary course of our business. Bank
  deposit certificates are highly liquid, short term securities. Repurchase agreements are highly liquid cash equivalent operations backed by our own
  securities or third-party securities, and accrue interest at rates per annum ranging from 75% to 96% of the CDI rate. As of September 30, 2019 and as of
  December 31, 2018, securities sold under repurchase agreements accrued interest at average interest rates of 5.4% per annum and 6.4% per annum,
  respectively, with assets pledged as collateral.

        The following table sets forth the total amounts of the bank deposit certificates and repurchase agreements entered into with Itaú Unibanco as of
  the dates indicated:

                                                                                                                                               Revenue/(Expenses)
                                                                                              Assets/(Liabilities)                          For the nine month period
                                                                                              As of September 30,                             ended September 30,
  Type of Transaction                                                                      2019                  2018                     2019                    2018
                                                                                                                        (in millions of R$)
  Securities (Bank deposit certificates)                                                      91                   —                           7                       1
  Securities sold under repurchase agreements                                               (805)                  —                         (18)                   n.m.

                                                                                               Assets/(Liabilities)                       Revenue/(Expenses)
                                                                                               As of December 31,                  For the year ended December 31,
  Type of Transaction                                                                         2018              2017            2018             2017           2016
                                                                                                                         (in millions of R$)
  Securities (Bank deposit certificates)                                                          70             —                 147              —                —
  Securities sold under repurchase agreements                                                   (426)            —                  (4)             —                —

       For further information, see notes 15 and 24 to our audited consolidated financial statements and notes 3 and 14 to the unaudited interim
  condensed consolidated financial statements included elsewhere in this prospectus.


  Reimbursement Agreement
        XP CCTVM is party to an agreement with XDEX Intermediação Ltda., pursuant to which XDEX Intermediação Ltda. (which is indirectly owned
  by XP Controle and G.A. Brasil IV Fundo de Investimento em Participações (the predecessor-in-interest to GA Bermuda)) reimburses XP CCTVM for
  costs associated with

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  office space and utilities. For the nine months ended September 30, 2019 and each of the fiscal years ended December 31, 2018 and 2017, R$414,000,
  R$38,000 and zero was paid pursuant to this agreement, respectively.


  Related Person Transaction Policy
         Our related person transaction policy states that any related person transaction must be approved or ratified by our audit committee, board of
  directors or a designated committee thereof. In determining whether to approve or ratify a transaction with a related person, our audit committee, board
  of directors or the designated committee will consider all relevant facts and circumstances, including without limitation the commercial reasonableness
  of the terms of the transaction, the benefit and perceived benefit, or lack thereof, to us, opportunity costs of alternate transactions, the materiality and
  character of the related person’s direct or indirect interest and the actual or apparent conflict of interest of the related person. Our audit committee, board
  of directors or the designated committee will not approve or ratify a related person transaction unless it has determined that, upon consideration of all
  relevant information, such transaction is in, or not inconsistent with, our best interests and the best interests of our shareholders.


  Registration Rights Agreement
      We have entered into an Agreement on Registration Rights and Other Resales, or the Registration Rights Agreement, with XP Controle, Itaú and
  GA Bermuda, or the Participating Shareholders.

         At any time that the Participating Shareholders are no longer subject to restrictions on transfer of their shares pursuant to the Shareholders
  Agreement or lock-up agreements entered into with the underwriters of our initial public offering, subject to several exceptions, including underwriter
  cutbacks and our right to defer a demand registration under certain circumstances, the Participating Shareholders may require that we register for public
  resale under the Securities Act all common shares constituting registrable shares, or the Registrable Shares, that they request be registered so long as the
  securities requested to be registered in each registration statement have an aggregate estimated market value of at least US$25 million (unless the
  initiating holder is seeking to register the sale of its entire interest in our share capital). If we become eligible to register the sale of Registrable Shares on
  Form F-3 under the Securities Act, which will not be until at least twelve months after the date of the initial public offering, our Participating
  Shareholders have the right to require us to register the sale of the Registrable Shares held by them on Form F-3, subject to offering size and other
  restrictions.

        If we propose to register the sale of any of our securities under the Securities Act for our own account or the account of any other holder
  (excluding any securities to be registered on Form S-8 relating to shares issued in connection with an employee benefit plan or Form F-4 relating to
  shares issued in connection with any transaction), our Participating Shareholders are entitled to notice of such registration and to request that we include
  Registrable Shares for resale on such registration statement, and we are required, subject to certain exceptions, to include such Registrable Shares in
  such registration statement.

         In connection with the transfer of their Registrable Shares, the parties to the Registration Rights Agreement may assign certain of their respective
  rights under the Registration Rights Agreement under certain circumstances. In connection with the registrations described above, we will indemnify
  any selling shareholders in certain situations, subject to certain restrictions, and the selling shareholders will indemnify us in certain situations, subject to
  certain restrictions.


  Indemnification Agreements
         We intend to enter into indemnification agreements with our directors and executive officers. The indemnification agreements will, and our
  Articles of Association do, require us to indemnify our directors and executive officers to the fullest extent permitted by law, save for a limited number
  of instances, including where such persons have acted contrary to any applicable anti-corruption laws, have breached their duties to avoid conflicting
  duties in respect of any transaction concerning the Company or have not followed any corporate policies of the Company.

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                                                          DESCRIPTION OF SHARE CAPITAL

  General
        XP Inc., the company whose Class A common shares are being offered in this prospectus, was incorporated on August 29, 2019, as a Cayman
  Islands exempted company with limited liability with the Cayman Islands Registrar of Companies. Our corporate purposes are unrestricted and we have
  the authority to carry out any object not prohibited by any law as provided by Section 7(4) of the Companies Law.

        Our affairs are governed principally by: (1) our Articles of Association; (2) the Companies Law; and (3) the common law of the Cayman Islands.
  As provided in our Articles of Association, subject to Cayman Islands law, we have full capacity to carry on or undertake any business or activity, do
  any act or enter into any transaction, and, for such purposes, full rights, powers and privileges. Our registered office is c/o Maples Corporate Services
  Limited, P.O. Box 309, Ugland House, Grand Cayman, KY1-1104, Cayman Islands.

        Our Memorandum and Articles of Association authorizes the issuance of up to 2,000,000,000 Class A common shares and 1,000,000,000 Class B
  common shares of our authorized share capital. As of the date of this prospectus, 285,940,724 Class A common shares and 223,306,410 Class B
  common shares of our authorized share capital were issued, fully paid and outstanding. Upon the completion of this offering, we will have 347,642,853
  Class A common shares and 204,157,473 Class B common shares of our authorized share capital issued and outstanding, assuming the underwriters do
  not elect to exercise their option to purchase additional Class A common shares.

        Our Class A common shares have been approved for listing on the Nasdaq Global Select Market under the symbol “XP.”

        Initial settlement of our Class A common shares will take place on the closing date of this offering through The Depository Trust Company, or
  DTC, in accordance with its customary settlement procedures for equity securities. Each person owning Class A common shares held through DTC must
  rely on the procedures thereof and on institutions that have accounts therewith to exercise any rights of a holder of the Class A common shares. Persons
  wishing to obtain certificates for their Class A common shares must make arrangements with DTC.

        The following is a summary of the material provisions of our authorized share capital and our Articles of Association.


  Share Capital
         Our Memorandum and Articles of Association authorize two classes of common shares: Class A common shares, which are entitled to one vote
  per share and Class B common shares, which are entitled to 10 votes per share and to maintain a proportional ownership and voting interest in the event
  that additional Class A common shares are issued. Any holder of Class B common shares may convert his or her shares at any time into Class A
  common shares on a share-for-share basis. The rights of the two classes of common shares are otherwise identical, except as described below. The
  implementation of this dual class structure was required by XP Controle, our principal shareholder, as a condition of undertaking an initial public
  offering of our common shares. See “—Anti-Takeover Provisions in our Articles of Association—Two Classes of Common Shares.”

        At the date of this prospectus, after giving effect to the Share Split and the Share Contribution, XP’s total authorized share capital was US$35,000,
  divided into 3,500,000,000 shares par value US$0.00001 each, of which:
         •     2,000,000,000 shares are designated as Class A common shares; and
         •     1,000,000,000 shares are designated as Class B common shares.

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         The remaining authorized but unissued shares are presently undesignated and may be issued by our board of directors as common shares of any
  class or as shares with preferred, deferred or other special rights or restrictions.

        Following this offering, XP will have a total issued share capital of US$5,518, divided into 551,800,326 common shares. Those common shares
  will be divided into 347,642,853 Class A common shares and 204,157,473 Class B common shares (assuming no exercise of the underwriters’ option to
  purchase additional common shares); or 354,181,346 Class A common shares and 197,618,980 Class B common shares (assuming full exercise of the
  underwriters’ option to purchase additional shares). See “Capitalization” and “Dilution.”


  Treasury Stock
        At the date of this prospectus, XP has no shares in treasury.


  Issuance of Shares
        Except as expressly provided in XP’s Articles of Association or the Shareholders’ Agreement, XP’s board of directors has general and
  unconditional authority to allot, grant options over, offer or otherwise deal with or dispose of any unissued shares in the company’s capital without the
  approval of our shareholders (whether forming part of the original or any increased share capital), either at a premium or at par, with or without
  preferred, deferred or other special rights or restrictions, whether in regard to dividend, voting, return of capital or otherwise and to such persons, on
  such terms and conditions, and at such times as the directors may decide, but so that no share shall be issued at a discount, except in accordance with the
  provisions of the Companies Law. In accordance with its Articles of Association, XP shall not issue bearer shares.

         XP’s Articles of Association provide that at any time that there are Class A common shares in issue, additional Class B common shares may only
  be issued pursuant to (1) a share split, subdivision of shares or similar transaction or where a dividend or other distribution is paid by the issue of shares
  or rights to acquire shares or following capitalization of profits; (2) a merger, consolidation, or other business combination involving the issuance of
  Class B common shares as full or partial consideration; or (3) an issuance of Class A common shares, whereby holders of the Class B common shares
  are entitled to purchase a number of Class B common shares that would allow them to maintain their proportional ownership and voting interests in XP
  (following an offer by XP to each holder of Class B common shares to issue to such holder, upon the same economic terms and at the same price, such
  number of Class B common shares as would ensure such holder may maintain a proportional ownership and voting interest in XP pursuant to XP’s
  Articles of Association). In light of: (a) the above provisions; and (b) the ten-to-one voting ratio between our Class B common shares and Class A
  common shares, holders of our Class B common shares will in many situations continue to maintain control of all matters requiring shareholder
  approval. This concentration of ownership and voting power will limit or preclude your ability to influence corporate matters for the foreseeable future.
  For more information see “—Preemptive or Similar Rights.”


  Fiscal Year
        XP’s fiscal year begins on January 1 of each year and ends on December 31 of the same year.


  Voting Rights
         The holder of a Class B common share is entitled, in respect of such share, to 10 votes per share, whereas the holder of a Class A common share is
  entitled, in respect of such share, to one vote per share. The holders of Class A common shares and Class B common shares vote together as a single
  class on all matters (including the election of directors) submitted to a vote of shareholders, except as provided below and as otherwise required by law.

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        XP’s Articles of Association provide as follows regarding the respective rights of holders of Class A common shares and Class B common shares:
         (1) Class consents from the holders of Class A common shares and Class B common shares, as applicable, shall be required for any variation to
  the rights attached to their respective class of shares, however, the Directors may treat the two classes of shares as forming one class if they consider that
  both such classes would be affected in the same way by the proposal;

      (2) the rights conferred on holders of Class A common shares shall not be deemed to be varied by the creation or issue of further Class B
  common shares and vice versa; and

        (3) the rights attaching to the Class A common shares and the Class B common shares shall not be deemed to be varied by the creation or issue
  of shares with preferred or other rights, including, without limitation, shares with enhanced or weighted voting rights.

        As set forth in the Articles of Association, the holders of Class A common shares and Class B common shares, respectively, do not have the right
  to vote separately if the number of authorized shares of such class is increased or decreased. Rather, the number of authorized Class A common shares
  and Class B common shares may be increased or decreased (but not below the number of shares of such class then outstanding) by both classes voting
  together by way of an “ordinary resolution,” which is defined in the Articles of Association as being a resolution (1) of a duly constituted general
  meeting passed by a simple majority of the votes cast by, or on behalf of, the shareholders entitled to vote present in person or by proxy and voting at the
  meeting; or (2) approved in writing by all of the shareholders entitled to vote at a general meeting in one or more instruments each signed by one or
  more of the shareholders and the effective date of the resolution so adopted shall be the date on which the instrument, or the last of such instruments, if
  more than one, is executed. The Articles of Association provide further, however, that any resolution intended to be passed as an “ordinary resolution” in
  circumstances where Itaú and/or GA Bermuda, as applicable, has(ve) exercised its/their veto rights pursuant to the Shareholders’ Agreement in respect
  of such resolution shall be void ab initio.


  Conversion Rights
         As set forth in the Articles of Association, Class B common shares shall be convertible into Class A common shares in any of the manners set out
  in the Shareholders’ Agreement. See “Management—Shareholders’ Agreement—Conversion of Shares.”

         Furthermore, as set forth in the Articles of Association, each Class B common share will convert automatically into one Class A common share
  and no Class B common shares will be issued thereafter if, at any time, the total number of votes of the outstanding Class B common shares represents
  less than 10% of the voting share rights of the Company.


  Preemptive or Similar Rights
         The Class B common shares are entitled to maintain a proportional ownership and voting interest in the event that additional Class A common
  shares are issued. As such, except for certain exceptions, including the issuance of Class A common shares in furtherance of this offering, if XP
  increases its share capital or issues common shares, it must first make an offer to each holder of Class B common shares to issue to such holder on the
  same economic terms such number of Class A common shares and Class B common shares, as applicable, as would ensure such holder may maintain a
  proportional ownership and voting interest in XP. This right to maintain a proportional ownership interest may be waived by the holders of two-thirds of
  the Class B common shares pursuant to an SEC-registered public offering of Class A common shares. Pursuant to the Shareholders’ Agreement,
  preemptive rights will be deemed waived to the extent a holder of Class B common shares does not exercise them within 30 days of XP first making an
  offer to such holder of Class B common shares. See “Management—Shareholders’ Agreement—Preemptive Rights.”

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  Equal Status
         Except as expressly provided in XP’s Articles of Association, Class A common shares and Class B common shares have the same rights and
  privileges and rank equally, share ratably and are identical in all respects as to all matters. In the event of any merger, consolidation, scheme,
  arrangement or other business combination requiring the approval of our shareholders entitled to vote thereon (whether or not XP is the surviving
  entity), the holders of Class A common shares shall have the right to receive, or the right to elect to receive, the same form of consideration (as shall be
  adjusted, in the case of share or equivalent consideration, by the directors so as to account for the different economic and voting rights that exist or may
  exist between such consideration and the share classes) as the holders of Class B common shares, and (save as aforesaid) the holders of Class A common
  shares shall have the right to receive, or the right to elect to receive, at least the same amount of consideration on a per share basis as the holders of
  Class B common shares. In the event of any (1) tender or exchange offer to acquire any Class A common shares or Class B common shares by any third
  party pursuant to an agreement to which XP is a party, or (2) tender or exchange offer by XP to acquire any Class A common shares or Class B common
  shares, the holders of Class A common shares shall have the right to receive, or the right to elect to receive, the same form of consideration (as shall be
  adjusted, in the case of share or equivalent consideration, by the directors so as to account for the different economic and voting rights that exist or may
  exist between such consideration and the share classes) as the holders of Class B common shares, and (save as aforesaid) the holders of Class A common
  shares shall have the right to receive, or the right to elect to receive, at least the same amount of consideration on a per share basis as the holders of
  Class B common shares.


  Record Dates
        For the purpose of determining shareholders entitled to notice of, or to vote at any general meeting of shareholders or any adjournment thereof, or
  shareholders entitled to receive dividend or other distribution payments, or in order to make a determination of shareholders for any other purpose, XP’s
  board of directors may set a record date which shall not exceed forty (40) clear days prior to the date where the determination will be made.


  General Meetings of Shareholders
         As a condition of admission to a shareholders’ meeting, a shareholder must be duly registered as a shareholder of XP at the applicable record date
  for that meeting and, in order to vote, all calls or installments then payable by such shareholder to XP in respect of the shares that such shareholder holds
  must have been paid.

         Subject to any special rights or restrictions as to voting then attached to any shares, at any general meeting every shareholder who is present in
  person or by proxy (or, in the case of a shareholder being a corporation, by its duly authorized representative not being himself or herself a shareholder
  entitled to vote) shall have one vote per Class A common share and 10 votes per Class B common share.

          As a Cayman Islands exempted company, XP is not obliged by the Companies Law to call annual general meetings; however, the Articles of
  Association provide that in each year the company will hold an annual general meeting of shareholders, within the first four months following the end of
  its fiscal year, provided that the board of directors of XP has the discretion whether or not to hold an annual general meeting in 2020. For the annual
  general meeting of shareholders the agenda will include, among other things, the presentation of the annual accounts and the report of the directors. In
  addition, the agenda for an annual general meeting of shareholders will only include such items as have been included therein by the board of directors.

        Also, XP may, but is not required to (unless required by the laws of the Cayman Islands), hold other extraordinary general meetings during the
  year. General meetings of shareholders are generally expected to take place in São Paulo, Brazil, but may be held elsewhere if the directors so decide.

        The Companies Law provides shareholders a limited right to request a general meeting, and does not provide shareholders with any right to put
  any proposal before a general meeting in default of a company’s

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  Articles of Association. However, these rights may be provided in a company’s Articles of Association. XP’s Articles of Association provide that upon
  the requisition of one or more shareholders representing not less than one-third of the voting rights entitled to vote at general meetings, the board will
  convene an extraordinary general meeting and put the resolutions so requisitioned to a vote at such meeting. The Articles of Association provide no
  other right to put any proposals before annual general meetings or extraordinary general meetings.

         Subject to regulatory requirements, the annual general meeting and any extraordinary general meetings must be called by not less than eight
  (8) days’ notice prior to the relevant shareholders meeting and convened by a notice discussed below. Alternatively, upon the prior consent of all holders
  entitled to receive notice, with regards to the annual general meeting, and the holders of 95% in par value of the shares entitled to attend and vote at an
  extraordinary general meeting, that meeting may be convened by a shorter notice and in a manner deemed appropriate by those holders.

         XP will give notice of each general meeting of shareholders by publication on its website and in any other manner that it may be required to
  follow in order to comply with Cayman Islands law, Nasdaq and SEC requirements. The holders of registered shares may be given notice of a
  shareholders’ meeting by means of letters sent to the addresses of those shareholders as registered in our shareholders’ register, or, subject to certain
  statutory requirements, by electronic means.

       Holders whose shares are registered in the name of DTC or its nominee, which we expect will be the case for all holders of Class A
  common shares, will not be a shareholder or member of the company and must rely on the procedures of DTC regarding notice of
  shareholders’ meetings and the exercise of rights of a holder of the Class A common shares.

         A quorum for a general meeting consists of any one or more persons holding or representing by proxy not less than seventy-five percent of the
  aggregate voting power of all shares in issue and entitled to vote upon the business to be transacted. If a quorum is not present within half an hour from
  the time appointed for the meeting to commence or if during such a meeting a quorum ceases to be present, a second meeting may be called with at least
  five days’ notice to shareholders specifying the place, the day and the hour of the second meeting, as the Directors may determine, and if at the second
  meeting a quorum is not present within half an hour from the time appointed for the meeting to commence, the shareholders present shall be a quorum.

         A resolution put to a vote at a general meeting shall be decided on a poll. Generally speaking, an ordinary resolution to be passed by the
  shareholders at a general meeting requires the affirmative vote of a simple majority of the votes cast by, or on behalf of, the shareholders entitled to vote,
  present in person or by proxy and voting at the meeting and a special resolution requires the affirmative vote on a poll of no less than two-thirds of the
  votes cast by the shareholders entitled to vote who are present in person or by proxy at a general meeting. However, XP’s Articles of Association have
  expanded these definitions of ordinary and special resolutions to additionally provide that any such resolutions intended to be passed as such in
  circumstances where Itaú and/or GA Bermuda, as applicable, has(ve) exercised its/their veto rights pursuant to the Shareholders’ Agreement in respect
  of such resolution shall be void ab initio. Both ordinary resolutions and special resolutions may also be passed by a unanimous written resolution signed
  by all the shareholders of our Company, as permitted by the Companies Law and our Articles of Association.

         Pursuant to XP’s Articles of Association, general meetings of shareholders are to be chaired by the chairman of our board of directors or in his
  absence the vice-chairman of the board of directors. If the chairman or vice-chairman of our board of directors is absent, the directors present at the
  meeting shall appoint one of them to be chairman of the general meeting. If neither the chairman nor another director is present at the general meeting
  within 15 minutes after the time appointed for holding the meeting, the shareholders present in person or by proxy and entitled to vote may elect any one
  of the shareholders to be chairman. The order of business at each meeting shall be determined by the chairman of the meeting, and he or she shall have
  the right and authority to prescribe such rules, regulations and procedures and to do all such acts and things as are necessary or desirable

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  for the proper conduct of the meeting, including, without limitation, the establishment of procedures for the maintenance of order and safety, limitations
  on the time allotted to questions or comments on the affairs of the Company, restrictions on entry to such meeting after the time prescribed for the
  commencement thereof, and the opening and closing of the polls.


  Actions Void ab Initio
       Pursuant to the Articles of Association, certain actions which are taken in contravention of the Shareholders’ Agreement shall be void ab initio.
  These include any share and security issuances, as well as share sales, transfers, purchases and redemptions, and board appointments.


  Liquidation Rights
        If XP is voluntarily wound up, the liquidator, after taking into account and giving effect to the rights of preferred and secured creditors and to any
  agreement between XP and any creditors that the claims of such creditors shall be subordinated or otherwise deferred to the claims of any other creditors
  and to any contractual rights of set-off or netting of claims between XP and any person or persons (including without limitation any bilateral or any
  multi-lateral set-off or netting arrangements between the company and any person or persons) and subject to any agreement between XP and any person
  or persons to waive or limit the same, shall apply XP’s property in satisfaction of its liabilities pari passu and subject thereto shall distribute the property
  amongst the shareholders according to their rights and interests in XP.


  Changes to Capital
        Pursuant to the Articles of Association, XP may from time to time by ordinary resolution:
         •      increase its share capital by such sum, to be divided into shares of such amount, as the resolution shall prescribe;
         •      consolidate and divide all or any of its share capital into shares of a larger amount than its existing shares;
         •      convert all or any of its paid-up shares into stock and reconvert that stock into paid up shares of any denomination;
         •      subdivide its existing shares or any of them into shares of a smaller amount, provided that in the subdivision the proportion between the
                amount paid and the amount, if any, unpaid on each reduced share shall be the same as it was in the case of the share from which the
                reduced share is derived; or
         •      cancel any shares which, at the date of the passing of the resolution, have not been taken or agreed to be taken by any person and diminish
                the amount of its share capital by the amount of the shares so cancelled.

        XP’s shareholders may by special resolution, subject to confirmation by the Grand Court of the Cayman Islands on an application by the Company
  for an order confirming such reduction, reduce its share capital or any capital redemption reserve in any manner permitted by law.

        In addition, subject to the provisions of the Companies Law, our Articles of Association and the Shareholders’ Agreement, XP may:
         •      issue shares on terms that they are to be redeemed or are liable to be redeemed;
         •      purchase its own shares (including any redeemable shares); and
         •      make a payment in respect of the redemption or purchase of its own shares in any manner authorized by the Companies Law, including out
                of its own capital.

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  Transfer of Shares
         Subject to any applicable restrictions set forth in the Articles of Association and the Shareholders’ Agreement, any shareholder of XP may transfer
  all or any of his or her common shares by an instrument of transfer in the usual or common form or in the form prescribed by the Nasdaq or any other
  form approved by the Company’s board of directors.

        The Class A common shares sold in this offering will be traded on the Nasdaq in book-entry form and may be transferred in accordance with XP’s
  Articles of Association and Nasdaq’s rules and regulations.

          However, XP’s board of directors may, in its absolute discretion, decline to register any transfer of any common share which is either not fully
  paid up to a person of whom it does not approve or is issued under any share incentive scheme for employees which contains a transfer restriction that is
  still applicable to such common share. The board of directors may also decline to register any transfer of any common share unless:
         •     the instrument of transfer is lodged with XP, accompanied by the certificate (if any) for the common shares to which it relates and such
               other evidence as our board of directors may reasonably require to show the right of the transferor to make the transfer;
         •     the instrument of transfer is in respect of only one class of shares;
         •     the instrument of transfer is properly stamped, if required;
         •     the common shares transferred are free of any lien in favor of XP; and
         •     in the case of a transfer to joint holders, the transfer is not to more than four joint holders.

        If the directors refuse to register a transfer they are required, within two months after the date on which the instrument of transfer was lodged, to
  send to the transferee notice of such refusal.


  Share Repurchase
        The Companies Law and the Articles of Association permit XP to purchase its own shares, subject to certain restrictions. The board of directors
  may only exercise this power on behalf of XP, subject to the Companies Law, the Articles of Association, the Shareholders’ Agreement and to any
  applicable requirements imposed from time to time by the SEC, the Nasdaq, or by any recognized stock exchange on which our securities are listed.


  Dividends and Capitalization of Profits
        We have not adopted a dividend policy with respect to payments of any future dividends by XP. Subject to the Companies Law, XP’s shareholders
  may, by resolution passed by a simple majority of the voting rights entitled to vote at a general meeting, declare dividends (including interim dividends)
  to be paid to shareholders but no dividend shall be declared in excess of the amount recommended by the board of directors. The board of directors may
  also declare dividends. Dividends may be declared and paid out of funds lawfully available to XP. Except as otherwise provided by the rights attached to
  shares and the Articles of Association of XP, all dividends shall be paid in proportion to the number of Class A common shares or Class B common
  shares a shareholder holds at the date the dividend is declared (or such other date as may be set as a record date); but, (1) if any share is issued on terms
  providing that it shall rank for dividend as from a particular date, that share shall rank for dividend accordingly; and (2) where we have shares in issue
  which are not fully paid up (as to par value), we may pay dividends in proportion to the amounts paid up on each share.

         The holders of Class A common shares and Class B common shares shall be entitled to share equally in any dividends that may be declared in
  respect of XP’s common shares from time to time. In the event that a dividend is paid in the form of Class A common shares or Class B common shares,
  or rights to acquire Class A common shares or Class B common shares, (1) the holders of Class A common shares shall receive Class A common shares,
  or rights to acquire Class A common shares, as the case may be and (2) the holders of Class B common shares shall receive Class B common shares, or
  rights to acquire Class B common shares, as the case may be.

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        Pursuant to the Shareholders’ Agreement, any distribution of dividends in an amount that exceeds 50% of our net profits for the year is subject to
  a veto right by Itaú and GA Bermuda.


  Appointment, Disqualification and Removal of Directors
         XP is managed by its board of directors. The Articles of Association provide that the board of directors will be composed of such number of
  directors as a majority of directors in office may determine, being up to 13 directors on the date of adoption of the Articles of Association. There are no
  provisions relating to retirement of directors upon reaching any age limit. The Articles of Association also provide that, while XP’s shares are admitted
  to trading on Nasdaq, the board of directors must always comply with the residency and citizenship requirements of the U.S. securities laws applicable
  to foreign private issuers.

         The Articles of Association provide that directors shall be elected by an ordinary resolution of our shareholders, which requires the affirmative
  vote of a simple majority of the votes cast on the resolution by the shareholders entitled to vote who are present, in person or by proxy, at the meeting
  (provided that any resolution intended to be passed as an “ordinary resolution” in circumstances where Itaú and/or GA Bermuda, as applicable, has(ve)
  exercised its/their veto rights pursuant to the Shareholders Agreement in respect of such resolution shall be void ab initio). Each director shall be
  appointed for a two year term, unless they resign or their office is vacated earlier, provided, however, that such term shall be extended beyond two years
  in the event that no successor has been appointed (in which case such term shall be extended to the date on which such successor has been appointed).

        By the listing date of this offering, the directors will be Guilherme Dias Fernandes Benchimol, Bernardo Amaral Botelho, Carlos Alberto Ferreira
  Filho, Gabriel Klas da Rocha Leal, Bruno Constantino Alexandre dos Santos, Fabrício Cunha de Almeida, Guilherme Sant’Anna Monteiro da Silva,
  Julio Capua Ramos da Silva, Martin Emiliano Escobari Lifchitz, Geraldo José Carbone, Francisco Eduardo de Almeida Pinto, Maria Helena dos Santos
  Fernandes de Santana and Geraldo Travaglia Filho. Julio Capua Ramos da Silva, Maria Helena dos Santos Fernandes de Santana and Geraldo Travaglia
  Filho are “independent” as that term is defined under Rule 10A-3 under the Exchange Act and the Nasdaq rules applicable to audit committees.

        Upon the completion of this offering, the board of directors will have in place an audit committee. See “Management—Audit Committee.”


     Grounds for Removing a Director
        A director may be removed with or without cause by ordinary resolution. The notice of general meeting must contain a statement of the intention
  to remove the director and must be served on the director not less than ten calendar days before the meeting. The director is entitled to attend the
  meeting and be heard on the motion for his removal.

        The office of a director will be vacated automatically if he or she (1) becomes prohibited by law from being a director; (2) becomes bankrupt or
  makes an arrangement or composition with his creditors; (3) dies or is in the opinion of all his co-directors, incapable by reason of mental disorder of
  discharging his duties as director; (4) resigns his office by notice to us; or (5) has for more than six months been absent without permission of the
  directors from meetings of the board of directors held during that period, and the remaining directors resolve that his or her office be vacated.


     Proceedings of the Board of Directors
        The Articles of Association provide that XP’s business is to be managed and conducted by the board of directors. The quorum necessary for the
  board meeting shall be a simple majority of the directors then in office,

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  which majority must include such directors as may be specified in the Shareholders’ Agreement, and business at any meeting shall be decided by a
  majority of votes. In the case of an equality of votes, the chairman shall not have a casting vote.

        Subject to the provisions of the Articles of Association, the board of directors may regulate its proceedings as they determine is appropriate. Board
  meetings shall be held at least once every calendar quarter and shall take place either in São Paulo, Brazil or at such other place as the directors may
  determine.

         Subject to the provisions of the Articles of Association, to any directions given by ordinary resolution of the shareholders and the listing rules of
  the Nasdaq, the board of directors may from time to time at its discretion exercise all powers of XP, including, subject to the Companies Law, the power
  to issue debentures, bonds and other securities of the company, whether outright or as collateral security for any debt, liability or obligation of our
  company or of any third party.


  Corporate Opportunities
         Pursuant to XP’s Articles of Association, to the fullest extent permitted by applicable law, XP, on behalf of itself and its subsidiaries, agrees that
  Itaú, its affiliates and subsidiaries or any of their respective officers, directors, representatives, agents, shareholders, members and partners, (each a
  “specified party”) has the right to, and shall have no duty (statutory, fiduciary, contractual or otherwise) not to, (x) directly or indirectly engage in the
  same or similar business activities or lines of business as XP or its subsidiaries, including those deemed to be competing with XP or its subsidiaries, or
  (y) directly or indirectly do business with any client or customer of XP or its subsidiaries. In addition, in the event that any specified party gains
  knowledge of a potential transaction or matter that may be a corporate opportunity for XP or its subsidiaries, such specified party shall have no duty
  (statutory, fiduciary, contractual or otherwise) to communicate or present such corporate opportunity to XP or its subsidiaries and, notwithstanding
  anything in XP’s Articles of Association to the contrary and, to the fullest extent permitted by applicable law, shall not be liable to XP or its subsidiaries
  by reason of the fact that such specified party, directly or indirectly, pursues or acquires such opportunity for itself, directs such opportunity to another
  person, or does not present such opportunity to XP or its subsidiaries. Notwithstanding anything in XP’s Articles of Association to the contrary, a
  specified party who is a director or officer of XP and who is offered a business opportunity for XP or its subsidiaries solely in his or her capacity as a
  director or officer of XP (a “directed opportunity”) shall communicate such directed opportunity to XP. Nothing in XP’s Articles of Association shall be
  deemed to supersede any rights or obligations of any specified party under the Shareholders Agreement. Each shareholder and director of XP, shall
  comply with the applicable duties and obligations under the Companies Law. All confidential information of XP that is disclosed by XP to (a) any of the
  directors while such person is acting solely in his or her capacity as a director of XP; or (b) the shareholders solely in their capacity as shareholders of
  XP, shall not be used by such receiving party in any manner that violates applicable law. In this context, “confidential information” means all proprietary
  information of XP that is disclosed by XP to the directors or shareholders of XP in their capacity as directors or shareholders, respectively, other than
  information that (a) is or becomes part of the public domain other than as a result of unauthorized disclosure by the directors or shareholders of XP;
  (b) is or becomes available to any such director or shareholder from a source other than XP, provided that such other source is not, to the applicable
  director’s or shareholder’s reasonable knowledge, acting in breach of applicable laws; (c) was in the possession of such director or shareholder prior to
  the disclosure of such information to such party by XP, other than as a result of a disclosure in a breach of applicable laws; or (d) was independently
  developed by such director or shareholder without reference to such confidential information.


  Inspection of Books and Records
        Holders of XP shares will have no general right under Cayman Islands law to inspect or obtain copies of the list of shareholders or corporate
  records of the Company. However, the board of directors may determine from time to time whether and to what extent XP’s accounting records and
  books shall be open to inspection by

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  shareholders who are not members of the board of directors. Notwithstanding the above, the Articles of Association provide shareholders with the right
  to receive annual financial statements. Such right to receive annual financial statements may be satisfied by publishing the same on the company’s
  website or filing such annual reports as we are required to file with the SEC.


  Register of Shareholders
        The Class A common shares offered in this offering will be held through DTC, and DTC or Cede & Co., as nominee for DTC, will be recorded in
  the shareholders’ register as the holder of our Class A common shares.

        Under Cayman Islands law, XP must keep a register of shareholders that includes:
         •     the names and addresses of the shareholders, a statement of the shares held by each member, and of the amount paid or agreed to be
               considered as paid, on the shares of each member;
         •     the date on which the name of any person was entered on the register as a member; and
         •     the date on which any person ceased to be a member.

        Under Cayman Islands law, the register of shareholders of XP is prima facie evidence of the matters set out therein (i.e. the register of
  shareholders will raise a presumption of fact on the matters referred to above unless rebutted) and a shareholder registered in the register of shareholders
  is deemed as a matter of Cayman Islands law to have prima facie legal title to the shares as set against his or her name in the register of shareholders.
  Upon the completion of this offering, the register of shareholders will be immediately updated to record and give effect to the issuance of new Class A
  common shares in this offering. Once the register of shareholders has been updated, the shareholders recorded in the register of shareholders should be
  deemed to have legal title to the shares set against their name.

         If the name of any person is incorrectly entered in or omitted from the register of shareholders, or if there is any default or unnecessary delay in
  entering on the register the fact of any person having ceased to be a shareholder of XP, the person or member aggrieved (or any shareholder of XP, or XP
  itself) may apply to the Cayman Islands Grand Court for an order that the register be rectified, and the Court may either refuse such application or it
  may, if satisfied of the justice of the case, make an order for the rectification of the register.


  Exempted Company
       XP is an exempted company with limited liability under the Companies Law. The Companies Law distinguishes between ordinary resident
  companies and exempted companies. Any company that is registered in the Cayman Islands but conducts business mainly outside of the Cayman Islands
  may apply to be registered as an exempted company. The requirements for an exempted company are essentially the same as for an ordinary company
  except for the exemptions and privileges listed below:
         •     an exempted company does not have to file an annual return of its shareholders with the Registrar of Companies;
         •     an exempted company’s register of shareholders is not open to inspection;
         •     an exempted company does not have to hold an annual general meeting;
         •     an exempted company may obtain an undertaking against the imposition of any future taxation (such undertakings are usually given for 20
               years in the first instance);
         •     an exempted company may register by way of continuation in another jurisdiction and be deregistered in the Cayman Islands;
         •     an exempted company may register as a limited duration company; and
         •     an exempted company may register as a segregated portfolio company.

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        “Limited liability” means that the liability of each shareholder is limited to the amount unpaid by the shareholder on the shares of the company
  (except in exceptional circumstances, such as involving fraud, the establishment of an agency relationship or an illegal or improper purpose or other
  circumstances in which a court may be prepared to pierce or lift the corporate veil).

        Upon the closing of this offering, XP will be subject to reporting and other informational requirements of the Exchange Act, as applicable to
  foreign private issuers. Except as otherwise disclosed in this prospectus, XP currently intends to comply with the Nasdaq rules in lieu of following home
  country practice after the closing of this offering.


  Anti-Takeover Provisions in our Articles of Association
        Some provisions of the Articles of Association may discourage, delay or prevent a change in control of XP or management that shareholders may
  consider favorable. In particular, the capital structure of XP concentrates ownership of voting rights in the hands of XP Controle and Itaú, with XP
  Controle as the controlling shareholder. These provisions, which are summarized below, are expected to discourage coercive takeover practices and
  inadequate takeover bids. These provisions are also designed to encourage persons seeking to acquire control of XP to first negotiate with the board of
  directors. However, these provisions could also have the effect of discouraging others from attempting hostile takeovers and, as a consequence, they
  may also inhibit temporary fluctuations in the market price of the Class A common shares that often result from actual or rumored hostile takeover
  attempts. These provisions may also have the effect of preventing changes in the management of XP. It is possible that these provisions could make it
  more difficult to accomplish transactions that shareholders may otherwise deem to be in their best interests.


     Two Classes of Common Shares
        The Class B common shares of XP are entitled to 10 votes per share, while the Class A common shares are entitled to one vote per share. Since
  XP Controle, Itaú and GA Bermuda own of all of the Class B common shares, XP Controle, Itaú and GA Bermuda currently have the ability to elect a
  majority of the directors and to determine the outcome of most matters submitted for a vote of shareholders, with XP Controle as the controlling
  shareholder. This concentrated voting control could discourage others from initiating any potential merger, takeover, or other change of control
  transaction that other shareholders may view as beneficial.

        So long as XP Controle, Itaú and GA Bermuda have the ability to determine the outcome of most matters submitted to a vote of shareholders as
  well as the overall management and direction of XP, third parties may be deterred in their willingness to make an unsolicited merger, takeover, or other
  change of control proposal, or to engage in a proxy contest for the election of directors. As a result, the fact that XP has two classes of common shares
  may have the effect of depriving you as a holder of Class A common shares of an opportunity to sell your Class A common shares at a premium over
  prevailing market prices and make it more difficult to replace the directors and management of XP.


     Preferred Shares
        XP’s board of directors is given wide powers to issue one or more classes or series of shares with preferred rights. Such preferences may include,
  for example, dividend rights, conversion rights, redemption privileges, enhanced voting powers and liquidation preferences.

        Despite the anti-takeover provisions described above, under Cayman Islands law, XP’s board of directors may only exercise the rights and powers
  granted to them under the Articles of Association, for what they believe in good faith to be in the best interests of XP.

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  Protection of Non-Controlling Shareholders
       The Grand Court of the Cayman Islands may, on the application of shareholders holding not less than one fifth of the shares of XP in issue,
  appoint an inspector to examine the Company’s affairs and report thereon in a manner as the Grand Court shall direct.

        Subject to the provisions of the Companies Law, any shareholder may petition the Grand Court of the Cayman Islands which may make a winding
  up order, if the court is of the opinion that this winding up is just and equitable.

        Notwithstanding the U.S. securities laws and regulations that are applicable to XP, general corporate claims against XP by its shareholders must,
  as a general rule, be based on the general laws of contract or tort applicable in the Cayman Islands or their individual rights as shareholders as
  established by XP’s Articles of Association.

        The Cayman Islands courts ordinarily would be expected to follow English case law precedents, which permit a minority shareholder to
  commence a representative action against XP, or derivative actions in XP’s name, to challenge (1) an act which is ultra vires or illegal; (2) an act which
  constitutes a fraud against the minority and the wrongdoers themselves control XP; and (3) an irregularity in the passing of a resolution that requires a
  qualified (or special) majority.


  Registration Rights and Restricted Shares
        Although no shareholders of XP currently have formal registration rights, they or entities controlled by them or their permitted transferees will,
  subject to the lock-up agreements described below, be able to sell their shares in the public market from time to time without registering them, subject to
  certain limitations on the timing, amount and method of those sales imposed by regulations promulgated by the SEC. Prior to the completion of this
  offering, we intend to enter into a registration rights agreement, or the Registration Rights Agreement, with XP Controle, Itaú and GA Bermuda.

         XP, our executive officers and directors who will hold shares upon completion of this offering and all of our existing shareholders have agreed to
  lock-up agreements that restrict us and them, subject to specified exceptions, from selling or otherwise disposing of any shares for a period of 180 days
  after the date of this prospectus without the prior consent of the Lead Global Coordinators. However, the Lead Global Coordinators may, in their sole
  discretion and without notice, release all or any portion of the shares from the restrictions in any of the lock-up agreements described above. In addition,
  these lock-up agreements are subject to certain exceptions, including the right for XP to issue new shares if we carry out an acquisition or enter into a
  merger, joint venture or strategic participation.


  Principal Differences between Cayman Islands and U.S. Corporate Law
        The Companies Law was modelled originally after similar laws in England and Wales but does not follow subsequent statutory enactments in
  England and Wales. In addition, the Companies Law differs from laws applicable to U.S. corporations and their shareholders. Set forth below is a
  summary of the significant differences between the provisions of the Companies Law applicable to XP and the laws applicable to companies
  incorporated in the United States and their shareholders.


     Mergers and Similar Arrangements
       The Companies Law permits mergers and consolidations between Cayman Islands companies and between Cayman Islands companies and
  non-Cayman Islands companies.

         For these purposes, (a) “merger” means the merging of two or more constituent companies and the vesting of their undertaking, property and
  liabilities in one of such companies as the surviving company and (b) a

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  “consolidation” means the combination of two or more constituent companies into a consolidated company and the vesting of the undertaking, property
  and liabilities of such companies in the consolidated company. In order to effect such a merger or consolidation, the directors of each constituent
  company must approve a written plan of merger or consolidation, which must then be authorized by (a) a special resolution of the shareholders of each
  constituent company; and (b) such other authorization, if any, as may be specified in such constituent company’s articles of association. The plan must
  be approved by the directors of each constituent company and filed with the Registrar of Companies together with a declaration as to: (1) the solvency
  of the consolidated or surviving company; (2) the merger or consolidation is bona fide and not intended to defraud unsecured creditors of the constituent
  companies; (3) no petition or other similar proceeding has been filed and remains outstanding and no order or resolution to wind up the company in any
  jurisdiction; (4) no receiver, trustee, administrator or similar person has been appointed in any jurisdiction and is acting in respect of the constituent
  company, its affairs or property; (5) no scheme, order, compromise or similar arrangement has been entered into or made in any jurisdiction with
  creditors; (6) a list of the assets and liabilities of each constituent company; (7) the non-surviving constituent company has retired from any fiduciary
  office held or will do so; (8) that the constituent company has complied with any requirements under the regulatory laws, where relevant; and (9) an
  undertaking that a copy of the certificate of merger or consolidation will be given to the members and creditors of each constituent company and
  published in the Cayman Islands Gazette.

       Dissenting shareholders have the right to be paid the fair value of their shares (which, if not agreed between the parties, may be determined by the
  Cayman Islands’ court) if they follow the required procedures, subject to certain exceptions. Court approval is not required for a merger or consolidation
  which is effected in compliance with these statutory procedures.

        In addition, there are statutory provisions that facilitate the reconstruction and amalgamation of companies, provided that the arrangement in
  question is approved by a majority in number of each class of shareholders and creditors with whom the arrangement is to be made, and who must in
  addition represent three-fourths in value of each such class of shareholders or creditors, as the case may be, that are present and voting either in person
  or by proxy at a meeting, or meetings convened for that purpose. The convening of the meetings and subsequently the arrangement must be sanctioned
  by the Grand Court of the Cayman Islands. While a dissenting shareholder would have the right to express to the court the view that the transaction
  should not be approved, the court can be expected to approve the arrangement if it satisfies itself that:
         •     XP is not proposing to act illegally or ultra vires and the statutory provisions as to majority vote have been complied with;
         •     the shareholders have been fairly represented at the meeting in question;
         •     the arrangement is such that may be reasonably approved by an intelligent and honest man of that class acting in respect of his interest; and
         •     the arrangement is not one that would more properly be sanctioned under some other provision of the Companies Law or that would
               amount to a “fraud on the minority.”

        When a takeover offer is made and accepted by holders of 90.0% in value of the shares affected within four months, the offeror may, within a
  two-month period, require the holders of the remaining shares to transfer such shares on the terms of the offer. An objection may be made to the Grand
  Court of the Cayman Islands but is unlikely to succeed unless there is evidence of fraud, bad faith or collusion.

        If the arrangement and reconstruction are thus approved, any dissenting shareholders would have no rights comparable to appraisal rights, which
  might otherwise ordinarily be available to dissenting shareholders of U.S. corporations and allow such dissenting shareholders to receive payment in
  cash for the judicially determined value of their shares.

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     Shareholders’ Suits
        Class actions are not recognized in the Cayman Islands, but groups of shareholders with identical interests may bring representative proceedings,
  which are similar. However, a class action suit could nonetheless be brought in a U.S. court pursuant to an alleged violation of U.S. securities laws and
  regulations.

          In principle, XP itself would normally be the proper plaintiff and as a general rule, whilst a derivative action may be initiated by a minority
  shareholder on behalf of XP in a Cayman Islands court, such shareholder will not be able to continue those proceedings without the permission of a
  Grand Court judge, who will only allow the action to continue if the shareholder can demonstrate that XP has a good case against the Defendant, and
  that it is proper for the shareholder to continue the action rather than the Company’s board of directors. Examples of circumstances in which derivative
  actions would be permitted to continue are where:
         •     a company is acting or proposing to act illegally or beyond the scope of its authority;
         •     the act complained of, although not beyond the scope of its authority, could be effected duly if authorized by more than a simple majority
               vote that has not been obtained; and
         •     those who control the company are perpetrating a “fraud on the minority.”


     Corporate Governance
         Cayman Islands law restricts transactions between a company and its directors unless there are provisions in the Articles of Association which
  provide a mechanism to alleviate possible conflicts of interest. Additionally, Cayman Islands law imposes on directors’ duties of care and skill and
  fiduciary duties to the companies which they serve. Under XP’s Articles of Association, a director must disclose the nature and extent of his interest in
  any contract or arrangement, and following such disclosure and subject to any separate requirement under applicable law or the listing rules of the
  Nasdaq, and unless disqualified by the chairman of the relevant meeting, the interested director may vote in respect of any transaction or arrangement in
  which he or she is interested. The interested director shall be counted in the quorum at such meeting and the resolution may be passed by a majority of
  the directors present at the meeting.

        Subject to the foregoing and our Articles of Association, our directors may exercise all the powers of XP to vote compensation to themselves or
  any member of their body in the absence of an independent quorum. Our Articles of Association provide that, in the event a compensation committee is
  established, it shall be made up of such number of independent directors as is required from time to time by the Nasdaq rules (or as otherwise may be
  required by law).

        As a foreign private issuer, we are permitted to follow home country practice in lieu of certain Nasdaq corporate governance rules, subject to
  certain requirements. We currently rely, and will continue to rely, on the foreign private issuer exemption with respect to the following rules:
         •     Nasdaq Rule 5605(b), which requires that independent directors comprise a majority of a company’s board of directors. As allowed by the
               laws of the Cayman Islands, independent directors do not comprise a majority of our board of directors.
         •     Nasdaq Rule 5605(e)(1), which requires that a company have a nominations committee comprised solely of “independent directors” as
               defined by Nasdaq. As allowed by the laws of the Cayman Islands, we do not have a nominations committee nor do we have any current
               intention to establish one.
         •     Nasdaq Rule 5605(d) & (e), which require that compensation for our executive officers and selection of our director nominees be
               determined by a majority of independent directors. As allowed by the laws of the Cayman Islands, we do not have a nomination and
               corporate governance committee nor do we have any current intention to establish one.

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     Borrowing Powers
        XP’s directors may exercise all the powers of XP to borrow money and to mortgage or charge its undertaking, property and assets (present and
  future) and uncalled capital or any part thereof and to issue debentures, debenture stock, mortgages, bonds and other such securities whether outright or
  as security for any debt, liability or obligation of XP or of any third party. Such powers may be varied by a special resolution of shareholders (requiring
  a two-thirds majority vote of those shareholders attending and voting at a quorate meeting).


     Indemnification of Directors and Executive Officers and Limitation of Liability
         The Companies Law does not limit the extent to which a company’s articles of association may provide for indemnification of directors and
  officers, except to the extent that it may be held by the Cayman Islands courts to be contrary to public policy, such as to provide indemnification against
  civil fraud or the consequences of committing a crime. XP’s Articles of Association provide that we shall indemnify and hold harmless our directors and
  officers against all actions, proceedings, costs, charges, expenses, losses, damages, liabilities, judgments, fines, settlements and other amounts incurred
  or sustained by such directors or officers, other than by reason of such person’s dishonesty, willful default or fraud, in or about the conduct of our
  company’s business or affairs (including as a result of any mistake of judgment) or in the execution or discharge of his duties, powers, authorities or
  discretions, including without prejudice to the generality of the foregoing, any costs, expenses, losses or liabilities incurred by such director or officer in
  defending (whether successfully or otherwise) any civil, criminal or other proceedings concerning XP or our affairs in any court whether in the Cayman
  Islands or elsewhere. This standard of conduct is generally the same as permitted under the Delaware General Corporation Law for a Delaware
  corporation.

        Insofar as indemnification for liabilities arising under the Securities Act may be permitted to XP’s directors, officers or persons controlling the
  Company under the foregoing provisions, we have been informed that, in the opinion of the SEC, this indemnification is against public policy as
  expressed in the Securities Act and is therefore unenforceable.


     Directors’ Fiduciary Duties
         As a matter of Cayman Islands law, a director of a Cayman Islands company is in the position of a fiduciary with respect to the company.
  Accordingly, directors owe fiduciary duties to their companies to act bona fide in what they consider to be the best interests of the company, to exercise
  their powers for the purposes for which they are conferred and not to place themselves in a position where there is a conflict between their personal
  interests and their duty to the company. Accordingly, a director owes a company a duty not to make a profit based on his or her position as director
  (unless the company permits him or her to do so) and a duty not to put himself or herself in a position where the interests of the company conflict with
  his or her personal interest or his or her duty to a third party. However, this obligation may be varied by the company’s articles of association, which
  may permit a director to vote on a matter in which he has a personal interest provided that he has disclosed that nature of his interest to the board of
  directors. XP’s Articles of Association provides that a director must disclose the nature and extent of his or her interest in any contract or arrangement,
  and following such disclosure and subject to any separate requirement under applicable law or the listing rules of the Nasdaq, and unless disqualified by
  the chairman of the relevant meeting, such director may vote in respect of any transaction or arrangement in which he or she is interested and may be
  counted in the quorum at the meeting.

        A director of a Cayman Islands company also owes to the company duties to exercise independent judgment in carrying out his functions and to
  exercise reasonable skill, care and diligence, which has both objective and subjective elements. Recent Cayman Islands case law confirmed that
  directors must exercise the care, skill and diligence that would be exercised by a reasonably diligent person having the general knowledge, skill and
  experience reasonably to be expected of a person acting as a director. Additionally, a director must exercise the knowledge, skill and experience which
  he or she actually possesses.

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         A general notice may be given to the board of directors to the effect that (1) the director is a member or officer of a specified company or firm and
  is to be regarded as interested in any contract or arrangement which may after the date of the notice be made with that company or firm; or (2) he or she
  is to be regarded as interested in any contract or arrangement which may after the date of the notice to the board of directors be made with a specified
  person who is connected with him or her, will be deemed sufficient declaration of interest. This notice shall specify the nature of the interest in question.
  Following the disclosure being made pursuant to XP’s Articles of Association and subject to any separate requirement under applicable law or the listing
  rules of the Nasdaq, and unless disqualified by the chairman of the relevant meeting, a director may vote in respect of any transaction or arrangement in
  which he or she is interested and may be counted in the quorum at the meeting.

        In comparison, under Delaware corporate law, a director of a Delaware corporation has a fiduciary duty to the corporation and its shareholders.
  This duty has two components: the duty of care and the duty of loyalty. The duty of care requires that a director act in good faith, with the care that an
  ordinarily prudent person would exercise under similar circumstances. Under this duty, a director must inform himself or herself of, and disclose to
  shareholders, all material information reasonably available regarding a significant transaction. The duty of loyalty requires that a director act in a
  manner he or she reasonably believes to be in the best interests of the corporation. He or she must not use his or her corporate position for personal gain
  or advantage. This duty prohibits self-dealing by a director and mandates that the best interest of the corporation and its shareholders take precedence
  over any interest possessed by a director, officer or controlling shareholder and not shared by the shareholders generally. In general, actions of a director
  are presumed to have been made on an informed basis, in good faith and in the honest belief that the action taken was in the best interests of the
  corporation. However, this presumption may be rebutted by evidence of a breach of one of the fiduciary duties. Should such evidence be presented
  concerning a transaction by a director, a director must prove the procedural fairness of the transaction, and that the transaction was of fair value to the
  corporation.


     Shareholder Proposals
         Under the Delaware General Corporation Law, a shareholder has the right to put any proposal before the annual meeting of shareholders, provided
  it complies with the notice provisions in the governing documents. The Delaware General Corporation Law does not provide shareholders an express
  right to put any proposal before the annual meeting of shareholders, but Delaware corporations generally afford shareholders an opportunity to make
  proposals and nominations provided that they comply with the notice provisions in the certificate of incorporation or bylaws. A special meeting may be
  called by the board of directors or any other person authorized to do so in the governing documents, but shareholders may be precluded from calling
  special meetings.

         The Companies Law provides shareholders with only limited rights to requisition a general meeting, and does not provide shareholders with any
  right to put any proposal before a general meeting. However, these rights may be provided in a company’s articles of association. XP’s Articles of
  Association provide that upon the requisition of one or more shareholders representing not less than one-third of the voting rights entitled to vote at
  general meetings, the board will convene an extraordinary general meeting and put the resolutions so requisitioned to a vote at such meeting. The
  Articles of Association provide no other right to put any proposals before annual general meetings or extraordinary general meetings.


     Cumulative Voting
         Under the Delaware General Corporation Law, cumulative voting for elections of directors is not permitted unless the corporation’s certificate of
  incorporation specifically provides for it. Cumulative voting potentially facilitates the representation of minority shareholders on a board of directors
  since it permits the minority shareholder to cast all the votes to which the shareholder is entitled on a single director, which increases the shareholder’s
  voting power with respect to electing such director. As permitted under Cayman Islands law, XP’s Articles of Association do not provide for cumulative
  voting. As a result, the shareholders of XP are not afforded any less protections or rights on this issue than shareholders of a Delaware corporation.

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     Removal of Directors
        The office of a director shall be vacated automatically if, among other things, he or she (1) becomes prohibited by law from being a director;
  (2) becomes bankrupt or makes an arrangement or composition with his creditors; (3) dies or is in the opinion of all his co-directors, incapable by reason
  of mental disorder of discharging his duties as director; (4) resigns his office by notice to us; or (5) has for more than six months been absent without
  permission of the directors from meetings of the board of directors held during that period, and the remaining directors resolve that his/her office be
  vacated.


     Transaction with Interested Shareholders
         The Delaware General Corporation Law provides that; unless the corporation has specifically elected not to be governed by this statute, it is
  prohibited from engaging in certain business combinations with an “interested shareholder” for three years following the date that this person becomes
  an interested shareholder. An interested shareholder generally is a person or a group who or which owns or owned 15% or more of the target’s
  outstanding voting shares or who or which is an affiliate or associate of the corporation and owned 15% or more of the corporation’s outstanding voting
  shares within the past three years. This has the effect of limiting the ability of a potential acquirer to make a two-tiered bid for the target in which all
  shareholders would not be treated equally. The statute does not apply if, among other things, prior to the date on which the shareholder becomes an
  interested shareholder, the board of directors approves either the business combination or the transaction which resulted in the person becoming an
  interested shareholder. This encourages any potential acquirer of a Delaware corporation to negotiate the terms of any acquisition transaction with the
  target’s board of directors.

        Cayman Islands law has no comparable statute. As a result, XP cannot avail itself of the types of protections afforded by the Delaware business
  combination statute. However, although Cayman Islands law does not regulate transactions between a company and its significant shareholders, it does
  provide that the board of directors owe duties to ensure that these transactions are entered into bona fide in the best interests of the company and for a
  proper corporate purpose and, as noted above, a transaction may be subject to challenge if it has the effect of constituting a fraud on the minority
  shareholders.


     Dissolution; Winding Up
         Under the Delaware General Corporation Law, unless the board of directors approves the proposal to dissolve, dissolution must be approved by
  shareholders holding 100% of the total voting power of the corporation. If the dissolution is initiated by the board of directors it may be approved by a
  simple majority of the corporation’s outstanding shares. Delaware law allows a Delaware corporation to include in its certificate of incorporation a
  supermajority voting requirement in connection with dissolutions initiated by the board. Under Cayman Islands law, a company may be wound up by
  either an order of the courts of the Cayman Islands or by a special resolution of its members or, if the company resolves by ordinary resolution that it be
  wound up because it is unable to pay its debts as they fall due. The court has authority to order winding up in a number of specified circumstances
  including where it is, in the opinion of the court, just and equitable to do so.

        Under the Companies Law, XP may be dissolved, liquidated or wound up by a special resolution of shareholders (requiring a two-thirds majority
  vote of those shareholders attending and voting at a quorate meeting). XP’s Articles of Association also give its board of directors authority to petition
  the Cayman Islands Court to wind up XP.


     Variation of Rights of Shares
        Under the Delaware General Corporation Law, a corporation may vary the rights of a class of shares with the approval of a majority of the
  outstanding shares of that class, unless the certificate of incorporation provides

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  otherwise. Under XP’s Articles of Association, if the share capital is divided into more than one class of shares, the rights attached to any class may only
  be varied with the written consent of the holders of two-thirds of the shares of that class or the sanction of a special resolution passed at a separate
  meeting of the holders of the shares of that class.

        Also, except with respect to share capital (as described above), alterations to XP’s Articles of Association may only be made by special resolution
  of shareholders (requiring a two-thirds majority vote of those shareholders attending and voting at a quorate meeting).


     Amendment of Governing Documents
        Under the Delaware General Corporation Law, a corporation’s certificate of incorporation may be amended only if adopted and declared advisable
  by the board of directors and approved by a majority of the outstanding shares entitled to vote, and the bylaws may be amended with the approval of a
  majority of the outstanding shares entitled to vote and may, if so provided in the certificate of incorporation, also be amended by the board of directors.
  Under Cayman Islands law, XP’s Articles of Association generally (and save for certain amendments to share capital described in this section) may only
  be amended by special resolution of shareholders (requiring a two-thirds majority vote of those shareholders attending and voting at a quorate meeting).


     Rights of Non-Resident or Foreign Shareholders
         There are no limitations imposed by XP’s Articles of Association on the rights of non-resident or foreign shareholders to hold or exercise voting
  rights on XP’s shares. In addition, there are no provisions in the Articles of Association governing the ownership threshold above which shareholder
  ownership must be disclosed.

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                                            CLASS A COMMON SHARES ELIGIBLE FOR FUTURE SALE

        Prior to this offering, there has been no public market for our Class A common shares. Future sales of substantial amounts of Class A common
  shares in the public market after this offering, or the possibility of these sales occurring, could adversely affect the prevailing market price for our
  Class A common shares or impair our ability to raise equity capital.

         Upon the completion of this offering, we will have an aggregate of 551,800,326 common shares outstanding. Of these shares, the Class A
  common shares sold in this offering by us or the selling shareholders will be freely tradable without restriction or further registration under the Securities
  Act, unless purchased by “affiliates” as that term is defined under Rule 144 of the Securities Act, who may sell only the volume of shares described
  below and whose sales would be subject to additional restrictions described below. The remaining 479,289,685 common shares, representing 86.9% of
  our outstanding shares will be held by our existing shareholders. These shares will be “restricted securities” as that phrase is defined in Rule 144 under
  the Securities Act. Subject to certain contractual restrictions, including the lock-up agreements described below, holders of restricted shares will be
  entitled to sell those shares in the public market pursuant to an effective registration statement under the Securities Act or if they qualify for an
  exemption from registration under Rule 144. Sales of these shares in the public market after the restrictions under the lock-up agreements lapse, or the
  perception that those sales may occur, could cause the prevailing market price to decrease or to be lower than it might be in the absence of those sales or
  perceptions. As a result of lock-up agreements and market standoff agreements described below, and the provisions of Rules 144 and 701 under the
  Securities Act, the restricted securities will be available for sale in the public market.


  Equity Incentive Plans
         We intend to file with the SEC a registration statement under the Securities Act covering the Class A common shares that we may issue upon
  exercise of warrants or options or in connection with other equity compensation granted under our Long-Term Incentive Plan. Accordingly, shares
  registered under such registration statement may be available for sale in the open market following the effective date of such registration statement,
  subject to the lock-up agreements described below, if applicable. For more information see “Management—Long-Term Incentive Plan.”

        Sales of these shares in the public market after the restrictions under the lock-up agreements lapse, or the perception that those sales may occur,
  could cause the prevailing market price to decrease or to be lower than it might be in the absence of those sales or perceptions.


  Lock-up Agreements
         We, our directors, executive officers, all of our existing shareholders, and entities advised by Durable have agreed, subject to certain exceptions,
  not to offer, sell or transfer any Class A common shares or securities convertible into, or exchangeable or exercisable for, Class A common shares, for
  180 days after the date of this prospectus. Specifically, we and these other persons have agreed, with certain limited exceptions, not to directly or
  indirectly:
         •     offer, pledge, sell or contract to sell any common shares;
         •     sell any option or contract to purchase any common shares;
         •     purchase any option or contract to sell any common shares;
         •     grant any option, right or warrant for the sale of any common shares;
         •     lend or otherwise dispose of or transfer any common shares;
         •     request or demand that we file a registration statement related to the Class A common shares; or

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         •     enter into any swap or other agreement that transfers, in whole or in part, the economic consequence of ownership of any Class A common
               shares whether any such swap or transaction is to be settled by delivery of shares or other securities, in cash or otherwise.

        These lock-up provisions apply to Class A common shares and to securities convertible into or exchangeable or exercisable for Class A common
  shares, including our Class B common shares.


  Eligibility of Restricted Shares for Sale in the Public Market
         The common shares that are not being sold in this offering, but which will be outstanding at the time this offering is complete, will be eligible for
  sale into the public market, under the provisions of Rule 144 commencing after the expiration of the restrictions under the lock-up agreements, subject
  to volume restrictions discussed below under “—Rule 144.”


  Rule 144
         In general, under Rule 144 under the Securities Act, a person (or persons whose shares are aggregated) who is not deemed to have been an affiliate
  of ours at any time during the three months preceding a sale, and who has beneficially owned restricted securities within the meaning of Rule 144 for at
  least six months (including any period of consecutive ownership of preceding non-affiliated holders) would be entitled to sell those shares, subject only
  to the availability of current public information about us. A non-affiliated person who has beneficially owned restricted securities within the meaning of
  Rule 144 for at least one year would be entitled to sell those shares without regard to the provisions of Rule 144.

        A person (or persons whose shares are aggregated) who is deemed to be an affiliate of ours and who has beneficially owned restricted securities
  within the meaning of Rule 144 for at least six months would be entitled to sell within any three-month period a number of shares that does not exceed
  the greater of one percent of the then outstanding shares of our Class A common shares or the average weekly trading volume of our Class A common
  shares on the during the four calendar weeks preceding such sale. Such sales are also subject to certain manner of sale provisions, notice requirements
  and the availability of current public information about us.

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                                                                        TAXATION

         The following summary contains a description of certain Cayman Islands and U.S. federal income tax consequences of the acquisition, ownership
  and disposition of our Class A common shares. It does not purport to be a comprehensive description of all the tax considerations that may be relevant to
  a decision to purchase the Class A common shares, is not applicable to all categories of investors, some of which may be subject to special rules, and
  does not address all of the Cayman Islands and U.S. federal income tax considerations applicable to any particular holder. The summary is based upon
  the tax laws of the Cayman Islands and regulations thereunder and upon the tax laws of the United States and regulations thereunder as of the date
  hereof, which are subject to change.

         Prospective purchasers of our Class A common shares should consult their own tax advisors about the particular Cayman Islands and U.S. federal,
  state, local and other tax consequences to them of the acquisition, ownership and disposition of our Class A common shares.


  Cayman Islands Tax Considerations
         The Cayman Islands laws currently levy no taxes on individuals or corporations based upon profits, income, gains or appreciation and there is no
  taxation in the nature of inheritance tax or estate duty or withholding tax applicable to us or to any holder of Class A common shares. There are no other
  taxes likely to be material to us levied by the government of the Cayman Islands except for stamp duties which may be applicable on instruments
  executed in, or after execution brought within the jurisdiction of the Cayman Islands. No stamp duty is payable in the Cayman Islands on transfers of
  shares of Cayman Islands companies except those which hold interests in land in the Cayman Islands. The Cayman Islands is not party to any double tax
  treaties which are applicable to any payments made by or to our company. There are no exchange control regulations or currency restrictions in the
  Cayman Islands.

        As a Cayman Islands exempted company with limited liability, we are entitled, upon application, to receive an undertaking as to tax concessions
  pursuant to Section 6 of the Tax Concessions Law (2018 Revision). On September 9, 2019, we received this undertaking which provides that, for a
  period of 20 years from the date of issue of the undertaking, no law thereafter enacted in the Cayman Islands imposing any taxes to be levied on profits,
  income, gains or appreciation will apply to us or our operations.

        Payments of dividends and capital in respect of our Class A common shares will not be subject to taxation in the Cayman Islands and no
  withholding will be required on the payment of a dividend or capital to any holder of our Class A common shares, nor will gains derived from the
  disposal of our Class A common shares be subject to Cayman Islands income or corporation tax.

        There is no income tax treaty or convention currently in effect between the United States and the Cayman Islands.


  U.S. Federal Income Tax Considerations
        In the opinion of Davis Polk & Wardwell LLP, our U.S. tax counsel, the following is a description of the material U.S. federal income tax
  considerations to U.S. Holders (as defined below) of owning and disposing of Class A common shares, but it does not purport to be a comprehensive
  description of all tax considerations that may be relevant to a particular person’s decision to acquire our Class A common shares. This discussion applies
  only to a U.S. Holder that acquires Class A common shares in this offering and holds those Class A common shares as capital assets for U.S. federal
  income tax purposes. In addition, it does not describe all of the tax considerations that may be relevant in light of a U.S. Holder’s particular
  circumstances, including alternative minimum tax considerations, the potential application of the provisions of the Code known as the Medicare
  contribution tax and tax considerations applicable to U.S. Holders subject to special rules, such as:
         •     one of certain financial institutions;
         •     a dealer or trader in securities who uses a mark-to-market method of tax accounting;

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         •     a person holding a Class A common share as part of a straddle, wash sale, hedging transaction, conversion transaction or integrated
               transaction or entering into a constructive sale with respect to a Class A common share;
         •     a person whose functional currency for U.S. federal income tax purposes is not the U.S. dollar;
         •     a person that is subject to the “applicable financial statement” rules under Section 451(b) of the Code;
         •     an entity classified as a partnership for U.S. federal income tax purposes;
         •     a tax-exempt entity, including an “individual retirement account” or “Roth IRA;” or
         •     a person that owns or is deemed to own ten percent or more of our stock (by vote or value).

        If a partnership (or other entity or arrangement classified as a partnership for U.S. federal income tax purposes) holds our Class A common shares,
  the U.S. federal income tax treatment of a partner will generally depend on the status of the partner and the activities of the partnership. Partnerships
  holding Class A common shares and partners in such partnerships should consult their tax advisers as to the particular U.S. federal income tax
  considerations of owning and disposing of the Class A common shares.

         This discussion is based on the Code, administrative pronouncements, judicial decisions, and final, temporary and proposed Treasury regulations,
  all as of the date hereof, any of which is subject to change, possibly with retroactive effect.

        For purposes of this discussion, a “U.S. Holder” is a beneficial owner of Class A common shares that is for U.S. federal income tax purposes:
         •     a citizen or individual resident of the United States;
         •     a corporation created or organized in or under the laws of the United States, any state therein or the District of Columbia or otherwise
               treated as a domestic corporation; or
         •     an estate or trust the income of which is subject to U.S. federal income taxation regardless of its source.

        Except where otherwise indicated, this discussion assumes that we are not, and will not become, PFIC, as described below.


        Taxation of Distributions
         In the event that we pay dividends, distributions paid on our Class A common shares will be treated as dividends for U.S. federal income tax
  purposes to the extent paid out of our current or accumulated earnings and profits (as determined under U.S. federal income tax principles). Because we
  do not maintain calculations of our earnings and profits under U.S. federal income tax principles, it is expected that distributions generally will be
  reported to U.S. Holders as dividends. Subject to applicable limitations, dividends paid to a non-corporate U.S. Holder will be “qualified dividend
  income” and therefore may be taxable at rates applicable to long-term capital gains, provided the Class A common shares on which the dividends are
  paid are readily tradable on an established securities market in the United States. The Nasdaq, on which the Class A common shares are expected to be
  listed, is an established securities market in the United States, and we anticipate that our Class A common shares should qualify as readily tradable,
  although there can be no assurances in this regard. The amount of any dividend will be treated as foreign-source dividend income and will not be
  eligible for the dividends-received deduction generally available to U.S. corporations under the Code. Dividends will be included in a U.S. Holder’s
  income on the date of receipt.

         As discussed in “—Cayman Island Tax Considerations,” there are currently no applicable withholding taxes under Cayman Island law. However,
  if there were a change in law resulting in the imposition of a withholding tax, then, subject to applicable limitations, some of which vary depending upon
  a U.S. Holder’s particular circumstances, the amount of Cayman Island income taxes withheld from distributions on a U.S. Holder’s Class A common
  shares that are treated as dividends for U.S. federal income tax purposes would be includible in

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  such holder’s income as dividends, and would be potentially creditable against such holder’s U.S. federal income tax liability. The rules governing
  foreign tax credits are complex, and U.S. Holders should consult their tax advisers regarding the creditability of non-U.S. taxes in their particular
  circumstances.


        Sale or Other Disposition of Class A Common Shares
        For U.S. federal income tax purposes, gain or loss realized on the sale or other disposition of a Class A common share will be capital gain or loss,
  and will be long-term capital gain or loss if a U.S. Holder’s has held the Class A common share for more than one year. The amount of the gain or loss
  will equal the difference between a U.S. Holder’s tax basis in the Class A common share disposed of and the amount realized on the disposition, in each
  case as determined in U.S. dollars. This gain or loss will generally be U.S.-source gain or loss for foreign tax credit purposes. The deductibility of
  capital losses is subject to various limitations.


        Passive Foreign Investment Company Rules
         Under the Code, we will be a PFIC for any taxable year in which, after the application of certain “look-through” rules with respect to subsidiaries,
  either (i) 75% or more of our gross income consists of “passive income,” or (ii) 50% or more of the average quarterly value of our assets consists of
  assets that produce, or are held for the production of, “passive income.” For purposes of the above calculations, we will be treated as if we hold our
  proportionate share of the assets of, and receive directly our proportionate share of the income of, any other corporation in which we directly or
  indirectly own at least 25%, by value, of the shares of such corporation. Passive income generally includes dividends, interest, rents, certain non-active
  royalties, and capital gains. Based on our current operations, income, assets and certain estimates and projections, including as to the relative values of
  our assets, including goodwill, which is based on the expected price of our Class A common shares, we do not expect to be a PFIC for our 2019 taxable
  year. However, there can be no assurance that the IRS will agree with our conclusion. In addition, whether we will be a PFIC in 2019 or any future year
  is uncertain because, among other things, (i) we will hold a substantial amount of cash following this offering, which is categorized as a passive asset;
  and (ii) our PFIC status for any taxable year will depend on the composition of our income and assets and the value of our assets from time to time
  (which may be determined, in part, by reference to the market price of our Class A common shares, which could be volatile). Accordingly, there can be
  no assurance that we will not be a PFIC for any taxable year. If we are a PFIC for any year during which a U.S. Holder holds Class A common shares,
  we would generally continue to be treated as a PFIC with respect to such holder for all succeeding years during which such holder holds Class A
  common shares, even if we ceased to meet the threshold requirements for PFIC status.

         If we were a PFIC for any taxable year and any of our subsidiaries or other companies in which we owned or were treated as owning equity
  interests were also a PFIC (any such entity, a “Lower-tier PFIC”), a U.S. Holder would be deemed to own a proportionate amount (by value) of the
  shares of each Lower-tier PFIC and would be subject to U.S. federal income tax according to the rules described in the subsequent paragraph on
  (i) certain distributions by a Lower-tier PFIC; and (ii) dispositions of shares of Lower-tier PFICs, in each case as if such holder held such shares directly,
  even though such holder will not have received the proceeds of those distributions or dispositions.

         If we were a PFIC for any taxable year during which a U.S. Holder held any of our Class A common shares, such holder would generally be
  subject to adverse tax consequences. Generally, gain recognized upon a disposition (including, under certain circumstances, a pledge) of Class A
  common shares would be allocated ratably over a U.S. Holder’s holding period for the Class A common shares. The amounts allocated to the taxable
  year of disposition and to years before we became a PFIC would be taxed as ordinary income. The amount allocated to each other taxable year would be
  subject to tax at the highest rate in effect for that taxable year for individuals or corporations, as appropriate, and an interest charge would be imposed on
  the tax on such amount. Further, to the extent that any distribution received on a U.S. Holder’s Class A common shares exceeded 125% of the average of
  the annual distributions on those shares during the preceding three years or such holder’s

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  holding period, whichever was shorter, that distribution would be subject to taxation in the same manner as gain, described immediately above.

         Alternatively, if we were a PFIC and if the Class A common shares were “regularly traded” on a “qualified exchange,” a U.S. Holder would be
  eligible to make a mark-to-market election that would result in tax treatment different from the general tax treatment for PFICs described above. The
  Class A common shares would be treated as “regularly traded” for the year of this offering if more than a de minimis quantity of the Class A common
  shares were traded on a qualified exchange on at least 1/6 of the days remaining in the quarter in which this offering occurs, and on at least 15 days
  during each remaining calendar quarter (the “15-Day Test”), and for years other than this year based on the 15-Day Test. The Nasdaq, on which the
  Class A common shares are expected to be listed, is a qualified exchange for this purpose. Once made, the election cannot be revoked without the
  consent of the IRS unless the shares cease to be marketable.

         If a U.S. Holder makes the mark-to-market election, such holder will generally recognize as ordinary income any excess of the fair market value
  of such holder’s Class A common shares at the end of each taxable year over their adjusted tax basis, and will recognize an ordinary loss in respect of
  any excess of the adjusted tax basis of the Class A common shares over their fair market value at the end of the taxable year (but only to the extent of the
  net amount of income previously included as a result of the mark-to-market election). If a U.S. Holder makes the election, such holder’s tax basis in
  their Class A common shares will be adjusted to reflect these income or loss amounts. Any gain recognized on the sale or other disposition of Class A
  common shares in a year when we are a PFIC will be treated as ordinary income and any loss will be treated as an ordinary loss (but only to the extent
  of the net amount of income previously included as a result of the mark-to-market election). This election will not apply to any of our non-U.S.
  subsidiaries. Accordingly, a U.S. Holder may continue to be subject to tax under the PFIC excess distribution regime with respect to any Lower-tier
  PFICs notwithstanding a mark-to-market election for the Class A common shares.

        In addition, if we were a PFIC for any taxable year in which we paid a dividend or for the prior taxable year, the preferential dividend rates
  discussed above with respect to dividends paid to certain non-corporate U.S. Holders would not apply.

        If a company that is a PFIC provides certain information to U.S. Holders, a U.S. Holder can then avoid certain adverse tax consequences described
  above by making a “qualified electing fund” election to be taxed currently on its proportionate share of the PFIC’s ordinary income and net capital
  gains. However, because we do not intend to prepare or provide the information necessary for a U.S. Holder to make a qualified electing fund election,
  such election will not be available to U.S. Holders.

        If a U.S. Holder owns Class A common shares during any year in which we are a PFIC, such holder must generally file annual reports containing
  such information as the U.S. Treasury may require on IRS Form 8621 (or any successor form) with respect to us, generally with such holder’s federal
  income tax return for that year.

        U.S. Holders should consult their tax advisers regarding whether we are a PFIC and the potential application of the PFIC rules.


        Information Reporting and Backup Withholding
          Payments of dividends and sales proceeds that are made within the United States or through certain U.S.-related financial intermediaries generally
  are subject to information reporting, and may be subject to backup withholding, unless a U.S. Holder (i) is a corporation or other exempt recipient; or
  (ii) in the case of backup withholding, provides a correct taxpayer identification number and certify that such holder is not subject to backup
  withholding. A failure to file one or more of these forms as required may toll the running of the statute of limitations in respect of each taxable year for
  which such form is required to be filed. As a result, the taxable years with respect to which a U.S. Holder fails to file the form may remain open to
  assessment by the IRS indefinitely, until the form is filed.

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        Backup withholding is not an additional tax. The amount of any backup withholding from a payment to a U.S. Holder will be allowed as a refund
  or credit against such holder’s U.S. federal income tax liability and may entitle such holder to a refund, provided that the required information is timely
  furnished to the IRS.


        Information with Respect to Foreign Financial Assets
         Certain U.S. Holders who are individuals (and certain entities) may be required to report information on their U.S. federal income tax returns
  relating to an interest in our Class A common shares, subject to certain exceptions (including an exception for Class A common shares held in accounts
  maintained by certain U.S. financial institutions). U.S. Holders should consult their tax advisers regarding the effect, if any, of this requirement on their
  ownership and disposition of the Class A common shares.

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                                                    UNDERWRITING (CONFLICTS OF INTEREST)

        We, the selling shareholders and the underwriters named below have entered into an underwriting agreement dated December 10, 2019 with
  respect to the Class A common shares being offered. Subject to certain conditions, each underwriter has severally agreed to purchase the number of
  shares indicated in the following table. Goldman Sachs & Co. LLC, J.P. Morgan Securities LLC, Morgan Stanley & Co. LLC, XP Investments US, LLC
  and Itau BBA USA Securities, Inc. are the representatives of the underwriters.

                                                                                                                         Number of
                                                                                                                          Class A
                           Underwriter                                                                                 Common Shares
                           Goldman Sachs & Co. LLC                                                                       16,805,407
                           J.P. Morgan Securities LLC                                                                    16,805,407
                           Morgan Stanley & Co. LLC                                                                      16,805,407
                           XP Investments US, LLC                                                                         5,075,746
                           Itau BBA USA Securities, Inc.                                                                  5,075,746
                           BofA Securities, Inc.                                                                          2,985,732
                           Citigroup Global Markets Inc.                                                                  2,985,732
                           Credit Suisse Securities (USA) LLC                                                             2,985,732
                           UBS Securities LLC                                                                             2,985,732
                           Total                                                                                         72,510,641

         Subject to the terms and conditions set forth in the underwriting agreement, the underwriters have agreed, severally and not jointly, to purchase all
  of the Class A common shares sold under the underwriting agreement, if any of these Class A common shares are purchased, other than the shares
  covered by the option described below unless and until this option is exercised. If an underwriter defaults, the underwriting agreement provides that the
  purchase commitments of the non-defaulting underwriters may be increased or the underwriting agreement may be terminated.

         The selling shareholders have granted the underwriters an option to purchase up to an additional              Class A common shares from the
  selling shareholders to cover sales by the underwriters of a greater number of shares than the total number set forth in the table above. They may
  exercise that option for 30 days from the date of this prospectus. If any shares are purchased pursuant to this option, the underwriters will severally
  purchase shares in approximately the same proportion as set forth in the table above.

        The following table shows the per share and total public offering price, underwriting discounts and commissions to be paid to the underwriters by
  us and by the selling shareholders, and proceeds before expenses to us and to the selling shareholders. These amounts are shown assuming both no
  exercise and full exercise of the underwriters’ option to purchase up to an additional 10,876,596 Class A common shares from the selling shareholders.

                                                                                                                                  Total
                                                                                                           Per Share       No Exercise         Full Exercise
                                                                                                                                  (US$)
  Initial public offering price                                                                                27.00       1,957,787,307       2,251,455,399
  Underwriting discounts and commissions to be paid by us                                                       1.15          48,829,788          48,829,788
  Underwriting discounts and commissions to be paid by the selling shareholders                                 1.15          34,376,173          46,857,068
  Proceeds, before expenses, to us                                                                             25.85       1,100,106,396       1,100,106,396
  Proceeds, before expenses, to the selling shareholders                                                       25.85         774,474,950       1,055,662,148

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       We estimate that our share of the total expenses of this offering, excluding underwriting discounts and commissions, will be approximately
  US$9.6 million. We have agreed to reimburse the underwriters for certain expenses relating to clearance of this offering with FINRA in an amount not to
  exceed US$75,000.

        Entities advised by Durable have agreed to purchase 5,500,000 of our Class A common shares in this offering at the initial public offering price.

        Shares sold by the underwriters to the public will initially be offered at the initial public offering price set forth on the cover of this prospectus.
  Any shares sold by the underwriters to securities dealers may be sold at a discount of up to US$1.1475 per share from the initial public offering price.
  After the initial offering of the shares, the representatives may change the offering price and the other selling terms. The offering of the Class A common
  shares by the underwriters is subject to receipt and acceptance and subject to the underwriters’ right to reject any order in whole or in part.

        We, our directors, executive officers, all of our existing shareholders, and entities advised by Durable have agreed with the underwriters, subject to
  certain exceptions, not to dispose of or hedge any of their Class A common shares or securities convertible into or exchangeable for Class A common
  shares during the period from the date of this prospectus continuing through the date 180 days after the date of this prospectus, except with the prior
  written consent of the Lead Global Coordinators.

        Prior to this offering, there has been no public market for the shares. The initial public offering price has been negotiated among us, the selling
  shareholders and the representatives. Among the factors to be considered in determining the initial public offering price of the shares, in addition to
  prevailing market conditions, will be our historical performance, estimates of the business potential and earnings prospects of the Company, an
  assessment of our management and the consideration of the above factors in relation to market valuation of companies in related businesses.

        We and the selling shareholders have agreed to indemnify the several underwriters against certain liabilities, including liabilities under the
  Securities Act of 1933 or to contribute to payments the underwriters may be required to make in respect of those liabilities.

         The underwriters and their respective affiliates are full service financial institutions engaged in various activities, which may include sales and
  trading, commercial and investment banking, advisory, investment management, investment research, principal investment, hedging, market making,
  brokerage and other financial and non-financial activities and services. Certain of the underwriters and their respective affiliates have provided, and may
  in the future provide, a variety of these services to us and to persons and entities with relationships with us, for which they received or will receive
  customary fees and expenses.

         In the ordinary course of their various business activities, the underwriters and their respective affiliates, officers, directors and employees may
  purchase, sell or hold a broad array of investments and actively traded securities, derivatives, loans, commodities, currencies, credit default swaps and
  other financial instruments for their own account and for the accounts of their customers or affiliates, and such investment and trading activities may
  involve or relate to assets, securities and/or instruments of ours (directly, as collateral securing other obligations or otherwise) and/or persons and
  entities with relationships with us. The underwriters and their respective affiliates may also communicate independent investment recommendations,
  market color or trading ideas and/or publish or express independent research views in respect of such assets, securities or instruments and may at any
  time hold, or recommend to clients that they should acquire, long and/or short positions in such assets, securities and instruments.

        Our Class A common shares have been approved for listing on the Nasdaq Global Select Market under the symbol “XP.”

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        In connection with this offering, the underwriters may purchase and sell Class A common shares in the open market. These transactions may
  include short sales, stabilizing transactions and purchases to cover positions created by short sales. Short sales involve the sale by the underwriters of a
  greater number of shares than they are required to purchase in this offering, and a short position represents the amount of such sales that have not been
  covered by subsequent purchases. A “covered short position” is a short position that is not greater than the amount of additional shares for which the
  underwriters’ option described above may be exercised. The underwriters may cover any covered short position by either exercising their option to
  purchase additional shares or purchasing shares in the open market. In determining the source of shares to cover the covered short position, the
  underwriters will consider, among other things, the price of shares available for purchase in the open market as compared to the price at which they may
  purchase additional shares pursuant to the option described above. “Naked” short sales are any short sales that create a short position greater than the
  amount of additional shares for which the option described above may be exercised. The underwriters must cover any such naked short position by
  purchasing shares in the open market. A naked short position is more likely to be created if the underwriters are concerned that there may be downward
  pressure on the price of the Class A common shares in the open market after pricing that could adversely affect investors who purchase in this offering.
  Stabilizing transactions consist of various bids for or purchases of Class A common shares made by the underwriters in the open market prior to the
  completion of this offering.

        The underwriters may also impose a penalty bid. This occurs when a particular underwriter repays to the underwriters a portion of the
  underwriting discount received by it because the representatives have repurchased shares sold by or for the account of such underwriter in stabilizing or
  short covering transactions.

         Purchases to cover a short position and stabilizing transactions, as well as other purchases by the underwriters for their own accounts, may have
  the effect of preventing or retarding a decline in the market price of our Class A common shares, and together with the imposition of the penalty bid,
  may stabilize, maintain or otherwise affect the market price of the Class A common shares. As a result, the price of the Class A common shares may be
  higher than the price that otherwise might exist in the open market. The underwriters are not required to engage in these activities and may end any of
  these activities at any time. These transactions may be effected on the Nasdaq, in the over-the-counter market or otherwise.


  Conflicts of Interest
         Our affiliate, XP Investments, is one of the underwriters of this offering. Since we own more than 10% of the common equity of XP Investments,
  a “conflict of interest” exists for XP Investments within the meaning of FINRA Rule 5121(f)(5)(B). Also, XP Investments will have a conflict of interest
  as defined in Rule 5121(f)(5)(C)(ii) due to the receipt of more than 5% of the net offering proceeds by its affiliates. In addition, since one of our
  significant shareholders owns more than 10% of our common equity and more than 10% of the common equity of Itau BBA USA Securities, Inc., one of
  the underwriters of this offering, a “conflict of interest” exists for Itau BBA USA Securities, Inc. within the meaning of FINRA Rule 5121(f)(5)(B).
  Also, Itau BBA USA Securities, Inc. will have a conflict of interest as defined in Rule 5121(f)(5)(C)(ii) due to the receipt of more than 5% of the net
  offering proceeds by affiliates of Itau BBA USA Securities, Inc. Therefore, this offering will be conducted in compliance with the applicable
  requirements of FINRA Rule 5121. Pursuant to that rule, the appointment of a “qualified independent underwriter” is not required in connection with
  this offering as the underwriters primarily responsible for managing the public offering do not have a conflict of interest, are not affiliates of any
  underwriter that has a conflict of interest and meet the requirements of paragraph (f)(12)(E) of FINRA Rule 5121. Any underwriter with a conflict of
  interest under Rule 5121 will not confirm initial sales to any discretionary accounts over which it has authority without the prior specific written
  approval of the customer.

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  Selling Restrictions
     European Economic Area
      In relation to each Member State of the European Economic Area, an offer of the Class A common shares to the public may not be made in that
  Member State, except that an offer of Class A common shares may be made to the public in that Member State at any time:
         •       to any legal entity which is a qualified investor as defined under the Prospectus Regulation; or
         •       to fewer than 150 natural or legal persons in a Member State (other than qualified investors as defined in the Prospectus Regulation),
                 subject to obtaining the prior consent of the representatives for any such offer; or
         •       in any other circumstances falling within Article 1(4) of the Prospectus Regulation,

  provided that no such offer of Class A common shares shall result in a requirement for the publication by us or any underwriter of a prospectus pursuant
  to Article 3 of the Prospectus Regulation or supplement a prospectus pursuant to Article 23 of the Prospectus Regulation.

        For the purposes of this provision, the expression “an offer of the public” in relation to any Class A common shares in any Member State means
  the communication in any form and by any means of sufficient information on the terms of the offer and the Class A common shares to be offered so as
  to enable an investor to decide to purchase or subscribe for the Class A common shares, and the expression “Prospectus Regulation” means Regulation
  (EU) 2017/1129.


     United Kingdom
        Each underwriter has represented, warranted and agreed that:
        (a)      it has only communicated or caused to be communicated and will only communicate or cause to be communicated an invitation or
                 inducement to engage in investment activity (within the meaning of Section 21 of the Financial Services and Markets Act 2000 (“FSMA”)
                 received by it in connection with the issue or sale of our Class A common shares in circumstances in which Section 21(1) of the FSMA
                 does not apply to us; and
        (b)      it has complied and will comply with all applicable provisions of the FSMA with respect to anything done by it in relation to our Class A
                 common shares in, from or otherwise involving the United Kingdom.

         This prospectus is only being distributed to and is only directed at: (i) persons who are outside the United Kingdom; (ii) investment professionals
  falling within Article 19(5) of the Financial Services and Markets Act 2000 (Financial Promotion) Order 2005 (the “Order”); or (iii) high net worth
  companies, and other persons to whom it may lawfully be communicated, falling within Article 49(2)(a) to (d) of the Order (all such persons falling
  within (i)-(iii) together being referred to as “relevant persons”). The Class A common shares are only available to, and any invitation, offer or agreement
  to subscribe, purchase or otherwise acquire the Class A common shares will be engaged in only with, relevant persons. Any person who is not a relevant
  person should not act or rely on this prospectus or any of its contents.


     Argentina
        The Class A common shares are not authorized for public offering in Argentina by the Comisión Nacional de Valores pursuant to Argentine Public
  Offering Law No. 17,811, as amended, and they shall not be sold publicly. Therefore, any transaction carried out in Argentina must be made privately.


     Australia
        No placement document, prospectus, product disclosure statement or other disclosure document has been lodged or will be lodged with the
  Australian Securities and Investments Commission (ASIC), in relation to this

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  offering. This document does not constitute a prospectus, product disclosure statement or other disclosure document under the Corporations Act 2001
  (the Corporations Act), and does not purport to include the information required for a prospectus, product disclosure statement or other disclosure
  document under the Corporations Act.

        Any offer in Australia of the Class A common shares may only be made to persons (the Exempt Investors) who are “sophisticated investors”
  (within the meaning of section 708(8) of the Corporations Act), “professional investors” (within the meaning of section 708(11) of the Corporations
  Act) or otherwise pursuant to one or more exemptions contained in section 708 of the Corporations Act so that it is lawful to offer the Class A common
  shares without disclosure to investors under Chapter 6D of the Corporations Act.

        The Class A common shares applied for by Exempt Investors in Australia must not be offered for sale in Australia in the period of 12 months after
  the date of allotment under this offering, except in circumstances where disclosure to investors under Chapter 6D of the Corporations Act would not be
  required pursuant to an exemption under section 708 of the Corporations Act or otherwise or where the offer is pursuant to a disclosure document which
  complies with Chapter 6D of the Corporations Act. Any person acquiring Class A common shares must observe such Australian on-sale restrictions.

         The Company is not licensed in Australia to provide financial product advice in relation to the Class A common shares. This prospectus contains
  general information only and does not take account of the investment objectives, financial situation or particular needs of any particular person. It does
  not contain any securities recommendations or financial product advice. Any advice contained in this document is general advice only. Before making
  an investment decision on the basis of this document, investors should consider the appropriateness of the information in this document, having regard
  to their own objectives, financial situation and needs, and, if necessary, seek expert advice on those matters. No cooling off period applies to an
  acquisition of the Class A common shares.


     Brazil
        Notice to Prospective Investors in Brazil
        The offer and sale of our Class A common shares has not been, and will not be, registered (or exempted from registration) with the Brazilian
  Securities Commission (Comissão de Valores Mobiliários – CVM) and, therefore, will not be carried out by any means that would constitute a public
  offering in Brazil under Law No. 6,385, of December 7, 1976, as amended, under CVM Rule No. 400, of December 29, 2003, as amended, or under
  CVM Rule No. 476, of January 16, 2009, as amended. Any representation to the contrary is untruthful and unlawful. As a consequence, our Class A
  common shares cannot be offered and sold in Brazil or to any investor resident or domiciled in Brazil. Documents relating to the offering of our Class A
  common shares, as well as information contained therein, may not be supplied to the public in Brazil, nor used in connection with any public offer for
  subscription or sale of shares to the public in Brazil.


     Canada
         The Class A common shares may be sold in Canada only to purchasers purchasing, or deemed to be purchasing, as principal that are accredited
  investors, as defined in National Instrument 45-106 Prospectus Exemptions or subsection 73.3(1) of the Securities Act (Ontario), and are permitted
  clients, as defined in National Instrument 31-103 Registration Requirements, Exemptions, and Ongoing Registrant Obligations. Any resale of the
  Class A common shares must be made in accordance with an exemption from, or in a transaction not subject to, the prospectus requirements of
  applicable securities laws.

        Securities legislation in certain provinces or territories of Canada may provide a purchaser with remedies for rescission or damages if this
  prospectus (including any amendment thereto) contains a misrepresentation, provided that the remedies for rescission or damages are exercised by the
  purchaser within the time limit

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  prescribed by the securities legislation of the purchaser’s province or territory. The purchaser should refer to any applicable provisions of the securities
  legislation of the purchaser’s province or territory for particulars of these rights or consult with a legal advisor.

        Pursuant to section 3A.3 of National Instrument 33-105 Underwriting Conflicts (NI 33-105), the underwriters are not required to comply with the
  disclosure requirements of NI 33-105 regarding underwriter conflicts of interest in connection with this offering.


     Cayman Islands
       This prospectus does not constitute a public offer of the Class A common shares, whether by way of sale or subscription, in the Cayman Islands.
  The Class A common shares have not been offered or sold, and will not be offered or sold, directly or indirectly, in the Cayman Islands.


     Chile
        The offer of the Class A common shares is subject to CMF Rule 336. The Class A common shares being offered will not be registered under the
  Chilean Securities Market Law in the Securities Registry (Registro de Valores) or in the Foreign Securities Registry (Registro de Valores Extranjeros) of
  the CMF and, therefore, the Class A common shares are not subject to the supervision of the CMF. As unregistered securities, we are not required to
  disclose public information about the Class A common shares in Chile. Accordingly, the Class A common shares cannot and will not be publicly offered
  to persons in Chile unless they are registered in the corresponding securities registry. The Class A common shares may only be offered in Chile in
  circumstances that do not constitute a public offering under Chilean law or in compliance with CMF Rule 336. Pursuant to CMF Rule 336, the Class A
  common shares may be privately offered in Chile to certain “qualified investors” identified as such therein (which in turn are further described in Rule
  No. 216, dated June 12, 2008 and in Rule No. 410, dated July 27, 2016, both issued by the CMF).

       LA OFERTA DE LAS ACCIONES COMUNES CLASE A SE ACOGE A LA NORMA DE CARÁCTER GENERAL N°336 DE LA CMF. LAS
  ACCIONES COMUNES CLASE A QUE SE OFRECEN NO ESTÁN INSCRITOS BAJO LA LEY DE MERCADO DE VALORES EN EL
  REGISTRO DE VALORES O EN EL REGISTRO DE VALORES EXTRANJEROS QUE LLEVA LA CMF, POR LO QUE TALES VALORES NO
  ESTÁN SUJETOS A LA FISCALIZACIÓN DE ÉSTA. POR TRATARSE DE VALORES NO INSCRITOS, NO EXISTE OBLIGACIÓN POR
  PARTE DEL EMISOR DE ENTREGAR EN CHILE INFORMACIÓN PÚBLICA RESPECTO DE ESTOS VALORES. LAS ACCIONES
  COMUNES CLASE A NO PODRÁN SER OBJETO DE OFERTA PÚBLICA EN CHILE MIENTRAS NO SEAN INSCRITOS EN EL REGISTRO
  DE VALORES CORRESPONDIENTE. LAS ACCIONES COMUNES CLASE A SOLO PODRÁN SER OFRECIDOS EN CHILE EN
  CIRCUNSTANCIAS QUE NO CONSTITUYAN UNA OFERTA PÚBLICA O CUMPLIENDO CON LO DISPUESTO EN LA NORMA DE
  CARÁCTER GENERAL N°336 DE LA CMF. EN CONFORMIDAD CON LO DISPUESTO POR LA NORMA DE CARÁCTER GENERAL N°336,
  LAS ACCIONES COMUNES CLASE A PODRÁN SER OFRECIDOS PRIVADAMENTE A CIERTOS “INVERSIONISTAS CALIFICADOS,”
  IDENTIFICADOS COMO TAL EN DICHA NORMA (Y QUE A SU VEZ ESTÁN DESCRITOS EN LA NORMA DE CARÁCTER GENERAL
  N°216 DE LA CMF DE FECHA 12 DE JUNIO DE 2008 Y EN LA NORMA DE CARÁCTER GENERAL N°410 DE LA CMF DE FECHA 27 DE
  JULIO DE 2016).


     China
         The Class A common shares may not be offered or sold directly or indirectly to the public in the People’s Republic of China (China) and neither
  this prospectus, which has not been submitted to the Chinese Securities and Regulatory Commission, nor any offering material or information contained
  herein relating to the Class A common shares may be supplied to the public in China or used in connection with any offer for the subscription or sale of
  Class A common shares to the public in China. The Class A common shares may only be offered or

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  sold to China-related organizations which are authorized to engage in foreign exchange business and offshore investment from outside of China. Such
  China-related investors may be subject to foreign exchange control approval and filing requirements under the relevant Chinese foreign exchange
  regulations. For the purpose of this paragraph, China does not include Taiwan and the special administrative regions of Hong Kong and Macau.


     Colombia
        The Class A common shares have not been and will not be registered on the Colombian National Registry of Securities and Issuers or in the
  Colombian Stock Exchange. Therefore, the Class A common shares may not be publicly offered in Colombia. This material is for your sole and
  exclusive use as a determined entity, including any of your shareholders, administrators or employees, as applicable. You acknowledge the Colombian
  laws and regulations (specifically foreign exchange and tax regulations) applicable to any transaction or investment consummated pursuant hereto and
  represent that you are the sole liable party for full compliance with any such laws and regulations.


     Hong Kong
        The Class A common shares may not be offered or sold in Hong Kong by means of any document other than (1) in circumstances which do not
  constitute an offer to the public within the meaning of the Companies (Winding Up and Miscellaneous Provisions) Ordinance (Cap. 32 of the Laws of
  Hong Kong) (“Companies (Winding Up and Miscellaneous Provisions) Ordinance”) or which do not constitute an invitation to the public within the
  meaning of the Securities and Futures Ordinance (Cap. 571 of the Laws of Hong Kong) (“Securities and Futures Ordinance”), or (2) to “professional
  investors” as defined in the Securities and Futures Ordinance and any rules made thereunder, or (3) in other circumstances which do not result in the
  document being a “prospectus” as defined in the Companies (Winding Up and Miscellaneous Provisions) Ordinance, and no advertisement, invitation or
  document relating to the Class A common shares may be issued or may be in the possession of any person for the purpose of issue (in each case whether
  in Hong Kong or elsewhere), which is directed at, or the contents of which are likely to be accessed or read by, the public in Hong Kong (except if
  permitted to do so under the securities laws of Hong Kong) other than with respect to Class A common shares which are or are intended to be disposed
  of only to persons outside Hong Kong or only to “professional investors” in Hong Kong as defined in the Securities and Futures Ordinance and any
  rules made thereunder.


     Israel
         This document does not constitute a prospectus under the Israeli Securities Law, 5728-1968, or the Securities Law, and has not been filed with or
  approved by the Israel Securities Authority. In Israel, this prospectus is being distributed only to, and is directed only at, and any offer of the Class A
  common shares is directed only at, (1) a limited number of persons in accordance with the Israeli Securities Law; and (2) investors listed in the first
  addendum, or the Addendum, to the Israeli Securities Law, consisting primarily of joint investment in trust funds, provident funds, insurance companies,
  banks, portfolio managers, investment advisors, members of the Tel Aviv Stock Exchange, underwriters, venture capital funds, entities with equity in
  excess of NIS 50 million and “qualified individuals,” each as defined in the Addendum (as it may be amended from time to time), collectively referred
  to as qualified investors (in each case, purchasing for their own account or, where permitted under the Addendum, for the accounts of their clients who
  are investors listed in the Addendum). Qualified investors are required to submit written confirmation that they fall within the scope of the Addendum,
  are aware of its meaning and agree to it.


     Japan
        The securities have not been and will not be registered under the Financial Instruments and Exchange Act of Japan (Act No. 25 of 1948, as
  amended), or the FIEA. The securities may not be offered or sold, directly or indirectly, in Japan or to or for the benefit of any resident of Japan
  (including any person resident in Japan or any corporation or other entity organized under the laws of Japan) or to others for reoffering or resale, directly
  or

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  indirectly, in Japan or to or for the benefit of any resident of Japan, except pursuant to an exemption from the registration requirements of the FIEA and
  otherwise in compliance with any relevant laws and regulations of Japan.


     Kuwait
         The Class A common shares have not been authorized or licensed for offering, marketing or sale in the State of Kuwait. The distribution of this
  prospectus and the offering and sale of the Class A common shares in the State of Kuwait is restricted by law unless a license is obtained from the
  Kuwait Ministry of Commerce and Industry in accordance with Law 31 of 1990. Persons into whose possession this prospectus comes are required by
  us and the international underwriters to inform themselves about and to observe such restrictions. Investors in the State of Kuwait who approach us or
  any of the international underwriters to obtain copies of this prospectus are required by us and the international underwriters to keep such prospectus
  confidential and not to make copies thereof or distribute the same to any other person and are also required to observe the restrictions provided for in all
  jurisdictions with respect to offering, marketing and the sale of the Class A common shares.


     Mexico
        The Class A common shares have not been registered in Mexico with the Securities Section (Sección de Valores) of the National Securities
  Registry (Registro Nacional de Valores) maintained by the Comisión Nacional Bancaria y de Valores, and that no action has been or will be taken that
  would permit the offer or sale of the Class A common shares in Mexico absent an available exemption under Article 8 of the Mexican Securities Market
  Law (Ley del Mercado de Valores).


     Peru
         The Class A common shares and this prospectus have not been registered in Peru under the Decreto Supremo Nº 093-2002-EF: Texto Único
  Ordenado de la Ley del Mercado de Valores (the “Peruvian Securities Law”) or before the Superintendencia del Mercado de Valores and cannot be
  offered or sold in Peru except in a private offering under the meaning of the Peruvian Securities Laws. The Peruvian Securities Law provides that an
  offering directed exclusively to “institutional investors” (as defined in the Institutional Investors Market Regulations) qualifies as a private offering. The
  Class A common shares acquired by institutional investors in Peru cannot be transferred to a third party, unless such transfer is made to another
  institutional investor or the Class A common shares have been previously registered with the Registro Público del Mercado de Valores.


     Qatar
        The Class A common shares described in this prospectus have not been, and will not be, offered, sold or delivered, at any time, directly or
  indirectly in the State of Qatar in a manner that would constitute a public offering. This prospectus has not been, and will not be, registered with or
  approved by the Qatar Financial Markets Authority or Qatar Central Bank and may not be publicly distributed. This prospectus is intended for the
  original recipient only and must not be provided to any other person. It is not for general circulation in the State of Qatar and may not be reproduced or
  used for any other purpose.


     Saudi Arabia
         Any investor in the Kingdom of Saudi Arabia or who is a Saudi person (a Saudi Investor) who acquires the Class A common shares pursuant to
  this offering should note that the offer of the Class A common shares is an exempt offer under sub-paragraph (3) of paragraph (a) of Article 16 of the
  “Offer of Securities Regulations” as issued by the Board of the Capital Market Authority resolution number 2-11-2004 dated October 4, 2004 and
  amended by the resolution of the Board of Capital Market Authority resolution number 1-33-2004 dated December 21, 2004 (the KSA Regulations).
  The Class A common shares may be offered to no more than 60 Saudi Investors and the minimum amount payable per Saudi Investor must not be less
  than Saudi Riyal (SR) 1 million or an equivalent amount. The offer of Class A common shares is therefore exempt from the public offer

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  provisions of the KSA Regulations, but is subject to the following restrictions on secondary market activity: (a) A Saudi Investor (the transferor) who
  has acquired Class A common shares pursuant to this exempt offer may not offer or sell Class A common shares to any person (referred to as a
  transferee) unless the price to be paid by the transferee for such Class A common shares equals or exceeds SR1 million; (b) if the provisions of
  paragraph (a) cannot be fulfilled because the price of the Class A common shares being offered or sold to the transferee has declined since the date of the
  original exempt offer, the transferor may offer or sell the Class A common shares to the transferee if their purchase price during the period of the original
  exempt offer was equal to or exceeded SR1 million; and (c) if the provisions of paragraphs (a) and (b) cannot be fulfilled, the transferor may offer or sell
  the Class A common shares if he/she sells his entire holding of the Class A common shares to one transferee.


     United Arab Emirates
        The Class A common shares have not been, and are not being, publicly offered, sold, promoted or advertised in the United Arab Emirates
  (including the Dubai International Financial Centre) other than in compliance with the laws of the United Arab Emirates (and the Dubai International
  Financial Centre) governing the issue, offering and sale of securities. Furthermore, this prospectus does not constitute a public offer of securities in the
  United Arab Emirates (including the Dubai International Financial Centre) and is not intended to be a public offer. This prospectus has not been
  approved by or filed with the Central Bank of the United Arab Emirates, the Securities and Commodities Authority of the United Arab Emirates or the
  Dubai Financial Services Authority.


     Singapore
         This prospectus has not been and will not be registered as a prospectus with the Monetary Authority of Singapore under the Securities and Futures
  Act, Chapter 289 of Singapore (the “SFA”). Accordingly, each underwriter has not offered or sold any Class A common shares or caused such Class A
  common shares to be made the subject of an invitation for subscription or purchase and will not offer or sell such Class A common shares or cause such
  Class A common shares to be made the subject of an invitation for subscription or purchase, and has not circulated or distributed, nor will it circulate or
  distribute, this prospectus or any other document or material in connection with the offer or sale, or invitation for subscription or purchase, of such
  Class A common shares, whether directly or indirectly, to persons in Singapore other than (1) to an institutional investor under Section 274 of the SFA;
  (2) to a relevant person pursuant to Section 275(1), or any person pursuant to Section 275(1A), and in accordance with the conditions specified in
  Section 275, of the SFA; or (3) otherwise pursuant to, and in accordance with the conditions of, any other applicable provision of the SFA.

         Where the Class A common shares are subscribed or purchased under Section 275 of the SFA by a relevant person which is: (a) a corporation
  (which is not an accredited investor (as defined in Section 4A of the SFA)) the sole business of which is to hold investments and the entire share capital
  of which is owned by one or more individuals, each of whom is an accredited investor; or (b) a trust (where the trustee is not an accredited investor)
  whose sole purpose is to hold investments and each beneficiary of the trust is an individual who is an accredited investor, securities (as defined in
  Section 239(1) of the SFA) of that corporation or the beneficiaries’ rights and interest (howsoever described) in that trust shall not be transferred within
  six months after that corporation or that trust has acquired the Class A common shares pursuant to an offer made under Section 275 of the SFA, except:
  (1) to an institutional investor under Section 274 of the SFA or to a relevant person (as defined in Section 275(2) of the SFA), or to any person arising
  from an offer referred to in Section 275(1A), or Section 276(4)(i)(B) of the SFA; (2) where no consideration is or will be given for the transfer;
  (3) where the transfer is by operation of law; (4) as specified in Section 276(7) of the SFA; or (5) as specified in Regulation 32 of the Securities and
  Futures (Offers of Investments) (Shares and Debentures) Regulations 2005 of Singapore.

        Singapore Securities and Futures Act Product Classification – Solely for the purposes of its obligations pursuant to sections 309B(1)(a) and
  309B(1)(c) of the Securities and Futures Act (Chapter 289 of Singapore) (the “SFA”), we have determined, and hereby notify all relevant persons (as
  defined in Section 309A of the SFA) that the Class A common shares are “prescribed capital markets products” (as defined in the Securities and Futures

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  (Capital Markets Products) Regulations 2018) and Excluded Investment Products (as defined in MAS Notice SFA 04-N12: Notice on the Sale of
  Investment Products and MAS Notice FAA-N16: Notice on Recommendations on Investment Products).


     South Korea
        The Class A common shares have not been and will not be registered with the Financial Services Commission of Korea for public offering in
  Korea under the Financial Investment Services and Capital Markets Act, or the FSCMA. The Class A common shares may not be offered, sold or
  delivered, or offered or sold for re-offering or resale, directly or indirectly, in Korea or to any Korean resident (as such term is defined in the Foreign
  Exchange Transaction Law of Korea, or FETL) other than the Accredited Investors (as such term is defined in Article 11 of the Presidential Decree of
  the FSCMA), for a period of one year from the date of issuance of the Class A common shares except pursuant to the applicable laws and regulations of
  Korea, including the FSCMA and the FETL and the decrees and regulations thereunder. The Class A common shares may not be resold to Korean
  residents unless the purchaser of the Class A common shares complies with all applicable regulatory requirements (including but not limited to
  government reporting requirements under the FETL and its subordinate decrees and regulations) in connection with the purchase of the Class A common
  shares.


     Switzerland
        The Class A common shares may not be publicly offered in Switzerland and will not be listed on the SIX Swiss Exchange (“SIX”) or on any other
  stock exchange or regulated trading facility in Switzerland. This prospectus has been prepared without regard to the disclosure standards for issuance
  prospectuses under art. 652a or art. 1156 of the Swiss Code of Obligations or the disclosure standards for listing prospectuses under art. 27 ff. of the SIX
  Listing Rules or the listing rules of any other stock exchange or regulated trading facility in Switzerland. Neither this prospectus nor any other offering
  or marketing material relating to the Class A common shares or this offering may be publicly distributed or otherwise made publicly available in
  Switzerland.

        Neither this prospectus nor any other offering or marketing material relating to this offering, the Company, the Class A common shares have been
  or will be filed with or approved by any Swiss regulatory authority. In particular, this document will not be filed with, and the offer of Class A common
  shares will not be supervised by, the Swiss Financial Market Supervisory Authority (“FINMA”), and the offer of Class A common shares has not been
  and will not be authorized under the Swiss Federal Act on Collective Investment Schemes (“CISA”). The investor protection afforded to acquirers of
  interests in collective investment schemes under the CISA does not extend to acquirers of Class A common shares.


  Data Protection – Privacy Notice
     Scope
        The legal basis for this notification is to meet the standards required in respect of, and ensure compliance with, the requirements of the Cayman
  Islands’ Data Protection Law, 2017 or the “DPL,” which came into effect in the Cayman Islands on September 30, 2019. This privacy notice puts
  investors in the Company on notice that through your investment into XP you may provide us with certain personal information which constitutes
  personal data within the meaning of the DPL (“personal data”). The Company collects, uses, discloses, retains and secures personal data to the extent
  reasonably required only and within the parameters that could be reasonably expected during the normal course of business. The Company will only
  process, disclose, transfer or retain personal data to the extent legitimately required to conduct the activities of the Company on an ongoing basis or to
  comply with legal and regulatory obligations to which the Company is subject. The Company will only transfer personal data relating to holders of our
  Class A common shares in accordance with the requirements of the DPL, and will apply appropriate technical and organizational information security
  measures designed to

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  protect against unauthorized or unlawful processing of the personal data and against the accidental loss, destruction or damage to the personal data. In
  our use of this personal data, we will be characterized as a “data controller” for the purposes of the DPL, while our affiliates and service providers who
  may receive this personal data from us in the conduct of our activities may either act as our “data processors” for the purposes of the DPL or may
  process personal information for their own lawful purposes in connection with services provided to the Company.

         If you are a natural person, this will affect you directly. If you are a corporate investor (including, for these purposes, legal arrangements such as
  trusts or exempted limited partnerships) that provides us with personal data on individuals connected to you for any reason in relation to your investment
  into the Company, this will be relevant for those individuals and you should inform such individuals of the content.


     What rights do individuals have in respect of personal data?
      Under the DPL, individuals must be informed of the purposes for which their personal data is processed and this privacy notice fulfils the
  Company’s obligation in this respect.

         Individuals have rights under the DPL in certain circumstances. These may include the right to request access to their personal data, the right to
  request rectification or correction of personal data, the right to request that processing of personal data be stopped or restricted and the right to require
  that the Company cease processing personal data for direct marketing purposes.

        If you consider that your personal data has not been handled correctly, or you are not satisfied with the Company’s responses to any requests you
  have made regarding the use of your personal data, you have the right to complain to the Cayman Islands’ Ombudsman. The Ombudsman can be
  contacted by calling: +1 (345) 946-6283 or by email at info@ombudsman.ky.


     Contacting the Company
        For further information on the collection, use, disclosure, transfer or processing of your personal data or the exercise of any of the rights listed
  above, please contact us through the address and telephone number of our principal executive office. Our principal website is www.xpinc.com. The
  information contained in, or accessible through, our website is not incorporated into this prospectus or the registration statement of which it forms a part.

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                                                           EXPENSES OF THE OFFERING

        We estimate that our expenses in connection with this offering, other than underwriting discounts and commissions, will be as follows:

                    Expenses                                                                                                Amount
                    U.S. Securities and Exchange Commission registration fee                                            US$ 270,592
                    Nasdaq listing fee                                                                                       295,000
                    FINRA filing fee                                                                                         225,500
                    Printing and engraving expenses                                                                          300,000
                    Legal fees and expenses                                                                                2,000,000
                    Accounting fees and expenses                                                                           1,700,000
                    Advisory services(1)                                                                                   3,000,000
                    Miscellaneous costs                                                                                    1,808,908
                         Total                                                                                          US$9,600,000

  (1)   We have retained Proton Partners LLC to provide certain advisory services in connection with this offering.

         All amounts in the table are estimates except the U.S. Securities and Exchange Commission registration fee, the Nasdaq listing fee and the FINRA
  filing fee. The Company will pay all of the expenses of this offering listed above.

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                                                                    LEGAL MATTERS

        Certain matters of U.S. federal and New York State law will be passed upon for us by Davis Polk & Wardwell LLP, and for the underwriters by
  Skadden, Arps, Slate, Meagher & Flom LLP. The validity of the Class A common shares offered in this offering and other legal matters as to Cayman
  Islands law will be passed upon for us by Maples and Calder. Certain other matters of Brazil law will be passed upon for us by Barbosa Müssnich &
  Aragão Advogados and for the underwriters by Lefosse Advogados.


                                                                          EXPERTS

         The financial statements of XP Brazil as of December 31, 2018 and 2017, and for each of the three years in the period ended December 31, 2018,
  included in this prospectus have been so included in reliance on the report (which contains an explanatory paragraph relating to the Company’s
  restatement of its financial statements as described in Note 3.xx to the financial statements) of PricewaterhouseCoopers Auditores Independentes, an
  independent registered public accounting firm, given on the authority of said firm as experts in auditing and accounting.


                                             CHANGE IN REGISTRANT’S CERTIFYING ACCOUNTANT

        On April 17, 2019, the audit committee of XP Brazil approved the engagement of PricewaterhouseCoopers Auditores Independentes as XP’s
  independent registered public accounting firm for XP Brazil’s fiscal years ending on December 31, 2018 and 2017. KPMG was dismissed upon
  completion of its audit of our consolidated financial statements as of and for the two years ended December 31, 2018 and the issuance of its report
  thereon dated as of March 26, 2019. The appointment of PricewaterhouseCoopers Auditores Independentes, as independent registered public accounting
  firm, was the result of a tender process completed in 2019 led by the audit committee of XP Brazil.

         As of and for the three years ended December 31, 2018, KPMG Auditores Independentes performed the audit of our consolidated financial
  statements prepared under the accounting practices adopted in Brazil and based on the pronouncements, orientations and interpretations as issued by the
  Committee of Brazilian Accounting Practices (Comitê de Políticas Contábeis (CPC)) and issued reports in accordance with International Standards on
  Auditing (ISA) and Brazilian Auditing Standards (BR GAAS). During the three years ended December 31, 2018, and the subsequent interim period
  through March 26, 2019, in connection with these audits conducted in accordance with BR GAAS and ISA, (1) KPMG Auditores Independentes had not
  issued any reports on our financial statements that contained an adverse opinion or a disclaimer of opinion, nor were the auditors’ reports of KPMG
  Auditores Independentes qualified or modified as to uncertainty, audit scope or accounting principles; and (2) there has not been any disagreement over
  any matter of accounting principles or practices, financial statement disclosure or auditing scope or procedures, which disagreements if not resolved to
  the satisfaction of KPMG Auditores Independentes would have caused it to make reference to the subject matter of the disagreement in connection with
  its auditors’ reports, or any “reportable event” as described in Item 4(d) of Form F-1.

         Furthermore, for the years ending on December 31, 2018 and 2017 and the subsequent interim period through April 17, 2019, we had not
  consulted with PricewaterhouseCoopers Auditores Independentes regarding either (1) the application of accounting principles to a specified transaction,
  either completed or proposed, or the type of audit opinion that might be rendered with respect to our consolidated financial statements, and neither a
  written report was provided to XP Brazil or oral advice was provided that PricewaterhouseCoopers Auditores Independentes concluded was an
  important factor considered by XP Brazil in reaching a decision as to the accounting, auditing or financial reporting issue; or (2) any matter that was the
  subject of a disagreement or a reportable event.

        XP Brazil has requested that KPMG Auditores Independentes, or KPMG, furnish it with a letter addressed to the SEC stating whether or not it
  agrees with the above statements. A copy of such letter, dated November 15, 2019, is filed as exhibit 16 to this registration statement on Form F-1.

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                                                       ENFORCEABILITY OF CIVIL LIABILITIES

         We are registered under the laws of the Cayman Islands as an exempted company with limited liability. We are registered in the Cayman Islands
  because of certain benefits associated with being a Cayman Islands company, such as political and economic stability, an effective judicial system, a
  favorable tax system, the absence of foreign exchange control or currency restrictions and the availability of professional and support services. However,
  the Cayman Islands have a less developed body of securities laws as compared to the United States and provide protections for investors to a
  significantly lesser extent. In addition, Cayman Islands companies may not have standing to sue before the federal courts of the United States. Maples
  and Calder, our counsel as to Cayman Islands law, and Barbosa Müssnich & Aragão Advogados, our counsel as to Brazilian law, have advised us that
  there is uncertainty as to whether the courts of the Cayman Islands or Brazil would, respectively, (1) recognize or enforce judgments of United States
  courts obtained against us or our directors or officers predicated upon the civil liability provisions of the securities laws of the United States or any state
  in the United States; or (2) entertain original actions brought in the Cayman Islands or Brazil against us or our directors or officers predicated upon the
  securities laws of the United States or any state in the United States.

        Our Cayman Islands counsel has informed us that the uncertainty with regard to Cayman Islands law relates to whether a judgment obtained from
  the United States courts under civil liability provisions of the securities laws will be determined by the courts of the Cayman Islands as penal or punitive
  in nature. If such a determination is made, the courts of the Cayman Islands will not recognize or enforce the judgment against a Cayman Islands’
  company. Because the courts of the Cayman Islands have yet to rule on whether such judgments are penal or punitive in nature, it is uncertain whether
  they would be enforceable in the Cayman Islands.

        Our Cayman Islands counsel has further advised us that a final and conclusive judgment in the federal or state courts of the United States under
  which a sum of money is payable, other than a sum payable in respect of taxes, fines, penalties or similar charges, may be subject to enforcement
  proceedings as a debt in the courts of the Cayman Islands under the common law doctrine of obligation.

         Substantially all of our assets are located outside the United States, in Brazil. In addition, a majority of the members of our board of directors and
  all of our officers are nationals or residents of Brazil and all or a substantial portion of their assets are located outside the United States. As a result, it
  may be difficult for investors to effect service of process within the United States upon us or these persons, or to enforce against us or them judgments
  obtained in United States courts, including judgments predicated upon the civil liability provisions of the securities laws of the United States or any state
  in the United States.

        We have appointed XP Investments US, LLC, with offices at 55 West 46th Street, 30 Floor, New York, NY 10036, as our agent to receive service
  of process with respect to any action brought against us in the United States under the federal securities laws of the United States or of any state in the
  United States arising out of this offering.

        A judgment of a United States court for civil liabilities predicated upon the federal securities laws of the United States may be enforced in Brazil,
  subject to certain requirements described below. Such counsel has advised that a judgment against us, the members of our board of directors or our
  executive officers obtained in the United States would be enforceable in Brazil without retrial or re-examination of the merits of the original action
  including, without limitation, any final judgment for payment of a certain amount rendered by any such court, provided that such judgment has been
  previously recognized by the Brazilian Superior Tribunal of Justice (Superior Tribunal de Justiça), or STJ. That recognition will only be available,
  pursuant to Articles 963 and 964 of the Brazilian Code of Civil Procedure (Código de Processo Civil, Law No. 13,105, dated March 16, 2015, as
  amended), if the U.S. judgment:
         •      complies with all formalities necessary for its enforcement;

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         •      is issued by a court of competent jurisdiction after proper service of process is made or after sufficient evidence of our absence has been
                given, as requested under the laws of the United States;
         •      is not rendered in an action upon which Brazilian courts have exclusive jurisdiction, pursuant to the provisions of art. 23 of the Brazilian
                Code of Civil Procedure (Law No. 13,105/2015, as amended);
         •      is final and, therefore, not subject to appeal (res judicata) in the United States;
         •      creates no conflict between the United States judgment and a previous final and binding (res judicata) judgment on the same matter and
                involving the same parties issued in Brazil;
         •      is duly apostilled by a competent authority of the United States, according to the Hague Convention Abolishing the Requirement of
                Legalization for Foreign Public Documents dated as of October 5, 1961 authentication, or the Hague Convention. If such decision
                emanates from a country that is not a signatory of the Hague Convention, it must be duly authenticated by a Brazilian Diplomatic Office or
                Consulate;
         •      is accompanied by a translation into Portuguese made by a certified translator in Brazil, unless an exemption is provided by an
                international treaty to which Brazil is a signatory; and
         •      is not contrary to Brazilian national sovereignty or public policy and does not violate the dignity of the human person, as set forth in
                Brazilian law.

       The judicial recognition process may be time-consuming and may also give rise to difficulties in enforcing such foreign judgment in Brazil.
  Accordingly, we cannot assure you that judicial recognition of a foreign judgment would be successful, that the judicial recognition process would be
  conducted in a timely manner or that a Brazilian court would enforce a judgment of countries other than Brazil.

        We believe original actions may be brought in connection with this initial public offering predicated on the federal securities laws of the United
  States in Brazilian courts and that, subject to applicable law, Brazilian courts may enforce liabilities in such actions against us or the members of our
  board of directors or our executive officers and certain advisors named herein.

        In addition, a plaintiff, whether Brazilian or non-Brazilian, who resides outside Brazil or is outside Brazil during the course of litigation in Brazil
  and who does not own real property in Brazil must post a bond to guarantee the payment of the defendant’s legal fees and court expenses in connection
  with court procedures for the collection of money according to Article 83 of the Brazilian Code of Civil Procedure (Código de Processo Civil). This is
  so except in the case of: (1) claims for collection on a título executivo extrajudicial (an instrument which may be enforced in Brazilian courts without a
  review on the merits), or enforcement of foreign judgments that have been duly recognized by the Superior Court of Justice; (2) counterclaims as
  established; and (3) when an exemption is provided by an international agreement or treaty to which Brazil is a signatory.

        If proceedings are brought in Brazilian courts seeking to enforce our obligations with respect to our Class A common shares, payment shall be
  made in reais. Any judgment rendered in Brazilian courts in respect of any payment obligations with respect to our Class A common shares would be
  expressed in reais. See “Risk Factors—Certain Risks Relating to Our Class A Common Shares and the Offering—Judgments of Brazilian courts to
  enforce our obligations with respect to our Class A common shares may be payable only in reais.”

       We have also been advised that the ability of a judgment creditor to satisfy a judgment by attaching certain assets of the defendant in Brazil is
  governed and limited by provisions of Brazilian law.

        Notwithstanding the foregoing, we cannot assure you that confirmation of any judgment will be obtained, or that the process described above can
  be conducted in a timely manner.

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                                                   WHERE YOU CAN FIND MORE INFORMATION

         We have filed with the U.S. Securities and Exchange Commission a registration statement (including amendments and exhibits to the registration
  statement) on Form F-1 under the Securities Act. This prospectus, which is part of the registration statement, does not contain all of the information set
  forth in the registration statement and the exhibits and schedules to the registration statement. For further information, we refer you to the registration
  statement and the exhibits and schedules filed as part of the registration statement. If a document has been filed as an exhibit to the registration
  statement, we refer you to the copy of the document that has been filed. Each statement in this prospectus relating to a document filed as an exhibit is
  qualified in all respects by the filed exhibit.

        Upon completion of this offering we will be subject to the informational requirements of the Exchange Act that are applicable to foreign private
  issuers. Accordingly, we will be required to file reports and other information with the SEC, including annual reports on Form 20-F and reports on Form
  6-K. You may inspect and copy the reports and other information to be filed with the SEC at the public reference facilities maintained by the SEC at 100
  F Street, N.E., Washington D.C. 20549. Copies of the materials may be obtained from the Public Reference Room of the SEC at 100 F Street, N.E.,
  Washington, D.C. 20549 at prescribed rates. The public may obtain information on the operation of the SEC’s Public Reference Room by calling the
  SEC in the United States at 1-800-SEC-0330. In addition, the SEC maintains an Internet website at http://www.sec.report, from which you can
  electronically access the registration statement and its materials.

        As a foreign private issuer, we are exempt under the Exchange Act from, among other things, the rules prescribing the furnishing and content of
  proxy statements, and our executive officers, directors and principal and selling shareholders are exempt from the reporting and short-swing profit
  recovery provisions contained in Section 16 of the Exchange Act. In addition, we will not be required under the Exchange Act to file periodic reports
  and financial statements with the SEC as frequently or as promptly as U.S. companies whose securities are registered under the Exchange Act.

        We will send the transfer agent a copy of all notices of shareholders’ meetings and other reports, communications and information that are made
  generally available to shareholders. The transfer agent has agreed to mail to all shareholders a notice containing the information (or a summary of the
  information) contained in any notice of a meeting of our shareholders received by the transfer agent and will make available to all shareholders such
  notices and all such other reports and communications received by the transfer agent.

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                                            EXPLANATORY NOTE TO THE FINANCIAL STATEMENTS

         The Company, the registrant in this offering, was incorporated on August 29, 2019, to become the holding entity of XP Brazil in connection with
  this offering. Until the contribution of XP Brazil shares to it prior to the consummation of this offering, the Company will not have commenced
  operations and will have only nominal assets and liabilities and no material contingent liabilities or commitments. Accordingly, the financial statements
  of the Company have been omitted from this prospectus. The financial statements presented in this prospectus are those of XP Brazil, which, upon the
  contribution of XP Brazil shares to the Company prior to the consummation of this offering, will be the Company’s principal non-operating holding
  company and wholly-owned subsidiary.

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  As of September 30, 2019 and December 31, 2018
  In thousands of Brazilian Reais
                                                                                                                          Pro Forma
                                                                                                         September 30,   September 30,   December 31,
                                                                                                Note         2019            2019            2018
      Cash                                                                                                     70,483          70,483          68,407
      Financial assets                                                                                     37,632,376      37,632,376      16,582,616
            Fair value through profit or loss                                                              21,756,721      21,756,721       7,983,002
                 Securities                                                                     4(a)       16,157,611      16,157,611       6,290,971
                 Derivative financial instruments                                                5          5,599,110       5,599,110       1,692,031
            Fair value through other comprehensive income                                                     782,441         782,441         695,778
                 Securities                                                                     4(a)          782,441         782,441         695,778
            Evaluated at amortized cost                                                                    15,093,214      15,093,214       7,903,836
                 Securities                                                                     4(b)          555,520         555,520         155,292
                 Securities purchased under agreements to resell                                3(a)       13,452,984      13,452,984       6,570,609
                 Securities trading and intermediation                                           7            807,023         807,023         898,312
                 Accounts receivable                                                                          253,015         253,015         219,200
                 Other financial assets                                                                        24,672          24,672          60,423
      Other assets                                                                                            631,414         631,414         316,777
            Recoverable taxes                                                                                 267,212         267,212         183,350
            Prepaid expenses                                                                                   96,865          96,865          96,723
            Right-of-use assets                                                                2 (d.1)        221,381         221,381             —
            Other                                                                                              45,956          45,956          36,704
      Deferred tax assets                                                                      12(a)          181,053         181,053         152,425
      Property and equipment                                                                     8            120,152         120,152          99,127
      Intangible assets                                                                          8            520,841         520,841         504,915
  Total assets                                                                                             39,156,319      39,156,319      17,724,267

  The accompanying notes are an integral part of the unaudited interim condensed consolidated financial statements.

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  As of September 30, 2019 and December 31, 2018
  In thousands of Brazilian Reais
                                                                                                                          Pro Forma
                                                                                                         September 30,   September 30,   December 31,
                                                                                                Note         2019            2019            2018
      Financial liabilities                                                                                34,181,004     34,181,004      15,216,037
            Fair value through profit or loss                                                               5,666,784      5,666,784       2,250,978
                  Securities loaned                                                             4(c)          359,835         359,835      1,259,579
                  Derivative financial instruments                                               5          5,306,949      5, 306,949        991,399
            Evaluated at amortized cost                                                                    28,514,220     28,514,220      12,965,059
                  Securities sold under repurchase agreements                                   3(b)       19,618,056     19,618,056       6,640,694
                  Securities trading and intermediation                                           7         7,202,285      7,202,285       5,306,628
                  Borrowings and lease liabilities                                                9           646,140         646,140        469,609
                  Debentures                                                                     10           835,822         835,822        406,538
                  Accounts payables                                                                           206,300         206,300        134,579
                  Other financial liabilities                                                                   5,617           5,617          7,011
      Other liabilities                                                                                     2,166,238      2,666,238         404,493
            Social and statutory obligations                                                                  275,568         775,568        251,690
            Taxes and social security obligations                                                             144,713         144,713        103,121
            Private pension liabilities                                                            11       1,721,706      1,721,706          16,059
            Provisions and contingent liabilities                                                  15          15,704          15,704         17,474
            Other                                                                                               8,547           8,547         16,149
      Deferred tax liabilities                                                                  12(a)          27,206          27,206         12,025
  Total liabilities                                                                                        36,374,448     36,874,448      15,632,555
      Equity                                                                                     13         2,778,281      2,278,281       2,084,777
            Share capital                                                                                     927,916         927,916        927,916
            Capital reserves                                                                                  536,015         536,015        536,015
            Revenue reserves                                                                                  411,681         411,681        411,681
            Carrying value adjustments                                                                        210,658         210,658        209,165
            Retained earnings                                                                                 692,011         192,011            —
      Non-controlling interest                                                                                  3,590           3,590          6,935
  Total equity                                                                                              2,781,871      2,281,871       2,091,712
  Total liabilities and equity                                                                             39,156,319     39,156,319      17,724,267

  The accompanying notes are an integral part of the unaudited interim condensed consolidated financial statements.

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  XP Investimentos S.A. and its subsidiaries
  Unaudited interim condensed consolidated statements of income and of comprehensive income
  For the nine months periods ended September 30, 2019 and 2018
  In thousands of Brazilian Reais, except earnings per share
                                                                                                                           Nine months period ended
                                                                                                                                 September 30,
                                                                                                                  Note      2019               2018
  Net revenue from services rendered                                                                             16(a)      2,341,100       1,451,601
  Net income from financial instruments at amortized cost and at fair value through other comprehensive income   16(b)        204,023          97,613
  Net income from financial instruments at fair value through profit or loss                                     16(b)        891,390         524,084
  Total revenue and income                                                                                                  3,436,513       2,073,298
  Operating costs                                                                                                     17   (1,118,967)       (632,178)
  Selling expenses                                                                                                    18      (82,419)        (64,200)
  Administrative expenses                                                                                             18   (1,294,039)       (827,841)
  Other operating income (expenses), net                                                                              19      118,487         (19,197)
  Interest expense on debt                                                                                                    (62,631)        (59,732)
  Income before income tax                                                                                                    996,944         470,150
  Income tax expense                                                                                             12(b)       (297,646)       (118,268)
  Net income for the period                                                                                                   699,298         351,882
  Other comprehensive income
  Items that can be subsequently reclassified to income
      Foreign exchange variation of investees located abroad                                                                  12,126           23,577
      Gains (losses) on net investment hedge                                                                                 (11,829)         (22,432)
      Changes in the fair value of financial assets at fair value through other comprehensive income                             986               65
  Other comprehensive income (loss) for the period, net of tax                                                                 1,283            1,210
  Total comprehensive income for the period                                                                                  700,581          353,092
  Net income attributable to:
       Owners of the Parent company                                                                                          692,011          350,358
       Non-controlling interest                                                                                                7,287            1,524
  Total comprehensive income attributable to:
       Owners of the Parent company                                                                                          693,294          351,568
       Non-controlling interest                                                                                                7,287            1,524
       Basic and diluted earnings per common and preferred shares—R$                                                  20      0.3397           0.1796

  The accompanying notes are an integral part of the unaudited interim condensed consolidated financial statements.

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  XP Investimentos S.A. and its subsidiaries
  Unaudited interim condensed consolidated statements of changes in equity
  For the nine months periods ended September 30, 2019 and 2018
  In thousands of Brazilian Reais
                                                                                  Attributable to owners of the Parent company
                                                                                       Revenue reserves       Carrying                                Non-
                                                                Share     Capital     Legal     Statutory       value      Retained                controlling     Total
                                                        Note    capital   reserve    reserve     reserve     adjustments   earnings    Total         interest     equity
  Balances as of January 1, 2018                                254,622   535,490    36,692     113,549        203,446         —      1,143,799         7,923     1,151,722
  Comprehensive income for the period
       Net income for the period                                    —         —         —           —              —       350,358     350,358          1,524      351,882
       Other comprehensive income, net                              —         —         —           —            1,210         —         1,210            —          1,210
  Transactions with shareholders—contributions
    and distributions
       Capital contributions                            13(a)   673,294       —         —           —              —           —       673,294            —        673,294
       Corporate reorganization                                     —         525       —           —              —           —           525            —            525
       Gain (loss) in changes in interest of
         subsidiaries, net                                          —         —         —           —               90         —             90         (1,079)        (989)
       Dividends distributed                            13(c)       —         —         —           —              —      (200,000)    (200,000)        (3,018)    (203,018)
  Balances as of September 30, 2018                             927,916   536,015    36,692     113,549        204,746     150,358    1,969,276          5,350    1,974,626
  Balances as of January 1, 2019                                927,916   536,015    59,764     351,917        209,165         —      2,084,777          6,935    2,091,712
  Comprehensive income for the period
  Net income for the period                                         —         —         —           —              —       692,011     692,011          7,287      699,298
  Other comprehensive income, net                                   —         —         —           —            1,283         —         1,283            —          1,283
  Transactions with shareholders—contributions
    and distributions
  Gain (loss) in changes in interest of subsidiaries,
    net                                                             —         —         —           —              210         —            210         (1,439)      (1,229)
  Dividends distributed                                             —         —         —           —              —           —            —           (9,193)      (9,193)
  Balances as of September 30, 2019                             927,916   536,015    59,764     351,917        210,658     692,011    2,778,281          3,590    2,781,871


  The accompanying notes are an integral part of the unaudited interim condensed consolidated financial statements.

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  XP Investimentos S.A. and its subsidiaries
  Unaudited interim condensed consolidated statements of cash flows
  For the nine months periods ended September 30, 2019 and 2018
  In thousands of Brazilian Reais
                                                                                                                                   Nine months period
                                                                                                                                  ended September 30,
                                                                                                                      Note        2019           2018
  Operating activities
       Income before income tax                                                                                                    996,944        470,150
       Adjustments to reconcile income before income taxes
            Depreciation of property and equipment and right-of-use assets                                        8 /2 (d.1)        38,409         12,198
            Amortization of intangible assets                                                                         8             23,992         23,835
            Loss on write-off of property, equipment and intangible assets                                            8              7,606          7,729
            Expected credit losses on accounts receivable and other financial assets                                                 6,318          2,548
            (Reversal of) Provision for contingencies, net                                                              15          (2,207)         2,421
            Net foreign exchange differences                                                                                           571        151,174
            Interest accrued                                                                                                        64,099         49,828
  Changes in assets and liabilities
       Securities (assets and liabilities)                                                                                      (11,018,501)   (1,284,553)
       Derivative financial instruments (assets and liabilities)                                                                    390,880      (172,496)
       Securities trading and intermediation (assets and liabilities)                                                             1,986,946     1,398,140
       Securities purchased (sold) under resale (repurchase) agreements                                                           6,094,987      (284,872)
       Accounts receivable                                                                                                          (34,217)      (25,894)
       Prepaid expenses                                                                                                                (142)      (21,130)
       Other assets                                                                                                                  20,583       (44,503)
       Accounts payable                                                                                                              72,928        42,382
       Social and statutory obligations                                                                                              23,878       (42,640)
       Tax and social security obligations                                                                                            6,930        (2,097)
       Private pension liabilities                                                                                                1,705,647           —
       Other liabilities                                                                                                              5,628        10,267
  Cash from operations                                                                                                              391,279       292,487
       Income tax paid                                                                                                             (355,410)     (162,474)
       Contingencies paid                                                                                               15           (1,062)       (1,036)
       Interest paid                                                                                                                (16,386)      (44,906)
  Net cash flows from operating activities                                                                                           18,421        84,071
  Investing activities
       Acquisition of property and equipment                                                                            8           (43,749)      (56,250)
       Acquisition of intangible assets                                                                                 8           (39,974)      (45,854)
       Acquisition of subsidiaries, net of cash acquired                                                                                —         (10,413)
  Net cash flows used in investing activities                                                                                       (83,723)     (112,517)
  Financing activities
       Proceeds from borrowings                                                                                         24             —          325,370
       Payments of borrowings                                                                                           24         (74,853)      (842,338)
       Proceeds from issuance of debentures                                                                             24         400,000            —
       Payments of lease liabilities                                                                                  2 (d.1)      (26,194)           —
       Dividends paid to owners of the parent                                                                                          —         (325,000)
       Proceeds from capital contributions                                                                              13             —          673,294
       Transactions with non-controlling interests                                                                                  (1,229)          (464)
       Dividends paid to non-controlling interests                                                                                  (9,193)        (3,018)
  Net cash flows from (used in) financing activities                                                                               288,531       (172,156)
  Net increase in cash and cash equivalents                                                                                        223,230       (200,601)
       Cash and cash equivalents at the beginning of the period                                                                    626,863        835,493
       Effects of exchange rate changes on cash and cash equivalents                                                                (4,116)       (21,284)
  Cash and cash equivalents at the end of the period                                                                               845,977        613,608
       Cash                                                                                                                         70,483        120,397
       Securities purchased under agreements to resell                                                                             684,964        324,995
       Interbank certificate deposits                                                                                               90,530        168,216

  The accompanying notes are an integral part of the unaudited interim condensed consolidated financial statements.

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  XP Investimentos S.A. and its subsidiaries
  Notes to unaudited interim condensed consolidated financial statements
  As of September 30, 2019
  In thousands of Brazilian Reais, unless otherwise stated

  1. Operations
  XP Investimentos S.A. ( “XP Investimentos” or the “Company”) is a private company, organized and existing under the Laws of Brazil. The registered
  office is located at Avenida Afrânio de Melo, 290, room 606 (part), Leblon, in the city of Rio de Janeiro, Brazil. The Company’s principal executive
  office is located in the city of São Paulo, Brazil.

  XP Investimentos is a holding company controlled by XP Controle Participações S.A., which holds 60.12% (2017—55.57%) of common shares and
  who is ultimately controlled by the co-founder individuals.

  XP Investimentos and its subsidiaries (collectively, the “Group” or “XP Inc”) are principally engaged in providing its customers, represented by
  individuals and legal entities in Brazil and abroad, various financial products and services, mainly acting as broker-dealer, including securities
  brokerage, banking, private pension plans and financial advisory services, by means of its network of Independent Financial Advisers (“IFAs”).

  These unaudited interim condensed consolidated financial statements for the nine months period ended September 30, 2019 were approved by the Board
  of Director’s meeting on November 4, 2019.


  2. Basis of preparation of the financial statements and changes to the Group’s accounting policies
  a) Basis of preparation of the unaudited interim condensed consolidated financial statements
  The unaudited interim condensed consolidated financial statements as of September 30, 2019 and for the nine months periods ended September 30, 2019
  and 2018 have been prepared in accordance with IAS 34 Interim Financial Reporting as issued by the International Accounting Standards Board
  (“IASB”).

  The unaudited pro forma condensed consolidated balance sheet as of September 30, 2019 has been prepared to give effect to the dividend distributions
  to the Company’s shareholders in the total amount of R$500,000 out of which R$60,000 was declared and distributed on October 16, 2019 and R$
  440,000 declared on November 1, 2019 which will be distributed within the legal deadline. The unaudited pro forma condensed consolidated balance
  sheet does not reflect any proceeds of the Group’s initial public offering.

  The unaudited interim condensed consolidated financial statements have been prepared on a historical cost basis, except for financial instruments that
  have been measured at fair value.

  The unaudited interim condensed consolidated financial statements do not include all the information and disclosures required in the annual financial
  statements and should be read in conjunction with the Group’s annual consolidated financial statements as of December 31, 2018.

  The accounting policies adopted are consistent with those of the previous financial year and corresponding interim reporting period, except for the
  adoption of new standards as set out below.

  The unaudited interim condensed consolidated financial statements are presented in Brazilian reais (“R$”), and all amounts disclosed in the financial
  statements and notes have been rounded off to the nearest thousand currency units unless otherwise stated.

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  XP Investimentos S.A. and its subsidiaries
  Notes to unaudited interim condensed consolidated financial statements
  As of September 30, 2019
  In thousands of Brazilian Reais, unless otherwise stated

  b) Basis of consolidation
  There were no changes since December 31, 2018 in the accounting practices adopted for consolidation and in the direct and indirect interests of
  Company in its subsidiaries for the purposes of these unaudited interim condensed consolidated financial statements, except for the following items:

                                                                                                                               % of Group’s interest (i)
                                                                                     Country of         Principal         September 30,        December 31,
  Entity name                                                                      incorporation        activities            2019                  2018
  Directly controlled
  Leadr Serviços Online Ltda. (ii)                                                  Brazil            Social media              99.99%                   —
  Lírios Participações Ltda. (to be changed to Spiti Analise Ltda.) (ii)            Brazil            Research                  95.00%                   —
  Indirectly controlled
  Banco XP S.A. (iii)                                                               Brazil            Banking                  100.00%                   —
  Xperience Market Services LLC (ii)                                                USA               Broker-dealer            100.00%                   —
                                                                                                      Consulting
                                                                                                      finance
  Chamaleon Bravery Unipessoal LDA (iii)                                            Portugal          services                 100.00%                   —
  Consolidated investments funds
  Balista Debentures Incentivadas Fundo de Investimento Multimercado                                  Investment
    Crédito Privado (ii)                                                            Brazil            fund                     100.00%                   —
  Frade III Fundo de Investimento em Cotas de Fundo de Investimento                                   Investment
    Multimercado Crédito Privado (ii)                                               Brazil            fund                     100.00%                   —
  XP Seguros Fundo de Investimento Renda Fixa Previdenciário (iv)                                     Investment
                                                                                    Brazil            fund                     100.00%                   —
  XP Seguros Fundo de Investimento Inflação Renda Fixa Previdenciário (iv)                            Investment
                                                                                    Brazil            fund                     100.00%                   —
  XP Seguros Fundos de Investimento Renda Fixa Crédito Privado (iv)                                   Investment
                                                                                    Brazil            fund                     100.00%                   —
  XPA Itaipava 3 Prev Fundo de Investimento Multimercado Crédito Privado                              Investment
    (iv)                                                                            Brazil            fund                     100.00%                   —
  Quasar Advantage Previdência XP Seguros Advisory Fundo de                                           Investment
    Investimento Renda Fixa Crédito Privado (iv)                                    Brazil            fund                     100.00%                   —
  Pr3M Prev Fundo de Investimento Multimercado Crédito Privado (iv)                                   Investment
                                                                                    Brazil            fund                     100.00%                   —
  Dahlia 70 Advisory XP Seguros Previdência FI em Cotas de FI                                         Investment
    Multimercado (iv)                                                               Brazil            fund                     100.00%                   —
  Sparta Previdência Advisory XP Seguros FI em Cotas de FI Renda Fixa                                 Investment
    Crédito Privado (iv)                                                            Brazil            fund                     100.00%                   —
  Capitania Prev Advisory XP Seguros Fundo de Investimento Renda Fixa                                 Investment
    Crédito Privado (iv)                                                            Brazil            fund                     100.00%                   —
  DLM Conservador Advisory XP Seguros Prev Fundo de Investimento                                      Investment
    Renda Fixa Crédito Privado (iv)                                                 Brazil            fund                     100.00%                   —
  Kadima XP Seguros Prev FIE FI em Cotas de FI Multimercado Crédito                                   Investment
    Privado (iv)                                                                    Brazil            fund                     100.00%                   —

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  XP Investimentos S.A. and its subsidiaries
  Notes to unaudited interim condensed consolidated financial statements
  As of September 30, 2019
  In thousands of Brazilian Reais, unless otherwise stated

  XP Horizonte Dominus XP Seguros Prev Fundo de Investimento Renda Fixa (iv)                                        Investment
                                                                                                      Brazil        fund             100.00%     —
  Leblon 70 XP Seguros Prev Fundo de Investimento em Cotas de Fundos de                                             Investment
    Investimento Multimercado (iv)                                                                    Brazil        fund             100.00%     —
  ARX Denali XP Seguros Previdência FI em Cotas de Fundos de Investimento Renda                                     Investment
    Fixa Crédito Privado (iv)                                                                         Brazil        fund             100.00%     —
  Brasil Capital 70 XP Seguros Advisory Previdência Fundo de Investimento                                           Investment
    Multimercado (iv)                                                                                 Brazil        fund             100.00%     —
  Mongeral Aegon Previdencia XP Seguros Advisory Fundo de Investimento Renda                                        Investment
    Fixa Crédito Privado (iv)                                                                         Brazil        fund             100.00%     —
  Occam XP Seguros Prev Fundo de Investimento em Cotas de Fundos de Investimento                                    Investment
    Multimercado (iv)                                                                                 Brazil        fund             100.00%     —
  Western Asset Advisory XP Seguros Renda Fixa Ativo Fundo de Investimento                                          Investment
    Previdenciário (iv)                                                                               Brazil        fund             100.00%     —
  Franklin Valor e Liquidez 70 Advisory XP Seguros Prev Fundo de Investimento                                       Investment
    Multimercado (iv)                                                                                 Brazil        fund             100.00%     —
  Vinci Equilibrio Advisory XP Seguros Prev Fundo de Investimento Multimercado (iv)                                 Investment
                                                                                                      Brazil        fund             100.00%     —
  XP 2026B Advisory Seguros Prev Fundo de Investimento em Cotas de Fundos de                                        Investment
   Investimento Renda Fixa (iv)                                                                       Brazil        fund             100.00%     —
  XP 2035B Advisory Seguros Prev FI em Cotas de FI Renda Fixa (iv)                                                  Investment
                                                                                                      Brazil        fund             100.00%     —
  Claritas Advisory XP Seguros Previdência FIE FI em Cotas de Fundos de                                             Investment
    Investimento Multimercado (iv)                                                                    Brazil        fund             100.00%     —
  Schroder Advisory XP Seguros Previdenciário FI Renda Fixa Crédito Privado (iv)                                    Investment
                                                                                                      Brazil        fund             100.00%     —

  (i)     The percentage of participation represents the Group’s interest in total capital and voting capital of its subsidiaries.
  (ii)    New operating subsidiaries and proprietary investment funds incorporated in 2019.
  (iii)   Subsidiary incorporated in 2019 for banking activities in Brazil. See note 25.
  (iv)    Specially Constituted Investment Fund (“FIE”) wholly owned by XP Vida e Previdência S.A. incorporated in 2019.

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  XP Investimentos S.A. and its subsidiaries
  Notes to unaudited interim condensed consolidated financial statements
  As of September 30, 2019
  In thousands of Brazilian Reais, unless otherwise stated

  c) Segment reporting
  In reviewing the operational performance of the Group and allocating resources, the chief operating decision maker of the Group (“CODM”), who is the
  Group’s Chief Executive Officer (“CEO”) and the Board of Directors (“BoD”), represented by statutory directors holders of ordinary shares of the
  immediate parent of the Company, reviews selected items of the statement of income and of comprehensive income.

  The CODM considers the whole Group as a single operating and reportable segment, monitoring operations, making decisions on fund allocation and
  evaluating performance based on a single operating segment. The CODM reviews relevant financial data on a combined basis for all subsidiaries.
  Dissagregated information is only reviewed at the revenue level (Note 16), with no corresponding detail at any margin or profitability levels.

  The Group’s revenue, results and assets for this one reportable segment can be determined by reference to the unaudited interim condensed consolidated
  statement of income and of comprehensive income and unaudited interim condensed consolidated balance sheet.

  See note 16 (c) for a breakdown of total revenue and income and selected assets by geographic location.


  d) New standards, interpretations and amendments adopted by the Group
  The accounting policies adopted in the preparation of the unaudited interim condensed consolidated financial statements are consistent with those
  followed in the preparation of the Group’s consolidated financial statements for the year ended December 31, 2018, except for the adoption of new
  standards effective as of January 1, 2019.

  The Group applies, for the first time on January 1, 2019, IFRS 16 Leases and IFRIC 23 Uncertainty over Income Tax Treatment. As required by IAS 34,
  the nature and effect of these changes are disclosed below, including the new accounting policies that have been applied since then.

  Other amendments and interpretations apply for the first time in 2019, but do not have an impact on the unaudited interim condensed consolidated
  financial statements of the Group.

  Certain new accounting standards and interpretations have been published that are not mandatory for 2019 reporting periods and have not been early
  adopted by the group. These standards are not expected to have a material impact on the entity in the current or future reporting periods and on
  foreseeable future transactions.


        d.1) IFRS 16—Leases
        IFRS 16 was issued in January 2016 and supersedes IAS 17 Leases, IFRIC 4 Determining whether an Arrangement contains a Lease, SIC-15
        Operating Leases-Incentives and SIC-27 Evaluating the Substance of Transactions Involving the Legal Form of a Lease. The standard establishes
        the principles for the recognition, measurement, presentation and disclosure of leases and requires lessees to account for all leases under a single
        model in the balance sheet, similar to the recognition of finance leases under IAS 17.
        The Group has adopted IFRS 16 from January 1, 2019 using the modified retrospective method of adoption, under which the standard is applied
        retrospectively with the cumulative effect of initially applying the standard recognized at the date of initial application and not restated
        comparatives for the 2018 reporting period. The reclassifications and the adjustments arising from the new leasing rules are therefore recognized
        in the opening balance sheet on January 1, 2019.

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  XP Investimentos S.A. and its subsidiaries
  Notes to unaudited interim condensed consolidated financial statements
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  In thousands of Brazilian Reais, unless otherwise stated

       i)     Pratical expedients and exemptions applied
       In applying IFRS 16 for the first time, the Group has used the following permitted practical expedients:
         •    applying only to contracts that were previously identified as leases applying IAS 17 and IFRIC 4 at the date of initial application;
         •    applying a single discount rate to a portfolio of leases with reasonably similar characteristics;
         •    relying on previous assessments on whether leases are onerous as an alternative to performing an impairment review—there were no
              onerous contracts as of January 1, 2019;
         •    exempting leases contracts with a remaining lease term of less than 12 months as of January 1, 2019 and not containing a purchase option
              (short-term leases);
         •    exempting lease contracts for which the underlying asset is of low value (low-value assets);
         •    excluding initial direct costs for the measurement of the right-of-use asset at the date of initial application; and
         •    using hindsight in determining the lease term where the contract contains options to extend or terminate the lease.
       ii)    Measurement of lease liabilities and right-of-use assets
       The Group leases its main offices and certain equipments under non-cancelable operating lease agreements. The lease terms varies from one to ten
       years, and the majority of the lease agreements is renewable at the end of the lease period at market rates. The Group has no lease contracts
       previously classified as finance leases and existing contracts do not include variable payments or residual value guarantees.
       On adoption of IFRS 16, the Group recognized lease liabilities in relation to leases which had previously been classified as ‘operating leases’
       under the principles of IAS 17 These liabilities were measured at the present value of the remaining lease payments, discounted using the lessee’s
       incremental borrowing rate as of January 1, 2019. The weighted average lessee’s incremental borrowing rate applied to the lease liabilities on
       January 1, 2019 was 9.0%.
                         Operating lease commitments disclosed as of December 31, 2018                                      209,318
                         Discounted using the incremental borrowing rate of at the date of initial application              (60,099)
                         (Less): short-term leases recognized on a straight-line basis as expense                              (725)
                         Lease liability recognized as of January 1, 2019                                                   148,494

       The associated right-of-use assets related to property and equipment leases above were measured at the amount equal to the lease liability,
       adjusted by the amount of any prepaid or accrued lease payments relating to that lease recognized in the balance sheet as of December 31, 2018.
                         Lease liability recognized as of January 1, 2019                                                   148,494
                         (Less): accrued lease payments as of December 31, 2018                                             (14,624)
                         Total right-of-use assets as of January 1, 2019                                                    133,870
                         Represented by:
                             Properties                                                                                     123,262
                             Equipments                                                                                      10,608

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       As a result of initial adoption, there is no impact to retained earnings in equity on January 1, 2019. Right-of-use assets are presented in a separate
       line item in the balance sheet under “Other assets” group, while the lease liabilities are presented within borrowings in the line item “Borrowings
       and lease liabilities” in the balance sheet.
       iii)   Summary of new accounting policies
       Set out below are the new accounting policies of the Group upon adoption of IFRS 16, which have been applied from the date of initial
       application:
       Right-of-use assets
       The Group recognizes right-of-use assets at the commencement date of the lease (i.e., the date the underlying asset is available for use).
       Right-of-use assets are measured at cost, less any accumulated depreciation and impairment losses, and adjusted for any remeasurement of lease
       liabilities.

       The cost of right-of-use assets includes the amount of lease liabilities recognized, initial direct costs incurred, and lease payments made at or
       before the commencement date less any lease incentives received. Unless the Group is reasonably certain to obtain ownership of the leased asset
       at the end of the lease term, the recognized right-of-use assets are depreciated on a straight-line basis over the shorter of its estimated useful life
       and the lease term. Right-of use assets are subject to impairment.
       Lease liabilities
       At the commencement date of the lease, the Group recognizes lease liabilities measured at the present value of lease payments to be made over the
       lease term. The lease payments include fixed payments (including in-substance fixed payments) less any lease incentives receivable, variable lease
       payments that depend on an index or a rate, and amounts expected to be paid under residual value guarantees. The lease payments also include the
       exercise price of a purchase option reasonably certain to be exercised by the Group and payments of penalties for terminating a lease, if the lease
       term reflects the Group exercising the option to terminate. The variable lease payments that do not depend on an index or a rate are recognized as
       expense in the period on which the event or condition that triggers the payment occurs.
       In calculating the present value of lease payments, the Group uses the incremental borrowing rate at the lease commencement date if the interest
       rate implicit in the lease is not readily determinable. After the commencement date, the amount of lease liabilities is increased to reflect the
       accretion of interest and reduced for the lease payments made. In addition, the carrying amount of lease liabilities is remeasured if there is a
       modification, a change in the lease term, a change in the in-substance fixed lease payments or a change in the assessment to purchase the
       underlying asset.
       Short-term leases and leases of low-value assets
       The Group applies the short-term lease recognition exemption to its short-term leases of properties (i.e., those leases that have a lease term of 12
       months or less from the commencement date and do not contain a purchase option). It also applies the lease of low-value assets recognition
       exemption to leases that are considered of low value. Lease payments on short-term leases and leases of low-value assets are recognized as
       expense on a straight-line basis over the lease term.
       Significant judgement in determining the lease term of contracts with renewal options
       The Group determines the lease term as the non-cancellable term of the lease, together with any periods covered by an option to extend the lease if
       it is reasonably certain to be exercised, or any periods covered by an option to terminate the lease, if it is reasonably certain not to be exercised.

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       The Group has the option, under some of its leases to lease the assets for additional terms. The Group applies judgement in evaluating whether it
       is reasonably certain to exercise the option to renew. That is, it considers all relevant factors that create an economic incentive for it to exercise the
       renewal. After the commencement date, the Group reassesses the lease term if there is a significant event or change in circumstances that is within
       its control and affects its ability to exercise (or not to exercise) the option to renew (e.g., a change in business strategy).
       iv)    Amounts recognized in the balance sheet and in the statement of income
       Set out below, are the carrying amounts of the Group’s right-of-use assets and lease liabilities and the movements during the nine months period:

                                                                                                                  Right-of-         Lease
                                                                                                                  use assets      liabilities
                   As of January 1, 2019                                                                           133,870         148,494
                   Additions (i)                                                                                   104,487         105,694
                   Depreciation expense                                                                            (23,235)            —
                   Interest expense                                                                                    —            12,447
                   Effects of exchange rate                                                                          6,259           6,460
                   Payment of lease liabilities                                                                        —           (26,194)
                   As of September 30, 2019                                                                        221,381         246,901
                   Current                                                                                             —            28,970
                   Non-current                                                                                     221,381         217,931
       (i)    Additions to right-of-use assets in the period include prepayments to lessors and accrued liabilities.
       The Group recognized rent expense from short-term leases and low-value assets of R$ 1,291 for the nine months period ended September 30,
       2019. The total rent expense of R$ 8,784 (Note 18), include other expenses related to leased offices such as condomiun


       d.2) IFRIC Interpretation 23—Uncertainty over Income Tax Treatment
       The interpretation addresses the accounting for income taxes when tax treatments involve uncertainty that affects the application of IAS 12
       Income Taxes. It does not apply to taxes or levies outside the scope of IAS 12, nor does it specifically include requirements relating to interest and
       penalties associated with uncertain tax treatments. The Interpretation specifically addresses the following:
        •     Whether an entity considers uncertain tax treatments separately;
        •     The assumptions an entity makes about the examination of tax treatments by taxation authorities;
        •     How an entity determines taxable profit (tax loss), tax bases, unused tax losses, unused tax credits and tax rates;
        •     How an entity considers changes in facts and circumstances.
       An entity has to determine whether to consider each uncertain tax treatment separately or together with one or more other uncertain tax treatments.
       The approach that better predicts the resolution of the uncertainty needs to be followed.
       The Group applied the interpretation and did not have significant impact on the unaudited interim condensed consolidated financial statements.

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  e) Estimates
  The preparation of unaudited interim condensed consolidated financial statements of the Group requires management to make judgments and estimates
  and to adopt assumptions that affect the amounts presented referring to revenues, expenses, assets and liabilities at the reporting date. Actual results may
  differ from these estimates.

  In preparing these unaudited interim condensed consolidated financial statements, the significant judgements and estimates made by management in
  applying the Group’s accounting policies and the key sources of estimation uncertainty were the same as those that are set the consolidated financial
  statements for the year ended December 31, 2018 except for the adoption of IFRS 16 effective on January 1, 2019


  3. Securities purchased (sold) under resale (repurchase) agreements
  a) Securities purchased under agreements to resell
                                                                                                        September 30,        December 31,
                                                                                                            2019                 2018
                    Available portfolio                                                                      805,700              488,809
                    National Treasury Notes (NTNs)                                                            57,298               65,136
                    Financial Treasury Bills (LFTs)                                                          532,424               38,015
                    National Treasury Bills (LTNs)                                                           215,978              385,658
                    Collateral held                                                                       12,647,284            6,081,800
                    National Treasury Bills (LTNs)                                                         6,768,322            4,911,635
                    National Treasury Notes (NTNs)                                                         5,878,962            1,170,165
                    Total                                                                                 13,452,984            6,570,609

  Investments in purchase and sale commitments backed by sovereign debt securities refer to transactions involving the purchase of sovereign debt
  securities with a commitment to sale originated in the subsidiary XP CCTVM and in exclusive funds and were carried out at an average fixed rate of
  5.50% p.a. (December 31, 2018—6.43% p.a.).

  As of September 30, 2019, R$ 684,964 (December 31, 2018—R$ 488,809) from the total amount of available portfolio is being presented as cash
  equivalents in the statements of cash flows.


  b) Securities sold under repurchase agreements
                                                                                                        September 30,        December 31,
                                                                                                            2019                 2018
                    National Treasury Bills (LTNs)                                                         6,058,113            1,153,547
                    National Treasury Notes (NTNs)                                                        10,641,679            5,142,881
                    Financial Treasury Bills (LFTs)                                                        2,918,264              344,266
                    Total                                                                                 19,618,056            6,640,694

  As of September 30, 2019, securities sold under repurchase agreements were agreed with average interest rates of 5.40% p.a. (December 31, 2018—
  6.40% p.a.), with assets pledged as collateral.

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  4. Securities
  a) Securities classified at fair value through profit and loss and at fair value through other comprehensive income
                                                                                         September 30, 2019                        December 31, 2018
                                                                                     Gross                                     Gross
                                                                                    carrying                                  carrying
                                                                                    amount             Fair Value             amount            Fair Value
         Financial assets
         At fair value through profit and loss                                     15,876,871          16,157,611             6,262,735          6,290,971
         Brazilian government bonds                                                12,364,086          12,616,700             3,826,902          3,853,534
         Stocks issued by public-held company                                         514,830             514,830             1,127,074          1,127,044
         Debentures                                                                   688,518             700,242               325,459            326,403
         Investment funds                                                           1,497,466           1,497,466               279,013            279,013
         Certificate of real estate receivable                                        150,793             152,731               208,442            207,167
         Bank deposit certificates (i)                                                209,590             212,185               172,451            171,725
         Agribusiness receivables certificates                                        133,694             129,692                85,668             85,874
         Financial credit bills                                                        59,468              61,443                45,040             44,663
         Structured transaction certificate                                           116,352             128,114                21,275             22,949
         Real estate credit bill                                                        1,910               3,031                 3,697              4,883
         Others (ii)                                                                  140,164             141,177               167,714            167,716
         At fair value through other comprehensive income                             774,212             782,441               688,731            695,778
         National treasury bill                                                       774,212             782,411               688,731            695,778

  (i)    Bank deposit certificates include R$ 90,530 (December 31, 2018—R$ 69,646) is being presented as cash equivalents in the statements of cash
         flows.
  (ii)   Mainly related to bonds issued and traded overseas.

  Financial assets at fair value through profit or loss include assets with a fair value of R$ 1,705,054 (December 31, 2018—R$ 16,059) that belong to
  Specially Constituted Investment Fund (“FIE”) partially or wholly owned by XP Vida e Previdência S.A. The return of these assets (positive or
  negative) is fully transferred to customers of the Group’s private pension plans whose premiums are used by the subsidiary to purchase quotas of those
  investment funds (Note 11).


  b) Securities evaluated at amortized cost
                                                                                                   September 30, 2019                December 31, 2018
                                                                                                  Gross                            Gross
                                                                                                 carrying        Book             carrying         Book
                                                                                                 amount          Value            amount           Value
         Financial assets
         At amortized cost
             Bonds                                                                                555,520           555,520        155,292         155,292

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  c) Securities on the financial liabilities classified at fair value through profit or loss
                                                                                                   September 30, 2019               December 31, 2018
                                                                                                 Gross                           Gross
                                                                                                carrying         Book           carrying           Book
                                                                                                amount           Value          amount             Value
        Financial liabilities
        At fair value through profit or loss
             Securities loaned                                                                  359,835          359,835        1,259,579          1,259,579


  d) Securities classified by maturity
                                                                                               Assets                                  Liabilities
                                                                               September 30,            December 31,       September 30,          December 31,
                                                                                   2019                     2018               2019                   2018
        Financial assets
        At fair value through PL and At OCI
        Current                                                                   7,017,291               1,875,374             359,835            1,192,877
        Non-stated maturity                                                       2,111,203               1,425,401             359,835                  —
        Up to 3 months                                                            1,836,064                 192,208                 —              1,184,972
        From 3 to 12 months                                                       3,070,024                 257,765                 —                  7,905
        Non-current                                                               9,922,761               5,111,375                  —                66,702
        After one year                                                            9,922,761               5,111,375                  —                66,702
        Evaluated at amortized cost
        Current                                                                      361,616                155,292                  —                     —
        Up to 3 months                                                               361,616                    —                    —                     —
        From 3 to 12 months                                                              —                  155,292                  —                     —
        Non-current                                                                193,904                      —                   —                    —
        After one year                                                             193,904                      —                   —                    —
        Total                                                                   17,495,572                7,142,041             359,835            1,259,579

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  5. Derivative financial instruments
  The Group uses the derivatives to manage its overall exposures of foreign exchange rates, interest rates and price of shares.

  Below is the composition of the derivative financial instruments portfolio (assets and liabilities) by type of instrument, stated fair value and by maturity:

                                                                                                            September 30, 2019
                                                                                                                        Up to        From 3 to        Above
                                                                                Notional       Fair Value     %       3 months       12 months      12 months
  Assets
  Options                                                                     418,168,030       2,510,070      45        336,698      2,027,941       145,433
  Swap contracts                                                                3,219,034         424,131       7          9,597         32,254       382,280
  Forward contracts                                                             2,957,707       2,660,471      47      2,637,479         22,782           208
  Future contracts                                                              6,899,259           4,438       1          4,438            —             —
  Total                                                                       431,244,030       5,599,110     100      2,988,212      2,082,977       527,921
  Liabilities
  Options                                                                     367,384,195       2,477,989      47        321,184      2,002,295       154,510
  Swap contracts                                                                3,169,365         426,916       8          7,759         32,681       386,476
  Forward contracts                                                             2,429,650       2,402,044      45      2,401,815              5           224
  Total                                                                       372,983,210       5,306,949     100      2,730,758      2,034,981       541,210
                                                                                                             December 31, 2018
                                                                                                                         Up to       From 3 to        Above
                                                                                Notional       Fair Value     %        3 months      12 months      12 months
  Assets
  Options                                                                       78,746,383        867,207      51        255,281        234,742       377,184
  Swap contracts                                                                 3,454,728        244,262      14          4,675         25,054       214,533
  Forward contracts                                                                809,202        573,963      34        363,863        210,100           —
  Future contracts                                                               5,679,425          6,599       1          4,613          1,986           —
  Total                                                                         88,689,738      1,692,031     100        628,432        471,882       591,717
  Liabilities
  Options                                                                       82,579,675        726,497      73        128,470        217,387       380,640
  Swap contracts                                                                 3,981,304        247,732      25          7,710         25,094       214,928
  Forward contracts                                                                 19,142         17,170       2         16,972             25           173
  Total                                                                         86,580,121        991,399     100        153,152        242,506       595,741


  6. Hedge accounting
  In the nine months period ended September 30, 2019 and in the year ended December 31, 2018, the objective for the Group was to hedge the risk
  generated by the USD variation from the investments in USA, XP Holding International and XP Advisors Inc.

  The Group has entered into forward contracts to protect against changes in future cash flows and exchange rate variation of net investments in foreign
  operations known as Non Deliverable Forward (“NDF”) contracts.

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  The Group undertakes risk management through the economic relationship between hedge instruments and hedged item, in which it is expected that
  these instruments will move in opposite directions, in the same proportions, with the aim of neutralizing the risk factors.

                                                                                           Hedged item                              Hedge instrument
                                                                                                             Variation in                      Variation in
                                                                                                                value                          the amounts
                                                                                  Book Value                recognized in                         used to
                                                                                                                Other                            calculate
                                                                                                           comprehensive       Nominal             hedge
  Strategies                                                                 Assets       Liabilities          income           value         ineffectiveness
  September 30, 2019
  Foreign exchange risk
  Hedge of net investment in foreign operations                             182,613             —                12,126        281,097              (11,829)
  Total                                                                     182,613             —                12,126        281,097              (11,829)
  December 31, 2018
  Foreign exchange risk
  Hedge of net investment in foreign operations                             147,179             —                18,645        225,901              (17,495)
  Total                                                                     147,179             —                18,645        225,901              (17,495)

  There was no ineffectiveness during September 30, 2019 and December 31, 2018 in relation to the foreign net investment hedge.


  7. Securities trading and intermediation (receivable and payable)
  Represented by operations at B3 on behalf of and on account of third parties, with liquidation operating cycle between D+1 and D+3.

                                                                                                        September 30,       December 31,
                                                                                                            2019                2018
                    Cash and settlement records                                                             149,706             164,322
                    Debtors pending settlement                                                              645,390             731,611
                    Other                                                                                    11,927               2,379
                    Total Assets                                                                            807,023             898,312

                    Cash and settlement records                                                             200,413              90,056
                    Creditors pending settlement                                                          7,001,872           5,216,572
                    Total Liabilities                                                                     7,202,285           5,306,628

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  8. Property, equipment and intangible assets
  a) Changes in the period
                                                                                                           Property and       Intangible
                                                                                                            equipment           assets
                    As of December 31, 2017                                                                     47,073         483,207
                        Additions                                                                               56,250          45,854
                        Business combination                                                                       —             9,799
                        Write-offs                                                                              (7,714)            (15)
                        Depreciation / amortization in the period                                              (12,198)        (23,835)
                    As of September 30, 2018                                                                    83,411         515,010
                    Cost                                                                                       115,182         570,311
                    Accumulated depreciation / amortization                                                    (31,771)        (55,301)
                    As of December 31, 2018                                                                     99,127         504,915
                        Additions                                                                               43,749          39,974
                        Write-offs                                                                              (7,550)            (56)
                        Depreciation / amortization in the period                                              (15,174)        (23,992)
                    As of September 30, 2019                                                                   120,152         520,841
                    Cost                                                                                       165,314         604,298
                    Accumulated depreciation / amortization                                                    (45,162)        (83,457)


  b) Impairment test for goodwill
  Given the interdependency of cash flows and the merger of business practices, all Group’s entities are considered a single cash generating units (“CGU”)
  and, therefore, goodwill impairment test is performed at the single operating level. Therefore, the carrying amount considered for the impairment test
  represents the Company’s equity.

  The Group performs its annual impairment test in December and when circumstances indicates that the carrying value may be impaired. The Group’s
  impairment tests are based on value-in-use calculations. The key assumptions used to determine the recoverable amount for the cash generating unit
  were disclosed in the annual consolidated financial statements for the year ended December 31, 2018.

  As of September 30, 2019, there were no indicators of a potential impairment of goodwill. Additionally, there are no significant changes to the
  assumptions in the annual consolidated financial statements for the year ended December 31, 2018.

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  9. Borrowings and lease liabilities

                                                                                Interest rate                       September 30,           December 31,
                                                                                     %            Maturity              2019                    2018
          Bank borrowings—domestic (i)                                             113% of
                                                                                    CDI (*)      March 2021               63,250                    94,921
          Related parties                                                                                                 63,250                    94,921
          Bank borrowings—domestic (ii)                                           111% of
                                                                                   CDI (*)         July 2019                    —                   44,352
          Financial institution (iii)                                            CDI (*) +
                                                                                0.774%p.a         April 2023             335,989                330,336
          Third parties                                                                                                  335,989                374,688
          Total borrowings                                                                                               399,239                469,609
          Lease liabilities (Note 2 (d.1))                                                                               246,901                    —
          Total borrowings and lease liabilities                                                                         646,140                469,609
          Current                                                                                                        102,830                114,489
          Non-current                                                                                                    543,310                355,120

  (*)   Brazilian Interbank Offering Rate (CDI)
  (i)   Loan agreement with Itaú Unibanco with maturity on March 8, 2021, payable in 36 monthly installments.
  (ii)  Loan agreement with Banco JP Morgan S.A., hired in connection with the acquisition of Rico, payable in seven quarterly installments. In July
        2019, the loan was fully settled.
  (iii) Loan agreement entered into on March 28, 2018 with the International Finance Corporation (IFC). The principal amount is due on the maturity
        date and accrued interests payable at every six months.

  All the obligations above contain financial covenants, which comply with certain performance conditions. The Group has complied with these covenants
  throughout the reporting period (Note 23 (b)).


  10. Debentures
  On May 15, 2019 and September 28, 2018, the Company issued Debentures, non-convertible into shares, in the total amount of R$ 800,000, with the
  objective of funding the Group’s working capital and treasury investments. As of September 30, 2019, the total balance is comprised of the following
  issuances:

                                                    Quantity                          Issuance    Maturity      Unit value at       Unit value at        Book
  Issuance                                           (units)      Annual rate           date       date          issuance            period-end          value
  1st                                               400,000      108.0% CDI          9/28/2018    9/28/2020    R$ 1,000.00          R$ 1,067.67         427,054
  2st                                               400,000      107.5% CDI          5/15/2019    5/15/2022    R$ 1,000.00          R$ 1,021.96         408,768
  Total                                             800,000                                                                                             835,822

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                                                                                                         September 30,            December 31,
                                                                                                             2019                     2018
                    Principal                                                                                800,000                  400,000
                    Interest                                                                                  35,822                    6,538
                    Total                                                                                    835,822                  406,538
                    Current                                                                                  435,822                      —
                    Non-current                                                                              400,000                  406,538

  The principal amount and accrued interest payables related to the first issuance are due on the maturity date, while for the second issuance, 50% of the
  principal amount is due on May 15, 2021 and the remaining balance on the maturity date, and accrued interest payable every 12 months from the
  issuance date. There were no amounts paid in 2019.

  Debentures are subject to financial covenants, which comply with certain performance conditions. The Group has complied with these covenants
  throughout the reporting period (Note 23 (b)).


  11. Private pension liabilities
  The subsidiary XP Vida e Previdência currently manage and sells private pension plans, which relate principally to accumulation of financial resources,
  called PGBL (Plan Generator of Benefits), a plan that aims at accumulating funds for participant’s retirement in life, and VGBL (Redeemable Life
  Insurance), a financial product structured as a pension plan. In both products, the contribution received from the participant is applied to a Specially
  Constituted Investment Fund (“FIE”) and accrues interest based on FIE investments.

  As of September 30, 2019, active plans are principally accumulation of financial resources through products PGBL and VGBL structured in the form of
  variable contribution, for the purpose of granting participants with returns based on the accumulated capital in the form of monthly withdraws for a
  certain term or temporary monthly withdraws.

  In this respect, such financial products represent investment contracts that have the legal form of private pension plans but which do not transfer
  insurance risk to the Group. Therefore, contributions received from participants are accounted for as liabilities and balance consists of the balance of the
  participant in the linked FIE at the reporting date (Note 4 (a)).


  a) Changes in the period

                                                                                                                          Nine months period
                                                                                                                         ended September 30,
                                                                                                                           2019           2018
                    As of January 1                                                                                     16,059            —
                    Contributions received                                                                             211,396            —
                    Transfer with third party plans                                                                  1,466,444            —
                    Withdraws                                                                                           (7,911)           —
                    Interest received from FIE                                                                          35,718            —
                    As of September 30                                                                               1,721,706            —
                    Contributions invested in FIEs (Note 4 (a))                                                      1,705,054            —
                    Contributions to be invested                                                                        16,652            —

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  12. Income tax
  a) Deferred income tax
  Deferred tax assets (DTA) and deferred tax liabilities (DTL) are comprised of the main following components:

                                                                                                                              Net change in the nine
                                                                                      Balance Sheet                            months period ended
                                                                           September 30,          December 31,         September 30,          September 30,
                                                                               2019                   2018                 2019                    2018
        Tax losses carryforwards                                                13,633                55,358                (41,725)               47,211
        Goodwill on business combinations (i)                                   34,148                59,993                (25,845)              (40,808)
        Provisions for IFAs’ commissions                                        52,134                31,031                 21,103                 2,103
        Revaluations of financial assets at fair value                          (7,977)                1,397                 (9,374)                 (335)
        Expected credit losses                                                   4,642                 3,079                  1,563                 1,975
        Financial instruments taxed on redemption                              (24,678)              (13,041)               (11,637)               (7,706)
        Profit sharing plan                                                     76,105                   —                   76,105                39,819
        Net gain on hedge instruments                                           (3,326)               (1,441)                (1,885)              (45,002)
        Other provisions                                                         9,166                 4,024                  5,142                 5,521
        Total                                                                  153,847               140,400                 13,447                 2,778
        Deferred tax assets                                                    181,053               152,425
        Deferred tax liabilities                                               (27,206)              (12,025)

  (i)   For tax purposes, goodwill is amortized over 5 years on a straight-line basis when the entity acquired is sold or merged into another entity.

  The changes in the net deferred tax were recognized as follows:

                                                                                                                        Nine months period
                                                                                                                       ended September 30,
                                                                                                                      2019             2018
                     As of January 1                                                                                140,400          219,668
                     Foreign exchange variations                                                                     21,883           (3,968)
                     Charges to statement of income                                                                  (8,564)           2,281
                     Tax relating to components of other comprehensive income                                           128            4,465
                     As of September 30                                                                             153,847          222,446


  Unrecognized deferred taxes
  Deferred tax assets are recognized for tax losses to the extent that the realization of the related tax benefit against future taxable profits is probable. The
  Group did not recognize deferred tax assets of R$ 18,371 (December 31, 2018–R$ 12,025) mainly in respect of losses from subsidiaries overseas and
  that can be carried forward and used against future taxable income.

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  b) Income tax expense reconciliation
  The tax on the Group’s pre-tax profit differs from the theoretical amount that would arise using the weighted average tax rate applicable to profits of the
  consolidated entities. The following is a reconciliation of income tax expense to profit (loss) for the periods, calculated by applying the combined
  Brazilian statutory rates at 34%:

                                                                                                                   Nine months period
                                                                                                                  ended September 30,
                                                                                                                 2019              2018
                    Income before taxes                                                                        996,944          470,150
                    Combined tax rate in Brazil                                                                  34.00%           34.00%
                    Tax expense at the combined rate                                                           338,961          159,851
                    Income (loss) from entities not subject to taxation                                         (8,228)           1,502
                    Effects from entities taxed at different rates                                              16,208           14,370
                    Effects from entities taxed at different method (i)                                        (24,816)         (14,915)
                    Intercompany transactions with different taxation                                          (27,989)         (28,555)
                    Tax incentives                                                                              (2,220)             (23)
                    Non deductible expenses (non-taxable income), net                                            8,688           (3,005)
                    Others                                                                                      (2,958)         (10,957)
                    Total                                                                                      297,646          118,268
                    Effective tax rate                                                                           29.86%           25.16%
                    Current                                                                                    306,210          115,987
                    Deferred                                                                                    (8,564)           2,281
                    Total expense                                                                              297,646          118,268

  (i)   Certain eligible subsidiaries adopted the PPM tax regime and the effect of the presumed profit of subsidiaries represents the difference between the
        taxation based on this method and the amount that would be due based on the statutory rate applied to the taxable profit of the subsidiaries.


  13. Equity
  a) Subscribed and paid-in capital and capital reserve
  As of September 30, 2019 and December 31, 2018, the fully subscribed and paid-in share capital of the Company was R$ 927,916 divided into
  2,036,988,542 shares with no par value, represented by 1,020,531,260 common shares and 1,016,457,282 preferred shares.

  According to the Articles of Incorporation, the Company has two classes of share: (i) common shares, entitled to one vote per share on all matters to be
  voted on shareholders’ general meetings, including the election of directors; and (ii) preferred shares, not entitled to votes on shareholders’ general
  meetings but with priority in reimbursement of the paid capital, with no premium, in case of liquidation of the Company. Both classes are entitled to
  dividends equally shared and proportionally to the interest of each shareholder.

  On August 9, 2018, shareholders also approved the conversion of 83,468,792 common shares of the Company into preferred shares, with no
  contributions or changes in the share capital.

  On August 31, 2018, the Company received capital contributions in the amount of R$ 673,294, upon the issuance of 97,314,470 new preferred shares
  for the unit price of R$ 6.9187 and fully paid.

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  Below is a summary of the issuances and conversions of shares during the nine months ended 2019 and 2018:

                                                                                               Preferred                              Share         Capital
                                                                       Common Shares            Shares             Total Shares       Capital       reserve
  As of December 31, 2017                                               1,104,000,052           835,674,020        1,939,674,072       254,622       535,490
  Issued for cash                                                                 —              97,314,470           97,314,470       673,294           —
  Corporate reorganizations                                                       —                     —                    —             —             525
  Common shares converted to preferred                                    (83,468,792)           83,468,792                  —             —             —
  As of September 30, 2018                                              1,020,531,260         1,016,457,282        2,036,988,542       927,916       536,015
  As of December 31, 2018                                               1,020,531,260         1,016,457,282        2,036,988,542       927,916       536,015
  Issued for cash                                                                 —                     —                    —             —             —
  Common shares converted to preferred                                            —                     —                    —             —             —
  As of September 30, 2019                                              1,020,531,260         1,016,457,282        2,036,988,542       927,916       536,015

  The capital reserve includes differences between the subscription price that the shareholders paid for the shares and their par value and other capital
  transactions as a result of corporate reorganizations. Since this is a capital reserve, it can only be used to increase capital, offset losses, redeem,
  reimburse or purchase shares or pay cumulative dividends on preferred shares.


  b) Revenue reserves
  The legal reserve is credited annually with 5% of the net income for the year and cannot exceed 20% of capital. The purpose of the legal reserve is to
  protect capital, and it can only be used to offset losses and increase capital.

  The statutory reserve refers to the remaining balance of retained earnings, which is earmarked to fund projected business growth, as established in the
  Group’s investment plan, according to the capital budget approved and proposed by management and submitted for approval at the Annual General
  Meeting of Shareholders. This reserve may not exceed the share capital.


  c) Dividends distribution
  The proposal and payment of dividends recorded in the Company’s financial statements, subject to the approval of the shareholders in General
  Meetings.

  In the Extraordinary General Meeting of June 29, 2018, XP Investimentos declared dividends in the amount of R$ 200,000. This amount was
  provisioned and assigned as a minimum dividend in view of the profits accrued up to May 31, 2018 and was paid in August 2018.


  d) Carrying value adjustments
  Increases or decreases in value attributed to assets and liabilities are classified as equity valuation adjustments, while not being computed in the income
  for the period in accordance with the accrual basis as a result of their valuation at fair value.

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  14. Related party transactions
  The main transactions carried with related parties, under commutative conditions, including interest rates, terms and guarantees, and period-end balances
  arising from such transactions are as follows:

                                                                                             Assets/(Liabilities)                Revenue/(Expenses)
                                                                                                                              Nine months period ended
                                                                                                                                   September 30,
                                                                                     September 30,         December 31,
        Relation and transaction                                                         2019                  2018             2019             2018
        Shareholders with significant influence (i)                                     (777,886)              (451,481)        (14,905)            258
            Securities                                                                    90,530                 69,647           7,279             851
            Securities purchase (sold) under resell (repurchase) agreements             (805,166)              (426,207)        (18,313)            (35)
            Borrowings                                                                   (63,250)               (94,921)         (3,871)           (558)

  (i)   These transaction are related to Itaú Unibanco who became shareholder of the Company in 2018 and since then a related party. Therefore,
        transactions and balances with Itaú Unibanco prior to the acquisition are not being reported as transactions with related parties.

  Transactions with related parties also includes transactions among the Company and its subsidiaries in the course of normal operations include services
  rendered such as: (i) education, consulting and business advisory; (ii) financial advisory and financial consulting in general; (iii) management of
  resources and portfolio management; (iv) information technology and data processing; and (v) insurance. The effects of these transactions have been
  eliminated and do not have effects on the unaudited interim condensed consolidated financial statements.


  15. Provisions and contingent liabilities
  The Company and its subsidiaries are party to judicial and administrative litigations before various courts and government bodies, arising from the
  normal course of operations, involving tax, civil and labor matters and other issues. Periodically, Management evaluates the tax, civil and labor and
  risks, based on legal, economic and tax supporting data, in order to classify the risks as probable, possible or remote, in accordance with the chances of
  them occurring and being settled, taking into consideration, case by case, the analyses prepared by external and internal legal advisors.

                                                                                                          September 30,        December 31,
                                                                                                              2019                 2018
                     Tax contingencies                                                                               9,780              9,392
                     Civil contingencies                                                                             3,337              5,610
                     Labor contingencies                                                                             2,587              2,472
                     Total provision                                                                                15,704             17,474
                     Judicial deposits (i)                                                                          15,811             14,850

  (i)   There are circumstances in which the Group is questioning the legitimacy of certain litigations or claims filed against it. As a result, either because
        of a judicial order or based on the strategy adopted by management, the Group might be required to secure part or the whole amount in question
        by means of judicial deposits, without this being characterized as the settlement of the liability. These amounts are classified as “Other assets” on
        the consolidated balance sheets, and referred above for information.

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  Changes in the provision during the nine months period

                                                                                                                       Nine months period
                                                                                                                             ended
                                                                                                                         September 30,
                                                                                                                       2019         2018
                     As of January 1                                                                                  17,474       11,843
                     Monetary correction                                                                               1,499        2,458
                     Provisions accrued                                                                                1,726        3,130
                     Provisions reversed                                                                              (3,933)        (709)
                     Payments                                                                                         (1,062)      (1,036)
                     As of September 30                                                                               15,704       15,686


  Nature of claims
  a) Tax
  As of September 30, 2019, the Group has claims classified as probable risk of loss in the amount of R$ 9,780 (December 31, 2018—R$ 9,392),
  regarding social contributions on revenue (PIS and COFINS), questioning the exclusion of this own taxes on the calculation basis over revenues. In
  accordance with Brazilian laws and tax regulations, this practice is legal for VAT (ICMS) taxes, and other companies have recently obtained significant
  success in applying this concept for PIS and COFINS taxes. These lawsuits are supported by court deposits in its entirety.


  b) Civil
  The majority of the civil claims involve matters that are normal and specific to the business, and refer to demands for indemnity primarily due to:
  (i) financial losses in the stock market; (ii) portfolio management; and (iii) alleged losses generated from the liquidation of costumers assets in portfolio
  due to margin cause and/or negative balance. As of September 30, 2019, there were 20 civil claims for which the likelihood of loss has been classified as
  probable, in the amount of R$ 3,336 (December 31, 2018—R$ 5,610). Throughout the nine months period ended September 30 2019, the amount of R$
  5,474 was deposited in court.


  c) Labor
  Labor claims to which the Group is party primarily concern: (i) the existence (or otherwise) of a working relationship between the Group and IFAs; and
  (ii) severance payment of former employees. As of September 30, 2019, the Company and its subsidiaries are the defendants in approximately 8 cases
  involving labor matters for which the likelihood of loss has been rated as probable, in the amount of R$ 2,588 (December 31, 2018—R$ 2,472).


  Contingent liabilities—probability of loss classified as possible
  In addition to the provisions constituted, the Company and its subsidiaries have several labor, civil and tax contingencies in progress, in which they are
  the defendants, and the likelihood of loss, based on the opinions of the internal and external legal advisors, is considered possible, and the contingencies
  amount to approximately R$ 91,518 (December 31, 2018—R$ 89,323).

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  Below is summarized these possible claims by nature:

                                                                                                      September 30,          December 31,
                                                                                                          2019                   2018
                     Tax (i)                                                                               17,484                 19,971
                     Civil (ii)                                                                            68,737                 64,820
                     Labor                                                                                  5,297                  4,532
                     Total                                                                                 91,518                 89,323

  (i)    In 2014, the Group was notified by tax authorities for a requirement of social security contributions due to employee profit sharing payments,
         allegedly in violation of Brazilian Law 10.101/00. Currently, the case at administrative level in assessment by the Administrative Council of Tax
         Appeals (“CARF”), awaiting the decision on the Group’s appeal. There are other favorable CARF precedents on the subject and the Group
         obtained legal opinions that support the Group’s defense and current practice.
  (ii)   The Group is defendant in 178 civil claims by customers and investment agents, mainly related to portfolio management, risk rating, copyrights
         and contract termination. The total amount represents the collective maximum value to which the Group is exposed based on the claims’ amounts
         monetarily restated.


  16. Total revenue and income
  a) Net revenue from services rendered
  Revenue from contracts with customers derives mostly from services rendered and fees charged at daily transactions from customers, therefore mostly
  recognized at a point in time. Disaggregation of revenue by major service lines are as follows:

                                                                                                             Nine months period ended
                                                                                                                  September 30,
                                                                                                             2019                2018
                     Major service lines
                     Brokerage commission                                                                     935,998           624,671
                     Securities placement                                                                     693,198           460,990
                     Management fees                                                                          591,591           352,581
                     Insurance brokerage fee                                                                   69,367            37,507
                     Educational services                                                                      75,037            23,774
                     Other services                                                                           212,874           115,215
                                                                                                            2,578,065         1,614,738
                     (-) Sales taxes and contributions on revenue (i)                                        (236,965)         (163,137)
                                                                                                            2,341,100         1,451,601

  (i)    Mostly related to taxes on services (ISS) and contributions on revenue (PIS and COFINS).

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  b) Net income from financial instruments

                                                                                                                     Nine months period
                                                                                                                    ended September 30,
                                                                                                                   2019              2018
                    Net Income of financial instruments at fair value through profit or loss                       913,110         547,073
                    Net Income of financial instruments measured at amortized cost and at fair value
                       through other comprehensive income                                                          204,023          97,613
                    (-) Taxes and contributions on financial income                                                (21,720)        (22,989)
                                                                                                                 1,095,413         621,697


  c) Disaggregation by geographic location
  Breakdown of total net revenue and income and selected assets by geographic location:

                                                                                                               Nine months period ended
                                                                                                                    September 30,
                                                                                                               2019                2018
                    Brazil                                                                                    3,207,076           1,898,730
                    United States of America                                                                    205,830             143,880
                    Europe                                                                                       23,607              30,688
                    Total revenue and income                                                                  3,436,513           2,073,298


                                                                                                           September 30,        December 31,
                                                                                                               2019                 2018
                    Brazil                                                                                   1,129,186              881,434
                    United States of America                                                                   136,194               31,829
                    Europe                                                                                       7,027                7,556
                    Selected assets (i)                                                                      1,272,407              920,819

  (i)   Selected assets are total assets of the Group, less: cash, financial assets and deferred tax assets and are presented by geographic location.

  None of the customers represented more than 10% of Group’s revenues for the periods presented.

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  17. Operating costs

                                                                                            Nine months period
                                                                                           ended September 30,
                                                                                          2019              2018
                   Commission costs                                                        877,502         489,491
                   Operating losses and provisions                                          14,825           6,791
                   Other costs                                                             226,640         135,896
                   Clearing house fees                                                     141,251          76,947
                   Third parties’ services                                                  60,562          38,130
                   Other                                                                    24,827          20,819
                   Total                                                                 1,118,967         632,178

  18. Operating expenses by nature

                                                                                            Nine months period
                                                                                           ended September 30,
                                                                                          2019              2018
                   Selling expenses                                                         82,419          64,200
                        Advertising and publicity                                           82,419          64,200
                   Administrative expenses                                               1,294,039         827,841
                        Personnel expenses                                                 859,653         499,021
                             Compensation                                                  256,323         150,184
                             Employee profit-sharing and bonus                             466,219         263,313
                             Executives profit-sharing                                      50,230          32,360
                             Benefits                                                       33,728          22,709
                             Social charges                                                 50,488          30,045
                             Other                                                           2,665             410
                        Other taxes expenses                                                29,699          35,795
                        Depreciation of property and equipment and right-of-use assets      38,409          12,198
                        Amortization of intangible assets                                   23,992          23,835
                        Other administrative expenses                                      342,286         256,992
                             Data processing                                               124,260          87,368
                             Technical services                                             39,560          61,270
                             Third parties’ services                                       112,571          48,840
                             Rent expenses                                                   8,784          19,236
                             Communication                                                  14,362           8,164
                             Travel                                                         15,198           8,872
                             Legal and judicial                                              3,296           7,356
                             Other                                                          24,255          15,886
                   Total                                                                 1,376,458         892,041

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  19. Other operating income (expenses), net

                                                                                                                      Nine months period
                                                                                                                     ended September 30,
                                                                                                                     2019           2018
                    Other operating income                                                                         152,674          28,147
                        Recovery of charges and expenses                                                            52,876           6,229
                        Reserval of operating provisions                                                            10,405             312
                        Revenue from incentives from Tesouro Direto                                                 52,069           9,931
                        Interest received on tax credits                                                            29,429           1,462
                        Other                                                                                        7,895          10,213
                    Other operating expenses                                                                       (34,187)        (47,344)
                        Legal proceedings and agreement with customers                                              (3,503)        (10,311)
                        Losses on write-off and disposal of assets                                                  (6,583)         (7,861)
                        Fines and penalties                                                                         (1,011)         (4,082)
                        Associations and regulatory fees                                                            (3,138)         (2,171)
                        Charity                                                                                     (5,917)         (4,020)
                        Other                                                                                      (14,035)        (18,899)
                    Total                                                                                          118,487         (19,197)


  20. Earnings per share (basic and diluted)
  The following table reflects the net income and share data used in the basic and diluted earnings per share (“EPS”) calculations:

                                                                                                                Nine months period ended
                                                                                                                     September 30,
                                                                                                                2019               2018
                    Net income attributable to owners of the Parent                                               692,011          350,358
                    Weighted average number of common and preferred shares (Thousand units)                     2,036,989        1,950,368
                    Basic and diluted earnings per share—R$                                                        0.3397           0.1796

  Diluted earnings per share equals to basic earnings per share, since the Group has no dilutive instruments.


  21. Determination of fair value
  The Group measures financial instruments such as certain financial investments and derivatives at fair value at each balance sheet date.

  Level 1: The fair value of financial instruments traded in active markets is based on quoted market prices at the end of the reporting period. The
  financial instruments included in the level 1 consist mainly in public financial instruments and financial instruments negotiated on active markets (i.e.
  Stock Exchanges).

  Level 2: The fair value of financial instruments that are not traded in active markets is determined using valuation techniques, which maximize the use
  of observable market data and rely as little as possible on

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  entity-specific estimates. If all significant inputs required to fair value as instrument are directly or indirectly observable, the instrument is included in
  level 2. The financial instruments classified as level 2 are composed mainly from private financial instruments and financial instruments negotiated in a
  secondary market.

  Level 3: If one or more of the significant inputs is unobservable, the instrument is included in level 3. This is the case for unlisted equity securities. As
  of September 30, 2019 and December 31, 2018, there were no financial instruments classified as level 3.

  Specific valuation techniques used to value financial instruments include:
   •    Financial assets (other than derivatives)—The fair value of securities is determined by reference to their closing prices on the date of presentation
        of the consolidated financial statements. If there is no market price, fair value is estimated based on the present value of future cash flows
        discounted using the observable rates and market rates on the date of presentation.
   •    Swap—These operations swap cash flow based on the comparison of profitability between two indexers. Thus, the agent assumes both positions—
        put in one indexer and call on another.
   •    Forward—at the market quotation value, and the installments receivable or payable are prefixed to a future date, adjusted to present value, based
        on market rates published at B3.
   •    Futures—Foreign exchange rates, prices of shares and commodities are commitments to buy or sell a financial instrument at a future date, at a
        contracted price or yield and may be settled in cash or through delivery. Daily cash settlements of price movements are made for all instruments.
   •    Options—option contracts give the purchaser the right to buy the instrument at a fixed price negotiated at a future date. Those who acquire the
        right must pay a premium to the seller. This premium is not the price of the instrument, but only an amount paid to have the option (possibility) to
        buy or sell the instrument at a future date for a previously agreed price.
   •    Other financial assets and liabilities—Fair value, which is determined for disclosure purposes, is calculated based on the present value of the
        principal and future cash flows, discounted using the observable rates and market rates on the date the financial statements are presented.

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  Below are the Group financial assets and liabilities by level within the fair value hierarchy. The Group assessment of the significance of a particular
  input to the fair value measurement requires judgment and may affect the valuation of fair value assets and liabilities and their placement within the fair
  value hierarchy levels:

                                                                                                                   September 30, 2019
                                                                                                Level 1         Level 2       Fair Value        Book Value
  Financial Assets
  Financial assets at Fair value through profit or loss
  Securities                                                                                   14,633,112       1,524,499       16,157,611       16,157,611
  Derivative financial instruments                                                                  4,439       5,594,671        5,599,110        5,599,110
  Fair value through other comprehensive income
  Securities                                                                                      782,441             —            782,441          782,441
  Evaluated at amortized cost
  Securities                                                                                              —           —            550,314          555,520
  Securities purchased under agreements to resell                                                         —           —         13,503,696       13,452,984
  Securities trading and intermediation                                                                   —           —            807,023          807,023
  Accounts receivable                                                                                     —           —            253,015          253,015
  Other financial assets                                                                                  —           —             24,672           24,672
  Financial liabilities
  Fair value through profit or loss
  Securities loaned                                                                               359,835             —            359,835           359,835
  Derivative financial instruments                                                                    —         5,306,949        5,306,949         5,306,949
  Evaluated at amortized cost
  Securities sold under repurchase agreements                                                             —           —         19,631,344       19,618,056
  Securities trading and intermediation                                                                   —           —          7,202,285        7,202,285
  Borrowings and lease liabilities                                                                        —           —            645,869          646,140
  Debentures                                                                                              —           —            836,001          835,822
  Accounts payables                                                                                       —           —            206,300          206,300
  Other financial liabilities                                                                             —           —              5,617            5,617

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                                                                                                                       December 31, 2018
                                                                                                     Level 1        Level 2       Fair Value      Book Value
  Financial Assets
  Financial assets at Fair value through profit or loss
  Securities                                                                                        5,259,591      1,031,380       6,290,971       6,290,971
  Derivative financial instruments                                                                      6,599      1,685,432       1,692,031       1,692,031
  Fair value through other comprehensive income
  Securities                                                                                          695,778             —          695,778         695,778
  Evaluated at amortized cost
  Securities                                                                                               —              —          153,709         155,292
  Securities purchased under agreements to resell                                                          —              —        6,568,246       6,570,609
  Securities trading and intermediation                                                                    —              —          898,312         898,312
  Accounts receivable                                                                                      —              —          219,200         219,200
  Other financial assets                                                                                   —              —           60,423          60,423
  Financial liabilities
  Fair value through profit or loss
  Securities loaned                                                                                 1,259,579            —         1,259,579       1,259,579
  Derivative financial instruments                                                                        —          991,399         991,399         991,399
  Evaluated at amortized cost
  Securities sold under repurchase agreements                                                              —              —        6,792,316       6,640,694
  Securities trading and intermediation                                                                    —              —        5,306,628       5,306,628
  Borrowings                                                                                               —              —          459,487         469,609
  Debentures                                                                                               —              —          406,540         406,538
  Accounts payables                                                                                        —              —          134,579         134,579
  Other financial liabilities                                                                              —              —            7,011           7,011


  22. Management of financial risks and financial instruments
  The Group’s activities are exposed to a variety of financial risks: credit risk, liquidity risk, market risk (including currency risk, interest rate risk and
  price risk), and operating risk. The Group’s overall risk management structure focuses on the unpredictability of financial markets and seeks to minimize
  potential adverse effects on the Group’s financial performance. The Group uses derivative financial instruments to mitigate certain risk exposures. It is
  the Group’s policy that no trading in derivatives for speculative purposes may be undertaken.

  Management has overall responsibility for establishing and supervising the risk management structure of the Group. Risk Management is under a
  separated structure from business areas, reporting directly to senior management, to ensure exemption of conflict of interest, and segregation of
  functions appropriate to good corporate governance and market practices.

  The risk management policies of the Group are established to identify and analyze the risks faced, to set appropriate risk limits and controls, and to
  monitor risks and adherence to the limits. Risk management policies and systems are reviewed regularly to reflect changes in market conditions and in
  the activities of the Group. The Group, through its training and management standards and procedures, developed a disciplined and constructive control
  environment within which all its employees are aware of their duties and obligations.

  Regarding one specific subsidiary XP CCTVM, the organizational structure is based on the recommendations proposed by the Basel Accord, in which
  procedures, policies and methodology are formalized consistent with

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  risk tolerance and with the business strategy and the various risks inherent to the operations and/or processes, including market, liquidity, credit and
  operating risks. The Group seek to follow the same risk management practices as those applying to all companies.

  Such risk management processes are also related to going concern management procedures, mainly in terms of formulating impact analyses, business
  continuity plans, contingency plans, backup plans and crisis management.

  The unaudited interim condensed consolidated financial statements do not include all financial risk management information and disclosures required in
  the annual financial statements; they should be read in conjunction with the Group’s annual financial statements as of December 31, 2018. There have
  been no changes in the risk management department or in any risk management policies since the year-end.


  23. Capital Management
  The Group’s objectives when managing capital are to safeguard their ability to continue as a going concern, so that they can continue to provide returns
  for shareholders and benefits for other stakeholders, and maintain an optimal capital structure to reduce the cost of capital. In order to maintain or adjust
  the capital structure, the Group may adjust the amount of dividends paid to shareholders, return capital to shareholders, issue new shares or sell assets to
  reduce debt.

  The Group also monitors capital on the basis of the net debt and the gearing ratio. Net debt is calculated as total debt (including borrowings and
  debentures as shown in the consolidated balance sheet) less cash and cash equivalent (including cash, Securities purchased under agreements to resell
  and certificate deposits as shown in the consolidated statement of cash flows). The gearing ratio corresponds to the net debt expressed as a percentage of
  total capital.

  The net debt and corresponding gearing ratios as of September 30, 2019 and December 31, 2018 were as follows:

                                                                                                     September 30,           December 31,
                                                                                                         2019                    2018
                    Borrowings and lease liabilities                                                      646,140                469,609
                    Debentures                                                                            835,822                406,538
                    Total debt                                                                          1,481,962                876,147
                    Cash                                                                                  (70,483)               (68,407)
                    Securities purchased under agreements to resell                                      (684,964)              (488,809)
                    Certificate deposits (Securities)                                                     (90,530)               (69,647)
                    Net debt                                                                              635,985                249,284
                    Total equity                                                                        2,778,281              2,084,777
                    Total capital                                                                       3,414,266              2,334,061
                    Gearing ratio %                                                                         18.63%                 10.68%

  Both net debt and gross assets increased following the recognition of right-of-use assets and lease liabilities on January 1, 2019. No changes were made
  in the objectives, policies or processes for managing capital during the nine months period ended September 30, 2019.


  a) Minimum capital requirements
  Although capital is managed considering the consolidated position, certain subsidiaries are subject to minimum capital requirement from local
  regulators.

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  The subsidiary XP CCTVM, under the regulation of BACEN, is required to maintain a minimum capital and follow aspects from the Basel Accord, with
  the current strategy of maintaining its capital 1% above the minimum capital requirement.

  The subsidiary XP Vida e Previdência operates in Private Pension Business and is overseen by the SUSEP, being required to present Adjusted
  Shareholders’ Equity (PLA) equal to or greater than the Minimum Required Capital (“CMR”) and Venture Capital Liquidity (“CR”). CMR is equivalent
  to the highest value between base capital and venture capital.

  There is no requirement for compliance with a minimum capital for the other Group companies.


  b) Financial covenants
  In relation to the long-term debt contracts, including multilateral instruments, recorded within “Borrowing and lease liabilities” and “Debentures” (Notes
  9 and 10), the Group is required to comply with certain performance conditions, such as profitability and efficiency indexes.

  As of September 30, 2019, the amount of contracts under financial covenants is R$ 1,235,061 (December 31, 2018—R$ 876,147). The Group has
  complied with these covenants throughout the reporting period.

  Eventual failure of the Group to comply with such covenants may be considered as breach of contract and, as a result, considered for early settlement of
  related obligations.


  24. Cash flow information
  a) Debt reconciliation

                                                                                                                        Lease
                                                                                                       Borrowings     liabilities   Debentures    Total
  Total debt as of January 1, 2018                                                                        867,024           —             —       867,024
      Proceeds                                                                                            325,370           —             —       325,370
      Payments                                                                                           (842,338)          —             —      (842,338)
      Net foreign exchange differences (i)                                                                148,177           —             —       148,177
      Interest accrued                                                                                     47,370           —             —        47,370
      Interest paid                                                                                       (44,906)          —             —       (44,906)
  Total debt as of September 30, 2018                                                                     500,697           —             —       500,697

  Total debt as of December 31, 2018                                                                     469,609          —          406,538       876,147
      New accounting policy (Note 2 (d.1))                                                                   —        148,494            —         148,494
  Total debt as of January 1, 2019                                                                       469,609      148,494        406,538     1,024,641
      Proceeds                                                                                               —            —          400,000       400,000
      Acquisition                                                                                            —        105,694            —         105,694
      Payments                                                                                           (74,853)     (26,194)           —        (101,047)
      Net foreign exchange differences                                                                       —          6,460            —           6,460
      Interest accrued                                                                                    20,869       12,447         29,284        62,600
      Interest paid                                                                                      (16,386)         —              —         (16,386)
  Total debt as of September 30, 2019                                                                    399,239      246,901        835,822     1,481,962

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  (i)   Certain borrowings denominated at foreing currencies were covered by Swap contracts that resulted in net gain of R$ 135,815 and a total interest
        expense on debt of R$ 59,732.


  25. Subsequent events
  Banking activities
  On December 19, 2018, the BACEN approved the constitution of Banco XP S.A. At the Extraordinary Shareholders’ Meeting held on January 30, 2019,
  Banco XP was constituted as a financial entity that will be controlled by XP CCTVM. On October 10, 2019, BACEN provided Banco XP its license to
  be operational.


  Dividend distributions
  On October 16, 2019, the controlling shareholders declared and distributed a dividend payment of R$ 60,000.

  On November 1, 2019, the controlling shareholders declared a dividend payment of R$ 440,000 to be distributed whithin the legal deadline.

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                                               Report of Independent Registered Public Accounting Firm

  To the Board of Directors and Shareholders
  Opinion on the Financial Statements
  We have audited the accompanying consolidated balance sheets of XP Investimentos S.A. and its subsidiaries (the “Company”) as of December 31,
  2018 and 2017, and the related consolidated statements of income and of comprehensive income, of changes in equity and of cash flows for each of the
  three years in the period ended December 31, 2018, including the related notes (collectively referred to as the “consolidated financial statements”). In
  our opinion, the consolidated financial statements present fairly, in all material respects, the financial position of the Company as of December 31, 2018
  and 2017, and the results of its operations and its cash flows for each of the three years in the period ended December 31, 2018 in conformity with
  International Financial Reporting Standards as issued by the International Accounting Standards Board.


  Restatement of Previously Issued Financial Statements
  As discussed in Note 3.xx to the consolidated financial statements, the Company has restated its 2018 and 2016 financial statements to correct an error.


  Basis for Opinion
  These consolidated financial statements are the responsibility of the Company’s management. Our responsibility is to express an opinion on the
  Company’s consolidated financial statements based on our audits. We are a public accounting firm registered with the Public Company Accounting
  Oversight Board (United States) (PCAOB) and are required to be independent with respect to the Company in accordance with the U.S. federal
  securities laws and the applicable rules and regulations of the Securities and Exchange Commission and the PCAOB.

  We conducted our audits of these consolidated financial statements in accordance with the standards of the PCAOB. Those standards require that we
  plan and perform the audit to obtain reasonable assurance about whether the consolidated financial statements are free of material misstatement, whether
  due to error or fraud.

  Our audits included performing procedures to assess the risks of material misstatement of the consolidated financial statements, whether due to error or
  fraud, and performing procedures that respond to those risks. Such procedures included examining, on a test basis, evidence regarding the amounts and
  disclosures in the consolidated financial statements. Our audits also included evaluating the accounting principles used and significant estimates made
  by management, as well as evaluating the overall presentation of the consolidated financial statements. We believe that our audits provide a reasonable
  basis for our opinion.

  /s/ PricewaterhouseCoopers Auditores Independentes
  São Paulo, Brazil
  October 17, 2019

  We have served as the Company’s auditor since 2019.

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  XP Investimentos S.A. and its subsidiaries
  Consolidated balance sheets at December 31
  In thousands of Brazilian Reais

                                                                                            Note     2018        2017
      Cash                                                                                             68,407     153,218
      Financial assets                                                                             16,582,616   6,103,599
            Fair value through profit or loss                                                       7,983,002   4,339,140
                 Securities                                                                   7     6,290,971   3,779,664
                 Derivative financial instruments                                             8     1,692,031     559,476
            Fair value through other comprehensive income                                             695,778         —
                 Securities                                                                   7       695,778         —
            Evaluated at amortized cost                                                             7,903,836   1,764,459
                 Securities                                                                   7       155,292         —
                 Securities purchased under agreements to resell                              6     6,570,609     934,979
                 Securities trading and intermediation                                       18       898,312     671,842
                 Accounts receivable                                                         10       219,200     129,828
                 Other financial assets                                                      11        60,423      27,810
      Other assets                                                                                    316,777     122,524
            Recoverable taxes                                                                12       183,350      42,045
            Prepaid expenses                                                                 13        96,723      65,343
            Other                                                                                      36,704      15,136
      Deferred tax assets                                                                    22       152,425     226,479
      Property and equipment                                                                 14        99,127      47,073
      Intangible assets                                                                      14       504,915     483,207
  Total assets                                                                                     17,724,267   7,136,100

  The accompanying notes are an integral part of these consolidated financial statements.

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  XP Investimentos S.A. and its subsidiaries
  Consolidated balance sheets at December 31
  In thousands of Brazilian Reais

                                                                                            Note     2018        2017
      Financial liabilities                                                                        15,216,037   5,605,537
            Fair value through profit or loss                                                       2,250,978   1,037,026
                  Securities loaned                                                           7     1,259,579     712,666
                  Derivative financial instruments                                            8       991,399     324,360
            Evaluated at amortized cost                                                            12,965,059   4,568,511
                  Securities sold under repurchase agreements                                15     6,640,694     514,018
                  Securities trading and intermediation                                      18     5,306,628   3,110,537
                  Borrowings                                                                 16       469,609     867,024
                  Debentures                                                                 17       406,538         —
                  Accounts payables                                                                   134,579      71,579
                  Other financial liabilities                                                           7,011       5,353
      Other liabilities                                                                               404,493     372,030
            Social and statutory obligations                                                 19       251,690     295,437
            Taxes and social security obligations                                            20       103,121      60,853
            Provisions and contingent liabilities                                            25        17,474      11,843
            Other                                                                            21        32,208       3,897
      Deferred tax liabilities                                                               22        12,025       6,811
  Total liabilities                                                                                15,632,555   5,984,378
      Equity attributable to owners of the Parent company                                    23     2,084,777   1,143,799
            Share capital                                                                             927,916     254,622
            Capital reserves                                                                          536,015     535,490
            Revenue reserves                                                                          411,681     150,241
            Carrying value adjustments                                                                209,165     203,446
      Non-controlling interest                                                                          6,935       7,923
  Total equity                                                                                      2,091,712   1,151,722
  Total liabilities and equity                                                                     17,724,267   7,136,100

  The accompanying notes are an integral part of these consolidated financial statements.

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  XP Investimentos S.A. and its subsidiaries
  Consolidated statements of income and of comprehensive income for the years ended
  December 31
  In thousands of Brazilian Reais, except earnings per share

                                                                                                       Note        2018          2017          2016
  Net revenue from services rendered                                                                    26(a)    2,054,549     1,283,616      689,877
  Net income from financial instruments at amortized cost and at fair value through other
     comprehensive income                                                                               26(b)      114,442        79,380       43,336
  Net income from financial instruments at fair value through profit or loss                            26(b)      789,462       543,654      518,594
  Total revenue and income                                                                                       2,958,453     1,906,650    1,251,807
  Operating costs                                                                                       27        (941,246)     (579,880)    (376,088)
  Selling expenses                                                                                      28         (96,075)      (32,881)     (24,484)
  Administrative expenses                                                                               28      (1,176,805)     (649,585)    (470,853)
  Other operating expenses, net                                                                         29         (31,289)       (7,704)      (6,466)
  Interest expense on debt                                                                                         (72,310)      (61,093)         —
  Income before income tax                                                                                         640,728       575,507      373,916
  Income tax expense                                                                                    22        (175,398)     (151,966)    (130,151)
  Net income for the year                                                                                          465,330       423,541      243,765

  Other comprehensive income
  Items that can be subsequently reclassified to income
      Foreign exchange variation of investees located abroad                                             9          18,645         2,034       (4,433)
      Gains (losses) on net investment hedge                                                             9         (17,495)       (2,386)       5,291
      Changes in the fair value of financial assets at fair value through other comprehensive income                 4,160           210         (159)
           Other comprehensive income (loss) for the year, net of tax                                                5,310          (142)         699
  Total comprehensive income for the year                                                                          470,640       423,399      244,464

  Net income attributable to:
       Owners of the Parent company                                                                                461,440       413,874      188,675
       Non-controlling interest                                                                                      3,890         9,667       55,090
  Total comprehensive income attributable to:
      Owners of the Parent company                                                                                 466,750       413,732      189,832
      Non-controlling interest                                                                                       3,890         9,667       54,632
      Basic and diluted earnings per common share—R$ (*) (restated for 2018 and 2016 note 3.xx)         30          0.2339        0.2134       0.1360

  (*)   The basic and diluted earnings per common share are in effect with the share split occurred on March 3, 2017 to allow comparability between
        years.

  The accompanying notes are an integral part of these consolidated financial statements.

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  XP Investimentos S.A. and its subsidiaries
  Consolidated statements of changes in equity
  In thousands of Brazilian Reais

                                                                                    Attributable to owners of the Parent company
                                                                                                                Carrying                                Non-
                                                                  Share     Capital     Legal    Statutory        value      Retained                controlling     Total
                                                      Note        capital   reserve reserve       reserve     adjustments    earnings    Total         interest     equity
  Balance at January 1, 2016                                       85,810   168,018     6,564        691        134,555          —       395,638       220,746      616,384
  Comprehensive income for the year
       Net income for the year                                        —         —         —          —               —       188,675     188,675         55,090     243,765
       Other comprehensive income, net                                —         —         —          —             1,157         —         1,157           (458)        699
  Transactions with shareholders—contributions
    and distributions                                                                                                                                                   —
       Capital contributions                           23          70,383       —         —          —               —           —        70,383            —        70,383
       Corporate reorganization                         5 (iii)    98,429   367,472       —          —            67,971         —       533,872       (263,435)    270,437
       Subscriptions (redemptions) at funds by non-
         controlling interest                            5(iv)        —         —         —          —               —           —           —           43,000       43,000
  Allocations of the net income for the year                                                                                                                             —
       Transfer to legal and statutory reserves        23             —         —       9,434     34,676            —        (44,110)         —             —            —
       Dividends distributed                           23             —         —         —          —              —       (144,565)    (144,565)       (5,296)    (149,861)
  Balances at December 31, 2016                                   254,622   535,490    15,998     35,367        203,683          —      1,045,160        49,647    1,094,807
  Comprehensive income for the year
       Net income for the year                                        —         —         —          —               —       413,874     413,874          9,667     423,541
       Other comprehensive income, net                                —         —         —          —              (142)        —          (142)           —          (142)
  Transactions with shareholders—contributions
    and distributions
       Subscriptions (redemptions) at funds by non-
         controlling interest                            5(iv)        —         —         —          —               —           —           —          (45,550)     (45,550)
       Gain (loss) in changes in interest of
         subsidiaries, net                                            —         —         —          —               (95)        —            (95)       (1,983)      (2,078)
  Allocations of the net income for the year
       Transfer to legal and statutory reserves        23             —         —      20,694    115,619            —       (136,313)         —             —            —
       Dividends distributed                           23             —         —         —      (37,437)           —       (277,561)    (314,998)       (3,858)    (318,856)
  Balances at December 31, 2017                                   254,622   535,490    36,692    113,549        203,446          —      1,143,799         7,923    1,151,722
  Comprehensive income for the year
       Net income for the year                                        —         —         —          —               —       461,440     461,440          3,890     465,330
       Other comprehensive income, net                                —         —         —          —             5,310         —         5,310            —         5,310
  Transactions with shareholders—contributions
    and distributions
  Capital contributions                                23         673,294       —         —          —               —           —       673,294            —       673,294
       Corporate reorganization                         5(iii)        —         525       —          —               —           —           525            —           525
       Gain (loss) in changes in interest of
         subsidiaries, net                                            —         —         —          —               409         —           409           (788)        (379)
  Allocations of the net income for the year
       Transfer to legal and statutory reserves        23             —         —      23,072    238,368            —       (261,440)         —             —            —
       Dividends distributed                           23             —         —         —          —              —       (200,000)    (200,000)       (4,090)    (204,090)
  Balances at December 31, 2018                                   927,916   536,015    59,764    351,917        209,165          —      2,084,777         6,935    2,091,712


  The accompanying notes are an integral part of these consolidated financial statements.

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  XP Investimentos S.A. and its subsidiaries
  Consolidated statements of cash flows for the years ended December 31
  In thousands of Brazilian Reais

                                                                                              Note        2018          2017        2016
  Operating activities
       Income before income tax                                                                           640,728      575,507     373,916
       Adjustments to reconcile income before income taxes
            Depreciation of property and equipment                                             14          24,470        9,338       7,689
            Amortization of intangible assets                                                  14          28,318       18,065      15,385
            Loss on write-off of property, equipment and intangible assets                     14          19,915        4,491       2,771
            Expected credit losses on accounts receivable and other financial assets                        8,220        4,347       9,773
            Provision for contingencies                                                        25           7,897        3,531       1,222
            Net foreign exchange differences                                                              (25,832)      36,271      (5,888)
            Interest accrued                                                                               64,330        8,134       1,178
  Changes in assets and liabilities
       Securities (assets and liabilities)                                                      7       (2,929,021)    (958,894)   (307,555)
       Derivative financial instruments (assets and liabilities)                                8         (492,024)    (209,030)    (61,239)
       Securities trading and intermediation (assets and liabilities)                                    1,969,621    1,036,957     534,014
       Securities purchased under agreements to resell                                          6       (5,635,630)     262,377    (572,566)
       Accounts receivable                                                                     10          (92,809)     (70,589)    (41,417)
       Prepaid expenses                                                                        13          (31,380)     (19,565)      1,191
       Other assets                                                                                        (58,964)      (7,917)     10,870
       Securities sold under repurchase agreements                                             15        6,126,676     (258,118)     56,231
       Accounts payable                                                                                     63,000        3,163      29,934
       Social and statutory obligations                                                        19           81,253       62,274     (15,054)
       Tax and social security obligations                                                     20            4,463       (2,459)     48,201
       Other liabilities                                                                       21           30,583       (8,901)    (13,879)
  Cash from operations                                                                                    (196,186)     488,982      74,777
       Income tax paid                                                                                    (202,443)    (219,446)    (68,458)
       Contingencies paid                                                                      25           (3,933)      (7,169)     (1,543)
       Interest paid                                                                                       (54,185)         —           —
  Net cash flows (used in) from operating activities                                                      (456,747)     262,367       4,776
  Investment activities
       Acquisition of property and equipment                                                   14         (53,517)     (20,627)     (12,459)
       Acquisition of intangible assets                                                        14         (83,149)     (30,369)     (19,176)
       Acquisition of subsidiaries, net of cash acquired                                        5 (b)     (10,413)    (404,631)         —
  Net cash flows used in investing activities                                                            (147,079)    (455,627)     (31,635)
  Financing activities
       Proceeds from borrowings                                                                 34        325,370      826,000          —
       Payments of borrowings                                                                   34       (689,634)         —            —
       Proceeds from issuance of debentures                                                     34        400,000          —            —
       Dividends paid to owners of the parent                                                  23 (c)    (325,000)    (189,998)    (174,365)
       Proceeds from capital contributions                                                      23        673,294          —         70,383
       Net subscriptions received (redemptions paid)—non-controlling interests                                —        (45,550)      43,000
       Transactions with non-controlling interests                                                            146       (2,078)      (1,640)
       Dividends paid to non-controlling interests                                                         (4,090)      (3,858)      (5,296)
       Proceeds from non-controlling interests                                                                —            —        150,000
  Net cash flows from financing activities                                                                380,086      584,516       82,082
  Net increase (decrease) in cash and cash equivalents                                                   (223,740)     391,255       55,223
       Cash and cash equivalents at the beginning of the fiscal year                                      835,493      440,128      392,073
       Effects of exchange rate changes on cash and cash equivalents                                       15,110        4,110       (7,168)
  Cash and cash equivalents at the end of the fiscal year                                                 626,863      835,493      440,128
       Cash                                                                                                68,407      153,218      14,909
       Securities purchased under agreements to resell                                                    488,809      420,958     425,219
       Interbank certificate deposits                                                                      69,647      261,317         —

  The accompanying notes are an integral part of these consolidated financial statements.

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  XP Investimentos S.A. and its subsidiaries
  Notes to consolidated financial statements
  December 31, 2018, 2017 and 2016
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  1. Operations
  XP Investimentos S.A. (“XP Investimentos”) is a private company, organized and existing under the Laws of Brazil. The registered office is located at
  Avenida Afrânio de Melo, 290, room 606 (part), Leblon, in the city of Rio de Janeiro, Brazil. The Company’s principal executive office is located in the
  city of São Paulo, Brazil.

  XP Investimentos is a holding company controlled by XP Controle Participações S.A., which holds 60.12% (2017—55.57%) of common shares and
  whose is ultimately controlled by the co-founder individuals.

  XP Investimentos and its subsidiaries (collectively, the “Company”, “Group” or “XP Group”) are principally engaged in providing its customers,
  represented by individuals and legal entities in Brazil and abroad, various financial products and services, mainly acting as broker-dealer, including
  securities brokerage, banking, private pension plans and financial advisory services, by means of its network of Independent Financial Advisers
  (“IFAs”).

  On March 3, 2017, the Company carried out a share split of 42:1 (forty two for one). As a result, the share capital previously represented by 30,953,491
  common shares and 15,229,225 preferred shares was increased to 1,300,046,622 common shares and 639,627,450 preferred shares. The share split has
  been applied retrospectively to all figures in the historical financial statements regarding the number of shares (Note 23) and per share data (Note 30) as
  if the share split had been in effect for all periods presented.

  On May 11, 2017, the Company’s shareholders entered into a share purchase agreement with Itaú Unibanco S.A. (“Itaú Unibanco”) for the sale of
  non-controlling interest in the Company, which was completed on August 31, 2018. Itaú Unibanco holds 49.90% of the total shares of Company,
  including 30.06% of the common shares.

  On August 10, 2017, the Group concluded the acquisition of the operations of Rico Corretora de Títulos e Valores Mobiliários S.A. (“Rico”), by
  acquiring whole control of its holding entity FLAFLU Participações S.A. (“FLAFLU”). Rico also operates in brokerage and securities distribution
  market to retail. See Note 5 for more information on the acquisition.

  These consolidated financial statements for the years ended December 31, 2018 were approved by the Board of Director’s meeting on October 17, 2019

  These financial statements are restated, as the Company identified errors in its earnings per share amounts for the years ended December 31, 2018 and
  2016 presented in its previously issued financial statements (see note 3 (xx))


  2. Basis of preparation of the financial statements
  (i) Basis of preparation
  The consolidated financial statements of the Group have been prepared in accordance with the International Financial Reporting Standards (“IFRS”) as
  issued by the International Accounting Standards Board (“IASB”).

  The consolidated financial statements have been prepared on a historical cost basis, except for financial instruments that have been measured at fair
  value.

  The preparation of financial statements requires the use of certain critical accounting estimates. It also requires management to exercise its judgment in
  the process of applying the Group’s accounting policies. The areas involving a higher degree of judgment or complexity, or areas where assumptions and
  estimates are significant to the financial statements, are disclosed in Note 4.

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  The consolidated financial statements are presented in Brazilian reais (“R$”), and all amounts disclosed in the financial statements and notes have been
  rounded off to the nearest thousand currency units unless otherwise stated.

  The balance sheet is presented in order of liquidity of assets and liabilities. The timing of their realisation or settlement is dependent not just on their
  liquidity, but also on management’s judgements on expected movements in market prices and other relevant aspects.


  (ii) Basis of consolidation
  The consolidated financial statements comprise the financial statements of the Company as of December 31, 2018 and 2017 and for each of the years
  ended December 31, 2018, 2017 and 2016.

  Subsidiaries are all entities (including structured entities) over which the Group has control. The Group controls an entity when the Group is exposed to,
  or has rights to, variable returns from its involvement with the entity and has the ability to affect those returns through its power to direct the activities of
  the entity. Subsidiaries are fully consolidated from the date on which control is transferred to the Group. They are deconsolidated from the date that
  control ceases.

  The acquisition method of accounting is used to account for business combinations by the Group (refer to Note 5 (a)).

  Intercompany transactions, balances and unrealised gains on transactions between Group companies are eliminated. Unrealised losses are also
  eliminated unless the transaction provides evidence of an impairment of the transferred asset. Accounting policies of subsidiaries have been changed
  where necessary to ensure consistency with the policies adopted by the Group.

  Non-controlling interests in the results and equity of subsidiaries are shown separately in the consolidated statement of income and of comprehensive
  income, statement of changes in equity and balance sheet respectively.


  (iii) Segment reporting
  In reviewing the operational performance of the Group and allocating resources, the chief operating decision maker of the Group (“CODM”), who is the
  Group’s Chief Executive Officer (“CEO”) and the Board of Directors (“BoD”), represented by statutory directors holders of ordinary shares of the
  immediate parent of the Company, reviews selected items of the statement of income and of comprehensive income.

  The CODM considers the whole Group as a single operating and reportable segment, monitoring operations, making decisions on fund allocation and
  evaluating performance based on a single operating segment. The CODM reviews relevant financial data on a combined basis for all subsidiaries.
  Dissagregated information is only reviewed at the revenue level (Note 26), with no corresponding detail at any margin or profitability levels.

  The Group’s revenue, results and assets for this one reportable segment can be determined by reference to the consolidated statement of income and of
  comprehensive income and consolidated balance sheet.

  See note 26 (c) for a breakdown of revenues and income and selected assets from external customers by country of domicile.

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  (iv) Foreign currency translation
  (i) Functional and presentation currency
  Items included in the financial statements of each of the Group’s entities are measured using the currency of the primary economic environment in
  which the entity operates (‘the functional currency’). The consolidated financial statements are presented in Brazilian Reais (“R$”), which is the Group
  functional and presentation currency.

  The functional currency for all of the Company’s subsidiaries in Brazil is also the Brazilian reais. Certain subsidiaries outside of Brazil have different
  functional currencies, including US Dollar (“USD”), Euro (“EUR”), Pound sterling (“GBP”) and Swiss Franc (“CHF”).


  (ii) Transactions and balances
  Foreign currency transactions are translated into the functional currency using the exchange rates at the dates of the transactions. Foreign exchange gains
  and losses resulting from the settlement of such transactions and from the translation of monetary assets and liabilities denominated in foreign currencies
  at year end exchange rates are generally recognised in profit or loss. They are deferred in equity if they relate to qualifying cash flow hedges and
  qualifying net investment hedges or are attributable to part of the net investment in a foreign operation.

  Foreign exchange gains and losses that relate to borrowings are presented in the statement of profit or loss, within finance costs. All other foreign
  exchange gains and losses are presented in the statement of profit or loss on a net basis within other gains/(losses).

  Non-monetary items that are measured at fair value in a foreign currency are translated using the exchange rates at the date when the fair value was
  determined. Translation differences on assets and liabilities carried at fair value are reported as part of the fair value gain or loss. For example,
  translation differences on non-monetary assets and liabilities such as equities held at fair value through profit or loss are recognised in profit or loss as
  part of the fair value gain or loss and translation differences on non-monetary assets such as equities classified as at fair value through other
  comprehensive income are recognised in other comprehensive income.


  (iii) Group companies
  The results and financial position of foreign operations (none of which has the currency of a hyperinflationary economy) that have a functional currency
  different from the presentation currency are translated into the presentation currency as follows:
   •    assets and liabilities for each balance sheet presented are translated at the closing rate at the date of that balance sheet
   •    income and expenses for each statement of profit or loss and statement of comprehensive income are translated at average exchange rates (unless
        this is not a reasonable approximation of the cumulative effect of the rates prevailing on the transaction dates, in which case income and expenses
        are translated at the dates of the transactions), and
   •    all resulting exchange differences are recognised in other comprehensive income.

  On consolidation, exchange differences arising from the translation of any net investment in foreign entities, and of borrowings and other financial
  instruments designated as hedges of such investments, are recognised in other comprehensive income. When a foreign operation is sold or any
  borrowings forming part of the net investment are repaid, the associated exchange differences are reclassified to profit or loss, as part of the gain or loss
  on sale.

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  Goodwill and fair value adjustments arising on the acquisition of a foreign operation are treated as assets and liabilities of the foreign operation and
  translated at the closing rate.


  3. Summary of significant accounting policies
  This note provides a description of the significant accounting policies adopted in the preparation of these consolidated financial statements in addition to
  other policies that have been disclosed in other notes to these consolidated financial statements. These policies have been consistently applied to all
  periods presented, unless otherwise stated.


  (i) Business combinations
  The acquisition method of accounting is used to account for all business combinations, regardless of whether equity instruments or other assets are
  acquired. The consideration transferred for the acquisition of a subsidiary comprises the:
   •    fair values of the assets transferred,
   •    liabilities incurred to the former owners of the acquired business,
   •    equity interests issued by the Group,
   •    fair value of any asset or liability resulting from a contingent consideration arrangement, and
   •    fair value of any pre-existing equity interest in the subsidiary.

  Identifiable assets acquired and liabilities and contingent liabilities assumed in a business combination are, with limited exceptions, measured initially at
  their fair values at the acquisition date. The Group recognizes any non-controlling interest in the acquired entity on an acquisition-by-acquisition basis
  either at fair value or at the non-controlling interest’s proportionate share of the acquired entity’s net identifiable assets.

  Acquisition-related costs are expensed as incurred.

  The excess of the
   •    consideration transferred,
   •    amount of any non-controlling interest in the acquired entity, and
   •    acquisition-date fair value of any previous equity interest in the acquired entity

  over the fair value of the net identifiable assets acquired is recorded as goodwill. If those amounts are less than the fair value of the net identifiable
  assets of the business acquired, the difference is recognised directly in profit or loss as a bargain purchase.

  Where settlement of any part of cash consideration is deferred, the amounts payable in the future are discounted to their present value as at the date of
  exchange. The discount rate used is the entity’s incremental borrowing rate, being the rate at which a similar borrowing could be obtained from an
  independent financier under comparable terms and conditions.

  Contingent consideration, when applicable, is classified either as equity or a financial liability. Amounts classified as a financial liability are
  subsequently remeasured to fair value with changes in fair value recognised in profit or loss.

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  If the business combination is achieved in stages, the acquisition date carrying value of the acquirer’s previously held equity interest in the acquiree is
  remeasured to fair value at the acquisition date. Any gains or losses arising from such remeasurement are recognised in profit or loss.


  (ii) Financial instruments
  A financial instrument is any contract that gives rise to a financial asset of one entity and a financial liability or equity instrument of another entity.


        1) Financial assets
        Initial recognition and measurement
        On initial recognition, financial assets are classified as instruments measured at amortized cost, fair value through other comprehensive income
        (“FVOCI”) and fair value through profit and loss (“FVPL”).
        The classification of financial assets at initial recognition is based on either (i) the Company’s business model for managing the financial assets
        and (ii) the instruments’ contractual cash flows characteristics.
        For a financial asset to be classified and measured at amortized cost or FVOCI, it needs to give rise to cash flows that are ‘Solely Payments of
        Principal and Interest’ (the “SPPI” criterion) on the principal amount outstanding. This assessment is referred to as the SPPI test and is performed
        at an instrument level.
        The Group’s business model for managing financial assets refers to how it manages its financial assets in order to generate cash flows. The
        business model considers whether the Company’s objective is to receive cash flows from holding the financial assets, from selling the assets or a
        combination of both.
        Purchases or sales of financial assets that require delivery of assets within a time frame set by regulation or market practice (regular way trades)
        are recognized on the trade date, i.e., the date that the Group commits to purchase or sell the asset.


        Classification and subsequent measurement
        (i)     Financial assets at FVPL
                Financial assets at FVPL include Securities, financial assets designated upon initial recognition at FVPL, or financial assets mandatorily
                required to be measured at fair value. This category includes securities and Derivative financial instruments, including equity instruments
                which the Group had not irrevocably elected to classify at FVOCI.
                Financial assets are classified as fair value through profit and loss if they either fail the contractual cash flow test or in the Group’s
                business model are acquired for the purpose of selling or repurchasing in the near term. Financial assets may be designated at FVPL on
                initial recognition if doing so eliminates, or significantly reduces, an accounting mismatch.
                Derivative financial instruments, including separated embedded derivatives, are also classified as Securities unless they are designated as
                effective hedging instruments. Financial assets with cash flows that do not meet the SPPI criteria are classified and measured at FVPL,
                irrespective of the business model.

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               Financial assets at FVPL are carried in the statement of financial position at fair value with net changes in fair value recognized in the
               statement of income. The net gain or loss recognized in the statement of income includes any dividend or interest earned on the financial
               asset. Financial assets measured at FVTPL consist of Securities owned and sold short.
               A derivative embedded in a hybrid contract, with a financial liability or non-financial host, is separated from the host and accounted for as
               a separate derivative if: the economic characteristics and risks are not closely related to the host; a separate instrument with the same terms
               as the embedded derivative would meet the definition of a derivative; and the hybrid contract is not measured at FVPL. Embedded
               derivatives are measured at fair value with changes in fair value recognized in profit or loss. Reassessment only occurs if there is either a
               change in the terms of the contract that significantly modifies the cash flows that would otherwise be required or a reclassification of a
               financial asset out of the FVPL category.
               A derivative embedded within a hybrid contract containing a financial asset host is not accounted for separately. The financial asset host
               together with the embedded derivative is required to be classified in its entirety as a financial asset at fair value through profit or loss.


       (ii)    Financial assets at FVOCI
               The Group measures financial assets at FVOCI if both of the following conditions are met:
                •     The financial asset is held within a business model with the objective of both holding to collect contractual cash flows and to sell.
                •     The contractual terms of the financial asset give rise on specified dates to cash flows that meet the SPPI criteria.
               For financial assets at FVOCI, interest income, foreign exchange revaluation and impairment losses or reversals are recognized in the
               statement of income and similarly to financial assets measured at amortized cost. The remaining fair value changes are recognized in OCI.
               Upon derecognition, the cumulative fair value change recognized in OCI is recycled to profit or loss.
               The Group’s financial assets at FVOCI includes certain debt instruments.
               Upon initial recognition, the Group can elect to classify irrevocably equity investments at FVOCI when they meet the definition of equity
               under IAS 32—“Financial Instruments: Presentation” and are not financial assets at FVPL. The classification is determined on an
               instrument-by-instrument basis.
               Gains and losses on these financial assets are never recycled to profit or loss. Dividends are recognized as income in the statement of
               income when the right of payment has been established, except when the Group benefits from such proceeds as a recovery of part of the
               cost of the financial asset, in which case, such gains are recorded in OCI. Equity instruments designated at FVOCI are not subject to
               impairment assessment.
               The Group has no equity instruments that have been irrevocably classified under this category.


       (iii)   Financial assets at amortized cost
               A financial asset is measures at amortized cost if both of the following conditions are met:
                •     The financial asset is held within a business model with the objective to hold the financial asset in order to collect contractual cash
                      flows.

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                •     The contractual terms of the financial asset give rise on specified dates to cash flows that meet the SPPI criteria.
               Financial assets at amortized cost are subsequently measured using the Effective Interest Rate (“EIR”) method and are subject to
               impairment. Gains and losses are recognized in profit or loss when the asset is derecognized, modified or impaired.
               The Group’s financial assets at amortized cost mainly includes ‘Securities’, ‘Securities purchased under agreements to resell’, ‘Securities
               trading and intermediation’, ‘Accounts receivable’ and ‘Other financial assets’.
               The Company reclassifies financial assets only when its business approach for managing those assets changes.


               Derecognition
               A financial asset (or, where applicable, a part of a financial asset or part of a group of similar financial assets) is primarily derecognized
               (i.e., removed from the Group’s consolidated statement of financial position) when:
                •     The contractual rights to receive cash flows from the asset have expired.
                •     The Group has transferred its contractual rights to receive cash flows from the asset or has assumed a contractual obligation to pay
                      the received cash flows in full without material delay to a third party under a “pass-through” arrangement; and either (a) the Group
                      has transferred substantially all the risks and rewards of the asset; or (b) the Group has neither transferred nor retained substantially
                      all the risks and rewards of the asset, but has transferred control of the asset.
               When the Group has transferred its contractual rights to receive cash flows from an asset or has entered into a pass-through arrangement, it
               evaluates if, and to what extent, it has retained the risks and rewards of ownership. When it has neither transferred nor retained
               substantially all the risks and rewards of the asset, nor transferred control of the asset, the Group continues to recognize the transferred
               asset to the extent of its continuing involvement. In that case, the Group also recognizes an associated liability. The transferred asset and
               the associated liability are measured on a basis that reflects the rights and obligations that the Group has retained.
               Continuing involvement that takes the form of a guarantee over the transferred asset is measured at the lower of the original carrying
               amount of the asset and the maximum amount of consideration that the Group could be required to repay.


               Impairment of financial assets
               The Group recognizes an allowance for expected credit losses (“ECLs”) for all debt instruments not held at FVPL. ECLs are based on the
               difference between the contractual cash flows due in accordance with the contract and all the cash flows that the Group expects to receive,
               discounted at an approximation of the original effective interest rate. The expected cash flows will include cash flows from the sale of
               collateral held or other credit enhancements that are integral to the contractual terms.
               ECLs are recognized in two stages. For credit exposures for which there has not been a significant increase in credit risk since initial
               recognition, ECLs are provided for credit losses that result from default events that are possible within the next 12-months (a 12-month
               ECL). For those credit

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               exposures for which there has been a significant increase in credit risk since initial recognition or those already defaulted, a loss allowance
               is required for credit losses expected over the remaining life of the exposure, irrespective of the timing of the default (a lifetime ECL).
               For accounts receivables and other contract assets, the Group applies a simplified approach in calculating ECLs. Therefore, the Group does
               not track changes in credit risk, but instead recognizes a loss allowance based on lifetime ECLs at each reporting date. The Group has
               established a provision matrix that is based on its historical credit loss experience, adjusted for forward-looking factors specific to the
               debtors and the economic environment.
               For debt instruments at FVOCI, the Group applies the low credit risk simplification. At every reporting date, the Group evaluates whether
               the debt instrument is considered to have low credit risk using all reasonable and supportable information that is available without undue
               cost or effort. In making that evaluation, the Group reassesses the internal credit rating of the debt instrument. In addition, the Group
               considers that there has been a significant increase in credit risk when contractual payments are more than 30 days past due.
               The Group considers a financial asset in default when contractual payments are 90 days past due. However, in certain cases, the Group
               may also consider a financial asset to be in default when internal or external information indicates that the Group is unlikely to receive the
               outstanding contractual amounts in full before taking into account any credit enhancements held by the Group. A financial asset is written
               off when there is no reasonable expectation of recovering the contractual cash flows.


       2) Financial liabilities
       Initial recognition and measurement
       Financial liabilities are classified, at initial recognition, as financial liabilities at FVPL, amortized cost or as Derivative financial instruments
       designated as hedging instruments in an effective hedge, as appropriate.
       All financial liabilities are recognized initially at fair value and, in the case of amortized cost, net of directly attributable transaction costs.
       The Group’s financial liabilities include ‘Securities loaned’, ‘Derivative financial instruments’, ‘Securities purchased under agreements to resell’,
       ‘Securities trading and intermediation’, long-term debts such as ‘Borrowings’ and ‘Debentures’, ‘Accounts payables’ and ‘Other financial
       liabilities’.


       Classification and subsequent measurement
       (i)     Financial liabilities at FVPL
               Financial liabilities at FVPL include securities loaned and derivatives financial instruments designated upon initial recognition as at FVPL.
               Financial liabilities are classified as securities loaned if they are incurred for the purpose of repurchasing in the near term. This category
               also includes derivative financial instruments entered by the Group that are not designated as hedging instruments in hedge relationships as
               defined by IFRS 9. Separated embedded derivatives are also classified as fair value through PL unless they are designated as effective
               hedging instruments.
               Gains or losses on liabilities at fair value through PL are recognized in the statement of income.

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               Financial liabilities designated upon initial recognition at FVPL are designated at the initial date of recognition, and only if the criteria in
               IFRS 9 are satisfied. Securities loaned and derivative financial instruments are classified as fair value through PL and recognized at fair
               value.


       (ii)    Amortized cost
               After initial recognition, these financial liabilities are subsequently measured at amortized cost using the EIR method. Gains and losses are
               recognized in profit or loss when the liabilities are derecognized as well as through the EIR amortization process.
               Amortized cost is calculated by considering any discount or premium on acquisition and fees or costs that are an integral part of the EIR.
               The EIR amortization is included as finance costs in the statement of income.
               This category generally applies to Securities sold under repurchase agreements, Securities trading and intermediation, ‘Borrowings’,
               ‘Debentures’, ‘Accounts payables’ and ‘Other financial liabilities’.


       Derecognition
       A financial liability is derecognized when the obligation under the liability is discharged or cancelled or expires. When an existing financial
       liability is replaced by another from the same lender on substantially different terms, or the terms of an existing liability are substantially
       modified, such an exchange or modification is treated as the derecognition of the original liability and the recognition of a new liability. The
       difference in the respective carrying amounts is recognized in the statement of income.


       3) Fair value of financial instruments
       The fair value of financial instruments actively traded in organized financial markets is determined based on purchase prices quoted in the market
       at the close of business at the reporting date, without deducting transaction costs.
       The fair value of financial instruments for which there is no active market is determined by using measurement techniques. These techniques may
       include the use of recent market transactions (on an arm’s length basis); reference to the current fair value of another similar instrument; analysis
       of discounted cash flows or other measurement models. See Note 31.


       4) Offsetting of financial instruments
       Financial assets and financial liabilities are offset and the net amount is reported in the consolidated balance sheets if, and only if, there is a
       currently enforceable legal right to offset the recognized amounts and there is an intention to settle on a net basis, to realize the assets and settle
       the liabilities simultaneously.


       5) Derivative financial instruments and hedging activities
       Derivative financial instruments are financial contracts, the value of which is derived from the value of the underlying assets, interest rates,
       indexes or currency exchange rates.
       The Company uses derivative financial instruments to manage foreign exchange risk on pending security settlements in foreign currencies. The
       fair value of these contracts is nominal due to their short term to

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        maturity. The method of recognizing the resulting gain or loss depends on whether the derivative is designated as a hedging instrument, in the case
        of adoption of hedge accounting and, if so, the nature of the item being hedged. The Group adopts only net investment hedge to hedge a net
        investment in a foreign operation.
        In the case of the Derivative was not designated as a hedging instrument the initial recognition is at fair value on the date on which a derivative
        contract is entered and are subsequently remeasured at fair value. Derivatives are carried as financial assets when the fair value is positive and as
        financial liabilities when the fair value is negative. Realized and unrealized gains and losses related to these contracts are recognized in the
        consolidated statements of income during the reporting period.
        The Company trades in futures contracts, which are agreements to buy or sell standardized amounts of a financial instrument at a predetermined
        future date and price, in accordance with terms specified by a regulated futures exchange, and subject to daily cash margining. The Company
        trades in futures in an attempt to mitigate interest rate risk, yield curve risk and liquidity risk.
        The Company also trades in forward contracts, which are non-standardized contracts to buy or sell a financial instrument at a specified price on a
        future date. The Company trades in forward contracts in an attempt to mitigate foreign exchange risk on pending security settlements in foreign
        currencies.


               a) Net investment hedge
        Any gain or loss on the hedging instrument relating to the effective portion of the hedge is recognized in Other comprehensive income within
        Gains (losses) on net investment hedge. The gain or loss relating to the ineffective portion is recognized immediately in the Statement of income
        within income from financial instruments.
        Gains and losses accumulated in equity are included in the statement of income when the foreign operation is partially or fully disposed of or sold.


               b) Hedge ineffectiveness
        Hedge effectiveness is determined at the inception of the hedge relationship, and through periodic prospective effectiveness assessments to ensure
        that an economic relationship exists between the hedged item and hedging instrument.
        To evaluate the effectiveness and to measure the ineffectiveness of such strategies, The Group uses the Dollar Offset Method. The Dollar Offset
        Method is a quantitative method that consists of comparing the change in fair value or cash flows of the hedging instrument with the change in fair
        value or cash flows of the hedged item attributable to the hedged risk.


  (iii) Cash and cash equivalents
  Cash is not subject to a significant risk of change in value, and are held for the purpose of meeting short-term cash commitments and not for investments
  or other purposes. Transactions are considered short-term when they have maturities in three months or less from the date of acquisition. For purposes of
  consolidated statement of cash flows, cash equivalents refers to collateral held securities purchased under agreements to resell and bank deposit
  certificates measured at fair value through profit an loss that are readily convertible into a known cash amount and for which are no subject to a
  significant risk of change in value.

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  (iv) Securities purchased under agreements to resell and obligations related to securities sold under repurchase agreements
  The Group has purchased securities with resale agreement (resale agreements), and sold securities with repurchase agreement (repurchase agreement) of
  financial assets. Resale and repurchase agreements are accounted for under Securities purchased under agreements to resell and Securities sold under
  repurchase agreements, respectively. The difference between the sale and repurchase prices is treated as interest and recognized over the life of the
  agreements using the effective interest rate method. The financial assets accepted as collateral in our resale agreements can be used by us, if provided for
  in the agreements, as collateral for our repurchase agreements or can be sold.


  (v) Securities trading and intermediation (receivable and payable)
  Refers to transactions at B3 S.A.—Brasil, Bolsa, Balcão (“B3”) on behalf of and on account of third parties. Brokerages on these transactions are
  classified as revenues and service provision expenses are recognized at the time of the transactions. These balances are offset and the net amount shown
  in the balance sheet when, and only when, there is a legal and enforceable right to offset and the intention to liquidate them on a net basis, or to realize
  the assets and settle the liabilities simultaneously.
  Amounts due from and to customers represent receivables for securities sold and payables for securities purchased that have been contracted for but not
  yet settled or delivered on the balance sheet date respectively. The due from customers balance is held for collection. These amounts are subdivided into
  the following items:
   •    Cash and settlement records—Represented by the registration of transactions carried out on the stock exchanges on its own behalf and for
        customers; and
   •    Debtors/Creditors pending settlement account—debtor or creditor balances of customers, in connection with transactions with fixed income
        securities, shares, commodities and financial assets, pending settlement as of the statement of reporting date. Sales transactions are offset and in
        the event the final amount is a credit, it will be recorded in liabilities, on the other hand if this amount is debt, it will be recorded in assets,
        provided that the offset balances refer to the same counterparty.
  These amounts are recognised initially at fair value and subsequently measured at amortised cost. At each reporting date, the Group shall measure the
  loss allowance on amounts due from customer at an amount equal to the lifetime expected credit losses if the credit risk has increased significantly since
  initial recognition. If, at the reporting date, the credit risk has not increased significantly since initial recognition, the Group shall measure the loss
  allowance at an amount equal to 12-month expected credit losses. Significant financial difficulties of the customer, probability that the customer will
  enter bankruptcy or financial reorganisation, and default in payments are all considered indicators that a loss allowance may be required. If the credit
  risk increases to the point that it is considered to be credit impaired, interest income will be calculated based on the gross carrying amount adjusted for
  the loss allowance. A significant increase in credit risk is defined by management as any contractual payment which is more than 30 days past due.
  Any contractual payment which is more than 90 days past due is considered credit impaired. The estimated credit losses for brokerage clients and related
  activity was immaterial for all periods presented.


  (vi) Prepaid expenses
  Prepaid expenses are recognized as an asset in the balance sheet. These expenditures includes incentives to IFAs, prepaid software licenses, certain
  professional services and insurance premiums.

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  (vii) Property and equipment
  All property and equipment are stated at historical cost less accumulated depreciation and impairment. Historical cost includes expenditures that are
  directly attributable to the acquisition of the items and, if applicable, net of tax credits. Subsequent costs are included in the asset’s carrying amount or
  recognized as a separate asset, as appropriate, only when it is probable that future economic benefits associated with the item will flow to the Group and
  the cost of the item is material and can be measured reliably. All other repairs and maintenance expenditures are charged to profit or loss during the
  period in which they are incurred. Depreciation is calculated on a straight-line basis over the estimated useful lives of the assets, as follows:

                                                                                                                       Annual Rate (%)
                             Data Processing Systems                                                                               20%
                             Furniture and equipment                                                                               10%
                             Security systems                                                                                      10%
                             Facilities                                                                                            10%

  Assets’ residual values, useful lives and methods of depreciation are reviewed at each reporting date and adjusted prospectively, if appropriate. An
  asset’s carrying amount is written down immediately to its recoverable amount, which is the higher of its fair value less costs of disposal and its value in
  use, if the asset’s carrying amount is greater than its estimated recoverable amount. Gains and losses on disposals or derecognition are determined by
  comparing the disposal proceeds (if any) with the carrying amount and are recognized in profit or loss.


  (viii) Intangible assets
        i) Goodwill
        Goodwill arises on the acquisition of subsidiaries and represents the excess of (i) the consideration transferred; (ii) the amount of any
        non-controlling interest in the acquiree; and (iii) the acquisition-date fair value of any previous equity interest in the acquiree over the fair value of
        the identifiable net assets acquired. If the total of the consideration transferred, non-controlling interest recognized and previously held interest
        measured at fair value is less than the fair value of the net assets of the subsidiary acquired, in the case of a bargain purchase, the difference is
        recognized directly in the statement of income.
        Goodwill impairment reviews are undertaken annually or more frequently if events or changes in circumstances indicate a potential impairment.


        ii) Software and development costs
        Certain direct development costs associated with internally developed software and software enhancements of the Group’s technology platform is
        capitalized. Capitalized costs, which occur post determination by management of technical feasibility, include external services and internal
        payroll costs. These costs are recorded as intangible assets when development is complete and the asset is ready for use, and are amortized on a
        straight-line basis, generally over a period of five years. Research and pre-feasibility development costs, as well as maintenance and training costs,
        are expensed as incurred. In certain circumstances, management may determine that previously developed software and its related expense no
        longer meets management’s definition of feasible, which could then result in the impairment of such asset.

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        iii) Other intangible assets
        Separately acquired intangible assets are measured at cost on initial recognition. The cost of intangible assets acquired in a business combination
        corresponds to their fair value at the acquisition date. After initial recognition, intangible assets are stated at cost, less any accumulated
        amortization and accumulated impairment losses. Internally generated intangible assets other than (i) above, are not capitalized and the related
        expenditure is reflected in profit or loss in the period in which the expenditure is incurred.

  The useful life of intangible assets is assessed as finite or indefinite. As of December 31, 2018, 2017 and 2016, the Group does not hold indefinite life
  intangible assets, except for goodwill.

  Intangible assets with finite useful lives are amortized over their estimated useful lives and tested for impairment whenever there is an indication that
  their carrying amount may be not be recovered. The period and method of amortization for intangible assets with finite lives are reviewed at least at the
  end of each fiscal year or when there are indicators of impairment. Changes in estimated useful lives or expected consumption of future economic
  benefits embodied in the assets are considered to modify the amortization period or method, as appropriate, and treated as changes in accounting
  estimates.

  The amortization of intangible assets with definite lives is recognized in profit or loss in the expense category consistent with the use of intangible
  assets. The useful lives of the intangible assets are shown below:

                                                                                                                           Estimate
                                                                                                                       useful life (years)
                           Software                                                                                                 3-5
                           Internally developed intangible                                                                          3-7
                           Customer list                                                                                            2-8
                           Trademarks                                                                                             10-20

  Gains and losses resulting from the disposal or derecognition of intangible assets are measured as the difference between the net disposal proceeds (if
  any) and their carrying amount and are recognized in profit or loss.


  (ix) Impairment of non-financial assets
  Assets that have an indefinite useful life, for example goodwill, are not subject to amortization and are tested annually for impairment. Goodwill
  impairment reviews are undertaken annually or more frequently if events or changes in circumstances indicate a potential impairment. Assets that are
  subject to depreciation or amortization are reviewed for impairment whenever events or changes in circumstances indicate that the carrying amount may
  not be recoverable. An impairment loss is recognized when the asset’s carrying amount exceeds its recoverable amount. The recoverable amount is the
  higher of an asset’s fair value less costs to sell and its value in use.

  For the purposes of assessing impairment, assets are grouped at the lowest levels for which there are separately identifiable cash flows (Cash-generating
  units (CGU’s)). For the purpose of impairment testing, goodwill acquired in a business combination is allocated to each of the CGUs (or groups of
  CGUs) that is expected to benefit from the synergies of the combination, which are identified at the operating segment level.

  Non-financial assets other than goodwill that were adjusted due to impairment are subsequently reviewed for possible reversal of the impairment at the
  balance sheet date. The impairment of goodwill recognized in the statement of income is not reversed.

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  (x) Taxes
       i) Current income and social contribution taxes
       Each of Group’s entities pay Federal Income Tax (IRPJ) and Social Contribution on Net Income (CSLL) under one of two different methods:
         •     APM—Actual Profit Method, where the taxpayer calculates both taxes based on its actual taxable income, after computing all income,
               gains and tax-deductible expenses, including net operating losses of prior years. Taxes calculated under the APM method are due quarterly
               or annually depending on entity’s adoption through the first collection document of each calendar year. APM annual method requires
               taxpayers to make monthly prepayments of IRPJ and CSLL during the calendar-year.
         •     PPM—Presumed Profit Method, where taxpayer calculates IRPJ and CSLL applying a presumed profit margin over the operating
               revenues. It is important to emphasize that the profit margin is defined by Brazilian Revenue Service (RFB) according to type of services
               rendered and/or goods sold. Under the PPM method, both taxes are due on a quarterly basis and no prepayment are required during the
               quarters. This method can be adopted only by entities with gross revenue up to a annually revised threshold determined by tax authorities.
       The tax rates applicable to APM or PPM are also defined according to entities’ main activity:
         •     Federal Income Tax (IRPJ)—tax rate of 15% calculated on taxable income and a surcharge of 10% calculated on the taxable income
               amount that exceeds R$ 20 per month (or R$ 240 annually).
         •     Social Contribution on Net Income (CSLL)—tax rate of 9% calculated on taxable income. However, financial institutions (i.e., XP
               CCTVM) and insurance companies (i.e., XP Vida e Previdência) are subject to a higher CSLL rate of 15%. From 2015 to 2018, this rate
               was temporarily increased to 20% by means of federal Law 12.169/2015.


       ii) Deferred income and social contribution taxes
       Deferred income tax and social contribution are recognized, using the liability method, on temporary differences between the tax bases of assets
       and liabilities and their carrying amounts in the financial statements. However, deferred taxes are not accounted for if they arise from initial
       recognition of an asset or liability in a transaction other than a business combination that at the time of the transaction affects neither accounting
       nor taxable profit or loss.
       Deferred tax assets are recognized only to the extent it is probable that future taxable profit will be available against which the temporary
       differences and/or tax losses can be utilized. In accordance with the Brazilian tax legislation, loss carryforwards can be used to offset up to 30% of
       taxable profit for the year and do not expire.
       Deferred tax is provided on temporary differences arising on investments in subsidiaries, except for a deferred tax liability where the timing of the
       reversal of the temporary difference is controlled by the Group and it is probable that the temporary difference will not reverse in the foreseeable
       future.
       Deferred tax assets and liabilities are presented net in the statement of financial position when there is a legally enforceable right and the intention
       to offset them upon the calculation of current taxes, generally when related to the same legal entity and the same jurisdiction. Accordingly,
       deferred tax assets and liabilities in different entities or in different countries are generally presented separately, and not on a net basis.

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        iii) Sales and other taxes
        Revenues, expenses and assets are recognized net of sales tax, except:
         •     When the sales taxes incurred on the purchase of goods or services are not recoverable from tax authorities, in which case the sales tax is
               recognized as part of the cost of acquiring the asset or expense item, as applicable;
         •     When the amounts receivable or payable are stated with the amount of sales taxes included.
        The net amount of sales taxes, recoverable or payable to the tax authority, is included as part of receivables or payables in the balance sheet, and
        net of corresponding revenue or cost / expense, in the statement of income.
        Sales revenues in Brazil are subject to taxes and contributions, at the following statutory rates:
         •     PIS and COFINS are contributions levied by the Brazilian Federal government on gross revenues. These amounts are invoiced to and
               collected from the Group’s customers and recognized as deductions to gross revenue (Note 26) against tax liabilities, as we are acting as
               tax withholding agents on behalf of the tax authorities. PIS and COFINS paid on certain purchases may be claimed back as tax credits to
               offset PIS and COFINS payable. These amounts are recognized as Recoverable taxes (Note 12) and are offset on a monthly basis against
               Taxes payable and presented net, as the amounts are due to the same tax authority. PIS and COFINS are contributions calculated on two
               different regimes according to Brazilian tax legislation: cumulative method and non-cumulative method.
        The non-cumulative method is mandatory to companies that calculate income tax under the Actual Profit Method (APM). The applicable rates of
        PIS and COFINS are 1.65% e 7.60%, respectively.
        Otherwise, the cumulative method should be adopted by entities under the Presumed Profit Method (PPM) and is also mandatory to Financial and
        Insurance Companies. The rate applicable to companies under PPM are PIS 0.65% and COFINS 3.00%. Financial entities (i.e., XP CCTVM) and
        Insurance companies (i.e., XP Vida e Previdência) have a different percentage of COFINS with the surcharge of 1.00%, totaling 4.00%.
         •     ISS is a tax levied by municipalities on revenues from the provision of services. ISS tax is added to amounts invoiced to the Group’s
               customers for the services the Group renders. These are recognized as deductions to gross revenue (Note 26) against tax liabilities, as the
               Group acts as agent collecting these taxes on behalf of municipal governments. The rates may vary from 2.00% to 5.00%. The ISS stated
               in the table is applicable to the city of São Paulo and Rio de Janeiro refers to the rate most commonly levied on the Group’s operations.
         •     INSS is a social security charge levied on wages paid to employees.


  (xi) Equity security loans
  Represent liabilities to return cash proceeds from security lending transactions. Securities lending transactions are used primarily to earn spread income
  which relates mainly to equity securities received with a fixed term payable, based on the fair value of the securities plus pro rata interest over the period
  of the loan. Equity securities borrowed are recognised as unrestricted assets on the statement of financial position and may be sold to third parties. The
  Equity security loans is recorded as a trading liability and measured at fair value with any gains or losses included in the income statement under Net
  fair value gains/(losses) on financial instruments and foreign exchange (Note 26 b).

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  (xii) Borrowings and debentures
  Borrowings and debentures are recognized initially at fair value, net of transaction costs incurred, and subsequently carried at amortized cost. Any
  difference between the proceeds (net of transaction costs) and the total amount payable is recognized in the statement of income over the period of the
  borrowings using the effective interest rate method.

  Borrowing and debentures costs are recognized as interest expense on debt in the period in which they are incurred. The Group does not have qualifying
  assets to which costs could be capitalized.


  (xiii) Accounts payables
  Accounts payables are obligations to pay for goods or services that have been acquired in the ordinary course of business. Accounts payables are
  recognized initially at fair value and subsequently measured at amortized cost using the effective interest rate method.


  (xiv) Provisions
  Provisions for legal claims (labor, civil and tax) are recognized when: (i) the Group has a present legal or constructive obligation as a result of past
  events; (ii) it is probable that an outflow of resources will be required to settle the obligation; and (iii) the amount can be reliably estimated. Provisions
  do not include future operating losses.

  Where there are a number of similar obligations, the likelihood that an outflow will be required in settlement is determined by considering the class of
  obligations as a whole. A provision is recognized even if the likelihood of an outflow with respect to any one item included in the same class of
  obligations may be small.

  Provisions are measured at the present value of the expenditures expected to be required to settle the obligation using a pre-tax rate that reflects current
  market assessments of the time value of money and the risks specific to the obligation. The increase in the provision due to the time elapsed is
  recognized as interest expense.


  (xv) Employee benefits
        i) Short-term obligations
        Liabilities in connection with short-term employee benefits are measured on a non-discounted basis and are expensed as the related service is
        provided.
        The liability is recognized for the expected amount to be paid under the plans of cash bonus or short-term profit sharing if the Group has a legal or
        constructive obligation of paying this amount due to past service provided by employees and the obligation may be reliably estimated.


        ii) Profit-sharing and bonus plans
        The Group recognizes a liability and an expense for bonuses and profit-sharing based on a formula that takes into consideration the profit
        attributable to the overs of the Company after certain adjustments, and distributed based on individual and collective performance, including
        qualitative and quantitative indicators.
        Employee profit-sharing terms are broader established by means of annual collective bargaining with workers’ unions. The Group recognizes a
        provision where contractually obliged or where there is a past practice that has created a constructive obligation.

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  (xvi) Share capital
  Common and preferred shares are classified in equity. Incremental costs directly attributable to the issue of new shares or options are shown in equity as
  a deduction, net of tax, from the proceeds.


  (xvii) Earnings per share
  Basic earnings per share is calculated by dividing the profit attributable to owners of the Company, excluding any costs of servicing equity other than
  ordinary and preferred shares by the weighted average number of ordinary and preferred shares outstanding during the year, adjusted for bonus elements
  in ordinary and preferred shares issued during the year and excluding treasury shares (Note 30).

  Diluted earnings per share adjusts the figures used in the determination of basic earnings per share to take into account the after income tax effect of
  interest and other financing costs associated with dilutive potential ordinary and preferred shares, and the weighted average number of additional
  ordinary and preferred shares that would have been outstanding assuming the conversion of all dilutive potential ordinary and preferred shares.


  (xviii) Revenue and income
  1) Revenue from contracts with customers
  Revenue is recognized when the Group has transferred control of the services to the customers, in an amount that reflects the consideration the Group
  expects to collect in exchange for those services.

  The Group applies the following five steps: i) identification of the contract with a customer; ii) identification of the performance obligations in the
  contract; iii) determination of the transaction price; iv) allocation of the transaction price to the performance obligations in the contract; and v)
  recognition of revenue when or as the entity satisfies a performance obligation.

  Revenue is recognized net of taxes collected from customers, which are subsequently remitted to governmental authorities.

  The Group has discretion to involve and contract a third-party providers in providing services to the customer on its behalf. The Group presents the
  revenues and associated costs to such third-party providers on a gross basis where it is deemed to be the principal and on a net basis where it is deemed
  to be the agent. Generally, the Group is deemed to be the principal in these arrangements because the Group controls the promised services before they
  are transferred to customers, and accordingly presents the revenue gross of related costs.

  The Group main types of revenues contracts are:


        i) Brokerage commission
        Brokerage commission revenue consist of revenue generated through commission-based brokerage services on each transaction carried out on i.e.
        the stock exchanges for customers, recognized at a point in time (trade date) as the performance obligation is satisfied.


        ii) Securities placement
        Securities placement revenue refers to fees and commissions earned on the placement of a wide range of securities on behalf of issuers and other
        capital raising activities, such as mergers and acquisitions, including

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       related finance advisory services. The act of placing the securities is the sole performance obligation and revenue is recognized at the point in time
       when the underlying transaction is complete under the engagement terms and it is probable that a significant revenue reversal will not occur.


       iii) Management fees
       Management fees relates substantially to (i) services as investments advisor from funds, investment clubs and wealth management; and
       (ii) distributions of quotas from investments funds managed by others. Revenue is recognized over the period of time when this performance
       obligation is delivered, and generally based on an agreed-upon fixed percentage of the net asset value of each fund on a monthly basis. A part of
       management fees are performance-based (performance fees), which are recognized for the delivery of asset management services and calculated
       based on appreciation of the net asset value of the funds, subject to certain thresholds, such as internal rates of returns or hurdle rates in
       accordance with the terms of the fund’s constitution. Performance fees, which includes variable consideration, are only recognized after an
       assessment of the facts and circumstances and when it is highly probable that significant reversal of the amount of cumulative revenue recognized
       will not occur when the uncertainty is resolved.


       iv) Insurance brokerage fee
       Refers to insurance brokerage, capitalization, pension plans and health insurance through the intermediation of the sale of insurance services.
       Revenues are recognized after the provision of brokerage services to insurers. Products that were sold through XP Corretora de Seguros are
       inspected monthly, and amounts received from commission are recognized as revenue at a point in time as the performance obligation is satisfied.


       v) Educational services
       Educational revenue relates to advising and consulting on finance, financial planning, business management and the development of courses and
       business training programs in the national territory through the development and management of courses.


       vi) Other services
       Other services refers to revenue related to finance advisory services, advertisements on the Group’s website and sponsorship on events held by the
       Group.


       2) Net income from financial instruments
       Net income from financial instruments include realized gains and losses on the sales of investments, unrealized gains and losses resulting from our
       investments measured at fair value and interest earned on both cash balances and investments in connection with our trading activities. These
       gains and losses are outside the scope of IFRS 15 but in scope of IFRS 9—Financial Instruments, and the related accounting policies are disclosed
       in Note 3 above.
  (xix) New accounting standards and new accounting standards changes and interpretations
       i) New and amended standards adopted by the Group
       The Group applied IFRS 9 (“Financial Instruments”) and IFRS 15 (“Revenue from Contracts with Customers”) for the first time. The nature and
       effect of the changes as a result of adoption of these new accounting standards are described below.

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       Several other amendments and interpretations apply for the first time in 2018, but do not have an impact on the consolidated financial statements
       of the Group. The Group has not early adopted any standards, interpretations or amendments that have been issued but are not yet effective.


       IFRS 9—Financial Instruments
       IFRS 9 replaced IAS 39 “Financial Instruments: Recognition and Measurement” for annual periods beginning on or after January 1, 2018,
       bringing together all three aspects of the accounting for financial instruments: classification and measurement; impairment; and hedge accounting.
       With the exception of hedge accounting, which the Group applied prospectively, the Group has applied IFRS 9 retrospectively, with the initial
       application date of January 1, 2018 and adjusting the comparative information for the period beginning January 1, 2017.
       The main changes identified by the Group due to the adoption of IFRS 9 are related to the classification, measurement and impairment of financial
       assets. Although the transition had material impacts on the Group’s processes and activities, including reclassifications between categories of
       financial instruments and additional disclosure aspects, the initial adoption of IFRS 9 did not have material effects related to the measurement of
       financial assets and liabilities and derivative financial instruments which could impact the opening balances at transition date, and therefore, there
       were no adjustments resulting from initial adoption, except for the changes in the classification as presented below:

                                                                                               At
                                                                                         December 31, 2017               At January 1, 2018
        IAS 39 measurement category                                                                                 IFRS 9 measurement category
                                                                                                               Amortized
                                                                                                                 cost            FVPL          FVOCI
        Financial assets at fair value through PL                                              4,339,140
        Securities                                                                             3,779,664              —        3,779,664          —
        Derivative financial instruments                                                         559,476              —          559,476          —
        Loans and Receivables                                                                  1,764,459
        Securities purchased under agreements to resell                                          934,979         934,979             —            —
        Securities trading and intermediation                                                    671,842         671,842             —            —
        Accounts receivable                                                                      129,828         129,828             —            —
        Other financial assets                                                                    27,810          27,810             —            —
        Total Financial assets                                                                 6,103,599       1,764,459       4,339,140          —
        Financial liabilities at fair value through PL                                         1,037,026
        Securities loaned                                                                        712,666              —          712,666          —
        Derivative financial instruments                                                         324,360              —          324,360          —
        Financial liabilities at amortized cost                                                4,568,511
        Securities sold under repurchase agreements                                              514,018         514,018             —            —
        Securities trading and intermediation                                                  3,110,537       3,110,537             —            —
        Borrowings                                                                               867,024         867,024             —            —
        Accounts Payable                                                                          71,579          71,579             —            —
        Other financial liabilities                                                                5,353           5,353             —            —
        Total Financial liabilities                                                            5,605,537       4,568,511       1,037,026          —

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                                                                                                At
                                                                                          December 31, 2016              At January 1, 2017
        IAS 39 measurement category                                                                                IFRS 9 measurement category
                                                                                                                Amortized
                                                                                                                  cost           FVPL        FVOCI
        Financial assets at fair value through PL                                               1,897,950
        Securities                                                                              1,417,040       1,417,040           —           —
        Derivative financial instruments                                                          480,910             —         480,910         —
        Loans and Receivables                                                                   1,814,405
        Securities purchased under agreements to resell                                         1,197,356       1,197,356           —           —
        Securities trading and intermediation                                                     551,611         551,611           —           —
        Accounts receivable                                                                        59,230          59,230           —           —
        Other financial assets                                                                      6,208           6,208           —           —
        Total financial assets                                                                  3,712,355       3,231,445       480,910         —

                                                                                                At
                                                                                          December 31, 2016              At January 1, 2017
        IAS 39 measurement category                                                                                IFRS 9 measurement category
                                                                                                                Amortized
                                                                                                                  cost           FVPL        FVOCI
        Financial liabilities at fair value through PL                                            497,276
        Securities loaned                                                                          45,576             —          45,576         —
        Derivative financial instruments                                                          451,700             —         451,700         —
        Financial liabilities at amortized cost                                                 2,473,224
        Securities sold under repurchase agreements                                               772,136         772,136           —           —
        Securities trading and intermediation                                                   1,630,978       1,630,978           —           —
        Accounts Payable                                                                           68,416          68,416           —           —
        Other financial liabilities                                                                 1,694           1,694           —           —
        Total financial assets                                                                  2,970,500       2,473,224       497,276         —


       IFRS 15—Revenue from Contracts with Customers
       IFRS 15 supersedes IAS 11 Construction Contracts, IAS 18 Revenue and related Interpretations and it applies, with limited exceptions, to all
       revenue arising from contracts with its customers. IFRS 15 establishes a five-step model to account for revenue arising from contracts with
       customers and requires that revenue be recognised at an amount that reflects the consideration to which an entity expects to be entitled in
       exchange for transferring goods or services to a customer.
       IFRS 15 requires entities to exercise judgement, taking into consideration all of the relevant facts and circumstances when applying each step of
       the model to contracts with their customers. The standard also specifies the accounting for the incremental costs of obtaining a contract and the
       costs directly related to fulfilling a contract. In addition, the standard requires extensive disclosures.
       The Group adopted IFRS 15 using the full retrospective method of adoption. There is no complexity that would impact the implementation of
       IFRS 15. The process of contract identification, performance obligations, pricing, allocation and the recognition of revenue when performance
       obligation is performed

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       remains substantially unchanged and there was no impact on the Group’s consolidated financial statements, except for the required additional
       disclosures.


       ii) New standards and interpretations not yet adopted
       Certain new accounting standards and interpretations have been published that are not yet effective for December 31, 2018 reporting periods and
       have not been early adopted by the Group. The Group’s assessment of the impact of these new standards and interpretations is set out below.


       IFRS 16—Leases
       IFRS 16 was issued in January 2016 and supersedes IAS 17—Leases, IFRIC 4—Determining whether an Arrangement contains a Lease,
       SIC-15—Operating Leases-Incentives and SIC-27—Evaluating the Substance of Transactions Involving the Legal Form of a Lease. IFRS 16
       establishes the principles for the recognition, measurement, presentation and disclosure of leases and requires lessees to account for all leases
       under a single model in the statement of financial position, similar to the recognition of finance leases under IAS 17. On the commencement date
       of the lease agreement, the lessee will recognize a lease payment liability (i.e. a lease liability) and an asset that represents the right to use the
       underlying asset during the lease term. The lessee will be required to separately recognize the interest expense on the lease liability and the
       depreciation expense on the right-of-use asset. The only exceptions are short-term and low-value leases.
       Lessees will be also required to remeasure the lease liability upon the occurrence of certain events (i.e. a change in the lease term, a change in
       future lease payments resulting from a change in an index or rate used to determine those payments). The lessee will generally recognize the
       amount of the remeasurement of the lease liability as an adjustment to the right-of-use asset.
       The Group has set up a project team which has reviewed all of the Group’s leasing arrangements over the last year in light of the new lease
       accounting rules in IFRS 16. The standard will affect primarily the accounting for the Group’s operating leases.
       The Group will apply the standard from its mandatory adoption date of January 1, 2019. The Group intends to apply the simplified transition
       approach and will not restate comparative amounts for the year prior to first adoption. Accordingly, lease liabilities will be recognized based on
       the present value of the remaining lease payments, discounted using the incremental borrowing rate at the date of initial application, and
       right-of-use assets will be measured at the amount of the lease liability on adoption (adjusted for any prepaid or accrued lease expenses).
       As of the reporting date, the Group has non-cancellable operating lease commitments of R$ 149,219. Of these commitments, approximately R$
       725 relate to short-term leases which will be recognized on a straight-line basis as expense in profit or loss. For the remaining lease commitments
       the Group expects to recognize right-of-use assets and lease liabilities of approximately R$ 148,494 on January 1, 2019.
       The Group expects that profit before tax will decrease by approximately R$ 11,475 for 2019 as a result of adopting the new standards. Operating
       cash flows will increase and financing cash flows decrease by approximately R$ 30,977 as repayment of the principal portion of the lease
       liabilities will be classified as cash flows from financing activities.


       IFRIC 23—Uncertainty over income tax treatments
       The Interpretation addresses the accounting for income taxes when tax treatments involve uncertainty that affects the application of IAS 12 and
       does not apply to taxes or levies outside the scope of IAS 12, nor does

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        it specifically include requirements relating to interest and penalties associated with uncertain tax treatments. The Interpretation specifically
        addresses the following:
         •     Whether an entity considers uncertain tax treatments separately;
         •     The assumptions an entity makes about the examination of tax treatments by taxation authorities;
         •     How an entity determines taxable profit (tax loss), tax bases, unused tax losses, unused tax credits and tax rates;
         •     How an entity considers changes in facts and circumstances.
        An entity has to determine whether to consider each uncertain tax treatment separately or together with one or more other uncertain tax treatments.
        The approach that better predicts the resolution of the uncertainty should be followed. The interpretation is effective for annual reporting periods
        beginning on or after January 1, 2019, but certain transition reliefs are available. The Group will apply the interpretation from its effective date.
        Since the Group operates in a complex multinational tax environment, applying the Interpretation may affect its consolidated financial statements.
        In addition, the Group may need to establish processes and procedures to obtain information that is necessary to apply the Interpretation on a
        timely basis.
        There are no other standards that are not yet effective and that would be expected to have a material impact on the entity in the current or future
        reporting periods and on foreseeable future transactions.


  (xx) Earnings per share
  The Company’s earnings per share amounts for the years ended December 31, 2018 and 2016 as disclosed in note 30, have been restated to correct an
  error in the weighted average number of shares used in the denominator for the years ended December 31, 2018 and 2016.

  The error has no impact in the balance sheet, statement of changes in equity, net income and statements of cash flows

  The previously issued and revised calculation related to earnings per share are presented below:

                                                                                     (As previously presented)                            (Restated)
                                                                                               2018                  Adjustment             2018
              Earnings per share in R$                                                               0.2265             0.0074             0.2339

                                                                                            (Original)                                    (Restated)
                                                                                              2016                   Adjustment             2016
              Earnings per share in R$                                                               0.0973             0.0387             0.1360


  4. Significant estimated and judgements
  The preparation of the financial statements according to accounting policies described in Note 3 requires Management to make judgments, estimates and
  assumptions that affect the application of accounting policies and the reported amounts for assets, liabilities, revenues and expenses. Actual results may
  differ from these estimates. In addition, this note also explains where there have been actual adjustments this year as a result of and error and of changes
  to previous estimates.

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  Information about uncertainties on assumptions and estimates that have a significant risk of resulting in a material adjustment in the future fiscal year is
  included as follows:


  (i) Estimation fair value of certain financial assets
  The fair value of financial instruments that are not traded in an active market is determined using valuation techniques. The Group uses its judgment to
  select a variety of methods and make assumptions that are mainly based on market conditions existing at the end of each reporting period.


  (ii) Impairment of financial assets
  The loss allowances for financial assets are based on assumptions about risk of default and expected loss rates. The Group uses judgement in making
  these assumptions and selecting the inputs to the impairment calculation, based on the Group’s past history and existing market conditions, as well as
  forward-looking estimates at the end of each reporting period.


  (iii) Recognition of deferred tax asset for carried-forward tax losses
  Deferred tax assets are recognized for all unused tax losses to the extent that sufficient taxable profit will likely be available to allow the use of such
  losses. Significant judgment from management is required to determine the amount of deferred tax assets that can be recognized, based on the likely
  timing and level of future taxable profits, together with future tax planning strategies.

  The Group has concluded that the deferred assets will be recoverable using the estimated future taxable income based on the approved business plans
  and budgets for the subsidiaries where a deferred tax asset has been recognized. The losses can be carried forward indefinitely and have no expiry date.


  (iv) Property and equipment and intangible assets useful lives
  Property and equipment and intangible assets include the use of estimates to determine the useful life for depreciation and amortization purposes. Useful
  life determination requires estimates in relation to the expected technological advances and alternative uses of assets. There is a significant element of
  judgment involved in making technological development assumptions, since the timing and nature of future technological advances are difficult to
  predict.

  As of December 31, 2018, the Group did not identified evidence that could indicate that useful lives described in Note 3 (f) should be revised.
  Therefore, the Group concluded that no additional change on the straight-line depreciation method or estimates was deemed necessary.


  (v) Impairment of non-financial assets, including goodwill
  The Group assesses, at each reporting date, whether there is an indication that an asset may be impaired. Intangible assets with indefinite useful lives
  and goodwill are tested for impairment annually at the level of the CGU, as appropriate, and when circumstances indicate that the carrying value may be
  impaired.

  Impairment exists when the carrying value of an asset or cash generating unit exceeds its recoverable amount, which is the higher of its fair value less
  costs to sell and its value in use. Technological obsolescence, suspension of certain services and other changes in circumstances that demonstrate the
  need for recording a possible impairment are also regarded in estimates.

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  (vi) Provision for contingent liabilities
  Provisions for the judicial and administrative proceedings are recorded when the risk of loss of administrative or judicial proceeding is considered
  probable and the amounts can be reliably measured, based on the nature, complexity and history of lawsuits and the opinion of legal counsel internal and
  external.

  Provisions are made when the risk of loss of judicial or administrative proceedings is assessed as probable and the amounts involved can be measured
  with sufficient accuracy, based on best available information. They are fully or partially reversed when the obligations cease to exist or are reduced.
  Given the uncertainties arising from the proceedings, it is not practicable to determine the timing of any outflow (cash disbursement).


  5. Group structure
  (i) Subsidiaries
  The following are the direct and indirect interests of Company in its subsidiaries for the purposes of these consolidated financial statements:

                                                                                                                                % of Group’s interest (i)
                                                                  Country of
  Entity name                                                   incorporation     Principal activities                   2018             2017              2016
  Directly controlled
  XP Holding Investimentos S.A. (ii)                                Brazil        Financial Holding                        —            100.00%         100.00%
  XP Controle 3 Participações S.A.                                  Brazil        Financial Holding                     100.00%         100.00%         100.00%
  XPE Infomoney Educação Assessoria Empresarial e
     Participações Ltda.                                            Brazil        Consulting finance services            99.70%          96.69%          96.69%
  Tecfinance Informática e Projetos de Sistemas Ltda.               Brazil        Rendering of IT services               99.73%          99.73%          99.73%
  XP Corretora de Seguros Ltda.                                     Brazil        Insurance Broker                       99.82%          99.81%          99.76%
  XP Gestão de Recursos Ltda.                                       Brazil        Securities administration service      92.80%          91.65%          92.15%
  XP Finanças Assessoria Financeira Ltda.                           Brazil        Investiment consulting service         99.99%          99.95%          99.95%
  Infostocks Informações e Sistemas Ltda.                           Brazil        Mediation of information systems       99.99%          99.99%          99.99%
  XP Advisory Gestão Recursos Ltda.                                 Brazil        Securities administration services     99.52%          99.52%          99.52%
  XDEX Intermediação Ltda. (iii)                                    Brazil        Intermediary and service agency          —             99.99%            —
  XP Holding International LLC                                      USA           International financial holding       100.00%         100.00%         100.00%
  XP Advisors Inc                                                   USA           Consulting finance services           100.00%         100.00%         100.00%
  XP Holding UK Ltd                                                  UK           International financial holding       100.00%         100.00%         100.00%
  XP Vista Asset Management Ltda. (iv)                              Brazil        Securities administration service      99.60%            —               —
  XP Controle 4 Participações S.A. (v)                              Brazil        Insurance holding                     100.00%            —               —

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                                                                                                                   % of Group’s interest (i)
                                                                 Country of
  Entity name                                                  incorporation      Principal activities   2018                2017              2016
  Indirectly controlled
  XP Investimentos Corretora de Câmbio, Títulos e
    Valores Mobiliários S.A.                                      Brazil          Broker-dealer          100.00%           100.00%             100.00%
  Clear Corretora de Títulos e Valores Mobiliários S.A.
    (ii)                                                          Brazil          Broker-dealer             —                 —                100.00%
  XP Securities LLC                                               USA             Broker-dealer          100.00%           100.00%             100.00%
  XP Investments UK LLP                                            UK             Broker-dealer          100.00%            99.90%              99.90%
  Sartus Capital LTD                                                              Investment
                                                                    UK            advisory               100.00%           100.00%             100.00%
  XP Private (Europe) S.A. (vi)                                                   Asset
                                                                    UK            management             100.00%           100.00%               —
  XP Vida e Previdência S.A. (v)                                                  Private pension
                                                                  Brazil          and insurance          100.00%               —                 —

  Consolidated investment funds
  Oconnor III Fundo de Investimento Multimercado
    Crédito Privado                                               Brazil          Investment fund        100.00%           100.00%             100.00%
  Pedras Secas Fundo de Investimento Multimercado
    Crédito Privado Investimento no Exterior                      Brazil          Investment fund        100.00%           100.00%              68.11%
  Newbery Debêntures Incentivadas FIM Crédito Privado
    Investimento no Exterior                                      Brazil          Investment fund        100.00%           100.00%             100.00%
  Hamburg Fundo de Investimento Multimercado Crédito
    Privado Investimento no Exterior                              Brazil          Investment fund        100.00%           100.00%             100.00%
  Patagônia Fundo de Investimento Multimercado Crédito
    Privado Investimento no Exterior (vi)                         Brazil          Investment fund        100.00%           100.00%               —
  XP Noronha Fundo de Investimento Multimercado
    Crédito Privado Investimento no Exterior (vi)                 Brazil          Investment fund        100.00%               —                 —
  Frade Fundo de Investimento em Cotas de Fundos de
    Investimento em Direitos Creditórios NP (vi)                  Brazil          Investment fund        100.00%               —                 —
  XP Short Brasil Alavancado Fundo de Investimento
    Multimercado Investimento no Exterior (vi) (vii)              Brazil          Investment fund          —               100.00%               —
  XP Pacote Brasil Alavancado Fundo de Investimento
    Multimercado Investimento no Exterior (vi) (vii)              Brazil          Investment fund          —               100.00%               —

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                                                                                                                            % of Group’s interest (i)
                                                                        Country of
  Entity name                                                         incorporation       Principal activities       2018          2017                 2016
  Caieiras I Fundo de Investimento Multimercado Crédito
    Privado (vii)                                                        Brazil           Investment fund             —             —                   100.00%
  Frade Fundo de Investimento Multimercado Crédito
    Privado (vii)                                                        Brazil           Investment fund             —             —                   100.00%
  XP Brasil Alavancado Fundo de Investimento
    Multimercado (vii)                                                   Brazil           Investment fund             —             —                   100.00%
  XPA Hedge Fundo de Investimento Multimercado Crédito
    Privado Longo Prazo (vii)                                            Brazil           Investment fund             —             —                   100.00%
  Corveta Fundo de Investimento Multimercado Crédito
    Privado Investimento no Exterior (vii)                               Brazil           Investment fund             —             —                   100.00%

  (i)    The percentage of participation represents the Group’s interest in total capital and voting capital of its subsidiaries.
  (ii)   Subsidiaries legally merged into their respective immediate parent, with no impact on the consolidated financial statements.
  (iii)  Relates to subsidiary incorporated in 2017 sold to Company’s controlling shareholders in 2018 at its early stages.
  (iv)   Subsidiary acquired in 2018. See further details in Note 5 (b) below.
  (v)    Subsidiaries incorporated in 2018 for operating in the private pension and life insurance business, which is regulated by the Superintendency of
         Private Insurance (SUSEP) in Brazil.
  (vi) New subsidiaries and investment funds incorporated in the year.
  (vii) Investment funds closed during the year.


  (ii) Business combinations
  Acquisition of Rico Corretora de Títulos e Valores Mobiliários S.A.
  On August 10th, 2017, following the approval of the Central Bank, the Group acquired Rico Corretora de Títulos e Valores Mobiliários S.A. (“Rico”)
  through the acquisition of its sole parent FLAFLU Participações S.A. (“FLAFLU”). With this transaction, the Group aimed to extend its operations in
  brokerage and securities distribution market to retail, through expanding the customer base and absorbing innovative technology in online market
  developed by Rico, in view of the complementary nature of positioning between the brands.

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  Details of the net assets acquired, the goodwill and the purchase consideration are as follows:

                                                                                                                        Fair value
                                                                                                                      recognized on
                                                                                                                       acquisition
                          Assets
                          Cash                                                                                                 96
                          Financial instruments (FVPL)                                                                    356,648
                          Financial instruments (FVOCI)                                                                    20,212
                          Accounts receivable                                                                               1,915
                          Other assets                                                                                     11,582
                          Deferred tax assets                                                                               3,751
                          Property and equipment (Note 14 (a))                                                              1,728
                          Intangible assets (Note 14 (b))                                                                  75,813
                                                                                                                          471,745
                          Liabilities
                          Social and statutory obligations                                                                   (560)
                          Tax and social security obligations                                                             (12,651)
                          Securities trading and intermediation                                                          (322,371)
                          Provisions and continget liabilities (Note 25)                                                   (7,921)
                          Other liabilities                                                                                (5,217)
                                                                                                                         (348,720)
                          Total identifiable net assets at fair value                                                     123,025
                          Goodwill arising on acquisition (Note 14 (b))                                                   281,702
                          Purchase consideration transferred                                                              404,727
                          Analysis of cash flows on acquisition
                          Consideration paid in cash                                                                      404,727
                          Net cash acquired with the subsidiary                                                               (96)
                          Net of cash flow on acquisition (investing activities)                                          404,631

  For the purchase price allocation, the following intangible assets were identified. The valuation techniques used for measuring the fair value of
  separately identified intangible assets acquired were as follows:

                                                                                                                                                  Expected
                                                                                                                                                 amortization
  Assets                                                              Amount     Method                                                            period
  Customer list                                                        50,077    Multi-period excess earning method                                    8 years
  Trademark                                                            19,304    Relief from royalty                                                  10 years
  Technology                                                            2,028    Relief from royalty                                                   3 years

  The fair value of the consideration given was R$ 404,727. The goodwill is attributable to the workforce and the high profitability of the acquired
  business. It will be deductible for tax purposes. The fair value and gross contractual amount of trade accounts receivable was the same—R$ 1,915.
  There was no other contingent liability recognised on the acquisition for a pending lawsuit, apart from R$ 7,921 already provisioned, related to tax
  contingencies (Note 25).

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  Acquisition-related costs of R$ 690 are included in administrative expenses in profit or loss and in operating cash flows in the statement of cash flows.

  From the acquisition date, Rico contributed revenues of R$ 53,942 and net profit of R$ 12,125 to the Group’s consolidated statement of profit and loss
  for the year ended December 31, 2017. If the acquisition had occurred on January 1, 2017, consolidated pro-forma revenue and profit for the year ended
  December 31, 2017 would have been R$ 133,411 and R$ 29,919 respectively.


  Acquisition of XP Vista
  On January 5, 2018, the Group acquired 99.60% of shares of XP Vista Asset Management Ltda. (“XP Vista”), an asset management entity, through the
  acquisition of its controlling shareholder Marathon Investimentos e Participações S.A for a consideration of R$ 10,938, mostly comprised of cash in the
  amount of R$ 525. Goodwill in the amount of R$ 9,799, attributable to sinergies expected from the combined operations within the Group. Marathon
  was subsequently incorporated by the Group.


  (iii) Corporate reorganization
  During 2016, the Company, through a series of transactions with General Atlantic (GA), which previously held non-controlling interests of certain
  Group subsidiaries, conducted a corporate reorganization with the objective of simplifying the organization of the Group and eliminating
  non-controlling interests, by means of series of transactions, including exchange of shares and legal mergers. The GA non-controlling interest related
  principally to interests in the subsidiaries XP Holding Investimentos S.A. (“XPHI”) and XP Investimento Corretora de Câmbio, Títulos e Valores
  Mobilliários S.A. (“XP CCTVM”).

  In conjunction with the corporate reorganization, subsidiaries XPHI and XP CCTVM issued new shares to GA, in the total amount of R$ 150,000, fully
  paid up in cash.

  Subsequently, the Company issued new shares for a value of R$ 343,824 in exchange for the remaining non-controlling interests in XPHI and XP
  CCTVM held by GA. This transaction resulted in the increase of share capital and capital reserve by R$ 98,429 and R$ 245,395, respectively (see Note
  23).

  As part of the restructuring, the Company legally merged with a new holding entity, resulting in the creation of a deferred income tax asset of R$
  122,077 recorded in capital reserve in equity, relating to the previously generated tax-deductible goodwill at one of the impacted subsidiaries.


  (iv) Subscription (redemptions of non-controlling interests)
  In 2016, certain non-controlling interest subscribed for new quotes in a subsidiary investment fund, Pedras Secas Fundo de Investimento Multimercado
  Crédito Privado Investimento no Exterior, in the total amount of R$ 43,000. During 2017, such shareholders redeemed those quotes receiving R$ 45,550
  from the investment fund.


  (v) Other transactions with non-controlling interests
  In the course of its business, the Group admits individual partners to join the share capital of certain subsidiaries while others might decide to leave the
  subsidiaries resulting in gains or losses recorded directly to equity. For the year ended December 31, 2018, the Group recorded a gain of R$ 409 (2017—
  R$ 95 loss), while non-controlling interest decreased in the amount of R$ 788 (2017—R$ 1,983 decrease).

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  6. Securities purchased under agreements to resell

                                                                                                             2018            2017
                    Available portfolio                                                                       488,809        420,958
                        Debentures (a)                                                                            —              522
                        National Treasury Notes (NTNs) (b)                                                     65,136        390,429
                        Financial Treasury Bills (LFTs) (b)                                                    38,015
                        National Treasury Bills (LTNs) (b)                                                    385,658         30,007
                    Collateral held                                                                         6,081,800        514,021
                        National Treasury Bills (LTNs) (b)                                                  4,911,635            —
                        National Treasury Notes (NTNs) (b)                                                  1,170,165        514,021
                    Total                                                                                   6,570,609        934,979

  (a)   Refers to fixed-rate fixed-income and low-risk investments issued by financial institutions, backed by debentures.
  (b)   Investments in purchase and sale commitments backed by sovereign debt securities refer to transactions involving the purchase of sovereign debt
        securities with a commitment to sale originated in the subsidiary XP CCTVM and in exclusive funds and were carried out at an average fixed rate
        of 6.43% p.a. (6.91% p.a. as of December 31, 2017).

  As of December 31, 2018, the amount of R$ 488,809 (2017—R$ 420,958) is being presented as cash equivalents in the statements of cash flows. The
  remaining balance is pledged in guarantee of repurchase agreement transactions (Note 15).

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  7. Securities
         a)       Securities classified at fair value through profit and loss and at fair value through other comprehensive income are presented in the
                  following table:

                                                                                                         2018                                  2017
                                                                                            Gross carrying          Fair         Gross carrying          Fair
                                                                                               amount               value           amount               value
         Financial assets
         At fair value through profit and loss                                                  6,262,735          6,290,971        3,771,210           3,779,664
              Brazilian government bonds                                                        3,826,902          3,853,534        2,075,380           2,079,583
              Stocks issued by public-held company                                              1,127,074          1,127,044          614,409             625,003
              Debentures                                                                          325,459            326,403          398,577             396,304
              Investment funds                                                                    279,013            279,013          161,758             161,766
              Certificate of real estate receivable                                               208,442            207,167           68,634              66,206
              Bank deposit certificates (i)                                                       172,451            171,725          294,891             294,856
              Agribusiness receivables certificates                                                85,668             85,874           42,782              39,615
              Financial credit bills                                                               45,040             44,663            4,364               4,114
              Structured transaction certificate                                                   21,275             22,949           10,496              12,068
              Real estate credit bill                                                               3,697              4,883            7,650               7,880
              Others (ii)                                                                         167,714            167,716           92,269              92,269
         At fair value through other comprehensive income                                         688,731            695,778              —                   —
              National treasury bill                                                              688,731            695,778              —                   —

  (i)    Bank deposit certificates include R$ 69,647 (2017 – R$ 261,317) is being presented as cash equivalents in the statements of cash flows.
  (ii)   Mainly related to bonds issued and traded overseas.

         b)       Securities evaluated at amortized cost are presented in the following table:

                                                                                                            2018                                 2017
                                                                                              Gross carrying            Book          Gross carrying         Book
                                                                                                 amount                 value            amount              value
         Financial assets
         At amortized cost
             Bonds                                                                                 155,292             155,292                   —               —

         c)       Securities on the financial liabilities classfied at fair value through profit or loss are presented in the following table:

                                                                                                          2018                                2017
                                                                                         Gross carrying                          Gross carrying           Book
                                                                                            amount               Book value         amount                value
         Financial liabilities
         At fair value through profit or loss
              Securities loaned                                                             1,259,579            1,259,579             712,666           712,666

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  Below is presented the securities classified by maturity:

                                                                                                    Assets                           Liabilities
                                                                                            2018              2017            2018                 2017
        Financial assets
        At fair value through PL and At OCI
        Current                                                                           1,875,374            893,848      1,192,877              674,926
        Non-stated maturity                                                               1,425,401            789,700            —                    —
        Up to 3 months                                                                      192,208             54,048      1,184,972              670,453
        From 3 to 12 months                                                                 257,765             50,100          7,905                4,473
        Non-current                                                                       5,111,375          2,885,816         66,702               37,740
        After one year                                                                    5,111,375          2,885,816         66,702               37,740
        Evaluated at amortized cost
        Current                                                                             155,292                —              —                    —
        From 3 to 12 months                                                                 155,292                —              —                    —
        Total                                                                             7,142,041          3,779,664      1,259,579              712,666


  8. Derivative financial instruments
  The Group uses the derivatives to manage its overall exposures of foreign exchange rates, interest rates and price of shares.

  The fair value of derivative financial instruments, comprised of futures, forward, options, and swaps operations, is determined in accordance with the
  following criteria:
   •    Swap—These operations swap cash flow based on the comparison of profitability between two indexers. Thus, the agent assumes both positions –
        put in one indexer and call on another.
   •    Forward—at the market quotation value, and the installments receivable or payable are prefixed to a future date, adjusted to present value, based
        on market rates published at B3.
   •    Futures—Foreign exchange rates, prices of shares and commodities are commitments to buy or sell a financial instrument at a future date, at a
        contracted price or yield and may be settled in cash or through delivery. Daily cash settlements of price movements are made for all instruments.
   •    Options—option contracts give the purchaser the right to buy the instrument at a fixed price negotiated at a future date. Those who acquire the
        right must pay a premium to the seller. This premium is not the price of the instrument, but only an amount paid to have the option (possibility) to
        buy or sell the instrument at a future date for a previously agreed price.

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  Positions with derivative financial instruments as of December 31, 2018 and 2017 are shown below:

                                                                                                                     2018
                                                                                            Assets                                        Liabilities
                                                                               Fair value             Notional              Fair value              Notional
        Swaps                                                                     244,262               3,454,728               247,732               3,981,304
        Forward contracts                                                         573,963                 809,202                17,170                  19,142
        Futures contracts                                                           6,599               5,679,425                   —                       —
        Options                                                                   867,207              78,746,383               726,497              82,579,675
        Total                                                                   1,692,031              88,689,738               991,399              86,580,121

                                                                                                                     2017
                                                                                            Assets                                        Liabilities
                                                                               Fair value             Notional              Fair value              Notional
        Swaps                                                                     142,804                3,071,068              116,963              2,650,347
        Forward contracts                                                         151,121                  773,382               40,195              1,108,200
        Futures contracts                                                             374                  514,046                  350              1,895,409
        Options                                                                   265,177            8,510,197,217              166,852          6,256,444,652
        Total                                                                     559,476            8,514,555,713              324,360          6,262,098,608

  Below is the composition of the Derivative financial instruments portfolio (assets and liabilities) by type of instrument, stated fair value and by maturity:

                                                                                                                                       2018
                                                                                                                                     Up to      From 3 to        Above
                                                                                                        Fair Value          %      3 months     12 months      12 months
  Assets
  Swap contracts                                                                                          244,262        14          4,675        25,054        214,533
  Forward contracts                                                                                       573,963        34        363,863       210,100            —
  Future contracts                                                                                          6,599         1          4,613         1,986            —
  Options                                                                                                 867,207        51        255,281       234,742        377,184
  Total                                                                                                 1,692,031       100        628,432       471,882        591,717
  Liabilities
  Options                                                                                                 726,497        73        128,470       217,387        380,640
  Forward contracts                                                                                        17,170         2         16,972            25            173
  Swap contracts                                                                                          247,732        25          7,710        25,094        214,928
  Total                                                                                                   991,399       100        153,152       242,506        595,741

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                                                                                                                          2017
                                                                                                                       Up to     From 3 to           Above
                                                                                                Fair value   %       3 months    12 months         12 months
  Assets
  Swap contracts                                                                                 142,805      26        1,755          7,940        133,110
  Forward contracts                                                                              151,122      27      121,175         13,796         16,151
  Future contracts                                                                                   374     —            374            —              —
  Options                                                                                        265,175      47      158,655         99,817          6,703
  Total                                                                                          559,476     100      281,959        121,553        155,964
  Liability
  Swap contracts                                                                                 116,962      36        7,763          8,840        100,359
  Forward contracts                                                                               40,195      12       22,857             29         17,309
  Future contracts                                                                                   351     —            351            —              —
  Options                                                                                        166,852      52       90,933         71,386          4,533
  Total                                                                                          324,360     100      121,904         80,255        122,201

  Derivatives financial instruments by index:

                                                                                       2018                                   2017
                                                                            Notional          Fair Value           Notional           Fair Value
        Swap Contracts
            Asset Position
                 Interest                                                   3,454,728            244,262           3,071,068             142,804
            Liability Position
                 Interest                                                   3,981,304           (247,732)          2,649,120            (116,959)
        Forward Contracts
            Asset Position
                 Foreign exchange                                             239,478              4,239              640,186             17,521
                 Share                                                        342,681            342,681              133,197            133,602
                 Interest                                                     227,043            227,043                  —                  —
            Liability Position
                 Foreign exchange                                                2,234              (262)          1,108,200             (40,195)
                 Shares                                                         16,908           (16,908)              1,226                  (4)
        Future Contracts
            Purchase commitments
                 Foreign exchange                                           5,679,425              6,599              162,111                   40
                 Shares                                                           —                  —                342,876                  334
                 Commodities                                                      —                  —                  9,059                  —
            Commitments to sell
                 Foreign exchange                                                  —                 —               344,163                    (37)
                 Shares                                                            —                 —               513,229                   (313)
                 Commodities                                                       —                 —             1,038,018                    —

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                                                                                                       2018                               2017
                                                                                         Notional             Fair Value       Notional          Fair Value
  Options
      Purchase commitments
           Foreign exchange                                                               1,734,063              115,570            861,206         31,205
           Share                                                                          5,500,627              365,631      8,509,335,928        232,905
           Commodities                                                                          213                1,582                 83          1,065
           Interest                                                                      71,511,480              384,424                —              —
      Commitments to sell
           Foreign exchange                                                               2,059,104             (171,918)           684,260        (17,739)
           Shares                                                                         3,245,796             (172,748)     6,255,760,327       (148,287)
           Commodities                                                                          130               (1,391)                65           (826)
           Interest                                                                      77,274,645             (380,440)               —              —
      Assets                                                                                                   1,692,031                           559,476
      Liabilities                                                                                               (991,399)                         (324,360)
      Net                                                                                                        700,632                           235,116


  9. Hedge accounting
  In the year ended December 31, 2018 and 2017, the objective for the Group was to hedge the risk generated by the USD variation from the investments
  in USA, XP Holding International and XP Advisors Inc.

  The Group contract Non Deliverable Forward (“NDF”) operations to protect changes of future cash flows, exchange rate variation of net investments in
  foreign operations.

  The Group undertakes risk management through the economic relationship between hedge instruments and hedged item, in which it is expected that
  these instruments will move in opposite directions, in the same proportions, with the aim of neutralizing the risk factors.

                                                                                          Hedged item                               Hedge instrument
                                                                                 Book Value                                                    Variation in
                                                                                                               Variation in                    the amounts
                                                                                                                   value                          used to
                                                                                                                recognized                       calculate
                                                                                                                 in Other                          hedge
                                                                                                              comprehensive    Nominal        ineffectiveness
  Strategies                                                                Assets       Liabilities              income        value                (i)
  2018
  Foreign exchange risk
  Hedge of net investment in foreign operations                            147,179             —                    18,645     225,901              (17,495)
  Total                                                                    147,179             —                    18,645     225,901              (17,495)
  2017
  Foreign exchange risk
  Hedge of net investment in foreign operations                            100,323             —                     2,034     145,552               (2,386)
  Total                                                                    100,323             —                     2,034     145,552               (2,386)

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                                                                                                Hedged item                           Hedge instrument
                                                                                       Book Value                                                Variation in
                                                                                                               Variation in                      the amounts
                                                                                                                   value                            used to
                                                                                                                recognized                         calculate
                                                                                                                 in Other                           hedge
                                                                                                              comprehensive      Nominal       ineffectiveness
  Strategies                                                                     Assets       Liabilities         income          value               (i)
  2016
  Foreign exchange risk
  Hedge of net investment in foreign operations                                  56,484                             (4,433)       74,959               5,291
  Total                                                                          56,484                             (4,433)       74,959               5,291

  There was no ineffectiveness during 2018, 2017 and 2016 in relation to the foreign net investment hedge.


  10. Accounts receivable

                                                                                                                  2018           2017
                     Customers (a)                                                                               203,604        120,860
                     Dividends and interest receivable on equity capital—Funds                                    18,852         10,385
                     Other                                                                                           181            489
                     (-) Expected losses on accounts receivable                                                   (3,437)        (1,906)
                     Total                                                                                       219,200        129,828

  (a)    Refers to receivables from management fee arising from the distribution of funds and amounts receivable related to service provision, which have
         an average term of 30 days. There is no concentration on the balances receivable as of December 31, 2018 and 2017.


  11. Other financial assets

                                                                                                                      2018         2017
                     Receivables from IFAs                                                                           11,161       13,399
                     Loan agreements (i)                                                                             47,112       12,396
                     Foreign exchange portfolio                                                                       3,694        3,034
                     Others                                                                                           3,239        1,422
                     (-) Expected losses on other financial assets                                                   (4,783)      (2,441)
                     Total                                                                                           60,423       27,810
                     Current                                                                                          3,824        5,340
                     Non-current                                                                                     56,599       22,470

  (i)    These are mostly related to loans granted to FIAs for their development under the Group’s strategy. Loans are full recourse and bearing interests.

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  12. Recoverable taxes

                                                                                                                   2018          2017
                    Prepayments of income taxes (IRPJ and CSLL)                                                   182,021        41,028
                    Contributions over revenue (PIS and COFINS)                                                       533           485
                    Taxes on services (ISS)                                                                           698           299
                    Value added taxes (VAT)                                                                            98           203
                    Contributions for social security (INSS)                                                          —              30
                    Total                                                                                         183,350        42,045
                    Current                                                                                       183,350        42,045
                    Non-current                                                                                       —             —


  13. Prepaid expenses

                                                                                                                    2018         2017
                    Incentives for business acceleration program (a)                                                22,125       33,903
                    Marketing expenses                                                                              41,276        6,105
                    Commissions and premiums paid in advance                                                        21,431       16,273
                    Services paid in advance                                                                         5,180        4,928
                    Other expenses paid in advance                                                                   6,711        4,134
                    Total                                                                                           96,723       65,343
                    Current                                                                                         56,302       29,280
                    Non-current                                                                                     40,421       36,063


  (a) Business Acceleration Program (“PAN”)
  Starting in the first half of 2014, the subsidiary XP CCTVM implemented an incentive campaign to attract new customers called Business Acceleration
  Program (“PAN”) through its network of IFAs, offering an advance on compensation with the main objective of increasing client acquisition and net
  inflows and consequently the increase in revenue that will be generated over time by such investments. This campaign establishes the payment of a
  financial incentive to activate new accounts. These amounts are characterized as part of the compensation for the IFAs and, therefore, are classified as
  prepaid expenses and, according to a technical study, are being appropriated to the income statement, linearly, over four years.

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  14. Property, equipment and intangible assets
  (a) Property and equipment

                                                                         Data      Furniture
                                                                      processing      and      Security                Fixed assets
                                                                        system     equipment   systems    Facilities   in progress     Total
  Balance as of January 1, 2016                                          5,834        6,626       533        5,925            —        18,918
      Additions                                                          7,171        1,891       —          5,644          4,470      19,176
      Write-offs                                                          (409)        (170)      —           (118)        (1,043)     (1,740)
      Transfers                                                            232        1,581       —            553         (2,366)        —
      Depreciations in the year                                         (3,149)      (1,251)      (74)      (3,215)           —        (7,689)
  Balance as of December 1, 2016                                         9,679        8,677       459        8,789          1,061      28,665
  Cost                                                                  23,974       15,180       734      10,875           1,061      51,824
  Accumulated depreciation                                             (14,295)      (6,503)     (275)     (2,086)            —       (23,159)
  Balance as of January 1, 2017                                          9,679        8,677       459       8,789           1,061      28,665
       Additions                                                         6,308        6,309     5,650       9,915           2,187      30,369
       Business combination (Note 5 (b))                                   804          412        34         478                       1,728
       Write-offs                                                         (149)      (1,690)       (9)     (2,503)            —        (4,351)
       Transfers                                                           709        2,181       —           358          (3,248)        —
       Depreciations in the year                                        (3,608)      (2,628)   (1,227)     (1,875)            —        (9,338)
  Balance as of December 31, 2017                                       13,743       13,261     4,907      15,162             —        47,073
  Cost                                                                  27,400       19,124     6,403      19,281            —         72,208
  Accumulated depreciation                                             (13,657)      (5,863)   (1,496)     (4,119)           —        (25,135)
  Balance as of January 1, 2018                                         13,743       13,261     4,907      15,162            —         47,073
       Additions                                                        22,319       10,448       376       9,930         40,076       83,149
       Write-offs                                                          (40)        (924)      (30)     (5,078)          (553)      (6,625)
       Transfers                                                            31        2,109       192      37,191        (39,523)         —
       Depreciation in the year                                         (7,282)      (3,253)   (2,892)    (11,043)           —        (24,470)
  Balance as of December 31, 2018                                       28,771       21,641     2,553      46,162            —         99,127
  Cost                                                                  48,023       29,613     6,388      47,843             —       131,867
  Accumulated depreciation                                             (19,252)      (7,972)   (3,835)     (1,681)            —       (32,740)

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  (b) Intangible assets

                                                                                                                                       Other
                                                                                                           Costumer                  intangible
                                                                                     Software   Goodwill      list     Trademarks      assets      Total
  Balance as of January 1, 2016                                                        9,803      90,999     21,995         1,893       2,537     127,227
      Additions                                                                       10,360         —          —             —         2,099      12,459
      Write-offs                                                                      (1,031)        —          —             —           —        (1,031)
      Amortization in the year                                                        (2,261)        —      (12,816)          (94)       (214)    (15,385)
  Balance as of December 31, 2016                                                     16,871      90,999      9,179         1,799       4,422     123,270
  Cost                                                                                18,660      90,999     21,994        1,893        6,793     140,339
  Accumulated amortization                                                            (1,789)        —      (12,815)         (94)      (2,371)    (17,069)
  Balance as of January 1, 2017                                                       16,871      90,999      9,179        1,799        4,422     123,270
       Additions                                                                      12,243         —          —             33        8,351      20,627
       Business combination (Note 5 (b))                                               4,404     281,702     50,077       19,304        2,028     357,515
       Write-offs                                                                       (140)        —          —            —            —          (140)
       Transfers                                                                        (799)        —          —            —            799         —
       Amortization in the year                                                       (6,879)        —       (9,286)        (898)      (1,002)    (18,065)
  Balance as of December 31, 2017                                                     25,700     372,701     49,970       20,238       14,598     483,207
  Cost                                                                                35,489     372,701     72,072       21,230       18,753     520,245
  Accumulated Amortization                                                            (9,789)        —      (22,102)        (992)      (4,155)    (37,038)
  Balance as of January 1, 2018                                                       25,700     372,701     49,970       20,238       14,598     483,207
       Additions                                                                      27,828         —          —          1,009       24,680      53,517
       Business combination                                                              —         9,799        —            —            —         9,799
       Write-offs                                                                        (15)        —          —            —        (13,275)    (13,290)
       Amortization in the year                                                      (14,742)        —       (8,426)      (2,024)      (3,126)    (28,318)
  Balance as of December 31, 2018                                                     38,771     382,500     41,544       19,223       22,877     504,915
  Cost                                                                                56,127     382,500     72,072       22,239       31,308     564,246
  Accumulated amortization                                                           (17,356)        —      (30,528)      (3,016)      (8,431)    (59,331)


  (c) Impairment test for goodwill
  Given the interdependency of cash flows and the merger of business practices, all Group’s entities are considered a single cash generating units (“CGU”)
  and, therefore, goodwill impairment test is performed at the single operating level. Therefore, the carrying amount considered for the impairment test
  represents the Company’s equity.

  The Group tests whether goodwill has suffered any impairment on an annual basis. For the years ended December 31, 2018 and 2017, the recoverable
  amount of the single CGU was determined based on value-in-use calculations which require the use of assumptions. The calculations use cash flow
  projections based on financial budgets approved by management covering a five-year period.

  Cash flows beyond the five-year period are extrapolated using the estimated growth rates, which are consistent with forecasts included in industry
  reports specific to the industry in which the Group operates.

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  The Group performed its annual impairment test as of December 31, 2018 and 2017 which did not result in the need to recognize impairment losses on
  the carrying value of goodwill.

  Key assumptions used in value-in-use calculations and sensitivity to changes in assumptions are:

  Assumption                                                                       Approach used to determining values
  Sales                                                                            Average annual growth rate over the five-year forecast period; based on
                                                                                   past performance and management’s expectations of market
                                                                                   development.
  Budgeted gross margin                                                            Based on past performance and management’s expectations for the
                                                                                   future.
  Other operating costs                                                            Fixed costs, which do not vary significantly with sales volumes or
                                                                                   prices. Management forecasts these costs based on the current structure
                                                                                   of the business, adjusting for inflationary increases but not reflecting
                                                                                   any future restructurings or cost saving measures. The amounts
                                                                                   disclosed above are the average operating costs for the five-year
                                                                                   forecast period.
  Annual capital expenditure                                                       Expected cash costs. This is based on the historical experience of
                                                                                   management, and the planned refurbishment expenditure. No
                                                                                   incremental revenue or cost savings are assumed in the value-in-use
                                                                                   model as a result of this expenditure.
  Long-term growth rate                                                            This is the weighted average growth rate used to extrapolate cash flows
                                                                                   beyond the budget period. The rates are consistent with forecasts
                                                                                   included in industry reports.
  Pre-tax discount rates                                                           Reflect specific risks relating to the relevant segments and the countries
                                                                                   in which they operate.

  Discount rates represent the current market assessment of the risks specific to the Group, taking into consideration the time value of the money and risks
  of the underlying assets that have not been incorporated in the cash flow estimates. The discount rate calculation is based on the specific circumstances
  of the Group and is derived from its weighted average cost of capital (WACC). The WACC takes into account both debt and equity. The cost of equity is
  derived from the expected return on investment by the Group’s investors. The cost of debt is based on the interest-bearing borrowings the Group has.
  Adjustments to the discount rate are made to factor in the specific amount and timing of the future tax flows in order to reflect a pre-tax discount rate.
  The average pre-tax discount rate applied to cash flow projections is 13.57% and net revenue


  15. Securities sold under repurchase agreements
                                                                                                                  2018           2017
                    National Treasury Notes (NTNs)                                                              1,153,547       514,018
                    National Treasury Bills (LTNs)                                                              5,142,881           —
                    Financial Treasury Bills (LFTs)                                                               344,266           —
                    Total                                                                                       6,640,694       514,018

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  As of December 31, 2018, securities sold under repurchase agreements were agreed with average interest rates of 6.40% p.a. (2017—6.90% p.a.), with
  assets pledged as collateral (Note 6).


  16. Borrowings
                                                                                    Interest rate %        Maturity           2018           2017
        Bank borrowings—foreign (a)                                                 Libor + 3.45%        May 2022                —          631,797
        Bank borrowings—domestic (b)                                                113% of CDI          March 2021           94,921        133,619
        Related parties                                                                                                       94,921        765,416
        Bank borrowings—domestic (c)                                                111% of CDI           July 2019           44,352        101,608
        Financial institution (d)                                                   CDI + 0.774%          April 2023         330,336            —
        Third parties                                                                                                        374,688        101,608
        Total                                                                                                                469,609        867,024
        Current                                                                                                              114,489        130,340
        Non-current                                                                                                          355,120        736,684

  (*)   Brazilian Interbank Offering Rate (CDI)
  (a)   Loan agreement with Itaú Unibanco—Nassau Branch with maturity on May 11, 2022. The agreement established mandatory prepayment in case
        Itaú Unibanco (or any of its affiliates) becoming a shareholder of XP Investimentos, with at least 5% of interest in the share capital of the
        Company. The Company entered into a cross-currency interest rate swap in order to mitigate the foreign exchange exposure related to a loan
        denominated in USD. The swap agreements are comprised of (a) derivative financial instruments assets to swap the foreign exchange exposure
        (USD to R$) plus a fixed rate of 4.6054% per year and (b) derivative financial instruments liabilities for the interest rate swap (100% of CDI plus
        a fixed rate of 2.25% per year). Given the acquisition of shares of the Company by Itaú Unibanco (Note 1), on August 31, 2018 the loan was fully
        prepaid.
  (b)   Loan agreement with Itaú Unibanco with maturity on March 8, 2021, payable in 36 monthly installments.
  (c)   Loan agreement with Banco JP Morgan S.A., hired in connection with the acquisition of Rico, payable in seven quarterly installments
  (d)   Loan agreement entered into on March 28, 2018 with the International Finance Corporation (IFC). The principal amount is due on the maturity
        date and accrued interests payable at every six months.

  All the obligations above contain financial covenants, which comply with certain performance conditions. The Group has complied with these covenants
  throughout the reporting period (Note 33).

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  17. Debentures
  On September 28, 2018, the Company issued Debentures, non-convertible into shares, in the amount of R$ 400,000, with the objective of funding the
  Group’s working capital and treasury investments. As of December 31, 2018, the total balance is comprised of the following issuances:

                                                                                                                   Unit value at      Unit value at   Book
  Issuance                                  Quantity (units)   Annual rate     Issuance date    Maturity date       issuance           year-end       value
  1st                                              400.000     108% CDI             9/28/2018     9/28/2020        R$ 1,000.00       R$ 1,016.35      406,538

                                                                                                                              2018
                          Principal                                                                                          400,000
                          Interest                                                                                             6,538
                          Total                                                                                              406,538
                          Current                                                                                                —
                          Non-current                                                                                        406,538

  The principal amount and accrued interest payables are due on the maturity date. There were no amounts paid in 2018.
  Debentures are subject to financial covenants, which comply with certain performance conditions. The Group has complied with these covenants
  throughout the reporting period (Note 33).


  18. Securities trading and intermediation
  Represented by operations at B3 on behalf of and on account of third parties, with liquidation operating cycle between D+1 and D+3.

                                                                                                                 2018                2017
                    Cash and settlement records                                                                  164,322               1,257
                    Debtors pending settlement                                                                   731,611             660,234
                    Other                                                                                          2,379              10,351
                    Total Assets                                                                                 898,312             671,842
                    Cash and settlement records                                                                    90,056            218,954
                    Creditors pending settlement                                                                5,216,572          2,891,583
                    Total Liabilities                                                                           5,306,628          3,110,537

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  19. Social and Statutory obligations
  Social and Statutory obligations is mainly composed from the Group sharing program for its employees which does not extend to the Executive Board.
  As of December 31, 2018, the balance of unrealized gains on the balance sheet under the “Social and statutory obligations” line item is R$ 251,690 (R$
  295,437 as of December 31, 2017).

                                                                                                                 2018            2017
                    Dividends payable to owners of the parent (Note 23)                                              —           125,000
                    Dividends payable to non-controlling interest                                                 27,137          18,139
                    Employee profit-sharing (a)                                                                  173,202         111,542
                    Salaries and other benefits payable                                                           51,351          40,756
                    Total                                                                                        251,690         295,437
  (a)   The Group has a bonus scheme for its employees based on profit sharing program as agreed under collective bargaining, which does not extend to
        the Executive Board. The bonus is calculated at each half of the year and payments made in the February and August.


  20. Tax and social security obligations
                                                                                                                    2018          2017
                    Income Tax (IRPJ and CSLL)                                                                      69,001        31,196
                    Contributions over revenue (PIS and COFINS)                                                     16,368         9,056
                    Taxes on services (ISS)                                                                          9,399         7,921
                    Contributions for Social Security (INSS)                                                         3,368         8,252
                    Others                                                                                           4,985         4,428
                    Total                                                                                          103,121        60,853
                    Current                                                                                        103,121        60,853
                    Non-current                                                                                        —             —


  21. Other liabilities
                                                                                                                        2018       2017
                    Technical reserves for private pension (a)                                                          16,059       —
                    Rent payable (b)                                                                                    14,624       —
                    Acquisition of goods and rights                                                                        636     1,749
                    Other                                                                                                  889     2,148
                    Total                                                                                               32,208     3,897
                    Current                                                                                             32,208     3,897
                    Non-current                                                                                            —         —

  (a)   Mainly related to mathematical provisions for benefits to be granted (PMBaC) for the coverage of commitments assumed by the subsidiary XP
        Vida e Previdência to the participants, based on the assumptions set forth in the contract, while the event that gave rise to the benefit and/or
        indemnity has not occurred. The technical provisions of private pension are recognized according to the technical notes approved by SUSEP and
        criteria established by current legislation in Brazil.
  (b)   Mainly related to grace period for the first year of Group’s main office rental, appropriated to profit and loss on a straight-line basis over the
        period of 10 years.

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  Operating lease commitments as lessee
  The Group leases its main offices and certain equipments under non-cancelable operating lease agreements. The lease terms varies from one to ten
  years, and the majority of the lease agreements is renewable at the end of the lease period at market rates. The aggregate minimum lease payments under
  non-cancelable operating leases are as follows:

                                                                                                                     2018             2017
                     Less than 1 year                                                                                32,597           13,148
                     More than one year and no later than 5 years                                                   121,776           42,961
                     More than 5 years                                                                               54,945            6,623
                     Total                                                                                          209,318           62,732

  The Group also leases other offices and equipment under cancelable operating lease agreements. The Group is required to give prior notice for the
  termination of these agreements. The lease expenditure charged to the statement of income during the year is disclosed in Note 28.


  22. Income tax
  (a) Deferred income tax
  Deferred tax assets (DTA) and deferred tax liabilities (DTL) are comprised of the main following components:

                                                                                                       Balance Sheet                 Net change in the year
                                                                                                     2018         2017        2018           2017           2016
  Tax losses carryforwards                                                                          55,358       17,584      37,774           17,584         —
  Goodwill on business combinations (i)                                                             59,993      116,782     (56,789)         (51,327)     91,457
  Provisions for IFAs’ commissions                                                                  31,031       26,287       4,744           26,156      (1,220)
  Revaluations of financial assets at fair value                                                     1,397        3,824      (2,427)           4,030        (866)
  Expected credit losses                                                                             3,079        5,424      (2,345)           4,329         792
  Financial instruments taxed on redemption                                                        (13,041)      (6,811)     (6,230)          (6,811)        —
  Net gain on hedge instruments                                                                     (1,441)      49,982     (51,423)          49,382         600
  Other provisions                                                                                   4,024        6,596      (2,572)           5,251         323
  Total                                                                                            140,400      219,668     (79,268)          48,594      91,086
  Deferred tax assets                                                                              152,425      226,479
  Deferred tax liabilities                                                                         (12,025)      (6,811)

  (i)   For tax purposes, goodwill is amortized over 5 years on a straight-line basis when the entity acquired is sold or merged into another entity.

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  The changes in the net deferred tax were recognized as follows:

                                                                                                                 2018         2017          2016
              At January 1                                                                                      219,668      171,074        79,988
              Foreign exchange variations                                                                        (9,259)      (1,155)        5,888
              Business combination (Note 5 (b))                                                                     —          3,751           —
              Charges to statement of income                                                                    (76,455)      45,325       (34,274)
              Tax relating to components of other comprehensive income                                            6,446          673        (2,605)
              Tax charged directly to equity (Note 23)                                                              —            —         122,077
              At December 31                                                                                    140,400      219,668       171,074

  Unrecognized deferred taxes
  Deferred tax assets are recognized for tax losses to the extent that the realization of the related tax benefit against future taxable profits is probable. The
  Group did not recognize deferred tax assets of R$ 12,025 (2017—R$ 5,655) mainly in respect of losses from subsidiaries overseas and that can be
  carried forward and used against future taxable income.


  (b) Income tax expense reconciliation
  The tax on the Group’s pre-tax profit differs from the theoretical amount that would arise using the weighted average tax rate applicable to profits of the
  consolidated entities. The following is a reconciliation of income tax expense to profit (loss) for the year, calculated by applying the combined Brazilian
  statutory rates at 34% for the year ended December 31:

                                                                                                         2018               2017           2016
              Income before taxes                                                                      640,728             575,507        373,916
              Combined tax rate in Brazil                                                                34.00%              34.00%         34.00%
              Tax expense at the combined rate                                                         217,848             195,672        127,131
              Income from entities not subject to taxation                                              (3,647)             (5,101)         1,619
              Effects from entities taxed at different rates                                            16,444               9,078         27,093
              Effects from entities taxed at different method (a)                                      (18,183)            (25,971)       (25,641)
              Intercompany transactions with different taxation                                        (38,255)            (30,264)        (9,256)
              Tax incentives                                                                            (1,408)               (265)        (1,817)
              Non-deductible expenses                                                                     (689)                175          3,877
              Others                                                                                     3,288               8,642          7,145
              Total                                                                                    175,398             151,966        130,151
              Effective tax rate                                                                         27.20%              26.38%         34.81%
              Current                                                                                   98,943             197,291         95,877
              Deferred                                                                                  76,455             (45,325)        34,274
              Total expense                                                                            175,398             151,966        130,151

  (a)   Certain eligible subsidiaries adopted the PPM tax regime and the effect of the presumed profit of subsidiaries represents the difference between the
        taxation based on this method and the amount that would

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        be due based on the statutory rate applied to the taxable profit of the subsidiaries. During 2017, certain subsidiaries exceeded the applicable
        threshold and started using the APM method in 2018.

  Other comprehensive income
  The tax (charge)/credit relating to components of other comprehensive income is as follows:

                                                                                                                         (Charge)
                                                                                                         Before tax       / Credit      After tax
              Foreign exchange variation of investees located abroad                                        (4,433)          —            (4,433)
              Gains (losses) on net investment hedge                                                         7,977        (2,686)          5,291
              Changes in the fair value of financial assets at fair value                                     (240)           81            (159)
              As of December 31, 2016                                                                        3,304        (2,605)            699
              Foreign exchange variation of investees located abroad                                         2,034           —             2,034
              Gains (losses) on net investment hedge                                                        (3,124)          738          (2,386)
              Changes in the fair value of financial assets at fair value                                      275           (65)            210
              As of December 31, 2017                                                                         (815)          673            (142)
              Foreign exchange variation of investees located abroad                                       18,645            —            18,645
              Gains (losses) on net investment hedge                                                      (26,508)         9,013         (17,495)
              Changes in the fair value of financial assets at fair value                                   6,727         (2,567)          4,160
              As of December 31, 2018                                                                      (1,136)         6,446           5,310


  23.   Equity
  (a) Subscribed and paid-in capital and capital reserve
  As of December 31, 2018, the fully subscribed and paid-in share capital of the Company was R$ 927,916 (2017—R$ 254,622) divided into
  2,036,988,542 shares (2017—1,939,674,072 shares) with no par value, represented by 1,020,531,260 common shares (2017—1,104,000,052 common
  shares) and 1,016,457,282 preferred shares (2017—835,674,020 preferred shares).

  According to the Articles of Incorporation, the Company has two classes of share: (i) common shares, entitled to one vote per share on all matters to be
  voted on shareholders’ general meetings, including the election of directors; and (ii) preferred shares, not entitled to votes on shareholders’ general
  meetings but with priority in reimbursement of the paid capital, with no premium, in case of liquidation of the Company. Both classes are entitled to
  dividends equally shared and proportionally to the interest of each shareholder.

  On March 3, 2017, the Company’s shareholders approved a share split ratio of 42:1 (forty two for one). As a result, the share capital previously
  represented by 30,953,491 common shares and 15,229,225 preferred shares were split into 1,300,046,622 common shares and 639,627,450 preferred
  shares. As a result of the share split, the Company’s historical financial statements have been revised to reflect number of shares and per share data as if
  the share split had been in effect for all periods presented.

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  Below is a summary of the issuances and conversions of shares during 2018, 2017 and 2016, after giving effect to the share split mentioned before:

                                                                          Common               Preferred               Total           Share        Capital
                                                                           Shares               Shares                Shares           Capital      reserve
  As of January 1, 2016                                                 1,069,615,218                   —          1,069,615,218        85,810       168,018
  Issued for cash                                                          43,075,872                   —             43,075,872        70,383           —
  Corporate reorganizations                                               187,355,532           639,627,450          826,982,982        98,429       367,472
  As of December 31, 2016                                               1,300,046,622           639,627,450        1,939,674,072       254,622       535,490
  Common shares converted to preferred                                   (196,046,598)          196,046,598                  —             —             —
  Preferred shares converted to common                                             28                   (28)                 —             —             —
  As of December 31, 2017                                               1,104,000,052           835,674,020        1,939,674,072       254,622       535,490
  Issued for cash                                                                 —              97,314,470           97,314,470       673,294           —
  Corporate reorganizations                                                       —                     —                    —             —             525
  Common shares converted to preferred                                    (83,468,792)           83,468,792                  —             —             —
  As of December 31, 2018                                               1,020,531,260         1,016,457,282        2,036,988,542       927,916       536,015

  During 2016, the Company received capital contributions in the amount of R$ 70,383, upon the issuance of 1,025,616 new common shares (or
  43,075,872 common shares after split) with no par value and fully paid.

  Also in 2016, as part of corporate reorganization mentioned in Note 5 (iii), the Company issued 4,460,846 new common shares (or 187,355,532
  common shares after split) and 15,229,225 new preferred shares (or 639,627,450 preferred shares after split) with no par value, in exchange of
  remaining shares in its subsidiaries XP CCTVM and XP Holding Investimentos, then held by non-controlling interest, for the total amount of R$
  343,824, represented by an increase of R$ 98,429 in Share Capital and R$ 245,395 allocated to Capital reserves.

  This corporate reorganization, including reverse legal mergers of acquired entities, resulted in deferred income tax assets in the amount R$ 122,077
  which was allocated to Capital reserves. The deferred tax asset was registered due to the difference between tax and accounting treatments (Note 5 (iii)).

  In March 2017, along with the share split, shareholders also approved the conversion of 196,046,598 common shares of the Company into preferred
  shares, and the conversion of 28 preferred shares into common shares, with no contributions or changes in the share capital.

  On August 9, 2018, shareholders also approved the conversion of 83,468,792 common shares of the Company into preferred shares, with no
  contributions or changes in the share capital.

  On August 31, 2018, the Company received capital contributions in the amount of R$ 673,294, upon the issuance of 97,314,470 new preferred shares
  for the unit price of R$ 6,9187 and fully paid.

  The capital reserve includes differences between the subscription price that the shareholders paid for the shares and their par value and other capital
  transactions as a result of corporate reorganizations. Since this is a capital reserve, it can only be used to increase capital, offset losses, redeem,
  reimburse or purchase shares or pay cumulative dividends on preferred shares.

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  (b) Statutory reserves
  The legal reserve is credited annually with 5% of the net income for the year and cannot exceed 20% of capital. The purpose of the legal reserve is to
  protect capital, and it can only be used to offset losses and increase capital.

  The statutory reserve refers to the remaining balance of retained earnings, which is earmarked to fund projected business growth, as established in the
  Group’s investment plan, according to the capital budget approved and proposed by management and submitted for approval at the Annual General
  Meeting of Shareholders. This reserve may not exceed the share capital.


  (c) Dividends distribution
  The proposal and payment of dividends recorded in the Company’s financial statements, subject to the approval of the shareholders in General
  Meetings, is detailed below:

                                                                                                        2018            2017            2016
              Net income                                                                                465,330        423,541         243,765
              Adjustments:
              (-) Legal reserve                                                                         (23,072)       (20,694)         (9,434)
              Dividend calculation basis                                                                442,258        402,847         234,331
              Mandatory minimum dividend – 25%                                                          110,565        100,712          58,583
              Additional proposed dividends payable                                                      89,435        214,286          85,982
              Total dividends                                                                           200,000        314,998         144,565
              At January 1                                                                              125,000            —            29,800
              Amount recognized in the year                                                             200,000        314,998         144,565
              Dividends paid in the year                                                               (325,000)      (189,998)       (174,365)
              At December 31                                                                                —          125,000             —

  In 2017, shareholders’ decided in general meeting for distribution of dividends in total of R$ 314,998, of which R$ 37,437 to be distributed from
  revenue reserve.


  (d) Carrying value adjustments
  Increases or decreases in value attributed to assets and liabilities are classified as equity valuation adjustments, while not being computed in the income
  for the year in accordance with the accrual basis as a result of their valuation at fair value.

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  Below are presented the changes in carrying value segregated between Other Comprehensive Income and transactions with non-controlling interest:

                                                                                                                 Transactions
                                                                                            Other                    with
                                                                                        comprehensive           non-controlling
                                                                                           income                  interests           Total
              At January 1, 2016                                                              64,712                    69,843        134,555
              Carrying value adjustments                                                       1,157                    67,971         69,128
              At December 31, 2016                                                            65,869                   137,814        203,683
              Carrying value adjustments                                                        (142)                      (95)          (237)
              At December 31, 2017                                                            65,727                   137,719        203,446
              Carrying value adjustments                                                       5,310                       409          5,719
              At December 31, 2018                                                            71,037                   138,128        209,165

  Below are presented the changes in Carrying value adjustments by nature:

                                                                                                         2018              2017        2016
              At January 1                                                                              203,446           203,683     134,555
              Cumulative translation adjustments                                                         28,044                         1,157
              Net investment hedge                                                                      (26,508)              —           —
              MTM                                                                                         6,728               —           —
              Deferred taxes                                                                             (2,567)              —           —
              Corporate reorganization (Note 5 (iii))                                                       —                 —        67,971
              Others                                                                                         22              (237)        —
              At December 31                                                                            209,165           203,446     203,683


  24. Related party transactions
  Transactions and remuneration of services with related parties are carried out in the ordinary course of business and under commutative conditions,
  including interest rates, terms and guarantees, and do not involve risks greater than normal collection or present other disadvantages.


  (a) Key-person management compensation
  Key management includes executive statutory directors, members of the Board of Directors and Executive Boards. The compensation paid or payable to
  key management for their services is shown below:

              Short-term employee benefits                                                                      2018          2017      2016
              Fixed compensation                                                                              3,329           2,708     2,925
              Variable compensation                                                                          30,316          18,316    25,217
              Total                                                                                          33,645          21,024    28,142

  The executive statutory directors of XP Investimentos control XP Controle Participações S.A.

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  (b) Transactions with related parties
  The main transactions carried with related parties and year-end balances arising from such transactions are as follows:

                                                                                                                  Assets/(Liabilities)       Revenue/(Expenses)
  Relation and transaction                                                                                          2018         2017       2018       2017 2016
  Shareholders with significant influence (i)                                                                     (451,481)      —         (40,585)   —     —
  Securities                                                                                                        69,647       —         147,258    —     —
  Securities sold under repurchase agreements                                                                     (426,207)      —          (3,586)   —     —
  Borrowings                                                                                                       (94,921)      —        (184,257)   —     —

  (i)   These transaction are related to Itaú Unibanco who became shareholder of the Company in 2018 and since then a related party. Therefore,
        transactions and balances with Itaú Unibanco in prior year are not being reported as transactions with related parties.

  Transactions with related parties also includes transactions among the Company and its subsidiaries in the course of normal operations include services
  rendered such as: (i) education, consulting and business advisory; (ii) financial advisory and financial consulting in general; (iii) management of
  resources and portfolio management; (iv) information technology and data processing; and (v) insurance. The effects of these transactions have been
  eliminated and do not have effects on the consolidated financial statements.


  25.   Provisions and contingent liabilities
  The Company and its subsidiaries are party to judicial and administrative litigations before various courts and government bodies, arising from the
  normal course of operations, involving tax, civil and labor matters and other issues. Periodically, Management evaluates the tax, civil and labor and
  risks, based on legal, economic and tax supporting data, in order to classify the risks as probable, possible or remote, in accordance with the chances of
  them occurring and being settled, taking into consideration, case by case, the analyses prepared by external and internal legal advisors.

                                                                                                                        2018             2017
                      Tax contingencies                                                                                 9,392             8,923
                      Civil contingencies                                                                               5,610               969
                      Labor contingencies                                                                               2,472             1,951
                      Total provision                                                                                  17,474            11,843
                      Judicial deposits (a)                                                                            14,850            10,302

  (a)   There are circumstances in which the Group is questioning the legitimacy of certain litigations or claims filed against it. As a result, either because
        of a judicial order or based on the strategy adopted by management, the Group might be required to secure part or the whole amount in question
        by means of judicial deposits, without this being characterized as the settlement of the liability. These amounts are classified as “Other assets” on
        the consolidated balance sheets, and referred above for information.

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  Changes in the provision during the year

                                                                                                                2018          2017         2016
              Balance at January 1                                                                             11,843         5,334        4,477
              Monetary correction                                                                               1,667         2,226        1,178
              Provision                                                                                         7,897         3,531        1,222
              Business combination (Note 5 (b))                                                                   —           7,921          —
              Payments                                                                                         (3,933)       (7,169)      (1,543)
              Balance at December 31                                                                           17,474        11,843        5,334


  Nature of claims
  a) Tax
  As of December 31, 2018, the Group has claims classified as probable risk of loss in the amount of R$ 9,392 (R$ 8,923 in December 31, 2017), mainly
  related to contingency from business combination, as described in Note 5 (b), regarding social contributions on revenue (PIS and COFINS), questioning
  the exclusion of this own taxes on the calculation basis over revenues. In accordance with Brazilian laws and tax regulations, this practice is legal for
  VAT (ICMS) taxes, and other companies have recently obtained significant success in applying this concept for PIS and COFINS taxes. These lawsuits
  are supported by court deposits in its entirety.


  b) Civil
  The majority of the civil claims involve matters that are normal and specific to the business, and refer to demands for indemnity primarily due to :
  (i) financial losses in the stock market; (ii) portfolio management; and (iii) alleged losses generated from the liquidation of costumers assets in portfolio
  due to margin cause and/or negative balance. As of December 31, 2018, there were 18 civil claims for which the likelihood of loss has been classified as
  probable, in the amount of R$ 5,610 (R$ 969 as of December 31, 2017). Throughout fiscal year 2018, the amount of R$ 4,500 was deposited in court.


  c) Labor
  Labor claims to which the Group is party primarily concern: (i) the existence (or otherwise) of a working relationship between the Group and IFAs; and
  (ii) severance payment of former employees. As of December 31, 2018, the Company and its subsidiaries are the defendants in approximately 8 cases
  involving labor matters for which the likelihood of loss has been rated as probable, in the amount of R$ 2,472 (R$ 1,951 as of December 31, 2017).


  Contingent liabilities—probability of loss classified as possible
  In addition to the provisions constituted, the Company and its subsidiaries have several labor, civil and tax contingencies in progress, in which they are
  the defendants, and the likelihood of loss, based on the opinions of the internal and external legal advisors, is considered possible, and the contingencies
  amount to approximately R$ 89,323 (R$ 116,780 at December 31, 2017).

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  Below is summarized these claims by nature:

                     Possible claims                                                                               2018           2017
                     Tax (i)                                                                                       19,971          18,765
                     Civil (ii)                                                                                    64,820          79,195
                     Labor                                                                                          4,532          18,820
                     Total                                                                                         89,323         116,780

  (i)    In 2014, the Group was notified by tax authorities for a requirement of social security contributions due to employee profit sharing payments,
         allegedly in violation of Brazilian Law 10.101/00. Currently, the case at administrative level in assessment by the Administrative Council of Tax
         Appeals (“CARF”), awaiting the decision on the Group’s appeal. There are other favorable CARF precedents on the subject and the Group
         obtained legal opinions that support the Group’s defense and current practice.
  (ii)   The Group is defendant in 118 civil claims by customers and investment agents, mainly related to portfolio management, risk rating, copyrights
         and contract termination. The total amount represents the collective maximum value to which the Group is exposed based on the claims’ amounts
         monetarily restated.


  26. Total revenue and income
  a) Net revenue from services rendered
  Revenue from contracts with customers derives mostly from services rendered and fees charged at daily transactions from customers, therefore mostly
  recognized at a point in time. Contracts that result in revenue recognized over the time are not relevant. Disaggregation of revenue by major service lines
  are as follows:

                                                                                                      2018             2017              2016
               Major service lines
               Brokerage commission                                                                    861,068         639,615           428,452
               Securities placement                                                                    631,949         401,402           123,115
               Management fees                                                                         527,644         221,936            95,576
               Insurance brokerage fee                                                                  56,713          29,167            18,164
               Educational services                                                                     42,653          18,682            10,487
               Other services                                                                          160,409         111,647            88,172
                                                                                                     2,280,436       1,422,449           763,966
               (-) Sales taxes and contributions on revenue (i)                                       (225,887)       (138,833)          (74,089)
                                                                                                     2,054,549       1,283,616           689,877

  (i)    Mostly related to taxes on services (ISS) and contributions on revenue (PIS and COFINS).

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  b) Net income from financial instruments
                                                                                                             2018          2017         2016
              Net Income of financial instruments at fair value through profit or loss                      821,617       562,895      539,766
              Net Income of financial instruments measured at amortized cost and at fair value
                 through other comprehensive income                                                         114,442        79,380       43,336
              (-) Taxes and contributions on financial income                                               (32,155)      (19,241)     (21,172)
                                                                                                            903,904       623,034      561,930

  c) Breakdown of total revenue and income and selected assets derived from external customers by geographic location

                                                                                                     2018               2017           2016
              Brazil                                                                               2,716,459           1,751,419      1,152,337
              United States                                                                          204,207             131,198         98,802
              Europe                                                                                  37,787              24,033            668
              Total Revenue and Income                                                             2,958,453           1,906,650      1,251,807

                                                                                                     2018               2017
              Brazil                                                                                 881,434            634,260
              United States                                                                           31,829              8,982
              Europe                                                                                   7,556              9,562
              Selected assets (i)                                                                    920,819            652,804

  (i)   Selected assets are Total assets of the Company , less: financial assets and deferred tax assets and are presented by geographic location.

  None of the clients represented more than 10% of our revenues for the periods presented.


  27. Operating costs
                                                                                                             2018          2017         2016
              Commission costs                                                                              750,103        455,241      302,391
              Operating losses and provisions                                                                 9,989          7,148        9,772
              Other costs                                                                                   181,154        117,491       63,925
                  Clearing house fees                                                                        83,359         64,677       22,453
                  Third parties’ services                                                                    53,123         28,952        9,284
                  Brokerage transfer                                                                         13,538          6,743       10,054
                  Other                                                                                      31,134         17,119       22,134
              Total                                                                                         941,246        579,880      376,088

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  28. Operating expenses by nature

                                                                                                     2018           2017          2016
              Selling expenses                                                                         96,075       32,881        24,484
              Advertising and publicity                                                                96,075       32,881        24,484
              Administrative expenses                                                               1,176,805      649,585       470,853
              Personnel expenses                                                                      712,060      428,772       324,735
              Compensation                                                                            221,746      134,535        97,880
              Employee profit-sharing and bonus                                                       356,938      217,982       164,717
              Executives profit-sharing                                                                50,656       28,802        28,873
              Benefits                                                                                 35,922       16,697        12,236
              Social charges                                                                           45,115       28,836        19,686
              Other                                                                                     1,683        1,920         1,343
              Other taxes expenses                                                                     43,945       20,749         7,197
              Depreciation and amortization expenses                                                   52,788       27,403        23,076
              Other administrative expenses                                                           368,012      172,661       115,845
              Data processing                                                                         130,678       71,861        48,288
              Technical services                                                                       76,476       26,985        16,389
              Third parties’ services                                                                  63,333       19,006        10,413
              Rent expenses                                                                            41,950       16,492        11,976
              Communication                                                                            11,457       11,276         9,088
              Travel                                                                                   13,804        9,791         6,858
              Legal and judicial                                                                        9,023        2,638         3,550
              Other                                                                                    21,291       14,612         9,283
              Total                                                                                 1,272,880      682,466       495,337


  29. Other operating expenses, net

                                                                                                       2018         2017          2016
              Other operating income                                                                  20,682        23,764         5,594
                  Recovery of charges and expenses                                                     6,873         3,165         3,436
                  Reserval of operating provisions                                                     2,641         2,684         1,116
                  Revenue from incentives from Tesouro Direto                                          9,931         4,226           —
                  Other                                                                                1,237        13,689         1,042
              Other operating expenses                                                               (51,971)      (31,468)      (12,060)
                  Legal proceedings and agreement with customers (a)                                 (16,385)      (18,370)         (388)
                  Tax incentive expenses                                                              (2,015)       (2,980)       (2,638)
                  Losses on write-off and disposal of assets                                         (11,064)       (1,503)       (1,355)
                  Fines and penalties                                                                 (7,446)       (2,755)         (718)
                  Associations and regulatory fees                                                    (3,059)       (2,073)         (634)
                  Charity                                                                             (5,938)          (50)          (59)
                  Other                                                                               (6,064)       (3,737)       (6,268)
              Total                                                                                  (31,289)       (7,704)       (6,466)

  (a)   Mainly related to reimbursements to customers due losses they had from their relationship with a former IFA associated to the subsidiary XP
        CCTVM. A part of these reimbursements has been charged back to IFA’s office, included in Other financial assets, under Receivables from IFAs
        (Note 11).

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  30. Earnings per share (basic and diluted)
  The following table reflects the net income and share data used in the basic and diluted earnings per share (“EPS”) calculations:

                                                                                                       2018             2017              2016
              Net income attributable to owners of the Parent                                           461,440          413,874           188,675
              Weighted average number of common and preferred shares (Thousand units)
                (restated)                                                                            1,972,468        1,939,674         1,387,602
              Basic and diluted earnings per share (*)—R$ (restated)                                     0.2339           0.2134            0.1360

  (*)   The basic and diluted earnings per common share are in effect with the share split described in Note 23, occurred on March 3, 2017 to allow
        comparability between years.

  Diluted earnings per share equals to basic earnings per share, since the Group has no dilutive instruments.


  31. Determination of fair value
  The Group measures financial instruments such as certain financial investments and derivatives at fair value at each balance sheet date.

  Level 1: The fair value of financial instruments traded in active markets is based on quoted market prices at the end of the reporting period. The
  financial instruments included in the level 1 consist mainly in public financial instruments and financial instruments negotiated on active markets (i.e.
  Stock Exchanges).

  Level 2: The fair value of financial instruments that are not traded in active markets is determined using valuation techniques, which maximize the use
  of observable market data and rely as little as possible on entity-specific estimates. If all significant inputs required to fair value as instrument are
  directly or indirectly observable, the instrument is included in level 2. The financial instruments classified as level 2 are composed mainly from private
  financial instruments and financial instruments negotiated in a secondary market.

  Level 3: If one or more of the significant inputs is unobservable, the instrument is included in level 3. This is the case for unlisted equity securities. As
  of December 31, 2018, 2017 and 2016 there were no financial instruments classified as level 3.

  Fair values have been assessed for purposes of measurement based on the methods below.


  (a) Cash and cash equivalents, Securities purchased under agreements to resell and Securities sold under repurchase agreements
  The fair value of cash and cash equivalents, securities purchased under agreements to resell and securities sold under repurchase agreements is very
  close to the carrying amount.


  (b) Financial assets (other than derivatives)
  The fair value of securities is determined by reference to their closing prices on the date of presentation of the consolidated financial statements. If there
  is no market quotation, fair value is estimated based on the present value of future cash flows discounted using the observable rates and market rates on
  the date of presentation.

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  (c) Derivative financial instruments
  Criteria and methodologies for calculating the fair value of derivative financial instruments are described in Note 8.


  (d) Other financial assets and liabilities
  Fair value, which is determined for disclosure purposes, is calculated based on the present value of the principal and future cash flows, discounted using
  the observable rates and market rates on the date the financial statements are presented.

  Financial instruments not measured at fair value (securities trading and intermediation, accounts receivable and accounts payables) were not disclosed as
  their carrying amounts are reasonably close to their fair values.

  Below are the Group financial assets and liabilities by level within the fair value hierarchy. The Group assessment of the significance of a particular
  input to the fair value measurement requires judgment and may affect the valuation of fair value assets and liabilities and their placement within the fair
  value hierarchy levels:

                                                                                                                                        2018
                                                                                         Level 1          Level 2          Fair Value          Book Value
        Financial Assets
        Financial assets at Fair value through profit or loss
        Securities                                                                      5,259,591        1,031,380          6,290,971           6,290,971
        Derivative financial instruments                                                    6,599        1,685,432          1,692,031           1,692,031
        Fair value through other comprehensive income
        Securities                                                                        695,778               —             695,778             695,778
        Evaluated at amortized cost
        Securities                                                                             —                —             153,709             155,292
        Securities purchased under agreements to resell                                        —                —           6,568,246           6,570,609
        Securities trading and intermediation                                                  —                —             898,312             898,312
        Accounts receivable                                                                    —                —             219,200             219,200
        Other financial assets                                                                 —                —              60,423              60,423
        Financial liabilities
        Fair value through profit or loss
        Securities loaned                                                               1,259,579              —            1,259,579           1,259,579
        Derivative financial instruments                                                      —            991,399            991,399             991,399
        Evaluated at amortized cost
        Securities sold under repurchase agreements                                            —                —           6,792,316           6,640,694
        Securities trading and intermediation                                                  —                —           5,306,628           5,306,628
        Borrowings                                                                             —                —             459,487             469,609
        Debentures                                                                             —                —             406,540             406,538
        Accounts payables                                                                      —                —             134,579             134,579
        Other financial liabilities                                                            —                —               7,011               7,011

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                                                                                                                                    2017
                                                                                          Level 1        Level 2       Fair Value          Book Value
        Financial Assets
        Financial assets at Fair value through profit or loss
        Securities                                                                       2,869,281       910,383        3,779,664           3,779,664
        Derivative financial instruments                                                       —         559,476          559,476             559,476
        Evaluated at amortized cost
        Securities                                                                              —             —               —                   —
        Securities purchased under agreements to resell                                         —             —           900,616             934,979
        Securities trading and intermediation                                                   —             —           671,842             671,842
        Accounts receivable                                                                     —             —           129,828             129,828
        Other financial assets                                                                  —             —            27,810              27,810
        Financial liabilities
        Fair value through profit or loss
        Securities loaned                                                                  712,666           —            712,666             712,666
        Derivative financial instruments                                                       —         324,360          324,360             324,360
        Evaluated at amortized cost
        Securities sold under repurchase agreements                                             —             —           513,882             514,018
        Securities trading and intermediation                                                   —             —         3,110,537           3,110,537
        Borrowings                                                                              —             —           867,024             867,024
        Accounts payables                                                                       —             —            71,579              71,579
        Other financial liabilities                                                             —             —             5,353               5,353


  32. Management of financial risks and financial instruments
  (a) Overview
  The Group is exposed to the following risks:
       (i)     Credit risk;
       (ii)    Liquidity risk;
       (iii)   Market risk;
                 •    Currency risk;
                 •    Interest rate risk;
                 •    Price risk.
       (iv)    Operating risk.


  (b) Risk management structure
  Management has overall responsibility for establishing and supervising the risk management structure of the Group. Risk Management is under a
  separated structure from business areas, reporting directly to senior management, to ensure exemption of conflict of interest, and segregation of
  functions appropriate to good corporate governance and market practices.

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  The risk management policies of the Group are established to identify and analyze the risks faced, to set appropriate risk limits and controls, and to
  monitor risks and adherence to the limits. Risk management policies and systems are reviewed regularly to reflect changes in market conditions and in
  the activities of the Group. The Group, through its training and management standards and procedures, developed a disciplined and constructive control
  environment within which all its employees are aware of their duties and obligations.

  Regarding one specific subsidiary XP CCTVM, the organizational structure is based on the recommendations proposed by the Basel Accord, in which
  procedures, policies and methodology are formalized consistent with risk tolerance and with the business strategy and the various risks inherent to the
  operations and/or processes, including market, liquidity, credit and operating risks. The Group seek to follow the same risk management practices as
  those applying to all companies.

  Such risk management processes are also related to going concern management procedures, mainly in terms of formulating impact analyses, business
  continuity plans, contingency plans, backup plans and crisis management.


  (c) Credit risk
  Credit risk is the risk of suffering financial loss related to non-compliance by any of the Group’ customers, clients and market counterparties,
  devaluation of the agreement due to the deterioration in the risk rating of the borrower, reduction of gains or remuneration, advantages granted in
  renegotiation and recovery costs, among others.

  The definition of credit risk includes, among other things:
         •     Counterparty risk: This is the possibility of non-compliance with obligations related to the settlement of transactions with financial assets,
               including derivative financial instruments.
         •     Country risk: This is the possibility of losses related to non-compliance with financial obligations by borrowers located outside the country,
               due to actions taken by the government of the country in which they reside.
         •     The possibility of disbursements to honor warranties, co-obligations, credit commitments or other transactions of a similar nature.
         •     The possibility of losses associated with non-compliance with financial obligations, under the agreed terms, by an intermediary or
               signatory to loan operations.

  The management of the credit risk is responsibility of the Company’s risk department, to ensure compliance with its policy and that the established
  operating limits are complied with.

  The Group establishes its credit policy based on the internal scenario, such as composition of portfolio according to security, issuer, rating, economic
  activity and duration of the portfolio and in the external scenario as interest rates, inflation, among others.

  The credit analysis department is also actively involved in this process and is responsible for assessing credit risk of issues and issuers with which the
  Group maintain or intend to maintain credit relations, or intends to recommend credit risk positions to customers. It is also incumbent upon credit
  analysis department to recommend limiting the credit risk positions of customers.

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  The Group uses National Scale Notes from International Emission Risk Agencies that compose its portfolio to subdivide the portfolio into High,
  Medium and Low Risk, based on an internal rating scale.

  Management undertakes credit quality analysis of assets that are not past due or reduced to recoverable value. As of December 31, 2018 and 2017, such
  assets were substantially represented by Securities purchased under agreements to resell of which the counterparties are Brazilian banks with low credit
  risk, securities issued by the Brazilian government, as well as derivative financial instruments transactions, which are mostly traded on the stock
  exchange (B3 S.A. – Brasil, Bolsa, Balcão) and which, therefore, have its guarantee.

  The carrying amount of the financial assets representing the maximum exposure to credit risk is shown in the table below:

                                                                                                               2018              2017
                    Financial assets
                        Securities purchased under agreements to resell                                       6,570,609           934,979
                        Securities                                                                            7,142,041         3,779,664
                             Public securities                                                                4,704,604         2,082,514
                             Private securities                                                               2,437,437         1,697,150
                        Derivative financial instruments                                                      1,692,031           559,476
                        Securities trading and intermediation                                                   898,312           671,842
                        Accounts receivable                                                                     219,200           129,828
                        Other financial assets                                                                   60,423            27,810
                    Total                                                                                    16,582,616         6,103,599


  (d) Liquidity risk
  Liquidity risk management implies maintaining sufficient cash and securities through an adequate amount of committed credit facilities to meet
  obligations when due and to close out market positions. The Group has a liquidity risk management policy, which aims to ensure a minimum level of
  liquidity considered adequate by Management. This policy establishes actions to be taken in cases of liquidity contingency, and these should be
  sufficient to generate the reframing of the cash within required minimum liquidity limits.

  The structure and management of risks are the responsibility of the risk department, which is subordinate to the Executive Board, thus avoiding any
  conflict of interest with departments requiring liquidity. Control of Liquidity Risk is based on the forecast of cash and assets with credit risk. The cash
  forecast relies on the free funds deposited by customers, while fund allocations can be classified according to their settlement or zero settlement periods.

  The stressed scenario considers delays in private credit assets and the extent to which possible stress would affect the Group’s liquidity conditions.

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  (d1) Maturities of financial liabilities
  The tables below summarizes the Group’s financial liabilities into groupings based on their contractual maturities:

                                                                                                                  2018
                                                                         Up to         From 2 to      From 3 to          From 1 to   Above       Contractual
  Liabilities                                                           1 month        3 months       12 months           5 years    5 years      cash flow
  Securities loaned                                                       770,270        478,741          10,568               —         —          1,259,579
  Derivative financial instruments                                        152,971            182         242,506           560,798    34,942          991,399
  Securities sold under repurchase agreements                              68,738      5,439,405       1,132,551               —         —          6,640,694
  Securities trading and intermediation                                 5,306,628            —               —                 —         —          5,306,628
  Borrowings                                                               19,032         22,752          72,705           355,120       —            469,609
  Debentures                                                                  —              —               —             406,538       —            406,538
  Accounts payables                                                       134,579            —               —                 —         —            134,579
  Other financial liabilities                                               7,011            —               —                 —         —              7,011
  Total                                                                 6,459,229      5,941,080       1,458,330         1,322,456    34,942       15,216,037

                                                                                                                  2017
                                                                         Up to         From 2 to      From 3 to          From 1 to   Above       Contractual
  Liabilities                                                           1 month        3 months       12 months           5 years    5 years      cash flow
  Securities loaned                                                       712,666             —              —                 —         —            712,666
  Derivative financial instruments                                         40,318          81,585         80,255            81,863    40,339          324,360
  Securities sold under repurchase agreements                             514,018             —              —                 —         —            514,018
  Securities trading and intermediation                                 3,110,537             —              —                 —         —          3,110,537
  Borrowings                                                               16,985          17,253         96,102           736,684       —            867,024
  Accounts payables                                                        71,579             —              —                 —         —             71,579
  Other financial liabilities                                               5,353                                                                       5,353
  Total                                                                 4,471,456          98,838        176,357           818,547    40,339        5,605,537


  (e) Market risk
  Market risk is the risk that the fair value or future cash flows of a financial instrument will fluctuate because of changes in market prices. Market risk
  comprises mainly three types of risk: foreign exchange variation, interest rates and share prices.

  The aim of market risk management is to control exposure to market risks, within acceptable parameters, while optimizing return.

  Market risk management for operations is carried out through policies, control procedures and prior identification of risks in new products and activities,
  with the purpose to maintain market risk exposure at levels considered acceptable by the Group and to meet the business strategy and limits defined by
  the Risk Committee.

  The main tool used to measure and control the exposure risk of the Group to the market, mainly in relation to their trading assets portfolio, is the Maps
  Luna program, which calculates the capital allocation based on the

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  exposure risk factors in the regulations issued by Brazil Central Bank (“BACEN”) for financial institutions, which are taken as a basis for the
  verification of the risk exposure of the assets of the Group.

  In order to comply with the provisions of the regulatory body, the financial institutions of the Group make daily control of the exposure by calculating
  the risk portions, recording the results in Document 2011—Daily Statement of Capital Requirements (DDR) in BACEN Circular Letter No, 3,331/08,
  submitting it daily to this institution.

  With the formalized rules, the Risk Department has the objective of controlling, monitoring and ensuring compliance with the pre-established limits, and
  may refuse, in whole or in part, to receive and/or execute the requested transactions, upon immediate communication to customers, in addition to
  intervening in cases of non-compliance and reporting all atypical events to the Committee.

  In addition to the control performed by the tool, the Group adopt guidelines to control the risk of the assets that mark the Treasury operations so that the
  own portfolios of the participating companies are composed of assets that have low volatility and, consequently, less exposure to risk. In the case of non-
  compliance with the operational limits, the Treasury Manager shall take the necessary measures to reframe as quickly as possible.


  (e1) Currency risk
  The Group is subject to foreign currency risk as they hold interest in XP Holding International, XP Advisors Inc, and XP Holding UK Ltd, whose equity
  as of December 31, 2018 was USD 37,671 thousand (USD 30,220 thousand as of December 31, 2017), USD 313 thousand (USD 107 thousand as of
  December 31, 2017) and GBP 4,223 thousand (GBP 334,565 thousand as of December 31, 2017) respectively.

  The risk of the XP Holding International and XP Advisors Inc, is hedged with the objective of minimizing the volatility of the functional currency
  (BRL) against the USD arising from foreign investment abroad (see Note 9).

  The foreign currency exposure risk of XP Holding UK Ltd, has therefore not been hedged.

  On December 31, 2017, the Company had a borrowing denominated in USD, which was settled in the amount of R$ 778,481 on August 31, 2018.


  (e2) Interest rate risk
  It arises from the possibility that the Group incur in gains or losses arising from fluctuations in interest rates on its financial assets and liabilities.

  Below are presented the risk rates that The Group are exposed:
          •     Selic/DI
          •     IGPM
          •     IPCA
          •     PRE
          •     TJLP
          •     Foreign exchange coupon

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  (e3) Price risk
  Price risk is the risk arising from the change in the price of the investment fund portfolio and of shares listed on the stock exchange, held in the portfolio
  of the Group, which may affect its profit or loss. The price risk is controlled by the management of the Group, based on the diversification of its
  portfolio and/or through the use of derivatives contracts, such as options or futures.


  (e4) Sensitivity analysis
  According to the market information, the Group performed the sensitivity analysis by market risk factors considered relevant. The largest losses, by risk
  factor, in each of the scenarios were presented with an impact on the profit or loss, providing a view of the exposure by risk factor of the Group in
  exceptional scenarios. The following sensitivity analyzes do not consider the functioning dynamics of risk and treasury areas, since once these losses are
  detected, risk mitigation measures are quickly triggered, minimizing the possibility of significant losses.

                                                                                                                                                 2018
  Trading portfolio                                                 Exposures                                                                 Scenarios
  Risk factors                                                      Risk of variation in:                                            I          II          III
  Pre-fixed                                                         Pre-fixed interest rate in Reais                                (559)    (11,441)     (22,881)
  Exchange coupons                                                  Foreign currencies coupon rate                                    (9)     (5,764)     (11,529)
  Foreign currencies                                                Exchange rates                                                  (386)       (978)      (5,027)
  Price indexes                                                     Inflation coupon rates                                           (16)       (798)      (1,597)
  Shares                                                            Shares prices                                                    877      (6,584)       4,873
                                                                                                                                     (93)    (25,565)     (36,161)

                                                                                                                                                 2017
  Trading portfolio                                                 Exposures                                                                 Scenarios
  Risk factors                                                      Risk of variation in:                                            I          II          III
  Pre-fixed                                                         Pre-fixed interest rate in Reais                                (48)        (979)        (345)
  Exchange coupons                                                  Foreign currencies coupon rate                                   37           26         (734)
  Foreign currencies                                                Exchange rates                                                    3        2,583        2,343
  Price indexes                                                     Inflation coupon rates                                           (1)        (128)        (256)
  Shares                                                            Shares prices                                                   223       11,344      (14,694)
                                                                                                                                    214       12,846      (13,686)

  Scenario I: Increase of 1 basis point in the rates in the fixed interest rate yield, exchange coupons, inflation and 1 percentage point in the prices of shares
  and currencies;

  Scenario II: Project a variation of 25 percent in the rates of the fixed interest yield, exchange coupons, inflation, both rise and fall, being considered the
  largest losses resulting by risk factor; and

  Scenario III: Project a variation of 50 percent in the rates of the pre-fixed interest yield, exchange coupons, inflation and interest rates, both rise and fall,
  being considered the largest losses resulting by risk factor.

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  (f) Operating risk
  Operating risk is the risk of direct or indirect losses deriving from a variety of causes associated with the Group’s processes, personnel, technology and
  infrastructure and with external factors, except for credit, market and liquidity risks, such as those deriving from legal and regulatory requirements and
  from generally accepted standards of business behavior, Operating risks arise from all operations of the Group.

  The objective of the Group is to manage operating risk to avoid financial losses and damage to the companies reputation, and also to seek cost
  efficiency, avoiding control procedures that restrict initiatives and creativity.

  The main responsibility for development and implementation of controls to deal with operating risks is attributed to key management within each
  business unit.

  The responsibility is supported by the development of general standards of the Group for management of operating risks in the following areas:
  (i)    Requirements of segregation of functions, including independent authorization for transactions;
  (ii)   Requirements of reconciliation and monitoring of transactions;
  (iii) Compliance with legal and regulatory requirements;
  (iv) Documentation of controls and procedures;
  (v)    Requirements of periodic assessment of the operating risks faced and the adequacy of the controls and procedures for dealing with the identified
         risks;
  (vi) Development of contingency plans;
  (vii) Professional training and development; and
  (viii) Ethical and business standards.

  The financial institutions of the Group, in compliance with the provisions of article 4, paragraph 2 of Resolution No. 3,380/06 of the National Monetary
  Council (“CMN”) of June 27, 2006, have a process that encompasses institutional policies, procedures, systems and contingency plans and business
  continuity for the occurrence of external events, in addition to formalizing the single structure required by the regulatory body.


  33. Capital Management
  The Group’s objectives when managing capital are to safeguard their ability to continue as a going concern, so that they can continue to provide returns
  for shareholders and benefits for other stakeholders, and maintain an optimal capital structure to reduce the cost of capital. In order to maintain or adjust
  the capital structure, the Group may adjust the amount of dividends paid to shareholders, return capital to shareholders, issue new shares or sell assets to
  reduce debt.

  The Group also monitors capital on the basis of the net debt and the gearing ratio. Net debt is calculated as total debt (including borrowings and
  debentures as shown in the consolidated balance sheet) less cash and cash equivalent (including cash, Securities purchased under agreements to resell
  and certificate deposits as shown in the consolidated statement of cash flows). The gearing ratio corresponds to the net debt expressed as a percentage of
  total capital.

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  The net debt and corresponding gearing ratios at December 31, 2018 and 2017 were as follows:

                                                                                                          2018               2017
                    Borrowings                                                                           469,609             867,024
                    Debentures                                                                           406,538                 —
                    Total debt                                                                           876,147             867,024
                    Cash                                                                                 (68,407)           (153,218)
                    Securities purchased under agreements to resell                                     (488,809)           (420,958)
                    Certificate deposits (Securities)                                                    (69,647)           (261,317)
                    Net debt                                                                             249,284              31,531
                    Total equity                                                                       2,084,777           1,143,799
                    Total capital                                                                      2,334,061           1,175,330
                    Gearing ratio %                                                                         10.68%               2.68%


  (i) Minimum capital requirements
  Although capital is managed considering the consolidated position, certain subsidiaries are subject to minimum capital requirement from local
  regulators.

  The subsidiary XP CCTVM, under the regulation of BBACEN, is required to maintain a minimum capital and follow aspects from the Basel Accord,
  with the current strategy of maintaining its capital 1% above the minimum capital requirement.

  The subsidiary XP Vida e Previdência operates in Private Pension Business and is oversight by the SUSEP, being required to present Adjusted
  Shareholders’ Equity (PLA) equal to or greater than the Minimum Required Capital (“CMR”) and Venture Capital Liquidity (“CR”). CMR is equivalent
  to the highest value between base capital and venture capital.

  There is no requirement for compliance with a minimum capital for the other Group companies.


  (ii) Financial covenants
  In relation to the long-term debt contracts, including multilateral instruments, recorded within “Borrowing” and “Debentures” (Notes 16 and 17), the
  Group is required to comply with certain performance conditions, such as profitability and efficiency indexes.

  At December 31, 2018, the amount of contracts under financial covenants is R$ 876,147 (December 31, 2017—R$ 867,024). The Group has complied
  with these covenants throughout the reporting period.

  Eventual failure of the Group to comply with such covenants may be considered as breach of contract and, as a result, considered for early settlement of
  related obligations.

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  34. Cash flow information
  (i) Debt reconciliation

                                                                                               Borrowings       Debentures       Total
              Total debt as of January 1, 2017                                                        —               —              —
                  Acquisitions / Issuance                                                         826,000             —          826,000
                  Payments                                                                            —               —              —
                  Net foreign exchange differences                                                 35,116             —           35,116
                  Interest accrued                                                                  5,908             —            5,908
                  Interest paid                                                                       —               —              —
              Total debt as of January 1, 2018                                                    867,024             —          867,024
                  Acquisitions / Issuance                                                         325,370         400,000        725,370
                  Payments                                                                       (689,634)            —         (689,634)
                  Net foreign exchange differences                                                (35,091)            —          (35,091)
                  Interest accrued                                                                 56,125           6,538         62,663
                  Interest paid                                                                   (54,185)            —          (54,185)
              Total debt as of December 31, 2018                                                  469,609         406,538        876,147


  35. Subsequent events
  (i) Banking activities
  On December 19, 2018, the BACEN approved the constitution of Banco XP S.A. At the Extraordinary Shareholders’ Meeting held on January 30, 2019,
  Banco XP was constituted as a financial entity that will be controlled by XP CCTVM. On October 10, 2019 BACEN provided Banco XP its license to
  be operational.


  (ii) Second issuance of Debentures
  On May 15, 2019, the Company issued its second Debentures, non-convertible into shares, in the amount of R$ 400,000, with unit value at issuance of
  R$ 1,000.00 over the nominal, an annual rate of 107.5% CDI and maturity date as of May 15, 2022. The first payment will be made at November 15,
  2019 and every six months until maturity. These second Debentures are subject to covenants, which comply with certain performance conditions.

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                                                  72,510,641 Class A common shares




                                                                       XP Inc.


                                                                       PROSPECTUS




                                                                    Global Coordinators
  Goldman Sachs & Co. LLC                               J.P. Morgan                  Morgan Stanley                  XP Investments                 Itaú BBA




                                                                     Joint Bookrunners
  BofA Securities                                    Citigroup                              Credit Suisse                          UBS Investment Bank




                                                                       December 10, 2019


       Through and including January 4, 2020 (the 25th day after the date of this prospectus), all dealers effecting transactions in these securities,
  whether or not participating in this offering, may be required to deliver a prospectus. This is in addition to the dealers’ obligation to deliver a prospectus
  when acting as underwriters and with respect to their unsold allotments or subscriptions.




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